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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

PROTERRA INC, et al., 1                                Case No. 23-11120 (BLS)

                                                       (Jointly Administered)
               Debtors.


                                 CERTIFICATE OF SERVICE

      I, Saul Mendez, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On November 10, 2023, at my direction and under my supervision, employees of KCC
caused to be served the following document via Electronic Mail upon the service lists attached
hereto as Exhibit A, Exhibit B, and Exhibit C; and on November 13, 2023, via First Class Mail
upon the service lists attached hereto as Exhibit D, Exhibit E, and Exhibit F; Parties who
requested email notification of the selection of successful bidders were served via Electronic
Mail with the following document, but have been redacted from disclosure on this certificate of
service.

    •    Notice of Successful Bidder Regarding Debtors' Powered Assets [Docket No. 525]

Dated: November 21, 2023
                                                           /s/ Saul Mendez
                                                           Saul Mendez
                                                           KCC
                                                           222 N Pacific Coast Highway, 3rd Floor
                                                           El Segundo, CA 90245
                                                           Tel 310.823.9000




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Proterra Inc (9565); and Proterra Operating Company, Inc.
    (8459). The location of the Debtors’ service address is: 1815 Rollins Road, Burlingame, California
    94010.
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               Exhibit A
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                                                                           Exhibit A
                                                                     Core/2002 Service List
                                                                    Served via Electronic Mail



             Description                        CreditorName                   CreditorNoticeName                             Email
State Attorney General Alabama         Alabama Attorney General           Attn Bankruptcy Department    consumerinterest@Alabamaag.gov
State Attorney General Alaska          Alaska Attorney General            Attn Bankruptcy Department    attorney.general@alaska.gov
State Attorney General Arizona         Arizona Attorney General - CSS     Attn Bankruptcy Department    BCEIntake@azag.gov
State Attorney General Arkansas        Arkansas Attorney General          Attn Bankruptcy Department    OAG@ArkansasAG.gov
Counsel to Daimler Truck North
America LLC and Its Affiliates and                                        Ricardo Palacio and Gregory   RPalacio@ashbygeddes.com;
Birlasoft Solutions, Inc.              Ashby & Geddes, P.A.               A. Taylor                     GTaylor@ashbygeddes.com
Counsel to Board of Regents of the
University System of Georgia           Assistant Attorney General         Valentin Dubuis               vdubuis@law.ga.gov
Bank of America                        Bank of America NA                 Michael McCauley              Michael.Mccauley2@bofa.com
Counsel to Navistar, Inc.              Barnes & Thornburg LLP             Jonathan Sundheimer           Jonathan.Sundheimer@btlaw.com
Counsel to Navistar, Inc.              Barnes & Thornburg LLP             Kevin G. Collins              Kevin.Collins@btlaw.com
Counsel to Capital Metropolitan
Transportation Authority              Bayard, P.A.                   Evan T. Miller                     emiller@bayardlaw.com
                                      Benesch, Friedlander, Coplan & Kevin M. Capuzzi and Steven        kcapuzzi@beneschlaw.com;
Counsel to Infosys Limited            Aronoff LLP                    L. Walsh                           swalsh@beneschlaw.com
Counsel to South Bay Solutions, Inc. Binder & Malter, LLP            Wendy Watrous Smith                wendy@bindermalter.com
Counsel to Broward County, Florida Broward County Attorney's Office Scott Andron                        sandron@broward.org
Counsel to Oracle America, Inc.       Buchalter, A Professional      Shawn M. Christianson              schristianson@buchalter.com
Counsel to Valeo Thermal
Commercial Vehicles North America, Chipman Brown Cicero & Cole, Robert A. Weber and Mark L.             weber@chipmanbrown.com;
Inc. and Our Next Energy, Inc.        LLP                            Desgrosseilliers                   desgross@chipmanbrown.com
State Attorney General Colorado       Colorado Attorney General      Attn Bankruptcy Department         attorney.general@coag.gov
State Attorney General Connecticut Connecticut Attorney General      Attn Bankruptcy Department         attorney.general@ct.gov
Administrative and Collateral Agents
Under the Debtors’ Prepetition Credit CSI GP I LLC, as Collateral                                       ewa.kozicz@cowen.com;
Facilities (Cowen)                    Agent                          Ewa Kozicz, Vusal Najafov          vusul.najafov@cowen.com
State Attorney General Delaware       Delaware Attorney General      Attn Bankruptcy Department         attorney.general@state.de.us
                                                                                                        attorney.general@state.de.us;
Delaware State AG and DOJ              Delaware Dept of Justice           Attorney General              attorney.general@delaware.gov
DE Secretary of State                  Delaware Secretary of State        Division of Corporations      dosdoc_bankruptcy@state.de.us
DE State Treasury                      Delaware State Treasury                                          statetreasurer@state.de.us
State Attorney General District of     District of Columbia Attorney
Columbia                               General                            Attn Bankruptcy Department    oag@dc.gov
Counsel to Tao Capital Partners and    Dorsey & Whitney (Delaware)
its affiliates (collectively, “Tao”)   LLP                                Alessandra Glorioso           glorioso.alessandra@dorsey.com
Counsel to Tao Capital Partners and
its affiliates (collectively, “Tao”)   Dorsey & Whitney LLP               Samuel S. Kohn                kohn.sam@dorsey.com
Counsel to Oracle America, Inc.        Doshi Legal Group, P.C.            Amish R. Doshi, Esq.          amish@doshilegal.com
Counsel for the Southeastern
Pennsylvania Transportation
Authority                              Duane Morris LLP                   Lawrence J. Kotler            ljkotler@duanemorris.com
Committee Member                       DWFritz Automation LLC             Bryan Wallace                 bwallace@dwfritz.com
Counsel to Meritor, Inc.               Dykema Gossett, PLLC               Danielle Rushing Behrends     dbehrends@dykema.com
Counsel to Meritor, Inc.               Dykema Gossett, PLLC               Sherrie L. Farrell            sfarrell@dykema.com
                                                                                                        citizenservices@myfloridalegal.com;
State Attorney General Florida         Florida Attorney General           Attn Bankruptcy Department    oag.civil.eserve@myfloridalegal.com
Counsel to Daimler Truck North
America LLC and Its Affiliates         Foley & Lardner LLP                Emil P. Khatchatourian        ekhatchatourian@foley.com
Counsel to Daimler Truck North
America LLC and Its Affiliates         Foley & Lardner LLP                John A. Simon                jsimon@foley.com
                                                                          John P. Melko, Esq. and Nora jmelko@foley.com;
Counsel to Birlasoft Solutions, Inc. Foley & Lardner LLP                  J. McGuffey, Esq.            nora.mcguffey@foley.com
State Attorney General Georgia       Georgia Attorney General             Attn Bankruptcy Department   Agcarr@law.ga.gov
Counsel to LG Energy Solutions, Ltd.
and IVECO Group N.V. and certain
affiliates                           Greenberg Traurig, LLP               Dennis A. Meloro              Dennis.Meloro@gtlaw.com
Counsel to LG Energy Solutions, Ltd. Greenberg Traurig, LLP               Howard J. Steinberg           steinbergh@gtlaw.com
                                                                          Oscar N. Pinkas, Sara A.      PinkasO@gtlaw.com;
Counsel to IVECO Group N.V. and                                           Hoffman, and Jessica M.       HoffmanS@gtlaw.com;
certain affiliates                    Greenberg Traurig, LLP              Wolfert                       Jessica.Wolfert@gtlaw.com
State Attorney General Hawaii         Hawaii Attorney General             Attn Bankruptcy Department    hawaiiag@hawaii.gov
Counsel to the First Lien Agent, Bank                                     Attn Robert Jones and Brent   robert.jones@hklaw.com;
of America                            Holland & Knight                    McIlwain                      brent.mcilwain@hklaw.com
                                                                                                        Hamid.Namazie@hklaw.com;
Counsel to Bank of America             Holland & Knight                   Hamid Namazie, Yoojin Lee     Yoojin.Lee@hklaw.com




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                                                                     Core/2002 Service List
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            Description                   CreditorName                         CreditorNoticeName                               Email
Counsel to Valeo Thermal
Commercial Vehicles North America,                                        E. Todd Sable and Lawrence tsable@honigman.com;
Inc. and Our Next Energy, Inc.     Honigman LLP                           A. Lichtman                   llichtman@honigman.com
                                                                          J.R. Smith and Jennifer E.    jrsmith@huntonak.com;
Counsel to Dana Limited                Hunton Andrews Kurth LLP           Wuebker                       jwuebker@huntonak.com
Counsel to Capital Metropolitan                                           Lynn H. Butler and Jameson J. lynn.butler@huschblackwell.com;
Transportation Authority               Husch Blackwell LLP                Watts                         jameson.watts@huschblackwell.com
State Attorney General Idaho           Idaho Attorney General             Attn Bankruptcy Department    AGLabrador@ag.idaho.gov
                                                                                                        attorney_general@atg.state.il.us;
State Attorney General Illinois        Illinois Attorney General          Attn Bankruptcy Department    michelle@lisamadigan.org
State Attorney General Indiana         Indiana Attorney General           Attn Bankruptcy Department    info@atg.in.gov
IRS                                    Internal Revenue Service           Attn Susanne Larson           SBSE.Insolvency.Balt@irs.gov
State Attorney General Iowa            Iowa Attorney General              Attn Bankruptcy Department    IDR.Bankruptcy@ag.iowa.gov
State Attorney General Kentucky        Kentucky Attorney General          Attn Bankruptcy Department    attorney.general@ag.ky.gov
Interested Party                       LACO, Inc.                         Attn: Erika Meciar, C.E.O.    emeciar@lacoinc.com
                                       Law Office of Susan E. Kaufman,
Counsel to United Steelworkers         LLC                             Susan E. Kaufman                   skaufman@skaufmanlaw.com
Counsel to Ontario International       Leech Tishman Fuscaldo &
Airport Authority                      Lampl, Inc.                     Jeffrey M. Carbino                 jcarbino@leechtishman.com
Counsel to Ontario International       Leech Tishman Fuscaldo &
Airport Authority                      Lampl, Inc.                     Sandford L. Frey                   sfrey@leechtishman.com
Counsel to Ontario International       Leech Tishman Fuscaldo &
Airport Authority                      Lampl, Inc.                     Steven B. Eichel                   seichel@leechtishman.com
Counsel to Volta Trucks Limited        Linklaters LLP                  Christopher Hunker                 Christopher.Hunker@linklaters.com
                                                                                                          Executive@ag.louisiana.gov;
State Attorney General Louisiana       Louisiana Attorney General         Attn Bankruptcy Department      ConstituentServices@ag.louisiana.gov
                                                                                                          JCohen@lowenstein.com;
                                                                          Jeffrey L. Cohen, Eric S.       EChafetz@lowenstein.com;
                                                                          Chafetz, Jordana L. Renert,     jrenert@lowenstein.com;
Counsel to the Official Committee of                                      Michael A. Kaplan and Keara     mkaplan@lowenstein.com;
Unsecured Creditors                    Lowenstein Sandler LLP             Waldron                         kwaldron@lowenstein.com
State Attorney General Maine           Maine Attorney General             Attn Bankruptcy Department      attorney.general@maine.gov
State Attorney General Maryland        Maryland Attorney General          Attn Bankruptcy Department      oag@oag.state.md.us
State Attorney General
Massachusetts                          Massachusetts Attorney General Attn Bankruptcy Department   ago@state.ma.us
Counsel to Philadelphia Indemnity      McElroy, Deutsch, Mulvaney &   Gaston P. Loomis and Gary D. gloomis@mdmc-law.com;
Insurance Company                      Carpenter, LLP                 Bressler                     gbressler@mdmc-law.com
Counsel to Miami-Dade County,
Florida, Department of                 Miami-Dade County Attorney's       Ileana Cruz, Assistant County   ileanac@miamidade.gov;
Transportation and Public Works        Office                             Attorney                        cao.bkc@miamidade.gov
Committee Member                       Michele Thorne and Maho Lazo       Wilshire Law Firm               benjamin@wilshirelawfirm.com
State Attorney General Michigan        Michigan Attorney General          Attn Bankruptcy Department      miag@michigan.gov
Counsel to City of Detroit, Michigan
and JR Automation Technologies,        Miller, Canfield, Paddock and      Marc N. Swanson and Ronald swansonm@millercanfield.com;
LLC                                    Stone, P.L.C.                      A. Spinner                 spinner@millercanfield.com
State Attorney General Minnesota       Minnesota Attorney General         Attn Bankruptcy Department ag.replies@ag.state.mn.us
State Attorney General Missouri        Missouri Attorney General          Attn Bankruptcy Department attorney.general@ago.mo.gov
State Attorney General Montana         Montana Attorney General           Attn Bankruptcy Department contactocp@mt.gov
                                       Monzack Mersky and Browder,
Counsel to Waste Management            P.A.                               Rachel Mersky                  rmersky@monlaw.com
                                                                                                         emonzo@morrisjames.com;
Counsel to the Official Committee of                                      Eric J. Monzo, Brya M. Keilson bkeilson@morrisjames.com;
Unsecured Creditors                    Morris James LLP                   and Tara C. Pakrouh            tpakrouh@morrisjames.com
                                       Morris, Nichols, Arsht & Tunnel    Derek C. Abbott and Andrew     DAbbott@morrisnichols.com;
Counsel to Volta Trucks Limited        LLP                                R. Remming                     ARemming@morrisnichols.com
                                                                                                         NEDOJ@nebraska.gov;
State Attorney General Nebraska        Nebraska Attorney General          Attn Bankruptcy Department     Ago.info.help@nebraska.gov
State Attorney General Nevada          Nevada Attorney General            Attn Bankruptcy Department     AgInfo@ag.nv.gov
State Attorney General New
Hampshire                              New Hampshire Attorney General Attn Bankruptcy Department          attorneygeneral@doj.nh.gov
                                                                                                          Heather.Anderson@law.njoag.gov;
State Attorney General New Jersey      New Jersey Attorney General        Attn Bankruptcy Department      NJAG.ElectronicService.CivilMatters@law.njoag.gov
State Attorney General New Mexico      New Mexico Attorney General        Attn Bankruptcy Department      hbalderas@nmag.gov
                                                                                                          Louis.Testa@ag.ny.gov;
State Attorney General New York        New York Attorney General          Attn Bankruptcy Department      letitia.james@ag.ny.gov
State Attorney General North
Carolina                               North Carolina Attorney General    Attn Bankruptcy Department      ncago@ncdoj.gov




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                                                                Core/2002 Service List
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             Description                       CreditorName                 CreditorNoticeName                              Email
State Attorney General North Dakota North Dakota Attorney General      Attn Bankruptcy Department    ndag@nd.gov
                                    Office of the United States
US Trustee for District of DE       Trustee Delaware                   Linda J. Casey                Linda.Casey@usdoj.gov
                                    Office of Unemployment
Office of Unemployment              Compensation Tax Services
Compensation Tax Services (UCTS), (UCTS), Department of Labor
Department of Labor and Industry,   and Industry, Commonwealth of
Commonwealth of Pennsylvania        Pennsylvania                       Ryan Starnowsky               ra-li-ucts-bankrupt@state.pa.us
State Attorney General Ohio         Ohio Attorney General              Attn Bankruptcy Department    Kristin.Radwanick@OhioAGO.gov
State Attorney General Oklahoma     Oklahoma Attorney General          Attn Bankruptcy Department    ConsumerProtection@oag.ok.gov
                                                                                                     AttorneyGeneral@doj.state.or.us;
State Attorney General Oregon       Oregon Attorney General            Attn Bankruptcy Department    Lisa.Udland@doj.state.or.us
                                                                                                     ljones@pszjlaw.com;
Counsel to CSI GP I LLC and its     Pachulski Stang Ziehl & Jones    Laura Davis Jones, Peter J.     pkeane@pszjlaw.com;
affiliates                          LLP                              Keane and Edward A. Corma       ecorma@pszjlaw.com
State Attorney General Pennsylvania Pennsylvania Attorney General    Attn Bankruptcy Department      info@attorneygeneral.gov
Counsel to BC Transit               Perkins Coie LLP                 Amir Gamliel                    AGamliel@perkinscoie.com
Counsel to Komatsu/Joy Global       Pietragallo Gordon Alfano Bosick
Underground Mining                  & Raspanti, LLP                  Richard J. Parks                rjp@pietragallo.com
                                    Pillsbury Winthrop Shaw Pittman
Counsel to Nikola Corporation       LLP                              Joshua D. Morse, Esq.           joshua.morse@pillsburylaw.com
                                                                     Christopher A. Ward and         cward@polsinelli.com;
Counsel to BC Transit               Polsinelli PC                    Katherine M. Devanney           kevanney@polsinelli.com
Counsel to Port Authority of New
York and New Jersey                 Port Authority Law Department    Juan M. Barragan                jbarragan@panynj.gov
Counsel to Nikola Corporation       Potter Anderson & Corroon LLP M. Blake Cleary                    bcleary@potteranderson.com
Top 30 / Committee Member           Power Electronics USA            Carlos Llombart                 cllombart@power-electronics.com
State Attorney General Rhode Island Rhode Island Attorney General    Attn Bankruptcy Department      ag@riag.ri.gov
Counsel to Meritor, Inc.            Robinson & Cole LLP              Jamie L. Edmonson               jedmonson@rc.com
                                    Securities & Exchange            NY Regional Office, Regional    bankruptcynoticeschr@sec.gov;
SEC Regional Office                 Commission                       Director                        NYROBankruptcy@SEC.GOV
                                    Securities & Exchange
SEC Regional Office                 Commission                       Regional Director               philadelphia@sec.gov
                                    Securities & Exchange
SEC Headquarters                    Commission                       Secretary of the Treasury       SECBankruptcy-OGC-ADO@SEC.GOV
Top 30 / Committee Member           Sensata Technologies, Inc.       Justin Colson                   jcolson@sensata.com
Counsel to CSI GP I LLC and its                                      Dennis M. Twomey and            dtwomey@sidley.com;
affiliates                          Sidley Austin LLP                Jackson T. Garvey               jgarvey@sidley.com
Counsel to CSI GP I LLC and its
affiliates                          Sidley Austin LLP                Maegan Quejada                  mquejada@sidley.com
Counsel to CSI GP I LLC and its
affiliates                          Sidley Austin LLP                Thomas R. Califano              tom.califano@sidley.com
Counsel to First Industrial, L.P.   Sirlin Lesser & Benson, P.C.     Dana S. Plon                    dplon@sirlinlaw.com
State Attorney General South
Carolina                            South Carolina Attorney General Attn Bankruptcy Department       bankruptcy@scag.gov
State Attorney General South Dakota South Dakota Attorney General Attn Bankruptcy Department         atghelp@state.sd.us
Counsel to the Chicago Transit      Sullivan Hazeltine Allinson      William D. Sullivan and Elihu   bsullivan@sha-llc.com;
Authority                           LLC                              E. Allinson, III                zallinson@sha-llc.com
Counsel to the Chicago Transit                                       Michael P. O'Neil and           MONeil@taftlaw.com;
Authority                           Taft Stettinius & Hollister LLP  Elizabeth M. Little             elittle@taftlaw.com
State Attorney General Tennessee    Tennessee Attorney General       Attn Bankruptcy Department      agattorneys@ag.tn.gov
                                                                                                     bankruptcytax@oag.texas.gov;
State Attorney General Texas        Texas Attorney General             Attn Bankruptcy Department    communications@oag.texas.gov
Top 30 / Committee Member           TPI, Inc.                          Jerry Lavine                  j.lavine@tpicomposites.com
                                                                       David R. Jury, General
Counsel to United Steelworkers       United Steelworkers               Counsel                       djury@usw.org
                                     US Attorney for District of
US Attorney for District of Delaware Delaware                          US Attorney for Delaware      usade.ecfbankruptcy@usdoj.gov
State Attorney General Utah          Utah Attorney General             Attn Bankruptcy Department    bankruptcy@agutah.gov
State Attorney General Vermont       Vermont Attorney General          Attn Bankruptcy Department    ago.info@vermont.gov
State Attorney General Virginia      Virginia Attorney General         Attn Bankruptcy Department    mailoag@oag.state.va.us
State Attorney General West Virginia West Virginia Attorney General    Attn Bankruptcy Department    consumer@wvago.gov
Counsel to Jackson, Wyoming, and Whiteford Taylor & Preston,
Southern Teton Area Rapid Transit    L.L.P.                            David W. Gaffey               dgaffey@whitefordlaw.com
Counsel to Jackson, Wyoming, and
Southern Teton Area Rapid Transit    Whiteford, Taylor & Preston LLC   Richard W. Riley              rriley@wtplaw.com
State Attorney General Wisconsin     Wisconsin Attorney General        Attn Bankruptcy Department    dojbankruptcynoticegroup@doj.state.wi.us




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                                                               Core/2002 Service List
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             Description                  CreditorName                   CreditorNoticeName                              Email
State Attorney General Wyoming     Wyoming Attorney General         Attn Bankruptcy Department   judy.mitchell@wyo.gov




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                Exhibit B
                              Case 23-11120-BLS          Doc 630        Filed 11/27/23         Page 8 of 359
                                                                 Exhibit B
                                                  Objecting Responding Parties Service List
                                                          Served via Electronic Mail


             Description                        CreditorName              CreditorNoticeName                           Email
Counsel to Central Florida Regional
Transportation Authority (LYNX)        Akerman LLP                   Esther McKean                     esther.mckean@akerman.com
Counsel to Regional Transportation
Commission of Washoe County            Archer & Greiner, P.C.        Bryan J. Hall                     bjhall@archerlaw.com
Counsel to Miami-Dade County,
Florida, Department of
Transportation and Public Works        Armstrong Teasdale LLP        Eric M. Sutty                     esutty@atllp.com
Counsel to Ventura Systems, Inc.,
Birlasoft Solutions, Inc., and Daimler                               Ricardo Palacio and Gregory A. rpalacio@ashbygeddes.com;
Truck North America LLC and Its        Ashby & Geddes, P.A.          Taylor                           GTaylor@ashbygeddes.com
Counsel to Van Hool NV                 Bass, Berry & Sims PLC        Paul Jennings                    PJennings@bassberry.com
                                       BENESCH, FRIEDLANDER,         Jennifer R. Hoover and Daniel N. jhoover@beneschlaw.com;
Counsel to the City of Edmonton        COPLAN & ARONOFF LLP          Brogan                           dbrogan@beneschlaw.com
                                                                                                      mbarrie@beneschlaw.com;
                                      Benesch, Friedlander, Coplan & Michael J. Barrie, John C.       jgentile@beneschlaw.com;
Counsel to Promwad GmbH               Aronoff LLP                    Gentile, and Juan E. Martinez    jmartinez@beneschlaw.com
Counsel to Valeo Thermal                                                                              weber@chipmanbrown.com;
Commercial Vehicles North                                            Robert A. Weber, Mark L.         desgross@chipmanbrown.com;
America, Inc., Our Next Energy, Inc.                                 Desgrosseilliers, William E.     chipman@chipmanbrown.com;
and the City of Tallahassee and       Chipman Brown Cicero & Cole,   Chipman, Jr., Mark D. Olivere,   olivere@chipmanbrown.com;
Central Florida Regional              LLP                            and Kristi J. Doughty            doughty@chipmanbrown.com
Counsel to Cigna Health and Life
Insurance Company                     Connolly Gallagher LLP          Jeffrey C. Wisler                jwisler@connollygallagher.com
Counsel to City of Detroit, Michigan,
JR Automation Technologies, LLC,
and The Wayne County Airport          Connolly Gallagher LLP          Karen C. Bifferato               kbifferato@connallygallagher.com
Counsel to Seifert Graphics, Inc.
and Deere & Company and John
Deere Electronic
Solutions, Creditors herein           Cousins Law LLC                 Scott D. Cousins                 scott.cousins@cousins-law.com
Counsel to Duluth Transit Authority Fox Rothschild LLP                Howard A. Cohen                  hcohen@foxrothschild.com
Counsel to Deere & Company and
John Deere Electronic Solutions,      Gensburg Calandriello & Kanter, Matthew T. Gensburg and E.       mgensburg@gcklegal.com;
Inc.                                  P.C.                            Philip Groben                    pgroben@gcklegal.com
Counsel to Santa Clara Valley                                         Bernard S. Greenfield And        bgreenfield@greenfieldlaw.com;
Transportation Authority              Greenfield LLP                  Maureen A. Harrington            mharrington@greenfieldlaw.com
Counsel to GS Operating, LLC d/b/a GS Operating, LLC d/b/a Gexpro
Gexpro Services                       Services                        Coats Rose, P.C.                 baderholt@coatsrose.com
Counsel to GS Operating, LLC d/b/a
Gexpro Services and Crown             GS Operating, LLC d/b/a Gexpro
Equipment Corporation                 Services                        Saul Ewing LLP                   john.demmy@saul.com
Counsel to REMA USA, LLC              Haynsworth Sinkler Boyd, P.A.   Stanley H. McGuffin              smcguffin@hsblawfirm.com
Counsel to Valeo Thermal
Commercial Vehicles North
America, Inc. and Our Next Energy,                                    E. Todd Sable and Cydney J.      tsable@honigman.com;
Inc.                                  Honigman LLP                    McGill                           cmcgill@honigman.com
Counsel to Orlando Utilities
Comission and Florida Power &         Law Firm of Russell R. Johnson Russell R. Johnson III and John   russell@russelljohnsonlawfirm.com;
Light Company                         III, PLC                        M. Craig                         john@russelljohnsonlawfirm.com
Counsel to Eaton Corporation          Macauley LLC                    Thomas G. Macauley               bk@macdelaw.com
Counsel to Oracle America, Inc.       Margolis Edelstein              James E. Huggett                 jhuggett@margolisedelstein.com
Counsel to Orlando Utilities
Comission and Florida Power &
Light Company                         Mccarter & English, LLP         William F. Taylor, Jr.           wtaylor@mccarter.com
Counsel to City of Madison,
Wisconsin                             Michael R. Haas, City Attorney  Eric A. Finch                    efinch@cityofmadison.com
                                      Montgomery Mccracken Walker
Counsel to REMA USA, LLC              & Rhoads LLP                    Marc J. Phillips                 mphillips@mmwr.com
                                                                      M. Blake Cleary and Maria        bcleary@potteranderson.com;
Counsel to Nikola Corporation         Potter Anderson & Corroon LLP Kotsiras                           mkotsiras@potteranderson.com
                                                                      Jamie L. Edmonson and            jedmonson@rc.com;
Counsel to Meritor, Inc.              Robinson & Cole LLP             Katherine S. Dute                kdute@rc.com




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            Description                       CreditorName                   CreditorNoticeName                      Email
Counsel to Crown Equipment
Corporation                          Sebaly Shillito + Dyer             Robert Hanseman               rhanseman@ssdlaw.com
Counsel to Ron White’s Air
Compressor Sales, Inc.               The Bifferato Firm PA              Ian Connor Bifferato           cbifferato@tbf.legal
Counsel to Regional Transportation   Thompson Coburn Hahn &             Mark T. Power and Aleksandra mpower@thompsoncoburn.com;
Commission of Washoe County          Hessen LLP                         Abramova                       aabramova@thompsoncoburn.com
                                                                        Jonathan S. Hawkins and Austin
Counsel to Eaton Corporation         Thompson Hine LLP                  Landing I                      jonathan.hawkins@thompsonhine.com
Counsel to Jackson, Wyoming, and
Southern                             Whiteford Taylor & Preston,
Teton Area Rapid Transit             L.L.P.                             David W. Gaffey               dgaffey@whitefordlaw.com
Counsel to Jackson, Wyoming, and
Southern Teton Area Rapid Transit    Whiteford, Taylor & Preston LLC Richard W. Riley                 dstratton@whitefordlaw.com




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                Exhibit C
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                                                     Exhibit C
                                                   Creditor Matrix
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                           CreditorName                   CreditorNoticeName           EmailAddress
                15Five, Inc.                                                          Email Redacted
                3DP Unlimited LLC                  3D Platform                        Email Redacted
                3R, Incorporated                   Jay Holcomb                        Email Redacted
                4X Engineering Inc.                                                   Email Redacted
                A & E Technologies                 Tom Kilworth                       Email Redacted
                A&A Brake Service Co., Inc.        Gerald Abatemarco                  Email Redacted
                A. Schulman, Inc.                                                     Email Redacted
                A-1 Jays Machining, Inc.           James Machathil                    Email Redacted
                A-1 Jays Machining, Inc.                                              Email Redacted
                A1 Welding                                                            Email Redacted
                A2MAC1 LLC                         Giovanna Dourado                   Email Redacted
                A2MAC1 LLC                                                            Email Redacted
                A2Q2 Corporation                                                      Email Redacted
                AAA Locksmiths & Alarm Co                                             Email Redacted
                Aaron Rifkin                       Lamer Street Kreations Corp        Email Redacted
                AATIS, Inc.                                                           Email Redacted
                AB Global Group LLC                                                   Email Redacted
                Abaris Training Resources, Inc.                                       Email Redacted
                ABB Inc. (USA)                     Pat Hayes                          Email Redacted
                ABB, Inc.                                                             Email Redacted
                ABB, Inc.                                                             Email Redacted
                ABC Aluminum Solutions                                                Email Redacted
                ABC Bus, Inc.                      Attn Barb Ennis                    Email Redacted
                ABC Bus, Inc.                      CHUCK DOBLE                        Email Redacted
                ABF Freight System Inc.                                               Email Redacted
                Able Engravers, Inc.               Eric Cooper                        Email Redacted
                Absolute Metrology LLC             DBA Carolina Metrology LLC         Email Redacted
                ABX Engineering, Inc.                                                 Email Redacted
                Academy Express LLC                Randy Imbrogno                     Email Redacted
                ACC Climate Control                                                   Email Redacted
                Access Manufacturing Systems, Inc.                                    Email Redacted
                Access Uniforms, Inc.                                                 Email Redacted
                Accountemps                                                           Email Redacted
                Accu-Mold, LLC                                                        Email Redacted
                Ace High Casino Rentals            Mary Alice Hall                    Email Redacted
                Ace Vending Company                John Roybal                        Email Redacted
                ACF Components & Fasteners, Inc. Steve Murphy                         Email Redacted
                ACME Gear Company, Inc.                                               Email Redacted
                ACTIA Corporation                                                     Email Redacted
                Action Fabricators Inc             Marie Frimodig                     Email Redacted
                Acxess Spring                      Sarah Hughes                       Email Redacted
                Acxess Spring                                                         Email Redacted
                Adaptive Insights LLC              Ali Pickering                      Email Redacted
                Adco Products, Inc.                                                   Email Redacted
                Addison Group DBA CVPartners       Jamie Garbis                       Email Redacted
                Additive Manufacturing LLC                                            Email Redacted
                Adler & Colvin, a law corporation  Susan Williams                     Email Redacted
                Adonai Enterprises, Inc            DBA Mathews Mechanical             Email Redacted
                Adrian Araujo Romain                                                  Email Redacted
                Advanced Air Products                                                 Email Redacted



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                                              Served via Electronic Mail

                            CreditorName                   CreditorNoticeName          EmailAddress
                Advanced Automated Ergonomic
                Solitions Inc.                       A.A.E.S. Inc.                    Email Redacted
                Advanced Circuits                                                     Email Redacted
                Advanced Composites, LLC             Mark Anassis                     Email Redacted
                Advanced Electronic Services, Inc.   DBA AES, Inc.                    Email Redacted
                Advanced Electronic Services, Inc.   DBA AES, Inc.                    Email Redacted
                Advanced Electronic Services, Inc.   DBA AES, Inc.                    Email Redacted
                Advanced Energy Economy Inc.                                          Email Redacted
                Advanced Environmental Options,
                Inc.                                                                  Email Redacted
                Advanced Laser & Waterjet Cutting,
                Inc.                                 Rick Linthicum                   Email Redacted
                Advanced Mat Systems, Inc.           Genee LaMarsh                    Email Redacted
                Advanced Rigging & Machinery
                Movers, LLC                                                           Email Redacted
                Advanced Technology Innovation
                Corp.                                                                 Email Redacted
                Advanced Test Equipment
                Corporation                                                           Email Redacted
                Advanced Traffic Products, Inc.      Bonnie Banks                     Email Redacted
                Advanced Underground Specialists,    Len Newman                       Email Redacted
                Advanced Wheel Sales LLC             SANDRA MORRIS                    Email Redacted
                Advanced Wheel Sales LLC                                              Email Redacted
                Advanced Wheel Sales, LLC            Kim Woodward                     Email Redacted
                Advantage GSA Consulting LLC                                          Email Redacted
                Aeronet Worldwide                    DBA Aeronet Inc.                 Email Redacted
                Aerovironment Inc                                                     Email Redacted
                AES Engineering Ltd.                 Amir Tavakoli                    Email Redacted
                AFL Telecommunications Inc           CAROL GARRETT                    Email Redacted
                AFL Telecommunications, LLC          AFL Telecommunications, LLC      Email Redacted
                AFL Telecommunications, LLC          Erika R. Barnes, Esq.            Email Redacted
                AGM Container Control, Inc.                                           Email Redacted
                AHC Enterprises LLC                  DBA Benjamin Franklin Plumbing   Email Redacted
                Ahern Rentals, Inc                                                    Email Redacted
                Air Exchange Inc.                                                     Email Redacted
                Air Power Inc                                                         Email Redacted
                Air Purification                                                      Email Redacted
                Air Solutions, LLC                                                    Email Redacted
                Air Specialists, Inc.                                                 Email Redacted
                Airgas USA LLC                                                        Email Redacted
                Airgas USA, LLC                      JOSHUA VICKERY                   Email Redacted
                Airgas USA, LLC                                                       Email Redacted
                AJ Tucker                                                             Email Redacted
                Aladdins Sash & Glass                                                 Email Redacted
                Alaniz, Paul                                                          Email Redacted
                Albers Industrial Linings                                             Email Redacted
                Aldridge Electric, Inc.                                               Email Redacted
                Aldridge Electric, Inc.                                               Email Redacted
                Aldridge Electric, Inc.                                               Email Redacted
                Alejandra Vaca                                                        Email Redacted
                Alek Balayan                         DBA AB Off The Grid Catering     Email Redacted


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                            CreditorName                CreditorNoticeName           EmailAddress
                Alessandra Mendes                  DBA Cleaning Glow                Email Redacted
                Alfa Laval Inc.                                                     Email Redacted
                Aligned CAE LLC                                                     Email Redacted
                All Clean Hazardous Waste
                Removal, Inc.                                                       Email Redacted
                Allcable                                                            Email Redacted
                Allegis Corporation                                                 Email Redacted
                Allegis Corporation                                                 Email Redacted
                                                    Aerotek/TEKSYSTEMS/Major,
                Allegis Group Holdings, Inc.        Lindsey & Africa Inc.           Email Redacted
                Allen Michael Adolph                DBA Adolph Consulting Service   Email Redacted
                Alliance Benefit Group of Michigan,
                Inc.                                                                Email Redacted
                Alliance Cable and Wire Harness     Cole Matson                     Email Redacted
                Alliance For Transportation
                Electrification                     Philip Jones                    Email Redacted
                Alliance Recruiters Inc.                                            Email Redacted
                Alliance to Save Energy             Jeff Vogel                      Email Redacted
                Allied Caster & Equipment Co        Sally Saulsbery                 Email Redacted
                Allied Crane, Inc                   Sandy Cariel                    Email Redacted
                Allied High Tech Products, Inc.                                     Email Redacted
                Allied International Corp.          AP / CSR AP / CSR               Email Redacted
                Allied International Corp.          SHIRLEY MCCAIN                  Email Redacted
                Allied Wire & Cable, Inc                                            Email Redacted
                Allosense, Inc.                                                     Email Redacted
                Alloy Weldworks                                                     Email Redacted
                Alpha Technology, Inc                                               Email Redacted
                Alt Solutions, Inc.                                                 Email Redacted
                Altair Product Design Inc                                           Email Redacted
                Altairnano                                                          Email Redacted
                Altec Air, LLC                      Karla Garvert                   Email Redacted
                Altec Air, LLC                                                      Email Redacted
                Altec Air, LLC                                                      Email Redacted
                Altek Systems, Inc.                                                 Email Redacted
                Altium Inc.                                                         Email Redacted
                Altium Inc.                                                         Email Redacted
                Altro Transfloor                    BARBARA SOGAMOSO                Email Redacted
                Altro Transfloor                                                    Email Redacted
                Altro USA, Inc                                                      Email Redacted
                Amatrimara Inc                      DBA River Drive Manufacturing   Email Redacted
                Amazing Organizations, Inc.         Mastery Training Services       Email Redacted
                Amazon Web Services                                                 Email Redacted
                Amerex Corporation                  Derek Bryant                    Email Redacted
                Amerex Corporation                                                  Email Redacted
                American Association of Airport
                Executives                                                          Email Redacted
                American Benefit Insurance Corp                                     Email Redacted
                American Cable & Rigging Supply,
                Inc.                                                                Email Redacted
                American Cable and Rigging Supply,
                Inc.                                                                Email Redacted


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                                                    Creditor Matrix
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                            CreditorName                   CreditorNoticeName           EmailAddress
                American Cable Company                                                 Email Redacted
                American Cooling Technology, Inc.    DEBBIE KINARD                     Email Redacted
                American Express Travel Related
                Services Company                                                       Email Redacted
                American Fire Protection Inc         Mike Greer                        Email Redacted
                American International Group, Inc.   Risk Specialists Companies
                (AIG)                                Insurance Agency, Inc.            Email Redacted
                American Land Surveying                                                Email Redacted
                American Lung Association                                              Email Redacted
                American Public Transportation
                Association                                                            Email Redacted
                American Seating Company             Betsy Howell                      Email Redacted
                American Society for Training and
                Development, Inc.                    Jeana Chun                        Email Redacted
                American Society of Engineering
                Education                                                              Email Redacted
                American Spirit Graphics             DBA Carlson Print Group           Email Redacted
                American Tower Investments LLC       CoreSite, L.P.                    Email Redacted
                American Utility Metals, LLC                                           Email Redacted
                American Wiping Cloth & Rag, Inc.                                      Email Redacted
                Ameritran Service Corp               DBA Transit Resource Center       Email Redacted
                Ametek Technical & Industrial
                Products, Inc.                       MARY TIDWELL                      Email Redacted
                Amphenol Interconnect Products
                Corporation                                                            Email Redacted
                Amphenol Interconnect Products
                Corporation                                                            Email Redacted
                Amphenol Technical Products
                International                                                          Email Redacted
                Amphenol Thermometrics, Inc.                                           Email Redacted
                Amwins Brokerage Insurance
                Services                             Michael Wood, Jeff Fisher         Email Redacted
                Anadolu Isuzu Corporation                                              Email Redacted
                Anadolu Isuzu Corporation                                              Email Redacted
                Andersen Tax Holdings LLC            Andersen Tax LLC                  Email Redacted
                Anderson Fire & Safety               Bubba Todd                        Email Redacted
                AndFel Corporation                   Jennifer Cassidy                  Email Redacted
                Andreas Bluemle                      Andreas                           Email Redacted
                Andrew Cater                         DBA Boxi Design LLC               Email Redacted
                Andris Bilmanis Jr                                                     Email Redacted
                Anest Iwata Air Engineering                                            Email Redacted
                Angel Flores                         Orange County Linens              Email Redacted
                Angelo Cosentino                                                       Email Redacted
                AngelTrax                                                              Email Redacted
                ANH TONG                                                               Email Redacted
                Anixter, Inc.                        CODY ROMONE                       Email Redacted
                Anixter, Inc.                                                          Email Redacted
                Anna Lee                                                               Email Redacted
                Anuran Gnanamuttu                                                      Email Redacted
                Anver Corporation                                                      Email Redacted
                Aon Consulting , Inc                 DBA Radford Consulting            Email Redacted


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                            CreditorName                     CreditorNoticeName           EmailAddress
                APD Incorporated                                                         Email Redacted
                Apex Tool                             Bryan Earll                        Email Redacted
                Apikol                                                                   Email Redacted
                APIS North America, LLC                                                  Email Redacted
                Apollo Electric                       ANITA PULLEY                       Email Redacted
                Apollo Video Technology                                                  Email Redacted
                Applied Industrial Technologies, Inc. Claire Smrekar                     Email Redacted
                Applied Research Center, Inc.                                            Email Redacted
                Applied Sensor, Inc.                                                     Email Redacted
                Applied Technical Services            J COOK                             Email Redacted
                Applus IDIADA KARCO Engineering,
                LLC                                                                      Email Redacted
                aPriori Technologies, Inc.                                               Email Redacted
                APTA                                                                     Email Redacted
                Aqua Security Software, Inc.                                             Email Redacted
                Aranda Tooling, Inc.                  Amparo Batiste                     Email Redacted
                Aranda Tooling, Inc.                  Clayton Howard                     Email Redacted
                Aranda Tooling, Inc.                  David Gutierrez                    Email Redacted
                Aranda Tooling, Inc.                                                     Email Redacted
                Aranda Tooling, Inc.                                                     Email Redacted
                Aransas Autoplex                      San Patricio Automotive Group      Email Redacted
                Arbin Corporation                                                        Email Redacted
                ARC Engineering                       GNB Engineering, Inc.              Email Redacted
                Arcadis U.S. Inc.                     David Sliwa                        Email Redacted
                Arch Insurance Company                                                   Email Redacted
                ArcherPoint, Inc.                                                        Email Redacted
                ARCpoint Labs of Greenville                                              Email Redacted
                Aremco Products, Inc.                                                    Email Redacted
                Arena Solutions, Inc.                                                    Email Redacted
                Arena, a PTC Business                                                    Email Redacted
                Arena, a PTC Business                                                    Email Redacted
                Arete Partners, Inc.                                                     Email Redacted
                Arielle Olache-Anderson                                                  Email Redacted
                Arizona Department of Revenue         Arizona Department of Revenue      Email Redacted
                                                      c/o Tax, Bankruptcy and Collection
                Arizona Department of Revenue         Sct                                Email Redacted
                Arizona Transit Association           Becky Miller                       Email Redacted
                Arkansas Department of Finance        Arkansas Department of Finance
                and Administration                    and Administration                 Email Redacted
                Arkansas Department of Finance
                and Administration                    Revenue Legal Counsel              Email Redacted
                Armanino LLP                          Lucie Wuescher                     Email Redacted
                Armanino LLP                                                             Email Redacted
                Armstrong Race Engineering, Inc                                          Email Redacted
                AROW Global Corp                      Aftermarket Aftermarket            Email Redacted
                AROW Global Corp                      Amber Stieber                      Email Redacted
                AROW Global Corp                                                         Email Redacted
                Arow Global Corp.                     AROW Global Corp.                  Email Redacted
                Arow Global Corp.                     Brian P. Hall, Esq.                Email Redacted
                Arrow Electronics, Inc.               Greg Clarke                        Email Redacted
                Arrow Electronics, Inc.               Martha Harvey                      Email Redacted


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                                                    Creditor Matrix
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                           CreditorName                    CreditorNoticeName          EmailAddress
                ArrowHawk Industries                                                  Email Redacted
                Arup US Inc                                                           Email Redacted
                Aryaka Networks, Inc.               Emily James                       Email Redacted
                Aryaka Networks, Inc.               Tobias Hammon                     Email Redacted
                Aryaka Networks, Inc.                                                 Email Redacted
                AS Raymond                                                            Email Redacted
                ASA Electronics                                                       Email Redacted
                Asana, Inc.                                                           Email Redacted
                AscendPBM                           Alice Henderson                   Email Redacted
                ASCENTIA ENGINEERING
                SERVICES, INC.                      MARIE MUSEE                       Email Redacted
                Ashland                                                               Email Redacted
                Askew Industrial Corporation                                          Email Redacted
                ASPEQ Heating Group LLC             DBA INDEECO                       Email Redacted

                Associated Environmental Systems    Thaddeus Gertsen                  Email Redacted
                Associated Packaging, Inc.                                            Email Redacted
                Associated Research, Inc.                                             Email Redacted
                Assured Testing Services            Brian Smith                       Email Redacted
                Astrodyne Corporation                                                 Email Redacted
                AT&T Corp.                                                            Email Redacted
                AT&T Corp.                                                            Email Redacted
                AT&T-IOT                            At&T Mobility-CC                  Email Redacted
                Atlas Copco Tools & Assembly
                Systems, LLC                                                          Email Redacted
                Atlas Organics, Inc.                Bianca Parris                     Email Redacted
                Atlas/ Pellizzari Electric, Inc.                                      Email Redacted
                atlasRFIDstore.com                  Atlas RFID Solutions Store, LLC   Email Redacted
                ATM Detailing Services Inc          Nikole Maddox                     Email Redacted
                Attila Mari                         dba Mill-Tek, LLC                 Email Redacted
                Auburn Tool & Machine Co. Inc.                                        Email Redacted
                Aurora North America LLC                                              Email Redacted
                Austin Hardware & Supply, Inc       Joe Verdini                       Email Redacted
                Austin Hardware & Supply, Inc                                         Email Redacted
                Austin Hardware and Supply Inc      CFO                               Email Redacted
                Auto Motion Shade Inc.              c/o John Woodbine                 Email Redacted
                Auto Motion Shade Inc.              EWA ZAJACH                        Email Redacted
                Automation Direct                   JOY WILLIAMS                      Email Redacted
                AutomationSolutions, Inc.           DBA iAutomation                   Email Redacted
                Automotive Enviro Testing Inc.                                        Email Redacted
                Automotive Media LLC                iMBranded                         Email Redacted
                Autotech Technologies Limited
                Partnership                         DBA EZAutomation                  Email Redacted
                AVAIL Technologies, Inc.            Tami Dotson                       Email Redacted
                Avant Communications                                                  Email Redacted
                Avanti Storage Systems Inc          Bill Virnig                       Email Redacted
                AVC Corporation                                                       Email Redacted
                AVL- California Technical Center,
                Inc.                                                                  Email Redacted
                AW Direct                                                             Email Redacted
                AW Site Services LLC                DBA Arwood Waste                  Email Redacted


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                           CreditorName                       CreditorNoticeName         EmailAddress
                AXA XL Professional Insurance           Daniel Brennan                  Email Redacted
                AxleTech International, LLC             JASON GIES                      Email Redacted
                AxleTech International, LLC                                             Email Redacted
                Axon Design, Inc.                       DBA Nterra Group                Email Redacted
                Ayres Muffler Brake & Alignment
                Center                                  Chris Padgett                   Email Redacted
                B.C. Lawson Drayage, Inc                DBA Lawson Drayage, Inc         Email Redacted
                B2B Media, LLC                                                          Email Redacted
                Badger Meter Inc.                       Credit                          Email Redacted
                Bailey and Son Engineering, Inc.                                        Email Redacted
                Baiqiang Rubber & Plastic
                Technology Co., Ltd                     Mark Melody                     Email Redacted
                Baker & McKenzie Partnerschaft von
                Rechtsanwalten, Wirtshaftspruefern,
                Stb mbB                             U.S. Contact Craig Lilly             Email Redacted
                Bank of America NA                  Michael McCauley                     Email Redacted
                Bank of the West                                                         Email Redacted
                Barcodes, Inc.                      Barcodes LLC                         Email Redacted
                Barker Air & Hydraulics, Inc.                                            Email Redacted
                Barker Air & Hydraulics, Inc.                                            Email Redacted
                Barnwell House of Tires, Inc.       Stacey Papas                         Email Redacted
                Bart Manufacturing, Inc.            Joel Weissbart                       Email Redacted
                BASF Corporation                    Jim Casey                            Email Redacted
                Bastion Infotec Private Limited     Kapil Kumar Upadhyay                 Email Redacted
                BAT, INC.                                                                Email Redacted
                Batteries Plus                      DAVID FREEMAN                        Email Redacted
                Battery Recyclers of America LLC    Glenn Garey                          Email Redacted
                Bay Alarm Company                                                        Email Redacted
                Bay Area Concretes, Inc.                                                 Email Redacted
                Bay Area Council                                                         Email Redacted
                BAYCOM INC                                                               Email Redacted
                                                    DBA SpeedPro Imaging of SF
                BayGrafx LLC                        Peninsula                            Email Redacted
                Bayside Equipment Co.                                                    Email Redacted
                BC Transit                                                               Email Redacted
                BC Transit                                                               Email Redacted
                BC Transit                                                               Email Redacted
                BC Transit                                                               Email Redacted
                BDO Canada LLP                                                           Email Redacted
                BEA, Inc.                                                                Email Redacted
                Bear Communications Inc                                                  Email Redacted
                Bearcom Management Group Ltd        DBA The Bus Centre                   Email Redacted
                Beck & Pollitzer USA                Clarkson Industrial Contractor, Inc. Email Redacted
                Beeline Company                                                          Email Redacted
                Ben Mahoney Productions, LLC        DBA The BMP Film Co.                 Email Redacted
                BenchPro Inc                        BenchDepot                           Email Redacted
                Bender, Inc.                        DALE BOYD                            Email Redacted
                Bendix CVS LLC                      ANN KESSLER                          Email Redacted
                Bendix CVS LLC                                                           Email Redacted
                Benen Manufacturing LLC                                                  Email Redacted



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                                                    Creditor Matrix
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                           CreditorName                   CreditorNoticeName          EmailAddress
                Bennett Equipment & Supply Co.,
                Inc.                                                                 Email Redacted
                Bennett Motor Express, LLC                                           Email Redacted
                BENTECH                             BARBARA FOX                      Email Redacted
                Bentech Inc                         VASYL ISHCHENKO                  Email Redacted
                Bentech Inc                                                          Email Redacted
                Bergeson, LLP                       Rowena Stewart                   Email Redacted
                Beta Max Inc.                                                        Email Redacted
                Better Block Foundation             Krista Nightengale               Email Redacted
                Better Way Constructor LLC          Timothy Rayford                  Email Redacted
                Beveridge & Diamond, P.C.                                            Email Redacted
                BeyondTrust Corporation             formerly Bomgar Corporation      Email Redacted
                Biddeford Saco Old Orchard Beach
                Transit                                                              Email Redacted
                Biddle Consulting Group, Inc.       Amy Fraser-White                 Email Redacted
                Big Joe California North Inc                                         Email Redacted
                Big O Dodge of Greenville                                            Email Redacted
                Bigge Crane and Rigging Co.         Evan Zappe                       Email Redacted

                Bill Thomas, RTC Executive Director                                  Email Redacted
                Birch Consulting Services, LLC      Randall Kyle Birch               Email Redacted
                Bird Marella Boxer Wolpert Nessim
                Drooks&Linceberg                    WENDY NABONSAL                   Email Redacted
                Birlasoft Solutions Inc.                                             Email Redacted
                Birlasoft Solutions Inc.                                             Email Redacted
                Bisco Industries                    TAYLOR HARTENSTINE               Email Redacted
                Bisco Industries                                                     Email Redacted
                Bizlink Technology, Inc.            Bizlink Technology, Inc.         Email Redacted
                                                    Paul L. Gumina, Law Offices of
                Bizlink Technology, Inc.            Paul L. Gumina PC                Email Redacted
                Bizlink Technology, Inc.                                             Email Redacted
                Black & Decker (U.S.) Inc.          DBA SWS VidmarLista              Email Redacted
                Black & Veatch Corporation                                           Email Redacted
                                                    DBA Blaine and Blaine Event
                Blaine Convention Services, Inc.    Services                         Email Redacted
                                                    DBA Fonnesbeck Electric Bus
                Blake Kenyon Fonnesbeck             Solutions LLC                    Email Redacted
                Blank Rome LLP                      Kevin OMalley                    Email Redacted
                Bloomington-Normal Public Transit
                System                              Brady Lange                      Email Redacted
                Blue Ox Towing Products                                              Email Redacted
                Blue Star Trading, LLC              Matthew Stellas                  Email Redacted
                Blue Water Area Transportation
                Commission                                                           Email Redacted
                BlueChoice Health Plan                                               Email Redacted
                Bobit Business Media                                                 Email Redacted
                Bode North America, Inc.                                             Email Redacted
                Bollhoff, Inc.                                                       Email Redacted
                Bolton Tools                                                         Email Redacted
                Bon Secours Occupational Health     Harness Health Partners LLC      Email Redacted
                Bookoff McAndrews PLLC                                               Email Redacted


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                                                     Creditor Matrix
                                                Served via Electronic Mail

                           CreditorName                       CreditorNoticeName         EmailAddress
                Bookoff McAndrews PLLC                                                  Email Redacted
                Boomi Inc                                                               Email Redacted
                Border States                         John Dabe                         Email Redacted
                Border States Industries, Inc.        Shealy Electrical Wholesalers     Email Redacted
                BorgWarner Systems Lugo S.R.L                                           Email Redacted
                Bosch Rexroth Corporation             Blong Moua                        Email Redacted
                Bosch Rexroth Corporation             Bosch Rexroth Corporation         Email Redacted
                Bosch Rexroth Corporation                                               Email Redacted
                Bosch Rexroth Corporation                                               Email Redacted
                Bosco Oil Company                     DBA Valley Oil Company            Email Redacted
                Boss Bolt and Tool of Greenville,
                LLC                                                                     Email Redacted
                Bossard Inc.                          Attn Director or Officer          Email Redacted
                Bossard Inc.                                                            Email Redacted
                Boulder Waterjet Inc.                                                   Email Redacted
                Bow Valley Regional Transit
                Services Commission                                                     Email Redacted
                Bowman Sales and Equipment Inc                                          Email Redacted
                Bowman Trailer Leasing                                                  Email Redacted
                Box, Inc.                                                               Email Redacted
                Boyd Welding LLC                      Dave Boyd                         Email Redacted
                BPB Holding Corp.                     Batteries Plus, LLC               Email Redacted
                BPB Holding Corp.                     Batteries Plus, LLC               Email Redacted
                Brad L. Walters                                                         Email Redacted
                Bradley C. Stepp                                                        Email Redacted
                Bradley-Morris, LLC                   Justin Boggs                      Email Redacted
                Brads Creative Inc                                                      Email Redacted
                                                      dba Bragg Crane Service, Bragg
                Bragg Investment Company, Inc.        Crane & Rigging, Heavy Transport Email Redacted
                Brake Systems Inc                                                      Email Redacted
                Brandit Graphics                      LAMB                             Email Redacted
                Brandon Hopkins                                                        Email Redacted
                Branson Ultrasonics Corporation                                        Email Redacted
                Brazos Transit District                                                Email Redacted
                BRC Group                                                              Email Redacted
                Bread and Barley Inc                                                   Email Redacted
                BreakThru Marketing                   Melissa Morlan                   Email Redacted
                Brennan Industries Inc                                                 Email Redacted
                Brian Marshall                                                         Email Redacted
                Bridge Technology, Inc.               Ian McDonald                     Email Redacted
                Bright Shark Powder Coating
                Corporation                                                             Email Redacted
                Britt, Peters & Associates, Inc                                         Email Redacted
                Brittany Caplin                                                         Email Redacted
                Broadridge Financial Solutions                                          Email Redacted
                Broward County Transit                                                  Email Redacted
                Broward County Transit                                                  Email Redacted
                Broward County Transit                                                  Email Redacted
                Brown 2 Green Landscape                                                 Email Redacted
                Brownworks LLC                                                          Email Redacted
                Bruel & Kjaer North America, Inc.                                       Email Redacted

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                                                    Creditor Matrix
                                               Served via Electronic Mail

                            CreditorName                    CreditorNoticeName          EmailAddress
                Brusa Elektronik AG                                                    Email Redacted
                Bryan Burton                                                           Email Redacted
                Bryan Evans                                                            Email Redacted
                Bryant-Durham Electric Co., Inc.      CFO Donald McNeill               Email Redacted
                Bucher Hydraulics AG                  FKA Lenze-Schmidhauser           Email Redacted
                Buckles-Smith Electric                Kyle Devlin                      Email Redacted
                Bulten North America LLC                                               Email Redacted
                Bung King                                                              Email Redacted
                Burkert                                                                Email Redacted
                Burlingame/SFO Chamber of
                Commerce                                                               Email Redacted
                Burnidge, Joshua                                                       Email Redacted
                Burns and McDonnell Engineering
                Company, Inc.                                                          Email Redacted
                Bus and Truck of Chicago Inc                                           Email Redacted
                BusTech (Qld) Pty Ltd                                                  Email Redacted
                BusTech (Qld) Pty Ltd                                                  Email Redacted
                Bustech (QLD) Pty Ltd                                                  Email Redacted
                Byk-Rak LLC                                                            Email Redacted
                Bynder LLC                            Bianca Ravida                    Email Redacted
                C&C Assembly, Inc.                    Michelle Harden                  Email Redacted
                C&C Fiberglass Components Inc.                                         Email Redacted
                C&J Market Enterprises, LLC           DBA Conference Room AV           Email Redacted
                C.F. Maier Composites, Inc.                                            Email Redacted
                C.H. Robinson Company                                                  Email Redacted
                Cable Assemble, LLC                                                    Email Redacted
                CableOrganizer.com                                                     Email Redacted
                Caleb Jones                                                            Email Redacted
                California Association for
                Coordinated Transportation, Inc.                                       Email Redacted
                California Department of Tax and
                Fee Administration                                                     Email Redacted
                California Strategies and Advocacy,
                LLC                                                                    Email Redacted
                California Transport Refrigeration
                Inc.                                                                   Email Redacted
                Calpack Crating, Inc.                                                  Email Redacted
                CALSTART, Inc.                                                         Email Redacted
                Calvin E Taylor                       Taylor Seal Coating & Striping   Email Redacted
                Camelback Displays, Inc.              Kaci                             Email Redacted
                Campbell Inc                          Kelly Durham                     Email Redacted
                Canadian Construction Documents
                Committee                                                              Email Redacted
                Canadian Urban Transit Association                                     Email Redacted
                Canadian Urban Transit Research
                and Innovation Consortium             Michael Keran                    Email Redacted
                Cannon Roofing, LLC                                                    Email Redacted
                Canty & Associates LLC                DBA CantyMedia                   Email Redacted
                Canvas Solutions                                                       Email Redacted
                Capital Metropolitan Transportation
                Authority                             Brad Bowman                      Email Redacted

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                           CreditorName                       CreditorNoticeName           EmailAddress
                Capital Metropolitan Transportation
                Authority                               Brad Bowman                       Email Redacted
                Capital Metropolitan Transportation
                Authority                                                                 Email Redacted
                Capital Metropolitan Transportation
                Authority                                                                 Email Redacted
                Capital Metropolitan Transportation
                Authority                                                                 Email Redacted
                Capital Metropolitan Transportation
                Authority                                                                 Email Redacted
                Caplugs                                 JEFF MOTEN                        Email Redacted
                Carbon Supply Chain Management
                LLC                                     Bruce Chew                        Email Redacted
                Carbon Supply Chain Management
                LLC                                                                       Email Redacted
                Carbon Supply Chain Management
                LLC                                                                       Email Redacted
                Carbures USA, Inc.                                                        Email Redacted
                Carl Stahl Sava Industries Inc.                                           Email Redacted
                                                        Carlton Scale E.S. Inc. Everest
                Carlton Group, Inc.                     Scale                             Email Redacted
                Carnival Foods, Inc.                    The Catering Carnival             Email Redacted
                Carolina Fluid Components               Dean Frazier                      Email Redacted

                Carolina Foundation Solutions, LLC                                        Email Redacted

                Carolina International Trucks, Inc.                                       Email Redacted
                Carolina Regional Center Fund X,
                L.P                                                                       Email Redacted
                Carolina Textiles, Inc.                                                   Email Redacted
                Carolina Thomas, LLC                                                      Email Redacted
                Carolina Water Specialties LLC          Attn Andy Murray                  Email Redacted
                Carolinas-Virginia Minority Supplier
                Development Council                     CVMSDC                            Email Redacted
                Carolyn V. Mason                                                          Email Redacted
                Carr Lane Manufacturing Co              Cathy Martin                      Email Redacted

                Carrier Transport Air Conditioning                                        Email Redacted

                Carsons Nut-Bolt & Tool Co, Inc         Wanda L                           Email Redacted
                CARTA                                                                     Email Redacted
                Cartel Industries, Inc.                                                   Email Redacted
                Caster Concepts Inc.                                                      Email Redacted
                Catherine Mary Johnson                                                    Email Redacted
                CDW Direct, LLC                         Attn Vida Krug                    Email Redacted
                CDW, Inc.                               Brandon Ginter                    Email Redacted
                CDW, Inc.                                                                 Email Redacted
                Cellco Partnership d/b/a Verizon
                Wireless                                Verizon                           Email Redacted
                Cellco Partnership d/b/a Verizon
                Wireless                                William M Vermette                Email Redacted


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                           CreditorName                       CreditorNoticeName          EmailAddress
                Central Coast Systems                                                    Email Redacted
                Central Florida Regional
                Transportation Authority (LYNX)                                          Email Redacted
                Central Mass Transit Management,
                Inc.                                    Ahmad Yasin                    Email Redacted
                                                        DBA Carry Cases Plus & My Case
                Century Service Affiliates, Inc.        Builder                        Email Redacted

                Centurylink Communications, LLC         Bankruptcy                       Email Redacted
                CenturyLink, Inc.                       Sachi Petz                       Email Redacted
                CFM Company                                                              Email Redacted
                Champlain Cable Corp                                                     Email Redacted
                Chappell Creek Consulting               William Pack                     Email Redacted
                ChargePoint                             Leah Nix                         Email Redacted
                ChargePoint                                                              Email Redacted
                Charie Deliguin                                                          Email Redacted
                CharIN e.V.                                                              Email Redacted
                Charles Breleur                                                          Email Redacted
                Charleston Area Regional
                Transportation Authority                                                 Email Redacted
                ChemTel, Inc.                                                            Email Redacted
                Cheryl Cromartie                                                         Email Redacted
                                                        DBA Cheryl Davis Presentation
                Cheryl Davis                            Design+                          Email Redacted
                Chia Jen Lucia Hsieh                                                     Email Redacted
                Chicago Transit Authority               Sanja Noble                      Email Redacted
                Chicago Transit Authority                                                Email Redacted

                Chicago Transit Authority                                                Email Redacted

                Chicago Watermark Corporation           Chicago Watermark Company        Email Redacted
                Chicago Youth Programs, Inc.                                             Email Redacted
                Chris Wood Light Ltd                    Daisy Russell                    Email Redacted
                                                        MGMT ACCOUNTANT Marianne
                Christie & Grey Ltd                     Brown                            Email Redacted
                Christine Starzynski                                                     Email Redacted
                Christopher Kim                                                          Email Redacted
                Christopher Prentice                    DBA CP Recruiting                Email Redacted
                Christopher Taylor                                                       Email Redacted

                Chroma Systems Solutions, Inc.                                           Email Redacted
                Chubb Bermuda Insurance Ltd                                              Email Redacted

                Cigna Health and Life Insurance Co.                                      Email Redacted
                Cincinnati Test Systems, Inc.                                            Email Redacted
                                                        DBA Cintas Fire Protection Loc
                Cintas Corp 2                           #19                              Email Redacted
                Cintas Corporation                      Ann Dean, Litigation Paralegal   Email Redacted
                Cintas Corporation #216                                                  Email Redacted
                Cintas Corporation #464                                                  Email Redacted



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                              CreditorName                     CreditorNoticeName         EmailAddress

                Cintas Fire Protection Loc #F51                                          Email Redacted
                Cintas First Aid & Safety                                                Email Redacted
                Circuitlink LLC                                                          Email Redacted
                Circuits West, Inc.                                                      Email Redacted
                Cirrus Link Solutions LLC                Kurt Hochanadel                 Email Redacted
                Cision US Inc                            James DeVor                     Email Redacted
                Citrix                                                                   Email Redacted
                City and Borough of Juneau Capital
                Transit                                  Richard Ross                    Email Redacted
                City of Albuquerque                                                      Email Redacted
                City of Artesia                                                          Email Redacted
                City of Asheville                                                        Email Redacted
                City of Detroit                                                          Email Redacted
                City of Detroit                                                          Email Redacted
                City of Detroit Department of
                Transportation(DDOT)                                                     Email Redacted
                                                         Attn Carly Androschuk, Legal
                City of Edmonton                         Services                        Email Redacted
                                                         Benesch Friedlander Coplan &
                City of Edmonton                         Aronoff LLP                     Email Redacted
                City of Edmonton                                                         Email Redacted
                City of Edmonton                                                         Email Redacted
                City of Edmonton                                                         Email Redacted
                City of Everett                                                          Email Redacted
                City of Everett - Motor Vehicle
                Division                                 James Zerhire                   Email Redacted
                City of Fresno                           Purchasing Department           Email Redacted
                City of Industry                                                         Email Redacted
                City of Irwindale                        Julie Salazar                   Email Redacted
                City of Modesto                          Jeff Custer                     Email Redacted
                City of Philadelphia / School District
                of Philadelphia                          Attn Megan Harper               Email Redacted

                City of Racine - Belle Urban System                                      Email Redacted
                City of Racine, Wisconsin
                Purchasing Department                                                    Email Redacted

                City of Raleigh Procurement Division                                     Email Redacted
                City of Rock Hill                                                        Email Redacted
                City of Rock Hill                                                        Email Redacted
                City of Roseville                                                        Email Redacted
                City of San Luis Obispo                                                  Email Redacted
                City of Sandy, Transit                                                   Email Redacted
                City of Tallahassee                                                      Email Redacted

                City View Bus Sales and Service Ltd Maragaret Grabowska                  Email Redacted

                City View Bus Sales and Service Ltd                                      Email Redacted
                Claire Wiley                        Eclectic Brew, LLC                   Email Redacted
                Clarcorp Industrial Sales                                                Email Redacted


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                              CreditorName                  CreditorNoticeName         EmailAddress

                Clayton Construction Company Inc.     Jay Taylor                      Email Redacted
                Clayton Controls, Inc.                                                Email Redacted
                Clean Tactics LLC                     Kaitlynn Norton                 Email Redacted

                Clear Carbon and Components, Inc. Michael Donahue                     Email Redacted
                Clemson Area Transit                                                  Email Redacted
                Clemson Area Transit                                                  Email Redacted

                Clemson University                    T3S Kelsey Reed                 Email Redacted
                Clemson University                                                    Email Redacted
                Cleveland Ignition Co. Inc.                                           Email Redacted
                Clever Devices Ltd                                                    Email Redacted
                Clickfold Plastics                                                    Email Redacted
                Cliffs Truck Service LLC              Cliff Fitzpatrick               Email Redacted
                                                      J. Scott Climate Comfort
                Climate Comfort Technologies          Technologies                    Email Redacted
                Climate Solutions                                                     Email Redacted

                Cline Hose and Hydraulics, LLC                                        Email Redacted

                Cline Hose and Hydraulics, LLC                                        Email Redacted
                Clint Davis                           DBA Collectiv3 LLC              Email Redacted
                Cloud Performer Inc                   David Flick                     Email Redacted
                Cloudaction, LLC                      Samir Kumar                     Email Redacted
                Clover Consulting, Inc.               Beth Hunt                       Email Redacted
                Clover Consulting, Inc.                                               Email Redacted
                CMH Services                                                          Email Redacted
                CML USA, Inc.                         Ercolina CML USA, Inc.          Email Redacted
                CNP Technologies, LLC                                                 Email Redacted
                Coach Glass                                                           Email Redacted
                Coach Glass                                                           Email Redacted

                Cobblestone Promotions/IPromoteU                                      Email Redacted
                COBE Construction Inc              Cathy Simon                        Email Redacted
                COBE Construction Inc                                                 Email Redacted
                CODICO                                                                Email Redacted
                Colliers International Greater Los
                Angeles, Inc.                                                         Email Redacted
                Colonial Engineering                                                  Email Redacted
                Colorado Association of Transit
                Agencies (CASTA)                   Joseph Parks                       Email Redacted

                Colorado Department of Revenue                                        Email Redacted
                Colorado Springs                                                      Email Redacted

                Comcast Cable Communications
                Management, LLC                                                       Email Redacted
                Comemso GmbH                          Anita Athanasas                 Email Redacted
                Commerce Hose & Industrial
                Products                              DBA Hose King Riverside         Email Redacted


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                              CreditorName                   CreditorNoticeName           EmailAddress

                Commercial Forms Recycler Supply                                         Email Redacted

                Commercial Vehicle Group               Joe Kelly                         Email Redacted
                Commercial Vehicle Group                                                 Email Redacted
                Committee to Protect AC Transit
                Services                                                                 Email Redacted

                Communication Enterprises Inc.         Jay Cruz                          Email Redacted

                Communication Service Center, Inc. Alicia Ross                           Email Redacted
                Community Emergency                dba BERT - Emergency
                Management, Inc.                   Operations managment                  Email Redacted
                Community Transportation
                Association of Virginia            Josh Baker                            Email Redacted
                Compass Components, Inc.           DBA Compass Made                      Email Redacted
                Composites Canada                  Div. of FFO Fiberglass Inc.           Email Redacted
                Composites Consolidation Company
                II LLC                             McClarin Plastics LLC                 Email Redacted
                Composites One LLC                 Aaron Kuhn                            Email Redacted
                Composites One LLC                 Mary Bravo                            Email Redacted
                Composites One LLC                                                       Email Redacted
                Compressed Air of CA                                                     Email Redacted

                Computer Design & Integration LLC                                        Email Redacted
                Computer Options, Inc.            DBA Convergent Computing               Email Redacted
                Computershare Inc.                Mark Cano                              Email Redacted
                Computershare Inc.                Mark Cano                              Email Redacted

                Compx Security Products (CSP)          Sheila Lore                       Email Redacted

                COMTO Philadelphia Area Chapter                                          Email Redacted
                                                       U.S. Healthworks Medical Group,
                Concentra                              P.C.                              Email Redacted
                Concur Technologies, Inc.              Concur Technologies, Inc          Email Redacted
                Condor Manufacturing, Inc.             Judy Yeh                          Email Redacted
                Conduent State & Local Solutions,
                Inc.                                                                     Email Redacted
                Conduent State & Local Solutions,
                Inc.                                                                     Email Redacted
                Confidential Party                     Ellen Mahaffey                    Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted
                Confidential Party                                                       Email Redacted


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                           CreditorName                CreditorNoticeName           EmailAddress
                Confidential Party                                                 Email Redacted
                Confidential Party                                                 Email Redacted
                Confidential Party                                                 Email Redacted
                Connexions Limited LLC           Brian Garrett                     Email Redacted
                Consat Canada Inc.                                                 Email Redacted
                Conseillers En Management Marcon
                Inc.                                                               Email Redacted
                Consolidated Parts Inc.                                            Email Redacted
                Consolidated Parts Inc.                                            Email Redacted
                Consolidated Parts Inc. (CPI)                                      Email Redacted

                Consolidated Storage Company, Inc. DBA Equipto                     Email Redacted
                Constangy Brooks Smith and
                Prophete LLP                       June Barnes                     Email Redacted
                Constellium Valais SA                                              Email Redacted
                Container Solutions, Inc.                                          Email Redacted
                Continental Automotive Systems US,
                Inc.                                                               Email Redacted
                Continental Automotive Systems,
                Inc.                               John Hoffman                    Email Redacted
                Continental Automotive Systems,
                Inc.                               Peter A. Clark                  Email Redacted
                Continental Resources              LORI SMITH                      Email Redacted
                Contour Hardening, Inc.            Kory Drake                      Email Redacted
                Contra Costa Heating and Air
                Conditioning                                                       Email Redacted
                Convex Insurance UK Limited                                        Email Redacted
                Con-Way Freight Inc.                                               Email Redacted

                Coordinating Council for Economic
                Development - South Carolina                                       Email Redacted
                Cordstrap USA Inc.                                                 Email Redacted

                CoreStates, Inc                     Brian Baird                    Email Redacted

                Corley Plumbing and Electric, Inc.                                 Email Redacted
                Cornerstone Consulting Organization
                LLC                                                                Email Redacted
                Cornerstone Printing, Inc.                                         Email Redacted
                Coroplast Fritz Muller GmbH & Co.
                KG                                                                 Email Redacted
                Corporation for International
                Business                                                           Email Redacted
                Corrugated Containers Inc                                          Email Redacted
                County of Orange                    Mark Nathan Sanchez            Email Redacted
                County of Orange                    Mark Sanchez                   Email Redacted
                County of Orange, Department John
                Wayne                                                              Email Redacted
                Countywide Coalition to Fix Our
                Roads                                                              Email Redacted
                Cowart Awards, Inc                  Diane Bayne                    Email Redacted


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                           CreditorName                       CreditorNoticeName         EmailAddress
                Coyote Gear                                                             Email Redacted
                Coyote International L.L.C             Karoline Young                   Email Redacted
                Coyote International L.L.C                                              Email Redacted

                CPA Global Limited                     Clarivate                        Email Redacted
                CPA Global Limited                     CPA Global Limited               Email Redacted

                CPA Global Support Services, LLC                                        Email Redacted
                CPAC Systems AB                                                         Email Redacted
                CPD Enterprises, LLC                   Phillip Dell                     Email Redacted
                Craig Coultman                                                          Email Redacted
                Crane 1 Services, Inc                  c/o Joe Schivone                 Email Redacted
                Crane 1 Services, Inc.                 c/o Joe Schivone                 Email Redacted
                CRC Group                              Jim Sipich, Josh Chassman        Email Redacted
                Creform Corporation                                                     Email Redacted
                Cromer Food Services, Inc              Cromer Food Services, Inc        Email Redacted
                Cromer Food Services, Inc                                               Email Redacted
                Cromer Food Services, Inc.                                              Email Redacted
                Cross Company                          STEVE BURTON                     Email Redacted
                Cross Company                                                           Email Redacted
                Cross Technologies, Inc.               Ken Childress                    Email Redacted
                Cross Technology, Inc.                 Allison Lambert                  Email Redacted
                Crown Equipment Corporation            Andrew Parker                    Email Redacted
                Crown Nissan of Greenville             CHRIS FORD                       Email Redacted

                Crystal Instruments Corporation        Tiffany Pan                      Email Redacted

                Crystal Instruments Corporation        Tiffany Pan                      Email Redacted
                Crystal Sewer & Water Inc                                               Email Redacted
                CSA America, Inc.                      Victoria Lozada                  Email Redacted
                CSM Products, Inc                                                       Email Redacted
                CTI/USA Inc                            Globe Ticket                     Email Redacted
                CTI/USA Inc                            Globe Ticket                     Email Redacted
                CTOU Inc dba Carrier Transicold of
                Utah                                   Henri Vanderbeek                 Email Redacted

                Cubic Transportation Systems, Inc.     ALICIA HUSCHER                   Email Redacted

                Cullen Western Star Trucks LTD.        Gary Harrison                    Email Redacted
                Cushman & Wakefield Ltd.               Amy Ward                         Email Redacted
                Custom Glass Solutions, LLC            REGINA CARPENTER                 Email Redacted
                Custom Glass Solutions, LLC                                             Email Redacted
                Custom Training Aids Inc.                                               Email Redacted
                Cutting Edge Composites Inc.                                            Email Redacted

                Cymmetrik Enterprise Co., Ltd.                                          Email Redacted
                Cynergy Ergonomics, Inc.                                                Email Redacted
                                                       Pamco Printed Tape and Label
                Cypress Multigraphics, LLC             Co., Inc.                        Email Redacted
                Cypress Pest Control, LLC                                               Email Redacted
                D&C Fabrication, LLC                   DBA L&L Fabricating              Email Redacted


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                          CreditorName                      CreditorNoticeName            EmailAddress
                D&L Engineering                                                          Email Redacted
                dacore Datenbanksysteme AG                                               Email Redacted
                Daimler AG                                                               Email Redacted
                Dakota Software Corporation           Carla Taylor                       Email Redacted
                Dakota Software Corporation           James Miller                       Email Redacted

                Dallas Area Rapid Transit Authority                                      Email Redacted
                Dalmec, Inc.                                                             Email Redacted
                Dan Kamut                                                                Email Redacted
                Danfoss Power Solutions (US)
                Company                               Cliff Stokes                       Email Redacted
                Danfoss Power Solutions (US)
                Company                                                                  Email Redacted
                Daniel LaShea Johnson                                                    Email Redacted
                Danny Simpson                         DBA Bay Area Cleaning              Email Redacted
                Daphne L Anderson                                                        Email Redacted
                Darius Hall                                                              Email Redacted
                Data Alliance Inc.                    Simon Kingsley                     Email Redacted
                Daughters of Rosie Inc.               Ezra Spier                         Email Redacted
                Dave Zamora                           dba Ztech MFG, LLC                 Email Redacted
                David K. Lee                                                             Email Redacted
                Day Management Corporation            DBA Day Wireless Systems           Email Redacted
                Day Management Corporation            DBA Day Wireless Systems           Email Redacted
                DBK USA, Inc.                                                            Email Redacted
                DCX, Inc                              Thomas Glogower                    Email Redacted
                DDB Unlimited, Inc.                                                      Email Redacted
                De Bella Mechanical, Inc.             John Helm                          Email Redacted

                Dearborn Crane & Engineering Co.                                         Email Redacted
                Decker Electric Inc.                  Brandon Horsch                     Email Redacted
                Decker Electric Inc.                  Brian Fair                         Email Redacted
                Dedicated Micros, Inc.                JOHN BONSEE                        Email Redacted
                Defense Innovation Unit                                                  Email Redacted
                Deflecto LLC                          Eagle Plastics & Rubber Co.        Email Redacted
                Delaware Dept of Justice              Attorney General                   Email Redacted
                Delaware Secretary of State           Division of Corporations           Email Redacted
                Delaware State Treasury                                                  Email Redacted
                Delaware Transit Corporation                                             Email Redacted

                Delaware Transit Corporation                                             Email Redacted
                Delaware Transit Corporation                                             Email Redacted

                Delaware Transit Corporation                                             Email Redacted
                Dell Financial Services LLC           AJ Robertson                       Email Redacted
                Dell Financial Services LLC           Michael Jorgeson                   Email Redacted
                Dell Marketing L.P                    c/o Dell USA L.P.                  Email Redacted
                Dell Marketing L.P                    Danny Wanner                       Email Redacted
                Dellinger Enterprises, LTD            Chris Isenberg                     Email Redacted
                                                      Gregory D Dellinger & Teresa
                Dellinger Enterprises, Ltd.           Edge                               Email Redacted
                Delta Dental of Missouri                                                 Email Redacted


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                                                      Creditor Matrix
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                           CreditorName                     CreditorNoticeName         EmailAddress
                Delta Services, LLC                                                   Email Redacted
                Delta T Corporation                                                   Email Redacted
                Delta Wireless, Inc.                                                  Email Redacted

                Democratic Party of Orange County                                     Email Redacted
                Denim Video LLC                   Sylvia Gorajek                      Email Redacted
                Denominator Company, The                                              Email Redacted
                                                  ADMINISTRATIVE ASSISTANT
                Dentons US LLP                    Lynette Wilson                      Email Redacted
                Denver Metal Finishing                                                Email Redacted
                Department of Health and Human
                Services Centers                  Pay.gov                             Email Redacted
                Department of Transportation and
                Public Works                                                          Email Redacted
                Depco Pump Company                                                    Email Redacted
                Derek N Walton                    DBA L F Research                    Email Redacted
                Derek Wong                                                            Email Redacted
                Derrick Pendergrass                                                   Email Redacted
                Des Moines Area Regional Transit
                Authority                         Michael Gulick                      Email Redacted
                Des Moines Area Regional Transit
                Authority                                                             Email Redacted
                Deshler C. Mansel                 Greenville Deputy                   Email Redacted
                Desman Corp                                                           Email Redacted
                Deufol Sunman, Inc.               Andrew                              Email Redacted
                Devin Domnick                                                         Email Redacted
                DeVita & Associates, Inc.         Reggie Reynolds                     Email Redacted
                DEWESoft, LLC                                                         Email Redacted
                Dhairya Pandya                                                        Email Redacted
                Dialight Corporation              KATHY SMITH                         Email Redacted
                Dialight Corporation                                                  Email Redacted
                Diamond Manufacturing                                                 Email Redacted
                Diamond Manufacturing, Inc.       Todd Cull                           Email Redacted
                Diamond Springs Water                                                 Email Redacted
                                                  Cox Automotive Mobility Fleet
                Dickinson Fleet Services, LLC     Services                            Email Redacted
                DigiCert, Inc.                    Tyrell Schmoe                       Email Redacted
                Digi-Key Corporation                                                  Email Redacted
                Digi-Key Electronics                                                  Email Redacted
                Digital Recorders, Inc.                                               Email Redacted
                DILAX Systems Inc.                Alexander Okapuu                    Email Redacted
                DILAX Systems Inc.                                                    Email Redacted
                Direct Scaffold Supply, LP                                            Email Redacted
                DIRECTV, LLC                                                          Email Redacted

                DisCom International                  Lori Carr                       Email Redacted
                Displayit Holdings, LLC               Michael Rector                  Email Redacted
                District of Columbia, District
                Department of Transportation                                          Email Redacted
                Diversified Electronics Inc.                                          Email Redacted
                Dixie Rubber & Plastics, Inc.         MARTIN BOSWELL                  Email Redacted


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                          CreditorName                        CreditorNoticeName         EmailAddress
                Dixie Rubber & Plastics, Inc.                                           Email Redacted
                Dixon Hughes Goodman                                                    Email Redacted
                DJ Products                                                             Email Redacted
                DMS Video Productions Ltd             DBA 5Gear Studios                 Email Redacted
                DocuSign, Inc.                                                          Email Redacted
                Doga USA, Corp                        Jim Tyrakowski                    Email Redacted
                Doga USA, Corp                                                          Email Redacted
                Dominic Bolton                                                          Email Redacted
                Dominick Dunne                        DBA Dominick Dunne Painting       Email Redacted
                Dominion Energy Virginia                                                Email Redacted
                Domino Amjet Inc                                                        Email Redacted
                Dongling Technologies Co, Ltd                                           Email Redacted

                Donna J. Price and Allen L. Price                                       Email Redacted

                Donnelly Electrical Services, LLC                                       Email Redacted
                Doran Mfg, LLC                        TIM MULLEN                        Email Redacted
                Dority & Manning                                                        Email Redacted
                Double E Company LLC                  DBA Schlumpf Inc                  Email Redacted
                DoubleMap, Inc.                       DANIEL AGERTER                    Email Redacted
                Douglas Autotech Corporation          AKIHIKO MACHIDA                   Email Redacted
                Drive Test GmbH                                                         Email Redacted
                Drive-Rite Ltd                                                          Email Redacted
                Druva, Inc.                           LICENSE DELIVERY                  Email Redacted
                                                      Peter Torre ACCOUNT
                Druva, Inc.                           MANAGER                           Email Redacted
                Druva, Inc.                                                             Email Redacted
                DS Services of America, Inc.                                            Email Redacted

                DSP Research, Inc.                                                      Email Redacted
                DSV Air & Sea, Inc.                                                     Email Redacted
                DTI Group Ltd                         CLIFF BROOKS                      Email Redacted
                Duke Energy Carolinas                 Duke Energy Carolinas             Email Redacted
                Duke Energy Carolinas                 Mary M. Caskey, Esq.              Email Redacted
                Duke Energy Carolinas, LLC                                              Email Redacted

                Duke University Health System, Inc.                                     Email Redacted
                Duluth Transit Authority              Duluth Transit Authority          Email Redacted
                Duluth Transit Authority              Howard A. Cohen, Esq.             Email Redacted
                Dungarees, LLC                                                          Email Redacted
                Durex Industries                                                        Email Redacted
                Dust Collector Services, Inc.         Greg Schlentz                     Email Redacted
                DustControl, Inc.                                                       Email Redacted
                DWF Claims                                                              Email Redacted
                DWFritz Automation, Inc               Mac Makhni                        Email Redacted
                DWFritz Automation, LLC                                                 Email Redacted
                Dynamic Motion Control, Inc.          DBA DMC,Inc.                      Email Redacted
                Dynamic Motion Control, Inc.                                            Email Redacted
                Dynatect Manufacturing                Erica Zurita                      Email Redacted
                Dynatect Manufacturing                                                  Email Redacted
                Dynatect Manufacturing Inc.                                             Email Redacted


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                                                        Creditor Matrix
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                           CreditorName                         CreditorNoticeName         EmailAddress
                E & G Terminal, Inc.                                                      Email Redacted
                E & M Sales, Inc.                                                         Email Redacted
                E Mobility Market Services DBA
                ZappyRide/JD Power                      Legal                             Email Redacted

                E&M Electric and Machinery, Inc.                                          Email Redacted
                Eagle Group USA, Inc.                   Deborah Iafrate                   Email Redacted
                E-ANDE (H.K.) Limited                                                     Email Redacted
                EAO Switch Corporation                                                    Email Redacted
                EAO Switch Corporation                                                    Email Redacted
                Eastern Contra Costa Transit
                Authority (ECCTA)                                                         Email Redacted

                Eaton Corporation                       ROMMELL MANDAP                    Email Redacted
                Eaton Corporation                                                         Email Redacted
                Eaton Industrial (Wuxi) Co., Ltd                                          Email Redacted
                Eaton Truck Components SP                                                 Email Redacted
                Eaton Truck Components SP                                                 Email Redacted

                Eberspacher Sutrak GmbH & Co.           CALEB CREER                       Email Redacted

                Eberspacher Sutrak GmbH & Co.                                             Email Redacted
                Eberspaecher Climate Control
                Systems Sp. zo.o                                                          Email Redacted
                Eberspaecher Climate Control
                Systems Sp. zo.o                                                          Email Redacted
                Eberspaecher Climate Control
                Systems U.S.A. Inc.                     Ulises Espinisa                   Email Redacted
                Echo Engineering & Production
                Supplies, Inc.                          CLIFF SHEPHARD                    Email Redacted
                Echo Engineering & Production
                Supplies, Inc.                                                            Email Redacted
                Echo Engineering & Production
                Supplies, Inc.                                                            Email Redacted
                Echo Global Logistics, Inc.             MYRON RONAY                       Email Redacted
                Eclipse Metal Fabrication Inc.          Eduardo Molina                    Email Redacted
                ECO Transit                                                               Email Redacted
                ECO, Inc.                                                                 Email Redacted
                EcoShift Consulting, LLC                                                  Email Redacted
                EDAG, Inc                                                                 Email Redacted
                Eden Technologies, Inc.                 ACCOUNT MGR Kei Baron             Email Redacted
                Edward Chu                                                                Email Redacted
                EEEA, Inc.                                                                Email Redacted
                EFC International                                                         Email Redacted
                Effectus Group LLC                                                        Email Redacted
                E-Hazard Management LLC                                                   Email Redacted
                EHS Compliance Services Inc.            Kahlilah Guyah                    Email Redacted

                EIS SC, LLC f/k/a LSC SC, LLC           dba Palmetto Compressors          Email Redacted
                Elasto Proxy                            Beth Branyon                      Email Redacted
                Elcometer, Inc.                                                           Email Redacted


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                           CreditorName                      CreditorNoticeName         EmailAddress
                Eldeco, Inc.                                                           Email Redacted

                Eldorado National (California), Inc.                                   Email Redacted
                ElDorado National Inc.                                                 Email Redacted
                ElDorado National Inc.                                                 Email Redacted
                Elec-Tec, Inc.                                                         Email Redacted
                Electric Drive Transportation
                Association                             Emory Oney                     Email Redacted
                Electric Mobility Canada                                               Email Redacted

                Electrification Coalition Foundation    Robbie Diamond                 Email Redacted
                Electro Kinetic Technologies                                           Email Redacted

                Electro Star Industrial Coating, Inc.                                  Email Redacted

                Electro-LuminX Lighting Corporation                                    Email Redacted
                Electro-Matic Integrated, Inc.      Josh Tataren                       Email Redacted

                Electronic Control Services Corp                                    Email Redacted
                Element Material Technology Detroit DBA Element Material Technology
                LLC                                 Detroit - Troy                  Email Redacted
                Element Materials Technology        BUSINESS DEVELOPMENT Brian
                Huntington Beach LLC                Tran                            Email Redacted
                Elevated Components Inc                                             Email Redacted
                Elevated Industrial Soltuions       Sharon Ramsey                   Email Redacted
                Elite Electronic Engineering Inc                                    Email Redacted
                Elliott Davis Decosimo LLC          Lauren Smith                    Email Redacted

                Ellis Performance Solutions, LLC        Erin Ellis                     Email Redacted
                E-M Manufacturing, Inc.                 VANESSA MORANDA                Email Redacted
                eMedia Group Inc                                                       Email Redacted
                Emka, Inc.                                                             Email Redacted
                Empire Broadcasting Corporation-
                KLIV                                    LISA SALUD                     Email Redacted
                Employment Screening Services,
                Inc.                                                                   Email Redacted
                Endeavor Business Media LLC                                            Email Redacted
                Endeavor Technologies, LLC                                             Email Redacted
                EndoChem LLC                            Jason Hernandez                Email Redacted
                EndoChem LLC                            Tony Chen                      Email Redacted
                EndoChem LLC                                                           Email Redacted
                Endura Steel, Inc.                      DBA Smith Ironworks            Email Redacted
                Energetx Composites, Inc                                               Email Redacted
                Energy Arts and Science
                Corporation                                                            Email Redacted
                Engent Inc.                                                            Email Redacted
                Engineered Components, Inc.                                            Email Redacted

                Engineered Machined Products Inc. EMP Advanced Development             Email Redacted

                Engineered Machined Products, Inc                                      Email Redacted


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                            CreditorName                      CreditorNoticeName              EmailAddress
                Engineered Systems, Inc                                                      Email Redacted
                Englewood Driveshafts                                                        Email Redacted
                Ennis Electric Company, Inc.            Stephen Blankenship                  Email Redacted
                Entelo, Inc                                                                  Email Redacted
                Enterprise Damage Recovery                                                   Email Redacted
                Environmental Outsource, Inc.                                                Email Redacted

                Environmental Spray Systems, Inc.                                            Email Redacted

                Environmental Spray Systems, Inc.                                            Email Redacted
                Envision Entertainment                                                       Email Redacted
                Envoy Inc                               Dhruv Mohan                          Email Redacted
                Envoy Inc                               Ross Watson                          Email Redacted
                Envoy Inc                                                                    Email Redacted
                EPC Power Corp.                         CCO & EVP Allan Abela                Email Redacted
                Ephesians Three Twenty Realty,
                LLC                                                                          Email Redacted
                EPMware, Inc.                           Tony Kiratsous                       Email Redacted

                Epstein Becker and Green, P.C.          Christopher Farella                  Email Redacted

                eQuest LLC                              Liz Lee                              Email Redacted
                Equinox Geoup, Inc.                                                          Email Redacted

                Equipment Depot California, Inc.        c/o Richard J. Wallace, III          Email Redacted
                Equity Methods LLC                                                           Email Redacted
                era-contact USA, LLC                    David Krahl                          Email Redacted
                Ergo Corporation                                                             Email Redacted
                Ergomat, Inc.                                                                Email Redacted
                Ergotech Controls Inc.                  DBA Industrial Networking            Email Redacted

                Erlich Industrial Development,Corp                                           Email Redacted
                Ernest Packaging Solutions                                                   Email Redacted
                ESCP PPG Intermediate Holdings,
                Inc                                     DBA Penn Power Group                 Email Redacted
                ETA Advertising                                                              Email Redacted
                Etorch Inc.                             DBA MailControl                      Email Redacted
                ETRADE Financial Corporate
                Services, Inc.                                                               Email Redacted
                etrailer.com                            Melissa Atwell                       Email Redacted
                ETS-Lindgren Inc.                                                            Email Redacted
                Eugene B Loftis                         DBA Loftis Printing Co., Inc.        Email Redacted
                Euler Hermes Agent for USSC
                GROUP, INC.                                                                  Email Redacted
                Euromoney Global Limited                Henry Thomas                         Email Redacted
                EV Infrastructure LLC                   Maxgen EV Construction               Email Redacted
                Evan Johnson                                                                 Email Redacted
                Everest National Insurance
                Company                                 Cory Doyle                           Email Redacted
                Evolve Packaging LLC                                                         Email Redacted
                Evolve Packaging LLC                                                         Email Redacted


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                            CreditorName                    CreditorNoticeName           EmailAddress
                EWT Holdings III Corp                  DBA Evoqua Water Technologie     Email Redacted
                Excel RP, Inc.                                                          Email Redacted
                Excel4apps, Inc.                       DBA Insightsoftware              Email Redacted
                Execusource, LLC                                                        Email Redacted
                Exova, Inc.                                                             Email Redacted
                Expeditors Canada Inc.                 Todd Jackman                     Email Redacted
                Expeditors International of
                Washington Inc                                                          Email Redacted
                Expeditors Tradewin, LLC                                                Email Redacted
                Experi-Metal Inc.                      Chris Ditri                      Email Redacted
                Experi-Metal Inc.                      Kevin Deras                      Email Redacted
                Expert Piping Supply, Inc.                                              Email Redacted
                Exponent, Inc.                         Meagan Hebdon                    Email Redacted
                F3 Concepts                                                             Email Redacted
                FAB Industries                                                          Email Redacted
                FabricAir, Inc.                        Bret Pettit                      Email Redacted
                FabricAir, Inc.                                                         Email Redacted
                Facet Engineering, LLC                 Noemy Skidelsky                  Email Redacted
                Factiva a Dow Jones Co                 Lori Dunbar                      Email Redacted
                Factiva, Inc.                                                           Email Redacted
                Fagor Automation                                                        Email Redacted
                Fairforest of Greenville LLC           Madina Cauthen                   Email Redacted
                Fairforest of Greenville LLC           Thomas Mercado                   Email Redacted

                Faiveley Transport North America       SHERRY CLARDY                    Email Redacted
                Falcon Technologies, Inc.              Desiree Pantukhoff               Email Redacted
                FANUC America Corporation              Carol Johns                      Email Redacted
                Farient Advisors LLC                                                    Email Redacted
                Farient Advisors, LLC                  Marcia Kostos                    Email Redacted
                Faro Technologies, Inc.                                                 Email Redacted
                Fast Turn Harnesses LLC                                                 Email Redacted
                Fast Turn Harnesses LLC                                                 Email Redacted
                Fastbolt                                                                Email Redacted
                                                       GREENVILLE STORE
                Fastenal Company                       GREENVILLE STORE                 Email Redacted
                Fastenal Company                       Legal                            Email Redacted
                FCA, LLC                               Tori DeVolder                    Email Redacted
                FCA, LLC                                                                Email Redacted
                Federal Insurance Company              DBA Chubb & Son                  Email Redacted
                FedEx Freight                                                           Email Redacted

                FedEx Office and Print Services Inc.   Darryl Pollard                   Email Redacted
                Felton Inc                                                              Email Redacted
                Femco USA, Inc.                        Ron Wolsuijk                     Email Redacted
                Femco USA, Inc.                                                         Email Redacted
                Fenton, Teal                                                            Email Redacted
                Fenwick and West LLP                   Marcia Matson                    Email Redacted
                Ferrer Motor Inc                       All American Truck & Body        Email Redacted
                Fictiv Inc.                            Sunny Sahota                     Email Redacted
                Fiero Fluid Power Inc.                                                  Email Redacted
                Figma, Inc.                                                             Email Redacted


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                           CreditorName                      CreditorNoticeName          EmailAddress
                Find Great People, LLC                 Payroll & Billing Amanda Stern   Email Redacted
                Finish Master Inc                                                       Email Redacted
                Fireball Equipment Ltd                 Inside Sales                     Email Redacted
                Firestone Industrial Products
                Company                                ANDREA MILLER                    Email Redacted
                Firestone Industrial Products
                Company                                                                 Email Redacted
                Firestone Productions Inc                                               Email Redacted
                Firetrace USA, LLC                                                      Email Redacted
                First Aid Canada Inc.                  Aaron Wayne                      Email Redacted
                First Person, Inc.                                                      Email Redacted
                First Transit                                                           Email Redacted
                Fisheye Studios, Inc                                                    Email Redacted
                Fixlogix LLC                           Mike Martin                      Email Redacted
                Fixtureworks LLC                                                        Email Redacted
                Fleet BodyWorx Inc.                                                     Email Redacted
                FleetPride, Inc.                       JUSTIN EMERY                     Email Redacted
                Flex Technologies Inc.                                                  Email Redacted
                Flex-Cable                                                              Email Redacted

                Flexible Assembly Systems, Inc.                                         Email Redacted
                FlexQube, Inc..c/o AR Funding                                           Email Redacted
                FlexQube, Inc..c/o AR Funding                                           Email Redacted

                FlexSim Software Products, Inc.        Brent Campbell                   Email Redacted

                Florida Power & Light Company                                           Email Redacted
                Florida Public Transportation
                Association                            Lisa Bacot                       Email Redacted
                Fluid Power Energy, Inc.                                                Email Redacted

                Fluidium Concepts, LLC                 U.S. SALES Kim Bergman           Email Redacted
                FLW Southeast, Inc.                                                     Email Redacted
                FMK Construction Inc                   Giampiero Kirpatrick             Email Redacted
                FMP Global                             DBA Eurowage Ltd                 Email Redacted
                Forbes Bros Ltd                                                         Email Redacted

                Forbes Commercial Services, Inc.                                        Email Redacted
                Forensic Analytical Consulting
                Services Inc                           Betsy Lee                        Email Redacted
                Formlabs, Inc.                                                          Email Redacted
                Forster Instruments Inc                                                 Email Redacted
                Forte Press Corporation                                                 Email Redacted
                Forth                                  Simbiat Yusuff                   Email Redacted
                Foster Instruments Inc                                                  Email Redacted
                Fotronic Corporation                   DBA Test Equipment Depot         Email Redacted
                Fotronic Corporation                   DBA Test Equipment Depot         Email Redacted
                Fotronic Corporation                   DBA Test Equipment Depot         Email Redacted
                Foundations Unlimited LLC                                               Email Redacted
                Foundry Service and Supply                                              Email Redacted



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                           CreditorName                    CreditorNoticeName         EmailAddress
                Fragomen, Del Rey, Bernsen &
                Loewy, LLP                                                           Email Redacted
                Francis Energy, LLC                                                  Email Redacted
                Franklin Truck Parts, Inc.           Derrick Pinnecker               Email Redacted
                Frederic Guay                                                        Email Redacted
                Freedman Seating Company             Obed Reyes                      Email Redacted
                Fresh Water Systems Inc.                                             Email Redacted
                Freshfields Bruckhaus Deringer US  Attn Scott Talmadge, Ali
                LLP                                Muffenbier                        Email Redacted
                                                   MAINTENANCE MGR George
                Fresno County Rural Transit Agency Sipin                             Email Redacted
                Friends of Laketran                Julia Schick                      Email Redacted
                Front Panel Express LLC                                              Email Redacted
                Frost & Sullivan                                                     Email Redacted
                Fujipoly American Corp                                               Email Redacted

                Fulfeelment, LLC                                                     Email Redacted
                Full Spectrum Laser LLC                                              Email Redacted
                Furniture Services Inc.              DBA ACRS                        Email Redacted

                Fusion Project Management Ltd        DBA Fusion Projects             Email Redacted
                Fusion Technology                                                    Email Redacted
                FUTEK Advanced Sensor
                Technology, Inc.                                                     Email Redacted

                Fuzhou BAK Battery Co., LTD          Sherry Liu                      Email Redacted
                G & T Properties                                                     Email Redacted
                G&G Builders, Inc.                   Harry Cathrea                   Email Redacted
                G.A. Wirth Company, Inc.                                             Email Redacted
                G.F. League Company, Inc. (QUICK
                CRATE)                                                               Email Redacted
                Gaging.com LLC                       Monty Abrams                    Email Redacted
                Galco Industrial Electronics         Beata Votral                    Email Redacted
                Gallo Business Media                                                 Email Redacted
                Gamers Gear LLC                      DBA Wonder Guards               Email Redacted
                Gamma Technologies LLC                                               Email Redacted
                Gamma Technologies LLC                                               Email Redacted
                Ganzcorp Investments, Inc.           DBA Mustang Dynamometer         Email Redacted
                Garfield Signs & Graphics, LLC       Josh                            Email Redacted
                Garreth Adam Williams                                                Email Redacted
                Gary D. Nelson Associates                                            Email Redacted
                Gary Silvers                                                         Email Redacted
                Gatekeeper Systems USA Inc           Abdul Azim                      Email Redacted
                Gauri Joshi                                                          Email Redacted
                GAWS of London                                                       Email Redacted
                GEA PHE Systems North America,
                Inc.                                                                 Email Redacted
                Gems Sensors, Inc.                                                   Email Redacted
                Gems Sensors, Inc.                                                   Email Redacted
                Genard, Inc. DBA Lennova                                             Email Redacted
                General Assembly Corporation                                         Email Redacted


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                          CreditorName                       CreditorNoticeName           EmailAddress
                General Cable Industries, Inc.                                           Email Redacted
                General Traffic Equipment Corp         Raymond Staffon                   Email Redacted
                Genesys Industrial Corp                Dutch Dillingham                  Email Redacted
                GENFARE, LLC                           TERESE GILLUM                     Email Redacted
                GENFARE, LLC                                                             Email Redacted
                George Heiser Body Co., Inc.           Trenia Christianson               Email Redacted
                                                       Golden State Maintenance &
                George Hernandez                       Inspection LLC                    Email Redacted
                George JU                                                                Email Redacted
                Georgia Department of
                Administrative Services                                                  Email Redacted
                Georgia/Carolina Safety Specialties,
                Inc                                                                     Email Redacted
                Georgia/Carolina Safety Specialties,   DBA Eyes in Motion, USA & Saefty
                Inc.                                   Rx Eyewear                       Email Redacted
                Gerflor USA                            Abby Pantoja                     Email Redacted
                Gerflor USA                                                             Email Redacted
                Gexpro Services                        Dan Phillips                     Email Redacted
                Gexpro Services                        GS Operating, LLC                Email Redacted
                GH Metal Solutions, Inc.               DAVID CAME                       Email Redacted
                GH Metal Solutions, Inc.                                                Email Redacted
                                                       Custom Glass Solutions Upper
                GI Glass Holdings, LLC                 Sandusky, LLC                    Email Redacted
                Gigavac LLC                            Frida Sofia Aguilar Romo         Email Redacted
                Gigavac LLC                                                             Email Redacted
                GigSky, Inc.                                                            Email Redacted
                Gina Oh                                                                 Email Redacted
                GL Frederick Inc                       Electrical Services Company      Email Redacted
                Glass & Marker Inc.                    Sam Yudes                        Email Redacted
                Gleason Reel Corporation                                                Email Redacted
                Global Equipment Company               Nick Cimber                      Email Redacted
                Global Equipment Company                                                Email Redacted
                Global Innovations, U.S.A                                               Email Redacted

                Global Technology Ventures Inc.                                          Email Redacted

                Global Traffic Technologies LLC        Craig Carroll                     Email Redacted

                GM Nameplate, Inc./SuperGraphics                                         Email Redacted
                GMW Associates                         INSIDE SALES Simone Sexton        Email Redacted
                Godshall & Godshall Personnel
                Consultants, Inc                       Send POs to                       Email Redacted
                GoEngineer, Inc.                       Teri Knight                       Email Redacted
                Gold Coast Dist.                                                         Email Redacted
                Golden Strip Glass, Inc.               Henry Kurtz                       Email Redacted
                Gonzalez, Jaudiel                                                        Email Redacted
                Gordon A. Nevison                                                        Email Redacted
                Gordon A. Nevison                                                        Email Redacted
                GOS                                                                      Email Redacted
                Got Electric, LLC                      Joshua Parmentier                 Email Redacted
                GoTriangle                                                               Email Redacted


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                                                      Creditor Matrix
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                            CreditorName                      CreditorNoticeName         EmailAddress
                Gourmet Lovers Catering Inc            Carolina Guardado                Email Redacted
                GPS Networking                                                          Email Redacted
                Graffiti Shield                                                         Email Redacted
                Grainger                               Nathan Jared                     Email Redacted
                Graphic Innovations Inc.               Carolyn Bouchard                 Email Redacted
                Graphic Products Inc.                                                   Email Redacted
                Graybar                                JASON WATKINS                    Email Redacted

                Grayson Thermal Systems Corp.          CIARA ABBEY                      Email Redacted

                Grayson Thermal Systems Corp.          FAYBIAN TAYLOR                   Email Redacted

                Grayson Thermal Systems Corp.                                           Email Redacted

                Grayson Thermal Systems Corp.                                           Email Redacted

                Great American Insurance Group                                          Email Redacted

                Great Lakes Rubber Portland Inc.       DBA Chinook O-Rings and Seals    Email Redacted

                Great Lakes Rubber Portland Inc.       DBA Chinook O-Rings and Seals    Email Redacted

                Greater Peoria Mass Transit District                                    Email Redacted
                Greater Portland Transit District
                (Metro)                                                                 Email Redacted
                Greater Raleigh Chamber of
                Commerce                               Natalie Griffith                 Email Redacted
                Green Earth Sustainable Solutions
                LLC                                                                     Email Redacted
                Green Heart Foods, LLC                 Nautica Welch                    Email Redacted
                Green Metro Construction                                                Email Redacted
                Greenlight Innovation Corp.                                             Email Redacted
                Greenville Industrial Rubber &
                Gasket Co., Inc.                       Devin Stone                      Email Redacted
                Greenville Industrial Rubber &
                Gasket Co., Inc.                                                        Email Redacted
                Greenville Maintenance                 Greenville Maintenance           Email Redacted
                Greenville Maintenance                 Rex Jones                        Email Redacted
                Greenville Mechanical, LLC             Gail Borrmann                    Email Redacted
                                                       Greenville Office Supply Company
                Greenville Office Supply Co., Inc.     Co Inc                           Email Redacted

                Greenville Office Supply Co., Inc.     Heather Hickman New              Email Redacted
                Greenville Pickens Roundtrac                                            Email Redacted
                Greenville Tech                                                         Email Redacted
                Greg Smith Equipment Sales                                              Email Redacted
                Grid Connect                                                            Email Redacted
                Griffiths Corporation                  DBA K-TEK CAROLINA               Email Redacted
                Grote Industries, LLC                  Lora McMahon                     Email Redacted
                Group Dekko                                                             Email Redacted
                GS Manufacturing Inc.                                                   Email Redacted


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                                                      Creditor Matrix
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                          CreditorName                      CreditorNoticeName          EmailAddress
                GS Operating, LLC d/b/a Gexpro        GS Operating, LLC d/b/a Gexpro
                Services                              Services                         Email Redacted
                GS Operating, LLC d/b/a Gexpro
                Services                              John D. Demmy                    Email Redacted
                GSW Manufacturing Inc                 Diana Zeltner                    Email Redacted
                GSW Manufacturing Inc                 GSW Manufacturing Inc            Email Redacted
                                                      Deborah Turner GT Development
                GT Development Corporation            Corporation                      Email Redacted
                GT Development Corporation                                             Email Redacted

                Gunderson Dettmer Stough
                Villeneuve Franklin & Hachigian, LLP Maggie White                      Email Redacted
                Guofeng Jin                                                            Email Redacted
                Guoyuan Qi                                                             Email Redacted
                Gurobi Optimization, LLC             Mark Steidel                      Email Redacted
                H & W Electrical Corp                                                  Email Redacted
                Haaker Equipment Company             DBA Total Clean                   Email Redacted
                Hadley Products Corporation                                            Email Redacted
                Haider Bajwa                                                           Email Redacted
                Haig Precision Mfg. Corp.                                              Email Redacted
                Haldex Brake Products Corp.          Isis Guel                         Email Redacted

                Halkey Roberts Corporation            Joe Martens                      Email Redacted
                Haltec Corporation                    Jason Crank                      Email Redacted
                Haltec Corporation                                                     Email Redacted
                Hamid Madani                          DBA Base Builders, Inc.          Email Redacted
                Hamilton Clark Sustainable Capital,
                Inc.                                                                   Email Redacted
                Hampton Roads Transit                                                  Email Redacted
                Hampton Roads Transit                                                  Email Redacted
                Handling Services Inc                 Heath Bland                      Email Redacted
                Hanover Displays                      BRENT ANDERSON                   Email Redacted
                Hanover Displays                                                       Email Redacted

                Hansens Precision Machining, Inc.                                      Email Redacted
                Hanson Bridgett LLP                   Shannon Nessier                  Email Redacted
                Happy Tree Productions Inc.           Dean Vogtman                     Email Redacted

                Harold A Steuber Enterprises, Inc.                                     Email Redacted
                Harper Corporation                    FRANK TUCKER                     Email Redacted
                Harper Corporation                                                     Email Redacted
                Harris Handling LLC                                                    Email Redacted
                Harsco Corporation                    DBA Protran Technology           Email Redacted
                HARSCO RAIL, LLC.                     HARSCO RAIL, LLC                 Email Redacted
                                                      PROTRAN, A DIVISION OF
                HARSCO RAIL, LLC.                     HARSCO CORPORATION               Email Redacted

                Harsha Kestur Narayanaswamy                                            Email Redacted
                Harting, Inc. of North America        SARAH CORCORAN                   Email Redacted

                Hastings Air-Energy Control, Inc.     VP-FINANCE Mike Bohrer           Email Redacted


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                              CreditorName                    CreditorNoticeName           EmailAddress

                Hastings Air-Energy Control, Inc.                                         Email Redacted
                Hawkins Towing                                                            Email Redacted
                Hawkins Towing Inc                                                        Email Redacted

                HBM Prenscia, Inc.                    Jae Thompson                        Email Redacted
                HDR Engineering Inc.                                                      Email Redacted
                Heavy Duty Lift & Equipment                                               Email Redacted
                HEF-P Baltimore County, LLC                                               Email Redacted
                Heigl Adhesive Sales, Inc             DBA Heigl Technologies              Email Redacted
                Heilind Electronics                                                       Email Redacted
                Heilind Electronics, Inc.             Jack Wallace                        Email Redacted
                Heilind Electronics, Inc.                                                 Email Redacted
                Heisener Electronics Limited                                              Email Redacted
                Heliox Automotive B.V.                Aswin Linden                        Email Redacted
                Hella, Incorporated                                                       Email Redacted
                Helwig Carbon Products                Geoff Wienke                        Email Redacted
                HEM Data                                                                  Email Redacted
                Hendricks Fabrication Inc.                                                Email Redacted
                Henkel Corporation                                                        Email Redacted
                Henry Christopher Hammett                                                 Email Redacted
                Henry Servin & Sons, Inc.             HS&S                                Email Redacted
                Hercules Capital, Inc.                                                    Email Redacted
                Heritage Wire Harness, LLC                                                Email Redacted
                                                      Christopher Heritage-Crystal
                Heritage-Crystal Clean                Clean                               Email Redacted
                Heritage-Crystal Clean                                                    Email Redacted
                Hester Fabrication Inc.               Daniel Hester                       Email Redacted
                Hi Pro Speed International Inc                                            Email Redacted
                HighByte, Inc.                                                            Email Redacted
                Highlight Labs LLC                                                        Email Redacted
                Hi-Heat Industries                                                        Email Redacted
                Hilco Diligence Services, LLC         Sandy Clark                         Email Redacted
                Hiller Aviation Institute             Lanie Agulay                        Email Redacted
                Hioki USA Corporation                 Hioki USA Corporation               Email Redacted

                Hioki USA Corporation                                                     Email Redacted
                Hioki USA Corporation                                                     Email Redacted
                HiQ Solar, Inc.                                                           Email Redacted
                Hi-Tech                                                                   Email Redacted
                Hodge Products Inc                                                        Email Redacted
                Hodges Transportation, Inc.                                               Email Redacted
                Hoffman & Hoffman, Inc.               PAT LAWSON                          Email Redacted
                Holder Electric Supply                                                    Email Redacted
                Hollin Machine Repair & Scraping,
                Inc.                                                                      Email Redacted
                Holstar LLC                           Doug Mercer                         Email Redacted
                Homeland Insurance Company of
                New York                              Intact Insurance Group USA LLC      Email Redacted
                Homeland Manufacturing, Inc.                                              Email Redacted
                HonBlue Inc.                                                              Email Redacted


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                              CreditorName                    CreditorNoticeName            EmailAddress

                Hood Exhibits, Inc.                     DBA Hood Branded Environments Email Redacted

                Hoosier Tank & Manufacturing, Inc.      Amy Steele                         Email Redacted

                Hope Contractors of Shreveport, Inc.                                       Email Redacted
                HornBlasters Inc                                                           Email Redacted
                Hottinger Bruel and Kjaer Inc.       Tara Bailey                           Email Redacted
                Hovair Automotive LLC                Rusty Jackson                         Email Redacted

                Hovair Systems Manufacturing Inc                                           Email Redacted
                HPS                                                                        Email Redacted
                HR Kleckner Construction, Inc.                                             Email Redacted
                HTI/Human Technologies Inc.                                                Email Redacted
                Huber+Suhner, Inc                       Sandra Denham                      Email Redacted
                Huber+Suhner, Inc                                                          Email Redacted
                Hubner Manufacturing Corporation,
                Inc.                                    DARLENE BERRY                      Email Redacted
                Hubner Manufacturing Corporation,
                Inc.                                                                       Email Redacted
                Hubner Manufacturing Corporation,
                Inc.                                                                       Email Redacted
                                                        Raksha Lahiri, CFA, Vice
                Hudson Insurance Group                  President                          Email Redacted
                Humatics Corporation                    Phil Mann                          Email Redacted
                Humboldt Transit Authority              Jim Wilson                         Email Redacted
                Hunter Services Inc.                                                       Email Redacted

                Hutchinson Aerospace & Industry         Art Hale                           Email Redacted
                Huxley Joseph                                                              Email Redacted
                Hydradyne LLC                                                              Email Redacted
                Hydradyne LLC                                                              Email Redacted

                Hydraulic & Pneumatics Sales, Inc.      JODY CLONINGER                     Email Redacted

                Hydraulic & Pneumatics Sales, Inc.                                         Email Redacted
                Hydraulic Controls Inc.                 Leslie Guzman                      Email Redacted
                Hydraulic Fittings, Inc                 DBA HFI Fluid Power Products       Email Redacted
                Hydraulic Fittings, Inc HFI Fluid
                Power Products                                                             Email Redacted
                Hydro Engineering                                                          Email Redacted
                Hydrogenics Corporation                                                    Email Redacted
                                                        c/o Wells Fargo Vendor Financial
                HYG Financial Services, Inc.            Services LLC                       Email Redacted

                HYG Financial Services, Inc.                                               Email Redacted
                HyperSurf Internet Services Inc.                                           Email Redacted
                Hyun Soo Kim                                                               Email Redacted
                I & A Engineering                                                          Email Redacted
                I.C. Ink Image Co., Inc.                DBA Harbor Signs                   Email Redacted
                I/O Controls                            Jerry Lin                          Email Redacted


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                           CreditorName                       CreditorNoticeName         EmailAddress
                I2SE GmbH                                                               Email Redacted
                Iav Automotive Engineering                                              Email Redacted
                Ibrahim Said                                                            Email Redacted
                ICOMERA U.S., Inc.                      Andrea Agreda                   Email Redacted
                ICS Inc.                                                                Email Redacted
                ID Wholesaler                                                           Email Redacted
                ID Wholesaler                                                           Email Redacted
                Ideal Products, Inc.                                                    Email Redacted
                Ideal Prototypes, Inc.                                                  Email Redacted
                IDEX Global Services                                                    Email Redacted
                IES Synergy, Inc.                                                       Email Redacted
                IEWC CORP.                              Keri Brylow                     Email Redacted
                IEWC CORP.                                                              Email Redacted
                Ignacio J. Ciocchini                    DBA True Eye Design LLC         Email Redacted
                Igus Bearings, Inc.                     DBA Igus, Inc.                  Email Redacted
                Ikonix USA LLC                          INSIDE SALES Lindsay Baker      Email Redacted
                Imagi Outdoor                           Natacha Quesnel                 Email Redacted
                Imanami Corporation                     Juliet Beacham                  Email Redacted
                Imeco Cables America Inc.                                               Email Redacted
                Imeco Cables America Inc.                                               Email Redacted
                                                   DBA Indiana Mills &
                IMMI Holdings, Inc.                Manufacturing, Inc.                  Email Redacted
                IMMI Vehicle Improvement Products,
                Inc.                               Legal Department                     Email Redacted
                Impak Corporation                                                       Email Redacted
                Impakt Holdings, LLC               DBA DMP                              Email Redacted
                Inceptra                                                                Email Redacted
                Inceptra                                                                Email Redacted
                Inceptra LLC                                                            Email Redacted
                Indexx, Inc.                                                            Email Redacted

                Indian Harbor Insurance Company         AXA XL Professional Insurance   Email Redacted
                Indian Head Industries, Inc.            DBA MGM Brakes                  Email Redacted
                Indian Head Industries, Inc.            DBA MGM Brakes                  Email Redacted
                Indicate Technologies Inc                                               Email Redacted
                Inductive Automation, LLC                                               Email Redacted
                Industrial Fabricators, Inc.            Chris Barnes                    Email Redacted
                Industrial Fabricators, Inc.                                            Email Redacted
                Industrial Gas Springs Inc                                              Email Redacted

                Industrial Handling Solutions LLC       TOM CURRIER                     Email Redacted

                Industrial Rubber Supply USA Inc        Kevin Magalas                   Email Redacted

                Industrial Rubber Supply USA Inc.       ACCTS REC Nguyen Nguyen         Email Redacted

                Industrial Rubber Supply USA Inc.                                       Email Redacted

                Industrial Safety Shoe Company                                          Email Redacted
                Industrial Supply Solutions, Inc                                        Email Redacted
                Industrialex                                                            Email Redacted


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                           CreditorName                       CreditorNoticeName           EmailAddress
                Industrystar Solutions LLC                                                Email Redacted

                Infinite Electronics International, Inc. dba L-COM                        Email Redacted

                Infinite Electronics International, Inc. formerly L-COM                   Email Redacted
                INFODEV                                  SHEILA PARADIS                   Email Redacted
                INFODEV                                                                   Email Redacted
                INFODEV                                                                   Email Redacted
                Infodev Electronic Designer
                International Inc.                                                        Email Redacted
                                                         Benesch, Friedlander, Coplan and
                Infosys Ltd.                             Aronoff LLP                      Email Redacted
                Info-Tech Research Group Inc.                                             Email Redacted
                InfraStrategies LLC                      Wendy Mendez                     Email Redacted
                Ingenio Engineering LLC                                                   Email Redacted
                Inigo Insurance                          Lloyds Syndicate 1301            Email Redacted
                INIT Innovations In Transportation
                Inc.                                                                      Email Redacted
                Inland Marine Industries, Inc.                                            Email Redacted
                Inland Metal Technologies                JESSICA DICKINSON                Email Redacted

                Inland Powder Coating Corporation                                         Email Redacted
                Inmotion US LLC                                                           Email Redacted
                Innoairvation, Inc.                                                       Email Redacted
                Innominds Software Inc.                 Accounts                          Email Redacted
                Innovative Manufacturing & Design
                LLC                                     Jennifer Kapustka                 Email Redacted
                InnovMetric Software Inc.                                                 Email Redacted
                Insight Financial Staffing & Search
                Group, LLC                              Dan Schutt                        Email Redacted
                Insight Global, LLC                                                       Email Redacted
                InstaLAN Systems, Inc.                                                    Email Redacted
                Institute of Configuration
                Management, Inc.                        Institute for Process Excellece   Email Redacted
                Integrated Manufacturing and
                Supply, Inc.                                                              Email Redacted
                Integrated Manufacturing and
                Supply, Inc.                                                               Email Redacted
                Integration Partners                    Chris Kolb                         Email Redacted
                                                        Casey Clugston Intellitec Products
                Intellitec Products LLC                 LLC                                Email Redacted
                Interface, Inc.                         Mark Amatuzzo                      Email Redacted
                Interface, Inc.                         Melissa Cowan                      Email Redacted
                Interior Plantscapes, LLC                                                  Email Redacted
                Internal Revenue Service                Attn Susanne Larson                Email Redacted
                Internal Revenue Service                                                   Email Redacted
                International Transportation
                Innovation Center                       dba ITIC                          Email Redacted
                International Transportation
                Innovation Center                       dba ITIC                          Email Redacted
                Intertek Testing Service NA, Inc                                          Email Redacted


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                            CreditorName                      CreditorNoticeName          EmailAddress
                InterVision Systems LLC                 Danielle Frankina                Email Redacted
                InterVision Systems LLC                                                  Email Redacted

                InterVision Systems LLC                                                  Email Redacted
                InterVision Systems LLC                                                  Email Redacted
                Interwest Consulting Group Inc.                                          Email Redacted
                Intralinks, Inc.                                                         Email Redacted
                Invio Automation, Inc.                  Accounts Receivable              Email Redacted
                IoTecha Corp                                                             Email Redacted
                Ipswitch, Inc.                                                           Email Redacted
                Iris Infrared & Intelligent Sensors
                NA. Inc                                 Kahiha Nguvi                     Email Redacted
                Iris Infrared & Intelligent Sensors
                NA. Inc                                                                  Email Redacted
                Iris Infrared & Intelligent Sensors
                NA. Inc                                                                  Email Redacted
                Iron Mountain                                                            Email Redacted
                Ironshore Indemnity Inc.                Liberty Mutual Insurance         Email Redacted
                Isabellenhuette Heusler GmbH &
                Co. KG                                  Joanne Oliveira                  Email Redacted
                Isabellenhuette Heusler GmbH &
                Co. KG                                                                   Email Redacted
                Isabellenhutte USA                                                       Email Redacted
                Italian American Corporation            April Yohn                       Email Redacted
                Italian American Corporation            Veronica Batezone                Email Redacted
                item America, LLC dba item
                Southeast                                                                Email Redacted
                Itin Scale CO., Inc.                                                     Email Redacted

                ITR, LLC d/b/a All City Tow Service     The Porto Law Firm               Email Redacted

                ITR, LLC d/b/a All City Tow Service                                      Email Redacted
                ITT KONI NA                                                              Email Redacted
                Iwona Stroka                                                             Email Redacted
                J and B Tool Sales                                                       Email Redacted
                J F Industries Inc                      CHAD SINON                       Email Redacted
                J. B. Hunt Transport, Inc.                                               Email Redacted
                J. J. Keller & Associates, Inc.         Emily Charles                    Email Redacted
                J. J. Keller & Associates, Inc.                                          Email Redacted
                J.I.T. Manufacturing                                                     Email Redacted
                J.P. Morgan Securities LLC                                               Email Redacted
                J.V. Currie Associates, Inc.            DBA Currie Associates            Email Redacted
                J.W. Koehler Electric, Inc.             Mike Reckman                     Email Redacted
                j2 Cloud Services LLC                   eFax Corporate                   Email Redacted
                J3 Industries                                                            Email Redacted
                Jackson Group Peterbilt                 DBA St George Peterbilt, Inc.    Email Redacted
                Jade Global, Inc.                       Sarnjit Sadhra                   Email Redacted
                Jae Kim                                                                  Email Redacted
                JAK                                     J.A. King                        Email Redacted
                JAK                                     J.A. King                        Email Redacted
                Jama Software Inc.                      Neil Bjorklund                   Email Redacted


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                            CreditorName                    CreditorNoticeName            EmailAddress
                James G. Huffman                      Huffmans Welding Works             Email Redacted
                James Z. Wu                           DBA Envision Productions, Inc.     Email Redacted
                JAMS, Inc.                            Lynne Hart                         Email Redacted
                Janesville Tool & Mfg, Inc.                                              Email Redacted
                Janicki Industries, Inc.                                                 Email Redacted
                Jan-Pro of San Francisco                                                 Email Redacted
                Jared Leninger                        On The Road Graphics LLC           Email Redacted
                JB HUNT TRANSPORT                     ERICA HAYES                        Email Redacted
                JCB Squared LLC                       DBA Crown Trophy                   Email Redacted
                Jean Fortin                                                              Email Redacted
                Jean Martin Inc                                                          Email Redacted
                Jeffery Hammond                                                          Email Redacted
                Jeffrey A. Sobul                      DBA Cobalt Creative                Email Redacted
                Jemby Electric Inc.                                                      Email Redacted
                Jennifer Claire McConnell                                                Email Redacted
                Jennings-Dill, Inc.                                                      Email Redacted
                Jeromy Brians                         DBA Rustworks                      Email Redacted
                Jesus Aucar                           DBA Kojak Wholesale                Email Redacted
                Jet Garage Inc                                                           Email Redacted
                Jet Plastics                                                             Email Redacted
                JF Industries Inc                                                        Email Redacted
                Jian Xu                                                                  Email Redacted
                Jianxin Zhou                                                             Email Redacted
                Jimmy Parcus                                                             Email Redacted
                Jinyoung Barnaby                                                         Email Redacted
                Jiseon Park                                                              Email Redacted
                JLRG, Inc.                            DBA Precision Specialties          Email Redacted
                                                      DBA Burns Truck and Trailer
                JM Burns Inc                          Services                           Email Redacted
                JMK, Inc.                                                                Email Redacted
                Jobs to Move America                                                     Email Redacted
                Joe Weldie                                                               Email Redacted
                John B Filkorn                                                           Email Redacted
                John B Roybal                                                            Email Redacted
                John B Roybal                                                            Email Redacted
                John Casey                                                               Email Redacted
                John Copeland                         Applied Technologies               Email Redacted

                John Deere Electronic Solutions, Inc. RMA RMA                            Email Redacted

                John Deere Intelligent Solutions, a
                Division of Deere and Company         Matthew T. Gensburg                Email Redacted
                John Efird Company                                                       Email Redacted
                John Gregory Katz                                                        Email Redacted
                                                      RMG - Resource Management
                John Junker-Andersen                  Group                              Email Redacted
                John Nystrom                                                             Email Redacted
                John Pearson Racing                                                      Email Redacted
                Johnny Westmoreland                                                      Email Redacted




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                              CreditorName                   CreditorNoticeName           EmailAddress
                                                      Johnson Controls Security
                                                      Solutions (formerly Tyco Fire &
                Johnson Controls US Holdings Inc.     Safety)                            Email Redacted
                Johnson Welded Products, Inc.                                            Email Redacted
                Johnson Welded Products, Inc.                                            Email Redacted
                Jon Byk Advertising, Inc.             Tim Byk                            Email Redacted
                Jonathan Allen                                                           Email Redacted
                Jonathan Engineered Solutions         Kathy Kraft                        Email Redacted
                Jonathan S. Monat, Ph.D.                                                 Email Redacted
                Jonathan Sargent                      DBA Sargent Pest Solutions         Email Redacted
                Jones Day                                                                Email Redacted
                Jordan Whitcomb                                                          Email Redacted
                Jorge Davila                          Davilas Janitorial Services        Email Redacted
                Joseph T. Ryerson & Son                                                  Email Redacted
                Joshua Kaipo Lucas                                                       Email Redacted
                Joy Global                                                               Email Redacted
                Joy Global                                                               Email Redacted

                Joy Global                                                               Email Redacted
                Joy Global                                                               Email Redacted
                Joy Global                                                               Email Redacted
                Joy Global                                                               Email Redacted
                Joy Global                                                               Email Redacted
                Joy Global                                                               Email Redacted
                JP Electric and Son, Inc.             DBA Ruel Electric                  Email Redacted

                JR Automation Technologies, LLC                                          Email Redacted
                JSAC, LLC                                                                Email Redacted
                Judd Wire, Inc.                                                          Email Redacted
                Junk King LLC                                                            Email Redacted
                Kaeser Compressors, Inc                                                  Email Redacted
                Kaitlin Baker                                                            Email Redacted
                Kantola Training Solutions, LLC                                          Email Redacted
                Karst Sports                                                             Email Redacted
                Keith Siu                                                                Email Redacted
                Keller Products                                                          Email Redacted
                Keller USA, Inc.                                                         Email Redacted
                Kelley Engineering, LLC                                                  Email Redacted
                Kemeera, Inc, DBA Fathom              DBA FATHOM                         Email Redacted
                Kenson Plastics Inc                   Allen Dunlap                       Email Redacted
                Kenson Plastics Inc                   Ashley Pratte                      Email Redacted
                Kenson Plastics Inc                   Christina Starcher                 Email Redacted
                Kentucky Clean Fuels Coalition                                           Email Redacted
                Keolis Transit Services, LLC          Bud Spear                          Email Redacted
                Keolis Transit Services, LLC                                             Email Redacted
                Kepco, Inc.                                                              Email Redacted
                Kerwin Associates, LLC                                                   Email Redacted

                Keyence Corporation of America                                           Email Redacted
                Keysight Technologies, Inc.                                              Email Redacted
                Kforce Inc                                                               Email Redacted


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                                                    Creditor Matrix
                                               Served via Electronic Mail

                           CreditorName                     CreditorNoticeName          EmailAddress
                Kidde Technologies, Inc.             ANISHA TAYLOR HARRIS              Email Redacted
                Kidde Technologies, Inc.             Christine Scaia                   Email Redacted
                Kidde Technologies, Inc.                                               Email Redacted
                Kiel NA, LLC.                        Don Makarius                      Email Redacted

                Kilpatrick Townsend & Stockton LLP                                     Email Redacted
                Kimball Communications Inc         Brian Kimball                       Email Redacted

                Kimley-Horn and Associates, Inc.                                       Email Redacted
                                                     DBA bioPURE Environmental
                Kinder Holdings LLC                  Services                          Email Redacted
                King County Metro                                                      Email Redacted
                King Kustom Kovers, Inc.             Dale Dameral                      Email Redacted
                Kingfisch LLC                        DBA Budget Blinds of Greenville   Email Redacted
                Kissling Electrotec, Inc.                                              Email Redacted
                Kitsap County Transit                Jeff Dimmem                       Email Redacted
                KL2 Connects LLC                                                       Email Redacted
                KnowBe4                                                                Email Redacted
                KnowBe4, Inc.                                                          Email Redacted
                Kobalt Industries, Inc.              Kim Salt                          Email Redacted

                Kolors by Keisler Auto Body & Heavy
                Truck Collision Repair, LLC                                            Email Redacted
                Kolors By Keisler, LLC                                                 Email Redacted
                Komatsu Logistics Corp                                                 Email Redacted
                Komatsu Logistics Corp                                                 Email Redacted
                Komatsu Logistics Corp                                                 Email Redacted
                Konecranes, Inc.                                                       Email Redacted
                Kongsberg Power Products Systems
                I, LLC                                                                 Email Redacted
                Koni NA, Inc                                                           Email Redacted
                Koni NA, Inc                                                           Email Redacted
                Koops, Inc.                                                            Email Redacted
                Kopis LLC                                                              Email Redacted
                Kosmek USA Ltd                                                         Email Redacted
                KPMG LLP                                                               Email Redacted
                Krayden, Inc.                                                          Email Redacted
                Kronos, Inc.                                                           Email Redacted
                KSG Enterprise                      12 Point Productions               Email Redacted
                KTH Sales, Inc.                                                        Email Redacted
                Kubik Inc                           Kevin Taylor                       Email Redacted
                Kurtis Williamson                                                      Email Redacted
                Kvaser, Inc.                                                           Email Redacted
                Kyung Jik Lim                                                          Email Redacted
                L Miller & Son Inc.                                                    Email Redacted
                L&R Technologies, LLC                                                  Email Redacted

                L&T Technology Services Limited                                        Email Redacted
                L3Harris Technologies, Inc.,
                L3Harris - PSPC                      c/o Valerie DeFilippo             Email Redacted
                LabCreatrix Global                   Pei Evans                         Email Redacted


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                           CreditorName                    CreditorNoticeName           EmailAddress
                Laco Technologies Inc.               Emily Garcia                      Email Redacted
                LACO, Inc                            Erika Meciar                      Email Redacted
                LACO, Inc                                                              Email Redacted
                LADD Distribution                                                      Email Redacted
                LADD Distribution                                                      Email Redacted
                LAG Strategy Corp                                                      Email Redacted
                Lahlouh Inc                                                            Email Redacted
                Land of Sky Regional Council         Bill Eaker                        Email Redacted
                Landon HR Consulting                 Chuck Landon                      Email Redacted
                Landstar Ranger                                                        Email Redacted
                Laser Fabrication & Machine Co.,
                Inc.                                 DONALD L. THACKER                 Email Redacted
                Laserform and Machine Inc                                              Email Redacted
                Laserform and Machine, Inc.          c/o Tara E. Nauful, Esq.          Email Redacted
                Laservision USA, LP                                                    Email Redacted
                Latham & Watkins                                                       Email Redacted
                Latitude Applied Technologies        MIKE ROSE                         Email Redacted
                Latitude Applied Technologies                                          Email Redacted
                Latitude Applied Technologies                                          Email Redacted

                Latitude Applied Technologies LLC                                      Email Redacted
                Laurie & Brennan, LLP                Daniel Brennan                    Email Redacted
                Lawrence A. Hough                                                      Email Redacted
                                                     Jackie Packard and Allison
                Lawson Products, Inc.                Lemberg                           Email Redacted
                Lazzerini Corporation                Rocco Carbone                     Email Redacted
                Le Groupe Poitras Inc                                                  Email Redacted

                Le Nouveau Palace S.A.               DoubleTree by Hilton Brussels City Email Redacted
                Lean Factory America, LLC                                               Email Redacted
                                                     DBA Jan-Pro of the Western
                LEB Services LLC                     Carolina                           Email Redacted
                LEB Services, LLC dba Jan-Pro of
                the Western Carolinas                                                  Email Redacted
                Lee Hecht Harrison                                                     Email Redacted
                Lee Mathews Equipment, Inc.                                            Email Redacted
                Lee Spring Company LLC                                                 Email Redacted
                Lee White - Sole Proprietor                                            Email Redacted
                LEG Industrie-Elektronik GmbH                                          Email Redacted
                Legacy Components, LLC               Brian Lowell Wolf                 Email Redacted
                Legacy Roofing & Waterproofing,
                Inc.                                 Barbara Laubach                   Email Redacted
                LEM U.S.A., Inc                                                        Email Redacted
                Leo H LeBarre Jr                                                       Email Redacted
                Leonard Stacks                       DBA Test Tech, LLC                Email Redacted
                LER TechForce, LLC                   Jay Adams                         Email Redacted
                Les Industries Flexpipe Inc.         DANIEL CLOUTIER                   Email Redacted
                Les Industries Flexpipe Inc.                                           Email Redacted
                Level 3 Telecom Holdings, LLC a
                CenturyLink Company                  Centurylink Communications        Email Redacted



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                                                         Creditor Matrix
                                                    Served via Electronic Mail

                          CreditorName                         CreditorNoticeName          EmailAddress
                Lewallen Automation and Industrial
                Services                                 Mike Lewallen                    Email Redacted
                Lewis, Desmond                                                            Email Redacted

                Lexco Cable MFG & Distributors Inc                                        Email Redacted

                Lexington Metal Fabricators, Inc.                                         Email Redacted
                                                         Harris Beach PLLC c/o Brian D.
                Lexon Insurance Company                  Roy, Esq.                        Email Redacted
                Lexon Insurance Company                  Lexon Insurance Company          Email Redacted
                LG Chem. Ltd.                            Jeongha Hwang                    Email Redacted
                LG Chem. Ltd.                            Kenny Kwak                       Email Redacted
                LG Energy Solution, LTD.                 David Lee                        Email Redacted
                LG Energy Solution, Ltd.                                                  Email Redacted
                LG Waterjet & Manufacturing                                               Email Redacted
                LHP Telematics                                                            Email Redacted
                Life Insurance Company of North
                America                                                                   Email Redacted
                Lift One LLC                             GREG KOON                        Email Redacted
                Lift-It Manufacturing Co., Inc.                                           Email Redacted
                Lift-U (Hogan Manufacturing              JOHN DURHAM                      Email Redacted
                Lightning eMotors                                                         Email Redacted
                Lightning eMotors                                                         Email Redacted
                Lightning eMotors                                                         Email Redacted
                Lightning eMotors                                                         Email Redacted
                Lightning eMotors                                                         Email Redacted

                Lightning Systems Inc.                                                    Email Redacted
                Lightship Energy, Inc.                                                    Email Redacted
                Lin M. Stillman                                                           Email Redacted
                Lina A. Naumann                                                           Email Redacted
                Linear Express                                                            Email Redacted
                Link Manufacturing Ltd.                                                   Email Redacted
                Link Mfg., Ltd.                                                           Email Redacted
                Linkedin Corporation                                                      Email Redacted
                Linkedin Corporation                                                      Email Redacted
                Lintelio, LLC                            Martha Stabelfeldt               Email Redacted
                Lion Technology, Inc.                    Laura Konopko                    Email Redacted

                Lippert Components Manufacturing KAREN ANDELIN                            Email Redacted
                Littelfuse, Inc.                                                          Email Redacted
                LittleJohn Portable Toilets & Storage
                Containers                                                                Email Redacted
                Livingston & Haven LLC                BILL MEEK                           Email Redacted
                LK Goodwin Co.                                                            Email Redacted
                Lloyd W. Aubry Co., Inc.              CONTROLLER Kevin Overstreet         Email Redacted

                Lloyds Insurance Company S.A.                                             Email Redacted
                Load Banks Direct, LLC                                                    Email Redacted
                Lock-Ridge Tool Co., Inc.                Dan Klamut                       Email Redacted
                Lock-Ridge Tool Company Inc.                                              Email Redacted


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                           CreditorName                        CreditorNoticeName         EmailAddress
                Loftware Inc.                            Matthew Smith                   Email Redacted
                Logena Automotive                                                        Email Redacted
                LogicGate, Inc.                          Sara Haven, General Counsel     Email Redacted
                LogicGate, Inc.                                                          Email Redacted

                Long Trailer and Body Service Inc.                                       Email Redacted
                Longview Holdings Inc.                   DBA WTS                         Email Redacted
                Lopez Island School District                                             Email Redacted
                LORD Corporation                         James Jiuliani                  Email Redacted

                Los Angeles Cleantech Incubator          Shawn Traylor                   Email Redacted

                Los Angeles County Tax Collector         Attn Bankruptcy Unit            Email Redacted
                                                         Kenneth Hahn Hall of
                Los Angeles County Tax Collector         Administration                  Email Redacted
                Los Angeles Department of
                Transportation                           General Manager                 Email Redacted
                Los Angeles Department of
                Transportation                           General Manager                 Email Redacted
                Los Angeles Department of
                Transportation                                                           Email Redacted

                Louisiana Department of Revenue                                          Email Redacted
                Louisiana Motor Vehicle
                Commission                                                               Email Redacted
                Lubrication Engineers                    Kirsten Ratliff                 Email Redacted
                Lubrication Engineers                    Lubrication Engineers           Email Redacted
                Lucas Associates Inc                     DBA Lucas Group                 Email Redacted

                Lucerix International Corporation        Cameron Dickson                 Email Redacted

                Lucerix International Corporation        Kinza Saleh                     Email Redacted

                Lucerix International Corporation                                        Email Redacted
                Luis Andre Gazitua dba Gazitua
                Letelier, PA                                                             Email Redacted

                Luminator Mass Transit, LLC (LMT)                                        Email Redacted
                Luminator Technology Group Global,
                LLC                                                                      Email Redacted
                Luminator Technology Group Global,
                LLC dba Luminator Technology
                Group                              Casey Vanschaik                       Email Redacted
                Lupton Associates, Inc.                                                  Email Redacted
                Luxfer Holdings NA LLC                                                   Email Redacted
                Luxottica Retail North America     DBA Lenscrafters                      Email Redacted
                LVT LLC DBA Item West                                                    Email Redacted
                Lyndon Paul Schneider              DBA Creative Product Specialty        Email Redacted
                LYNX                                                                     Email Redacted
                Lytx, Inc.                                                               Email Redacted
                M & P Labs                         Janet West                            Email Redacted


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                           CreditorName                    CreditorNoticeName           EmailAddress
                M. A. Mortenson Company               DBA Mortenson Construction       Email Redacted

                M.J. Bradley & Associates, LLC        Heather Moore                    Email Redacted
                M1 Graphics CO, Inc                                                    Email Redacted
                M1 Graphics Co., Inc.                 Jody McMurry                     Email Redacted

                Mac Papers                            INSIDE SALES Elizabeth Pulliam   Email Redacted
                Mac Papers                                                             Email Redacted
                Maccor, Inc.                                                           Email Redacted
                Machine Shop Services, LLC            Shipping                         Email Redacted
                Mackro Sales of Michigan, LLC         MICHAEL GROVIER                  Email Redacted
                Madison Art Shop                                                       Email Redacted
                Madison Company                                                        Email Redacted
                                                      See Amerex Magaldi and Magaldi
                Magaldi and Magaldi Inc               Inc                            Email Redacted
                Magna-Power Electronics, Inc.                                        Email Redacted
                Magnetek                                                             Email Redacted
                Magnetic Concepts Corporation                                        Email Redacted
                Maho Lazo                             C/O Justice Law Corporation    Email Redacted
                Maho Lazo                             Dundon Advisers, LLC           Email Redacted
                Maho Lazo                             Wilshire Law Firm              Email Redacted
                Maimin Technology Group, Inc.                                        Email Redacted
                Main Street Teleproductions                                          Email Redacted
                MaintainX, Inc                        Alison Golfman                 Email Redacted
                Manaflex Inc.                         Ammy Liu                       Email Redacted
                Manaflex Inc.                                                        Email Redacted

                Maney International of Duluth, Inc.   Rob Isackson                     Email Redacted
                MangoApps Inc.                                                         Email Redacted
                MangoApps, Inc.                                                        Email Redacted
                Mann+Hummel (UK) Ltd                                                   Email Redacted
                Manz AG                                                                Email Redacted
                Manz USA, Inc.                                                         Email Redacted
                Manz USA, Inc.                                                         Email Redacted
                Manzanita Micro                                                        Email Redacted
                March Networks Inc.                                                    Email Redacted
                Marcus Davenport                                                       Email Redacted
                Marian Inc                            Julie Marian Inc                 Email Redacted
                Marietta Wrecker Service                                               Email Redacted
                Maritec-Metpro Corporation                                             Email Redacted
                Mark Kazikowski                       DBA KazTia Design LLC            Email Redacted
                Marketing Genome Project LLC          Jeff Pascarella                  Email Redacted

                Marsh & McLennan Agency, LLC          William Choy                     Email Redacted
                Marsh Limited                                                          Email Redacted

                Marsh USA, Inc.                       Jeffrey Perkins                  Email Redacted
                Marson International LLC              Tracy Waggoner                   Email Redacted
                Marson International LLC                                               Email Redacted
                Marson International LLC                                               Email Redacted
                Martins Industries                                                     Email Redacted


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                          CreditorName                        CreditorNoticeName            EmailAddress
                Maskine LLC                             Nicklas Thystrup                   Email Redacted
                Mass Precision, Inc.                                                       Email Redacted
                Mass Truck Refrigeration Service,
                Inc                                                                        Email Redacted
                Massachusetts Secretary of
                Commonwealth                                                               Email Redacted

                Master International Corporation                                           Email Redacted
                Material Storage Systems, Inc.                                             Email Redacted
                Materials Handling Solutions            Crane 1 Services, Inc.             Email Redacted
                Mathis Electronics, Inc.                Dima Kazantsev                     Email Redacted
                Mathworks Inc., The                                                        Email Redacted
                Mattei Transport Engineering                                               Email Redacted
                MatterHackers, Inc                                                         Email Redacted
                Matthew D Morano                                                           Email Redacted
                Matthews Bus Alliance                                                      Email Redacted
                Mattson Resources LLC                                                      Email Redacted
                Maxgen Energy Services
                Corporation                             James Tillman                      Email Redacted
                Maysteel Industries                                                        Email Redacted
                MB Kit Systems, Inc.                                                       Email Redacted
                McClarin Plastics, LLC d/b/a            c/o Seyfarth Shaw, James B.
                McClarin Composites                     Sowka                              Email Redacted
                McClarin Plastics, LLC d/b/a
                McClarin Composites                     McClarin Plastics, LLC             Email Redacted
                McDermott Will & Emery LLP              Karen Davis                        Email Redacted

                McDonald Transit Associates, Inc.                                          Email Redacted

                McGriff Insurance Services              DBA Precept Advisory Group, LLC Email Redacted
                MCI Sales and Service                                                   Email Redacted

                McKinley Equipment Corporation                                             Email Redacted
                McKinney Trailer Rentals                BILLING Elia Rivera                Email Redacted
                McKinney Trailer Rentals                Jennifer Crutchfield               Email Redacted
                McMaster-Carr Supply Co.                                                   Email Redacted
                McMillan Pazdan Smith LLC                                                  Email Redacted
                McNaughton-McKay Electric
                Company                                 Chase Boehlke                      Email Redacted
                McNaughton-McKay Electric
                Company                                 John Orlando                       Email Redacted
                McNaughton-McKay Electric
                Company                                                                    Email Redacted

                Mechanical Electrical Systems, Inc.                                        Email Redacted
                Mechanical Rubber Products Co.
                Inc.                                                                       Email Redacted
                Medius Software Inc.                                                       Email Redacted
                Mentor Graphics Corporation                                                Email Redacted

                Mercury Technology Group, Inc.          Mary Chmaj                         Email Redacted


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                              CreditorName                     CreditorNoticeName         EmailAddress

                Mercury Technology Group, Inc.                                           Email Redacted
                Meritor, Inc                             JOHN WOLF                       Email Redacted
                Meritor, Inc.                            c/o Sherrie Farrell             Email Redacted
                Meritor, Inc.                            Dykema Gossett PLLC             Email Redacted
                Meritor, Inc.                            Meritor, Inc.                   Email Redacted
                Meritor, Inc.                            MERITOR, INC.                   Email Redacted

                Merrill Lynch                            Thomas F. Jackson               Email Redacted
                Mersen USA EP Corp                       SALLY MAHONEY                   Email Redacted
                Mersen USA EP Corp                                                       Email Redacted
                MESA Corporation                         MATT CARTER                     Email Redacted
                Metal Solutions Inc.                     Melissa Monarko                 Email Redacted
                Metal Solutions, Inc.                    Ashley Emerick                  Email Redacted
                Metal Solutions, Inc.                    Brian Carney                    Email Redacted
                Metal Solutions, Inc.                                                    Email Redacted
                Metal Solutions, Inc.                                                    Email Redacted

                Metallurgical Technologies, Inc., P.A.                                   Email Redacted

                Metaltec Steel Abrasive Company                                          Email Redacted
                METCO Inc.                                                               Email Redacted
                Metropolitan Tulsa Transit Authority
                (MTTA)                                                                   Email Redacted
                Metropolitan Washington Airports
                Authority                                                                Email Redacted
                Metropolitan Washington Airports
                Authority                                                                Email Redacted
                MFG West                                                                 Email Redacted
                MGA Research Corporation                                                 Email Redacted
                Miami-Dade County                        County Attorney                 Email Redacted
                Mica Electrical Material (Luhe) Co.,
                Ltd.                                     Jonas Ju                        Email Redacted
                Micah Morrell                                                            Email Redacted

                Micah Morrell, Drone Scope Media                                         Email Redacted

                Michael E Boyle Consulting Services                                      Email Redacted
                Michael F Murphy                    DBA postcorptv LLC                   Email Redacted
                Michael Francis Adami               DBA M. A. Communications             Email Redacted
                Michael McCurdy                     DBA Mike McCurdy Roofing Inc.        Email Redacted

                Michael Oravetz                                                          Email Redacted
                Michael Prishlyak                        DBA Webwave Co.                 Email Redacted
                Michelin North America, Inc.             GAIL BAXTER                     Email Redacted

                Micro Precision Calibration, Inc.                                        Email Redacted

                Micro Precision Calibration, Inc.                                        Email Redacted
                Micro Quality Calibration, Inc.          Conrad Kramer                   Email Redacted
                Micro Quality Calibration, Inc.          Dulce Banuelos                  Email Redacted


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                          CreditorName                      CreditorNoticeName             EmailAddress
                Microsemi Frequency and Time
                Corp                                  Cheri Ramsey                        Email Redacted
                Microsemi Frequency and Time
                Corp                                                                      Email Redacted

                Mid-Atlantic Electrical Services, Inc. Victor Rolli                       Email Redacted
                Midwest Motor Supply Co., Inc.         Kimball Midwest                    Email Redacted
                Miguel Angel Nunez                                                        Email Redacted
                Miguel Angel Salazar Govea             S1 Cleaning                        Email Redacted
                Mike W Zehner                                                             Email Redacted
                Mikes Canvas                                                              Email Redacted

                Miles Fiberglass & Composites, Inc    Mollie LeClaire                     Email Redacted

                Miles Fiberglass & Composites, Inc                                        Email Redacted
                Mill Supply Inc                      CYNTHIA M MCCRAY                     Email Redacted
                Millbrook Revolutionary Engineering,
                Inc.                                                                      Email Redacted
                Miller Electric Company                                                   Email Redacted
                Miltec Rapid Manufacturing Systems
                LLC                                  Marshall Liles                       Email Redacted
                Milwaukee Composites, Inc.                                                Email Redacted
                Mimecast North America Inc           Edgar Genosa                         Email Redacted

                Minnesota Public Transit Association MPTA                                 Email Redacted
                Mishimoto                                                                 Email Redacted
                Mission Cloud Services, Inc.         Douglas R. Gooding                   Email Redacted

                Mission Cloud Services, Inc.          Mission Cloud Services, Inc.        Email Redacted
                Mission CTRL - MC2                                                        Email Redacted
                Missoula Urban Transportation
                District                              John Roseboom                       Email Redacted
                Missoula Urban Transportation
                District                                                                  Email Redacted

                Missouri Department of Revenue                                            Email Redacted

                Missouri Public Transit Association   Kimberly Celia                      Email Redacted
                Mistequay Group, Ltd                  CHRISTINA JONES                     Email Redacted
                Misumi USA Inc                                                            Email Redacted
                Misumi USA Inc                                                            Email Redacted
                Misumi USA Inc.                       AR -Jessica Jewell                  Email Redacted

                Mitsui & Co., LTD.                                                        Email Redacted
                MKP Parts                                                                 Email Redacted
                Mobile Climate Control, Corp.         Debbie Oliver                       Email Redacted
                Mobile Climate Control, Corp.         Ildiko Grant                        Email Redacted
                Mobile Climate Control, Corp.                                             Email Redacted
                Mobile Communications America,
                Inc.                                  CHRIS SIMPSON                       Email Redacted



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                           CreditorName                     CreditorNoticeName         EmailAddress
                Mobile Communications America,
                Inc.                                                                  Email Redacted
                Mobile Mark Inc                       Christian Hansen                Email Redacted
                Mobile Mark Inc                                                       Email Redacted
                Mobile Relay Associates               Raycom                          Email Redacted
                Mobility Forefront LLC                                                Email Redacted
                Modern Mail Services, Inc.                                            Email Redacted
                ModernTech Corporation                                                Email Redacted

                Modine Manufacturing Company          Atty Erin A. West               Email Redacted

                Modine Manufacturing Company          Modine Manufacturing Company    Email Redacted

                Modine Manufacturing Company                                          Email Redacted
                Mohawk Resources Ltd                                                  Email Redacted
                Mohawk Southeast, Inc.                                                Email Redacted
                Molded Devices, Inc.                                                  Email Redacted
                Molded Fiber Glass                    ERIC BRACE                      Email Redacted
                Monika Goralski                                                       Email Redacted
                Monique Jester                                                        Email Redacted
                Monoprice, Inc.                                                       Email Redacted
                Monroe Magnus LLC                     DBA Magnus Mobility Systems     Email Redacted
                Monroe Magnus LLC                     Scott Smullen                   Email Redacted
                Montes Bros. Construction Inc         DBA MBC INC                     Email Redacted

                Moon Roof Corporation of America      DBA MRC Manufacturing           Email Redacted
                MORE Consulting                       Michael C. Orosco               Email Redacted
                Morgan Louise Imrie Osment                                            Email Redacted
                Motion & Flow Control                 McCoy Sales Corporation         Email Redacted
                Motion Industries, Inc                GPC                             Email Redacted
                Motion Industries, Inc                GPC                             Email Redacted
                Motion Savers Inc.                                                    Email Redacted
                Motor City Racks, Inc.                Essex Weld                      Email Redacted
                Motor City Racks, Inc.                Essex Weld                      Email Redacted
                Motor City Racks, Inc.                Essex Weld                      Email Redacted

                Mountain Machinery Repair Inc.                                        Email Redacted
                Mouser Electronics                    Jamie Sprague                   Email Redacted
                Mouser Electronics                                                    Email Redacted
                MPTA                                  Samantha Schwanke               Email Redacted
                MRCagney Pty Limited                                                  Email Redacted
                MSC Industrial Supply Co.                                             Email Redacted
                MSC Industrial Supply Co.                                             Email Redacted

                MSC Industrial Supply Company                                         Email Redacted
                MSI-Viking Gage, LLC                                                  Email Redacted

                MSMB Construction Maintenance                                         Email Redacted
                MTB Transit Solutions Inc.                                            Email Redacted
                Mubea, Inc.                                                           Email Redacted



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                              CreditorName                    CreditorNoticeName         EmailAddress

                Multi-Service Technology Solutions                                      Email Redacted
                Munaco Sealing Solutions, Inc.                                          Email Redacted
                Munaco Sealing Solutions, Inc.                                          Email Redacted
                Munaco Sealing Solutions, Inc.                                          Email Redacted
                Munich Electrification                 Adria Riera                      Email Redacted
                Munich Electrification                 Katrin Frommelt                  Email Redacted
                Munich Electrification                 Vladislavs Kabanovs              Email Redacted
                Munich Electrification                                                  Email Redacted

                Municipal Emergency Services, Inc. Travis Cone                          Email Redacted
                MV Transportation, Inc.            Janet Zimmerman                      Email Redacted
                MWS Auto Services Inc. d/b/a
                Marietta Wrecker Service                                                Email Redacted
                Mycorrxyz Inc.                     Pioneer                              Email Redacted

                Nano Precision Manufacturing, Inc      Jay Lee                          Email Redacted
                NAPA AUTO PARTS                                                         Email Redacted

                Napa Valley Transportation Authority                                    Email Redacted

                Narayanan Srinivasan                   Fulfeelment, LLC                 Email Redacted
                NASDAQ Private Market - LBX
                #41700                                                                  Email Redacted
                                                       DBA nasdaq Corporate Services,
                Nasdaq, Inc                            LLC                              Email Redacted
                Natalie Marie Ramirez                                                   Email Redacted
                National Association for Pupil
                Transportation (NAPT)                  Brianne Peck                     Email Redacted

                National Business Furniture LLC                                         Email Redacted
                National Highway Traffic Safety
                Administration                                                          Email Redacted

                National Instruments Corporation                                        Email Redacted

                National Integrated Systems, Inc.                                       Email Redacted
                National Safety Council                                                 Email Redacted

                National Sheet Metal Machines, Inc.                                     Email Redacted
                National Test Equipment Inc.                                            Email Redacted
                Navistar, Inc.                      DBA Navistar Proving Grounds        Email Redacted
                Naylor LLC                                                              Email Redacted
                NC Coatings LLC                     James McDaniel                      Email Redacted
                Neely Electric Inc.                                                     Email Redacted

                Nefab Packaging, Inc.                  DBA Nefab Packaging West, LLC Email Redacted

                Netapp, Inc.                           Attn Lawrence Schwab/Gaye Heck Email Redacted
                NetLink Inc.                                                          Email Redacted
                Netvu Limited                                                         Email Redacted


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                              CreditorName                     CreditorNoticeName          EmailAddress

                Network Controls & Electric, Inc.        Carole Toth                      Email Redacted

                Network Controls & Electric, Inc.                                         Email Redacted
                New Eagle, LLC                                                            Email Redacted
                New Jersey Unclaimed Property
                Administration                                                            Email Redacted
                Newegg Business Inc.                                                      Email Redacted

                Newspaper Agency Company, LLC            DBA Utah Media Group             Email Redacted
                NexGen Search Solutions, LLC                                              Email Redacted
                Nexsen Pruet LLC                                                          Email Redacted
                NextEnergy Center                                                         Email Redacted
                Nicholas Cho                                                              Email Redacted
                Nikola Corporation                       Bruna Chiosini & Nikola Legal    Email Redacted
                Nikola Corporation                       Bruna Chiosini & Nikola Legal    Email Redacted
                Nikola Corporation                       Bruna Chiosini & Nikola Legal    Email Redacted
                Nikola Iveco Europe GmbH                 Francesco Donato, CPO            Email Redacted

                Ningbo Wego Machinery Co.,Ltd            Jones Cao                        Email Redacted

                Ningbo Wego Machinery Co.,Ltd                                             Email Redacted

                Ningbo Xusheng Group Co., Ltd.                                            Email Redacted

                Ningbo Xusheng Group Co., Ltd.                                            Email Redacted
                Ningbo Yexing Automotive Part Co.,
                Ltd.                               COCO RONG                              Email Redacted

                Ninyo & Moore Geotechnical &
                Environmental Sciences Consultants Alfredo Rodriguez                      Email Redacted
                Nirajkumar Patel                                                          Email Redacted

                Nissens Cooling Solutions, Inc.    CHERYL POGSON                          Email Redacted
                NM Passenger Transportation
                Association                        DBA NM Transit Association             Email Redacted
                No on Prop 6 Stop the Attack on
                Bridge & Road Safety, sponsored by
                business, labor, local governments
                and transp                                                                Email Redacted
                NoMuda VisualFactory Inc                                                  Email Redacted
                NoMuda VisualFactory Inc.          Dave Lathey                            Email Redacted
                NoMuda VisualFactory.net                                                  Email Redacted

                NORCAL Portable Services, Inc.                                            Email Redacted
                Nordson Corporation                      Attn Credit Risk                 Email Redacted
                Nordson Corporation                      Attn Credit Risk                 Email Redacted
                Nordson Corporation                                                       Email Redacted
                Nordson Corporation                                                       Email Redacted
                Nordson EFD LLC                          Diane Gray                       Email Redacted
                Norfolk Wire and Electronics                                              Email Redacted


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                          CreditorName                    CreditorNoticeName          EmailAddress
                Norman Scally                        DBA Scally Computechs           Email Redacted
                North Carolina Metropolitan Mayors
                Coalition                                                            Email Redacted

                North Eastern Bus Rebuilders, Inc. Henry Stobierski                  Email Redacted
                Northeast Passenger Transportation
                Association                                                          Email Redacted
                Northern Altair Nanotechnologies
                Co., Ltd                           Alex Li                           Email Redacted
                                                   E. Todd Sable, Esq. & Cydney J.
                Northern Cable and Automation LLC McGill, Esq.                       Email Redacted
                                                   Northern Cable and Automation
                Northern Cable and Automation LLC LLC                                Email Redacted
                Northern Tool & Equipment Catalog
                Company, Inc.                                                        Email Redacted
                Nostalgic Air Parts                                                  Email Redacted
                NSF International                  NSF International                 Email Redacted
                                                   NSF International Strategic
                NSF International                  Registrations Ltd                 Email Redacted
                NSF International Strategic
                Registrations, Ltd                                                   Email Redacted
                NSK Industries Inc                 Lauren Kincaid                    Email Redacted
                NSK Industries Inc                                                   Email Redacted

                NSK Industries, Inc.                 Bradley P. Lehman               Email Redacted
                NSK Industries, Inc.                 John J. Rutter, Esq.            Email Redacted
                NSK Industries, Inc.                 NSK Industries, Inc.            Email Redacted
                NSTI LLC                             TechConnect                     Email Redacted
                NTF Micro Filtration USA, Inc.                                       Email Redacted
                Numatek LLC                          DBA Eye9 Design                 Email Redacted
                OBD2Cables.com                                                       Email Redacted
                OBrien Atkins Associates, PA         Rita Whitfield                  Email Redacted
                Occuvax, LLC                                                         Email Redacted
                OEM Materials & Supplies Inc.        ANA GARCIA                      Email Redacted
                Off the Grid Services LLC                                            Email Redacted
                Office Max                                                           Email Redacted
                Office Pro Furniture, Inc.                                           Email Redacted
                Office1 Inc.                         DBA Office1                     Email Redacted
                OfficePro Upstate                                                    Email Redacted
                Ogletree, Deakins, Nash, Smoak &
                Stewart, PC                          Ann Louise Cauble               Email Redacted
                Ogletree, Deakins, Nash, Smoak &
                Stewart, PC                                                          Email Redacted
                Ohio Public Transit Association      W. Curtis Stitt                 Email Redacted
                Okta, Inc.                                                           Email Redacted

                Oles Morrison Rinker & Baker, LLP    LEGAL Adam Lasky                Email Redacted
                Omega Engineering, Inc.                                              Email Redacted
                Omni Louisville, LLC                                                 Email Redacted
                Omni Provincial                      Ron Miller                      Email Redacted
                OmniSource Southeast                                                 Email Redacted


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                              CreditorName                   CreditorNoticeName            EmailAddress

                On Your Mark Transportation, LLC                                          Email Redacted
                OneSource Distributors LLC                                                Email Redacted
                Onfulfillment Inc                                                         Email Redacted
                ONLINECOMPONENTS.COM                                                      Email Redacted
                Onspot of North America, Inc.          KURT HUNT                          Email Redacted
                Optex, Inc.                                                               Email Redacted
                Optimal Electric Vehicles, LLC                                            Email Redacted
                Optimal Electric Vehicles, LLC                                            Email Redacted
                Optimal Electric Vehicles, LLC                                            Email Redacted
                Optimal Electric Vehicles, LLC                                            Email Redacted
                Optimal Electric Vehicles, LLC                                            Email Redacted
                Optimal Electric Vehicles, LLC                                            Email Redacted
                Optimed Health Partners                                                   Email Redacted
                Opti-Temp                                                                 Email Redacted
                Optiv Security, Inc.                                                      Email Redacted
                Optronics International, LLC                                              Email Redacted

                Oracle America, Inc.                   Shawn M. Christianson, Esq.        Email Redacted
                Oracle America, Inc.                                                      Email Redacted
                Orbis Corporation                      TOM SALEMI                         Email Redacted

                Oregon Transit Association             Kelly Ross                         Email Redacted
                Orlaco Inc.                                                               Email Redacted
                Orlando Utilities Commission                                              Email Redacted
                Orlando Utilities Commission                                              Email Redacted
                Orrco International                                                       Email Redacted
                Osmosis Films LLC                                                         Email Redacted
                Otis Elevator Company                                                     Email Redacted
                Outwater Plastic Industries                                               Email Redacted
                Overhead Door Company of
                Greenville, Inc.                                                          Email Redacted
                Overland Contracting Inc.              Cassandra Bain                     Email Redacted
                Ozone Collision Center, LLC                                               Email Redacted
                Pace Technologies Corporation          Joseph Vargas                      Email Redacted
                Pacer, a Division of Anixter           Steve Williams                     Email Redacted
                Pacific Dynasty International Group
                Inc                                                                       Email Redacted
                Pacor, Inc.                            Tracey Allen                       Email Redacted
                Pailton Incorporated                   Abby Gummery                       Email Redacted
                Pailton Incorporated                                                      Email Redacted

                Paint Body Vinyl & Graphics Inc                                           Email Redacted
                PAIR design                                                               Email Redacted
                Pallet Solutions Inc                                                      Email Redacted
                Pallet Solutions, Inc.                                                    Email Redacted

                Palmetto Precision Machining, Inc.                                        Email Redacted
                Palmetto Sound Works                                                      Email Redacted

                Palmtree Acquisition Corporation                                          Email Redacted


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                           CreditorName                      CreditorNoticeName            EmailAddress
                Pamco Printed Tape and Label Co.,
                Inc.                                   Marla Darman                       Email Redacted
                Pamella Chang                                                             Email Redacted
                Panasonic Industrial Device Sales
                Company of America                     Thomas Peng                        Email Redacted
                Panor Corp                             DBA MAXXIMA                        Email Redacted
                Par7, LLC                              Jae Park                           Email Redacted
                Paragon International Insurance
                Brokers Ltd                                                               Email Redacted
                Parallax                               Carolyn Heller                     Email Redacted
                Parallax                                                                  Email Redacted

                Park City Municipal Corporation        Larry Simpson                      Email Redacted

                Parker Hannifin Corporation            Jay Schultz                        Email Redacted
                Parker Hannifin Corporation            PDNPlus                            Email Redacted
                Parker Hannifin Corporation                                               Email Redacted
                Parker Hannifin Corporation                                               Email Redacted
                Parker-Hannifin Corp.                                                     Email Redacted
                                                       Sandra J. Sberna, Credit Analyst
                Parker-Hannifin Corporation            Corp. H.Q.                         Email Redacted
                Parker-Origa Corporation                                                  Email Redacted
                Parkhouse Tire Inc                     C Bruner                           Email Redacted
                Parr Instrument Company                                                   Email Redacted
                Patrick & Co.                                                             Email Redacted
                Patrick Monahan                        DBA Iron Cove Solutions            Email Redacted
                Patrick Services Inc.                                                     Email Redacted
                Paul Bridges Group - Paul Bridges
                LLC                                                                       Email Redacted
                                                       DBA Comfort Consulting World
                Paul Comfort                           Wide LLC                           Email Redacted
                                                       DBA Chapel Road
                Paul H Bowers                          Communications                     Email Redacted
                Paul Miller Motor Company dba
                Fortune Collision Centre               Chelsie Sawyers                    Email Redacted
                Pawel Nuckowski                        DBA Oahu Films                     Email Redacted
                PB Equipment Inc.                                                         Email Redacted

                PC Connection Sales Corporation        DBA Coneection                     Email Redacted
                PCB Piezotronics Inc.                                                     Email Redacted
                Peak Safety Performance, LLC           David Lynn                         Email Redacted
                PEAK Technical Services Inc.                                              Email Redacted
                                                       DBA PEAK Technical Staffing
                Peak Technical Services, Inc.          USA                                Email Redacted

                Peak Technologies, Inc.                Kathy McCracken                    Email Redacted
                Peak Technologies, Inc.                Peak-Ryzex, Inc.                   Email Redacted
                Pearce Renewables                      Pearce Services, LLC               Email Redacted
                Pearce Renewables                                                         Email Redacted
                Pearce Services, LLC                   Corporate Administration           Email Redacted
                Peco Electrical Ltd                    Scott Tracey                       Email Redacted


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                           CreditorName                      CreditorNoticeName           EmailAddress
                PED Enterprises, LLC                                                     Email Redacted
                Pelco Structural, LLC                 Kasey Scott                        Email Redacted
                Pennsylvania Public Transporation
                Association                                                              Email Redacted
                Pennsylvania Public Transportation
                Association                           PPTA                               Email Redacted

                Penske Truck Leasing CO, L.P.         mary martin                        Email Redacted

                Penske Truck Leasing CO, L.P.         Penske Truck Leasing Co., L.P.     Email Redacted

                Penske Truck Leasing CO, L.P.                                            Email Redacted
                Performance Composites, Inc.                                             Email Redacted
                Performance Friction Corporation
                (PFC Brakes)                                                             Email Redacted
                Performance Industries, Inc.                                             Email Redacted

                Persistent Telecom Solutions Inc.                                        Email Redacted
                Personal Awards Inc                                                      Email Redacted
                Peter Campanella                                                         Email Redacted
                Peterson Fluid Systems                                                   Email Redacted
                Petroleum Equipment and
                Manufacturing Company Inc.            DBA PEMCO                          Email Redacted
                PG&E                                  c/o Bankruptcy                     Email Redacted
                Philadelphia Indemnity Insurance
                Company                               Attn Scott C. Williams             Email Redacted
                Philadelphia Indemnity Insurance      Philadelphia Indemnity Insurance
                Company                               Company                            Email Redacted
                Phillip Jay Hurtt                                                        Email Redacted
                Phoenix Automation & Sales                                               Email Redacted
                Phytools, LLC                                                            Email Redacted
                PI Innovo, LLC                        Adrian Carnie                      Email Redacted
                PI Innovo, LLC                                                           Email Redacted
                PI Innovo, LLC                                                           Email Redacted
                PI Manufacturing                                                         Email Redacted
                Piedmont Electrical Distributors of
                Greenville, Inc.                                                         Email Redacted
                Piedmont National Corporation         Jamie Buckhiester                  Email Redacted

                Pierce County Public Transportation
                Benefit Area Corporation                                                 Email Redacted
                Pierce Transit                      Brenda Lacey                         Email Redacted

                Pilkington Automotive Finland Oy      Olli Sara                          Email Redacted
                Pilot Freight Services                                                   Email Redacted
                Pine Estates Enterprises Inc                                             Email Redacted
                Pine Estates Enterprises Inc.                                            Email Redacted

                Pinellas Suncoast Transit Authority                                      Email Redacted
                Ping Hu                                                                  Email Redacted
                PIP Printing                          SoCa Business Services, LLC        Email Redacted


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                           CreditorName                        CreditorNoticeName           EmailAddress
                Pitney Bowes, Inc.                                                         Email Redacted
                Pivotal Media                                                              Email Redacted
                Placentia Yorba Linda Girls Softball
                Association                                                                Email Redacted
                Plastic Creations Ltd.                   Brian Huttig                      Email Redacted
                Plasticare                                                                 Email Redacted
                Plasticwatertanks.com Inc                                                  Email Redacted
                PLM Advisors, LLC                        Andreas Lindenthal                Email Redacted
                Pocketsquare Design                                                        Email Redacted
                Poppin, Inc                                                                Email Redacted

                Porsche Cars North America, Inc.   Cassidy Ishida                          Email Redacted
                Port Arthur Transit(PAT)                                                   Email Redacted
                Port Authority of New York and New
                Jersey                             Port Authority Law Department           Email Redacted
                Positive Adventures LLC                                                    Email Redacted

                Power Electronic Measurements Ltd        Dr. Chris Hewson                  Email Redacted
                Power Electronics USA                    Attn Director or Officer          Email Redacted
                Power Electronics USA                    Attn Director or Officer          Email Redacted
                Power Electronics USA                    Brandon DiBuo                     Email Redacted
                Power Electronics USA Inc.               Andrea Hartley Esq.               Email Redacted
                Power Electronics USA Inc.               Power Electronics USA Inc.        Email Redacted

                Power House Manufacturing Inc.                                             Email Redacted

                Power Science Engineering LLC                                              Email Redacted

                Powerex-Iwata Air Technology, Inc.                                         Email Redacted

                PowerHandling, Inc.                      ACCOUNT REP Sam Williams          Email Redacted

                PowerHandling, Inc.                      INSIDE SALES Pamela Hansen        Email Redacted

                PowerOn Energy Solutions LP                                                Email Redacted
                PR Newswire Assoc LLC                                                      Email Redacted

                PRAXIS Technology Escrow, LLC            W Jackson                         Email Redacted

                Precision Cutting Solutions, Inc.                                          Email Redacted
                Precision Granite USA Inc.                                                 Email Redacted

                Precision Jig & Fixture South LLC        Tom Oshiniski                     Email Redacted
                Precision Products, LLC                  Patty Brigman                     Email Redacted
                Precision Transmission, Inc.             David MacFarland                  Email Redacted
                Precision Waterjet & Laser               Carolyn Lypinski                  Email Redacted
                Precisionworks MFG LLC                   BOB SMITH                         Email Redacted
                Precisionworks MFG LLC                   CORY WRIGHT                       Email Redacted
                Precisionworks MFG LLC                   Greg Gernert                      Email Redacted
                Precisionworks MFG LLC                                                     Email Redacted
                PrecisionWorks MFG LLC                                                     Email Redacted


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                            CreditorName                     CreditorNoticeName         EmailAddress
                Predictive Index Arizona, Inc.                                         Email Redacted
                Preferred Piping Systems                                               Email Redacted
                Premier Janitorial Serivces LLC        Manuel Hernandez                Email Redacted
                Premier Wireless Solutions                                             Email Redacted
                Pril Motors                                                            Email Redacted
                Prime Electric, Inc.                                                   Email Redacted
                Prime Resource Inc                     Ana Avila                       Email Redacted
                Prince Georges County MD                                               Email Redacted
                Prince Georges County MD                                               Email Redacted

                Princeton Corporate Consultants Inc                                    Email Redacted
                ProAir, LLC                                                            Email Redacted
                Pro-Bolt                                                               Email Redacted
                Processia Solutions Corp            Michael Kalthoff                   Email Redacted
                Procore Technologies Inc                                               Email Redacted
                PRO-DEC.com                                                            Email Redacted

                Production Automation Corporation                                      Email Redacted
                Productive Plastics, Inc.              CHRISTINA GIFILLAN              Email Redacted
                Proemion Corporation                                                   Email Redacted
                Professional Engineering
                Consultants, P.A.                      Tim Lenz                        Email Redacted
                Professional Party Rental                                              Email Redacted
                Professional Party Rental                                              Email Redacted
                Project Genetics LLC                   Jana Axline                     Email Redacted

                Project Genetics LLC                   Jana Axline                     Email Redacted
                Project Genetics LLC                   Sallyport CF, LLC               Email Redacted
                ProKo Consulting LLC                                                   Email Redacted
                Promenade Software Inc.                                                Email Redacted
                PROMWAD GmbH                                                           Email Redacted
                Prospect Mold                          CHRIS SMITH                     Email Redacted
                Prospect Mold                          DAVID HUNT                      Email Redacted

                ProTech Service & Engineering BV       Jos Swagemakers                 Email Redacted

                Protective Coating Systems, Inc                                        Email Redacted
                Proterra GVL/ Van Hool                                                 Email Redacted
                Protiviti                              Recovery Dept.                  Email Redacted
                Proto Labs, Inc.                                                       Email Redacted
                Provident Plumbing, LLC                                                Email Redacted
                PS Trade Show Services                 Teresa Chapman                  Email Redacted
                PSI Control Solutions, Inc.                                            Email Redacted
                PSMG Inc. DBA Pacwest Security
                Services                                                               Email Redacted
                Public Transportation Safety
                International Corp                                                     Email Redacted
                Pump South Inc.                                                        Email Redacted
                Purchase Power                                                         Email Redacted
                PurCo Fleet Services, Inc.                                             Email Redacted
                Pure Water Partners LLC                Regina Botticelli               Email Redacted


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                            CreditorName                      CreditorNoticeName         EmailAddress
                Pure Water Partners LLC                                                 Email Redacted
                Quality Concrete                                                        Email Redacted
                Qualtrics, LLC                        Sadie Young                       Email Redacted
                Quanta Laboratories                                                     Email Redacted
                Quanta Laboratories                                                     Email Redacted
                Quench USA, Inc.                      DBA Waterlogic Americas, LLC      Email Redacted
                QuikGlass                                                               Email Redacted

                R&S Erection North Peninsula Inc.                                       Email Redacted
                R.S. Hughes Co., Inc.                 Adam Guynes                       Email Redacted
                R.S. Hughes Co., Inc.                 AJ ADDIS                          Email Redacted
                R.S. Hughes Co., Inc.                 LAX ORDERS                        Email Redacted
                R.S. Hughes Co., Inc.                                                   Email Redacted
                R.S. Hughes Co., Inc.                                                   Email Redacted
                Radiation Protection Services                                           Email Redacted
                                                      Crystal Parr Radio Engineering
                Radio Engineering Industries, Inc     Industries, Inc                   Email Redacted

                Radio Engineering Industries, Inc     Wilma Fleischmann                 Email Redacted

                Radio Engineering Industries, Inc.    Kevin Herrmann                    Email Redacted
                Radius Power, A Division of
                Astrodyne                                                               Email Redacted
                Rafael Hernandez                                                        Email Redacted
                Rainbow Sign & Banner, Inc.                                             Email Redacted

                Raleigh-Durham Airport Authority      Mervin Augustin                   Email Redacted
                Ralphs Store & Trophy Shop                                              Email Redacted
                Ramirez, Natalie                                                        Email Redacted
                Randall W Wells                       Randy Wells Photography           Email Redacted
                Rankin Publishing, Inc.                                                 Email Redacted

                Rapid Global Business Solutions Inc.                                    Email Redacted
                RAPID Sheet Metal, LLC               Neal Topliffe                      Email Redacted

                RATP Dev USA, Inc.                                                      Email Redacted
                RATP-DEV DC Circulator                                                  Email Redacted
                RAVEN Engineering, Inc.                                                 Email Redacted
                Ray Products Company, Inc.            Farhad Matin                      Email Redacted
                Ray Products Company, Inc.                                              Email Redacted
                Razorfrog Web Design LLC              Max Elman                         Email Redacted
                Razorfrog Web Design LLC                                                Email Redacted
                RBI Solar, Inc.                       Tim Flick                         Email Redacted
                RDU Accounts Payable                                                    Email Redacted
                Re Transportation Inc                                                   Email Redacted
                Real-Time Marketing, LTD                                                Email Redacted
                Recaro North America, Inc.                                              Email Redacted
                Recognition and Awards, Inc.          Richard Lachman                   Email Redacted
                Recycle Away, LLC                     Trashcans Warehouse               Email Redacted
                Red Points Enterprises, LLC           Sandhya M Sahai                   Email Redacted



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                              CreditorName                  CreditorNoticeName             EmailAddress

                Red Wing Brands of America, Inc.    DBA Red Wing Shoe                     Email Redacted
                RedE Parts Inc.                     Patience Paine                        Email Redacted
                Reel Power Wire & Cable Inc.                                              Email Redacted
                Regional Idealease of Rochester,
                LLC                                 Jason Carello                         Email Redacted
                Regional Material Handling & Supply
                Inc.                                                                      Email Redacted

                Regional Transportation
                Commission of Washoe County           Mark T. Power                       Email Redacted

                Regional Transportation               Regional Transportation
                Commission of Washoe County           Commission of Washoe County         Email Redacted

                Regional Transportation
                Commission of Washoe County                                               Email Redacted

                Regional Transportation
                Commission of Washoe County                                               Email Redacted
                Regus Corporation                     Regus Management Group              Email Redacted
                Reliable Fire Equipment Co            DBA Reliable Fire & Security        Email Redacted
                RELX Inc. dba LexisNexis                                                  Email Redacted
                REMA USA LLC                          Kalyn Baker                         Email Redacted
                REMA USA LLC                          Stanley H. McGuffin, Esq.           Email Redacted
                REMA USA LLC                                                              Email Redacted
                Remarc Manufacturing, Inc.            Charlene Norvell                    Email Redacted
                Rendezvous Services LLC dba
                Dustin Goodwin                                                            Email Redacted

                Renewable Design Associates, LLC      Alan Watts                          Email Redacted
                Renewable Energy Vermont              Ansley Bloomer                      Email Redacted
                Resource Intl Inc.                    Mishimoto Automotive                Email Redacted
                Resource Intl. Inc.                   DBA Mishimoto                       Email Redacted
                Resources Connection, Inc.            DBA Sitrick Group, LLC              Email Redacted

                Retirement Funding Advisors, LLC                                          Email Redacted
                Reyco Granning LLC                    SALES Scott Ames                    Email Redacted
                Reynolds Mirth Richards & Farmer
                LLP                                   Shauna N. Finlay                    Email Redacted
                RGA Office of Architectural Design,
                Inc.                                                                      Email Redacted

                Rhino Assembly Company, LLC                                               Email Redacted
                                                      WARRANTY OFFICER Thomas
                Rhode Island Public Transit Authority Cabral                              Email Redacted
                Rhombus Energy Solutions              RUSSELL PULTER                      Email Redacted
                Rhombus Energy Solutions              Scott Stromenger                    Email Redacted
                Rhombus Energy Solutions                                                  Email Redacted
                Rhombus Energy Solutions                                                  Email Redacted



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                              CreditorName                   CreditorNoticeName           EmailAddress

                Rhombus Energy Solutions                                                 Email Redacted
                Richard Fiore                                                            Email Redacted
                Richard Schwartz                       DBA J and .R Graphics, Co.        Email Redacted
                Richardson RFPD Inc.                                                     Email Redacted
                Ricketts Case, LLP                     Hope Case                         Email Redacted
                RICON CORPORATION                      COREY THOMAS                      Email Redacted
                RICON CORPORATION                                                        Email Redacted
                Right Freight Solutions, Inc                                             Email Redacted
                RightStar Systems                                                        Email Redacted
                Rincon Power, LLC                      Justin McAllister                 Email Redacted
                Rincon Power, LLC                                                        Email Redacted
                Ritz Safety LLC                        Slate Rock Safety                 Email Redacted
                Rivaracing.com                                                           Email Redacted
                River Park Inc                                                           Email Redacted
                Riverside Mfg., LLC                    JAMIE BLAKE                       Email Redacted
                Riverwood Associates, LLC                                                Email Redacted
                RLS Fleet Services, LLC                DBA Capitol Coachworks            Email Redacted
                Robert Bernardino                                                        Email Redacted
                Robert Giuditta                                                          Email Redacted

                Robert H. Wager Company, Inc.                                            Email Redacted
                Robert P Stevens                       DBA The Stevens Group, LLC        Email Redacted
                Roberts Tours and Transportation,
                Inc.                                   Aaron Kimura                      Email Redacted
                Robins Woodwork, Inc.                                                    Email Redacted
                Rochester Electromics, LLC                                               Email Redacted
                Rock Region Metro                                                        Email Redacted
                Rocky Mountain Driveline                                                 Email Redacted
                Roger Wire EDM                                                           Email Redacted
                Rogers Corporation                                                       Email Redacted
                Rogers Joseph ODonnell                                                   Email Redacted

                Rome Truck Parts & Repair, Inc.                                          Email Redacted
                Romeo RIM, Inc.                        Michelle M Bourdage               Email Redacted
                Romeo Rim, Inc.                        MIKE ROBINSON                     Email Redacted
                Romeo Rim, Inc.                                                          Email Redacted

                Ron Whites Air Compressor Sales        DBA RWI Industrial                Email Redacted
                Ron Whites Air Compressor Sales,
                Inc.                                   Ryan D. Thompson, Esq.            Email Redacted

                Ron Whites Air Compressors, Inc        Brittany Moore                    Email Redacted
                Ronald L. Book, PA                                                       Email Redacted
                Ronald Morrrison                                                         Email Redacted
                Ronnie Maxey II                        DBA Maxi-Clean                    Email Redacted
                Rosco Collision Avoidance, Inc.                                          Email Redacted
                Rosco Collision Avoidance, Inc.                                          Email Redacted
                ROSCO, INC.                            Awounda Mitchell                  Email Redacted
                Rose Tse                                                                 Email Redacted
                Rosenberger GmbH & Co. KG              FRANZISKA HOGGER                  Email Redacted


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                            CreditorName                      CreditorNoticeName            EmailAddress
                Rotaloc International LLC                                                  Email Redacted
                Rotaloc Intl, LLC                       Kevin Krause                       Email Redacted
                Roto Rooter                                                                Email Redacted
                                                 DBA Roush Yeates manufacturing
                Roush & Yates Racing Engines LLC Solutions                      Email Redacted
                Roush CleanTech, LLC                                            Email Redacted
                Roush Industries Inc                                            Email Redacted
                ROUSH INDUSTRIES, INC.                                          Email Redacted
                ROUSH INDUSTRIES, INC.                                          Email Redacted
                ROUSH INDUSTRIES, INC.                                          Email Redacted
                ROUSH INDUSTRIES, INC.                                          Email Redacted

                Routematch Software, Inc.                                                  Email Redacted
                Roy Metal Finishing Co, Inc.            John Murphy                        Email Redacted
                Royce Digital Systems, Inc.             ACCTS. REC. Bob Pavlovic           Email Redacted
                RR Franchising, Inc.                                                       Email Redacted
                RS Americas, Inc.                       RS (formerly Allied Electronics)   Email Redacted

                RS Erection North Peninsula, Inc.                                          Email Redacted
                Russell K Nilsen                                                           Email Redacted

                Russell Reynolds Associates, Inc.                                          Email Redacted
                Rutan and Tucker, LLP                   Roger F. Friedman                  Email Redacted
                Ruth Keizer                                                                Email Redacted
                Ryan Beckerleg                                                             Email Redacted

                Ryan Croke                              DBA Full Circle Productions Media Email Redacted
                Ryan Flood                                                                Email Redacted
                Ryerson Denver                                                            Email Redacted
                Ryerson, Inc. - Greenville              Sarah Gilbert                     Email Redacted
                Ryerson, Inc. - Greenville                                                Email Redacted
                S & A Systems, Inc.                                                       Email Redacted
                S & D Products, Inc.                                                      Email Redacted

                S&J Electrical Contractors                                                 Email Redacted
                S. Sterling Company                     AMANDA COLLIER                     Email Redacted
                S.F. Containers                         DBA Steele Fabrication, LLC        Email Redacted
                SA Automotive LTD, LLC                  DBA SA Engineering                 Email Redacted
                Sable Computer, Inc.                    DBA KIS                            Email Redacted

                Sacramento International Airport                                           Email Redacted

                Sacramento Regional Transit District                                       Email Redacted
                SAE International                                                          Email Redacted
                Safe Fleet Bus & Rail                Dan DiSarro                           Email Redacted
                Safe Fleet Bus & Rail                                                      Email Redacted
                SafeCo Inc.                          DBA Safety Plus Inc                   Email Redacted
                Safeglass Limited                                                          Email Redacted
                Safety Supply America, Inc.                                                Email Redacted

                Safety Vision                           EMMA YANCY                         Email Redacted


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                           CreditorName                      CreditorNoticeName          EmailAddress
                Safety-Kleen Systems, Inc.                                              Email Redacted
                Sager Electrical Supply Company
                Inc                                                                     Email Redacted
                Saia Motor Freight Line, Inc                                            Email Redacted
                Salem Tools, Inc                       ST Solutions                     Email Redacted
                Salesforce, Inc                                                         Email Redacted
                Sam D Villella                                                          Email Redacted
                Sambandam Ramanathan                                                    Email Redacted

                Samin Tekmindz Inc.                                                     Email Redacted
                Samsung SDI America, Inc.                                               Email Redacted
                Samtec Automotive Software &
                Electronics GmbH                                                         Email Redacted
                                                       DBA ArcLight Inspection Services,
                Samuel J Sullivan                      LLC                               Email Redacted
                Samuel, Son & Co                                                         Email Redacted
                San Diego International Airport                                          Email Redacted
                San Francisco Airport (SFO)                                              Email Redacted
                San Gabriel Valley Council of
                Governments                                                             Email Redacted
                San Joaquin Regional Transit
                District                               Brad Menil                       Email Redacted
                San Joaquin Regional Transit
                District                                                                Email Redacted
                San Mateo County Economic
                Development Association                DBA SAMCEDA                      Email Redacted

                San Mateo Union High School
                District, Facilities Use Department                                     Email Redacted
                Santa Clara Commercial Inc.            Donald Finn                      Email Redacted
                Santa Clara Valley Transportation
                Authority                                                               Email Redacted
                Santa Cruz Metropolitan Transit
                District                                                                Email Redacted
                Sanz Clima S.L.                        Alejandro Blanco                 Email Redacted
                Sanz Kenway                            Kenway Engineeriing, Inc.        Email Redacted
                Sanz Kenway, Inc.                                                       Email Redacted
                Sapa Profiles Inc.                                                      Email Redacted
                Say Technologies LLC                                                    Email Redacted
                SC Mech Solution, Inc.                                                  Email Redacted
                Schaffner EMC Inc                      Tom Larkin                       Email Redacted
                Schetky Bus and Van Sales                                               Email Redacted
                Schlumpf USA, Inc.                     VP-SALES Doug Jones              Email Redacted
                Schultz Controls, Inc.                                                  Email Redacted

                Schunk Carbon Technology, LLC          Terry Leet                       Email Redacted
                Science Spark                          Lauren Gicas                     Email Redacted
                Scientific Developments, Inc.          Heather Moffatt                  Email Redacted
                Scott Allen Matheny                                                     Email Redacted
                Scott Foam Technologies, LLC           Myka Givens                      Email Redacted



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                              CreditorName                    CreditorNoticeName            EmailAddress

                Scott Systems International, Inc        Kristina Gordon                    Email Redacted
                Scott Tidwell                                                              Email Redacted

                Scotts Automotive & Tire Service                                           Email Redacted
                ScreenCloud Inc.                                                           Email Redacted
                Scruggs & Son Towing LLC                                                   Email Redacted

                SCTAC Board of Directors                                                   Email Redacted
                Seagate Plastics Company                Laura Fritz                        Email Redacted
                Seagate Plastics Company                                                   Email Redacted
                Seal Methods, Inc                                                          Email Redacted
                Seal Methods, Inc                                                          Email Redacted
                Sea-Land Chemical Co.                   Tony Grzejka                       Email Redacted
                Sealcon, LLC                                                               Email Redacted
                Sealcon, LLC                                                               Email Redacted
                Sealed Air Corporation (US)                                                Email Redacted
                Sealed Buss Bar LLC                                                        Email Redacted
                Sealevel Systems Inc                                                       Email Redacted
                Sealeze                                 JOHN COSTAIN                       Email Redacted
                Sealeze                                                                    Email Redacted
                Sealing Devices Inc                                                        Email Redacted
                Sealing Devices INC                                                        Email Redacted
                SEAM Group LLC                          John Lanham                        Email Redacted
                Sean Haymond                                                               Email Redacted
                Secureworks, Inc.                       Secureworks, Inc.                  Email Redacted
                Secureworks, Inc.                                                          Email Redacted
                Securing Americas Future Energy
                Foundation                                                                 Email Redacted

                Securitas Security Service USA                                             Email Redacted
                                                 NY Regional Office, Regional
                Securities & Exchange Commission Director                                  Email Redacted

                Securities & Exchange Commission Regional Director                         Email Redacted

                Securities & Exchange Commission        Secretary of the Treasury          Email Redacted
                Seegars Fence Company, Inc. of
                Spartanburg                                                                Email Redacted
                Seifert Graphics, Inc.                  Attn Karen M. Seifert, President   Email Redacted
                Seifert Graphics, Inc.                  Cousins Law LLC                    Email Redacted
                Seifert Graphics, Inc.                  Rhianna Houck                      Email Redacted
                Seifert Graphics, Inc.                  Stephanie Millage                  Email Redacted

                Seifert Graphics, Inc.                  WANDA CUST. SUPPORT MGR            Email Redacted
                Seifert Graphics, Inc.                                                     Email Redacted
                Seifert Graphics, Inc.                                                     Email Redacted
                Seifert Graphics, Inc.                                                     Email Redacted
                Select Equipment Sales, Inc.                                               Email Redacted
                SEMCO Consultants Inc                   Zoran Milatovic                    Email Redacted



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                              CreditorName                  CreditorNoticeName             EmailAddress

                Semper Fi Fleet Maintenance LLC       DBA Semper Fi Mobi                  Email Redacted
                Sensata Technologies, Inc.            Courtney Brightman                  Email Redacted
                Sentek Dynamics, Inc.                                                     Email Redacted
                Sentek Dynamics, Inc.                                                     Email Redacted
                Sentinel Technologies, Inc.                                               Email Redacted

                Seon Design (USA) Corp                MobileView                          Email Redacted

                Seon Design (USA) Corp                MobileView                          Email Redacted
                Seon Design (USA) Corp DBA
                MobileView                            BRENT THRIFT                        Email Redacted
                Seon Design (USA) Corp DBA
                MobileView                                                                Email Redacted
                Seon System Sales Inc.                                                    Email Redacted
                Service Electric Co., Inc.            Phil Ogdee                          Email Redacted
                Service Max, Inc.                     Gia Virk                            Email Redacted
                Service Max, Inc.                     Scott Edwards                       Email Redacted
                Service Max, Inc.                                                         Email Redacted
                Service Transport INC, (STI)                                              Email Redacted
                ServiceNow, Inc.                                                          Email Redacted
                Setpoint Systems LLC                  Cy Nielsen                          Email Redacted
                Setpoint Systems LLC                  Kassie Batty                        Email Redacted
                Setra Systems Inc.                                                        Email Redacted
                SEW- Eurodrive, Inc.                  MICHAEL FULTON                      Email Redacted

                SFMTA Transit Division                                                    Email Redacted
                Shaftmasters Inc                                                          Email Redacted
                Shainin LLC                           Karolyn Crabtree                    Email Redacted

                Shared-Use Mobility Center            Kimberly Steele                     Email Redacted
                ShareFile                                                                 Email Redacted
                Sharp Electronics Corporation         Cheryl Burdiss                      Email Redacted
                Shaw Telecom G.P.                     Vincent Cheung                      Email Redacted
                Shepard Exposition Services           Tara Crosby                         Email Redacted
                SHI International Corp                Joey Costa                          Email Redacted
                SHJ Electric Co Inc                                                       Email Redacted

                Shore Auto Rubber Exports Pvt Ltd                                         Email Redacted
                Shoreline IOT Inc                                                         Email Redacted
                Shred-It US JV LLC                    DBA Shred-It USA LLC                Email Redacted
                Shutts & Bowen LLP                                                        Email Redacted
                Sibros Technologies Inc               Hemant Sikaria                      Email Redacted
                                                      formerly Siemens Product
                Siemens Industry Software Inc.        Lifecycle Mgmt Software Inc.        Email Redacted
                Siemens Industry, Inc.                Brian Pollock                       Email Redacted
                Sierra Club                                                               Email Redacted
                Sigalit Yochay-Wise                   DBA Uptima, Inc.                    Email Redacted
                Sigalit Yochay-Wise                   DBA Uptima, Inc.                    Email Redacted
                Sigma Machine, Inc.                   Amber Felty                         Email Redacted
                Sigma Machine, Inc.                   ANN VAN WEELDEN                     Email Redacted


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                            CreditorName                      CreditorNoticeName         EmailAddress
                Sigma Machine, Inc.                    Attn Director or Officer         Email Redacted
                Sigma Machine, Inc.                                                     Email Redacted
                Sigma-West                             Kurt Hinkley                     Email Redacted
                Signal Perfection, Ltd.                                                 Email Redacted
                Signatures, Inc.                       Shane McMahon                    Email Redacted
                Signs by Tomorrow                                                       Email Redacted
                Signsouth, LLC                                                          Email Redacted
                Sigura Construction INC.                                                Email Redacted
                Sika Corporation                       Sika Automotive Kentucky, LLC    Email Redacted
                Silentaire Technologies (Werther
                International)                                                          Email Redacted
                Silicon Forest Electronics                                              Email Redacted
                Silicon Forest Electronics, Inc.                                        Email Redacted
                Silicon Valley Bank                    Jordan Kanis                     Email Redacted
                Silicon Valley Bicycle Coalition       Deanna Chevas                    Email Redacted
                Silicon Valley Laser, LLC                                               Email Redacted

                Silicon Valley Leadership Group                                         Email Redacted
                Silicon Valley Precision, Inc                                           Email Redacted
                Silicon Valley Shelving & Equipment
                Co., Inc.                                                               Email Redacted

                Simcona Electronics Corporation        April Thompson                   Email Redacted

                Simcona Electronics Corporation                                         Email Redacted
                Simolex Rubber Corporation             Bob Dungarani                    Email Redacted
                Simplified Office Solutions                                             Email Redacted
                Simply Sanitize LLC                    Dane Gordon                      Email Redacted

                Sinclair Technologies, A Division of
                Norsat International Inc               Jennifer Nash                    Email Redacted
                Single Point of Contact                                                 Email Redacted

                SinglePoint Communications, Inc.                                        Email Redacted
                Sitetracker Inc                                                         Email Redacted
                SixDOF Testing & Analysis                                               Email Redacted

                Skyline Displays Bay Area, Inc.        John Gibson                      Email Redacted
                SLEC, Inc.                                                              Email Redacted
                Smalley Steel Ring Company             Joseph P. Lukas                  Email Redacted
                Smart Charge Residential LLC           DBA Smart Charge America         Email Redacted
                SMART Transportation                                                    Email Redacted
                Smartsheet Inc.                        Finance                          Email Redacted
                Smartsheet Inc.                                                         Email Redacted
                                                       Nelson Mullins Riley and
                Smith Development Company, Inc.        Scarborough LLP                  Email Redacted

                Smith Dray Line & Storage Co Inc       DBA Go-Mini                      Email Redacted
                Smith Power Products, Inc                                               Email Redacted
                Smoak Public Relations                                                  Email Redacted



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                           CreditorName                        CreditorNoticeName           EmailAddress
                Snap ON Industrial, a division of
                IDSC Holdings                                                              Email Redacted
                Snappy Services, LLC                     Matthew Gooch                     Email Redacted
                SnapShot Interactive                                                       Email Redacted
                Snider Fleet Solutions                   JESSE STEVENS                     Email Redacted
                Snider Fleet Solutions                   Snider Fleet Solutions            Email Redacted
                Snider Fleet Solutions                                                     Email Redacted
                Snider Fleet Solutions                                                     Email Redacted

                Socotec Engineering, Inc.                LPI, Inc.                         Email Redacted
                Softchoice Corp                          Credit Dept                       Email Redacted
                Softchoice Corporation                   Kaitlyn Cantrell - POC            Email Redacted
                Softchoice Corporation                   Kevin Tidball                     Email Redacted
                Softchoice Corporation                                                     Email Redacted
                Solarwinds, Inc.                                                           Email Redacted
                Solium Plan Managers LLC                                                   Email Redacted
                Solutions 4 Industry, Inc.                                                 Email Redacted
                Sonny Merryman Inc.                                                        Email Redacted
                Sonny Merryman Inc.                                                        Email Redacted
                SONNYS CAMP AND TRAVEL                   ALEX RODRIGUEZ                    Email Redacted

                Sorofin Enterprises Incorporated         SALLY MUSA                        Email Redacted
                SoundView Applications Inc               Robert Lazor                      Email Redacted
                                                         ENI Labs Metrology & Electronic
                Source Detection Systems                 Repair                            Email Redacted
                South Alliance Industrial Machine
                Inc.                                                                       Email Redacted
                South Bay Solutions Inc                  Talia Kelly                       Email Redacted
                South Bay Solutions Inc                                                    Email Redacted
                South Carolina Clean Energy
                Business Alliance                                                          Email Redacted

                South Carolina Coordinating Council Attn Cynthia S. Turnipseed, Legal
                for Economic Development            Counsel for SCCCED                Email Redacted

                South West Transit Association           Kristen Joyner                    Email Redacted

                Southeast Energy Efficiency Alliance Pamela Fann                           Email Redacted
                Southeastern Dock & Door                                                   Email Redacted
                Southeastern Pennsylvania
                Transportation Authority             Attn Lawrence J. Kotler               Email Redacted
                Southeastern Pennsylvania
                Transportation Authority                                                   Email Redacted
                Southeastern Pennsylvania
                Transportation Authority                                                   Email Redacted
                Southern California Contractors                                            Email Redacted
                Southern California Material
                Handling, Inc.                       Equipment Depot California, Inc       Email Redacted
                Southern Painting & Maintenance
                Specialists, Inc.                                                          Email Redacted



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                                                        Creditor Matrix
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                              CreditorName                    CreditorNoticeName          EmailAddress

                Southwest Lift & Equipment, Inc.                                         Email Redacted
                Southwest Research Institute            Attn General Counsel             Email Redacted
                Southwest Research Institute            Attn General Counsel             Email Redacted
                SPAL USA                                DAN MCNEAL                       Email Redacted
                SPAL USA                                                                 Email Redacted
                Sparkfun Electronics                                                     Email Redacted
                Sparkion Power Algorithms Ltd                                            Email Redacted
                Sparkle Cleaning and Vending                                             Email Redacted
                SpecFab Services, Inc                                                    Email Redacted

                Specialized Packaging Solutions Inc.                                     Email Redacted
                Specialty Manufacturing, Inc                                             Email Redacted
                Specialty Manufacturing, Inc                                             Email Redacted
                Spector Logistics Inc                ROBERT WELSH                        Email Redacted
                Spectrum                             Siobhan McEneany                    Email Redacted
                Spectrum Lifts & Loaders Inc                                             Email Redacted
                Speedgoat GmbH                                                           Email Redacted
                Spika Design and Manufacturing,
                Inc.                                                                     Email Redacted
                Spokane Transit Authority                                                Email Redacted

                Sportworks Global LLC                   Emma Bennett                     Email Redacted

                Sportworks Global LLC                   Marc Lanegraff                   Email Redacted

                Sportworks Global LLC                                                    Email Redacted
                Sportworks Northwest, Inc.              AMANDA HOLMES                    Email Redacted
                Spraying Systems Co                                                      Email Redacted
                Springfield Tool and Die                                                 Email Redacted
                SPS Commerce, Inc.                      Joshua Vought                    Email Redacted
                SPS Commerce, Inc.                                                       Email Redacted
                Square Grove, LLC                       DBA UPLIFT Desk                  Email Redacted
                Squire Patton Boggs (US) LLP            Chris Carmichael                 Email Redacted
                Staffmark Investment LLC                                                 Email Redacted
                                                        Director of Accounting Denise
                Stage 8 Locking Fasteners Inc.          Keeler                           Email Redacted
                Stanley Convergent Security
                Solutions, Inc.                                                          Email Redacted

                Stansell Electric Company, Inc.                                          Email Redacted
                Staples Advantage                                                        Email Redacted
                Staples Technology Solutions            Staples Technology Solutions     Email Redacted
                Staples Technology Solutions            Tom Riggleman                    Email Redacted
                STARMETRO                                                                Email Redacted
                Starr Surplus Lines Insurance
                Company                                 Jennifer Sadalski                Email Redacted
                State Industrial Solutions                                               Email Redacted
                State of Iowa                                                            Email Redacted
                State of Minnesota, Department of
                Revenue                                                                  Email Redacted


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                           CreditorName                        CreditorNoticeName          EmailAddress
                State of New Jersey                     Division of Taxation              Email Redacted
                State of Washington                                                       Email Redacted

                State Purchasing Division, Georgia                                        Email Redacted
                State Water Resources Control           State Water Resources Control
                Board                                   Board                             Email Redacted
                State Water Resources Control
                Board                                                                     Email Redacted
                SteelSentry Inc.                                                          Email Redacted
                Stephen J. Sawyer                                                         Email Redacted
                Stetech Supply Chain Services                                             Email Redacted
                Steve Zaehler                                                             Email Redacted
                                                        DBA Manufacturers of Fine Ideas
                Steven Andrew Cecil                     (MFI)                             Email Redacted
                Steven Engineering                      MARK MIYAJI                       Email Redacted
                Steven Kuring                                                             Email Redacted
                Steven M Palay                          dba Funtronix LLC                 Email Redacted
                Steves Miscellaneous Services                                             Email Redacted
                Stewart & Stevenson Power
                Products LLC                                                              Email Redacted

                Stewart Handling Systems, Inc.                                            Email Redacted
                Stock & Option Solutions, Inc.                                            Email Redacted

                Storm Manufacturing Corporation         Storm Power Components            Email Redacted

                STR Limited                                                               Email Redacted
                Strategic Mapping Inc.                  Roni Pinhasor                     Email Redacted
                Strategic Mapping Inc.                                                    Email Redacted

                Strategic Marketing Innovations, Inc.                                     Email Redacted
                StratEx Advisors, Inc.                                                    Email Redacted

                Streamline Shippers & Affiliates                                          Email Redacted
                Stronco Design Inc                      Prakash Doobay                    Email Redacted
                STSC LLC                                                                  Email Redacted
                Studio Anand Sheth                                                        Email Redacted
                STW Technic, LP.                                                          Email Redacted
                Suburban Mobility Authority for
                Regional Transportation                                                     Email Redacted
                                                        DBA Industiral Millwright Services,
                Sue Pipkin                              Inc.                                Email Redacted
                Sugar Bear Plumbing, Inc.               Lawrence Smith                      Email Redacted
                Summit Racing                                                               Email Redacted

                Sun Source/STS Operating, Inc.                                            Email Redacted
                Sunbelt Rentals Inc                                                       Email Redacted

                Suncoast Elevator Inspections, LLC                                        Email Redacted

                Sunrise Systems Electronics Co Inc. Leah Donner                           Email Redacted


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                                                     Creditor Matrix
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                           CreditorName                     CreditorNoticeName           EmailAddress
                Sunsource Canada Consolidated
                Inc.                                  DBA D J Industrial Sales & Mfg Inc Email Redacted
                Superior Interior Systems             Glenda Bowman                      Email Redacted
                Superior Interior Systems             Kelly Conley                       Email Redacted
                Superior Interior Systems                                                Email Redacted
                Superior Office Solutions LLC         Chris Coates                       Email Redacted
                Supplier Link Services, Inc.          Emily Leutyzinger                  Email Redacted

                SUSPA Inc                             CHADWICK BECK                    Email Redacted
                Sustainability Partners LLC                                            Email Redacted
                Sustained Quality                     EHD Tech                         Email Redacted
                Sustained Quality LLC                 Accounts Receivable              Email Redacted

                Suzhou YongChuang Metal Science
                and Technology CO., LTD.        Jenny Xia                              Email Redacted

                Suzhou YongChuang Metal Science
                and Technology CO., LTD.                                               Email Redacted
                Swamp Fox Software and Analytics,
                LLC                                                                    Email Redacted
                Swamp Fox Software and Analytics,
                LLC                                                                    Email Redacted
                Swiftly, Inc.                                                          Email Redacted
                Sy Enterprises Corp                                                    Email Redacted
                Syncromatics Corporation          Alvin Huang                          Email Redacted

                Syscon Automation Group, LLC          Tom Wing                         Email Redacted
                T. Reed Gary                                                           Email Redacted
                Tabatha Ackerson                                                       Email Redacted
                Tableau Software, LLC                                                  Email Redacted
                Tai Nguyen                            DBA Consultant by Design         Email Redacted
                Takkt America Holding, Inc.           DBA Dallas Midwest LLC           Email Redacted

                Tallahassee, City of (StarMetro)                                       Email Redacted
                Tamara Llosa-Sandor                                                    Email Redacted
                Tangerine Promotions, a division of
                BAMKO, LLC.                           Rachel Nelson                    Email Redacted
                Tao Mechanical, Ltd.                                                   Email Redacted
                Taoglas USA                           Taoglas Limited                  Email Redacted
                TAP Plastics, Inc.                    Shela Maher                      Email Redacted
                Tapeswitch Corporation                                                 Email Redacted

                Tata Consultancy Services Limited     c/o Legal Department             Email Redacted
                Tata Consultancy Services Ltd         c/o Legal Department             Email Redacted
                Tata Consultancy Services Ltd         Tata Consultancy Services Ltd    Email Redacted
                Tata Consultancy Services Ltd                                          Email Redacted
                Tata Consultancy Services Ltd                                          Email Redacted
                Tata Consultancy Services Ltd                                          Email Redacted
                Tatyana Vovk                                                           Email Redacted

                Taylor Machine and Welding Inc.       Taylor Manufacturing             Email Redacted


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                          CreditorName                      CreditorNoticeName         EmailAddress
                Taylor Machine Works, Inc                                             Email Redacted
                Taylor Manufacturing                  Vickie Padgett                  Email Redacted
                TCF National Bank                     DBA TCF Equipment Finance       Email Redacted
                TCI Automotive                                                        Email Redacted
                TCI Tire Centers                                                      Email Redacted
                TDI Power                             Cathleen Kicak                  Email Redacted
                TDI Power                                                             Email Redacted
                TE Connectivity Corporation           ANNIE SEIDEL                    Email Redacted
                TE Connectivity Corporation                                           Email Redacted

                Teachey Service Company, Inc.                                         Email Redacted

                Teachey Service Company, Inc.                                         Email Redacted
                Tech Graphics Private Limited         Chintan Shah                    Email Redacted
                Technical Specialties, Inc.                                           Email Redacted
                Technolab SA                          DBA ASAM e.V.                   Email Redacted
                Tech-Sonic Inc                        VICE PRESIDENT Hyun Ou          Email Redacted
                Teco Pneumatic, Inc.                                                  Email Redacted
                Tecumseh Signals, LLC                                                 Email Redacted
                Teletrac Navman US Ltd                                                Email Redacted
                Tell Steel Inc.                                                       Email Redacted
                Temprel, Inc.                         Ken Cuatt                       Email Redacted
                Tennessee Public Transportation
                Association                           Jason Spain                     Email Redacted
                Terry Easley                                                          Email Redacted
                Terzo Power Systems                                                   Email Redacted
                TESSCO Incorporated                                                   Email Redacted

                Testamatic Systems Inc                                                Email Redacted
                Testco                                                                Email Redacted
                Testco Incorporated                   Garth Rodericks                 Email Redacted
                TestEquity LLC                        Martin Aguilar                  Email Redacted
                Testing Engineers, Inc.                                               Email Redacted
                Tevlin Strategic Communication                                        Email Redacted
                Texas Short Order, LP                                                 Email Redacted
                TForce Freight                                                        Email Redacted
                The 5S Store, LLC                                                     Email Redacted

                The EI Group, Inc                     Colleen Christian               Email Redacted

                The Estate of Joseph Siu Hong Tam Sandy Pui-Lei Tam                   Email Redacted
                The Fire Consultants, Inc.                                            Email Redacted
                The Flag Company, Inc.                                                Email Redacted

                The Goodyear Tire and Rubber Co.                                      Email Redacted
                The Hiring Group, LLC                 AGR Advisors, Inc.              Email Redacted
                The J.N. Phillips Co. Inc.                                            Email Redacted
                The Lee Company                       TIMOTHY FAGAN                   Email Redacted
                The Modal Shop                        Andy McGuire                    Email Redacted
                The Print Machine Inc.                                                Email Redacted
                The Producers, Inc.                   DBA Power Trade Media           Email Redacted


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                           CreditorName                      CreditorNoticeName         EmailAddress
                The RCA Rubber Company                  FKA SRP Industries, LLC        Email Redacted
                The Regents of the Univeristy of
                California                                                              Email Redacted
                The RoviSys Company                     Accts Receivable Alyssa Balfour Email Redacted
                                                        DIRECTOR SUPPLY CHAIN John
                The RoviSys Company                     Vargo                           Email Redacted
                The Shyft Group USA, Inc.                                               Email Redacted
                The Shyft Group USA, Inc.                                               Email Redacted
                The Sourcing Group, LLC                 Jennie Mollo                    Email Redacted
                The StrataFusion Group, Inc.            Ken Crafford                    Email Redacted
                The StrataFusion Group, Inc.            The StrataFusion Group, Inc     Email Redacted
                The StrataFusion Group, Inc.                                            Email Redacted
                The Travelers Indemnity Company
                and Its Property Casualty Insurance
                Affiliates                          Attn Katie A. Beliveau             Email Redacted
                The Travelers Indemnity Company
                of CT                                                                  Email Redacted
                The Upholstery Depot                                                   Email Redacted
                The Webstaurant Store, Inc.         Bryce Wendler                      Email Redacted

                The Yarder Manufacturing Company CFO Amy conlan                        Email Redacted
                Thermal Flex (Tacna Intl Corp)                                         Email Redacted
                Therma-Tech (A.R. Lintern)                                             Email Redacted
                Therma-Tech (A.R. Lintern)                                             Email Redacted
                Thermatron Engineering, Inc.                                           Email Redacted
                Thermo Heating Elements, LLC     JILL MCNAIR                           Email Redacted
                Thermo King Corporation                                                Email Redacted
                Thermo King of Greenville        CARL ZOLLNER                          Email Redacted
                Thinkify LLC                                                           Email Redacted
                ThinkResults Marketing LLC                                             Email Redacted
                THK Rhythm Automotive Michigan
                Corporation                      KELLY SHAW                            Email Redacted
                Thomas A. McCormick dba
                American Electrical, Inc.                                              Email Redacted
                Thomas J Alessi Jr               Brian Joseph                          Email Redacted
                Thomas J Caringella              Sumo Mania - Party Rental CA          Email Redacted
                Thomas P. Amicarelli             DBA Muscle Builders                   Email Redacted
                Thomsen and Burke LLP            Partner Roszel C. Thomsen II          Email Redacted
                Three Point Oh! Inc.                                                   Email Redacted
                Tier Rack Corporation                                                  Email Redacted
                Times Square Retail, LLC         DBA The Engine Room                   Email Redacted
                Timothy Brown                                                          Email Redacted
                Timothy D. Danyo                 DBA Imagination Media                 Email Redacted
                Timothy J McCartney              DBA TJA & Associates LLC              Email Redacted
                Timothy Jones                                                          Email Redacted
                TIP Industries                   DBA TIP Temperature Products          Email Redacted
                TK Systems Inc.                                                        Email Redacted

                TM4 Inc.                                                               Email Redacted
                TOMA Fire Protection Equipment,
                LLC                                                                    Email Redacted


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                           CreditorName                      CreditorNoticeName         EmailAddress
                Tool Room, Inc, The                                                    Email Redacted
                Top Tempo Technical                                                    Email Redacted
                Toronto Transit Commission                                             Email Redacted
                Toronto Transit Commission                                             Email Redacted
                Toshiba International Company
                (TIC), Houston                                                         Email Redacted

                Toshiba International Corporation                                      Email Redacted
                Total Maintenance Solutions South
                Inc                                    TMS South                       Email Redacted
                Town of Avon                                                           Email Redacted
                Town of Avon, CO                                                       Email Redacted
                Town of Breckenridge                                                   Email Redacted
                Town of Breckenridge                                                   Email Redacted

                TPI Composites Services, LLC           Kyle Newell                     Email Redacted
                TPI Composites, INC                                                    Email Redacted
                TPI Composites, Inc.                   Jerry Lavine                    Email Redacted
                TPI Iowa LLC                           STEVE BRENIZER                  Email Redacted
                TPS, LLC                               DBA Thermal Product Solutions   Email Redacted
                Traffic Control Corp                   Allen Eisinger                  Email Redacted
                Trammell Equipment Co., Inc.                                           Email Redacted
                Trane U.S. Inc.                                                        Email Redacted
                Transdev Services Inc                                                  Email Redacted
                TransID LLC                                                            Email Redacted
                Transign LLC                                                           Email Redacted
                Transit Associates, Inc.                                               Email Redacted
                Transit Authority of River City                                        Email Redacted
                TransIT Solutions, LLC                 TSI Video                       Email Redacted
                Transit Technical, LLC                 Phil DeHaan                     Email Redacted
                TransPak                               Matthew Moquin                  Email Redacted
                TransPak                                                               Email Redacted
                TRANSPAK, INC                          TRANSPAK INC                    Email Redacted
                TRANSPAK, INC                                                          Email Redacted
                Transportation Association of          EXECUTIVE DIRECTOR John
                Maryland, Inc                          Duklewski                       Email Redacted
                                                       DBA Starline Luxury Coaches,
                Transportation Demand                  Wheatland Express and A & A
                Management LLC                         Motorcoach                      Email Redacted

                Transportation Energy Partnership                                      Email Redacted

                Transportation Research Center Inc                                     Email Redacted
                Transportation Services Inc                                            Email Redacted
                Transtech Innovations                                                  Email Redacted
                Transtech of SC, Inc.                                                  Email Redacted
                Trapeze Software Group, Inc            Debbie Hadley                   Email Redacted
                Trapeze Software Group, Inc            DOUG THOMAS                     Email Redacted
                Travelers Indemnity Company            John Santos                     Email Redacted
                Travelers Ocean Marine                 Jamison Walz                    Email Redacted
                Travelers-Deductible                                                   Email Redacted


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                                                        Creditor Matrix
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                              CreditorName                    CreditorNoticeName            EmailAddress
                                                        CLIENT SERVICES Yvonne
                TravelStore                             Fenton                             Email Redacted
                Travers Tool Co., Inc.                                                     Email Redacted
                                                     DBA Trelleborg Sealing Solutions
                Trelleborg Sealing Solutions US, Inc West                                  Email Redacted
                Tri Tech USA, Inc.                                                         Email Redacted
                TriCord Management, LLC                                                    Email Redacted
                Trilogiq USA Corporation             Brendan Tilson                        Email Redacted
                Trilogiq USA Corporation             Marie Davis                           Email Redacted
                TriMech Services                                                           Email Redacted
                TriMech Services, LLC                                                      Email Redacted
                Trim-Lok, Inc.                                                             Email Redacted
                Trim-Lok, Inc.                                                             Email Redacted
                Triniti Corporation                                                        Email Redacted
                TripSpark USA                                                              Email Redacted

                Tri-State Equipment Company, Inc. DBA Ergonomic Partners                   Email Redacted
                Tritium Pty LTD                   DENNIS PASCUAL                           Email Redacted
                TRM Precision Manufactory(Suzhou) Suzhou Speed Communication
                Ltd                               Technology Ltd                           Email Redacted
                Trolley Support LLC               Nicole Miele                             Email Redacted
                Troutman Pepper Hamilton Sanders
                LLP                               Goutam Patnaik                           Email Redacted
                Troy Brown                        DBA Brown Electric Company               Email Redacted
                TRS International MFG., Inc.      Terry Lai                                Email Redacted
                Trucker Huss, APC                 Racquel Celestial                        Email Redacted

                TrueBlue Services, Inc. formerly
                Seaton Acquisition Corp                 Maria Alexander                    Email Redacted
                Trumpet Holdings Inc.                   DBA Trombetta Inc.                 Email Redacted
                TRUMPF, Inc.                                                               Email Redacted
                TRW Automotive U.S. LLC                 Melissa Smallwood                  Email Redacted
                TRW Automotive U.S. LLC                                                    Email Redacted
                TSG Enterprises Inc                     DBA The Solis Group                Email Redacted
                TTI, Inc                                Floyd Enloe                        Email Redacted
                TTI, Inc                                                                   Email Redacted
                Tube Specialties                        Alex Walkey                        Email Redacted
                Tube Specialties                                                           Email Redacted
                                                        c/o Nelson Global Products, attn
                Tube Specialties Co., Inc.              Jamie McNally                      Email Redacted
                TUV SUD America, Inc.                                                      Email Redacted
                Twin Lakes Auto Body & RV Repair
                Inc.                                    Glenn Holbrook                     Email Redacted
                Tyco Valves & Controls, LP                                                 Email Redacted

                Tyler M Housholder                      DBA TH Graphic Installations, LLC Email Redacted
                U.S. Bionics Inc                        dba suitX                         Email Redacted
                U.S. Chamber of Commerce                                                  Email Redacted
                U.S. Chemical Storage, LLC                                                Email Redacted
                U.S. General Services
                Administration                                                             Email Redacted


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                                                       Creditor Matrix
                                                  Served via Electronic Mail

                         CreditorName                         CreditorNoticeName            EmailAddress
                UC San Diego                                                               Email Redacted

                UKG Inc.                               Attn Catherine R. Choe, Esq.        Email Redacted

                UKG Inc.                               UKG Inc                             Email Redacted
                UKG Kronos Systems LLC                 Alicia Wilson                       Email Redacted
                UL Associates LLC                      FKA Kvertex Associates, LLC         Email Redacted
                UL LLC                                                                     Email Redacted
                ULine                                                                      Email Redacted
                Uline                                                                      Email Redacted
                ULine                                                                      Email Redacted
                Unicorp                                                                    Email Redacted
                Unifirst Corporation                                                       Email Redacted
                Union Metal                                                                Email Redacted

                United Chemical & Supply Co, Inc       Joe Malek                           Email Redacted

                United Rentals (North America), Inc.                                       Email Redacted

                United States Seating Company          Drew Lewis                          Email Redacted

                United States Seating Company                                              Email Redacted
                United Steelworkers                                                        Email Redacted
                United Steelworkers International
                Union                                  David R. Jury, General Counsel      Email Redacted
                Universal Air & Gas Products                                               Email Redacted

                Universal Dust Collector
                Manufacturing & Supply Corporation DBA UDC Corporation                     Email Redacted
                Universal Plant Services of
                Nashville, Inc.                    Tim Fackler                             Email Redacted

                Universal Power Equipment Inc.                                             Email Redacted
                Universal Protection Service LP                                            Email Redacted
                Universal Protection Service LP                                            Email Redacted
                Universal Technical Services           JASON CZARNIEKI                     Email Redacted
                Universal Technical Services                                               Email Redacted

                University of California San Diego                                         Email Redacted
                University of California, Irvine                                           Email Redacted
                University of Colorado Boulder         Erin Lind                           Email Redacted
                University of Georgia                                                      Email Redacted
                University of Georgia CAMPUS
                TRANSIT                                                                    Email Redacted
                University of Montana                                                      Email Redacted

                University of Montana                                                      Email Redacted
                University of South Florida Board of
                Trustees                                                                   Email Redacted




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                                                       Creditor Matrix
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                           CreditorName          CreditorNoticeName                        EmailAddress
                UNIVERSITY OF SOUTH FLORIDA
                CENTRAL RECEIVING TAMPA
                CAMPUS                                                                    Email Redacted
                Uni-Vue Inc                 Pamela Lee                                    Email Redacted
                Unwired Holdings, LLC       DBA MPD Digital                               Email Redacted
                UpKeep Technologies Inc.                                                  Email Redacted
                Uplogix, Inc.                                                             Email Redacted
                UQM Technologies, Inc.                                                    Email Redacted

                Urban Transportation Associates        Mark Vanderputten                  Email Redacted

                Urban Transportation Associates                                           Email Redacted
                Urban Transportation Associates,
                Inc.                                   Thomas W. Kowalski                 Email Redacted

                US Attorney for District of Delaware   US Attorney for Delaware           Email Redacted

                US Customs & Border Protection         Office of Finance                  Email Redacted
                US Hybrid                                                                 Email Redacted
                US Prototype, Inc.                     DBA Rapid Cut                      Email Redacted
                USAT                                                                      Email Redacted
                USAT Corp                              Joey Lalor                         Email Redacted
                USAT Corp                                                                 Email Redacted
                USCutter, Inc.                         AP/AR                              Email Redacted
                USCutter, Inc.                         Peter Robinson                     Email Redacted

                USDI                                   Unique Systems Design, Inc         Email Redacted
                USE Supplier# 2036                     Helind Electronics, Inc.           Email Redacted
                Utah Clean Air Partnership Inc.        UCAIR                              Email Redacted
                Utah Clean Cities                                                         Email Redacted
                Utah Clean Energy                      DBA Utah Clean Energy              Email Redacted
                UTC Fire & Security Americas           Eric Mackie                        Email Redacted

                UV Logistics, LLC                      DBA United Vision Logistics        Email Redacted
                V.L. Chapman Electric, Inc             Lad Chapman                        Email Redacted
                Val Sorensen                                                              Email Redacted

                Valeda Co LLC DBA QStraint USA                                            Email Redacted
                Valeo TCV, North America, Inc.                                            Email Redacted
                Valeo Thermal Commercial Vehicles
                North America, Inc.                  Michael Zonca                        Email Redacted
                Valeo Thermal Commercial Vehicles Valeo Thermal Commercial
                North America, Inc.                  Vehicles North America, Inc.         Email Redacted
                Valerie M Salinas-Davis dba Salinas-
                Davis, LLC                           DBA Salinas-Davis, LLC               Email Redacted

                Valle Gardening and Landscaping        Franklin Valle                     Email Redacted
                Vallen Distribution, Inc.              ANDREA CRUZ                        Email Redacted
                Vallen Distribution, Inc.                                                 Email Redacted
                Valley Regional Transit                Jason Rose                         Email Redacted
                Valley Regional Transit                Jason Rose                         Email Redacted


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                                                      Creditor Matrix
                                                 Served via Electronic Mail

                            CreditorName                    CreditorNoticeName          EmailAddress
                Valley Vista Services                                                  Email Redacted
                Valmont Industries Inc.               Kayla Miller                     Email Redacted
                Valmont Industries Inc.                                                Email Redacted
                Van Hool NV                           Jan Ruyts                        Email Redacted
                Van Hool NV                                                            Email Redacted

                Vander-Bend Manufacturing, LLC        Lori Murdock                     Email Redacted
                Vanner, Inc.                          Doug adams                       Email Redacted
                Vapor Bus International                                                Email Redacted
                Vapor Bus International                                                Email Redacted
                Vapor Bus International                                                Email Redacted
                Varidesk LLC                                                           Email Redacted
                Vaughn Belting Co., Inc.                                               Email Redacted
                VCA North America                                                      Email Redacted

                Vector North America Inc.                                              Email Redacted

                Vehicle Improvement Products, Inc.    VIP SALES VIP SALES              Email Redacted
                Veloz                                 Brandy Ream                      Email Redacted
                Venable LLP                                                            Email Redacted
                VenAir, Inc.                          CARLOS VAN ISSCHOT               Email Redacted
                VenAir, Inc.                                                           Email Redacted
                Venti Printing                                                         Email Redacted
                Ventura Inc                           BRYCE MARSHALL                   Email Redacted
                Ventura Inc                                                            Email Redacted
                Ventura Systems B.V.                  SIETO YKEMA                      Email Redacted
                Verband der Automobilindustrie e.V.   German Association of the
                (VDA)                                 Automotive Industry              Email Redacted
                Verdek LLC                                                             Email Redacted

                Vermeulen & Associates, LLC           dba Contractors Licensing Center Email Redacted
                Vernay Laboratories, Inc.             Sonja Alexander                  Email Redacted

                Versgrove Moving Systems, Inc.                                         Email Redacted
                Vertex, Inc.                                                           Email Redacted
                VIA Metropolitan Transit                                               Email Redacted
                Vianova Technologies Inc.             Christopher Fender               Email Redacted
                Vianova Technologies Inc.                                              Email Redacted
                Vicinity Motor Corporation                                             Email Redacted
                Victor Gonzalez                                                        Email Redacted
                Vigilant Technologies LLC                                              Email Redacted
                Vigilant Technologies LLC                                              Email Redacted
                Vineyard Finance S.A. c/o ZF          Attn Scott Talmadge, Ali
                Friedrichshafen AG                    Muffenbier                       Email Redacted
                Vineyard Finance S.A. c/o ZF
                Friedrichshafen AG                    ZF Friedrichshafen AG            Email Redacted
                Virginia Panel Corporation                                             Email Redacted
                ViriCiti LLC                          VALERY KANG                      Email Redacted
                Vision Service Plan Insurance
                Company                                                                Email Redacted
                Visionary Union Holdings LLC          Think Branded Media              Email Redacted


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                              CreditorName                   CreditorNoticeName         EmailAddress

                Volta Trucks                         Attn Jackie Dakin                 Email Redacted
                Volta Trucks                         John Burrows                      Email Redacted
                Volta Trucks Ltd                                                       Email Redacted
                Volta Trucks Ltd                                                       Email Redacted
                Voltaiq, Inc.                        Tzeng                             Email Redacted

                Vomela Speciality Company Inc                                          Email Redacted

                Vomela Specialty Company, Inc.       DBA Fusion Imaging                Email Redacted
                Vortex Industries, Inc.                                                Email Redacted
                VOSS Automotive, Inc.                Cathy Herzog                      Email Redacted
                VOSS Automotive, Inc.                                                  Email Redacted
                Vyrian Inc.                                                            Email Redacted
                W&B Technology Ltd.                                                    Email Redacted
                W&B Technology, Ltd                  Yvonne Chan                       Email Redacted
                W.W. Grainger, Inc.                                                    Email Redacted
                WAAV, Inc.                                                             Email Redacted
                Walschon Fire Protection, Inc.                                         Email Redacted
                WARDJet, LLC                         AXYZ USA, Inc                     Email Redacted
                Wash Pro LLC                         Charles Daniels                   Email Redacted
                Washington State Department of
                Enterprise Services                                                    Email Redacted
                Washington State Transit
                Association                                                            Email Redacted
                Washington, Department of
                Enterprise Services                                                    Email Redacted
                Waste Management                                                       Email Redacted
                Waste Management of South
                Carolina                                                               Email Redacted
                Watlow                                                                 Email Redacted
                Watson Engineering                   CHUCK WATSON                      Email Redacted
                Watson Engineering                                                     Email Redacted
                Wayfair, LLC                                                           Email Redacted
                Waytek Inc                           Clint Bowers                      Email Redacted
                Waytek Inc                                                             Email Redacted

                Webasto Charging Systems, Inc.       Edgar Soto                        Email Redacted
                Webasto Thermo & Comfort North
                America, Inc.                        Jason Brown                       Email Redacted

                Webb & Associates, Inc.              DBA Transit Information Products Email Redacted

                Weiss Envirotronics, Inc.                                              Email Redacted
                Wendel Rosen LLP                                                       Email Redacted
                Wesco Distribution Inc.              Wesco Distribution Inc.           Email Redacted

                Wesco Distribution Inc.                                                Email Redacted

                WESCO Distribution, Inc.             FINANCE Ray Moore                 Email Redacted



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                              CreditorName                   CreditorNoticeName            EmailAddress

                WESCO Distribution, Inc.                                                  Email Redacted

                Wesgarde Components Group Inc.        Sharla Stang                        Email Redacted

                Wes-Garde Components Group, Inc. FRANCES ADAMS                            Email Redacted

                Wes-Garde Components Group, Inc.                                          Email Redacted
                West Chatham Warning Devices,
                Inc.                                                                      Email Redacted

                West Coast Powder Coating, Inc        A.J. Costa                          Email Redacted
                West Marine Products                                                      Email Redacted
                West Marine Products                                                      Email Redacted
                West Marine Products, Inc             Donald Bollenbacher                 Email Redacted
                West Publishing Corporation                                               Email Redacted
                Western Steel & Boiler Co.                                                Email Redacted
                Westfire Inc.                                                             Email Redacted
                                                      Gerard Weston Weston and
                Weston and Company, Inc.              Company, Inc.                       Email Redacted

                Whatcom Transportation Authority      Ron Mountain                        Email Redacted
                WHEEL-CHECK                                                               Email Redacted

                                                      See Latitude Applied Technologies
                White Horse Packaging Co.             White Horse Packaging Co.         Email Redacted
                Wichita State University                                                Email Redacted
                Wieslaw Szymanski                                                       Email Redacted
                Wiivv Wearables Co                                                      Email Redacted
                Wilbert, Inc                                                            Email Redacted
                William Casey Hines                                                     Email Redacted
                William J McColl                      Waveform Design LLC               Email Redacted
                William W. Keown II                   DBA Keown Films, LLC              Email Redacted
                Williams, Darnetta                                                      Email Redacted
                Willis Towers Watson Northeast,
                Inc.                                                                      Email Redacted
                Wilshire Law Firm                                                         Email Redacted
                Wilson Composites, LLC                TIM WILSON                          Email Redacted

                Wilson Sonsini Goodrich & Rosati                                          Email Redacted
                WIN.IT America, Inc                   Alan Liu                            Email Redacted
                Wind River Sales Co., Inc.            Ricardo Fiallos                     Email Redacted
                Wind River Sales Co., Inc.            Todd Degnan                         Email Redacted
                                                      B. Hepworth and Co., Ltd. of
                Window Wiper Technologies, Inc        Connecticut, Inc.                   Email Redacted
                WINDRUNNER INC. DBA
                AXSOMART                                                                  Email Redacted
                Wisconsin Clean Cities, Inc.          Lorrie Lisek                        Email Redacted
                                                      OFFICE ADMINISTRATOR Kim
                Wise Consulting Associates, Inc.      Gibbs                               Email Redacted
                Wisesorbent Technology LLC                                                Email Redacted


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                          CreditorName                       CreditorNoticeName         EmailAddress
                Witten Company, Inc.                                                   Email Redacted
                Wolf Industrial Services               Coordinated Services            Email Redacted
                Wolfsdorf Rosenthal LLP                                                Email Redacted

                Womble Bond Dickinson US LLP           Womble Bond Dickinson (US) LLP Email Redacted

                Womble Bond Dickinson US LLP                                           Email Redacted
                Woodruff-Sawyer & Co.                                                  Email Redacted
                Workforce Fusion LLC                                                   Email Redacted
                Workiva Inc.                                                           Email Redacted
                Workiva Inc.                                                           Email Redacted

                Workman Electrical Services Inc        Ryan Workman                    Email Redacted
                Workwell Occupational Health                                           Email Redacted
                Wurth Electronics ICS Inc.                                             Email Redacted
                Wurth Electronics ICS, Inc.                                            Email Redacted
                WW Williams                                                            Email Redacted
                Wyche, P.A.                            Diann Coffey                    Email Redacted

                XD Innovation Services, LLC            Elayna Nagy                     Email Redacted
                Xerox Transport Solutions Inc.                                         Email Redacted
                Xometry, Inc.                          Polly Calhoun                   Email Redacted
                Xometry, Inc.                                                          Email Redacted
                XPO Logistics                                                          Email Redacted
                Xpressmyself.com LLC                   SmartSign                       Email Redacted

                xR & E Automated Systems LLC                                           Email Redacted
                YELLOWHEAD TRAILER REPAIR
                AND SERVICE LTD                                                        Email Redacted
                Yila Properties                                                        Email Redacted
                Yildiz, Emrah Tolga                                                    Email Redacted
                Yinlun TDI, LLC                        Thermal Dynamics                Email Redacted
                Yokohama Industries Americas           DEBI COLOMBO                    Email Redacted
                Yoonseok Choi                          Jeonga Choi                     Email Redacted
                York Graphic Services Co. dba The
                YGS Group                              DBA The YGS Group               Email Redacted
                Yorke Engineering LLC                  Judith Yorke                    Email Redacted
                Young Office Environments Inc          Judy Martin                     Email Redacted

                Young Office Environments, Inc.                                        Email Redacted
                Young, Steve                                                           Email Redacted
                Youngsook Cho                                                          Email Redacted
                Your Party Rental Company                                              Email Redacted
                Yu Byun                                DBA Paul Byun / Videographer    Email Redacted
                Z Tech                                                                 Email Redacted
                Zafar Iqbal                                                            Email Redacted
                ZAPI Inc                               In Motion US LLC                Email Redacted
                ZAPI Inc                               In Motion US LLC                Email Redacted
                Zeeshan Khawaja                                                        Email Redacted
                Zefco Industrial Flooring, Inc.                                        Email Redacted
                Zemarc Corporation                                                     Email Redacted


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                           CreditorName                 CreditorNoticeName         EmailAddress
                Zen II, LLC                                                       Email Redacted
                ZeroCater, Inc.                   Sarah Little                    Email Redacted
                Zero-Emisison Transit Buses                                       Email Redacted
                ZF Friedrichshafen AG             DANIEL DUDEK                    Email Redacted
                ZF Gainesville LLC                Laura Krause                    Email Redacted
                ZF Industries -Gainesville LLC    LISA MILLER                     Email Redacted
                ZF Services North America LLC     Carlos Aguinaga                 Email Redacted
                ZF SERVICES NORTH AMERICA,
                LLC                               NANCY VHL BIN13 ANDERSEN        Email Redacted
                ZF Services, LLC                                                  Email Redacted
                ZF Suspension Technology
                Guadalajara S.A de C.V.           Peter Sailer                    Email Redacted
                Zing                                                              Email Redacted
                Zonar Systems, Inc.               Scott Kawa                      Email Redacted
                Zonar Systems, Inc.                                               Email Redacted

                Zoom Video Communications, Inc.                                   Email Redacted

                Zoom Video Communications, Inc.                                   Email Redacted
                Zybek Advanced Products                                           Email Redacted




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             Description                    CreditorName                  CreditorNoticeName                Address1          Address2              City       State     Zip
 State Attorney General Alabama       Alabama Attorney General        Attn Bankruptcy Department     501 Washington Ave    PO Box 300152       Montgomery     AL     36104-0152
                                                                                                     1031 West 4th Avenue,
 State Attorney General Alaska        Alaska Attorney General         Attn Bankruptcy Department     Suite 200                                 Anchorage      AK    99501-1994
 State Attorney General Arizona       Arizona Attorney General        Attn Bankruptcy Department     2005 N Central Ave                        Phoenix        AZ    85004-2926
                                      Arizona Attorney General -
 State Attorney General Arizona       CSS                             Attn Bankruptcy Department     PO Box 6123            MD 7611            Phoenix        AZ    85005-6123
 State Attorney General Arkansas      Arkansas Attorney General       Attn Bankruptcy Department     323 Center St. Ste 200                    Little Rock    AR    72201-2610
 Counsel to Daimler Truck North
 America LLC and Its Affiliates and                                   Ricardo Palacio and Gregory    500 Delaware Avenue,
 Birlasoft Solutions, Inc.          Ashby & Geddes, P.A.              A. Taylor                      8th Floor                                 Wilmington     DE    19899-1150
                                                                                                     11 South Meridian
 Counsel to Navistar, Inc.            Barnes & Thornburg LLP          Jonathan Sundheimer            Street                                    Indianapolis   IN    46204
 State Attorney General California    California Attorney General     Attn Bankruptcy Department     1300 I St., Ste. 1740                     Sacramento     CA    95814-2919
                                                                                                     Ralph L Carr Colorado 1300 Broadway,
 State Attorney General Colorado      Colorado Attorney General       Attn Bankruptcy Department     Judicial Building     10th Fl             Denver         CO    80203
 State Attorney General
 Connecticut                          Connecticut Attorney General    Attn Bankruptcy Department     165 Capitol Avenue                        Hartford       CT    06106
                                                                                                     Carvel State Office
 State Attorney General Delaware      Delaware Attorney General       Attn Bankruptcy Department     Bldg.                    820 N. French St. Wilmington    DE    19801
                                                                                                     Attn Bankruptcy          Carvel State
 Delaware State AG and DOJ            Delaware Dept of Justice        Attorney General               Department               Building          Wilmington    DE    19801
 DE Secretary of State                Delaware Secretary of State     Division of Corporations       Franchise Tax            PO Box 898        Dover         DE    19903
                                                                                                     820 Silver Lake Blvd.,
 DE State Treasury                    Delaware State Treasury                                        Suite 100                                 Dover          DE    19904
 State Attorney General District of   District of Columbia Attorney
 Columbia                             General                         Attn Bankruptcy Department     400 6th Street NW                         Washington     DC    20001
 Counsel to Tao Capital Partners
 and its affiliates (collectively,
 “Tao”)                               Dorsey & Whitney LLP            Samuel S. Kohn                 51 West 52nd Street                       New York       NY    10019
                                                                                                     9600 SW Boeckman
 Committee Member                     DWFritz Automation LLC          Bryan Wallace                  Road                                      Willsonville   OR    97070
                                                                                                     112 E. Pecan Street,
 Counsel to Meritor, Inc.             Dykema Gossett, PLLC            Danielle Rushing Behrends      Suite 1800                                San Antonio    TX    78205
                                                                                                     400 Renaissance
 Counsel to Meritor, Inc.             Dykema Gossett, PLLC            Sherrie L. Farrell             Center, Suite 2300                        Detroit        MI    48243
 State Attorney General Florida       Florida Attorney General        Attn Bankruptcy Department     PL-01 The Capitol                         Tallahassee    FL    32399-1050
 Counsel to Daimler Truck North                                                                      321 N. Clark Street,
 America LLC and Its Affiliates       Foley & Lardner LLP             Emil P. Khatchatourian         Suite 3000                                Chicago        IL    60654-4762
 Counsel to Daimler Truck North                                                                                               500 Woodward
 America LLC and Its Affiliates       Foley & Lardner LLP             John A. Simon                  One Detroit Center       Avenue, Suite    Detroit        MI    48226
 State Attorney General Georgia       Georgia Attorney General        Attn Bankruptcy Department     40 Capital Square, SW                     Atlanta        GA    30334-1300




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               Description                  CreditorName            CreditorNoticeName                  Address1             Address2              City    State       Zip
 Counsel to LG Energy Solutions,
 Ltd. and IVECO Group N.V. and                                                                   222 Delaware Avenue,
 certain affiliates                 Greenberg Traurig, LLP      Dennis A. Meloro                 Suite 1600                                 Wilmington     DE      19801
 Counsel to LG Energy Solutions,                                                                 1840 Century Park
 Ltd.                               Greenberg Traurig, LLP      Howard J. Steinberg              East, Suite 1900                           Los Angeles    CA      90067
                                                                Oscar N. Pinkas, Sara A.
 Counsel to IVECO Group N.V. and                                Hoffman, and Jessica M.
 certain affiliates               Greenberg Traurig, LLP        Wolfert                          One Vanderbilt Avenue                      New York       NY      10017
 State Attorney General Hawaii    Hawaii Attorney General       Attn Bankruptcy Department       425 Queen Street                           Honolulu       HI      96813
 Counsel to the First Lien Agent,                               Attn Robert Jones and Brent
 Bank of America                  Holland & Knight              McIlwain                         One Arts Plaza          1722 Routh Street, Dallas         TX      75201
 Counsel to Valeo Thermal
 Commercial
 Vehicles North America, Inc. and                               E. Todd Sable and Lawrence       2290 First National     660 Woodward
 Our Next Energy, Inc.            Honigman LLP                  A. Lichtman                      Building                Avenue             Detroit        MI      48226-3506
                                                                J.R. Smith and Jennifer E.
 Counsel to Dana Limited            Hunton Andrews Kurth LLP    Wuebker                          951 East Byrd Street                      Richmond        VA      23219
 Counsel to Capital Metropolitan                                Lynn H. Butler and Jameson       111 Congress Avenue,
 Transportation Authority           Husch Blackwell LLP         J. Watts                         Suite 1400                                Austin          TX      78701
                                                                                                 700 W. Jefferson Street
 State Attorney General Idaho       Idaho Attorney General      Attn Bankruptcy Department       Suite 210               PO Box 83720      Boise           ID      83720-0010
                                                                                                 James R. Thompson       100 W. Randolph
 State Attorney General Illinois    Illinois Attorney General   Attn Bankruptcy Department       Ctr                     St.               Chicago         IL      60601
                                                                                                                         302 West
                                                                                                 Indiana Govt Center     Washington St 5th
 State Attorney General Indiana     Indiana Attorney General    Attn Bankruptcy Department       South                   Fl                Indianapolis    IN      46204
                                                                                                 31 Hopkins Plz Rm
 IRS                                Internal Revenue Service    Attn Susanne Larson              1150                                      Baltimore       MD      21201
                                                                Centralized Insolvency
 IRS                                Internal Revenue Service    Operation                        PO Box 7346                                Philadelphia   PA      19101-7346
                                                                                                 Hoover State Office   1305 E. Walnut
 State Attorney General Iowa        Iowa Attorney General       Attn Bankruptcy Department       Bldg                  Street               Des Moines     IA      50319
                                                                                                 120 SW 10th Ave., 2nd
 State Attorney General Kansas      Kansas Attorney General     Attn Bankruptcy Department       Fl                                         Topeka         KS      66612-1597
                                                                                                                       Capitol Building,
 State Attorney General Kentucky    Kentucky Attorney General   Attn Bankruptcy Department       700 Capitol Avenue    Suite 118            Frankfort      KY      40601-3449
                                                                                                 1150 Trademark Dr.,
 Interested Party                   LACO, Inc.                  Attn: Erika Meciar, C.E.O.       Ste. 111                                   Reno           NV      89521
 Counsel to Ontario International   Leech Tishman Fuscaldo &                                     200 S. Los Robles
 Airport Authority                  Lampl, Inc.                 Sandford L. Frey                 Avenue, Suite 300                          Pasadena       CA      91101




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             Description                     CreditorName               CreditorNoticeName                 Address1               Address2              City       State       Zip
 Counsel to Ontario International    Leech Tishman Fuscaldo &                                        875 Third Avenue, 9th
 Airport Authority                   Lampl, Inc.                    Steven B. Eichel                 Floor                                        New York         NY      10022
                                                                                                     1290 Avenue of the
 Counsel to Volta Trucks Limited     Linklaters LLP                 Christopher Hunker               Americas                                     New York         NY      10104
 State Attorney General Louisiana    Louisiana Attorney General     Attn Bankruptcy Department       PO Box Box 94005                             Baton Rouge      LA      70804
                                                                    Jeffrey L. Cohen, Eric S.
                                                                    Chafetz, Jordana L. Renert,
 Counsel to the Official Committee                                  Michael A. Kaplan and Keara      1251 Avenue of the
 of Unsecured Creditors              Lowenstein Sandler LLP         Waldron                          Americas                                     New York         NY      10020
 State Attorney General Maine        Maine Attorney General         Attn Bankruptcy Department       6 State House Station                        Augusta          ME      04333
 State Attorney General Maryland     Maryland Attorney General      Attn Bankruptcy Department       200 St. Paul Place                           Baltimore        MD      21202-2202
 State Attorney General              Massachusetts Attorney                                          One Ashburton Place
 Massachusetts                       General                        Attn Bankruptcy Department       20th Floor                                   Boston           MA      02108-1518
                                     Michele Thorne and Maho                                                                  3055 Wilshire
 Committee Member                    Lazo                           Wilshire Law Firm                Benjamin Haber           Blvd, 12th Floor    Los Angeles      CA      90010
                                                                                                     G. Mennen Williams
 State Attorney General Michigan     Michigan Attorney General      Attn Bankruptcy Department       Building                525 W. Ottawa St.    Lansing          MI      48909
                                                                                                     445 Minnesota St Suite
 State Attorney General Minnesota Minnesota Attorney General        Attn Bankruptcy Department       1400                                         St Paul          MN      55101-2131
                                                                                                                             550 High St Ste
 State Attorney General Mississippi Mississippi Attorney General    Attn Bankruptcy Department       Walter Sillers Building 1200                 Jackson          MS      39201
 State Attorney General Missouri    Missouri Attorney General       Attn Bankruptcy Department       Supreme Court Bldg      207 W. High St.      Jefferson City   MO      65101
                                                                                                                             215 N. Sanders
 State Attorney General Montana      Montana Attorney General        Attn Bankruptcy Department      Justice Bldg            3rd Fl               Helena           MT      59620-1401
 Counsel to the Official Committee                                   Eric J. Monzo, Brya M.          500 Delaware Avenue,
 of Unsecured Creditors              Morris James LLP                Keilson and Tara C. Pakrouh     Suite 1500                                   Wilmington       DE      19801
                                     Morris, Nichols, Arsht & Tunnel Derek C. Abbott and Andrew      1201 North Market
 Counsel to Volta Trucks Limited     LLP                             R. Remming                      Street, 16th Floor                           Wilmington       DE      19801
 State Attorney General Nebraska     Nebraska Attorney General       Attn Bankruptcy Department      2115 State Capitol      P.O. Box 98920       Lincoln          NE      68509
 State Attorney General Nevada       Nevada Attorney General         Attn Bankruptcy Department      Old Supreme Ct. Bldg. 100 N. Carson St       Carson City      NV      89701
 State Attorney General New          New Hampshire Attorney
 Hampshire                           General                         Attn Bankruptcy Department      33 Capitol St.                               Concord          NH      03301
 State Attorney General New                                                                          Richard J. Hughes
 Jersey                              New Jersey Attorney General    Attn Bankruptcy Department       Justice Complex          25 Market St        Trenton          NJ      08625-0080
 State Attorney General New
 Mexico                              New Mexico Attorney General    Attn Bankruptcy Department       408 Galisteo St          Villagra Building   Santa Fe         NM      87501
                                                                                                     Office of the Attorney   The Capitol, 2nd
 State Attorney General New York     New York Attorney General     Attn Bankruptcy Department        General                  Fl.                 Albany           NY      12224-0341
 State Attorney General North        North Carolina Attorney                                         9001 Mail Service
 Carolina                            General                       Attn Bankruptcy Department        Center                                       Raleigh          NC      27699-9001
 State Attorney General North        North Dakota Attorney General Attn Bankruptcy Department        600 E. Boulevard Ave.    Dept 125            Bismarck         ND      58505-0040




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            Description                   CreditorName               CreditorNoticeName                  Address1              Address2        City       State       Zip
                                 Office of the United States
 US Trustee for District of DE   Trustee Delaware                Linda J. Casey                  844 King St Ste 2207       Lockbox 35    Wilmington      DE      19801
 Office of Unemployment          Office of Unemployment
 Compensation Tax Services       Compensation Tax Services
 (UCTS), Department of Labor and (UCTS), Department of Labor
 Industry, Commonwealth of       and Industry, Commonwealth                                                              Collections
 Pennsylvania                    of Pennsylvania                 Ryan Starnowsky                 PO Box 68568            Support Unit     Harrisburg      PA      17106-8568
                                                                                                 50 E. Broad Street 17th
 State Attorney General Ohio      Ohio Attorney General          Attn Bankruptcy Department      Fl                                       Columbus        OH      43215

 State Attorney General Oklahoma Oklahoma Attorney General     Attn Bankruptcy Department        313 NE 21st St                           Oklahoma City OK        73105
 State Attorney General Oregon   Oregon Attorney General       Attn Bankruptcy Department        1162 Court St. NE                        Salem         OR        97301-4096
 State Attorney General                                                                          16th Floor, Strawberry
 Pennsylvania                    Pennsylvania Attorney General Attn Bankruptcy Department        Square                                   Harrisburg      PA      17120
                                                                                                 1888 Century Park
 Counsel to BC Transit            Perkins Coie LLP               Amir Gamliel                    East, Suite 1700                         Los Angeles     CA      90067-1721
                                  Pillsbury Winthrop Shaw
                                  Pittman                                                        Four Embarcadero
 Counsel to Nikola Corporation    LLP                            Joshua D. Morse, Esq.           Center, 22nd Floor                       San Francisco   CA      94111-5998
                                  Potter Anderson & Corroon                                      1313 N. Market Street,
 Counsel to Nikola Corporation    LLP                            M. Blake Cleary                 6th Floor                                Wilmington      DE      19801
 Top 30 / Committee Member        Power Electronics USA          Carlos Llombart                 1510 N. Hobson Ave                       Gilbert         AZ      85233
 State Attorney General Rhode
 Island                           Rhode Island Attorney General Attn Bankruptcy Department       150 S. Main St.                          Providence      RI      02903
                                  Securities & Exchange           NY Regional Office, Regional   100 Pearl St., Suite 20-
 SEC Regional Office              Commission                      Director                       100                                      New York        NY      10004-2616
                                  Securities & Exchange                                          1617 JFK Boulevard
 SEC Regional Office              Commission                      Regional Director              Ste 520                                  Philadelphia    PA      19103
                                  Securities & Exchange
 SEC Headquarters                 Commission                      Secretary of the Treasury      100 F St NE                              Washington      DC      20549
 Top 30 / Committee Member        Sensata Technologies, Inc.      Justin Colson                  529 Pleasant St                          Attleboro       MA      02703
 State Attorney General South     South Carolina Attorney
 Carolina                         General                         Attn Bankruptcy Department     P.O. Box 11549                           Columbia        SC      29211
 State Attorney General South     South Dakota Attorney                                          1302 East Highway 14
 Dakota                           General                         Attn Bankruptcy Department     Suite 1                                  Pierre          SD      57501-8501
 Counsel to the Chicago Transit                                   Michael P. O'Neil and          One Indiana Square,
 Authority                        Taft Stettinius & Hollister LLP Elizabeth M. Little            Suite 3500                               Indianapolis    IN      46204-2023

 State Attorney General Tennessee Tennessee Attorney General     Attn Bankruptcy Department      P.O. Box 20207                           Nashville       TN      37202-0207
 State Attorney General Texas     Texas Attorney General         Attn Bankruptcy Department      300 W. 15th St                           Austin          TX      78701




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            Description                    CreditorName              CreditorNoticeName              Address1              Address2              City       State       Zip
                                                                                               373 Market St, PO Box
 Top 30 / Committee Member         TPI, Inc.                     Jerry Lavine                  367                                         Warren           RI      02885
 US Attorney for District of       US Attorney for District of
 Delaware                          Delaware                      US Attorney for Delaware      1313 N Market Street    Hercules Building   Wilmington       DE      19801
                                                                                               Utah State Capitol      350 North State
 State Attorney General Utah       Utah Attorney General         Attn Bankruptcy Department    Complex                 Street, Suite 230   Salt Lake City   UT      84114-2320
 State Attorney General Vermont    Vermont Attorney General      Attn Bankruptcy Department    109 State St.                               Montpelier       VT      05609-1001
 State Attorney General Virginia   Virginia Attorney General     Attn Bankruptcy Department    202 North Ninth St                          Richmond         VA      23219
 State Attorney General                                                                        1125 Washington St
 Washington                        Washington Attorney General   Attn Bankruptcy Department    SE                      PO Box 40100        Olympia          WA      98504-0100
 State Attorney General West                                                                   State Capitol Bldg 1 Rm 1900 Kanawha
 Virginia                          West Virginia Attorney General Attn Bankruptcy Department   E-26                    Blvd., East         Charleston       WV      25305
                                                                                               Wisconsin Dept. of      114 East, State
 State Attorney General Wisconsin Wisconsin Attorney General     Attn Bankruptcy Department    Justice                 Capitol             Madison          WI      53707-7857
 State Attorney General Wyoming Wyoming Attorney General         Attn Bankruptcy Department    109 State Capitol                           Cheyenne         WY      82002




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             CreditorName                    CreditorNoticeName                   Address1                    Address2             Address3             City       State        Zip
  Akerman LLP                          Esther McKean                    420 South Orange Avenue,                                                  Orlando         FL       32801
  Archer & Greiner, P.C.               Bryan J. Hall                    300 Delaware Avenue, Suite                                                Wilmington      DE       19801
  Armstrong Teasdale LLP               Eric M. Sutty                    1007 North Market Street                                                  Wilmington      DE       19801
  Bass, Berry & Sims PLC               Paul Jennings                    150 Third Avenue South, Suite                                             Nashville       TN       37201
  Bayard P.A.                          Ericka F. Johnson                600 North Market Street                                                   Wilmington      DE       19801
  Benesch, Friedlander, Coplan &       Jennifer R. Hoover and Daniel N. 1313 North Market Street,
  Aronoff LLP                          Brogan                           Suite 1201                                                                Wilmington      DE       19801
  Benesch, Friedlander, Coplan &       Michael J. Barrie, John C.       1313 North Market Street,
  Aronoff LLP                          Gentile, and Juan E. Martinez    Suite 1201                                                                Wilmington      DE       19801
  Connolly Gallagher LLP               Jeffrey C. Wisler                1201 North Market Street,                                                 Wilmington      DE       19801
  Connolly Gallagher LLP               Karen C. Bifferato               1201 N. Market Street, Suite                                              Wilmington      DE       19801
                                                                                                        1521 Concord Pike,
  Cousins Law LLC                      Scott D. Cousins                  Brandywine Plaza West          Suite 301                                 Wilmington      DE       19803
  Foley & Lardner LLP                  Michael J. Small                  321 N. Clark Street, Suite                                               Chicago         IL       60654-4762
  Fox Rothschild LLP                   Howard A. Cohen                   919 North Market Street, Suite                                           Wilmington      DE       19899
                                                                         1201 North Orange Street,
  Gellert Scali Busenkell & Brown, LLC Bradley P. Lehman                 Suite 300                                                                Wilmington      DE       19801
                                       Matthew T. Gensburg and E.        200 West Adams Street, Suite
  Gensburg Calandriello & Kanter, P.C. Philip Groben                     2425                                                                     Chicago         IL       60606
                                       Oscar N. Pinkas and Sara A.
  Greenberg Traurig, LLP               Hoffman                           One Vanderbilt Avenue                                                    New York        NY       10017
                                       Bernard S. Greenfield And         55 S. Market Street, Suite
  Greenfield LLP                       Maureen A. Harrington             1500                                                                     San Jose        CA       95113
  GS Operating, LLC d/b/a Gexpro                                                                         9 Greenway Plaza,
  Services                             Coats Rose, P.C.                  Ben L. Aderholt                 Suite 1000                               Houston         TX       77046
  GS Operating, LLC d/b/a Gexpro                                                                         1201 N. Market
  Services                             Saul Ewing LLP                    John D. Demmy                   Street, Suite 2300   P.O. Box 1266       Wilmington      DE       19899
  Haynsworth Sinkler Boyd, P.A.        Stanley H. McGuffin               District Court IS# 2833         Post Office Box                          Columbia        SC       29211-1889
                                       E. Todd Sable and Cydney J.                                       660 Woodward
  Honigman LLP                         McGill                            2290 First National Building    Avenue                                   Detroit         MI       48226-3506
  Law Firm of Russell R. Johnson III,  Russell R. Johnson III and John
  PLC                                  M. Craig                          2258 Wheatlands Drive                                                    Manakin-Sabot   VA       23103
  Leech Tishman Fuscaldo & Lampl,                                        1007 N. Orange Street, Suite
  Inc.                                 Jeffrey M. Carbino                420                                                                      Wilmington      DE       19801
  Macauley LLC                         Thomas G. Macauley                300 Delaware Ave., Suite                                                 Wilmington      DE       19801
  Margolis Edelstein                   James E. Huggett                  300 Delaware Avenue, Suite                                               Wilmington      DE       19801
                                                                                                         405 North King
  Mccarter & English, LLP              William F. Taylor, Jr.            Renaissance Centre              Street, 8th Floor                         Wilmington     DE       19801
                                                                                                         City-County Building, 210 Martin Luther
  Michael R. Haas, City Attorney       Eric A. Finch                     Office of the City Attorney     Room 401              King, Jr. Boulevard Madison        WI       53703-3345
  Montgomery Mccracken Walker &                                          1105 North Market Street,
  Rhoads LLP                           Marc J. Phillips                  Suite 1500                                                               Wilmington      DE       19801
                                       Peggy Bruggman and Benjamin
  Oracle America, Inc.                 Wheeler                     500 Oracle Parkway                                                             Redwood City    CA       94065




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               CreditorName                  CreditorNoticeName                   Address1                   Address2         Address3         City     State       Zip
                                       M. Blake Cleary and Maria        1313 N. Market Street, 6th
  Potter Anderson & Corroon LLP        Kotsiras                         Floor                                                            Wilmington     DE      19801
                                       Jamie L. Edmonson and            1201 N. Market Street, Suite
  Robinson & Cole LLP                  Katherine S. Dute                1406                                                             Wilmington     DE      19801
  Sebaly Shillito + Dyer               Robert Hanseman                  1900 Stratacache Tower          40 N. Main Street                Dayton         OH      45423-1013
  Sentek Dynamics, Inc.                James Zhuge                      2090 Duane Ave.                                                  Santa Clara    CA      95054
  The Bifferato Firm PA                Ian Connor Bifferato             1007 North Orange St., 4th                                       Wilmington     DE      19801
  Thompson Coburn Hahn & Hessen        Mark T. Power and Aleksandra
  LLP                                  Abramova                         488 Madison Avenue                                               New York       NY      10022
                                       Jonathan S. Hawkins and Austin   10050 Innovation Drive, Suite
  Thompson Hine LLP                    Landing I                        400                                                              Dayton         OH      45342-4934
  Whiteford Taylor & Preston, L.L.P.   David W. Gaffey                  3190 Fairview Park Drive,                                        Falls Church   VA      22042-4510
  Whiteford, Taylor & Preston LLC      Richard W. Riley                 600 North King Street, Suite                                     Wilmington     DE      19801




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            CreditorName                CreditorNoticeName                 Address1                     Address2           Address3         City            State       Zip       Country
  15Five, Inc.                                                    Dept LA 25012                                                       Pasadena         CA           91185-5012
  247Security Inc                                                 1455 Alderman Drive                                                 Alpharetta       GA           30005
  2577121 Ontario Inc.              Carlos Ramirez                Address Redacted
  2629376 Ontario Inc. (o/a
  Powerhaus Consulting)                                           503-11 Soho St                                                      Toronto          ON           MST 3L7      Canada
  3D Infotech                                                     7 Hubble                                                            Irvine           CA           92618
                                                                  235 Montgomery Street, Suite
  3Degrees Group, Inc.                                            320                                                                 San Francisco    CA           94104
  3DP Unlimited LLC                 3D Platform                   6402 Rockton Road                                                   Roscoe           IL           61073
  3R, Incorporated                  Jay Holcomb                   1 Arundel Road                                                      Greenville       SC           29615
                                    DBA Laboratory Design and     DBA Laboratory Design and 5018 Bristol Industrial
  424 Laboratories LLC              Supply                        Supply                       Way                    Suite 206       Buford           GA           30518
  4Imprint, Inc.                                                  101 Commerce Street                                                 Oshkosh          WI           54901
  4K Enterprises, LLC               Instant Imprints              8590 Pelham Road             Suite 11                               Greenville       SC           29615
  4X Engineering Inc.                                             4340 Stevens Creek Blvd.     Suite 240                              San Jose         CA           95129
                                                                  601 West 26th Street, Suite
  601 W Companies LLC                                             1275                                                                New York         NY           10001
  601 W Companies LLC                                             PO Box 310743                                                       Des Moines       IA           50331
  601 W Companies LLC, Brickell                                   601 West 26th Street, Suite
  13 Chicago LLC                                                  1275                                                                New York         NY           10001
  9321-8725 Quebec Inc.             Abdo Mazloum                  Address Redacted
  A & E Technologies                Tom Kilworth                  14252 W. 44th Avenue         Unit A                                 Golden           CO           80401
  A & W Lock & Key Service                                        PO Box 44510                 RPO 1st Avenue                         Vancouver        BC           V5L 4R8    Canada
  A and A Fleet Painting Inc        The Paint Department Inc      13565 12th Street                                                   Chino            CA           91710
  A Plus Avionics Corp              AvionTeq                      7240 Hayvenhurst Place       Van Nuys Airport                       Van Nuys         CA           91406
  A&A Brake Service Co., Inc.       Gerald Abatemarco             50 Roselle St                                                       Mineola          NY           11501-1907
  A&A Brake Service Co., Inc.       Nazneen Sultana               50 Roselle St                                                       Mineola          NY           11501-1907
  A. Schulman, Inc.                                               PO Box 932768                                                       Cleveland        OH           44193
  A-1 Base, Inc.                                                  4980 Niagara Street                                                 Commerce City    CO           80022
  A-1 Jays Machining, Inc.          James Machathil               2228 Oakland Rd                                                     San Jose         CA           95131
  A-1 Jays Machining, Inc.          Jason Rush                    2228 Oakland Rd                                                     San Jose         CA           95131
  A1 Welding                                                      PO Box 405                                                          Keenesburg       CO           80643
  A2MAC1 LLC                        Giovanna Dourado              8393 Rawsonville Road                                               Belleville       MI           48111
                                                                  303 Twin Dolphin Drive - Ste
  A2Q2 Corporation                                                600                                                                 Redwood City     CA           94065
  AAA Locksmiths & Alarm Co                                       1613 Wade Hampton Blvd                                              Greenville       SC           29609
  AAMU                                                            Department of Transportation 315 Patton Hall                        Normal           AL           35762
  Aaron Ling                                                      Address Redacted
  Aaron Rifkin                      Lamer Street Kreations Corp   Address Redacted
  AATIS, Inc.                                                     PMB 202                      3504 Highway 153                       Greenville       SC           29611
  AB Global Group LLC                                             101 Alexander Ave,                                                  Pompton Plains   NJ           07444
  Abaris Training Resources, Inc.                                 5401 Longley Lane            Suite 49                               Reno             NV           89511
  ABB E-Mobility Inc.                                             305 Gregson Drive                                                   Cary             NC           27511
  ABB Inc. (USA)                    Heather Biwer                 4050 E. Cotton Center Blvd.                                         Phoenix          AZ           85040
  ABB Inc. (USA)                    Heather Biwer                 PO Box 88868                                                        Chicago          IL           60695-1868
  ABB Inc. (USA)                    Pat Hayes                     4050 E. Cotton Center Blvd.                                         Phoenix          AZ           85040
  ABB Inc. (USA)                                                  305 Gregson Drive                                                   Cary             NC           27511



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            CreditorName               CreditorNoticeName                 Address1                   Address2       Address3         City           State       Zip       Country
  ABB Inc. (USA)                                                 950 W. Elliot Road                                            Tempe           AZ           85284
  ABB, Inc.                                                      800 Hymus                                                     St-Laurent      QC           H4S 0B5      Canada
  ABB, Inc.                                                      1021 Main Campus Drive                                        Raleigh         NC           27606
                                                                 9051 Siempre Viva Rd Suite
  ABC Aluminum Solutions                                         K2                                                            San Diego       CA           92154
  ABC Bus, Inc.                     Attn Barb Ennis              1506 30th Street NW                                           Faribault       MN           55021
  ABC Bus, Inc.                     CHUCK DOBLE                  17469 West Colonial Drive                                     Winter Garden   FL           34787
  ABC Bus, Inc.                     JOHN GILLIS                  17469 West Colonial Drive                                     Winter Garden   FL           34787
  ABC Bus, Inc.                     MECHELLE PECKHAM             17469 West Colonial Drive                                     Winter Garden   FL           34787
  ABC Bus, Inc.                                                  17469 West Colonial Drive                                     Winter Garden   FL           34787
  ABC Bus, Inc.                                                  PO Box 856703                                                 Minneapolis     MN           55485
  ABC Electrical Services LLC                                    5299 NE 15th Street                                           Des Moines      IA           50313
  ABC Fire Extinguisher Co., Inc.                                1025 Telegraph St                                             Reno            NV           89502
  ABC Fire Protection, Inc.                                      35325 Fircrest St, Ste D                                      Newark          CA           94560
  Abdalla, Ibrahem                                               Address Redacted
  Abera, Yosef                                                   Address Redacted
  ABF Freight System Inc.                                        3801 Old Greenwood Road                                       Fort Smith      AR           72917-0048
  Able Engravers, Inc.              Eric Cooper                  9521 North Kedvale Avenue                                     Skokie          IL           60076
  Able South Carolina                                            720 Gracern Rd               Suite 106                        Columbia        SC           29150
                                                                 3399 Peachtree Rd NE Ste
  ABM Avitation                                                  1500                                                          Atlanta         GA           30326
  ABM Electrical Power Services
  LLC                                                            14141 SW Freeway             Suite 400                        Sugar Land      TX           77478
  ABM Electrical Power Services
  LLC                                                            14201 Franklin Avenue                                         Tustin          CA           92780
  ABM Electrical Power Services
  LLC                                                            PO Box 419860                                                 Boston          MA           02241-9860
                                                                 197 Ridgeview Center Dr,
  Absolute Metrology LLC            DBA Carolina Metrology LLC   Suite E                                                       Duncan          SC           29334

  Absolute Metrology LLC            DBA Carolina Metrology LLC   567 Old Bethel Rd                                             Moore           SC           29369
  Abujohn, Joshua                                                Address Redacted
  Abukani, Masthan Ali Raja                                      Address Redacted
  ABX Engineering, Inc.                                          875 Stanton                                                   Burlingame      CA           94010
  AC Transit                                                     1600 Franklin St.                                             Oakland         CA           94612
  Academy Express LLC               Randy Imbrogno               111 Paterson Avenue                                           Hoboken         NJ           07030
  ACC Business                      AT&T Corp                    PO Box 5077                                                   Carol Stream    IL           60197-5077
                                                                                              22428 Elkhart East
  ACC Climate Control                                            PO Box 1905                  Blvd                             Elkhart         IN           46514
  Access Manufacturing Systems,
  Inc.                                                           10150 Mallard Creed Road     Suite 207                        Charlotte       NC           28262
  Access Uniforms, Inc.                                          1731 Adrian Rd.              #1                               Burlingame      CA           94010
  Accilator Technologies AB                                      Munkbron 11                                                   Stockholm                    111 28       Sweden

  ACCO Engineering Systems, Inc.                                 888 East Walnut Street                                        Pasadena        CA           91101
  Accountemps                                                    PO Box 743295                                                 Los Angeles     CA           90074-3295
  Accu-Mold, LLC                                                 7622 S. Sprinkle Road                                         Portage         MI           49002



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  Accurate Composites LLC             Accurate Plastics         DBA Accurate Plastics         7 Country Way                   Hopkinton       MA           01748
  Accurate Fabrication LLC                                      2050 Constitution Avenue                                      Hartford        WI           53027
                                                                12872 Valley View Street, Ste
  Ace High Casino Rentals             Mary Alice Hall           1                                                             Garden Grove    CA           92845
                                                                12872 Valley View Street, Ste
  Ace High Casino Rentals             Warren Lee                1                                                             Garden Grove    CA           92845
  Ace Vending Company                 John Roybal               1407 Foothill Blvd Suite 140                                  La Verne        CA           91750
  Ace Vending Company                 John Roybal               850 Dogwood Dr                                                La Verne        CA           91750
  ACF Components & Fasteners,
  Inc.                                Steve Murphy              2512 Tripaldi Way                                             Hayward         CA           94545-5033
  Achim G Daub                                                  Address Redacted
  ACI Gift Cards, LLC                                           410 Terry Ave N                                               Seattle          WA          98109
  ACME Gear Company, Inc.                                       23402 Reynolds Court                                          Clinton Township MI          48036
  Acosta Jr., Armando                                           Address Redacted
  Acree, Mark                                                   Address Redacted
  Acronics Systems, Inc.                                        2102 Commerce Dr                                              San Jose        CA           95131
  Act Test Panels LLC                                           273 Industrial Drive                                          Hillsdale       MI           49242
  Actalent                            Allegis Group Holdings    3689 Collection Center Drive                                  Chicago         IL           60693-0036
  Actalent                            Allegis Group Holdings    7301 Parkway Drive                                            Hanover         MD           21076
  ACTIA Corporation                   Gina Pratt                2809 Bridger Court                                            Elkhart         IN           46514
  ACTIA Corporation                                             2809 Bridger Court                                            Elkhart         IN           46514
  Action Fabricators Inc              Marie Frimodig            3760 East Paris Ave SE                                        Grand Rapids    MI           49512
  Action Fabricators Inc                                        3760 East Paris Ave SE                                        Grand Rapids    MI           49512
  Active Cyber LLC                                              16000 Dallas Parkway         STE 550                          Dallas          TX           75248
                                                                5001 Spring Valley Rd Ste
  Active Cyber LLC                                              400E                                                          Dallas          TX           75244-3947
  Acxess Spring                       Sarah Hughes              2225 East Cooley Drive                                        Colton          CA           92324
  Acxess Spring                                                 2225 East Cooley Drive                                        Colton          CA           92324
  Adam Howard                                                   Address Redacted

  Adam Klein                                                    Address on File
  Adams Jr., Robert                                             Address Redacted
  Adams, Edla                                                   Address Redacted
  Adams, Lucas                                                  Address Redacted
  Adaptive Insights LLC               Ali Pickering             2300 Geng Road, Suite 100                                     Palo Alto       CA           94303
  Adaptive Insights LLC               Jennie Costello           2300 Geng Road, Suite 100                                     Palo Alto       CA           94303
  Adaptive Insights LLC                                         2300 Geng Road, Suite 100                                     Palo Alto       CA           94303
  Adaptive Insights LLC                                         PO Box 399115                                                 San Francisco   CA           94139-9115
  Adco Products, Inc.                                           PO Box 74745                                                  Cleveland       OH           44194
  Addison Group                       CV Partners               7076 Solutions Center                                         Chicago         IL           60677
                                                                125 South Wacker Drive
  Addison Group DBA CVPartners        Jamie Garbis              Suite 2700                                                    Chicago         IL           60606
  Additive Manufacturing LLC                                    21088 Bake Parkway, #106                                      Lake Forest     CA           92630
  Adkins, Mason                                                 Address Redacted
  Adler & Colvin, a law corporation   Susan Williams            135 Main Street, 20th Floor                                   San Francisco   CA           94105

  Adnan A Mirza                                                 Address on File



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  Adobe                                                         345 Park Avenue                                                 San Jose        CA           95110-2704
  Adomaitis, Kenneth                                            Address Redacted
  Adomaitis, Kenneth                                            Address Redacted
  Adonai Enterprises, Inc         DBA Mathews Mechanical        7752 Enterprise Dr                                              Newark          CA           94560
  Adrian Araujo Romain                                          Address Redacted
  Advanced Air Products                                         2901 S. Tejon St.                                               Englewood       CO           80110
  Advanced Aluminum Structures    Landsport                     1220 Sturgis St.                                                Sturgis         SD           57785
  Advanced Automated Ergonomic                                                                                                  Rancho Santa
  Solitions Inc.                  A.A.E.S. Inc.                 18 Santa Sophia                                                 Margarita       CA           92688
  Advanced Circuits                                             21101 E. 32nd Parkway                                           Aurora          CO           80011
  Advanced Composites, LLC        Mark Anassis                  57 Patchogue Street                                             Patchogue       NY           11772
  Advanced Door Systems, Inc                                    118A Production Drive                                           Yorktown        VA           23693
  Advanced Electronic Services,
  Inc.                            DBA AES, Inc.                 101 Technology Lane                                             Mount Airy      NC           27030
  Advanced Electronic Services,
  Inc.                            DBA AES, Inc.                 DBA AES, Inc.            101 Technology Lane                    Mount Airy      NC           27030
  Advanced Electronic Services,                                 SHANNON (No Longer w/Co)
  Inc.                            DBA AES, Inc.                 SMITH                    101 Technology Lane                    Mount Airy      NC           27030
  Advanced Energy Economy Inc.                                  135 Main Street          Suite 1320                             San Francisco   CA           94105
  Advanced Environmental Options,
  Inc.                                                          25 Stan Perkins Rd                                              Spartanburg     SC           29307
  Advanced Laser & Waterjet
  Cutting, Inc.                   Rick Linthicum                48607 Warm Springs Blvd.                                        Fremont         CA           94539
  Advanced Mat Systems, Inc.      Genee LaMarsh                 3300, 205-5th Avenue SW                                         Calgary         AB           T2P 2V7      Canada
  Advanced Packaging Solutions &
  Products, Inc.                                                553 Trade Center Parkway        Suite 101                       Summerville     SC           29483
  Advanced Rigging & Machinery
  Movers, LLC                     Matthew Hinty                 2117 Three and Twenty Road                                      Easley          SC           29642
  Advanced Technology Innovation
  Corp.                                                         15 Kenneth A. Miner Drive                                       Wrentham        MA           02093
  Advanced Test Equipment
  Corporation                                                   10401 Roselle Street                                            San Diego       CA           92121
  Advanced Traffic Products, Inc. Bonnie Banks                  1122 Industry Street            Building A                      Everett         WA           98203
  Advanced Traffic Products, Inc. DEWEY GARNER                  1122 Industry Street            Building A                      Everett         WA           98203
  Advanced Traffic Products, Inc. SABRINA EARLY                 1122 Industry Street            Building A                      Everett         WA           98203
  Advanced Underground
  Specialists, Inc.               Len Newman                    PO Box 70                                                       Pickens         SC           29671
  Advanced Vehicle Technology
  Competitions                    Argonne National Laboratory   9700 S. Cass Avenue                                             Lemont          IL           60439
  Advanced Vehicle Technology
  Competitions Argonne National
  Laboratory                      Argonne National Laboratory   9700 S. Cass Avenue                                             Lemont          IL           60439
  Advanced Wheel Sales LLC        BROCK HENSEL                  28381 Network Place                                             Chicago         IL           60673
  Advanced Wheel Sales LLC        SAM DAWLEY                    28381 Network Place                                             Chicago         IL           60673
  Advanced Wheel Sales LLC        SANDRA MORRIS                 28381 Network Place                                             Chicago         IL           60673
                                                                400 West Wilson Bridge
  Advanced Wheel Sales, LLC       Kim Woodward                  Road Suite 300                                                  Worthington     OH           43085



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  Advanced Wheel Sales, LLC                               28381 Network Place                                            Chicago         IL           60673-1283
  Advantage GSA Consulting LLC                            6412 Brandon Ave               Lockbox 228                     Springfield     VA           22150
  Aerel Rankin                                            Address Redacted
  Aeronet Worldwide              DBA Aeronet Inc.         42 Corporate Park              Suite 100                       Irvine          CA           92606
  Aerotek, Inc.                                           7301 Parkway Dr.                                               Hanover         MD           21076
  Aerovironment Inc                                       181 W Huntington Dr.           Suite 202                       Monrovia        CA           91016
  AES Engineering Ltd.           Amir Tavakoli            950 - 505 Burrard Street                                       Vancouver       BC           V7X1M4     Canada
  AFCO                                                    Dept. 0809                     PO Box 120809                   Dallas          TX           75312-0809
  Afiat Milani, Alireza                                   Address Redacted
  AFL Telecommunications Inc     CAROL GARRETT            15331 Industrial Park Road                                     Bristol         VA           24202
  AFL Telecommunications Inc     DAVE CARTY               15331 Industrial Park Road                                     Bristol         VA           24202
  AFL Telecommunications Inc     MIKE OSBORNE             15331 Industrial Park Road                                     Bristol         VA           24202
  AFL Telecommunications Inc                              15331 Industrial Park Road                                     Bristol         VA           24202
                                                                                         401 Commerce St.,
  AFL Telecommunications, LLC    Erika R. Barnes, Esq.    Stites and Harbison, PLLC      Suite 800                       Nashville       TN           37122
  AFL Telecommunications, LLC    Rachelle Khan            170 Ridgeview Center Drive                                     Duncan          SC           29334
                                 DBA Above and Beyond
  AGA Restaurant Group, LLC      Catering                 2565 3rd Street                Suite 336                       San Francisco   CA           94107
  AGCO International GmbH                                 4205 River Green Parkway                                       Duluth          GA           30096
  AGM Container Control, Inc.    Chris Machado            3526 E. Ft. Lowell Rd.                                         Tucson          AZ           85716
  AGM Container Control, Inc.    jairo fernandez          3526 E. Ft. Lowell Rd.                                         Tucson          AZ           85716
  AGM Container Control, Inc.    Luana Cunningham         3526 E. Ft. Lowell Rd.                                         Tucson          AZ           85716
  AGM Container Control, Inc.                             3526 E. Ft. Lowell Rd.                                         Tucson          AZ           85716
  Aguilar, Alberto                                        Address Redacted
  Aguilar, John                                           Address Redacted
  Aguilar, Jonathan                                       Address Redacted
  Aguilar, Paul                                           Address Redacted
  Aguirre, Marcos                                         Address Redacted
  Aha! Labs Inc.                                          20 Gloria Circle                                               Menlo Park      CA           94025
                                 DBA Benjamin Franklin
  AHC Enterprises LLC            Plumbing                 3307 New Easley Highway                                        Greenville      SC           29611
  Ahern Rentals, Inc                                      1401 Mineral Ave                                               Las Vegas       NV           89106
  Ahern Rentals, Inc                                      PO Box 271390                                                  Las Vegas       NV           89127
  Ahir, Ami                                               Address Redacted
  Ahmad, Ghufran                                          Address Redacted
  AHMAD, GHUFRAN                                          Address Redacted
  Ahmed, Mohammad                                         Address Redacted
  AIAG                                                    4400 Town Center                                               Southfield      MI           48075
  Aiken, Dallas                                           Address Redacted
  Air Exchange Inc.                                       495 Edison Ct.                 Suite A                         Fairfield       CA           94534
  Air Power Inc                                           PO Box 5406                                                    High Point      NC           27262

  Air Purification                                        8121 Edenezer Church Road                                      Raleigh         NC           27612
  Air Solutions, LLC             BILLING Maggie Leon      37310 Cedar Blvd, Suite J                                      Newark          CA           94560
  Air Solutions, LLC                                      37310 Cedar Blvd, Suite J                                      Newark          CA           94560
  Air Specialists, Inc.                                   PO Box 4185                                                    Marietta        GA           30061
  Air Squared Inc                                         510 Burbank Street                                             Broomfield      CO           80020



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            CreditorName                CreditorNoticeName                Address1                         Address2               Address3                 City            State       Zip       Country
                                                                 2015 VAUGHN RD NW
  AIRGAS USA LLC                    KEITH FISHER                 SUITE 400                                                                          KENNESAW          GA           30144
  Airgas USA LLC                                                 6055 Rockside Woods Blvd                                                           Independence      OH           44131
  Airgas USA, LLC                   JOSHUA VICKERY               PO Box 532609                                                                      Atlanta           GA           30353
  Airgas USA, LLC                   JUSTIN BEASLEY               PO Box 532609                                                                      Atlanta           GA           30353
  AIRGAS USA, LLC                                                2020 TRAIN AVE                                                                     CLEVELAND         OH           44113-4205
  AJ Tucker                                                      Address Redacted
  Akash Naik                                                     Address Redacted
  Al Bobb                                                        Address Redacted
  Alabama A&M University                                         315 Patton Hall                                                                    Normal            AL           35762
  Alabama A&M University                                         315 Patton Hall                                                                    Normal            AL           35764
  Alabama A&M University                                         4900 Meridian Street North                                                         Normal            AL           35762
  Alabama A&M University                                         4900 Meridian Street               Patton Hall, Rm 315                             Normal            AL           35762
  Alabama Dept of Revenue                                        50 North Ripley St                                                                 Montgomery        AL           36104
                                                                 Business Privilege Tax
  Alabama Dept. of Revenue                                       Section                            P.O. Box 327320                                 Montgomery        AL           36132-7320
  Aladdins Sash & Glass                                          1414 W Winton Ave.                                                                 Hayward           CA           94545
  Alaniz, Paul                                                   Address Redacted
                                                                                            333 Willoughby
  Alaska Dept of Revenue            Treasury Division            Unclaimed Property Program Avenue 11th Floor               State Office Building   Juneau            AK           99801-1770
  Alaska Dept of Revenue                                         PO Box 110400                                                                      Juneau            AK           99811-0400
  Alaska Marine Lines Inc           Aloha Marine Lines           5615 W Marginal Way SW                                                             Seattle           WA           98106

  Albemarle County Public Schools                                401 McIntire Road                                                                  Charlottesville   VA           22902
  Albers Industrial Linings                                      2398 Old Zumbrofa St.                                                              Red Wing          MN           55066
  Alberto Suarez                                                 Address Redacted
  Alcayde, Aldemar                                               Address Redacted
  Alcini, Kristen                                                Address Redacted
                                                                                                                                                    Fernandina
  ALCO Covers                                                    222 S. 3rd Street                                                                  Beach             FL           32034
  Aldridge Electric, Inc.                                        844 E Roackland Road                                                               Libertyville      IL           60048
  Aldridge Electric, Inc.                                        844 E. Rockland Road                                                               Libertyville      IL           60048
  Alejandra Vaca                                                 Address Redacted

  Alek Balayan                      DBA AB Off The Grid Catering Address Redacted
  Alera Group Agency, LLC,                                       1455 Lincoln Parkway, Ste
  Champion Benefits                                              100                                                                                Atlanta           GA           30346
                                                                                                    1455 Lincoln Parkway,
  Alera Group, Inc.                                              Attention Neil Phillips            Ste 100                                         Atlanta           GA           30346
  Alessandra Mendes                 DBA Cleaning Glow            Address Redacted
  Alex John Puchala                                              Address Redacted
                                                                                                                                                                                                United
  Alexander Dennis                                               PO BOX 401                                                                         Skelmersdale                   WN8 9QB      Kingdom
                                                                                                                                                                                                United
  Alexander Dennis Limited                                       16 Charlotte Square                                                                Edinburg                       EH2 4DF      Kingdom
  Alexander John Zuniga                                          Address Redacted
  Alexander Spaulding                                            Address Redacted



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           CreditorName                 CreditorNoticeName                Address1                   Address2            Address3            City        State       Zip      Country
  Alexander, Li                                                 Address Redacted
                                                                1340 Braddock Place, Suite
  Alexandria City Public Schools                                620                                                                 Alexandria      VA           22314
  Alexandria Transit Company           Dash                     3000 Business Center Drive                                          Alexandria      VA           22314
  Alfa Laval Inc.                                               5400 International Trade Dr.                                        Richmond        VA           23231
  Alfa Laval Inc.                                               PO Box 200081                                                       Pittsburgh      PA           15251-0081
  Alfinito, Alessandra                                          Address Redacted
  Alfonso Guzman                                                Address Redacted
  AlHussein, Kassem                                             Address Redacted
  Ali Hassan Karwani                                            Address Redacted
  Ali Maiorano                                                  Address Redacted
  Ali, Shiraaz                                                  Address Redacted
  Aligned CAE LLC                                               4801 Eagle Springs Ct                                               Clarkston       MI           48348
  All Clean Hazardous Waste
  Removal, Inc.                                                  21 Great Oaks Blvd.                                                San Jose        CA           95119-1359
  All Electric Construction &
  Communication LLC                                              80 Farwell Street                                                  West Haven      CT           06516
  All Flex Flexible Circuits, LLC                                1705 Cannon Lane                                                   Northfield      MN           55057
  All Girls Transportation & Logistics
  Inc.                                 AGT Global Logistics      800 Roosevelt Road            Building C           Suite 300       Glen Ellyn      IL           60137
  All Girls Transportation &
  Logistics, Inc. dba AGT Global                                 800 Roosevelt Road, Suite
  Logistics                                                      300                                                                Glen Ellyn      IL           60137
  Allcable                                                       PO Box 21376                                                       Denver          CO           80221
  Allegis Corporation                  ANGIE FEARS               Lockbox 446047                P.O. Box 64765                       St. Paul        MN           55164
  Allegis Corporation                  BRAD NUSS                 Lockbox 446047                P.O. Box 64765                       St. Paul        MN           55164
  Allegis Corporation                  GEORGE CHAREST            Lockbox 446047                P.O. Box 64765                       St. Paul        MN           55164
  Allegis Corporation                                            Lockbox 446047                P.O. Box 64765                       St. Paul        MN           55164
                                       Aerotek/TEKSYSTEMS/Major,
  Allegis Group Holdings, Inc.         Lindsey & Africa Inc.     Aerotek, Inc.                 7301 Parkway Drive                   Hanover         MD           21076
                                       Aerotek/TEKSYSTEMS/Major,
  Allegis Group Holdings, Inc.         Lindsey & Africa Inc.     Teksystems, Inc.              7437 Race Road                       Hanover         MD           21076
  Allen Lund Co                                                  PO Box 51083                                                       Los Angeles     CA           90051
                                       DBA Adolph Consulting
  Allen Michael Adolph                 Service                   Address Redacted
  Allen, Derrick                                                 Address Redacted
  Allen, Elisha                                                  Address Redacted
  Allen, Jack                                                    Address Redacted
  Alliance Benefit Group of
  Michigan, Inc.                                                 30100 Telegraph Road          Suite 170                            Bingham Farms   MI           48025

  Alliance Cable and Wire Harness   Cole Matson                 500 S 550 W Building 4                                              Lindon          UT           84042
  Alliance For Transportation                                   1402 Third Avenue, Suite
  Electrification                   Philip Jones                1315                                                                Seattle         WA           98101
  Alliance Recruiters Inc.                                      820 Stanton Rd.                #4303                                Burlingame      CA           94010
  Alliance to Save Energy           Erin Mao                    1850 M St NW                   Suite 610                            Washington      DC           20036
  Alliance to Save Energy           Jeff Vogel                  1850 M St NW                   Suite 610                            Washington      DC           20036



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  Allied Caster & Equipment Co       Sally Saulsbery           3841 Corporation Circle                                             Charlotte        NC           28216
  Allied Crane, Inc                  Sandy Cariel              855 North Parkside Dr                                               Pittsburg        CA           94565
                                                                                                                                   Rancho
  Allied High Tech Products Inc.     KRISTINA PALOMO           2376 E. Pacifica Place                                              Dominguez        CA           90220
  Allied High Tech Products, Inc.                              16207 Carmenita Road                                                Cerritos         CA           90703
  Allied International Corp.         AP / CSR AP / CSR         7 Hill Street                                                       Bedford Hills    NY           10507
  Allied International Corp.         CAL ULMANN                7 Hill Street                                                       Bedford Hills    NY           10507
  Allied International Corp.         SHIRLEY MCCAIN            7 Hill Street                                                       Bedford Hills    NY           10507
  Allied International Corp.                                   7 Hill Street                                                       Bedford Hills    NY           10507
  Allied Storage Containers, Inc                               PO Box 12684                                                        Fresno           CA           93778
                                                               Eight Tower Bridge,
  Allied Universal a/k/a Universal                             161Washington Street, Suite
  Protection Services                                          600                                                                 Conshohocken     PA           19428
  Allied Wire & Cable, Inc           Griffin Brownback         101 Kestrel Drive                                                   Collegeville     PA           19426
  Allied Wire & Cable, Inc           Nicolas Capozzi           101 Kestrel Drive                                                   Collegeville     PA           19426
  Allied Wire & Cable, Inc           PAUL DOONER               101 Kestrel Drive                                                   Collegeville     PA           19426
  Allied Wire & Cable, Inc                                     101 Kestrel Drive                                                   Collegeville     PA           19426
  Allied World Specialty Insurance
  Company                                                      100 Pine Street, Suite 2100                                         San Francisco    CA           94111
  Allison Transmission, Inc          CAMERON WHITE             One Allison Way                                                     Indianapolis     IN           46222
  Allison Transmission, Inc                                    One Allison Way                                                     Indianapolis     IN           46222
  Allison, Richard                                             Address Redacted
  Allosense, Inc.                                              110 E Houston Street            7th Floor #207                      San Antonio      TX           78205
  Alloy Weldworks                                              2988 1ST Street                 Suite H                             La Verne         CA           91750
  Alltite, Inc.                                                1600 E Murdock                                                      Wichita          KS           67214
  Ally Invest Securities                                       Address Redacted
                                                                                                                                   Gyeongsangnam-                             South
  Almac Co. Ltd                                                148, Gongdan-ro                 Seongsan-gu          Changwon-si    do                                         Korea
  Almanza, Luis                                                Address Redacted
  Almendares, Rafael                                           Address Redacted
  Almon, Inc.                                                  W223 N797 Saratoga Dr                                               Waukesha         WI           53186
  Alpha Enterprise Corp.                                       23 Maxwell St                                                       Lodi             CA           95240
  Alpha Technology, Inc                                        PO Box 5408                                                         Anderson         SC           29623
  Alpine Awards, Inc.                                          2389 Lincoln Ave                                                    Hayward          CA           94545-1117
  Alpine Graphic Productions
  LImited                                                      34 Magnum Drive                                                     Schomberg        ON           L0G 1N0    Canada
  Alt Solutions, Inc.                                          PO Box 390889                                                       Mountain View    CA           94039
  ALT Solutions, Inc.                                          P.O. Box 390889                                                     Moutnain View    CA           94039
  Altair Product Design Inc                                    1820 East Big Beaver Rd.                                            Troy             MI           48083
  Altair Product Design Inc                                    270 Park Avenue                                                     Troy             MI           48083
  Altairnano                                                   PO Box 10630                                                        Reno             NV           89502
  Altec Air, LLC                     Karla Garvert             226A Commerce S                                                     Broomfield       CO           80020
  Altec Air, LLC                     PATTI QUARLES             226A Commerce S                                                     Broomfield       CO           80020
  Altec Air, LLC                                               226A Commerce S                                                     Broomfield       CO           80020
  Altec Air, LLC                                               PO Box 11407                    Drawer #1186                        Binghamton       AL           35246-1186
  Altek Systems, Inc.                                          PO Box 232                      7776 US Highway 50                  Lamar            CO           81052
  Alten Technology USA, Inc                                    7830 Thorndike Road                                                 GREENSBORO       NC           27409



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                                                                  4225 Executive Square, Suite
  Altium Inc.                                                     800                                                            La Jolla        CA           92037
  Altom, Tyler Colby                                              Address Redacted
  Altro Transfloor                  BARBARA SOGAMOSO              80 Industrial Way            Suite 1                           Willmington     MA           01887
  Altro Transfloor                  DANIEL MONTOYA                80 Industrial Way            Suite 1                           Willmington     MA           01887
  Altro Transfloor                                                80 Industrial Way            Suite 1                           Willmington     MA           01887
  Altro USA, Inc                                                  80 Industrial Way Suite #1                                     Wilmington      MA           01887
  AltWheels Connect US                                            74 Buckingham Street                                           Cambridge       MA           02138
  Alvarado Jr., Federico                                          Address Redacted
  Alvarez & Marsal Holdings, LLC                                  600 Madison Avenue           8th Floor                         New York        NY           10022
                                                                  Park House, 16-18 Finsbury
  Alvarez and Marsal Europe LLP                                   Circus                                                         London                       EC2M 7EB   England
  Alycia Petraglia                                                Address Redacted
  Amada Weld Tech Inc                                             1820 South Myrtle Avenue                                       Monrovia        CA           91046

  Amar Khatib                       C/O Justice Law Corporation   751 N Fair Oaks Ave, Ste 101                                   Pasadena        CA           91103
  Amarnath, Joshua                                                Address Redacted
                                    DBA River Drive
  Amatrimara Inc                    Manufacturing                 200 N. Service Rd. W.          Unit 1 Suite 484                Oakville        ON           L6M 2Y1    Canada
  Amazing Organizations, Inc.       Mastery Training Services     41214 Bridge Street                                            Novi            MI           48375
  Amazon Capital Services, Inc.                                   410 Terry Avenue North                                         Seattle         WA           98109
  Amazon Capital Services, Inc.                                   PO Box 035184                                                  Seattle         WA           98124
  Amazon Web Services                                             PO Box 84023                                                   Seattle         WA           98124-8423
  Amerex Corporation                Cheryl Hannum                 7595 Gadsden Hwy                                               Trussville      AL           35173
  Amerex Corporation                Derek Bryant                  7595 Gadsden Hwy                                               Trussville      AL           35173
  Amerex Corporation                James Knowles                 7595 Gadsden Hwy                                               Trussville      AL           35173
  Amerex Corporation                                              7595 Gadsden Hwy                                               Trussville      AL           35173
  Amerex Corporation                                              PO Box 81                                                      Trussville      AL           35173
  American Association of Airport
  Executives                                                      601 Madison Street                                             Alexandria      VA           22314

  American Benefit Insurance Corp                                 PO Box 1209                                                    Northampton     MA           01061
  American Cable & Rigging Supply,
  Inc                              Greg Baker                     34 Sterling Place                                              Mills River     NC           28759
  American Cable and Rigging
  Supply, Inc.                                                    34 Sterling Place                                              Mills River     NC           28759
  American Cable Company                                          1200 E Erie Avenue                                             Philadelphia    PA           19124
  American Cooling Technology,
  Inc.                             DAVE OBERDORFF                 715 Willow Springs Lane                                        York            PA           17406
  American Cooling Technology,
  Inc.                             DEBBIE KINARD                  715 Willow Springs Lane                                        York            PA           17406
  American Cooling Technology,
  Inc.                             DEREK MITCHELL                 715 Willow Springs Lane                                        York            PA           17406
  American Cooling Technology,
  Inc.                                                            715 Willow Springs Lane                                        York            PA           17406
  American Express Travel Related
  Services Company                                                PO Box 650448                                                  Dallas          TX           75265



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  American Fire Protection Inc       Mike Greer                   PO Box 4139                                                           Greenville       SC           29608
  American International Group, Inc. Risk Specialists Companies                                 One Montgomery
  (AIG)                              Insurance Agency, Inc.       d/b/a RSCIA in NH, UT & VT    Tower, 25th Floor      Justin Bailey    San Francisco    CA           94104-4505
  American Land Surveying                                         1390 Market St                Suite 303                               San Francisco    CA           94102
  American Lung Association                                       333 Hegenberger Road                                                  Oakland          CA           94621
  American Public Transportation
  Association                                                     1300 I Street, NW.            Suite 1200 East                         Washington       DC           20005
  American Rigging & Relocation
  Systems Inc                                                     1370 Vander Way                                                       San Jose         CA           95112
  American Seating Company           Betsy Howell                 801 Broadway Ave NW                                                   Grand Rapids     MI           49504
  American Seating Company           DOUG TUMMONS                 801 Broadway Ave NW                                                   Grand Rapids     MI           49504

  American Seating Company                                        401 American Seating Center                                           Grand Rapids     MI           49504
  American Seating Company                                        801 Broadway Ave NW                                                   Grand Rapids     MI           49504
  American Seating Company                                        9058 Paysphere Circle                                                 Chicago          IL           60674
  American Seating Company                                        PO BOX 772560                                                         Chicago          IL           60677-2560
  American Security of Greenville,
  LLC                                                             Dept #298                     PO Box 63446                            Charlotte        NC           28263-3446
  American Society for Training and
  Development, Inc.                 Jeana Chun                    1640 King Street                                                      Alexandria       VA           22314
  American Society for Training and
  Development, Inc.                 Ofreda Dino                   1640 King Street                                                      Alexandria       VA           22314
  American Society for Training and
  Development, Inc.                                               PO Box 743041                                                         Atlanta          GA           30374
  American Society of Engineering
  Education                                                       1818 North Street NW          Suite 600                               Washington       DC           20036
                                                                                                7490 Golden Triangle
  American Spirit Graphics          DBA Carlson Print Group       DBA Carlson Print Group       Drive                                   Eden Prairie     MN           55344

  American Tower Investments LLC CoreSite, L.P.                   1001 17th Street              Suite 500                               Denver           CO           80202

  American Tower Investments LLC CoreSite, L.P.                   3020 Coronado                                                         Santa Clara      CA           95054
  American Truck Boxes                                            41659 256th Street                                                    Mitchell         SD           57301
  American Utility Metals, LLC                                    PO Box 122302                                                         Dallas           TX           75312-2302
  American Wiping Cloth & Rag,
  Inc.                                                            68 Anderson Rd.                                                       Walterboro       SC           29488
  Americas Best Towing and
  Transport                                                       7426 Cherry Ave               No. 210                                 Fontana          CA           92336
  Americase, LLC                                                  6200 N I-35E                                                          Waxahachie       TX           75165

  Ameritran Service Corp            DBA Transit Resource Center 5840 Red Bug Lake Rd, #165                                              Winter Springs   FL           32708
  Ames, Jonathan                                                Address Redacted
  Ametek Technical & Industrial
  Products, Inc.                    MARY TIDWELL                  PO Box 782751                                                         Philadelphia     PA           19178-2751
  Ametek Technical & Industrial
  Products, Inc.                    SPRING LEMASTER               PO Box 782751                                                         Philadelphia     PA           19178-2751




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  Ametek Technical & Industrial
  Products, Inc.                    TERESA MELCHOR              PO Box 782751                                                      Philadelphia      PA           19178-2751
  Ametek Technical & Industrial
  Products, Inc.                                                PO Box 782751                                                      Philadelphia      PA           19178-2751
  AMEX - Purchasing, Cashdollar                                 PO Box 7078                                                        Charleston        WV           25356

  AMEX - Purchasing, Diana Pineda                               P.O. Box 7078                                                      Charleston        WV           25356

  AMEX - Purchasing, Gary Zieses                                P.O. Box 7078                                                      Charleston        WV           25356
  AMEX - Purchasing, Savalia                                    PO Box 7078                                                        Charleston        WV           25356
  AMEX World Trade Corporation                                  18765 SW 78 Ct.                                                    Miami             FL           33157
  Amin, Avni                                                    Address Redacted
  Ammermann, Taylor                                             Address Redacted
  Ammu, Suryanarayana                                           Address Redacted
  AMP                                                           PO Box 37979                                                       Charlotte         NC           28237-7979
  Amphenol Interconnect Products
  Corporation                       Anita Ballard               20 Valley Street                                                   Endicott          NY           13760
  Amphenol Interconnect Products
  Corporation                                                   20 Valley Street                                                   Endicott          NY           13760
  Amphenol Sincere GASF                                         #A WanAn Ind. Park             LanHe Town          Nansha Dist     Guangzhou                      511480       China
  Amphenol Technical Products
  International                                                 2110 Notre Dame Ave.                                               Winnipeg          MB           R3H OK1    Canada
  Amphenol Thermometrics, Inc.      CONTROLLER Andy Canter      967 Windfall Road                                                  St. Marys         PA           15857
  Amphenol Thermometrics, Inc.                                  28690 Network Place                                                Chicago           IL           60673-1286
  Amphenol Thermometrics, Inc.                                  967 Windfall Road                                                  St. Marys         PA           15857
  AMPLY Power                                                   335 E Middlefield Road                                             Mountain View     CA           95032
  AMPLY Power, Inc.                                             335 E Middlefield Road                                             Mountain View     CA           95032
  AMPS Traction, LLC                                            6444 S Old 3C Hwy                                                  Westerville       OH           43082
  Amramp Carolinas                                              7022 Copeland Court                                                Matthews          NC           28104
  Amwins Brokerage Insurance
  Services                          Michael Wood, Jeff Fisher   105 Fieldcrest Ave             Suite 200                           Edison            NJ           08837
  Anadolu Isuzu Corporation                                     Sekerpinar Mah                 Otomotiv Cd. No 2                   Cayirova          Kocaeli      41435        Turkey
  Ancelmo Ramos                                                 Address Redacted
  Ancelmo Ramos Vazquez                                         Address Redacted
  Anchorage Municipality (People
  Mover)                            Abul Hassan                 632 W. 6th Street, Suite 520                                       Anchorage         AK           99519-6650
  Andersen Tax Holdings LLC         Andersen Tax LLC            100 First Street, Suite 1600                                       San Francisco     CA           94105
                                                                3000 Two Logan Square,
  Andersen Tax Holdings LLC                                     18th & Arch Streets                                                Fort Lauderdale   FL           33312
  Anderson Audio Visual-Bay Area,
  Inc.                                                          604 Pardee Street                                                  Berkeley          CA           94710
  Anderson Fire & Safety          Bubba Todd                    3013 Standridge Rd                                                 Anderon           SC           29625
  Anderson, Benjamin                                            Address Redacted
  Anderson, Kevin                                               Address Redacted
  AndFel Corporation              Jennifer Cassidy              1225 Sieboldt Quarry Road                                          Springville       IN           47462
  AnDi Smashing LLC               Smash My Trash                7460 Reidville Road            Unit 263                            Reidville         SC           29375
  Andre J Gordon                                                Address Redacted



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  Andrea Messmer                                              Address Redacted
  Andreas Bluemle               Andreas                       Address Redacted
  Andres, Eulises                                             Address Redacted
  Andrew Cater                  DBA Boxi Design LLC           Andrew Cater                   P.O. Box 1778                   Julian          CA           92036
  Andrew Gatti                                                Address Redacted
  Andrew M. Weiss, PHD                                        222 Berkeley St                16th Floor                      Boston          MA           02116
  Andrew Merlin Maley           Merlin Maley                  Address Redacted
  Andrew Naughton                                             Address Redacted
  Andrew Salzwedel                                            Address Redacted
  Andrew Siongco                                              Address Redacted
  Andrew Worral                                               Address Redacted
  Andrews Jr., Harold                                         Address Redacted
  Andrews, Alex                                               Address Redacted
  Andrio, Pedro                                               Address Redacted
  Andris Bilmanis Jr                                          Address Redacted
  Anest Iwata Air Engineering                                 5325 Muhlhauser Rd.                                            Hamilton        OH           45011
  Angel Flores                  Orange County Linens          Address Redacted
  Angela Novoa                  Terramont Consulting, LLC     Address Redacted
  Angelica Vega                                               Address Redacted
  Angelo Christopher Rivera                                   Address Redacted
  Angelo Cosentino                                            Address Redacted
  AngelTrax                     Bill Beck                     119 S. Woodburn Dr                                             Dothan          AL           36305
  AngelTrax                     breslin                       119 S. Woodburn Dr                                             Dothan          AL           36305
  AngelTrax                     SALLY KLEIN                   119 S. Woodburn Dr                                             Dothan          AL           36305
  AngelTrax                                                   119 S. Woodburn Dr                                             Dothan          AL           36305
  Angon, Claudia                                              Address Redacted
  ANH TONG                                                    Address Redacted
  Anixter, Inc.                 AMY WILLIAMS                  4300 North Lake Court          Suite I                         Charlotte       NC           28216
  Anixter, Inc.                 CODY ROMONE                   4300 North Lake Court          Suite I                         Charlotte       NC           28216
  Anixter, Inc.                                               2301 Patriot Boulevard                                         Glenview        IL           60026
  Anixter, Inc.                                               4300 North Lake Court          Suite I                         Charlotte       NC           28216
  Anixter, Inc.                                               PO Box 3966                                                    Boston          MA           02241-3966

                                Charles Schwab Trust Bank
                                TEE, Hartree Partners LP EE
  Anna Castoro                  SBGS PL, FBO Anna Cas       Address Redacted
  Anna L. Honbo                                             Address Redacted
  Anna Law PC                                               219 Cureton St                                                   Greenvilel      SC           29605
  Anna Lee                      JaeHoon Ryu                 Address Redacted
  Anna Lee                                                  Address Redacted
  Annapareddy, Kalpana                                      Address Redacted
  Anspach, Lori                                             Address Redacted
  Antaira Technologies, LLC                                 780 Challenger Street                                            Brea            CA           92821

  Anthony Diaz                  C/O Justice Law Corporation   751 N Fair Oaks Ave, Ste 101                                   Pasadena        CA           91103
  Anthony Gomez                                               Address Redacted
  Anthony Lisankis                                            Address Redacted



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  Anthony Olivadoti                                            Address Redacted
  Anuraagavi Kannan, Vishaal
  Krishna                                                      Address Redacted
  Anuran Gnanamuttu                                            Address Redacted
  Anver Corporation                                            36 Parameter Rd.                                               Hudson         MA            01749
  Aon Consulting , Inc               DBA Radford Consulting    2570 North First Street                                        San Jose       CA            95131
  APD Incorporated                                             1525 S Grove Ave. Unit 10      Unit 10                         Ontario        CA            91761
  Apex Fasteners                                               15858 Business Center Dr                                       Irwindale      CA            91706
  Apex Tool                          Bryan Earll               10957 E State Road 7                                           Columbus       IN            47203

  Apex Tool                                                    15858 Business Center Drive                                    Irwindale      CA            91706
  APFS, LLC dba CV Partners
  Addison Group                                                125 S Wacker Drive                                             Chicago        IL            60606
  Apikol                                                       2940 Valmont Road                                              Boulder        CO            80301
  APIS North America, LLC                                      621 E. 5th St.                                                 Royal Oak      MI            48067
  APIS North America, LLC                                      938 N Washington Avenue                                        Royal Oak      MI            48067
  Aplus Link Inc                                               44168 S. Grimmer Blvd                                          Fremont        CA            94538
  Apollo Electric                    ANITA PULLEY              330 N. Basse Lane                                              Brea           CA            92621
  Apollo Video Technology            Ashley Wright             24000 35th Avenue SE                                           Bothell        WA            98021
  Apollo Video Technology            JENNIFER KING             24000 35th Avenue SE                                           Bothell        WA            98021
  Apollo Video Technology            KARISSA CRUZ              24000 35th Avenue SE                                           Bothell        WA            98021
  Apollo Video Technology                                      24000 35th Avenue SE                                           Bothell        WA            98021
  Appaiah, Prathika                                            Address Redacted
  AppalCART                                                    305 NC HWY 105 Bypass                                          Boone          NC            28607
                                                                                                                              Greenwood
  Applied Computer Services Inc.                               5445 DTC Parkway/P4                                            Village        CO            80111
  Applied Environmental                                        1210 N Maple Road                                              Ann Arbor      MI            48103
  Applied Industrial Technologies,
  Inc.                               Claire Smrekar            1 Applied Plaza                                                Cleveland      OH            44115
  Applied Research Center, Inc.                                301 Gateway Drive                                              Aiken          SC            29803
  Applied Sensor, Inc.                                         53 Mountain Blvd                                               Warren         NJ            07059
  Applied Technical Services         J COOK                    1049 Triad Court                                               Marietta       GA            30062
  Applied Technical Services         J TITANO                  1049 Triad Court                                               Marietta       GA            30062
  Applied Technical Services         K SOLESBEE                1049 Triad Court                                               Marietta       GA            30062
  Applied Technical Services                                   1049 Triad Court                                               Marietta       GA            30062
  Applus IDIADA KARCO
  Engineering, LLC                                             9270 Holly Road                                                Adelanto        CA           92301
  Applus Reliable Analysis Inc                                 32201 North Avis Drive                                         Madison Heights MI           48071
  aPriori Technologies, Inc.                                   300 Baker Ave                                                  Concord         MA           01742
                                     c/o National Trade
  APTA                               Productions               313 S. Patrick Street                                          Alexandria     VA            22314
  APTA                               Heather Rachels           1300 I (Eye) Street, NW.       Suite 1200 East                 Washington     DC            20005
                                     Nebraska Association of
                                     Tranportation Providers
  APTA                               Jennifer Eurek            1300 I (Eye) Street, NW.       Suite 1200 East                 Washington     DC            20005
  APTA                                                         1300 I (Eye) Street, NW.       Suite 1200 East                 Washington     DC            20005
  APTA                                                         313 S. Patrick Street                                          Alexandria     VA            22314



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  APTA                                                       400 E. Court Ave, Suite 126                                     Des Moines        IA           50309
  APTA                                                       PO Box 716502                                                   Philadelphia      PA           19171-6502
  Aqua Security Software, Inc.                               800 District Avenue             Suite 510                       Burlington        MA           01803
                                 C & C Pressure Washing
  AR Enterprises LLP             Services                    429 Laurel Tree Lane                                            Simpsonville      SC           29681
  Arabe, Arturo                                              Address Redacted
  Arachie, Kamnsi                                            Address Redacted
  Araikar, Chinmay                                           Address Redacted
  Aranda Tooling, Inc.           Amparo Batiste              13950 Yorba Ave.                                                Chino             CA           91710
  Aranda Tooling, Inc.           Clayton Howard              13950 Yorba Ave.                                                Chino             CA           91710
  Aranda Tooling, Inc.           David Gutierrez             13950 Yorba Ave.                                                Chino             CA           91710
  Aranda Tooling, Inc.                                       13950 Yorba Ave.                                                Chino             CA           91710
  Aranda, Angela                                             Address Redacted
                                 San Patricio Automotive
  Aransas Autoplex               Group                       2352 W. Wheeler Avenue                                          Aransas Pass      TX           78336
  Arbin Corporation                                          762 Peach Tree Cutoff Road                                      College Station   TX           77845
  Arbon Equipment Corp.                                      8900 N Arbon Dr.                                                Milwaukee         WI           53223
  Arbouet, Diana                                             Address Redacted
  Arburg, Inc.                                               644 West Street                                                 Rocky Hill        CT           06067
                                                             222 E Huntington Dr, Suite
  ARC Engineering                GNB Engineering, Inc.       235                                                             Monrovia          CA           91016
  ARC Tec Inc                                                1731 Technology Drive      Suite 750                            San Jose          CA           95110
  Arcadis U.S. Inc.              David Sliwa                 630 Plaza Drive, Suite100                                       Highlands Ranch   CO           80129
  Arcadis U.S. Inc.              Ellen Hooper                630 Plaza Drive, Suite100                                       Highlands Ranch   CO           80129
  Arcady Sosinov                                             Address Redacted
  ArcAscent Inc.                                             118 Waverley Road                                               Toronto           ON           M4L 3T3    Canada
  ARCBEST II, Inc.               DBA ARCBEST                 PO Box 10048                                                    Fort Smith        AR           72917-0048
                                 Francine Petrosino, Legal
  Arch Insurance Company         Assistant                   210 Hudson Street, Suite 300                                    Jersey City       NJ           07311-1107
                                                             Harborside 3, 210 Hudson
  Arch Insurance Company                                     Street                       Suite 300                          Jersey City       NJ           07311
  Archer Norris                                              Address Redacted
  Archer, Miles                                              Address Redacted
  ArcherPoint, Inc.                                          1735 North Brown Road        Suite 425                          Lawrenceville     GA           30244
  Architectural Nexus, Inc.                                  2505 Parleys Way                                                Salt Lake City    UT           84109
  ArcLight CTC Holdings LP                                   200 Clarendon St             55th Floor                         Boston            MA           02116
  ARCpoint Labs of Greenville                                355 Woodruff Rd.             Suite 403                          Greenville        SC           29607
  Arctic Traveler Canada Ltd                                 1416 Grahams Lane                                               Burlington        ON           L7S 1W3      Canada
  Arcway LLC                                                 355 S Main St                                                   Greenville        SC           29601
  Ard, Amy                                                   Address Redacted
  Ardashes Hovsepian                                         Address Redacted
  Aremco Products, Inc.                                      707-B Executive Blvd         PO Box 517                         Valley Cottage    NY           10989
  Arena Solutions, Inc.                                      989 E Hillsdale Blvd         Suite 250                          Foster City       CA           94404
                                                             121 Seaport Boulevard, 13th
  Arena, a PTC Business                                      Floor                                                           Boston            MA           02210
  Arete Partners, Inc.                                       343 Sansome St.              Suite 1510                         San Francisco     CA           94104
  Argonne National Laboratory                                9700 S. Cass Avenue                                             Lemont            IL           60439



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  Argyle (DBA Labrador Company                                   530 Means Street, Suite 410                                     Atlanta       GA           30318
  Arielle Olache-Anderson                                        Address Redacted
                                    c/o Tax, Bankruptcy and      Office of the Arizona Attorney 2005 N Central Ave,
  Arizona Department of Revenue     Collection Sct               General                        Suite 100                        Phoenix       AZ           85004
  Arizona Department of Revenue     Lorraine Averitt             1600 W. Monroe 7th Floor                                        Phoenix       AZ           85007
  Arizona Department of Revenue                                  PO Box 29085                                                    Phoenix       AZ           85038
                                                                 1600 W Monroe Division
  Arizona Dept of Revenue           Unclaimed Property Unit      Code 10                                                         Phoenix       AZ           85007-2650
  Arizona Dept of Revenue                                        1600 West Monroe St                                             Phoenix       AZ           85007
                                                                 3104 E. Camelback Road
  Arizona Transit Association       Becky Miller                 #932                                                            Phoenix       AZ           85016
  Arkansas Department of Finance
  and Administration                Revenue Legal Counsel        PO Box 3493                                                     Little Rock   AR           72203
  Arkansas Department of Finance
  and Administration                Revenue Legal Counsel        PO Box 1272 RM 2380                                             Little Rock   AR           72023
  Arkansas Dept of Finance &
  Administration                    Administrative Services      1515 W 7th St, Ste 700                                          Little Rock   AR           72201
  Arkansas Dept of Finance &                                                                    1816 W 7th St, Room
  Administration                    Attn Revenue Legal Counsel   Ledbetter Building             2380                             Little Rock   AR           72201
  Arkansas Dept of Finance &
  Administration                    RLC Mailing Address          PO Box 1272                                                     Little Rock   AR           72203-1272
  Arkansas Dept of Finance &
  Administration                                                 1509 West 7th St                                                Little Rock   AR           72201
  Arkansas Dept of Finance and
  Administration                                                 PO Box 1272                                                     Little Rock   AR           72203-1272
  Arkansas Unclaimed Property                                    1401 West Capitol Avenue
  Division                                                       Suite 325                                                       Little Rock   AR           72201
  ARLINGTON COUNTY PUBLIC
  SCHOOLS                                                        2701 South Taylor Street                                        Arlington     VA           22206
  Arlington County Public Schools                                Business Office                PO Box 167                       Arlington     MA           02476-0002
  Arlington County Public Schools                                PO Box 167                                                      Arlington     MA           02476
  Armanino LLP                      Lucie Wuescher               12657 Alcosta Blvd             Suite 500                        San Ramon     CA           94583
                                                                 2700 Camino Ramon Suite
  Armanino LLP                                                   350                                                             San Ramon     CA           94583

  Armstrong Race Engineering, Inc                                PO Box 859                                                      Penryn        CA           95663-0859
  Arnett, Roxanne                                                Address Redacted

  Arnold & Porter Kaye Scholer LLP                               601 Massachusetts Ave, NW                                       Washington    DC           20001
  Arnold Chun                                                    Address Redacted
  Arnold, Michael                                                Address Redacted
  AROW Global Corp                 Aftermarket Aftermarket       924 North Parkview Circle                                       Mosinee       WI           54455
  AROW Global Corp                 Amber Stieber                 924 North Parkview Circle                                       Mosinee       WI           54455
  AROW Global Corp                 Attn Director or Officer      924 North Park View Circle                                      Mosinee       WI           54455
  AROW Global Corp                                               924 North Parkview Circle                                       Mosinee       WI           54455




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                                                              Smith Gambrell and Russell, 1105 W. Peachtree St.
  Arow Global Corp.                 Brian P. Hall, Esq.       LLP                         NE Suite 1000                         Atlanta         GA           30309
  Arow Global Corp.                 Timothy Michael Winters   924 N. Park View Circle                                           Mosinee         WI           54455
  Arriola, Mayette                                            Address Redacted
                                                              Beaumont House, Avonmore
  Arrival UK LTD                                              Road                                                              London                       W14 8TS      England
  Arrow Electronics, Inc.           Greg Clarke               9201 E Dry Creek Road                                             Centennial      CO           80112
                                                              9151 E Panorama Circle
  Arrow Electronics, Inc.           Martha Harvey             Floor 2                                                           Centennial      CO           80112
  ArrowHawk Industries              LARRY PARRISH             325 Byars Road                                                    Laurens         SC           29360
  ArrowHawk Industries                                        325 Byars Road                                                    Laurens         SC           29360
  ArroyoVargas, Victor Emmanuel                               Address Redacted
  Arrua Martinez, Silvia Carolina                             Address Redacted
  Arslanturk, Emrah                                           Address Redacted
  Arthur Siasios                                              Address Redacted
  Arthur, Austin                                              Address Redacted

  Arup US Inc                                                 560 Mission Street Suite 700                                      San Francisco   CA           94105
  Arvin Transportation                                        165 Plumtree Drive                                                Arvin           CA           93203
  Arvizu, Alan                                                Address Redacted
                                                              1850 Gateway Drive Suite
  Aryaka Networks, Inc.             Attention Legal           500                                                               San Mateo       CA           94404
  Aryaka Networks, Inc.             Emily James               1850 Gateway Drive             Suite 500                          San Mateo       CA           94404
  Aryaka Networks, Inc.             Tobias Hammon             1850 Gateway Drive             Suite 500                          San Mateo       CA           94404
  Aryaka Networks, Inc.                                       1800 Gateway Dr.               Suite 200                          San Mateo       CA           94404
  Aryaka Networks, Inc.                                       1850 Gateway Drive             Suite 500                          San Mateo       CA           94404
  Arzate, Erik                                                Address Redacted
                                                                                             370 West Dussel Drive
  AS Raymond                        Barnes Group              d/b/a Associated Spring Rao    Suite A                            Maumee          OH           43537
  AS Raymond                        Barnes Group              Dept CH 14115                                                     Palatine        IL           60055-4115
  ASA Electronics                                             2602 Marina Drive                                                 Elkhart         IN           46514
  ASAM e.V.                                                   Altlaufstr. 40                                                    Hohenkirchen                 85635      Germany
  Asana, Inc.                                                 1550 Bryant Street             Suite 800                          San Francisco   CA           94103

  Asana, Inc.                                                 633 Folsom Street, Suite 100                                      San Francisco   CA           94107
  ASC American Sun Components                                 7880 N University Drive Suite
  Inc                                                         100                                                               Tamarac         FL           33321
  AscendPBM                         Alice Henderson           6480 Technology Ave Ste A                                         Kalamazoo       MI           49009
  AscendPBM, LLC                                              6480 Technology Ave           Suite A-103                         Kalamazoo       MI           49009
  ASCENTIA ENGINEERING
  SERVICES, INC.                    MARIE MUSEE               PO Box 2955                                                       Crestline       CA           92325
  Ascentis                                                    11040 Main Street              Suite 101                          Bellevue        WA           98004
  Ashe, Joshua                                                Address Redacted
                                                              62190 Collections Center
  Ashland                                                     Drive                                                             Chicago         IL           60693-0621
  Ashley I, Jacob                                             Address Redacted
  Ashley M Edwards                                            Address Redacted



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  Ashton Green                                                Address Redacted
  Ashworth, Taylor                                            Address Redacted
                                                                                                                  Central World Trade
  Asian Metal Corp                                            6 Jianguomenwai Avenue         Suite 16b, Tower C   Center                Beijing                       100022       China
  Asif Habeebullah                                            Address Redacted

  Askew Industrial Corporation                                13071 Arctic Circle                                                       Santa Fe Springs CA           90670
  Askew, Francis                                              Address Redacted
  ASPEQ Heating Group LLC            DBA INDEECO              425 Hanley Industrial Court                                               St Louis         MO           63144
  ASPEQ Heating Group LLC            DBA INDEECO              INDEECO                        PO Box 638472                              Cincinnati       OH           45263
  Asset Panda LLC                                             3001 Dallas Parkway            Suite 590                                  Frisco           TX           75034
  AssetWorks LLC                                              998 Old Eagle School Road      Suite 1215                                 Wayne            PA           19087
  AssetWorks LLC                                              PO Box 202525                                                             Dallas           TX           75320-2525
  Associated Environmental
  Systems                            Thaddeus Gertsen         8 Post Office Square                                                      Acton            MA           01720
  Associated Packaging, Inc.                                  PO Box 306068                                                             Nashville        TN           37230-6068
  Associated Research, Inc.                                   13860 West Laurel Drive                                                   Lake Forest      IL           60045
  Associated Students of the
  University of Montana                                       University Center, Suite 104                                              Missoula         MT           59812-0072
  Association for the Advancement
  of Sustainability in Higher
  Education                                                   2401 Walnut Street             Suite 102                                  Philadelphia     PA           19103
  Association for the Advancement
  of Sustainability in Higher
  Education                                                   PO Box 824583                                                             Philadelphia     PA           19182-4583

  Association of Corporate Counsel                            1001 G Street NW               Suite 300W                                 Washington       DC           20001

  Association of Corporate Counsel                            PO Box 824272               Attn Finance                                  Philadelphia     PA           19182-4272
  Assured Testing Services         Brian Smith                388 Servidea Dr                                                           Ridgway          PA           15853
  Astavelopment Corporation Inc.   Lior Asta                  Address Redacted
  Astrodyne Corporation                                       36 Newburgh Road                                                          Hackettstown     NJ           07840
  Astute Electronics Inc.                                     500 Center Ridge Drive      Suite 600                                     Austin           TX           78753
                                                              4331 Communications Dr, Flr
  AT&T                               c/o Bankruptcy           4W                                                                        Dallas           TX           75211
  AT&T                                                        One AT&T Way                                                              Bedminster       NJ           07921-0752
  AT&T                                                        PO Box 105262                                                             Atlanta          GA           30348
  AT&T (Box 5019)                                             PO Box 5019                                                               Carol Stream     IL           60197
  AT&T (Box 5025)                                             PO Box 5025                                                               Carol Stream     IL           60197
  AT&T (Box 5080)                                             PO Box 5080                                                               Carol Stream     IL           60197-5080
                                                              23500 Northwestern Hwy,
  AT&T Corp.                                                  Bldg. W                                                                   Southfield       MI           48336
  AT&T Corp.                                                  One AT&T Way                                                              Bedminster       NJ           07921-0752
  AT&T Corp.                                                  PO Box 5019                                                               Carol Stream     IL           60197
  AT&T Corp.                                                  PO Box 5080                                                               Carol Stream     IL           60197-5080
  AT&T Corp.                                                  PO Box 5085                                                               Carol Stream     IL           60197




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                                                                    4331 Communications Dr, Flr
  AT&T Corp. and its affiliates       c/o Bankruptcy                4W                                                             Dallas            TX           75211
  AT&T Mobility                                                     1025 Lenox Park Blvd NE                                        Atlanta           GA           30319-5309
  AT&T Mobility                                                     PO Box 6463                                                    Carol Stream      IL           60197
  AT&T Mobility-CC                                                  PO Box 5085                                                    Carol Stream      IL           60197
  AT&T-IOT                            At&T Mobility-CC              PO Box 5085                                                    Carol Stream      IL           60197
  Atchison Transportation Services,
  Inc.                                                              120 Interstate Park                                            Spartanburg       SC           29301
  A-Tech Controls & Service LLC                                     147 Blue Ridge Lane                                            Mount Airy        NC           27030
  ATF Inc.                                                          3550 West Pratt Avenue                                         Lincolnwood       IL           60712
  Athan Goldshmidt                                                  Address Redacted
  Atlantic Specialty Insurance
  Company                             James OHalloran               230 W Monroe St                Suite 2810                      Chicago           IL           60606
  Atlantic Specialty Insurance
  Company                                                           1201 Third Avenue, Ste 3850                                    Seattle           WA           98101
  Atlantic Specialty Insurance                                      605 Highway 169 North, Suite
  Company                                                           800                                                            Plymouth          MN           55441
  Atlas Copco Tools & Assembly
  Systems, LLC                                                      3301 Cross Creek Parkway                                       Auburn Hills      MI           48326
  Atlas Organics, Inc.                Bianca Parris                 PO Box 5065                    Bianca Parris                   Spartanburg       SC           29304
  Atlas Organics, Inc.                JUNK MATTERS                  501 Southport Rd.                                              Roebuck           SC           29376
  Atlas Public Policy                                               515 Q Street NW                Unit 2                          Washington        DC           20001
  Atlas/ Pellizzari Electric, Inc.                                  450 Howland Street                                             Redwood City      CA           94063
                                      Atlas RFID Solutions Store,
  atlasRFIDstore.com                  LLC                           1500 1st Avenue North          Unit 10                         Birmingham        AL           35203
                                      Atlas RFID Solutions Store,
  atlasRFIDstore.com                  LLC                           2014 Morris Ave                                                Birmingham        AL           35203
  ATM Detailing Services Inc          Nikole Maddox                 14926 Valley Blvd                                              Fontana           CA           92335
  AtomBeam Technologies Inc                                         1036 Country Club Drive        Suite 200                       Moraga            CA           94556

  ATS Applied Tech Systems, LLC                                     1055 South Blvd E.             Suite 120                       Rochester Hills   MI           48307
  Atta, Mina                                                        Address Redacted
  Attila Mari                         dba Mill-Tek, LLC             Address Redacted
  Attorney General of the State of    Ohio Attorney General Dave
  Ohio                                Yost                          30 E. Broad St., 14th Floor                                    Columbus          OH           43215
  AU Energiateenus Ldt                                              Address Redacted
  Aubin Industries, Inc.                                            23833 S. Chrisman Rd                                           Tracy             CA           95304
  Auburn Tool & Machine Co. Inc.                                    15865 West 5th Avenue                                          Golden            CO           80401
  Augusta County Public Schools                                     18 Government Center Lane                                      Verona            VA           24482
  Augustine, Aaron                                                  Address Redacted
  Aulakh, Savitoj                                                   Address Redacted
  Aurora A. Putulin                                                 Address Redacted
  Aurora North America LLC                                          4311 Patterson Ave SE                                          Grand Rapids      MI           49512
  Aurora North America LLC                                          PO Box 161                     6757 Cascade Road               Grand Rapids      MI           49546
  Aurora Public Schools                                             90 Airport Blvd                                                Aurora            CO           80011
  Ausmus, Donald                                                    Address Redacted
  Austin Hardware & Supply, Inc       Joe Verdini                   Dept CH 19373                                                  Palatine          IL           60055



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            CreditorName                  CreditorNoticeName            Address1                    Address2       Address3          City          State        Zip       Country
  Austin Hardware & Supply, Inc       JULIE WILLARD            Dept CH 19373                                                  Palatine          IL          60055
  Austin Hardware & Supply, Inc       Melissa Landon           Dept CH 19373                                                  Palatine          IL          60055
  Austin Hardware & Supply, Inc                                Dept CH 19373                                                  Palatine          IL          60055
  Austin Hardware and Supply Inc      CFO                      PO Box 887                                                     Lees Summit,      MO          64063
  Austin Nikkel                       5visual                  Address Redacted
  Auto Motion Shade Inc.              c/o John Woodbine        P.O. Box 42010                2851 John Street                 Markham           ON          L3R OP9      Canada
  Auto Motion Shade Inc.              Cindy-Lou Jardine        125 Nashdene Road             Unit 1                           Toronto           ON          M1V 2W3      Canada
  Auto Motion Shade Inc.              DWIGHT QUINLAN           125 Nashdene Road             Unit 1                           Toronto           ON          M1V 2W3      Canada
  Auto Motion Shade Inc.              EWA ZAJACH               125 Nashdene Road             Unit 1                           Toronto           ON          M1V 2W3      Canada
  Auto Motion Shade Inc.                                       125 Nashdene Road             Unit 1                           Toronto           ON          M1V 2W3      Canada

  Auto Motive Power, Inc.                                      11643 Telegraph Rd                                             Santa Fe Springs CA           90670
  Autoliv ASP, Inc.                                            1320 Pacific Drive                                             Auburn Hills     MI           48326
  Autoliv NCS Pyrotechnie et
  Technologies                                                 Rue de la Cartoucherie                                         Survillier                    95470        France
  Automatak                                                    55 SW Wall St #15                                              Bend              OR          97702
  Automation Direct                   JOY WILLIAMS             3505 Hutchinson Road                                           Cumming           GA          30040
  Automation Direct                                            3505 Hutchinson Road                                           Cumming           GA          30040
  AutomationSolutions, Inc.           DBA iAutomation          DBA iAutomation               10 Larsen Way                    North Attleboro   MA          02763
  Automotive Dynamics Corp                                     20203 Windemere Drive                                          Macomb            MI          48043
  Automotive Enviro Testing Inc.                               PO Box 458                                                     Baudette          MN          56623
  Automotive Media LLC                iMBranded                iMBranded                     2791 Research Drive              Rochester Hills   MI          48309
  Autotech Technologies Limited
  Partnership                         DBA EZAutomation         4140 Utica Ridge Road                                          Bettendorf        IA          52722
  Autotech Technologies Limited
  Partnership                         DBA EZAutomation         PO Box 74853                                                   Chicago           IL          60694-4853
  Avail Recovery Solutions, LLC                                120 E Corporate Pl            Suite 2                          Chandler          AZ          85225
  AVAIL Technologies, Inc.            MATT SANDBAKKEN          1960 Old Gatesburg Road       Suite 200                        State College     PA          16803
  AVAIL Technologies, Inc.            Robert Manaseri          1960 Old Gatesburg Road       Suite 200                        State College     PA          16803
  AVAIL Technologies, Inc.            Tami Dotson              1960 Old Gatesburg Road       Suite 200                        State College     PA          16803
  AVAIL Technologies, Inc.                                     1960 Old Gatesburg Road       Suite 200                        State College     PA          16803
  Avalon Staffing, LLC                IT Avalon                1811 N Tatum Blvd             Ste 2650                         Phoenix           AZ          85028
  Avalon Staffing, LLC                IT Avalon                550 Harvest Park Dr           Suite B                          Brentwood         CA          94513
  Avant Communications                                         2 N. Riverside Plaza          Suite 2450                       Chicago           IL          60606
  Avanti Storage Systems Inc          Bill Virnig              14531 Griffith Street                                          San Leandra       CA          94577
  AVC Corporation                                              4487 Ish Dr.                                                   Simi Valley       CA          93063
  Avents Empty Band                                            1677 Redwing Ave                                               Sunnyvale         CA          94087
                                                                                                                                                                         United
  Aviation Media Ltd                                           PO Box 448                    13 Moatside                      Feltham           Middlesex   TW13 9EA     Kingdom
  Avila, Vincent                                               Address Redacted
  Avina, Gabriel                                               Address Redacted
  Avina, Gustavo                                               Address Redacted
  Avitia, Ruben                                                Address Redacted
  AVL- California Technical Center,
  Inc.                                                         47603 Halyard Drive                                            Plymouth          MI          48170
  AVL Phillip Schnell                                          25111 Arctic Ocean Drive                                       Lake Forest       CA          92630
  Avnet, Inc                                                   2211 S. 47th Street                                            Phoenix           AZ          85034



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            CreditorName                 CreditorNoticeName              Address1                     Address2      Address3          City             State       Zip      Country
                                                                2440 W Corporate Preserve
  AW Company                         dba AW-Lake Company        Dr #600                                                        Oak Creek          WI           53154
  AW Direct                                                     PO Box 74771                                                   Chicago            IL           60694-4771
  AW Site Services LLC               DBA Arwood Waste           16150 N Main Street                                            Jacksonville       FL           32218
  Awesome Diecast LLC                                           141 NW 20th St., Suite H-6                                     Boca Raton         FL           33431
  Awonusi, Omolola                                              Address Redacted
                                                                100 Constitution Plaza, 17th
  AXA XL Professional Insurance      Daniel Brennan             Floor                                                          Hartford           CT           06103
  Axim Mica                                                     32 Gazza Blvd                                                  Farmingdale        NY           11735
  Axispoint Technology Solutions
  Group, Inc.                                                   1 Penn Plaza, Suite 3308                                       New York           NY           10119
  Axispoint Technology Solutions
  Group, Inc.                                                   507 North State Road                                           Briarcliff Manor   NY           10510
  Axispoint Technology Solutions
  Group, Inc.                                                   Lockbox 10447                  PO box 70280                    Philadelphia       PA           19176
  AxleTech International, LLC        ANNE-MARIE PAYNE           1400 Rochester Hwy                                             Troy               MI           48083
  AxleTech International, LLC        CAMERON WHITE              1400 Rochester Hwy                                             Troy               MI           48083
  AxleTech International, LLC        JASON GIES                 1400 Rochester Hwy                                             Troy               MI           48083
  AxleTech International, LLC                                   1400 Rochester Road                                            Troy               MI           48083
  AxleTech International, LLC                                   PO Box 855992                                                  Minneapolis        MN           55485-5992
  Axon Design, Inc.                  DBA Nterra Group           1155 North First Street                                        San Jose           CA           95112

  Axonius, Inc.                      Attn Director or Officer   330 Madison Ave., 39th Floor                                   New York           NY           10017
  Ayers, William                                                Address Redacted
  Ayres Muffler Brake & Alignment
  Center                             Chris Padgett              1739 Shaber Ave                                                Sharks             NV           89431
  B&H Foto & Electronics Corp                                   420 Ninth Avenue                                               New York           NY           10001
  B&H Foto & Electronics Corp                                   PO Box 28072                                                   New York           NY           10087
  B.C. Lawson Drayage, Inc           DBA Lawson Drayage, Inc    3402 Enterprise Avenue                                         Hayward            CA           94545
  B2B Media, LLC                                                34 Ellwood Ct.                                                 Greenville         SC           29607
  Bade, Brace                                                   Address Redacted
  Badger Meter Inc.                  Credit                     4545 W Brown Deer Road                                         Milwaukee          WI           53223
  Badger Meter Inc.                  Credit                     Box 88223                                                      Milwaukee          WI           53288-0223
  Badger Meter Inc.                  Inside Sales               4545 W Brown Deer Road                                         Milwaukee          WI           53223
  Badger Meter Inc.                  Inside Sales               Box 88223                                                      Milwaukee          WI           53288-0223
  Baehser, William                                              Address Redacted
  Baena, Albert                                                 Address Redacted
  Baena, Kevin                                                  Address Redacted
  Baglin, Luis                                                  Address Redacted
  Bagwell, Jarrett                                              Address Redacted
  Bagwell, Jeffrey                                              Address Redacted
  Bahulikar, Nihal                                              Address Redacted
  Baig, Altamash Shakeel Ahm                                    Address Redacted

  Bailey and Son Engineering, Inc.                              124 Edinburgh Court            Suite 209                       Greenville         SC           29607
  Bailey, Chris                                                 Address Redacted




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            CreditorName                  CreditorNoticeName              Address1                   Address2           Address3         City          State       Zip       Country
  Baiqiang Rubber & Plastic                                                                    Xiaoxiang Community
  Technology Co., Ltd                 Mark Melody                No.2-3, Kaitouji 2nd Rd       Wanjiang                            Dongguan       Guangdong 523000          China
  Bairagi, Pranav Rameshwar                                      Address Redacted

  Baker & McKenzie Partnerschaft
  von Rechtsanwalten,                 Germany Contact Ulrich                                                                       Frankfurt am
  Wirtshaftspruefern, Stb mbB         Ellinghaus                 Bethmannstrasse 50-54                                             Main           Hesse        60311        Germany

  Baker & McKenzie Partnerschaft
  von Rechtsanwalten,                                                                                                              Frankfurt am
  Wirtshaftspruefern, Stb mbB         U.S. Contact Craig Lilly   Bethmannstrasse 50-54                                             Main           Hesse        60311        Germany

  Baker & McKenzie Partnerschaft
  von Rechtsanwalten,                 U.S. Contact Naoko                                                                           Frankfurt am
  Wirtshaftspruefern, Stb mbB         Watanabe                   Bethmannstrasse 50-54                                             Main           Hesse        60311        Germany
  Baker, Scott                                                   Address Redacted
  Baker, William                                                 Address Redacted
  Balderson, Darryl                                              Address Redacted
  Baldonado, Keith                                               Address Redacted
  Ball, Johnston                                                 Address Redacted
  Ballard Power Systems Inc                                      9000 Glenlyon Parkway                                             Burnaby        BC           V5J 5J8      Canada
  Ballard, Jared                                                 Address Redacted
  Ballenger, Richard                                             Address Redacted
  Ballschmidt, Brian                                             Address Redacted
  Baltimore Gas and Electric                                     7210 Windsor Blvd                                                 Baltimore      MD           21244
  Baltimore Gas and Electric                                     PO Box 1475                                                       Baltimore      MD           21203
  Baltimore Gas and Electric
  Company (Excelon Business
  Services LLC)                                                  7210 Windsor Blvd                                                 Baltimore      MD           21244
  Bang V Nguyen and Lien Truong
  JTWROS                                                         Address on File
  Bank of America                                                6000 Feldwood Rd                                                  College Park   GA           30349-3652
  Bank Of America Lockbox                                        12003 Collections Center
  Services                                                       Drive                                                             Chicago        IL           60693
                                                                 Bank of America Corporate
  Bank of America NA                  Michael McCauley           Center                        100 North Tryon Street              Charlotte      NC           28255
  Bank of America, N.A., as agent                                100 N Tryon Street                                                Charlotte      NC           28255
  Bank of America, N.A., as agent
  (Atlantic Specialty Insurance, as
  beneficiary)                                                   100 N Tryon Street                                                Charlotte      NC           28255
  Bank of America, N.A., as agent
  (BC Transit, as beneficiary)                                   100 N Tryon Street                                                Charlotte      NC           28255
  Bank of America, N.A., as agent
  (Bond Safeguard Insurance
  Company, as beneficiary)                                       100 N Tryon Street                                                Charlotte      NC           28255




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  Bank of America, N.A., as agent
  (Carolina CC Venture XXXVII
  LLC, as beneficiary)                                         100 N Tryon Street                                            Charlotte       NC           28255
  Bank of America, N.A., as agent
  (Great American Insurance
  Company, as beneficiary)                                     100 N Tryon Street                                            Charlotte       NC           28255
  Bank of America, N.A., as agent
  (LG Energy Solutions LTD Tower
  1, as beneficiary)                                           100 N Tryon Street                                            Charlotte       NC           28255
  Bank of America, N.A., as agent
  (Philadelphia Insurance
  Companies, as beneficiary)                                   100 N Tryon Street                                            Charlotte       NC           28255
  Bank of America, N.A., as agent
  (Steelcase Financial Services Inc.,
  as beneficiary)                                              100 N Tryon Street                                            Charlotte       NC           28255
  Bank of the West                                             PO Box 7167                                                   Pasadena        CA           91109
  Banks, Olivia                                                Address Redacted
  Banuelos Lopez, Uriel                                        Address Redacted
  Banuelos, Rene                                               Address Redacted
  Barajas, Ariel                                               Address Redacted
  Barba, Diego                                                 Address Redacted
  Barber, Raymond                                              Address Redacted
  Barchalk, Jean                                               Address Redacted
  Barcodes, Inc.                      Barcodes LLC             PO Box 0776                                                   Chicago         IL           60690
  Barfield, Emily                                              Address Redacted
  Barker Air & Hydraulics, Inc.       Andrew Barker            1308 Miller Rd                                                Greenville      SC           29607
  Barker Air & Hydraulics, Inc.                                1308 Miller Rd                                                Greenville      SC           29607
  Barker, David                                                Address Redacted
  Barnes, Christopher                                          Address Redacted
  Barnes, Jeffrey                                              Address Redacted
  Barnett, Christie                                            Address Redacted
  Barnwell House of Tires, Inc.       Dominic Vitale           65 Jetson Lane                                                Central Islip   NY           11722
  Barnwell House of Tires, Inc.       Stacey Papas             65 Jetson Lane                                                Central Islip   NY           11722
  Barredo, Rocky                                               Address Redacted
  Barrera, Carlos                                              Address Redacted
  Barreras, Alma                                               Address Redacted
  Barroso, Ramon                                               Address Redacted
  Barrow, Melinda                                              Address Redacted
  Barry C Nicholls                                             Address Redacted
  Barry, Dave                                                  Address Redacted
  Bart Manufacturing, Inc.            Danielle Aregis          1043 Di Giulio Avenue                                         Santa Clara     CA           95050
  Bart Manufacturing, Inc.            Joel Weissbart           1043 Di Giulio Avenue                                         Santa Clara     CA           95050
  Barton, Collin                                               Address Redacted
  BASF Corporation                    Jim Casey                100 Park Avenue                                               Florham Park    NJ           07932
  BASF Corporation                                             100 Park Avenue                                               Florham Park    NJ           07932
  Basic, Nicholas                                              Address Redacted
  Baskett, Tyler                                               Address Redacted



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  Bass, Jeremy                                                  Address Redacted
  Bastion Infotec Private Limited    Kapil Kumar Upadhyay       73, Nandgram                                                   Ghaziabad                    201003     India
  Bastion Projects LLC                                          712 Bancroft Rd                Suite 742                       Walnut Creek    CA           94598
  BAT, INC.                                                     7630 Matoaka Rd.                                               Sarasota        FL           34243-3301
  Bates, Kelsi                                                  Address Redacted
  Batson, Evan                                                  Address Redacted
                                                                3505 West Sam Houston
  Battalion Energy                                              Parkway North, Suite 300                                       Houston         TX           77043
  Battenberg, Lindsay                                           Address Redacted
  Batteries Plus                     DAVID FREEMAN              1791-A Woodruff Road                                           Greenville      SC           29607
  Batteries Plus                     JOHN BENJAMIN              1791-A Woodruff Road                                           Greenville      SC           29607
  Batteries Plus                     RUSTY BOONE                1791-A Woodruff Road                                           Greenville      SC           29607

  Battery Recyclers of America LLC Glenn Garey                  1920 Mckinney Ave, 8th Floor                                   Dallas          TX           75201
  Baucom, Charles                                               Address Redacted
  Bautista Jr., Catarino                                        Address Redacted
  Bautista, Arturo                                              Address Redacted
  Bay Alarm Company                                             PO Box 7137                                                    San Francisco   CA           94120
  BAY AREA AIR QUALITY
  MANAGEMENT DISTRICT                                           375 BEALE STREET                                               San Francisco   CA           94105
                                                                44358 Old Warm Springs
  Bay Area Circuits, Inc.                                       Blvd                                                           Fremont         CA           94538
  Bay Area Concretes, Inc.                                      5637 La Ribera Street          Suite B                         Livermore       CA           94550
  Bay Area Council                                              353 Sacramento St              10th Floor                      San Francisco   CA           94111
  Bay Area Transport Refrigeration                              22409 Thunderbird Place                                        Hayward         CA           94545
  Bay Electric                                                  627 36th St.                                                   Newport News    VA           23608
  Bay Electric Co., Inc.                                        627 36th Street                                                Newport News    VA           23607
  Bay Photo Inc                                                 920 Disc Drive                                                 Scotts Valley   CA           95066
  BAYCOM INC                         DAVE FEILER                2040 Radisson Street                                           Green Bay       WI           54302
  BAYCOM INC                                                    PO Box 88013                                                   Milwaukee       WI           53288
                                     DBA SpeedPro Imaging of SF
  BayGrafx LLC                       Peninsula                  551 Taylor Way Ste 1                                           San Carlos      CA           94070
  Bayside Equipment Co.                                         3562 Haven Ave.                                                Redwood City    CA           94063
  Bazeghi, Bijan                                                Address Redacted
  BC Hydro                                                      PO Box 8910                                                    Vancouver       BC           V6B 4N1    Canada
                                                                                               1888 Century Park
  BC Transit                         c/o Amir Gamliel, Esq.     Perkins Coie LLP               East, Suite 1700                Los Angeles     CA           90067
  BC Transit                         Roland Gehrke              520 George Road East           PO Box 9861                     Victoria        BC           V8W 9T5    Canada
  BC Transit                                                    520 Gorge Road East            PO Box 9861                     Victoria        BC           V8W 9T5    Canada
  BC Transit                                                    520 Gorge Road E                                               Victoria        BC           V8T 2W6    Canada
                                                                SOHO The Strand, Fawwara
  BD Electronics Ltd.                                           Building                   Triq L - Imsida                     Gzira                        GZR 1401   Malta
                                                                                           925 West Georgia
  BDO Canada LLP                                                600 Cathedral Place        Street                              Vancouver       BC           V6C 3L2    Canada
                                                                3 Embarcadero Center, 20th
  BDO USA, LLP                                                  Floor                                                          Atlanta         GA           30308
  BDO USA, LLP                                                  770 Kenmoor SE             Suite 300                           Grand Rapids    MI           49546



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  BDO USA, LLP                                             PO Box 677973                                                        Dallas         TX           75267-7973
  BEA, Inc.                                                100 Enterprise Drive                                                 Pittsburgh     PA           15275
  BEA, Inc.                                                Lockbox 638769                                                       Cincinnati     OH           45263-8769
  Beachler, Zachary                                        Address Redacted
  Bear Communications Inc                                  4009 Distribution Drive       Suite 200                              Garland        TX           75041

  Bearcom Management Group Ltd DBA The Bus Centre          11461 261 Street                                                     Acheson        AB           T7X 6C6      Canada
  Bearden, Bradley                                         Address Redacted
  Bearden, Brady                                           Address Redacted
  Beatty, Yasmine                                          Address Redacted
  Becerra, Johanna                                         Address Redacted
                               Clarkson Industrial
  Beck & Pollitzer USA         Contractor, Inc.            256 Broadcast Dr                                                     Spartanburg    SC           29303
  Beck, Curtis                                             Address Redacted
  Becker, Kenneth                                          Address Redacted
  Beckett, Porshay                                         Address Redacted
  Beeks, Arron                                             Address Redacted
  Beeline Company                                          62nd St Ct                                                           Bettendorf     IA           52722
  Belair Services                                          641 Tremont Avenue                                                   Orange         NJ           07050
  Belcan Service Group Limited
  Partnership                  Belcan Tech Services        10151 Carver Road                                                    Cincinnati     OH           45242
  Belknap, Fleet                                           Address Redacted
  Bell, Marcus                                             Address Redacted
  Belo, Jayvee                                             Address Redacted
  Belton Wakefield, Shadiedra                              Address Redacted
  Beltran, Gabriel                                         Address Redacted
  Beltran, Uriel                                           Address Redacted
                                                           Ben Mahoney Productions,
  Ben Mahoney Productions, LLC     DBA The BMP Film Co.    LLC                           1147 W. Ohio St.     #406              Chicago        IL           60642
  Benchmark Mineral Intelligence                                                                                                                                       United
  Limited                                                  3 Coldbath Square                                                    London                      EC1R 5HL Kingdom
  BenchPro Inc                     BenchDepot              PO Box G                                                             Tecate         CA           91980
  Bender, Inc.                     DALE BOYD               PO Box 824805                                                        Philadelphia   PA           19182-4805
  Bender, Inc.                     KRESHNIK FURXHIU        PO Box 824805                                                        Philadelphia   PA           19182-4805
  Bender, Inc.                     Tracey Lively           PO Box 824805                                                        Philadelphia   PA           19182-4805
  Bender, Inc.                                             PO Box 824805                                                        Philadelphia   PA           19182-4805
  Bendix CVS LLC                   ADRIAN RODRIGUEZ        PO Box 92096                                                         Chicago        IL           60675
  Bendix CVS LLC                   ANN KESSLER             PO Box 92096                                                         Chicago        IL           60675
  Bendix CVS LLC                   CHERYL PARADIS          PO Box 92096                                                         Chicago        IL           60675
  Bendix CVS LLC                                           PO Box 92096                                                         Chicago        IL           60675
  Benen Manufacturing LLC                                  2266-2268 Trade Zone Blvd                                            San Jose       CA           95131
  Benesch, Friedlander, Coplan &
  Aronoff LLP                                              200 Public Square             Suite 2300                             Cleveland      OH           44114
  Benfield, Bryce                                          Address Redacted
  Benitez, Angel                                           Address Redacted
  Benjamin P Robinson                                      Address Redacted
  Benjamin Renshaw                                         Address Redacted



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  Benjamin Schneider                                             Address Redacted
  Bennett Equipment & Supply Co.,
  Inc.                                                           PO Box 740                                                          Piedmont        SC           29673
  Bennett Motor Express, LLC                                     PO Box 100004                                                       Mcdonough       GA           30253-9304
  Bennett, Mazeo                                                 Address Redacted
  Benoit Leblanc                                                 Address Redacted
  Benson, Dexter                                                 Address Redacted
  Benson, Michelle                                               Address Redacted
  BENTECH                            BARBARA FOX                 PO BOX 46128                                                        PHILADELPHIA PA              19160
  Bentech Inc                        DEVON KEARNS                PO Box 46128                                                        Philadelphia   PA            19160
  Bentech Inc                        VASYL ISHCHENKO             PO Box 46128                                                        Philadelphia   PA            19160
  Berg Mechanical Partners                                       7 Gingham Street                                                    Trabuco Canyon CA            92679
  Bergeson, LLP                      Rowena Stewart              111 N Market Street             Suite 600                           San Jose       CA            95113

  Berkeley Coaching Institute, LLC                               PO Box 9601                                                         Berkeley        CA           94709
  Berkley Professional Liability                                 475 Steamboat Road                                                  Greenwich       CT           06830

  Berkley Professional Liability                                 757 Third Avenue, 10th Floor                                        New York        NY           10017
  Bermo Inc.                                                     4501 Ball Rd NE                                                     Circle Pines    MN           55014
  Bermudez, Octavio                                              Address Redacted
  Bernard Pappert                                                Address Redacted
  Berrios, Alexander                                             Address Redacted
  Berry, Andrew                                                  Address Redacted
  Bertelkamp Automation Inc.                                     4716 Middle Creek Lane                                              Knoxville       TN           37921
  Beta Max Inc.                                                  1895 R.J Conlan Blvd NE                                             Palm Bay        FL           32905
  Beta Max Inc.                                                  PO Box 2750                                                         Melbourne       FL           32902
  Beth Keilpart                                                  Address Redacted
  Better Block Foundation            Krista Nightengale          PO Box 4007                                                         Dallas          TX           75208
  Better Way Constructor LLC         Timothy Rayford             26 Westbrook Court                                                  San Francisco   CA           94124
  Beuth Verlag GmbH                                              Burggrafenstr. 6,                                                   Berlin                       10787        Germany
  Bevan, James                                                   Address Redacted
  Beveridge & Diamond, P.C.                                      1350 I Street, NW                                                   Washington      DC           20005
  BeyondTrust Corporation            formerly Bomgar Corporation 578 Highland Colony Pkwy     Suite 200                              Ridgeland       MS           39157
                                                                                              11695 Johns Creek
  BeyondTrust Corporation            formerly Bomgar Corporation Corporate HQ                 Parkway                Suite 200       Johns Creek     GA           30097
  BG Networks, Inc.                                              100 Robin Road                                                      Weston          MA           02493
  Bhave, Shantanu                                                Address Redacted
  Biagio Agostinelli                                             Address Redacted
  Biddeford Saco Old Orchard
  Beach Transit                                                  13 Pomerlau Street                                                  Biddeford       ME           04005
  Biddeford Saco Old Orchard
  Beach Transit                                                  13 Pomerleau Street                                                 Biddeford       ME           04005
                                                                 193 Blue Ravine Rd., Suite
  Biddle Consulting Group, Inc.      Amy Fraser-White            270                                                                 Folsom          CA           95630
                                                                 2211 S Interstate 35 Suite
  BidPrime Inc                                                   401                                                                 Austin          TX           78741
  Big Joe California North Inc                                   25932 Eden Landing Road                                             Hayward         CA           94545



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  Big O Dodge of Greenville                                    2645 Laurens Road               PO Box Drawer 5575              Greenville        SC           29607
  Big River Film Co., LLC                                      117 W Reed St                                                   Dover             DE           19903
  Bigge Crane and Rigging Co.      Evan Zappe                  10700 Bigge Street                                              San Leandro       CA           94577
  Bill J Brucke                                                Address Redacted
  Bilz Vibration Technology, Inc                               PO Box 241305                                                   Cleveland         OH           44124
  Bin Taleb, Omar                                              Address Redacted
  Binder Malter, LLP               Wendy Smith                 2775 Park Avenue                                                Santa Clara       CA           95050
  BIP GP LLC                                                   222 Berkeley St                 16th Floor                      Boston            MA           02116
  Birch Consulting Services, LLC   Randall Kyle Birch          408 Ashley Oaks Drive                                           Moore             SC           29369
  Birch, Sandra                                                Address Redacted
  Bird Marella Boxer Wolpert
  Nessim Drooks&Linceberg          WENDY NABONSAL              1875 Century Park East          23rd Floor                      Los Angeles       CA           90067-2561
  Birlasoft Solutions Inc.         Sumit Mehrish               399 Thornall St, 8th Floor                                      Edison            NJ           08837
  Birlasoft Solutions Inc.         Sumit Mehrish               399 Thornall St FL 8                                            Edison            NJ           08837-2240
  Birlasoft Solutions Inc.                                     399 Thornall St, 8th Floor                                      Edison            NJ           08837
  Birlasoft Solutions Inc.                                     399 Thornall St                                                 Edison            NJ           08837
  Birlasoft Solutions Inc.                                     399 Thornhall St., 8th Floor                                    Edison            NJ           08837
  Bisco Industries                 KENDALL BROOKS              1500 N Lakeview                                                 Anaheim           CA           92807
  Bisco Industries                 TAYLOR HARTENSTINE          1500 N Lakeview                                                 Anaheim           CA           92807
  Bisco Industries                                             1500 N Lakeview                                                 Anaheim           CA           92807
  Bishop Peak Technology, Inc.                                 205 Suburban Road               Suite 3                         San Luis Obispo   CA           93401
  Bishop, Travis                                               Address Redacted
  BISKE, DAVID                                                 Address Redacted
  Bismeyer, Mike                                               Address Redacted
  Bitetti, Stephanie                                           Address Redacted
  Bizlink Technology, Inc.         Amanda Zhang                47211 Bayside Parkway                                           Fremont           CA           94538
  Bizlink Technology, Inc.         Amber Li                    47211 Bayside Parkway                                           Fremont           CA           94538
  Bizlink Technology, Inc.         George Tsang                47211 Bayside Parkway                                           Fremont           CA           94538
                                   Paul L. Gumina, Law Offices
  Bizlink Technology, Inc.         of Paul L. Gumina PC        560 W Main St. Suite 205                                        Alhambra          CA           91801
                                   Yvonne Wang, Executive Vice
  Bizlink Technology, Inc.         President                   47211 Bayside Pkwy                                              Fremont           CA           94538
  Bizlink Technology, Inc.                                     47211 Bayside Parkway                                           Fremont           CA           94538
  Bjoernsen, Jeannette                                         Address Redacted
  Black & Decker (U.S.) Inc.       DBA SWS VidmarLista         PO Box 371744                                                   Pittsburgh        PA           15251
  Black & Veatch Corporation                                   PO Box 803823                                                   Kansas City       MO           64180-3823
  Black & Veatch Transformative
  Technologies (B&V)               Overland Contracting Inc.   PO Box 803823                                                   Kansas City       MO           64180-3823
  Black, David                                                 Address Redacted
  Black, Dennis                                                Address Redacted
  Black, Nicholas                                              Address Redacted
  Blackerby, Karina                                            Address Redacted

  BlackLine Systems, Inc.                                      21300 Victory Blvd 12th Floor                                   Woodland Hills    CA           91367
  BlackRock Inc.                                               55 East 52nd Street                                             New York          NY           10055
  Blackstone Laboratories Inc.                                 416 East Pettit Avenue                                          Fort Wayne        IN           46804
  Blackstone, Adam                                             Address Redacted



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  Blackwell, Joan                                                Address Redacted
  Blackwell, John                                                Address Redacted
                                     DBA Blaine and Blaine Event
  Blaine Convention Services, Inc.   Services                    114 South Berry Street                                             Brea           CA           92821
  Blair, Dylan                                                   Address Redacted
  Blair, Nathan                                                  Address Redacted
                                     DBA Fonnesbeck Electric Bus
  Blake Kenyon Fonnesbeck            Solutions LLC               Address Redacted
  Blake, Kendall                                                 Address Redacted
  Blakley, Javores                                               Address Redacted
  Blanchard, Drew                                                Address Redacted
  Blanchard, Jonah                                               Address Redacted
  Blanco Ozuna, Carmen                                           Address Redacted
  BLANCO, CARMEN                                                 Address Redacted
  Blandi, Roberto                                                Address Redacted
  BLANDI, ROBERTO                                                Address Redacted
  Blank Rome LLP                     Kevin OMalley               One Logan Square               130 N. 18th Street                  Philadelphia   PA           19103-6998
  BLARE Media, LLC                                               1416 Broadway Street           Suite D                             Fresno         CA           93721
  Blazak, Thomas                                                 Address Redacted
  Bloomington-Normal Public
  Transit System                     Brady Lange                 351 Wylie Drive                                                    Normal         IL           61761
  Bloomington-Normal Public
  Transit System                                                 351 Wylie Drive                                                    Normal         IL           61761
  Blue Ox Towing Products                                        1 Mill Road                    Industrial Park                     Pender         NE           68047
  Blue Star Trading, LLC             Matthew Stellas             1532 Sommerell Avenue                                              Forked River   NJ           08731
  Blue Tarp Financial                                            PO Box 105525                                                      Atlanta        GA           30348-5525
  Blue Water Area Transportation
  Commission                                                     2021 Lapeer Avenue                                                 Port Huron     MI           48060
  BlueChoice Health Plan                                         PO Box 6000 AX-430                                                 Columbia       SC           29260
  Bluewater Civil Design, LLC                                    718 Lowndes Hill Road                                              Greenville     SC           29607
  Bluhm, Casey                                                   Address Redacted
  BMC Software, Inc.                                             PO BOX 301165                                                      Dallas         TX           75303
  BMW (US) Holding Corporation                                   1155 Highway 101 South                                             Greer          SC           29651
  BMW (US) Holding Corporation                                   300 Chestnut Ridge Road                                            Woodcliff      NJ           07677
  Board of County Commissions of
  Miami-Dade County                                              111 NW 1st Street, Suite 250                                       Miami          FL           33128
  Board of Education of Frederick
  County                                                         191 S. East Street                                                 Frederick      MD           21701-5918
  Bob R. Tucker                                                  Address Redacted

  Bobit Business Media                                           PO Box 2703                    3520 Challenger Street              Torrance       CA           90509
  Bode North America, Inc.           CHARLES STOCKLEY            660 John Dodd Road                                                 Spartanburg    SC           29303
  Bode North America, Inc.           MICHELLE BROWN              660 John Dodd Road                                                 Spartanburg    SC           29303
  Bode North America, Inc.           MICHELLE VANSICKLE          660 John Dodd Road                                                 Spartanburg    SC           29303
  Bode North America, Inc.                                       660 John Dodd Road                                                 Spartanburg    SC           29303
  Boes, Roth                                                     Address Redacted
  BofA Securities, Inc.                                          4 World Financial Center       250 Vesey Street                    New York       NY           10080



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  Boggess, Michael                                                  Address Redacted
  Bohdzia, John                                                     Address Redacted
  Bohorquez Toledo, Paul                                            Address Redacted
                                                                    Unit A1, Spinakker House,                                                  Gloucester,                                  United
  Boiswood Limited                                                  Hempsted                                                                   Gloucestershire                 GL2 5FD      Kingdom
  Boldra, Joshua                                                    Address Redacted
  Bolick, Perry                                                     Address Redacted
  Bolin III, Steven                                                 Address Redacted
  Bollhoff, Inc.                                                    820 Kirts Blvd., Suite 500                                                 Troy               MI           48084
  Bolosan, Jason                                                    Address Redacted
  Bolton Tools                                                      1136 Samuelson St.                                                         City Of Industry   CA           91748
  Bon Secours Ambulatory Services-
  St Francis LLC                   AFC Urgent Care            PO Box 743652                                                                    Atlanta            GA           30374-3652
                                                              WorkWell Occupational                 135 Commonwealth Dr
  Bon Secours Occupational Health Harness Health Partners LLC Health                                Suite 120                                  Greenville         SC           29615

                                     Harness Health Partners LLC,
  Bon Secours Occupational Health WorkWell Occupational           135 Commonwealth Dr           Suite 120                                      Greenville         SC           29615
  Bond Civil & Utility Construction, Harvard University Campus
  Inc                                Services                     10 Cabot Road                 Sutie 300                                      Medford            MA           02155
  Bond Civil & Utility Construction,
  Inc.                                                            10 Cabot Road                 Sutie 300                                      Medford            MA           02155
                                                                  10002 Shelbyville Road, Suite
  Bond Safeguard Insurance Co                                     100                                                                          Louisville         KY           40223-2979
  Bond Safeguard Insurance Co                                     900 S Frontage Rd, No 250                                                    Woodridge          IL           60517
  Bonitz, Inc                                                     1200 Woodruff Road D-1                                                       Greenville         SC           29607
  Bonsol, Alexis                                                  Address Redacted
                                                                  2000 Pennsylvania Avenue
  Bookoff McAndrews PLLC                                          NW Suite 4001                                                                Washington         DC           20006

  Bookoff McAndrews PLLC                                            2020 K Street NW, Suite 400                                                Washington         DC           20006
                                                                    555 Eleventh Street, N.W.,
  Bookoff McAndrews PLLC                                            Suite 1000                                                                 Dallas             TX           75312-0613
  Boomi Inc                         Matthew Achuff                  PO Box 842848                                                              Boston             MA           02284-2848
  Boomi Inc                                                         1400 Liberty Ridge Drive                                                   Chesterbrook       PA           19087
  Boone, Nicholas                                                   Address Redacted
  Boran, Yasin                                                      Address Redacted
                                                                    Centennial Place, East
                                                                    Tower, 520 3rd Avenue SW,
  Borden Ladner Gervais                                             Suite 1900                                                                 Calgary            AB           T2P 0R3      Canada
                                                                                                                          22 Adelaide Street
  Borden Ladner Gervais LLP                                         Bay Adelaide Centre             East Tower            West                 Toronto            ON           M5H 4E3      Canada
  Border States                     John Dabe                       120 Saxe Gotha Road                                                        West Columbia      SC           29172
  Border States Industries, Inc     John Dabe                       PO Box 603585                                                              Charlotte          NC           28260
  Border States Industries, Inc.    Border States Industries, Inc   John Dabe                       PO Box 603585                              Charlotte          NC           28260

  Border States Industries, Inc.    John Dabe                       Attn Accounts Receivable        120 Saxe Gotha Road                        West Columbia      SC           29172



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  Border States Industries, Inc.      Legal Department                PO 2767                                                                    Fargo            ND           58108

  Border States Industries, Inc.      Shealy Electrical Wholesalers Attn Accounts Receivable        120 Saxe Gotha Road                          West Columbia    SC           29172
                                                                                                    48022 Santa Maria in
  BorgWarner Systems Lugo S.R.L Annemarie Swineford                   Via Mensa, 3/2                Fabriago RA                                  Lugo             Ravenna      48022        Italy
                                 c/o James A. Plemmons,               500 Woodward Avenue, Suite
  BorgWarner Systems Lugo S.r.l. Dickinson Wright PLLC                4000                                                                       Detroit          MI           48226
                                                                                                    424 Church Street,
  BorgWarner Systems Lugo S.r.l.      Dickinson Wright PLLC           M. Kimberly Stagg             Suite 800                                    Nashville        TN           37219
                                                                                                    48022 S. Maria in      Santa Maria -
  BorgWarner Systems Lugo S.r.l.                                      Via Mensa 3/2                 Fabriago - Lugo - RA   Fabriago, Lugo - RA                                 48022      Italy
  BorgWarner, Inc.                                                    155 Northboro Road            Suite 1                                      Southborough     MA           01772
  BorgWarner, Inc.                                                    PO Box 845192                                                              Boston           MA           02284-5192
  Bork, Michael                                                       Address Redacted
  Bosch Rexroth Corporation           Blong Moua                      14001 South Lakes Drive                                                    Charlotte        NC           28273-6791
  Bosch Rexroth Corporation           Bryan Hellum                    14001 South Lakes Drive                                                    Charlotte        NC           28273-6791
  Bosch Rexroth Corporation           Patricia A. Brown               1800 W, Central Avenue                                                     Mount Prospect   IL           60056
  Bosch Rexroth Corporation                                           14001 South Lakes Drive                                                    Charlotte        NC           28273
  Bosch Rexroth Corporation                                           P.O. Box 7410381                                                           Chicago          IL           60674
  Bosco Oil Company                   DBA Valley Oil Company          DBA Valley Oil Company        Lockbox #138719        PO Box 398719         San Francisco    CA           94139-8719
  Boss Bolt and Tool of Greenville,
  LLC                                                                 1062 S. Batesville Rd.                                                     Greer            SC           29650
  Bossard Inc.                        AMANDA SINCLAIR                 6521 Production Drive                                                      Cedar Falls      IA           50613
  Bossard Inc.                        Andrew Wold                     6521 Production Drive                                                      Cedar Falls      IA           50613
  Bossard Inc.                        Attn Director or Officer        6521 Production Drive                                                      Cedar Falls      IA           50613
  Bossard Inc.                                                        6521 Production Drive                                                      Cedar Falls      IA           50613
                                      Burlingame, City of Industry,
  Bossard North America Inc           Greenville                      6521 Production Drive                                                      Cedar Falls      IA           50613
  Boston, Mark                                                        Address Redacted
  Botello-sanchez, Omar                                               Address Redacted
  Botero, Edwin                                                       Address Redacted
  Bottier, Icare                                                      Address Redacted
  Boucard, David                                                      Address Redacted
  Boulder Waterjet Inc.                                               13790 Deere Ct                                                             Longmont         CO           80504
                                                                                                                                                                                            United
  Bouncepad North America                                             Lockwood Industrial Park      Unit 7                                       London                        N17 9QP      Kingdom
                                                                      1001 Pennsylvania Avenue
  Boundary Stone Partners                                             NW                            Suite 740S                                   Washington       DC           20004
  Boundary Stone Partners                                             1817 M Street, NW                                                          Washington       DC           20036
  Bourdess, Neal                                                      Address Redacted
  Bow Valley Regional Transit         Martin Bean, Chief
  Services Commission                 Administrative Officer          221 Beaver Street                                                          Banff            AB           T1L 1A5      Canada
  Bow Valley Regional Transit
  Services Commission                                                 136 Hawk Avenue                                                            Banff            AB           T1L 1A1      Canada
  Bow Valley Regional Transit
  Services Commission                                                 221 Beaver Street             PO Box 338                                   Banff            AB           T1L 2A5      Canada




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                                    Charles Taylor Marine
  Bowditch Marine, Inc              Technical Services          64 Danbury Road               Suite 201                         Wilton          CT           06897
  Bowen, Matthew                                                Address Redacted
  Bowers, William                                               Address Redacted
  Bowles, Donald                                                Address Redacted

  Bowman Sales and Equipment Inc                                10233 Governor Lane Blvd                                        Williamsport    MD           21795
  Bowman Trailer Leasing                                        112 Metrogate Court                                             Simpsonville    SC           29681
  Bowser, John                                                  Address Redacted
  Box, Inc.                                                     900 Jefferson Avenue                                            Redwood City    CA           94063
  Boyd Welding LLC               Dave Boyd                      802 NW 27th Ave                                                 Ocala           FL           34475
  Boykin, Paul                                                  Address Redacted
  Boykins Jr., William                                          Address Redacted
  Boyter, Trevor                                                Address Redacted
  BPB Holding Corp.              Batteries Plus, LLC            1325 Walnut Ridge Dr.                                           Hartland        WI           53029

  BPB Holding Corp.                 Batteries Plus, LLC         Batteries Plus, LLC          1325 Walnut Ridge Dr.              Hartland        WI           53029
  Bracey, Brian                                                 Address Redacted
  Bracken, Gregory                                              Address Redacted
  Bracken, James                                                Address Redacted
  Brad L. Walters                                               Address Redacted
  Brad W Gilmour                                                Address Redacted
  Bradford, Logan                                               Address Redacted
  Bradley C. Stepp                                              Address Redacted
                                    Gellert Scali Busenkell &   1201 N. Orange Street, Suite
  Bradley Paul Lehman               Brown LLC                   300                                                             Wilmington      DE           19801
  Bradley-Morris, LLC               Justin Boggs                1825 Barrett Lakes Blvd.     Suite 300                          Kennesaw        GA           30144
  Brads Creative Inc                                            2020 Dennison Street         Suirte 107                         Oakland         CA           94606
  Brads Creative Inc                                            79 Glen Valley Circle                                           Danville        CA           94526
                                    dba Bragg Crane Service,
                                    Bragg Crane & Rigging,
  Bragg Investment Company, Inc.    Heavy Transport             6242 Paramount Blvd                                             Long Beach      CA           90805
  Brake Systems Inc                                             2221 N.E. Hoyt                                                  Portland        OR           97232
  Bramley, William                                              Address Redacted
  Brandit Graphics                  LAMB                        3651 S Lindell Rd                                               Las Vegas       NV           89103
  Brandon Hopkins                                               Address Redacted
  Branson Ultrasonics Corporation                               120 Park Ridge Road                                             Brookfield      CT           06804
  Branson Ultrasonics Corporation                               PO Box 73174                                                    Chicago         IL           60673
  Bravo, Christopher                                            Address Redacted
  BRAYBROOKS, PHYLLIS                                           Address Redacted
  Braznell, Travis                                              Address Redacted
  Brazos Transit District                                       1759 N. Earl Rudder Fwy                                         Bryan           TX           77803
  BRC Group                                                     6061 - 90 Avenue SE                                             Calagary        AB           T2C 4Z6   Canada
  Bread and Barley Inc                                          130 N Citrus Ave                                                Covina          CA           91723
  BreakThru Marketing               Melissa Morlan              421 Los Gatos Blvd                                              Los Gatos       CA           95032
  BreakThru Marketing                                           130 Palm Ct                                                     San Bruno       CA           94066




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  Breazeale, Sachse & Wilson, LLP                                 PO Box 3197                                                    Baton Rouge    LA           70821
  Brendan Casey                                                   Address Redacted
  Brennan Industries Inc                                          6701 Cochran Rd                                                Solon          OH           44139
  Brent Bartholomew                                               Address Redacted
  Brett Miller                                                    Address Redacted
  Brett Swanson                                                   Address Redacted
  Brevan Electronics                                              106 Northeastern BLVD                                          Nashua         NH           03062
  Brewster, Justen                                                Address Redacted
  Brewster, Steven Edward                                         Address Redacted
  Brian Dickovick                                                 Address Redacted
  Brian Homsangpradit                                             2002 Grant Street                                              Terre Haute    IN           47802
  Brian Marshall                                                  Address Redacted
  Brian Taler                                                     Address Redacted
  Bridge Technology, Inc.          Ian McDonald                   5232 North 43rd Place                                          Phoenix        AZ           85018
                                   Bridge Purchasing Solutions,
  Bridgemart                       Inc.                           PO Box 454                                                     Rogers         AR           72757
                                   Bridgestone Americas Tire
  Bridgestone Americas, Inc.       Operations, LLC                200 4th Ave S                                                  Nashville      TN           37201
  Bright Shark Powder Coating
  Corporation                                                     4530 Schaefer Avenue                                           Chino          CA           91710
  Bright, Michael                                                 Address Redacted
  Bright, Wesley                                                  Address Redacted
  Brisco Sr., Demauriee                                           Address Redacted
  British Columbia Ministry of
  Finance                                                         4370 Dominion St                                               Burnaby        BC           V8W 2E6   Canada
  British Columbia Transit                                        520 Gorge Road East            PO Box 9861                     Victoria       BC           V8W 9T5   Canada
  Britsch, Mary                                                   Address Redacted
  Britt, Peters & Associates, Inc                                 101 W. Camperdown Way          Suite 601                       Greenville     SC           29601
  Britt, Peters & Associates, Inc.                                223 West Meadowview Rd.                                        Greensboro     NC           27406
  Brittany Caplin                                                 Address Redacted
  Broadridge Financial Solutions                                  1155 Long Island Avenue                                        Edgewood       NY           11717
  Broadridge Investor
  Communication Solutions, Inc.                                   51 Mercedes Way                                                Edgewood       NY           11717
  Broadscale PT Investors LP                                      55 East 59th Street                                            New York       NY           10022
  Brock, Crayton                                                  Address Redacted
  Brock, Eva                                                      Address Redacted
  Brock, Jill                                                     Address Redacted
  Brock, Timothy                                                  Address Redacted
  Brodsky & Smith LLC                                             333 E City Avenue              Suite 805                       Bala Cynwyd    PA           19004
  Brogan, Daniel                                                  Address Redacted
  Brooket, Joel                                                   Address Redacted
  Brooks, Hannah                                                  Address Redacted
  Brooks, Joshua                                                  Address Redacted
  Brooks, Patrick                                                 Address Redacted
  Broomfield, Shelton                                             Address Redacted
  Brouwer, Andrew                                                 Address Redacted



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                                                               1 N University Drive, 3rd
  Broward County Transit                                       Floor Administration                                                  Plantation        FL           33324
                                                               1 N UNIVERSITY DRIVE
                                                               3RD FLOOR SERVICE &
  Broward County Transit                                       CAPITAL PLANNING                                                      PLANTATION        FL           33324
                                                               1 N. University Drive, Suite
  Broward County Transit                                       3100A                                                                 Plantation        FL           33301
  Broward County Transit                                       P.O. Box 14740                                                        Fort Lauderdale   FL           33302-4740
                                                                                                 1 N. University Drive,
  Broward County Transit                                       Transportation Department         Suite 3100A                         Plantation        FL           33301
  Brown & Associates LLC              Marlin Roberts           Address Redacted
  Brown 2 Green Landscape                                      33 Sagamore Lane                                                      Greenville        SC           29607
  Brown, Brandon                                               Address Redacted
  Brown, Christopher                                           Address Redacted
  Brown, Eva                                                   Address Redacted
  Brown, Glen                                                  Address Redacted
  Brown, James                                                 Address Redacted
  Brown, Jeffery                                               Address Redacted
  Brown, Michael                                               Address Redacted
  Brown, Morgan                                                Address Redacted
  Brown, Nadja                                                 Address Redacted
  Browning, John                                               Address Redacted
  Brownlee, Gregory                                            Address Redacted
  Brownworks LLC                                               876 Oakcrest Rd                                                       Spartanburg       SC           29301
  Bruce Ades                                                   Address Redacted
                                                               3079 Premiere Parkway,
  Bruel & Kjaer North America, Inc.                            Suite 120                                                             Duluth            GA           30097
  Bruner, Aaron                                                Address Redacted
  Bruner, Aaron                                                Address Redacted
  Bruner, Cory                                                 Address Redacted
  Bruner, Ralph                                                Address Redacted
  Brunet-Goulard Les
  Agences/Agencies Inc                                         1095 Algoma Rd                    Unit 100                            Gloucester        ON           K1B 0B3      Canada
  Brunner, Scott                                               Address Redacted
  Brunner, Scott                                               Address Redacted

  Brusa Elektronik AG                                          Neudorf 14                                                            Sennwald                       9446         Switzerland
  Brust, Bryan                                                 Address Redacted
  Bryan Burton                                                 Address Redacted
  Bryan Evans                                                  Address Redacted
  Bryant, Jason                                                Address Redacted
                                      ADMINISTRATIVE
  Bryant-Durham Electric Co., Inc.    ASSISTANT Toni Barrett   PO Drawer 2597                                                        Durham            NC           27715
  Bryant-Durham Electric Co., Inc.    CFO Donald McNeill       PO Drawer 2597                                                        Durham            NC           27715
  Bryce Stanley                                                Address Redacted

  Buchanan Ingersoll & Rooney PC                               101 N Monroe Street               Suite 1090                          Tallahassee       FL           32301



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  Buchanan, Avery                                                  Address Redacted

  Bucher Hydraulics AG                 FKA Lenze-Schmidhauser      Obere Neustrasse 1                                              Romanshorn                     CH-8590     Switzerland
  Buckles-Smith Electric               Kyle Devlin                 540 Martin Avenue                                               Santa Clara       CA           95050
  Buckles-Smith Electric                                           540 Martin Avenue                                               Santa Clara       CA           95050
  Buda, Dan                                                        Address Redacted
  Budak, Alper                                                     Address Redacted
  Budget Truck and Auto Inc                                        2027 West Avalon Road                                           Janesville        WI           53546
  Bui, Giang                                                       Address Redacted
  Bula, Reginald                                                   Address Redacted
  Bulten North America LLC             FINANCE Patti Sidley        1104 N Meridian Road                                            Youngstown        OH           44509
  Bulten North America LLC                                         1104 N Meridian Road                                            Youngstown        OH           44509
  Bung King                                                        1076 Florence Way                                               Campbell          CA           95008
  Bunnell Lammons Engineering,
  Inc.                                                             6004 Ponders Court                                              Greenville        SC           29615

                                  Park, Recreation and
  Burbank, City of Mobile Energy  Community Services
  Solutions LLC (MES)             Department Linda Oseransky       1301 W. Olive Avenue                                            Burbank           CA           91506
  Burke, Brittany                                                  Address Redacted
  Burkert                                                          PO Box 896001                                                   Charlotte         NC           28289
  Burkett, Jacob                                                   Address Redacted
  Burlingame/SFO Chamber of
  Commerce                                                         417 California Drive                                            Burlingame        CA           94010
  Burnett Associates              DBA Burnett Search               101 First Street                #112                            Los Altos         CA           94022
  Burnett, Nathan                                                  Address Redacted
  Burnidge, Joshua                                                 Address Redacted
  Burns & McDonnell Engineering
  Company, Inc.                                                    9400 Ward Parkway                                               Kansas City       MO           64114
  Burns and McDonnell Engineering
  Company, Inc.                                                    PO Box 219308                                                   Kansas City       MO           64121
  Burns, James                                                     Address Redacted
  Burrell Jr., Robert                                              Address Redacted
  Burton, Paris                                                    Address Redacted
  Burwell, Walter                                                  Address Redacted
  Burwell, Walter                                                  Address Redacted

  Bus and Truck of Chicago Inc         Randy Westergaard           7447 S. Central Ave, Suite B                                    Bedford Park      IL           60638
  Buseman, David                                                   Address Redacted
                                                                   1967 Rochester Industrial
  Bushing, Inc.                                                    Drive                                                           Rochester Hills   MI           48309
                                       Zero Emission Transportation
  Business Climate Initiative Action   Association                  659 C Street SE                                                Washington        DC           20003
  Busstuf                                                           PO Box 6405                                                    Scottsdale        AZ           85261-6405
  Bustech (QLD) Pty Ltd                                             Lot 10 Calabro Way                                             Burleigh Heads    QLD          4220       Australia
  BusTech (Qld) Pty Ltd                                             Lot 10 Calebro Way                                             Burleigh Heads    QLD          4220       Australia
  Bustech Pty Ltd                                                   10 Calabro Way                 PO Box 2854                     Burleigh Heads    QLD          4220       Australia



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  Buswest North                                             210 North East Street                                          Woodland          CA           95776
  Butardo, Christian                                        Address Redacted
  Butler, Kauquane                                          Address Redacted
  Butler, Revis                                             Address Redacted
  Butler, Samuel                                            Address Redacted
  Byars, Ernest                                             Address Redacted
  Byk-Rak LLC                   Jaydan Tracey               1940 W. Stewart St.            PO Box 40                       Owosso            MI           48867
  Byk-Rak LLC                   Kathleen Bayliss            1940 W. Stewart St.            PO Box 40                       Owosso            MI           48867
  Byk-Rak LLC                   Ron Byk-Rak LLC             1940 W. Stewart St.            PO Box 40                       Owosso            MI           48867
  Byk-Rak LLC                                               1940 W. Stewart St.            PO Box 40                       Owosso            MI           48867
  Bynder LLC                    Bianca Ravida               24 Farnsworth Street           Suite 400                       Boston            MA           02210
  Bynder LLC                                                321 Summer Street              First Floor                     Boston            MA           02210
  Byrd, Brandon                                             Address Redacted
  Byrd, Cory                                                Address Redacted
  Byrd, Everett                                             Address Redacted
  C&C Assembly, Inc.            Michelle Harden             3410-B West Main Street                                        Salem             VA           24153

  C&C Fiberglass Components Inc.                            75 Ballou Blvd.                                                Bristol           RI           02809
  C&J Market Enterprises, LLC    DBA Conference Room AV     13601 W McMillian Rd.          Suite 102-277                   Boise             ID           83713

                                Pro Electric Motor Service/MC
  C&L Solutions Group LLC       Supply Company                1927A Perimeter Road                                         Greenville        SC           29605
                                                              16351 Table Mountain
  C.F. Maier Composites, Inc.                                 Parkway                                                      Golden            CO           80403
  C.H. Powell Company                                         PO Box 75303                                                 Charlotte         NC           28275-0303
  C.H. Robinson Company                                       PO Box 9121                                                  Minneapolis       MN           55480-9121
                                Business Entity Bankruptcy
  CA Franchise Tax Board        MS A345                       PO Box 2952                                                  Sacramento     CA              95812-2952
  CA Franchise Tax Board        Legal Division                PO Box 1720                                                  Rancho Cordova CA              95741-1720
  CA FRANCHISE TAX BOARD                                      PO BOX 942867                                                SACRAMENTO CA                  94267-0011
  Caaren Weiger                                               Address Redacted
  Cabaleiro, Jamie                                            Address Redacted
  Caballero, Adrian                                           Address Redacted
  Cabarrus County School Bus                                  111 Union Cemetery Road
  Garage                                                      SW                                                           Concord           NC           28207
  Cabe, Kevin                                                 Address Redacted
  Cabell, Ed                                                  Address Redacted
                                                              6532 Judge Adams Rd, Suite
  Cable Assemble, LLC                                         150                                                          Whitsett          NC           27377
  Cable Assemble, LLC                                         PO Box 603262                                                Charlotte         NC           28260
  CableOrganizer.com                                          6250 NW 27th Way                                             Fort Lauderdale   FL           33309
  Cabrera, Art                                                Address Redacted
  Caddell, Jamie                                              Address Redacted
  Caggiano Jr., Dominic                                       Address Redacted
  Cagle, Steven                                               Address Redacted
  Cain, Phillip                                               Address Redacted
  Cake.com Inc.                 Attn Director or Officer      2100 Geng Road, Suite 210                                    Palo Alto         CA           94303



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  Caleb Jones                                                       Address Redacted

  Calendly LLC                                                      88 N Avondale Rd #603                                             Avondale Estates GA           30002
  Calendly, LLC                                                     PO Box 313                                                        Alpharetta       GA           30009
  Calhoun, Lesley                                                   Address Redacted
  California Air Resources Board                                    1001 I Street                   PO Box 1436                       Sacramento      CA            95812-1436
  California Association for
  Coordinated Transportation, Inc.     Clint Miller                 4632 Duckhom Drive                                                Sacramento      CA            95834
  California Board of Equalization                                  PO Box 942879                                                     Sacramento      CA            94279-0090

  California Chamber of Commerce                                    PO Box 398342                                                     San Francisco   CA            94139

  California Chamber of Commerce                                    PO Box 888336                                                     Los Angeles    CA             90088-8336
  California Child Support                                          P.O. Box 419064                                                   Rancho Cordova CA             95741-9064
  California Department of Motor
  Vehicles                                                          Department of Motor Vehicles 8243 Demetre Ave      MS-L224        Sacramento      CA            95828
  California Department of Motor                                    Occupational Licensing
  Vehicles                                                          Renewal Unit                 PO Box 932342                        Sacramento      CA            94232-3420
  California Department of Motor
  Vehicles                                                          PO Box 942894                                                     Sacrametro      CA            94294
  California Department of Tax and     Account Information Group,
  Fee Administration                   MIC 29                       PO Box 942879                                                     Sacramento      CA            94279-0029
  California Department of Tax and     Collections Support Bureau
  Fee Administration                   Bankruptcy Team, MIC 74      PO Box 942879                                                     Sacramento      CA            94279-0074
  California Department of Tax and
  Fee Administration                                                PO Box 942879                                                     Sacramento      CA            94279-0055
  California Electric Transportation
  Coalition                                                       1015 K Street                     Suite 200                         Sacramento      CA            95814
                                       Energy Resources
                                       Conservation & Development
  California Energy Commission         Commission                 715 P Street, MS-2                                                  Sacramento      CA            95814
  California Franchise Tax Board                                  PO Box 942857                                                       Sacramento      CA            94257
                                       V-Trust Inspection Service
  California Quality Standards LLC     Group                      2101 Business Center Dr           Ste 200                           Irvine          CA            92612
  California State Board of
  Equalization                         Legal Department, MIC 121    450 N St.                       P.O. Box 942879                   Sacramento      CA            94279-0029
  California State Board of                                         3321 Power Inn Road, Suite
  Equalization                                                      210                                                               Sacramento      CA            95826
                                                                    10600 White Rock Road
  California State Controllers Office Unclaimed Property Division   Suite 141                                                         Rancho Cordova CA             95670
  California Strategies & Advocacy,
  LLC                                                               2318 Mill Road, 12th Floor                                        New York        NY            10022
  California Strategies and
  Advocacy, LLC                                                     980 Ninth Street Suite 2000                                       Sacramento      CA            95814
  California Transit Association                                    1415 L Street                   Suite 1000                        Sacramento      CA            95814
  California Transport Refrigeration
  Inc.                                                              1125 S Greenwood Ave.                                             Montebello      CA            90640



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  Calpack Crating, Inc.                                        4700-B Horner St.                                               Union City     CA           94587
                                                               4500 E. Pacific Coast Hwy,
  CALSTART, Inc.                                               Suite 400                                                       San Jose       CA           95110
  CALSTART, Inc.                                               48 S Chester Ave                                                Pasadena       CA           91106
  CALSTART, Inc.                                               501 Canal Boulevard             Suite G                         Richmond       CA           94804

  Calvin E Taylor                 Taylor Seal Coating & Striping Address Redacted
                                  Taylor Sealcoating & Striping
  Calvin E. Taylor                LLC                            Address Redacted
  Camacho, Michelle                                              Address Redacted
  Camelback Displays, Inc.        Kaci                           20020 Hickory Twig Way                                        Spring         TX           77388
  Camere, Aaron                                                  Address Redacted

  Cameron W. Roberts                                           Address on File
  Cameron, Jordan                                              Address Redacted
  Campbell Inc                    Kelly Durham                 16 Oakvale Road                                                 Greenville     SC           29611
  Campbell Inc                                                 PO Box 9087                                                     Greenville     SC           29604
  Campbell Jr., Dewey                                          Address Redacted
  Campbell, Cecil                                              Address Redacted
  Campbell, Derek                                              Address Redacted
  Campbell, Laquestter                                         Address Redacted
  Campbell, Raena                                              Address Redacted
  Campero Molina, David                                        Address Redacted
  Campion, Christopher                                         Address Redacted
  Campos, Michelle                                             Address Redacted
  Canada Border Services Agency                                355 North River Road            Tower B 6th Floor               Ottawa         ON           K1A 0L8      Canada
  Canada Revenue Agency           Tax Centre                   9755 King George Highway                                        Surrey         BC           V3T 5E6      Canada
  Canadian Construction
  Documents Committee                                          1900-275 Slater Street                                          Ottawa         ON           K1P 5H9      Canada
  Canadian Urban Transit
  Association                                                  55 York Street                  Suite 1401                      Toronto        ON           M5J 1R7      Canada

  Canadian Urban Transit Research
  and Innovation Consortium       Michael Keran                1 Yonge Street                  Suite 1801                      Toronto        ON           M5E 1W7      Canada
  Cannon Roofing, LLC                                          PO Box 3030                                                     Spartanburg    SC           29304
  Canoy, Eric                                                  Address Redacted
  Canteen Refreshment Services                                 PO Box 417632                                                   Boston         MA           02241-7632
  Cantrell, Dola                                               Address Redacted

  Canty & Associates LLC          DBA CantyMedia               802A Olde Georgetown Court                                      Great Falls    VA           22066
  Canvas Leadership LLC                                        169 Newtown Turnpike                                            Westport       CT           06880
  Canvas Solutions                                             PO Box 413                                                      Reisterstown   MD           21136
  Capelin Solutions LLC                                        23 Bluebird Lane                                                Amherst        NY           14228
  Capital Metropolitan
  Transportation Authority        Brad Bowman                  2910 E. 5th St.                                                 Austin         TX           78702
  Capital Metropolitan
  Transportation Authority        c/o Brad Bowman              700 Lavaca Street Suite 1400                                    Austin         TX           78701



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  Capital Metropolitan                                                                          111 Congress Avenue
  Transportation Authority             Jameson J. Watts          Husch Blackwell LLP            Suite 1400                          Austin          TX           78701
  Capital Metropolitan
  Transportation Authority                                       2910 E 5th St                                                      Austin          TX           78702
  Capital Metropolitan
  Transportation Authority                                       2910 East Fifth Street                                             Austin          TX           78702
  Capital Metropolitan
  Transportation Authority                                       PO Box 6308                                                        Austin          TX           78762-6308
  Capital Transit - City and Borough
  of Juneau, Alaska                                              10099 Bentwood Place                                               Juneau          AK           99801
  Caplin, Brittany                                               Address Redacted
  Caplugs                              JEFF MOTEN                3012 Momentum Place                                                Chicago         IL           60689
  Caplugs                                                        3012 Momentum Place                                                Chicago         IL           60689
  Carballo, Jaime                                                Address Redacted
  Carbaugh, Ethan                                                Address Redacted
  Carbaugh, Kallan                                               Address Redacted
  Carbon Supply Chain
  Management LLC                       Bruce Chew                19925 Stevens Creek Blvd                                           Cupertino       CA           95014
  Carbon Supply Chain
  Management LLC                       Jason Hernadez            19925 Stevens Creek Blvd                                           Cupertino       CA           95014
  Carbon Supply Chain
  Management LLC                                                 14351 Pendragon Way                                                Fishers         IN           46037
  Carbon, Brian                                                  Address Redacted
  Carbures USA, Inc.                                             202 Beechtree Blvd                                                 Greenville      SC           29605
                                                                 N83W12650 Stratton Circle,
  Cardinal Components Inc.                                       Suite 400                                                          Menomonee Falls WI           53051
  Cardinal Logistics management
  Corporation                          AM-CAN                    PO Box 405069                                                      Atlanta         GA           30384
  Carey A Brinckman                                              Address Redacted
  Carey International Inc.                                       7445 New Technology Way                                            Frederick       MD           21703
  Carl L Carlucci                                                Address Redacted

  Carl Stahl Sava Industries Inc.                                PO Box 30                      40 North Corporate Dr.              Riverdale       NJ           07457
  Carl Thomas Guardino                                           Address Redacted
  Carlos Guzman, Inc                                             1619 E Creston St                                                  Signal Hill     CA           90755
  Carlos Vergara                                                 Address Redacted
                                       Carlton Scale E.S. Inc.
  Carlton Group, Inc.                  Everest Scale             14 Dunbar Street                                                   Greenville      SC           29601
  Carlyle Thompson                                               Address Redacted
  Carnival Foods, Inc.                 The Catering Carnival     2029 Verdugo Blvd              Suite 140                           Montrose        CA           91020
                                                                                                3715 Northside
                                                                 c/o McDonald Development       Parkway, Bldg 200,
  Carolina CC Venture XXXVII, LLC J. Austin McDonald             Company                        Suite 700                           Atlanta         GA           30327
                                                                 3715 Northside Parkway,
  Carolina CC Venture XXXVII, LLC                                Bldg. 200, Ste 700                                                 Atlanta         GA           30327

  Carolina CC Venture XXXVII, LLC                                3715 Northside Pkwy, NW        Bldg. 200, Suite 700                Atlanta         GA           30327



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  Carolina Fluid Components             Dean Frazier                PO Box 601687                                                 Charlotte          NC           28260
  Carolina Fluid Components             ROGER WALLACE               PO Box 601687                                                 Charlotte          NC           28260
  Carolina Fluid Components                                         PO Box 601687                                                 Charlotte          NC           28260
  Carolina Foundation Solutions,
  LLC                                                               PO Box 2228                                                   Burlington         NC           27216
  Carolina Handling LLC                                             4835 Sirona Dr                Ste 100                         Charlotte          NC           28273
  Carolina Handling, LLC                                            3101 Piper Lane                                               Charlotte          NC           28208

  Carolina International Trucks, Inc.                               1501 White Horse Road                                         Greenville         SC           29605
  Carolina Regional Center Fund X,
  L.P                                                               101 North Main Street         Suite 1400                      Greenville         SC           29601
  Carolina Textiles, Inc.                                           200 Sunbelt Court                                             Greer              SC           29650
  Carolina Textiles, Inc.                                           68 Anderson Road                                              Walterboro         SC           29488
  Carolina Thomas LLC                                               6340A Burnt Poplar Road                                       Greensboro         NC           27409
  Carolina Thomas, LLC                                              PO Box 18209                                                  Greensboro         NC           27419
  Carolina Water Specialties LLC        Attn Andy Murray            212 Cooper Lane                                               Easley             sc           29642
  Carolina Water Specialties LLC        Attn Andy Murray            PO Box 570                                                    Blountville        TN           37617
  Carolina Water Specialties, LLC
  dba Culligan of the Piedmont,
  Easley, SC                                                        PO Box 2820                                                   Greenville         SC           29602
  Carolinas-Virginia Minority
  Supplier Development Council          CVMSDC                      229 S Brevard St Ste 300                                      Charlotte          NC           28202-2495
  Caroline Yi                                                       Address on File
  Carolyn Folin                                                     Address Redacted
  Carolyn V. Mason                                                  Address Redacted
  Carpenter, Cameron                                                Address Redacted
  Carpenter, Justin                                                 Address Redacted
  Carr Lane Manufacturing Co            Cathy Martin                4200 Carr Lane Court                                          St. Louis          MO           63119
  Carr Lane Manufacturing Co                                        4200 Carr Lane Court                                          St. Louis          MO           63119
  Carr, Kristy                                                      Address Redacted
  Carrasco, Angel                                                   Address Redacted
  Carrasco, Max                                                     Address Redacted

  Carrier Transport Air Conditioning                                PO Box 70312                                                  Chicago            IL           60673-0312
  Carrillo Molina, Ivan                                             Address Redacted
  Carrington, Patrick                                               Address Redacted
  Carroll, Erin                                                     Address Redacted
  Carson, Ryan                                                      Address Redacted
                                        Clay Carsons Nut-Bolt & Tool
  Carsons Nut-Bolt & Tool Co, Inc       Co, Inc                      301 Hammett Street Ext                                       Greenville         SC           29609
  Carsons Nut-Bolt & Tool Co, Inc       Wanda L                      301 Hammett Street Ext                                       Greenville         SC           29609
  CARTA                                                              5790 Casper Padgett Way                                      N. Charleston      SC           29406
  CARTA                                                              5790 Casper Padgett Way                                      North Charleston   SC           29406
  Cartel Industries, Inc.                                            17152 Armstrong Ave.                                         Irvine             CA           92614
  Carter Hollis                                                      Address Redacted
  Carter, William                                                    Address Redacted
  Carver, Andrew                                                     Address Redacted



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  Cary Products Co., Inc                                             101 Lacaster Hutchins Road                                       Hutchins         TX           75141
  Casale, Scott                                                      Address Redacted
  Cascade Engineering Inc                                            3400 Innovation Ct SE                                            Grand Rapids     MI           49512
  Casey, John                                                        Address Redacted
  Cashdollar, Hayley                                                 Address Redacted
  Cashin, Thomas                                                     Address Redacted
  Castaneda, Edna                                                    Address Redacted
  Caster Concepts Inc.                                               16000 E. Michigan Ave                                            Albion           MI           40224
  Castillo Sr., Ruben                                                Address Redacted
  Castillo, Brandon                                                  Address Redacted
  Castillo, Emmanuel                                                 Address Redacted
  Castleberry, Robert                                                Address Redacted
  Castro, Jose                                                       Address Redacted
  Castro, Marcela                                                    Address Redacted
  Catalano, Andrew                                                   Address Redacted

  Catherine Mary Johnson                                             Address Redacted
  Cathy Vu                                                           Address Redacted
  CBIZ Operations, Inc                CBIZ ARC Consulting, LLC       275 Battery Street             Suite 420                         San Francisco    CA           94111
  CBM Systems, Inc.                                                  1599 Monte Vista Ave                                             Claremont        CA           91711
  CBRE- Property Management                                          355 S Main St, Ste 701                                           Greenville       SC           29601
  CBRE, Inc                                                          PO Box 15531                   Location Code 2085                Chicago          IL           60696
  CCTA                                                               700 N. Sangamon St.                                              Chicago          IL           60642
  CDW Direct, LLC                     Attn Vida Krug                 200 N. Milwaukee Ave                                             Vernon Hills     IL           60061
  CDW, Inc.                           Brandon Ginter                 PO Box 75723                                                     Chicago          IL           60675-5723
  CDW, Inc.                           Paul Bak                       PO Box 75723                                                     Chicago          IL           60675-5723
  CDW, Inc.                           SAM MULICA                     PO Box 75723                                                     Chicago          IL           60675-5723
  Ceballos, Steven                                                   Address Redacted
  Cederoth, Andrew                                                   Address Redacted
  Cellco Partnership d/b/a Verizon
  Wireless                            Verizon                        Michelle Johnson               500 Technology Drive              Weldon Spring    MO           63304
  Cellco Partnership d/b/a Verizon
  Wireless                            William M Vermette             22001 Loudoun County Pkwy                                        Ashburn          VA           20147
  CelLink                                                            5930 Sea Lion Pl,                                                Carlsbad         CA           92010
  Center for Internet Security, Inc   CIS Security                   31 Tech Valley Drive                                             East Greenbush   NY           12061
  Center For Transportation &
  Environment                                                        730 Peachtree St NE            Suite 450                         Atlanta          GA           30308
  Center For Transportation &
  Environment                                                        730 Peachtree St.              Suite 330                         Atlanta          GA           30308
  Centorbi, James                                                    Address Redacted
  Central Coast Systems                                              312 Kings Street                                                 Salinas          CA           93905
  Central Florida Regional
  Transportation Authority            Orlando Utilities Commission   455 N Garland Ave                                                Orlando          FL           32801-1518
  Central Florida Regional
  Transportation Authority (LYNX)                                    455 N Garland Ave                                                Orlando          FL           32801-1518




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  Central Florida Regional                                       455 North Garland Avenue,
  Transportation Authority (LYNX)                                Suite 500                                                        Orlando       FL           32801
  Central Florida Regional
  Transportation Authority dba
  LYNX                                                           455 N. Garland Ave                                               Orlando       FL           32801
  Central Mass Transit
  Management, Inc.                   Ahmad Yasin                 42 Quinsigamond Avenue                                           Worcester     MA           01610
  Centrics Staffing Group            DBA TheCentricsGroup        3140 Northwoods Parkway         Suite 700                        Norcross      GA           30071
  Centrics Staffing Group            DBA TheCentricsGroup        PO Box 538481                                                    Atlanta       GA           30053-8481
  Century Fire Protection                                        2450 Satellite Blvd                                              Duluth        GA           30096
                                     DBA Carry Cases Plus & My
  Century Service Affiliates, Inc.   Case Builder                510 East 31st Street                                             Paterson      NJ           07504
  Centurylink Communications         Bankruptcy                  220 N 5th St                                                     Bismarck      ND           58501

  Centurylink Communications, LLC Bankruptcy                     Attn Lega-BKY                   1025 El Dorado Blvd              Broomfield    CO           80021

  Centurylink Communications, LLC Centurylink Communications     Bankruptcy                      220 N 5th St                     Bismarck      ND           58501
  CenturyLink, Inc.               Sachi Petz                     200 S 5th Street                                                 Minneapolis   MN           55402
  CenturyLink, Inc.                                              PO Box 52187                                                     Phoenix       AZ           85072
  Ceridian                                                       1655 Grant Street                                                Concord       CA           94580
  Cerochi, Gustavo                                               Address Redacted
  Ceros, Inc                                                     40 West 25th Street             Floor 12                         New York      NY           10010
  Cervantes Fonseca, Manuel
  Hector                                                         Address Redacted
  Cervellione, Marty                                             Address Redacted
  Cesar Gutierrez and Yolanda
  Gamboa                                                         Address Redacted
  Ceva International Inc                                         15350 Vickery Dr                                                 Houston       TX           77032
  CFM Company                                                    1440 S. Lipan Street                                             Denver        CO           80223-2307
  CG4 Enterprises Inc             Speedpro Greenville            1327 Miller Road                Suite I                          Greenville    SC           29607
  Chacon, Ronald                                                 Address Redacted
  Chadwick, Daniel                                               Address Redacted
  Chadwick, Rebecca                                              Address Redacted
  Chakravorty, Jaijeet                                           Address Redacted
  Chamberlain, Michael                                           Address Redacted
  Champion Benefits, an Alera                                    1455 Lincoln Parkway, Ste
  Group Agency, LLC                                              100                                                              Atlanta       GA           30346
  Champion Benefits, an Alera
  Group Company LLC                                              1455 Lincoln Parkway            Suite 100                        Atlanta       GA           30346
  Champlain Cable Corp                                           175 Hercules Dr                                                  Colchester    VT           05446
  Chan, Christina                                                Address Redacted
  Chan, Kristie                                                  Address Redacted
  Chan, Nathan                                                   Address Redacted
  Chanchai Tivitmahaisoon                                        Address Redacted
  Chao, Yi-Wen                                                   Address Redacted
  Chapa, Phillip                                                 Address Redacted
  Chaplin, Richard                                               Address Redacted



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  Chapman, Christopher                                         Address Redacted
                                                                                                                               Palos Verdes
  Chappell Creek Consulting          William Pack              2108 Thorley Road                                               Estates           CA           90274
  ChargeKnowledgy LLC                                          1461 Eastfield Drive                                            Clearwater        FL           33764
  ChargePoint                        Chloe Durham              Dept LA 24104                                                   Pasadena          CA           91185
  ChargePoint                        Leah Nix                  Dept LA 24104                                                   Pasadena          CA           91185
  ChargePoint                        WHITNEY SCHMIDT           Dept LA 24104                                                   Pasadena          CA           91185
  ChargePoint                                                  240 East Hacienda Avenue                                        Campbell          CA           95008
  ChargePoint                                                  254 E Hacienda Ave                                              Campbell          CA           95008
  ChargEVC, Inc.                                               417 Denison Street                                              Highland Park     NJ           08904
  Charie Deliguin                                              Address Redacted
  CharIN e.V.                                                  Schiffbauerdamm 12                                              Berlin                         10117      Germany
  Charity Miles, Inc.                                          350 First Avenue #1H                                            New York          NY           10010
  Charles B. Johnson                                           One Franklin Parkway                                            San Mateo         CA           94403-1906
  Charles Breleur                                              Address Redacted
  Charles City County Public
  Schools                                                      10035 Courthouse Rd                                             Charles City      VA           23030
  Charles Mullennix                                            Address Redacted
  Charleston Area Regional
  Transportation Authority                                     5790 Casper Padgett Way                                         North Charleston SC            29406

  Charleston Area Regional
  Transportation Authority (CARTA)                             5790 Casper Padgett Way                                         N. Charleston     SC           29406
                                                               125 Wappoo Creek Drive,
  Charleston Engineering                                       Building B                                                      Charleston        SC           29412
                                                                                                                               Charlotte Court
  Charlotte County Public Schools                              PO Box 790                                                      House             VA           23923
  Charlotte Douglas International
  Airport                            Attn Elizabeth Smithers   5601 Wilkinson Boulevard                                        Charlotte         NC           28208
  Charlton Machado                                             Address Redacted
  Charter Communications
  Operating, LLC                                               12405 Powerscourt Drive                                         St. Louis         MO           63131
  CHB Restoration LLC DBA
  SERVPRO of West Greenville
  County                                                       225 W Stone Avenue                                              Greenville        SC           29609
  Chee Wah Chin                                                Address Redacted
  ChemTel, Inc.                                                1305 N. Florida Ave.                                            Tampa             FL           33602
  Chen, David                                                  Address Redacted
  Chen, Hsin Yi                                                Address Redacted
  CHEN, JIAN                                                   Address Redacted
  Chen, Tseng                                                  Address Redacted
  Chen, Yale                                                   Address Redacted
  Chenangro Farm and Industrial
  Supply                                                       431 E Hill rd                                                   Sherburne         NY           13460
  Cheng, Kar Chun                                              Address Redacted
  Chereti Trevino, Angel                                       Address Redacted




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  CHERETI TREVINO, ANGEL
  MARIO                                                      Address Redacted
                                                             127 CHEROKEE BOYS
  Cherokee Boys Club, Inc.                                   CLUB LOOP                                                      CHEROKEE       NC           28719
  Cherokee Boys Club, Inc.                                   PO BOX 507                                                     CHEROKEE       NC           28719
  Cherokee Nation, Inc                                       PO Box 948                                                     Tahlequah      OK           75564
  Cheryl Cromartie                                           Address Redacted
                                   DBA Cheryl Davis
  Cheryl Davis                     Presentation Design+      Address Redacted
  Chess, Herman                                              Address Redacted
  Chesterfield County Public
  Schools                                                    10201 Courthouse Road                                          Chesterfield   VA           23832
  Cheung, Clive                                              Address Redacted
  Chevalier, Casey                                           Address Redacted
  Chevalier, Eric                                            Address Redacted
  Chew, Aaron                                                Address Redacted
  Chia Jen Lucia Hsieh                                       Address Redacted
  Chiang, Megan                                              Address Redacted
  Chicago Transit Authority        Sanja Noble               567 W. Lake Street                                             Chicago        IL           60661
                                                             567 West Lake Street, 2nd
  Chicago Transit Authority                                  Floor Bid Office                                               Chicago        IL           60661
  Chicago Transit Authority                                  567 W. Lake Street                                             Chicago        IL           60661
  Chicago Transit Authority                                  PO Box 94434                                                   Chicago        IL           60690-4434

  Chicago Watermark Corporation    Chicago Watermark Company 455 W 37th Street              1018                            New York       NY           10018
  Chicago Youth Programs, Inc.                               5350 S. Prairie                                                Chicago        IL           60615
  Chick, Zinjue                                              Address Redacted
  Childress Jr., Terry                                       Address Redacted
  Chip Stock LLC                                             1013 Centre Rd                                                 Wilmington     DE           19805
  Chisom, Curtis                                             Address Redacted
  CHI-WEI TU                                                 Address Redacted
  Chmunevich, Pavel                                          Address Redacted
  Cho, Eun                                                   Address Redacted
  Cho, Johnny                                                Address Redacted
  Choice, Francell                                           Address Redacted
  Choice, Pinkney                                            Address Redacted
  Chowbey, Anand                                             Address Redacted
  Chris Hackett                                              Address Redacted
  Chris Mandrell General Manager
  Citibus                                                    801 Texas Avenue                                               Lubbock        TX           79401
                                                                                                                                                                     United
  Chris Wood Light Ltd             Daisy Russell             6 Wallis Court                                                 Mildenhall                  IP28 7DD     Kingdom
  Christian J. Williams                                      Address Redacted
  Christian Michael                                          Address Redacted


  Christian Ruoff                                            Address on File



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                                    MGMT ACCOUNTANT                                                                                                                          United
  Christie & Grey Ltd               Marianne Brown               Morley Road                      Tornbridge                      Kent                          TN9 1RA      Kingdom
                                    VP NORTH AMERICA                                                                                                                         United
  Christie & Grey Ltd               Matthew Coombs               Morley Road                                                      Tornbridge                    TN9 1RA      Kingdom
  Christine Starzynski                                           Address Redacted
  Christopher E. Cooper                                          Address Redacted
  Christopher Hunker                                             Address Redacted
  Christopher Kim                                                Address Redacted
  Christopher Kohler                Riparian Studios             Address Redacted
  Christopher L. Hylton                                          Address Redacted
  Christopher P McLaughlin          C. McLaughlin                Address Redacted
  Christopher Paul Hutton                                        Address Redacted
  Christopher Prentice              DBA CP Recruiting            Address Redacted
  Christopher Summers                                            Address Redacted
  Christopher Taylor                                             Address Redacted
  Christy or Timothy Swaw                                        Address Redacted
  CHRITTO, Inc.                                                  271 17th St NW                   Suite 1750                      Atlanta          GA           30363
  Chroma Systems Solutions, Inc.                                 19772 Pauling                                                    Foothill Ranch   CA           92610
  Chuantao Wang (Husband) and       Chuantao Wang and Zhongyi
  Zhongyi Qiu (Wife)                Qiu                       Address Redacted

  CHUBB - Eqip Legal Solutions                                   1133 Avenue of the Americas                                      New York         NY           10036
  Chubb Bermuda Insurance Ltd                                    Chubb Bldg                  17 Woodbourne Ave                    Hamilton                      HM 08        Bermuda

  Chubb Group of Insurance Co.                                   1133 Avenue of the Americas                                      New York         NY           10036
  Chung-Fu Yang                                                  Address Redacted
  Church, Kevin                                                  Address Redacted
  Church, Ross                                                   Address Redacted
  Cigna Health and Life Insurance
  Co.                                                            Dept 59                                                          Denver           CO           80291
  Cihad Sigindere                                                Address Redacted
  CIMA Canada Inc.                                               600-3400 Souvenir Blvd                                           Laval            QC           H7V 3Z2      Canada
  Cincinnati Test Systems, Inc.                                  10100 Progress Way                                               Harrison         OH           45030
  Cindy B Garfinkel                                              Address Redacted
                                    DBA Cintas Fire Protection
  Cintas Corp 2                     Loc #19                      4320 E. Miraloma Ave.                                            Anaheim Hills    CA           92807

  Cintas Corporation                Ann Dean, Litigation Paralegal 6800 Cintas Boulevard                                          Mason            OH           45040
  Cintas Corporation #216                                          LOC 216                        PO Box 630803                   Cincinnati       OH           45263
  Cintas Corporation #464                                          PO Box 29059                                                   Phoenix          AZ           85038
  Cintas Fire Protection Loc #F51                                  PO Box 636525                                                  Cincinnati       OH           45263
  Cintas First Aid & Safety                                        PO Box 631025                                                  Cincinnati       OH           45263
  Ciprian, Timothy                                                 Address Redacted
  Cipriano, Maria Rhoda                                            Address Redacted
  Cirba Solutions LLC                                              2115 Rexford Rd Suite 550                                      Charlotte        NC           28211
  Circle Graphics, Inc.                                            PO Box 561047                                                  Denver           CO           80256-1047
  Circuit Board Medics LLC                                         15C Pelham Ridge Drive                                         Greenville       SC           29615



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  Circuitlink LLC                    David Parr               300 Hylan Drive, Suite 6-202                                         Rochester        NY           14623

  Circuitlink LLC                    Lindsay Silcock          300 Hylan Drive, Suite 6-202                                         Rochester        NY           14623

  Circuitlink LLC                    Raji El-Kassouf          300 Hylan Drive, Suite 6-202                                         Rochester        NY           14623

  Circuitlink LLC                                             300 Hylan Drive, Suite 6-202                                         Rochester        NY           14623
  Circuits West, Inc.                                         PO Box 1528                                                          Longmont         CO           80502
  Cirrus Link Solutions LLC          Kurt Hochanadel          2445W 162nd Street                                                   Stilwell         KS           66085
  Cision US Inc                      James DeVor              12051 Indian Creek Court                                             Beltsville       MD           20705
                                                                                                                  130 E Randolph
  Cision US Inc                                               1 Prudential Plaza             7th Floor            Street           Chicago          IL           60601
  Cisneros, Federico                                          Address Redacted
  Citrix                                                      PO Box 50264                                                         Los Angeles      CA           90074
  Citrix Systems Inc.                David Rubenstein         851 W. Cypress Creek Rd.                                             Ft. Lauderdale   FL           33309
  Citrix Systems Inc.                David Rubenstein         PO Box 931686                                                        Atlanta          GA           31193-1686
  Citrix Systems Inc.                                         851 W. Cypress Creek Rd.                                             Ft. Lauderdale   FL           33309
  Citrix Systems Inc.                                         PO Box 931686                                                        Atlanta          GA           31193-1686
  City & County of San Francisco
  Municipal Railway                                           1 S Van Ness Ave, 8th Floor                                          San Francisco    CA           94103
  City and Borough of Juneau
  Capital Transit                    Richard Ross             10099 Bentwood Place                                                 Juneau           AK           99801
  City and Borough of Juneau,
  Alaska                                                      10099 Bentwood Place                                                 Juneau           AK           99801
                                                              1 Dr. Carlton B. Goodlett
  City and County of San Francisco                            Place                                                                San Francisco    CA           94102

  City and County of San Francisco                            P.O. Box 7425                                                        San Francisco    CA           94120
  City and County of San Francisco,                                                          1 Dr. Carlton B.
  State of California                                         City Hall                      Goodlett Place                        San Francisco    CA           94102-4685
  City of Albuquerque                                         100 First Street SW                                                  Albuquerque      NM           87102
  City of Albuquerque                                         PO Box 1293                                                          Albuquerque      NM           87103
  City of Albuquerque                                         PO BOX 1985                                                          Albuquerque      NM           87121
  City of Artesia                                             18747 Clarkdale Ave                                                  Artesia          CA           90701
  City of Artesia                                             18747 Clarkdale Avenue         Finance Department                    Artesia          CA           90701
  City of Arvin                     Arvin Transportation      165 Plumtree Drive                                                   Arvin            CA           93203
  City of Arvin                                               200 Campus Drive                                                     Arvin            CA           93203
  City of Asheville                                           Finance Department             PO Box 7148                           Asheville        NC           28802
  City of Asheville                                           PO Box 7148                                                          Asheville        NC           28802
  City Of Boulder                                             1101 Arapahoe Avenue                                                 Boulder          CO           80302
  City of Burlingame                                          1111 Trousdale Drive                                                 Burlingame       CA           94010
  City of Burlingame                                          501 Primrose Rd                                                      Burlingame       CA           94010
  City of Burlingame                                          PO Box 191                                                           Burlingame       CA           94011-0191
  City of Burlingame, Alarms                                  PO Box 191                                                           Burlingame       CA           94011-0191
  City of Charlotte Ap                                        PO Box 37979                                                         Charlotte        NC           28237-7979




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  City of Clemson Clemson Area
  Transit                                                            200 West Lane                                                      Clemson          SC           29631-1241
  City of Detroit                                                    100 Mack Ave                                                       Detroit          MI           48201
                                                                     2 Woodward Avenue, Site
  City of Detroit                                                    644                                                                Detroit          MI           48226
  City of Detroit                                                    2 Woodward Ave, Ste 1100                                           Detroit          MI           48226
  City of Detroit Department of                                      1245 E. Washington Ave.,
  Transportation(DDOT)                                               Suite 201                                                          Madison          WI           53703
  City of Detroit, Michigan             Attn Sandra Stahl            100 Mack Avenue                                                    Detroit          MI           48201
                                                                     Miller, Canfield, Paddock and 150 West Jefferson,
  City of Detroit, Michigan             c/o Marc N. Swanson          Stone, P.L.C.                 Suite 2500                           Detroit          MI           48226
                                        Attn Carly Androschuk, Legal                               3 Sir Winston Churchill
  City of Edmonton                      Services                     9th Floor, Chancery Hall      Square                               Edmonton         AB           T5J 2C3      Canada
                                        Benesch Friedlander Coplan                                 1313 North Market
  City of Edmonton                      & Aronoff LLP                Jennifer R. Hoover            Street, Suite 1201                   Wilmington       DE           19801-6101
  City of Edmonton                                                   12404 107 Street                                                   Edmonton         AB           T5G 2S7    Canada
  City of Edmonton                                                   2415-101 Street SW                                                 Edmonton         AB           T6X 1A1    Canada
                                                                                                   9803 102A Avenue
  City of Edmonton                                                   4th Floor, Century Place      NW                                   Edmonton         AB           T5J 3A3      Canada
                                                                     4th Floor Century Place 9803-
  City of Edmonton                                                   102                                                                Edmonton         AB           T5J 3A3      Canada
  City of Edmonton                                                   FS - Westwood                 12404 107 Street NW                  Edmonton         AB           T5G 2S7      Canada
  City of Edmonton                                                   PO Box 2359                                                        Edmonton         AB           T5J 2R7      Canada
  City of Edmonton                                                   PO Box 2600                                                        Edmonton         AB           T5J 5A1      Canada
  City of Everett                                                    PO Box 12130                                                       Everett          WA           98206
  City of Everett - Everett Transit     James Zerhire                3200 Cedar Street, Bldg #2                                         Everett          WA           98201
  City of Everett - Motor Vehicle
  Division                              James Zerhire                  3200 Cedar Street, Bldg #2                                       Everett          WA           98201

  City of Everett Purchasing Division                                  3200 Cedar Street                                                Everett          WA           98201
  City of Everett Washington                                           PO Box 12130                                                     Everett          WA           98206
  City of Fayetville                                                   433 Hay St                                                       Fayetteville     NC           28301
                                                                       2600 Fresno Street, Room
  City of Fresno                        Fresno Area Express            2156                                                             Fresno           CA           93721
                                                                       2600 Fresno Street, Room
  City of Fresno                        Purchasing Department          2156                                                             Fresno           CA           93721
  City of Fresno                                                       2223 G Street                                                    Fresno           CA           93706-1675
  City of Fresno                                                       2600 Fresno Street                                               Fresno           CA           93721

  City of Greensboro                    Greensboro Transit Authority   300 West Washington Street                                       Greensboro       NC           27401

  City of Greensboro                                                   300 West Washington Street                                       Greensboro       NC           27401
  City of Greensboro                                                   PO Box 3136                                                      Greensboro       NC           27402-3136
  City of Greensboro, NC                City Attorneys Office          300 W Washington St                                              Greensboro       NC           27401
                                                                       1007 N Orange Street Suite
  City of Greensboro, NC                Jeffrey M. Carbino             420                                                              Wilmington       DE           19801




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                                                                                                    Second Floor - City
  City of Greenville                                               200 West Fifth Street            Hall                                     Greenville         NC           27834
  City of Greenville                                               P. O. Box 2207                                                            Greenville         SC           29602
                                                                                                    attn Business
  City of Greer                                                    301 E Poinsett Street            Licensing                                Greer              SC           29651
  City of Guadalupe                                                918 Obispo Street                                                         Guadalupe          CA           93434
  City of Industry                                                 PO Box 3366                                                               City Of Industry   CA           91744
  City of Iowa City Transportation
  Services Department                                              1200 South Riverside Drive                                                Iowa City          IA           52240

  City of Irwindale                  Julie Salazar                 Building and Safety              ATTN Julie Salazar    16102 Arrow Highway Irwindale         CA           91706
  City of La Crosse                  (Municipal Transit Utility)   2000 Macro Drive                                                           La Crosse         WI           54601
  City of La Crosse                                                2000 Macro Drive                                                           La Crosse         WI           54601
  City of La Crosse                                                400 La Crosse Street                                                       La Crosse         WI           54601-3396
                                                                                                    Transit & Parking
  City of Lawrence                                                 6 E. 6th St.                     Manager                                  Lawrence           KS           66044
  City of Los Angeles                                              200 N. Spring Street                                                      Los Angeles        CA           90012
                                     Bill Howerton Deputy City
  City of Lubbock                    Manager                       PO Box 2000                     1625 13th Street                          Lubbock            TX           79457
  City of Madison                                                  1245 E Washington Ave           Suite 201                                 Madison            WI           53703
                                                                   210 Martin Luther King, Jr.
  City of Madison                                                  Boulevard                                                                 Madison            WI           53703
  City of Modesto                    Jeff Custer                   1609 8th St                                                               Modesto            CA           95354
  City of Philadelphia                                             Department of Revenue           PO Box 1393                               Philadelphia       PA           19105-1393
  City of Philadelphia / School                                    City of Philadelphia Law Dept - 1401 JFK Blvd, 5th
  District of Philadelphia           Attn Megan Harper             Tax and Revenue Un              Floor                                     Philadelphia       PA           19102
  City of Providence Deliquent
  Taxes                                                            PO Box 845312                                                             Boston             MA           02284
  City of Racine                                                   1900 Kentucky St.                                                         Racine             WI           53405
  City of Racine                                                   730 Washington Avenue            Belle Urban System                       Racine             WI           53403
  City of Racine, Wisconsin
  Purchasing Department                                            730 Washington Avenue                                                     Racine             WI           53403
  City of Raleigh                    Capital Area Transit          PO Box 590                                                                Raleigh            NC           27602-0590
  City of Raleigh                                                  222 W. Hargett Street                                                     Raleigh            NC           27601
  City of Raleigh Procurement
  Division                                                         PO Box 590                                                                Raleigh            NC           27602-0590
  City of Redding (RABA)                                           PO Box 496071                                                             Redding            CA           96049-6071
  City of Rochester Hills                                          1000 Rochester Hills Drive                                                Rochester Hills    MI           48309
  City of Rochester Hills Taxes                                    PO Box 94591                                                              Cleveland          OH           44101-4591
  City of Rochester Hills Treasury
  Division                                                         1000 Rochester Hills Drive                                                Rochester Hills    MI           48309
  City of Rock Hill                                                155 Johnston Street              P.O. Box 11706                           Rock Hill          SC           29731-1706
                                                                   757 S. Anderson Rd., Bldg.
  City of Rock Hill                                                103                                                                       Rock Hill          SC           29730
  City of Rock Hill                                                PO Box 11706                     155 Johnston Street                      Rock Hill          SC           29731-1706
  City of Rock Hill                                                PO Box 11706                                                              Rock Hill          SC           29731
  City of Rock Hill, SC                                            730 Washington Avenue                                                     Racine             WI           53403



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  City of Roseville                                                   311 Vernon St                                                  Roseville         CA           95678
                                                                      200 East Santa Ana Clara 5th
  City of San Jose                                                    Floor                                                          San Jose          CA           95113
                                                                      200 East Santa Clara St.,
  City of San Jose                                                    14th Floor                                                     San Jose          CA           95113-1905
  City of San Luis Obispo                                             919 Palm Street                                                San Luis Obispo   CA           93401
  City of San Luis Obispo                                             990 Palm Street                                                San Luis Obispo   CA           93401
  City of Sandy                                                       16610 Champion Way                                             Sandy             OR           97055
  City of Sandy                                                       39250 Pioneer Blvd                                             Sandy             OR           97055

  City of Sandy, Transit                                              Sandy Operations Center        16610 Champion Way              Sandy             OR           97055
  City of Santa Maria California                                      110 E. Cook St., Room #6                                       Santa Maria       CA           93454
  City of Santa Maria Public Works
  Department                                                          110 S. Pine Street                                             Santa Maria       CA           93458
  City of Santa Rosa                                                  45 Stony Point Road                                            Santa Rosa        CA           95401
  City of Santa Rosa                                                  55 Stony Point Rd                                              Santa Rosa        CA           95401
  City of Santa Rosa                                                  635 1st Street, 2nd Floor                                      Santa Rosa        CA           95404
  City of Seattle                      dba Seattle City Light (SCL)   PO Box 35178                                                   Seattle           WA           98124-5178
  City of Seneca                                                      221 E North First St                                           Seneca            SC           29679
                                                                                                 221 East North First
  City of Seneca                                                      PO Box 4773                Street                              Seneca            SC           29679
  City of Seneca                                                      PO Box 4773                                                    Seneca            SC           29679
  City of Shreveport                                                  1115 Jack Wells Blvd                                           Shreveport        LA           71107
  City of Shreveport                                                  PO Box 31109                                                   Shreveport        LA           71130
  City of Spokane                                                     808 W. Spokane Falls Blvd.                                     Spokane           WA           99201
  City of Tallahassee                                                 300 S Adams St 4th FL                                          Tallahassee       FL           32301
  City of Tallahassee                                                 300 South Adams Street     Mail Box A-28                       Tallahassee       FL           32301-1731
  City of Tallahassee                                                 300 South Adams Street                                         Tallahassee       FL           32301
  City of Tallahassee/StarMetro                                       300 South Adams Street                                         Tallahassee       FL           32301
  City of Tallahassee/StarMetro                                       555 Appleyard Dr                                               Tallahassee       FL           32304
  City of Temple City                                                 9701 Las Tunas Drive                                           Temple City       CA           97180
  City of Visalia                                                     315 East Acequia Avenue                                        Visalia           CA           93291
  City of Visalia                                                     707 W Acequia Ave                                              Visalia           CA           93291
  City of Visalia                                                     PO Box 4002                                                    Visalia           CA           93278
  City of Visalia - Transit Division                                  425 E. Oak Ave., Suite 301                                     Visalia           CA           92391
  City of Visalia - Transit Division                                  425 E. Oak Ave., Suite 301                                     Visalia           CA           93292
  City of Wichita                                                     777 E Waterman                                                 Wichita           KS           67202
  City of Wichita Kansas                                              455 N Main                                                     Wichita           KS           67202
                                                                      29799 SW Town Center Loop
  City of Wilsonville                                                 E                          Attn Accounts Payable               Wilsonville       OR           97070
                                                                      29799 SW Town Center Loop
  City of Wilsonville                                                 East                                                           Wilsonville       OR           97070-9454
  City View Bus Sales and Service
  Ltd                                  Bill Ingram                    1213 Lorimar Dr                                                Mississauga       ON           L5S 1M9      Canada
  City View Bus Sales and Service
  Ltd                                  Maragaret Grabowska            1213 Lorimar Dr                                                Mississauga       ON           L5S 1M9      Canada
  Cius, Romelson                                                      Address Redacted



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  Claigan Environmental Inc                                10 Brewer Hunt Way              Suite 200                             Ottawa            ON           K2K 2B5   Canada
  Claims-x-Change, LLC                                     14200 Midway Rd                 STE 106                               Dallas            TX           75244
                                                                                           14200 Midway Road,
  Claims-x-Change, LLC                                     CXC Plaza                       Suite 106                             Dallas            TX           75244
  Claire Wiley                    Eclectic Brew, LLC       Address Redacted
  Clarcorp Industrial Sales                                1209 Marlin Court                                                     Waukesha          WI           53186
  Clarence Lee                                             Address Redacted

  Clark Dynamic Test Laboratory Inc                        1801 Route 51                                                         Jefferson Hills   PA           15025
  Clark Hill PLC                                           500 Woodward Ave                Ste 3500                              Detroit           MI           48226
  Clark Material Handling
  International                                            700 Enterprise Drive                                                  Lexington         KY           40510
  Clark, Demorris                                          Address Redacted
  Clark, Gregory                                           Address Redacted
  Clark, Mallary                                           Address Redacted
  Clark, Michael                                           Address Redacted
  Classic Components Corp                                  23605 Telo Avenue                                                     Torrance          CA           90505
  Claudio, Sherry                                          Address Redacted
  Clausen Miller as attorneys for
  AXA                                                      27285 Las Ramblas               Suite 200                             Mission Viejo     CA           92691
  Clayton Construction Company
  Inc.                              Jay Taylor             PO Box 2998                                                           Spartanburg       SC           29304
  Clayton Controls, Inc.                                   2865 Pullman St.                                                      Santa Ana         CA           92705
  Clayton, Alyssa                                          Address Redacted
  Clean Tactics                                            122 Graceful Sedge Way                                                Simpsonville      SC           29680
  Clean Tactics LLC                 Kaitlynn Norton        122 Graceful Sedge Way                                                Simpsonville      SC           29680
  Clear Carbon and Components,
  Inc.                              Michael Donahue        108 Tupelo Street                                                     Bristol           RI           02809
  Clearwater Analytics, LLC                                777 W Main St                   Suite 900                             Boise             ID           83702
  Cleary Gottlieb Steen & Hamilton
  LLP                                                      One Liberty Plaza                                                     New York          NY           10006
  Cleary, Patrick                                          Address Redacted
  Clemenceau Jeanite                                       Address Redacted
  Clemens, Jeremy                                          Address Redacted
  Clements, Amanda                                         Address Redacted
  Clemson Area Transit                                     200 West Lane                                                         Clemson           SC           29631
                                                           Acct Receivable- Admin          108 Silas N. Pearman
  Clemson University              T3S Kelsey Reed          Services Building               Blvd                                  Clemson           SC           29634
                                                           Transportation Technology       Department of Civil
  Clemson University              T3S Kelsey Reed          Transfer Service                Engineering          202 Hugo Drive   Clemson           SC           29634
  Clemson University                                       108 Silas N. Pearman Blvd                                             Clemson           SC           29634
                                                           Department of Civil
  Clemson University                                       Engineering                     202 Hugo Drive                        Clemson           SC           29634
  Clemson University Foundation                            110 Daniel Drive                                                      Clemson           SC           29631
  Cleveland Ignition Co. Inc.                              600 Golden Oak Parkway                                                Cleveland         OH           44146
  Cleveland, Jeffrey                                       Address Redacted
  Clever Devices Ltd              ALISON MANASERI          300 Crossways Park Dr                                                 Woodbury          NY           11797



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  Clever Devices Ltd               AMY MILLER                 300 Crossways Park Dr                                         Woodbury         NY           11797
  Clever Devices Ltd               BLANK                      300 Crossways Park Dr                                         Woodbury         NY           11797
  Clever Devices Ltd                                          300 Crossways Park Dr                                         Woodbury         NY           11797
  Clickfold Plastics                                          2900 Westinghouse Blvd        #118                            Charlotte        NC           28273
  Cliffs Truck Service LLC         Cliff Fitzpatrick          401 McConnell Springs Rd                                      Lexington        KY           40504
                                   J. Scott Climate Comfort
  Climate Comfort Technologies     Technologies               4903 Oneida Street                                            Commerce City    CO           80022
  Climate Solutions                                           1402 3rd Ave.                 Suite 1305                      Seattle          WA           98101
  Cline Hose and Hydraulics, LLC   Kathy Simo                 PO Box 1188                                                   Mauldin          SC           29662
  Cline Hose and Hydraulics, LLC   Leslie Brooks              PO Box 1188                                                   Mauldin          SC           29662
  Cline Hose and Hydraulics, LLC                              PO Box 1188                                                   Mauldin          SC           29662
  Clint Davis                      DBA Collectiv3 LLC         Address Redacted
  Clippard, Robert                                            Address Redacted
  Clockify                         Attn Director or Officer   2100 Geng Road, Suite 210                                     Palo Alto        CA           94303
  Close, Dustin                                               Address Redacted
  Cloud Networx LLC                Robert Johnson             951 Dickson Rd                                                Campobello       SC           29322
                                                              5019 West Broad St, Suite
  Cloud Performer Inc              David Flick                236                                                           Sugar Hill       GA           30518
                                                              5019 West Broad St, Suite
  Cloud Performer Inc              Michael Boutin             236                                                           Sugar Hill       GA           30518
                                                              4200 E Skelly Drive, Suite
  Cloudaction, LLC                 Samir Kumar                1000                                                          Tulsa            OK           74135
  Cloudflare, Inc                                             101 Townsend Street                                           San Francisco    CA           94107
  Clover Consulting, Inc.          Beth Hunt                  PO Box 196                                                    Rockford         MI           49341
  Clover Consulting, Inc.                                     PO Box 196                                                    Rockford         MI           49341
  CMH Services                                                929 Berry Shoals Road                                         Duncan           SC           29334
  CML USA, Inc.                    Ercolina CML USA, Inc.     3100 Research Pkwy                                            Davenport        IA           52806
  CNP Technologies, LLC                                       806 Tyvola Rd                 Ste 102                         Charlotte        NC           28217
                                                              91302 N Coburg Industrial
  Coach Glass                      GINA NEAL                  Way                                                           Coburg           OR           97408
                                                              91302 N Coburg Industrial
  Coach Glass                      MEGAN FISHER               Way                                                           Coburg           OR           97408
                                                              91302 N Coburg Industrial
  Coach Glass                                                 Way                                                           Coburg           OR           97408
  Cobble, Jason                                               Address Redacted
  Cobblestone
  Promotions/IPromoteU                                        IPromoteU Dept CH 17195                                       Palatine         IL           60055
  COBE Construction Inc            Cathy Simon                498 Salmar Ave                                                Campbell         CA           95008
  CODICO                                                      Zwingenstrasse 6-8                                            Perchtoldsdorf                A-2380    Germany
  Cofta, Stephen                                              Address Redacted
  Cogency Global Inc.                                         122 E. 42nd St.               18th Floor                      New York         NY           10168
  Cogency Global Inc.                                         725 SW Higgins Ave            Suite C                         Missoula         MT           59803
  Coggins, Isaac                                              Address Redacted
  Cognex Corporation                                          1 Vision Drive                                                Natick           MA           01760
  Coherix Inc.                                                3980 Ranchero Drive                                           Ann Arbor        MI           48108
  Coilcraft Incorporated                                      1102 Silver Lake Road                                         Cary             IL           60013
  COING, Inc                       Clockify                   2100 Geng Road                suite 210                       Palo Alto,       CA           94303



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  Coit Services, Inc.                                            897 Hinckley Road                                                Burlingame         CA           94010
  Colby Laird                                                    Address Redacted
  Cole, Amanda                                                   Address Redacted
  Coleman, Curtis                                                Address Redacted
  Coligos LLC                          James Brian Jones         4117 Hilsboro Pike              Suite 103-211                    Nashville          TN           37215
  Colin Read                                                     Address Redacted
  Colletti, Andrew                                               Address Redacted
  Colletti, Andrew                                               Address Redacted
  Collier, William                                               Address Redacted
  Colliers International Greater Los
  Angeles, Inc.                                                  2855 E. Guasti Rd. Suite 401                                     Ontario            CA           91761

  Collins Bus                                                    415 W6th                                                         South Hutchinson KS             67505
  Collins, Stuart                                                Address Redacted
  Colmenares, Celeste                                            Address Redacted
  Colon, Ivan                                                    Address Redacted
  Colonial Engineering                                           6400 Corporate Drive                                             Portage            MI           49002

  ColoPeople                                                     2 Riverside Plaza Suite 2450                                     Chicago            IL           60606
  Colorado Association of Transit
  Agencies (CASTA)                     Joseph Parks              110 16th Street, Suite 604                                       Denver             CO           80202

  Colorado Department of Revenue Attn Bankruptcy Unit            PO Box 17087                                                     Denver             CO           80217-0087
                                                                                                 Bankruptcy Unit, Rm
  Colorado Department of Revenue                                 1881 Pierce St                  104                              Lakewood           CO           80214

  Colorado Department of Revenue                                 PO Box 17087                                                     Denver             CO           80217-0087
  Colorado Dept of Revenue       Attn Bankruptcy Unit            1881 Pierce St.                 Entrance B                       Lakewood           CO           80214
                                                                 16050 Table Mountain
  Colorado Electronic Hardware                                   Parkway                         Suite 200                        Golden             CO           80403

  Colorado Springs                                               1015 Transit Dr                                                  Colorado Springs CO             80903
  Colucci, Ethan                                                 Address Redacted
  Columbia-Willamette Clean Cities
  Coalition, Inc                                                 P.O. Box 721                                                     Tualatin           OR           97062
  Combs, Thomas                                                  Address Redacted
  Combs, Ty                                                      Address Redacted

  Comcast Cable Communications
  Management, LLC                      Kristine Ball             1900 S 10th Street                                               San Jose           CA           95112

  Comcast Cable Communications
  Management, LLC                                                PO Box 60533                                                     City of Industry   CA           91716-0533
  Comemso GmbH                         Anita Athanasas           Karlsbader Str. 13                                               Ostfildem                       73760      Germany
  Commerce Hose & Industrial
  Products                             DBA Hose King Riverside   4575 E. Washington Street                                        Commerce           CA           90040




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  Commercial Forms Recycler
  Supply                                                       PO Box 1859                                                                Brighton        MI           48116
  Commercial Furniture Interiors,
  LLC                                                          11520 Granite St Ste A                                                     Charlotte       NC           28273-6677
  Commercial Metals Company                                    2061 Nazareth Church Road                                                  Spartanburg     SC           29301

                                                               USE SUPPLIER - SPRAGUE                                Collections Center
  Commercial Vehicle Group          Joe Kelly                  DEVICES FOR POs        P.O. Box 15683                 Drive                Chicago         IL           60643

                                                               USE SUPPLIER - SPRAGUE                                Collections Center
  Commercial Vehicle Group          MARCIA PAYNE               DEVICES FOR POs        P.O. Box 15683                 Drive                Chicago         IL           60643

                                                               USE SUPPLIER - SPRAGUE                                Collections Center
  Commercial Vehicle Group          Sandran Davis              DEVICES FOR POs        P.O. Box 15683                 Drive                Chicago         IL           60643
                                                                                      Collections Center
  Commercial Vehicle Group                                     P.O. Box 15683         Drive                                               Chicago         IL           60643
  Commission of Public Works, City
  of Greer SC                                                  PO Box 216                                                                 Greer           SC           29652-0216
  Commission of Public Works, City
  of Greer, SC                                                 301 McCall Street                                                          Greer           SC           29650
  Committee to Protect AC Transit
  Services                                                     5940 College Avenue            Suite F                                     Oakland         CA           94618
  Commodity Components
  International , Inc.                                         75 Sylvan Street               C-108                                       Danvers         MA           01923
  Commonwealth of KY Department Legal Support Branch -
  of Revenue                       Bankruptcy                  PO Box 5222                                                                Frankfort       KY           40602

  Commonwealth of Massachusetts                                Mass. Dept of Revenue          PO Box 7065                                 Boston          MA           02204
                                                                                              4th Floor Riverfront
  Commonwealth of Pennsylvania     Bureau of Unclaimed Property 1101 South Front Street       Office Center                               Harrisburg      PA           17104-2516
                                   Division of Purchases &
  Commonwealth of Virgina          Supply                       1111 East Broad Street                                                    Richmond        VA           23219
  Commonwealth of Virgina                                       1111 East Broad Street                                                    Richmond        VA           23219
  Commonwealth of Virginia Dept of Division of Unclaimed
  the Treasury                     Property                     PO Box 2485                                                               Richmond        VA           23218-2485
  Communication Enterprises Inc.   Jay Cruz                     2315 Q Street                                                             Bakersfield     CA           93301
  Communication Enterprises Inc.   Wendy Philpott               2315 Q Street                                                             Bakersfield     CA           93301
  Communication Service Center,
  Inc.                             Alicia Ross                  4 Sulphur Springs Rd                                                      Greenville      SC           29617
  Communication Service Center,
  Inc.                             Ronnie Channell              4 Sulphur Springs Rd                                                      Greenville      SC           29617
  Communication Service Center,
  Inc.                                                          4 Sulphur Springs Rd                                                      Greenville      SC           29617
  Community Emergency              dba BERT - Emergency
  Management, Inc.                 Operations managment         14271 Jeffrey Road, #409                                                  Irvine          CA           92620
  Community Foundation of
  Greenville, Inc.                                              630 E. Washington Street      Suite A                                     Greenville      SC           29601



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  Community of Experts of Dassault
  Systemes Solutions                                             330 N Wabash Avenue            Suite 200                          Chicao           IL           60611
  Community of Experts of Dassault
  Systemes Solutions                                             8300 Solutions Center                                             Chicago          IL           60677
  Community Transportation
  Association of Virginia          Alexis Quinn                  PO Box 1026                                                       Bluefield        VA           24605
  Community Transportation
  Association of Virginia          Josh Baker                    PO Box 1026                                                       Bluefield        VA           24605
  Compass Components, Inc.         DBA Compass Made              48133 Warm Springs Blvd                                           Fremont          CA           94539
  Compass Group USA, Inc.                                        PO Box 50196                                                      Los Angeles      CA           90074-0196
  Complete Companies Inc.                                        1145 Salt Lick Creek Road                                         Pleasant Shade   TN           37145
  Component Central Inc                                          10700 Flower Ave                                                  Stanton          CA           90680
  Composites Canada                Div. of FFO Fiberglass Inc.   1100 Meyerside Drive                                              Mississauga      ON           L5T 1J4    Canada
  Composites Consolidation
  Company II LLC                   McClarin Plastics LLC         PO Box 83029                                                      Chicago          IL           60691
  Composites One LLC               Aaron Kuhn                    PO Box 409328                                                     Atlanta          GA           30384
  Composites One LLC               Marietta Darling              PO Box 409328                                                     Atlanta          GA           30384
  Composites One LLC               Mary Bravo                    955-10 National Parkway                                           Schaumburg       IL           60173
  Composites One LLC               Pam Purvis                    PO Box 409328                                                     Atlanta          GA           30384
  Composites One LLC                                             PO Box 409328                                                     Atlanta          GA           30384
  Compressed Air of CA                                           PO Box 4570                                                       Cerritos         CA           90703
  Compton, Ivy                                                   Address Redacted
                                                                                                301 W. Preston Street
  Comptroller of Maryland           Baltimore Taxpayer Service   State Office Bldg.             Room 409                           Baltimore        MD           21201-2373
                                    Revenue Administration
  Comptroller of Maryland           Center                       Taxpayer Service Center        110 Carroll St                     Annapolis        MD           21411-0001

  Comptroller of Maryland           Unclaimed Property Unit      301 W Preston St, Room 310                                        Baltimore        MD           21201-2385
  Comptroller of Maryland                                        110 Carroll St                                                    Annapolis        MD           21411-0001
  Comptroller of Maryland                                        80 Calvert St              PO Box 466                             Annapolis        MD           21404-0466
  Comptroller of Public Accounts                                 P.O. Box 149359                                                   Austin           TX           78714
  Compulab LTD.                                                  17 HaYetzira                                                      Yokneam          Elite        2069208    Israel
  Computer Design & Integration
  LLC                                                            500 Fifth Ave                  Suite 1500                         New York         NY           10110
  Computer Options, Inc.            DBA Convergent Computing     1450 Maria Lane, Suite 400                                        Walnut Credk     CA           94596
  Computershare Inc.                Mark Cano                    Dept CH 19228                                                     Palatine         IL           60055
  Computershare Inc.                Mark Cano                    150 Royall Street, Suite 101                                      Canton           MA           02021
  Computershare Inc.                                             150 Royall St                                                     Canton           MA           02021
  Computershare Inc.                                             150 Royall Street Suite 101                                       Canton           MA           02021
  Computershare Inc.                                             Dept CH 19228                                                     Chicago          IL           60055
  Compx Security Products (CSP)     JULIE GALLOWAY               PO Box 931717                                                     Atlanta          GA           31193
  Compx Security Products (CSP)     Sheila Lore                  PO Box 931717                                                     Atlanta          GA           31193
  COMTO Philadelphia Area
  Chapter                                                        PO Box 40746                                                      Philadelphia     PA           19107
                                    U.S. Healthworks Medical
  Concentra                         Group, P.C.                  28035 Avenue Stanford West                                        Valencia         CA           91355




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                                    U.S. Healthworks Medical
  Concentra                         Group, P.C.                PO Box 50042                                                     Los Angeles    CA           90074-0042
                                                               601 108th Avenue NE Suite
  Concur Technologies, Inc                                     1000                                                             Bellevue       WA           98004
                                                               62156 Collecions Center
  Concur Technologies, Inc                                     Drive                                                            Chicago        IL           60693
                                                               62156 Collecions Center
  Concur Technologies, Inc.         Concur Technologies, Inc   Drive                                                            Chicago        IL           60693

  Concur Technologies, Inc.                                    601 108th Ave NE Suite 1000                                      Bellevue       WA           98011
                                                               44755 S. Grimmer Blvd, Unit
  Condor Manufacturing, Inc.        Judy Yeh                   A                                                                Fremont        CA           94538
  Conduent State & Local Solutions,
  Inc.                              Ganesh Persaud             12410 Milestone Center Drive 5th Floor                           Germantown     MD           20876
  Conduent State & Local Solutions,
  Inc.                              Kurt Lord                  12410 Milestone Center Drive 5th Floor                           Germantown     MD           20876
  Conduent State & Local Solutions,
  Inc.                              Nancy Kramer               12410 Milestone Center Drive 5th Floor                           Germantown     MD           20876
  Conduent State & Local Solutions,
  Inc.                                                         12410 Milestone Center Drive 5th Floor                           Germantown     MD           20876
  Conference of Minority
  Transportation Officials          COMPTO Ft. Lauderdale      801 NW 33rd Street                                               Pompano Beach FL            33064
  ConnectAndSell, Inc.                                         50 University Avenue             Suite B310                      Los Gatos     CA            95030

  Connecticut Department of Labor                              200 Folly Brook Blvd                                             Wethersfield   CT           06109
  Connecticut Department of         Department of Revenue
  Revenue Services                  Services                   450 Columbus Blvd., Ste 1                                        Hartford       CT           06103
                                                               75 Charter Oak Ave., Suite 1 -
  Connecticut Green Bank                                       103                                                              Hartford       CT           06106
  Connecticut Office of the State
  Treasurer                         Unclaimed Property Unit    55 Elm Street                                                    Hartford       CT           06106
  Connelly Electric                                            40 S Addison Road                Suite 100                       Addison        IL           60101
  Connelly Electric Co                                         40 S Addison Rd ste 100                                          Addison        IL           60101
  Connelly, Dylan                                              Address Redacted
  Connery III, Robert                                          Address Redacted
                                                                                                1 Show Place,                                                            New
  Connexions Limited LLC            Brian Garrett              Level 1, Building 2              Addington                       Christchurch                8024         Zealand
                                                                                                1 Show Place,                                                            New
  Connexions Limited LLC                                       Level 1, Building 2              Addington                       Christchurch                8024         Zealand
  Connor W. Symons                                             Address Redacted
  Connors, Daniel                                              Address Redacted
  Connors, Reginald                                            Address Redacted

  Consat Canada Inc.                                           1414 Lasalle Blvd, Suite 203                                     Sudbury        ON           P3A 1Z6      Canada
  Conseillers En Management
  Marcon Inc.                                                  555 Boul Rene Levesque O.        #750                            Montreal       QC           H2Z 1B1      Canada
  Conselyea, Martin                                            Address Redacted



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  Consolidated Electrical                                        DBA Royal Industrial
  Distributors, Inc.                Royal Industrial Solutions   Solutions                       15139 Don Julian Rd              City of Industry   CA           91746
  Consolidated Electrical                                        DBA Royal Industrial
  Distributors, Inc.                Royal Industrial Solutions   Solutions                       PO Box 847124                    Los Angeles        CA           90084-7124
  Consolidated Parts Inc.           Celia                        2425 Scott Blvd                                                  Santa Clara        CA           95050
  Consolidated Parts Inc.                                        2425 Scott Blvd                                                  Santa Clara        CA           95050
  Consolidated Parts Inc. (CPI)                                  PO Box 16104                                                     Denver             CO           80216
  Consolidated Storage Company,
  Inc.                              DBA Equipto                  225 Main Street                 PO Box 429                       Tatamy             PA           18085
  Constangy Brooks Smith &
  Prophet LLP                                                    PO Box 102476                                                    Atlanta            GA           30368-0476
  Constangy Brooks Smith and
  Prophete LLP                      June Barnes                  PO Box 102476                                                    Atlanta            GA           30368-0476
  Constangy Brooks Smith and
  Prophete LLP                      June Barnes                  230 Peachtree St., Suite 2400                                    Atlanta            GA           30303
  Constangy, Brooks, Smith &
  Prophete, LLP.                                                 PO Box 102476                                                    Atlanta            GA           30368-0476
  Constantino Zavala, Cesar                                      Address Redacted

  Constellium Valais SA                                          Route des Laminoirs 15                                           Sierre             Valais       3960       Switzerland
  ConsuLab Educatech, Inc.                                       4210, rue Jean-Marchand                                          Quebec             QC           G2C 1Y6    Canada
  Consumers Energy                                               PO Box 740309                   Acct # 103028454975              Cincinnati         OH           45274-0309
  Container Solutions, Inc.                                      29850 Jones Ave.                                                 Ardmore            AL           35739
                                                                 No. 2, Xingang Road,
  Contemporary Amperex                                           Zhangwan Town, Jiaocheng
  Technology Co., Limited.          CATL                         District                                                         Ningde City                     352000       China
  Continental Automotive Systems
  US, Inc.                                                       PO Box 934675                   Reference 595405                 Allentown          PA           18106
  Continental Automotive Systems,                                Accounts Receivable
  Inc.                              John Hoffman                 Department                      6755 Snowdrift Road              Allentown          PA           18106
  Continental Automotive Systems,
  Inc.                              Peter A. Clark               1643 Barron Lake Road                                            Niles              MI           49120
  Continental Resources             LORI SMITH                   175 Middlesex Turnpike                                           Bedford            MA           01730
  Contour Hardening, Inc.           Kory Drake                   8401 Northwwest Blvd                                             Indianapolis       IN           46278
  Contra Costa Heating and Air
  Conditioning                                                   14676 Doolittle Dr.                                              San Leandro        CA           94577
  Contreras, Alex                                                Address Redacted
  Contreras, Mauricia                                            Address Redacted
  Contreras, Patrick                                             Address Redacted
  Controlled Motion Solutions                                    911 N. Poinsettia St.                                            Santa Ana          CA           92701
                                                                 300 S. Grand Avenue, Suite
  Convex Insurance UK Limited       Locke Lord LLP               2600                                                             Los Angeles        CA           90071
                                                                                                                                                                               United
  Convex Insurance UK Limited                                    52 Lime Street                                                   London                          EC3M 7AF     Kingdom
  Con-Way Freight Inc.                                           2211 Old Earhart Road                                            Ann Arbor          MI           48105
  Cook, Randal                                                   Address Redacted




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                                                                5901 South Belvedere
  Coolbox Protable Storage, LLC                                 Avenue                                                          Tucson             AZ           85706
  Cooley LLP                                                    3 Embarcadero Center            20th Floor                      San Francisco      CA           94111-4004
  Coolidge                                                      680 E. Houser Rd.                                               Coolidge           AZ           85131
  Cooper Jr., David                                             Address Redacted
  Cooper, LaTorre                                               Address Redacted

  Coordinating Council for Economic
  Development - South Carolina                                  1201 Main Street Suite 1600                                     Columbia           SC           29201
  Coplen, Erika                                                 Address Redacted

  Cordstrap USA Inc.                                            2000 S. Sylvania Av Ste 101                                     Sturtevant         WI           53177
  CoreSite                             General Counsel          1001 17th Street, Suite 500                                     Denver             CO           80202
  CoreSite, LLC                                                 1001 17th Street, Suite 500                                     Denver             CO           80202
                                                                3039 Premier Parkway, Suite
  CoreStates, Inc                      Brian Baird              700                                                             Duluth             GA           30097
                                                                3039 Premier Parkway, Suite
  CoreStates, Inc                      Josh Gatlin              700                                                             Duluth             GA           30097
                                                                3039 Premier Parkway, Suite
  CoreStates, Inc                      Towoanna Johnson         700                                                             Duluth             GA           30097
  Corey David Dahlquist                Corey Dahlquist          Address Redacted
  Corey Hopkins                                                 Address Redacted

  Corley Plumbing and Electric, Inc. Summer Terry               300 Ben Hamby Drive                                             Greenville         SC           29615

  Corley Plumbing and Electric, Inc.                            300 Ben Hamby Drive                                             Greenville         SC           29615
  Corn, Langston                                                Address Redacted
  Cornelio, Enrique                                             Address Redacted
  Cornell, Kevin                                                Address Redacted
  Cornerstone Consulting
  Organization LLC                                              15 N. Saint Clair St., 3rd FL                                   Toledo             OH           43604
  Cornerstone Printing, Inc.                                    50 Francisco Street             Suite 245                       San Francisco      CA           94133
  Cornerstone Staffing Solutions,
  Inc                                                           7020 Koll Center Pkwy           Suite 100                       Pleasanton         CA           94566
  Coronado, Hoover                                              Address Redacted
  Coroplast Fritz Muller GmbH &
  Co. KG                                                        271 Wittner strasse                                             Wuppertal                       42279        Germany
  Corporation for International
  Business                                                      217 Park Ave                                                    Barrington         IL           60010-4332
  Corrugated Containers Inc                                     1040 Rogers Bridge Road                                         Duncan             SC           29334
  Cortes, London                                                Address Redacted
  Cortes, Marco                                                 Address Redacted
  Cosgrove, Brian                                               Address Redacted
  Cost Accounting Recruiters                                    2300 Highland Village Rd.       Suite 800                       Highland Village   TX           75077
  Cote, Jean-Sebastien                                          Address Redacted
  Coulomb Solutions Inc.                                        235 Wright Brothers Ave                                         Livermore          CA           94551
  Coumans, Lindsay                                              Address Redacted



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            CreditorName              CreditorNoticeName                Address1                    Address2            Address3                   City        State       Zip       Country
  Coundoussias, Demetri                                        Address Redacted
  Counts, Shayla                                               Address Redacted
  County of Orange                Mark Nathan Sanchez          3160 Airway Ave                                                          Costa Mesa        CA           92626
  County of Orange                Mark Sanchez                 3160 Airway Ave                                                          Costa Mesa        CA           92626
  County of Orange, Department
  John Wayne                                                   3160 Airway Avenue                                                       Costa Mesa        CA           92626
  County of Orange, Department
  John Wayne                                                   Attn Melina McCoy              3160 Airway Avenue                        Costa Mesa        CA           92626
  County of Sacramento                                         9660 Ecology Ln.                                                         Sacramento        CA           95827
                                                               2300 County Center Drive,
  County of Sonoma                                             Site B100                                                                Santa Rosa        CA           95403
                                    NJ TransAction Conference &
  County Transportation Association Exp                         460 Elm Street                                                          Stirling          NJ           07980
                                    NJ TransAction Conference &                                                    159 East McClellan
  County Transportation Association Exp                         NJ TransAction Conference     c/o Michael Viera    Avenue               Livingston        NJ           07039
  Countywide Coalition to Fix Our
  Roads                                                         150 Post Street               Suite 405                                 San Francisco     CA           94108
                                                                                              1521 Concord Pike,
  Cousins Law LLC                 Scott D. Cousins             Brandywine Plaza West          Suite 301                                 Wilmington        DE           19803
  Covington, JoAnn                                             Address Redacted
  Cowart Awards, Inc              Diane Bayne                  PO Box 16417                                                             Greenville        SC           29606
  Cowart Awards, Inc              Kerri Cowart Awards, Inc     PO Box 16417                                                             Greenville        SC           29606
  Cowell, Wesley                                               Address Redacted
  Coyote Gear                                                  1087 S. CHATFIELD DR.                                                    Vail              AZ           85641
  Coyote International L.L.C      ERIN MURPHY                  PO Box 1350                                                              Colleyville       TX           76034
  Coyote International L.L.C      Karoline Young               PO Box 1350                                                              Colleyville       TX           76034
                                                               789 E. Eisenhower Parkway
  CPA Global Limited              Clarivate                    Suite 200                                                                Ann Arbor         MI           48108
  CPA Global Limited                                           PO Box 18263                                                             Palantine         IL           60055-8263
  CPA Global Support Services,
  LLC                                                          2318 Mill Road                 12th Floor                                Alexandria        VA           22314
  CPA Global Support Services,
  LLC                                                          3133 W. Frye Road              Suite 400                                 Chandler          AZ           85226
  CPA Global Support Services,
  LLC                                                          PO Drawer 2426                                                           Arlington         VA           22203
  CPAC Systems AB                 Nethaji Karuppasami          Box 217                                                                  Goteborg                       401 23       Sweden
  CPD Enterprises, LLC            Phillip Dell                 3340 Sisk St                                                             Las Vegas         NV           89108

  CRA International, Inc.         Charles River Associates, Inc. 200 Clarendon Street                                                   Boston            MA           02116
  Cradlepoint, Inc.                                              1100 W. Idaho Street                                                   Boise             ID           83702-5389
  Craig Auker                                                    Address Redacted
  Craig Coultman                                                 Address Redacted
  Craig H. Johnson & Associates                                  29 Tappan Lane                                                         Orinda            CA           94563
  Craig Lawson                                                   Address Redacted
  Crane 1 Services, Inc           c/o Joe Schivone               1027 Byers Rd                                                          Miamisburg        OH           45342
  Crane 1 Services, Inc.          Material Handling Solutions    1027 Byers Road                                                        Miamisburg        OH           45342
  Crawford Strategy, LLC                                         201 W. McBee Avenue          Suite 150                                 Greenville        SC           29601



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           CreditorName                   CreditorNoticeName                Address1                    Address2       Address3         City           State       Zip       Country
  Crawford, Ethan                                                 Address Redacted
  Crawford, Matthew                                               Address Redacted
  Crawley Jr., Roland                                             Address Redacted
  Crawley, Michael                                                Address Redacted
                                                                  50 California Street Suite
  CRC Group                           Jim Sipich, Josh Chassman   2000                                                            San Francisco   CA           94111

  CRC Scrap Metal Recycling LLC                                   PO Box 306                                                      Duncan          SC           29334
  Creative Manufacturing Solutions,
  Inc                                                             18400 Sutter Blvd                                               Morgan Hill     CA           95037
  Creative Safety Supply, LLC                                     8030 SW Nimbus Avenue                                           Beaverton       OR           97008
  Creform Corporation                                             PO Box 281485                                                   Atlanta         GA           30384
  Cremedy, Juoaquina                                              Address Redacted
  Crestlawn Truck Alignment Ltd                                   5870 Shawson Drive                                              Mississauga     ON           L4W 3W5      Canada

  CRG Financial LLC As Assignee                                   84 Herbert Avenue Building B-
  of S. Sterling Company                                          Suite 202                                                       Closter         NJ           07624
  Cromer Food Services, Inc                                       1851 Harris Bridge Road                                         Anderson        SC           29621
  Cromer Food Services, Inc                                       P.O Box 1447                                                    Anderson        SC           29622
  Cromer Food Services, Inc.                                      PO Box 1447                                                     Anderson        SC           29621
  Cross Company                       BETTY FIELDS                PO Box 601855                                                   Charlotte       NC           28260
  Cross Company                       SCOT TOSI                   PO Box 601855                                                   Charlotte       NC           28260
  Cross Company                       STEVE BURTON                PO Box 601855                                                   Charlotte       NC           28260
  Cross Company                                                   Lockbox                       PO Box 746408                     Atlanta         GA           30374-6408
  Cross Company                                                   PO Box 601855                                                   Charlotte       NC           28260
  Cross Technologies, Inc.            Ken Childress               4400 Piedmont Parkway                                           Greensboro      NC           27410
  Cross Technology, Inc.              Allison Lambert             305 Junia Avenue                                                Winston-Salem   NC           27127
  Cross Technology, Inc.              Zachariah Barker            305 Junia Avenue                                                Winston-Salem   NC           27127
  Crouch, Toni                                                    Address Redacted
  CrowdHealth Source LLC                                          247 Centre Street, Floor 4R                                     New York        NY           10013
  CrowdStrike, Inc                                                150 Mathilda Place            3rd Floor                         Sunnyvale       CA           94086
  Crowe, John                                                     Address Redacted
  Crowell, William                                                Address Redacted
  Crown Auto Transport Inc.                                       86104 Coastline Dr.                                             Yulee           FL           32097
  Crown Awards                                                    9 Skyline Drive                                                 Hawthorne       NY           10532
                                                                                                40 N. Main St., Ste.
  Crown Credit Company                Sebaly Shillito + Dyer      Attn Robert Hanseman          1900                              Dayton          OH           45423
  Crown Credit Company                                            40 S Washington St                                              New Bremen      OH           45869
  Crown Equipment Corporation         Andrew Parker               PO Box 641173                                                   Cincinnati      OH           45264
                                                                                                40 N. Main St., Ste.
  Crown Equipment Corporation         Sebaly Shillito + Dyer      Attn Robert Hanseman          1900                              Dayton          OH           45423
  Crown Equipment Corporation                                     1605 Poplar Drive                                               Greer           SC           29651
  Crown Equipment Corporation                                     44 S Washington Street                                          New Bremen      OH           45869
  Crown Nissan of Greenville          CHRIS FORD                  445 Atlanta South Parkway     Suite 135                         College Park    GA           30349
                                                                  17854 Chesterfield Airport
  Crown Packaging Corp                                            Road                                                            Chesterfield    MO           63005




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            CreditorName                CreditorNoticeName                  Address1                    Address2        Address3            City         State       Zip       Country
  Crum and Forster Specialty
  Insurance Company                                               305 Madison Avenue                                               Morristown       NJ           07960
  Cruz, Alex                                                      Address Redacted
  Cruz, Charlton                                                  Address Redacted
  Crystal Instruments Corporation   Tiffany Pan                   2090 Duane Ave                                                   Santa Clara      CA           95054
  Crystal Sewer & Water Inc                                       243 Stonehaven Way                                               Seneca           SC           29672
  CSA America, Inc.                 Victoria Lozada               34 Bunsen                                                        Irvine           CA           92618

  CSA America, Inc.                                               8501 E Pleasant Valley Road                                      Independenc      OH           44131
  CSC                                                             PO Box 7410023                                                   Chicago          IL           60674
                                                                  599 Lexington Avenue, 20th
  CSI GP LLC, as agent                                            Floor                                                            New York         NY           10022
  CSI I Prodigy Holdco LP                                         100 West 33rd Street                                             New York         NY           10001
  CSI Prodigy Co-Investment LP                                    100 West 33rd Street                                             New York         NY           10001
  CSI PRTA Co-Investment LP                                       100 West 33rd Street,                                            New York         NY           10001
  CSM Products, Inc                 TINA JUDY                     1920 Opdyke Court              Ste. 200                          Auburn Hills     MI           48326
  CSM Products, Inc                                               1920 Opdyke Court              Ste. 200                          Auburn Hills     MI           48326
  CT Corporation                                                  1999 Bryan Street              Suite 900                         Dallas           TX           75201
  CT Corporation                                                  300 Montvue Road                                                 Knoxville        TN           37919-5546
  CT Corporation                                                  PO Box 4349                                                      Carol Stream     IL           60197
  CTI/USA Inc                       Globe Ticket                  11 Eisenhower LN S.                                              Lombard          IL           60148
  CTI/USA Inc                       Globe Ticket                  350 Randy Road                 Suite 1                           Carol Stream     IL           60188
                                                                                                 350 Randy Road Suite
  CTI/USA Inc                       Globe Ticket                  d/b/a Globe Ticket             1                                 Carol Stream     IL           60188
  CTOU Inc dba Carrier Transicold
  of Utah                           Henri Vanderbeek              5209 W 70050                                                     Salt Lake City   UT           84104
  Cubic Transportation Systems,
  Inc.                              ALICIA HUSCHER                400 California St.                                               San Francisco    CA           94101
  Cubic Transportation Systems,
  Inc.                              DEBORAH LINQUIST              400 California St.                                               San Francisco    CA           94101
  Cubic Transportation Systems,
  Inc.                              Debra Lindquist.              400 California St.                                               San Francisco    CA           94101
  Cubic Transportation Systems,
  Inc.                                                            400 California St.                                               San Francisco    CA           94101
  Cuellar Salinas, Jesus                                          Address Redacted
  Culafi, Abdi                                                    Address Redacted

  Cullen Western Star Trucks LTD.   Gary Harrison                 9300 192nd Street                                                Surrey           BC           V4N 3R8      Canada
                                    Carolina Water Specialties,
  Culligan of the Piedmont          LLC                           212 Cooper Lane                                                  Easley           SC           29642
  Cummins Inc.                      Cummins Sales and Service     260 Commercial Road                                              Spartanburg      SC           29303
  Cunningham, Deshundre                                           Address Redacted
  Cuny, Amy                                                       Address Redacted
  Curiel, Ricardo                                                 Address Redacted
                                                                  60 Washington St, Suite
  Current Trucking                  Electric Vehicle Sales        105G                                                             Morristown       NJ           07960
  Curry, Knisha                                                   Address Redacted



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            CreditorName                    CreditorNoticeName          Address1                    Address2        Address3           City          State      Zip      Country
  Curtis, Justin                                               Address Redacted
  Curtiss Wright Controls, Integrated
  Sensing Inc.                        Penny & Giles            210 Ranger Ave                                                  Brea             CA           92821
  Cushman & Wakefield Ltd.            Amy Ward                 161 Bay Street, Suite 1500                                      Toronto          ON           M5J 2S1   Canada
  Cushman & Wakefiled U.S., Inc                                1350 Bayshore Highway         Suite 900                         Burlingame       CA           94010
  Custom Glass Solutions Upper        ACCTG/PROFORMA INV Lori
  Sandusky, LLC                       Ellis                    12688 State Hwy 67                                              Upper Sandusky OH             43351
  Custom Glass Solutions Upper
  Sandusky, LLC                       REGINA CARPENTER         12688 State Hwy 67                                              Upper Sandusky OH             43351
                                      ACCTG/PROFORMA INV Lori
  Custom Glass Solutions, LLC         Ellis                    600 Lakeview Plaza Blvd       Suite A                           Worthington      OH           43085
                                      PROJECT ACCT MGR Kevin
  Custom Glass Solutions, LLC         McMillan                 600 Lakeview Plaza Blvd       Suite A                           Worthington      OH           43085
  Custom Glass Solutions, LLC         REGINA CARPENTER         600 Lakeview Plaza Blvd       Suite A                           Worthington      OH           43085
  Custom Glass Solutions, LLC                                  12688 State Hwy 67                                              Upper Sandusky   OH           43351
  Custom Glass Solutions, LLC                                  600 Lakeview Plaza Blvd       Suite A                           Worthington      OH           43085
  Custom Training Aids Inc.                                    2259 Third Street                                               La Verne         CA           91750
  Cutting Edge Composites Inc.                                 213 Jedburg Road                                                Summerville      SC           29483
                                                               No.31, Lane. 50, Sec. 3, Nan-
  Cymmetrik Enterprise Co., Ltd.                               Kang Rd.                                                        Taipei           Taiwan       115       Taiwan
  Cynergy Ergonomics, Inc.                                     13144 Barrett Meadows Dr.                                       Ballwin          MO           63021
                                      Pamco Printed Tape and
  Cypress Multigraphics LLC           Label Co., Inc.          8500 West 185th Street        Suite A                           Tinley Park      IL           60487
                                      Pamco Printed Tape and
  Cypress Multigraphics LLC           Label Co., Inc.          PO Box 1000                   Dept #005                         Memphis          TN           38148
                                      Pamco Printed Tape and
  Cypress Multigraphics, LLC          Label Co., Inc.          8500 W. 185TH Street          Unit A                            Tinley Park      IL           60477
  Cypress Pest Control, LLC                                    PO Box 16675                                                    Greenville       SC           29606
  Cyress Jam, Individually and on
  Behalf of Securities Litigation                                                            33 Whitehall Street,
  Class                               Adam M. Apton            Levi & Korsinsky, LLP         17th Floor                        New York         NY           10004
  D&C Fabrication, LLC                DBA L&L Fabricating      15263 Wheeler Road                                              Legrange         OH           44050
  D&L Engineering                                              264 Emanuel Ln                                                  Kirksey          KY           42054-9502
  D&W Diesel Inc.                                              1503 Clark Street Rd.                                           Auburn           NY           13021
  D.C. Treasurer                                               PO Box 96019                                                    Washington       DC           20090-6019
  D.L.S. Electronic Systems, Inc.                              1250 Peterson Drive                                             Wheeling         IL           60090
  D2G Group LLC                       Displays2go              81 Commerce Drive                                               Fall River       MA           02720
  dacore Datenbanksysteme AG                                   Bavaria                       Hauptstrasse 106b                 Heroldsberg                   D-90562    Germany
  Dadyar, Labkhand                                             Address Redacted
  Daeshin Lee                                                  Address Redacted
                                                                                                                                                                       South
  Daeyong Industry Co.                                           115 Gongdan 3-daero          Siheung-si                       Gyeonggi-do                             Korea
  Dai, Xiangyang                                                 Address Redacted
  Dailey, Zeke                                                   Address Redacted
  Daimler AG                                                     Mercedesstrasse 120                                           Stuttgart        Germany      70372     Germany
  Daimler Purchasing Coordination
  Corp                                                           1 Mercedes Drive                                              Vance            AL           35490



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           CreditorName                 CreditorNoticeName            Address1                     Address2       Address3            City        State       Zip      Country
  Daimler Purchasing Coordination
  Corp                                                       4555 N. Channel Avenue                                          Portland        OR           97217

  Daimler Truck North America LLC                            148 Courtesy Road                                               Highpoint       NC           27260

  Daimler Truck North America LLC                            301 Hyatt Street                                                Gaffney         SC           29341

  Daimler Truck North America LLC                            PO Box 3849                                                     Portland        OR           97208

  Daimler Truck North America LLC                            PO Box 5800                                                     Troy            MI           48007
  Daimler Truck North America
  Meritor Heavy Vehicle Systems,
  LLC Triz Engineering Services
  America LLC                                                4555 N. Channel Avenue                                          Portland        OR           97217

  Daimler Truck North America, LLC Susan S. Black            2477 Deerfield Drive            HPC FM-1XA-LGL                  Fort Mill       SC           29715-6942
                                                             Bank of America Atlanta
  Daimler Trucks North America                               Lockbox                         PO Box 277953                   Atlanta         GA           30384-7953
  Daimler Trucks North America
  LLC                                                        1 Mercedes Drive                                                Vance           AL           35490
  Daimler Trucks North America
  LLC                                                        4555 N. Channel Avenue                                          Portland        OR           97217
  Daisuke Omi-Freeman                                        Address Redacted
  Dakota Software Corporation       Carla Taylor             1375 Euclid Ave, Suite 500                                      Cleveland       OH           44115
  Dakota Software Corporation       Carla Taylor             PO Box 18559                                                    Rochester       NY           14618
  Dakota Software Corporation       James Miller             1375 Euclid Ave, Suite 500                                      Cleveland       OH           44115
  Dakota Software Corporation       James Miller             PO Box 18559                                                    Rochester       NY           14618

  Dale F. Mieska and Karrie Mieske Karrie Mieske             Address on File
  Dale F. Mieske                   Dale Mieske               Address on File
  Dallas Area Rapid Transit                                  PO Box 840009                                                   Dallas          TX           75284-0009
  Dallas Area Rapid Transit
  Authority                                                  1401 Pacific Avenue                                             Dallas          TX           75202
  Dallas Area Rapid Transit
  Authority                                                  1401 Pacific Avenue                                             Dallas          TX           75266-7235
  Dallas Area Rapid Transit
  Authority                                                  PO Box 223805                                                   Dallas          TX           75222
  Dallas Area Rapid Transit
  Authority                                                  P.O. Box 660163                                                 Dallas          TX           75266
  Dallas Area Rapid Transit
  Authority                                                  P.O. Box 660163                                                 Dallas          TX           76266
  Dalmec, Inc.                                               469 Fox Ct.                                                     Bloomingdale    IL           60108
  Dalrymple, Jason                                           Address Redacted
  Damania, Zarvan                                            Address Redacted
  Damas, Sara                                                Address Redacted
  Dan Kamut                                                  Address Redacted
  Dana Incorporated                Jonathan Hurden           28001 Cabot Drive                                               Novi            MI           48377



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  Dana Limited                                            3939 Technology Drive                                            Maumee      OH           43537
                                 Greenhouse Grant
  Dana V Leusch                  Consulting, LLC          Address Redacted
  Danda, Soumya                                           Address Redacted
  Dandrea, Luc                                            Address Redacted
  Danfoss Power Solutions (US)
  Company                        Alberto Ceballos Uribe   2800 E 13th Street                                               Ames        IA           50010
  Danfoss Power Solutions (US)
  Company                        Amy Kitchen              2800 E 13th Street                                               Ames        IA           50010
  Danfoss Power Solutions (US)
  Company                        Andreas Michalski        2800 E 13th Street                                               Ames        IA           50010
  Danfoss Power Solutions (US)
  Company                        Cliff Stokes             2800 E 13TH St                                                   Ames        IA           50010-8600
  Danfoss Power Solutions (US)
  Company                                                 2800 E 13th Street                                               Ames        IA           50010
  Dang Jr., Tuan                                          Address Redacted
  Dangler, Aaron                                          Address Redacted
  Daniel A Falcone                                        Address Redacted
  Daniel LaShea Johnson                                   Address Redacted
  Daniel R Wang                                           Address Redacted
  Daniel R. Revers                                        200 Clarendon St                 55th Floor                      Boston      MA           02116
  Daniel, Kewana                                          Address Redacted
  Daniels, Richard                                        Address Redacted
  Danjuma, Joshua                                         Address Redacted
  Danny Simpson                  DBA Bay Area Cleaning    Address Redacted
  Dante Love                                              Address Redacted
  Dantkale, Rohit                                         Address Redacted
  Dao, Duybao                                             Address Redacted
  Daphne L Anderson                                       Address Redacted
  Dara, David                                             Address Redacted
  Darade, Nilesh                                          Address Redacted
  Darius Hall                                             Address Redacted
  Darnell D. Law                                          Address Redacted
  Darren Imfeld                                           Address Redacted
  DART - Delaware Transit
  Corporation                                             900 Public Safety Boulevard                                      Dover       DE           19901-4503
  DART - Delaware Transit
  Corporation                                             P.O. Box 660163                                                  Dallas      TX           75202-7235
  Dassault Systemes Americas
  Corp                                                    175 Wyman St.                                                    Waltham     MA           02451-1223
  Dassault Systemes Americas
  Corp                                                    PO Box 415728                                                    Boston      MA           02241-5728
  Data Alliance Inc.             Simon Kingsley           420 W. International Street                                      Nogales     AZ           85621
  Data Center Solutions                                   588 Bellerive Road               Suite 1B                        Annapolis   MD           21409
  Data Center Solutions, Inc.                             888 Bellerive Road                                               Annapolis   MD           21409
  Data Weighing Systems, Inc.                             255 Mittel Dr                                                    Wood Dale   IL           60191
  Daughters of Rosie Inc.        Ezra Spier               1498 Rose St.                                                    Berkeley    CA           94702



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  Dave Zamora                    dba Ztech MFG, LLC         Address Redacted
  Davey Coach Sales LLC                                     7182 Reynolds Drive                                           Sedalia        CO           80135
  David A. Paquette                                         Address Redacted
  David Bajwa                                               Address on File
  David Buseman                                             Address Redacted
  David Davis                                               Address Redacted
  David Fosdick                                             Address Redacted
  David Han                                                 Address Redacted
  David K. Lee                                              Address Redacted
  David M Riegler                                           Address Redacted
  David Marsh                                               Address Redacted
  David Michael Vallaire                                    Address Redacted
  David Monaco                                              Address Redacted
  David Morgan                                              Address Redacted
  David P Clapp                                             Address Redacted
  David P Kuck                                              Address Redacted
  David Schaefer                 Stifel                     Address Redacted
  David Schaefer                                            Address Redacted
  David Watson                                              Address Redacted
  Davidson, Morghan                                         Address Redacted
  Davis, Adam                                               Address Redacted
  Davis, Benjamin                                           Address Redacted
  Davis, Dennis                                             Address Redacted
  Davis, Glenda                                             Address Redacted
  Davis, Jacob                                              Address Redacted
  Davis, Jay                                                Address Redacted
  Davis, Jonathan                                           Address Redacted
  Davis, William                                            Address Redacted
  Day Management Corporation     DBA Day Wireless Systems   4728 East 2nd Street          Suite 10                        Benicia        CA           94510
  Day Management Corporation     DBA Day Wireless Systems   PO Box 22169                                                  Milwaukie      OR           97269
  Day, Dylan                                                Address Redacted
  Day, Steven                                               Address Redacted
  DBK USA, Inc.                                             212 Northeast Drive                                           Spartanburg    SC           29303
  DC BLOX INC.                                              6 W Druid Hill Drive NE       Suite 400                       Atlanta        GA           30329
  DC Office of Finance and
  Treasury                       Unclaimed Property Unit    1101 4th St. SW, Ste. 800 W                                   Washington     DC           20024
  DC Office of Tax and Revenue                              1101 4th St SW #270                                           Washington     DC           20024
  DCC Corporation                                           7250 Westfield Avenue       Suite B                           Pennsauken     NJ           08110
  DCX, Inc                       Thomas Glogower            PO Box 9366                                                   Louisville     KY           40209
  DDB Unlimited, Inc.                                       2301 S. Highway 77                                            Pauls Valley   OK           73075
  De Bella Mechanical, Inc.      John Helm                  605 Nuttman Street                                            Santa Clara    CA           95054
  De La Riva, Hernan                                        Address Redacted
  De La Rosa, Arthur                                        Address Redacted
  de la Vega, Sabrina                                       Address Redacted
  De Lage Landen Financial
  Services, Inc.                                            PO Box 41602                                                  Philadelphia   PA           19102
  De Lange, Joseph                                          Address Redacted



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  De-Almeida, MYRIAM                                                 Address Redacted
  De-Almeida, Myriam                                                 Address Redacted
  Dean Knepp                                                         Address Redacted
  Dean Smith                                                         Address Redacted
  Dean, Glenn                                                        Address Redacted
  Dean, Kendrick                                                     Address Redacted
  Dean, Sharon                                                       Address Redacted
  Dearborn Crane & Engineering
  Co.                                                                1133 East Fifth Street                                                   Mishawaka       IN           46544
  Deborah C Gray                      Deborah Gray                   Address Redacted
  Debra Johnson                                                      Address Redacted
  Debra Pickett                                                      Address Redacted
  Decca Design                                                       476 S First Street                                                       San Jose        CA           95113
  Decisionpoint Systems, Inc.                                        23456 S. Pointe Drive          Unit A                                    Laguana Hills   CA           92653
  Decker Electric Inc.                Brandon Horsch                 4500 W Harry St                                                          Wichita         KS           67209
  Decker Electric Inc.                Brian Fair                     4500 Harry St                                                            Wichita         KS           67209
  Decker Electric Inc.                Joanie Estell                  4500 Harry St                                                            Wichita         KS           67209
  Decker Electric Inc.                                               4500 W Harry St                                                          Wichita         KS           67209
  Decosta, Susan                                                     Address Redacted
                                      CHECK ORDER STATUS
  Dedicated Micros, Inc.              CHECK ORDER STATUS             3855 Centerview Dr.            Suite 400B                                Chantilly       VA           22021
  Dedicated Micros, Inc.              JOHN BONSEE                    3855 Centerview Dr.            Suite 400B                                Chantilly       VA           22021
  Dedicated Micros, Inc.              MARIE NELSON                   3855 Centerview Dr.            Suite 400B                                Chantilly       VA           22021
  Dedicated Micros, Inc.                                             3855 Centerview Dr.            Suite 400B                                Chantilly       VA           22021
  Deep Three, Inc.                    Brimstone Fire Protection      17607 Rupert Rd                                                          Spencerville    IN           46788
  Deere and Company                                                  24275 Network Place                                                      Chicago         IL           60673-1242
  Defense Innovation Unit                                            230 RT Jones Rd                                                          Mountain View   CA           94043

  Deflecto LLC                        Eagle Plastics & Rubber Co.    PO Box 772651                                                            Detroit         MI           48277-2651
  Del Norte Unified School District                                  301 W. Washington Blvd.                                                  Crescent City   CA           95531
  Del Pilar, Exequiel                                                Address Redacted
  Del Toral Jr., Arturo                                              Address Redacted
  Delaplane, William                                                 Address Redacted
  Delaware Department of Finance      Office of Unclaimed Property   PO Box 8931                                                              Wilmington      DE           19899-8931

  Delaware Dept of Justice            Attorney General               Attn Bankruptcy Department     Carvel State Building   820 N French St   Wilmington      DE           19801

  Delaware Division of Revenue        Division of
  Bankruptcy Service                  Revenue/Bankruptcy Services 820 N French St 8th Floor         Carvel State Building                     Wilmington      DE           19801
  Delaware Secretary of State         Division of Corporations    Franchise Tax                     PO Box 898                                Dover           DE           19903
  Delaware Secretary of State                                     PO Box 5509                                                                 Binghamton      NY           13902-5509
                                                                  820 Silver Lake Blvd., Suite
  Delaware State Treasury                                         100                                                                         Dover           DE           19904
  Delaware Transit Authority                                      119 Lower Beech St                                                          Wilmington      DE           19805
                                                                  119 Lower Beech Street,
  Delaware Transit Corporation                                    Suite 100                                                                   Wilmington      DE           19805
  Delaware Transit Corporation                                    2 N Monroe Street                                                           Wilmington      DE           19801



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  Delaware Transit Corporation                                    900 Public Safety Blvd                                         Dover          DE           19901
  Delgado, Maximo                                                 Address Redacted
  Dell Financial Services L.L.C.                                  One Dell Way                                                   Round Rock     TX           78682-0001
  Dell Financial Services LLC         AJ Robertson                One Dell Way                                                   Round Rock     TX           78682-0001
  Dell Financial Services LLC         Michael Jorgeson            One Dell Way                                                   Round Rock     TX           78682-0001
                                                                                                 PAYMENT
                                                                                                 PROCESSING
  Dell Financial Services LLC                                     PO Box 5292                    CENTER                          Carol Stream   IL           60197
  Dell Marketing L.P                  c/o Dell USA L.P.           PO Box 534118                                                  Atlanta        GA           30353-4118
  Dell Marketing L.P                  Christopher Bussie          c/o Dell USA L.P.              PO Box 534118                   Atlanta        GA           30353-4118
  Dell Marketing L.P                  Corey Lennier               c/o Dell USA L.P.              PO Box 534118                   Atlanta        GA           30353-4118
  Dell Marketing L.P                  Danny Wanner                c/o Dell USA L.P.              PO Box 534118                   Atlanta        GA           30353-4118
  Dell Marketing L.P                                              PO Box 534118                                                  Atlanta        GA           30353-4118
  Dell Marketing, LP                                              One Dell Way                                                   Round Rock     TX           78682
  Dellinger Enterprises, LTD          CHAD BALLARD                759 Cason Street               PO Box 627                      Belmont        NC           28012
  Dellinger Enterprises, LTD          Chris Isenberg              759 Cason Street               PO Box 627                      Belmont        NC           28012
  Dellinger Enterprises, LTD          GREG DELLINGER              759 Cason Street               PO Box 627                      Belmont        NC           28012
                                      Gregory D Dellinger & Teresa
  Dellinger Enterprises, Ltd.         Edge                         759 Cason Street              PO Box 627                      Belmont        NC           28012
  Deloach, Michael                                                 Address Redacted
  Delta Dental of Missouri                                         PO Box 790320                                                 Saint Louis    MO           63179

  Delta Electronics (Americas) Ltd.                               46101 Fremont Blvd.                                            Fremont        CA           94538
  Delta Services, LLC                                             4676 Jennings Ln.                                              Louisville     KY           40218
  Delta T Corporation                 ISABELLE MARTINEZ           2425 Merchant Street           PO Box 11307                    Lexington      KY           40575
  Delta T Corporation                                             2425 Merchant Street           PO Box 11307                    Lexington      KY           40575
  Delta Wireless, Inc.                                            1700 W. Fremont Street                                         Stockton       CA           95203
  Deluca, David                                                   Address Redacted

  Deluxe Small Business Sales, Inc.                               PO Box 742572                                                  Cincinnati     OH           45274
  Demler, Armstrong & Rowland,
  LLP                                                             4500 E. Pacific Coast Hwy      Suite 400                       Long Beach     CA           90804
  Democratic Party of Orange
  County                                                          1916 W. Chapman Ave                                            Orange         CA           92868
  Dempsey, Anthony                                                Address Redacted
  Denim Video LLC                   Sylvia Gorajek                3334 Brittan Ave               Suite 10                        San Carlos     CA           94070
  Denis Boulay                                                    Address Redacted
  Denise Cheng                                                    Address Redacted
  Dennis Gomez, Nicolas                                           Address Redacted
  Dennis Michael Helms                                            Address Redacted
  Dennis Orr                                                      Address Redacted
  Denominator Company, The                                        744 Main Street                PO Box 5004                     Woodbury       CT           06798
                                    ADMINISTRATIVE                233 S. Wacker Drive, Suite
  Dentons US LLP                    ASSISTANT Lynette Wilson      5900                                                           Chicago        IL           60606
                                                                  233 S. Wacker Drive, Suite
  Dentons US LLP                      Corianne Laue               5900                                                           Chicago        IL           60606
  Denver Metal Finishing                                          3100 E. 43rd Ave                                               Denver         CO           80216



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  Department of Administrative                                  200 Piedmont Avenue, S.E,
  Services                                                      Suite 1308                    West Tower                         Atlanta          GA           30334-9010
  Department of Administrative
  Services                                                      200 Piedmont Ave, Ste 1308 West Tower                            Atlanta          GA           30334
  Department of Administrative,
  State Purchasing Division                                     200 Piedmont Ave, Ste 1308 West Tower                            Atlanta          GA           30334

  Department of Enterprise Services                             PO Box 41460                                                     Olympia          WA           98504-1460
  Department of General Services,
  Procurement Division                                          707 3rd Street                                                   West Sacramento CA            95605
  Department of Health and Human                                200 Independence Avenue,
  Services Centers                  Pay.gov                     S.W.                                                             Washington       DC           20201

  Department of HomeLand Security                               1625 Rock Mountain Blvd # Q                                      Stone Mountain   GA           30083
  Department of Licensing
  Washington                                                    PO Box 9020                                                      Olympia          WA           98507
  Department of Revenue Services -
  State of Connecticut                                          PO Box 2974                                                      Hartford         CT           06104
  Department of Revenue State of
  Washington                                                    1500 Jefferson Building                                          Olympia          WA           98501
  Department of Revenue State of
  Washington                                                    707 3rd Street                                                   West Sacramento CA            95605
  Department of Revenue State of
  Washington                                                    Business License Service      PO Box 34456                       Seattle          WA           98124-1456
  Department of Revenue State of                                Department of Enterprise
  Washington                                                    Services                      PO Box 41411                       Olympia          WA           98504-1411
  Department of the Treasury -     Centralized Insolvency
  Internal Revenue Service         Operation                    PO Box 7346                                                      Philadelphia     PA           19101-7346
  Department of the Treasury -                                  George Hyde (G. H.) Fallon
  Internal Revenue Service                                      Federal Building              31 Hopkins Plaza                   Baltimore        MD           21201
  Department of the Treasury,                                   1500 Pennsylvania Avenue,
  Internal Revenue Service                                      NW                                                               Washington       DC           20220
  Department of Transportation and                              1245 E. Washington Ave.,
  Public Works                                                  Suite 201                                                        Madison          WI           53703
  Department of Transportation
  Transit Division                                              201 South Jackson Street                                         Seattle          WA           98104
  Depco Pump Company                                            2145 Calumet Street                                              Clearwater       FL           33765
  Depco Pump Company                                            PO Box 6820                                                      Clearwater       FL           33758
  Dept of Revenue Washington
  State                            Unclaimed Property Section   PO Box 34053                                                     Seattle          WA           98124-1053
                                   Commonwealth of                                            One Ashburton Pl 12th
  Dept of the State Treasurer      Massachusetts                Unclaimed Property Division   Fl                                 Boston           MA           02108-1608
                                                                FIAT06, 10/F Shing YIP Ind    9-21Shing YIP Street
  Depu Electronics Co. Limited                                  Bldg                          KWUN Tongkowloon                   Hongkong                      999077       China
  Derek N Walton                   DBA L F Research             Address Redacted
  Derek Wong                                                    Address Redacted
  Derich, Zackery                                               Address Redacted



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  DeRosa, James                                             Address Redacted
  Derosher Eugene Price                                     Address Redacted
  Derrick Pendergrass                                       Address Redacted
  Des Moines Area Regional Transit
  Authority                        Michael Gulick           1100 DART Way                                                  Des Moines      IA             50309
  Des Moines Area Regional Transit
  Authority                                                 620 Cherry Street                                              Des Moines      IA             50309
  Des Moines Area Regional Transit                          Operations Manager -
  Authority                                                 Maintenance                    1100 DART Way                   Des Moines      IA             50309
  Desco Industries Inc.                                     3651 Walnut Ave                                                Chino           CA             91710
  Deshler C. Mansel                Greenville Deputy        Address Redacted
  Deshmukh, Mahesh                                          Address Redacted

  Design & Assembly Concepts, Inc.                          10949 E Crystal Falls Pkwy                                     Leander         TX             78641
  Design Tool, Inc.                                         1607 Norfolk Place SW                                          Conover         NC             28613
  Desman Corp                                               5575 Dobbins Bridge Rd                                         Anderson        SC             29626
  Desmond Lewis                                             Address Redacted
  Detroit Department of
  Transportation                                            5149 Jean St.                                                  Detroit         MI             48213
  Deufol Sunman, Inc.              Andrew                   924 South Meridian                                             Sunman          IN             47041
  Deufol Sunman, Inc.              James Hudgins            924 South Meridian                                             Sunman          IN             47041
  Deufol Sunman, Inc.              Mainerd Shoemaker        924 South Meridian                                             Sunman          IN             47041
  Deufol Sunman, Inc.                                       924 South Meridian                                             Sunman          IN             47041
  Deutsche Messe AG                                         Messegelande Hannover                                          Hanover                        30521        Germany
  Deven Covington                                           Address Redacted
  Devin Domnick                                             Address Redacted
  Devin Ikenberry                                           Address Redacted
  DeVita & Associates, Inc.        Reggie Reynolds          1150 E. Washington Street                                      Greenville      SC             29601
  DeVita & Associates, Inc.                                 PO Box 1596                                                    Greenville      SC             29602
  Dew, Mathilda                                             Address Redacted
  DEWESoft, LLC                    Jake Rosenthal           10730 Logan St                                                 Whitehouse      OH             43571
  DeWinter Group, Inc.                                      1919 S. Bascom Avenue          Suite 250                       Campbell        CA             95008
  Dhairya Pandya                                            Address Redacted
  Dhami, Narinder                                           Address Redacted
  DHL Express, Inc.                                         1408 Courtesy Road                                             High Point      NC             27260
                                                            16592 Collections Center
  DHL Express, Inc.                                         Drive                                                          Chicago         IL             60693
                                                            14076 Collections Center
  DHL Global Forwarding                                     Drive                                                          Chicago         IL             60693
  DHoore, Michael                                           Address Redacted
  Dialight Corporation           JOHN VINES                 Lock Box #S-7055               P. O. Box 8500                  Philadelphia    PA             19178-7055
  Dialight Corporation           KATHY SMITH                Lock Box #S-7055               P. O. Box 8500                  Philadelphia    PA             19178-7055
  Dialight Corporation           KRISTA DEL GRASSO          Lock Box #S-7055               P. O. Box 8500                  Philadelphia    PA             19178-7055
  Dialight Corporation                                      Lock Box #S-7055               P. O. Box 8500                  Philadelphia    PA             19178-7055

  Diamond Manufacturing                                     2330 Burlington Street                                         North Kansas City MO           64116
  Diamond Manufacturing, Inc.    Todd Cull                  2330 Burlington Street                                         Kansas City       MO           64116



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                                                                 Suite 13 Ashford House
  Diamond Point International                                    Beaufort Court Sir Thomas                                                                                         United
  (Europe) Ltd                                                   Longley Road                                                        Rochester                        ME2 4FA      Kingdom
  Diamond Springs Water                                          PO Box 667887                                                       Charlotte           NC           28266
  Diana Arbouet                                                  Address Redacted
  Diaz, Anthony                                                  Address Redacted
  Diaz, Jaime                                                    Address Redacted
  Diaz, Simon                                                    Address Redacted
  Dice Career Solutions, Inc                                     4939 Collections Center Dr                                          Chicago             IL           60693
                                    Cox Automotive Mobility Fleet
  Dickinson Fleet Services, LLC     Services                      4709 West 96th Street                                              Indianapolis        IN           46268

  Dickinson Wright PLLC             M. Kimberly Stagg            424 Church Street, Suite 800                                        Nashville           TN           37219

  Dickinson Wright PLLC                                          424 Church Street, Suite 800                                        Nashville           TN           37219
  Dickinson, John                                                Address Redacted
  Diego Garcia                                                   Address Redacted
  Dietz, Ryan                                                    Address Redacted
  Digabit, Inc DBA Documoto                                      800 Englewood Pkwy               Suite C201                         Englewood           CO           80110
                                                                 2801 North Thanksgiving
  DigiCert, Inc.                    Tyrell Schmoe                Way                              # 500                              Lehi                UT           84043-5596
  Digi-Key Corporation                                           701 Brooks Ave. South            P.O. Box 250                       Thief River Falls   MN           56701-0677
  Digi-Key Electronics                                           701 Brooks Ave S                 PO Box 250                         Thief River Falls   MN           56701
  Digital Recorders, Inc.                                        4018 Patriot Dr                  Suite 100                          Durham              NC           27703
  Digitize Designs, LLC                                          400 Birnie St Suite i                                               Greenville          SC           29611
  DILAX Systems Inc.                Alexander Okapuu             406 - Desaulniers                Suite 406                          Saint-Lambert       QC           J4P 1L3    Canada
  DILAX Systems Inc.                SYLVAIN BESNER               406 - Desaulniers                Suite 406                          Saint-Lambert       QC           J4P 1L3    Canada
  DILIP H PATEL                                                  Address Redacted
  Dill Fabrication Co., Inc.                                     2595 Rutherford Road                                                Greenville          SC           29609
  Dillon Supply Company                                          440 Civic Boulevard                                                 Raleigh             NC           27610
  Dillon, Shane                                                  Address Redacted
  DILLON, SHANE                                                  Address Redacted
  DiMalanta, Emma                                                Address Redacted
  Dimplex Thermal Solutions, Inc.                                2625 Emerald Dr.                                                    Kalamazoo           MI           49001
  Dingre, Sayali                                                 Address Redacted
  Direct Resource Management,
  Inc.                                                           2375 Davis St.                                                      San Leandro         CA           94577
  Direct Scaffold Supply, LP                                     PO Box 301584                                                       Dallas              TX           75303-1584
  DIRECTV, LLC                                                   PO Box 105249                                                       Atlanta             GA           30348
                                                                 50421 E Russell Schmidt
  DisCom International              Lori Carr                    Boulevard                                                           Chesterfield        MI           48025
  DisCom International                                           200 Pier Ave, Suite 137                                             Hermosa Beach       CA           90254
  Dispense Works Inc.                                            4071 Albany Street                                                  McHenry             IL           60050
  Displayit Holdings, LLC           Michael Rector               4345 Hamilton Mill Road          Suite 100                          Buford              GA           30518
  District Department of                                                                          Office of Contracting
  Transportation                                                 55 M Street,7th Floor            and Procurement                    Washington          DC           20003




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              CreditorName             CreditorNoticeName            Address1                       Address2          Address3         City            State       Zip       Country
  District of Columbia, District
  Department of Transportation     Office of the Director   55 M Street, SE, 7th Floor                                           Washington       DC           20003
  District of Columbia, District
  Department of Transportation                              250 M St SE 7th Floor                                                Washington       DC           20002
  District Secretary San Mateo
  County Transit District                                   1250 San Carlos Avenue                                               San Carlos       CA           94070-1306
  Dittmaier Jr., Donald                                     Address Redacted
  Diversified Electronics Inc.                              309-C Agnew Drive                                                    Forest Park      GA           30297
  Divine Coaches Inc.                                       5491 Newport St                                                      Commerce City    CO           80022-4322
                                                                                            Pleasantburg Industrial
  Dixie Rubber & Plastics, Inc.    MARTIN BOSWELL           PO Box 6554                     Park                                 Greenville       SC           29606
                                                                                            Pleasantburg Industrial
  Dixie Rubber & Plastics, Inc.    NINA CORLEY              PO Box 6554                     Park                                 Greenville       SC           29606
                                                                                            Pleasantburg Industrial
  Dixie Rubber & Plastics, Inc.    Tanner Corley            PO Box 6554                     Park                                 Greenville       SC           29606
  Dixit, Nishant                                            Address Redacted
  Dixon Hughes Goodman                                      PO Box 602828                                                        Charlotte        NC           28260-2828
  Dixon Hughes Goodman                                      Address Redacted
  Dixon Jr., Isaac                                          Address Redacted
  Dixon, Kevin                                              Address Redacted
  Dizon, Ronald                                             Address Redacted
  DJ Products                                               PO Box 528                                                           Little Falls     MN           56345
  DK Power, Inc                                             6 Ives Bluff Court                                                   East Greenwich   RI           02818
  DLA Piper LLP                                             6225 Smith Avenue                                                    Baltimore        MD           21209

  DMS Video Productions Ltd        DBA 5Gear Studios        6-411 Confederation Parkway                                          Concord          ON           L4K 0A8      Canada
  Do, Hoang                                                 Address Redacted

  Dobbs Heavy Duty Holdings, LLC                            33301 9th Avenue S              Suite 100                            Federal Way      WA           98003
  Documoto - Content Publishing                             800 Englewood Pkwy                                                   Englewood        CO           80110
  DocuSign, Inc.                                            1301 2nd Ave.                   #2000                                Seattle          WA           98101
  Dodd Jr., Jamie                                           Address Redacted
  Dodd, Michael                                             Address Redacted
                                                            11999 San Vicente Blvd,
  Doerrer Group LLC, The           DBA Sitrick Group, LLC   Penthouse                                                            New York         NY           10017

  Doerrer Group LLC, The                                    920 Massachusetts Ave, NW                                            Washington       DC           20001
  Doga USA, Corp                   BETH REILLY              12060 Raymond Ct                                                     Huntley          IL           60142-8069
  Doga USA, Corp                   David Alicea             12060 Raymond Ct                                                     Huntley          IL           60142-8069
  Doga USA, Corp                   Jim Tyrakowski           12060 Raymond Ct                                                     Huntley          IL           60142-8069
  Doga USA, Corp                                            12060 Raymond Ct                                                     Huntley          IL           60142-8069
  Dok Won Suh                                               Address Redacted
  Dominguez, Philip                                         Address Redacted
  Dominic Bolton                                            Address Redacted
                                   DBA Dominick Dunne
  Dominick Dunne                   Painting                 Address Redacted




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                                      Virginia Electric and Power
  Dominion Energy                     Company                       120 Tredegar St.                                                           Richmond         VA           23219
                                      Virginia Electric and Power                                                        600 Canal Place,
  Dominion Energy                     Company                       PO Box 26666                 Attn Adam Birdsong      11th Floor            Richmond         VA           23219
  Dominion Energy Virginia                                          120 Tredegar Street                                                        Richmond         VA           23219
  Domino Amjet Inc                                                  3809 Collection Center Drive                                               Chicago          IL           60693
  Don Herriott                                                      Address Redacted
  Donaldson, Chad                                                   Address Redacted
  Donavan Douglas                                                   Address Redacted
  DongAh Yim                                                        Address Redacted
  Dongling Technologies Co, Ltd                                     No.2 Longshan Road           SSTT                    Suzhou New District   Jiangsu                       215163   China
  Dongling Technologies Co, Ltd                                     5002 Gem St                                                                Newaygo          MI           49337
                                                                                                                                                                                      South
  Dongseo Machined and Tools                                        252, Gyeonggigwagidae-ro       Siheung-si Gyeonggi                         Siheung          Gyeonggi              Korea

  Donna J. Price and Allen L. Price                                 Address Redacted
  Donnelley Financial, LLC                                          35 W Wacker Drive                                                          Chicago          IL           60601

  Donnelly Electrical Services, LLC                                 PO Box 907                                                                 Crayson          GA           30017
  Donnetta Walker Young                                             Address Redacted
  Donnetta Walker Young                                             Address Redacted
                                                                    127 CHEROKEE BOYS
  DONNIE OWLE                                                       CLUB LOOP                                                                  CHEROKEE         NC           28719

  Doran Mfg, LLC                      TIM MULLEN                    2851 Massachusetts Avenue                                                  Cincinnati       OH           45225
  Dority & Manning                                                  PO Box 1449                                                                Greenville       SC           29602
  Dos Santos, Antonio                                               Address Redacted
  Dos Santos, Antonio                                               Address Redacted

  Double E Company LLC                DBA Schlumpf Inc              319 Manly Street               Corporate HQ                                West Bridgewater MA           02379
  Double E Company LLC                DBA Schlumpf Inc              39 Enterprise Drive, Suite 1                                               Windham          ME           04062
  Double E Company LLC                DBA Schlumpf Inc              PO Box 847457                                                              Boston           MA           02284
  DoubleMap, Inc.                     DANIEL AGERTER                101 W Washington Street        Suite 700                                   Indianapolis     IN           46204
  DoubleMap, Inc.                                                   101 W Washington Street        Suite 700                                   Indianapolis     IN           46204
  Douglas Autotech Corporation        AKIHIKO MACHIDA               300 Albers Rd.                                                             Bronson          MI           49028
  Douglas Autotech Corporation        DEBBIE HAVENS                 300 Albers Rd.                                                             Bronson          MI           49028
  Douglas Autotech Corporation        RICHELLE KULPINSKI            300 Albers Rd.                                                             Bronson          MI           49028
  Douglas Autotech Corporation                                      300 Albers Rd.                                                             Bronson          MI           49028
  Douglas Meagher                                                   Address Redacted
  Douglas Moore                                                     Address Redacted
  Douglas T Meyer                                                   Address Redacted
  Downeast Transportation Inc.                                      PO Box 914                                                                 Ellsworth        ME           04605
                                                                    4913 Massaponax Church
  Downtown Garage, Inc                                              Road                                                                       Fredericksburg   VA           22407
  Doyle II, John                                                    Address Redacted
  DPWT, PGC Bus Depot Station                                       8401 DArcy Road                                                            Forestville      MD           20747
  Dr Andrew Katz                                                    Address Redacted



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  Dr. Aliyah Kanji Professional
  Corporation                     Aliyah Kanji             Address Redacted
                                                                                                                                                                         South
  Dr. Axion Co., Ltd                                       2-127 Nonggong-gil              Jeonggwan-eup,        Gijang-gun      Busan                                   Korea
  Dr. Jan-Olav Henck                                       Address Redacted
  Drew Pinciaro                                            Address Redacted
  Driggers, Keri                                           Address Redacted
  Drive Test GmbH                                          Adi-Maislinger-St. 9                                                  Muenchen                     81373      Germany
  Drive Train Industries                                   PO Box 5845                                                           Denver          CO           80217
                                                                                           North West Business
  Drive-Rite Ltd                                           Unit 626 Kilshane Ave           Park                                  Dublin                                  Ireland
  Drummond, Keith                                          Address Redacted
  Druva                                                    2051 Mission College Blvd.                                            Santa Clara     CA           95054
                                                           800 W California Ave, Suite
  Druva, Inc.                     LICENSE DELIVERY         100                                                                   Sunnyvale       CA           94086
                                  Peter Torre ACCOUNT      800 W California Ave, Suite
  Druva, Inc.                     MANAGER                  100                                                                   Sunnyvale       CA           94086
  Druva, Inc.                                              2051 Mission College Blvd                                             Santa Clara     CA           95054
                                                           800 W California Ave, Suite
  Druva, Inc.                                              100                                                                   Sunnyvale       CA           94086
  DRYCO Construction Inc                                   4250 E Mariposa Rd                                                    Stockton        CA           95215
  DS Services of America, Inc.                             Alhambra                        PO Box 660579                         Dallas          TX           75266
                                                           1-4-3 Minatojima
  DSP Research, Inc.                                       Minamimachi Chuo-ku                                                   Kobe City                    650-0047   Japan
  DSV Air & Sea, Inc.             Erin Buckingham          100 Walnut Avenue               Suite 405                             Clark           NJ           07066
  DSV Air & Sea, Inc.                                      100 Walnut Avenue               Suite 405                             Clark           NJ           07066

  DSV Air & Sea, Inc.                                      1700 E Walnut Ave, 6th Floor                                          El Segundo      CA           90245
                                                           200 Wood Avenue South,
  DSV Air & Sea, Inc.                                      Suite 300                                                             Iselin          NJ           08830
                                                                                           One E. Washington
  DSV Air and Sea, Inc.           Attn Chris Bayley        Snell and Wilmer LLP            St., Suite 2700                       Phoenix         AZ           85004

  DSV Air and Sea, Inc.                                    200 S. Wood Ave., 3rd Floor                                           Iselin          NJ           08830
                                                                                           One E. Washington
  DSV Solutions, LLC              Attn Chris Bayley        Snell and Wilmer LLP            St., Suite 2700                       Phoenix         AZ           85004

  DSV Solutions, LLC                                       200 S. Wood Ave., 3rd Floor                                           Iselin          NJ           08830
  DT Equipment Services INC                                94 Bays Branch                                                        East Point      KY           41216
  DTE Electric Co                                          One Energy Plaza                                                      Detroit         MI           48226
  DTE Energy Company                                       One Energy Plaza                                                      Detroit         MI           48226
  DTEN Inc.                                                97 E. Brokaw Rd.                Suite 180                             San Jose        CA           95112
  DTI Group Ltd                   ADRIAN JOHNSON           31 Affleck Rd.                                                        Perth Airport                6105       Australia
  DTI Group Ltd                   CLIFF BROOKS             31 Affleck Rd.                                                        Perth Airport                6105       Australia
  DTI Group Ltd                   JUSTIN DYER              31 Affleck Rd.                                                        Perth Airport                6105       Australia
  DTI Group Ltd                                            31 Affleck Rd.                                                        Perth Airport                6105       Australia
  DuBose, Robert                                           Address Redacted



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  Duckett, Michael                                          Address Redacted
  Dugal, Aditya                                             Address Redacted
  Duggan, Thomas                                            Address Redacted
  Duke Corporate                                            PO Box 104131                                                     Durham         NC           27708
  Duke Energy                                               526 S Church S                                                    Charlotte      SC           28202-1802
  Duke Energy                                               PO Box 70516                                                      Charlotte      NC           28272-0516
  Duke Energy Carolinas            Attn Lynn Colombo        526 S Church St                DEP-09A                            Charlotte      NC           28202

  Duke Energy Carolinas            Mary M. Caskey, Esq.     Haynsworth Sinkler Boyd, PA PO Box 11889                          Columbia       SC           29211-1889
  Duke Energy Carolinas, LLC                                400 S. Tyron Street                                               Charlotte      NC           28202

                                                            Wholesale Renewable
  Duke Energy Carolinas, LLC                                Manager - Mail code ST-2620 400 S. Tyron Street                   Charlotte      NC           28202
  Duke University                                           302 Science Drive                                                 Durham         NC           27708
  Duke University                                           712 Wilkerson Avenue        Box 90798                             Durham         NC           27708
  Duke University                                           712 Wilkerson Avenue                                              Durham         NC           27701
  Duke University                                           712 Wilkerson Avenue                                              Durham         NC           27708
  Duke University Health System,
  Inc.                                                      Campus Box 104131                                                 Durham         NC           27708
  Duluth Transit Authority         Attn Rod Fournier        2402 West Michigan Street                                         Duluth         MN           55806
                                                                                           919 N. Market Street,
  Duluth Transit Authority         Howard A. Cohen, Esq.    Fox Rothschild LLP             Ste. 300                           Wilmington     DE           19899
  Duluth Transit Authority                                  2402 W Michigan St                                                Duluth         MN           55806-1928
  Dun and Bradstreet                                        PO Box 75434                                                      Chicago        IL           60675
  Duncan, Cameron                                           Address Redacted
  Duncan, Chase                                             Address Redacted
  Duncan, David                                             Address Redacted
  Duncan, Mary                                              Address Redacted
  Duncan, Ryan                                              Address Redacted
  Dundon Advisers, LLC             April Kimm               10 Bank St, Ste 1100                                              White Plains   NY           10606
  Dung J Nguyen                                             Address on File
  Dungarees, LLC                                            500 East Broadway                                                 Columbia       MO           65201
  Dunlavey, Shane                                           Address Redacted
  Dunn, Casen                                               Address Redacted
  Dunn, John                                                Address Redacted
  Duong, Sang                                               Address Redacted
  Dupree, Jaquan                                            Address Redacted
  Durex Industries                                          109 Detroit Street                                                Cary           IL           60013
  Dushkin, Fedor                                            Address Redacted
  Dust Collector Services, Inc.    Greg Schlentz            1280 N Sunshine Way                                               Anaheim        CA           92806
  Dust Collector Services, Inc.    Samantha Fitch           1280 N Sunshine Way                                               Anaheim        CA           92806
  DustControl, Inc.                                         6720 Amsterdam Way                                                Wilmington     NC           28405
  Duvall, Corey                                             Address Redacted
                                                            740 Waukegan Road, Suite
  DWF Claims                                                340                                                               Deerfield      IL           60015
  DWFritz Automation, Inc          Mac Makhni               9600 Boeckman Road                                                Wilsonville    OR           97070
  DWFritz Automation, Inc                                   9600 SW Boeckman Rd.                                              Wilsonville    OR           97070



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  DWFritz Automation, Inc                                          9600 SW Boeckman                                                 Wilsonville        OR           97070
                                                                                                   1300 SW Fifth Ave.,
  DWFritz Automation, LLC            Kevin H. Kono                 Davis Wright Tremaine LLP       Ste. 2400                        Portland           OR           97201
  DWFritz Automation, LLC                                          9600 SW Boeckman Road                                            Wilsonville        OR           97070
                                     c/o Danielle Rushing          112 E Pecan Street Suite
  Dykema Gossett PLLC                Behrends                      1800                                                             San Antonio        TX           78205
  Dylan Jude B Suguitan                                            Address on File
  Dynalab Test Systems, Inc.                                       555 Lancaster Ave                                                Reynoldsburg       OH           43068
                                                                   2222 N. Elston Avenue, Ste
  Dynamic Motion Control, Inc.       DBA DMC,Inc.                  200                                                              Chicago            IL           60614

  Dynamic Motion Control, Inc.                                     2222 N Elston Ave, Suite 200                                     Chicago            IL           60614
  Dynamic Plastics, Inc.                                           29831 Commerce Blvd                                              Chesterfield Twp   MI           48051-2728
  Dynatect Manufacturing             Erica Zurita                  2300 S Calhoun Rd            PO Box 510847                       New Berlin         WI           53151-0847
  Dynatect Manufacturing             Shannon Smith                 2300 S Calhoun Rd            PO Box 510847                       New Berlin         WI           53151-0847
  Dynatect Manufacturing             Steve Brahm                   2300 S Calhoun Rd            PO Box 510847                       New Berlin         WI           53151-0847
  Dynatect Manufacturing                                           2300 S Calhoun Rd            PO Box 510847                       New Berlin         WI           53151-0847
  Dynatect Manufacturing Inc.                                      2300 S Calhoun Rd                                                New Berlin         WI           53151
  Dytran Instruments, Inc.                                         21592 Marilla St.                                                Chatsworth         CA           91311
  E & G Terminal, Inc.                                             6510 E. 49th Avenue                                              Commerce City      CO           80022
  E & M Sales, Inc.                                                Dept 2141                                                        Denver             CO           80291-2141
  E Mobility Market Services DBA                                   320 E. Big Beaver Road Suite
  ZappyRide/JD Power                 Legal                         500                                                              Troy               MI           48083
  E Mobility Market Services Inc
  DBA ZappyRide                                                    902 Broadway, Fl. 6                                              New York           NY           10010

  E&M Electric and Machinery, Inc.                                 126 Mill Street                                                  Healdsburg         CA           95448
  Eagan, Shannon                                                   Address Redacted
  Eagle County Transit                                             3289 Cooley Mesa Road                                            Gypsum             CO           81637
  Eagle Group USA, Inc.              Deborah Iafrate               901 Tower Drive, Suite 420                                       Troy               MI           48098
  EAN Services, LLC                                                600 Corporate Park Drive                                         Saint Louis        MO           63105
  E-ANDE (H.K.) Limited                                            33/F., ICBC Tower               3 Garden Road                    Central                         999077       Hong Kong
  EAO Switch Corporation             Constance Carroll             1 Parrott Drive                                                  Shelton            CT           06484
  EAO Switch Corporation             David Healy                   1 Parrott Drive                                                  Shelton            CT           06484
  EAO Switch Corporation             HEATHER HEATH                 1 Parrott Drive                                                  Shelton            CT           06484
  EAO Switch Corporation                                           1 Parrott Drive                                                  Shelton            CT           06484
  Eartec Company, Inc                                              145 Dean Knauss Drive                                            Narragansett       RI           02882
  Easterling, Chuck                                                Address Redacted
  Eastern Contra Costa Transit
  Authority                                                        801 Wilbur Avenue                                                Antioch            CA           94509
  Eastern Crane & Hoist                                            311 Dale Dr.                                                     Fountain Inn       SC           29644
  Eastern Crane & Hoist LLC                                        311 Dale Dr                     PO Box 907                       Fountain Inn       SC           29644
  Easton, Haley                                                    Address Redacted
  Eaton                              Eaton - Global Trade Credit   1000 Eaton Blvd - 5S                                             Cleveland          OH           44122
                                                                   Eaton Vehicle Group
  Eaton Corporation                  ROMMELL MANDAP                Aftermarket                     PO Box 93531                     Chicago            IL           60673-3531
  Eaton Corporation                                                1000 Eaton Blvd                                                  Cleveland          OH           44122



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            CreditorName                 CreditorNoticeName                 Address1                      Address2      Address3          City         State       Zip       Country
  Eaton Corporation                                                26101 Northwestern Hwy                                          Southfield      MI          48076
  Eaton Corporation                                                PO Box 730455                                                   Dallas          TX          75373-0455
  Eaton Corporation                                                PO Box 93531                                                    Chicago         IL          60673
  Eaton Corporation (PA Division)                                  1000 Cherrington Parkway                                        Moon Township   PA          15108
  Eaton Corporation (PA Division)                                  29085 Network Place                                             Chicago         IL          60673-1290
  Eaton Industrial (Wuxi) Co., Ltd   Wenya Zhou                    111 Chunlei Eastern Road                                        Wuxi            Jiangsu     214101       China
  Eaton Industries (WUX) Co Ltd      Eaton - Global Trade Credit   1000 Eaton Blvd - 5S                                            Cleveland       OH          44122
  Eaton Truck Components SP          ALEKSANDRA MEGIER             30 Stycznia 55                                                  Tczew                       83-110       Poland
  Eaton Truck Components SP          Magdalena Gorynska            30 Stycznia 55                                                  Tczew                       83-110       Poland
  Eaton Truck Components SP          MALGORZATA LILLA              30 Stycznia 55                                                  Tczew                       83-110       Poland
  Eaton Truck Components SP                                        30 Stycznia 55                                                  Tczew                       83-110       Poland
  Eaton Truck Components SP
  ZOO                                Eaton - Global Trade Credit   1000 Eaton Blvd - 5S                                            Cleveland       OH          44122
  Ebel, Steven                                                     Address Redacted

  Eberspacher Sutrak GmbH & Co. ANITA KROLL                        Heinkelstrasse 5                                                Renningen                   71272        Germany

  Eberspacher Sutrak GmbH & Co. ATTILA ILLES                       Heinkelstrasse 5                                                Renningen                   71272        Germany

  Eberspacher Sutrak GmbH & Co. CALEB CREER                        Heinkelstrasse 5                                                Renningen                   71272        Germany

  Eberspacher Sutrak GmbH & Co.                                    Eberspacherstrasse 24                                           Esslingen                   73730        Germany

  Eberspacher Sutrak GmbH & Co.                                    Heinkelstrasse 5                                                Renningen                   71272        Germany
  Eberspaecher Climate Control       AFTMKT ORDERS AFTMKT                                                                                                      55-200
  Systems Sp. zo.o                   ORDERS                        Godzikowice 50 P                                                Godzikowice                 OLAWA        Poland
  Eberspaecher Climate Control                                                                                                                                 55-200
  Systems Sp. zo.o                   Anna Kowalska                 Godzikowice 50 P                                                Godzikowice                 OLAWA        Poland
  Eberspaecher Climate Control                                                                                                                                 55-200
  Systems Sp. zo.o                   crc.suetrak crc.suetrak       Godzikowice 50 P                                                Godzikowice                 OLAWA        Poland
  Eberspaecher Climate Control                                                                                                                                 55-200
  Systems Sp. zo.o                                                 Godzikowice 50 P                                                Godzikowice                 OLAWA        Poland
  Eberspaecher Climate Control                                     401 S. Old Woodward
  Systems U.S.A. Inc.                Co/ Matthew E. Wilkins        Avenue Suite 400                                                Birmingham      MI          48009-0905
  Eberspaecher Climate Control
  Systems U.S.A. Inc.                Ulises Espinisa               29101 Haggerty Road                                             Novi            MI          48377
  Eberspaecher Climate Control
  Systems U.S.A. Inc.                                              2210 East Long                                                  Troy            MI          48085
  Eberspaecher Climate Control
  Systems U.S.A. Inc.                                              29010 Haggerty Road                                             Novi            MI          48377
  ECamion                                                          505 20th St, Unit 1200                                          Birmingham      AL          35203
  Echevarria, Maria                                                Address Redacted
  Echo Engineering & Production
  Supplies, Inc.                     CLIFF SHEPHARD                Echo Supply, Inc.               2406 W 78th Street              Indianapolis    IN          46268
  Echo Engineering & Production
  Supplies, Inc.                     Jacqueline ESCAMILLA          Echo Supply, Inc.               2406 W 78th Street              Indianapolis    IN          46268




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            CreditorName               CreditorNoticeName                  Address1                    Address2      Address3         City          State       Zip       Country
  Echo Engineering & Production
  Supplies, Inc.                   NATE WALKER                    Echo Supply, Inc.             2406 W 78th Street              Indianapolis   IN           46268
  Echo Engineering & Production
  Supplies, Inc.                                                  2406 W 78th Street                                            Indianapolis   IN           46268
  Echo Engineering & Production
  Supplies, Inc.                                                  Echo Supply, Inc.          2406 W 78th Street                 Indianapolis   IN           46268
  Echo Global Logistics Inc                                       800 W. Chicago, Suite 725                                     Chicago        IL           60554
                                                                  600 W. Chicago Ave., Suite
  Echo Global Logistics Inc.       Legal Department               725                                                           Chicago        IL           60654
                                                                  600 W. Chicago Ave., Suite
  Echo Global Logistics Inc.       Legal Department               200                                                           Chicago        IL           60654
  Echo Global Logistics, Inc.      MYRON RONAY                    22168 Network Place                                           Chicago        IL           60673
  Eclipse Metal Fabrication Inc.   Eduardo Molina                 2901 Spring St                                                Redwood City   CA           94063
  ECO Transit                                                     3289 Cooley Mesa Road                                         Avon           CO           81637
                                                                  3289 Cooley Mesa Road/ 500
  ECO Transit                                                     Swift Gulch Rd                                                Eagle          CO           81637
  ECO, Inc.                                                       PO Box 2731                                                   Rocklin        CA           95677
  Ecobat Solutions Arizona, Inc.                                  602 Swanson St                                                Casa Grande    AZ           85122

  EcoCAR                           Kristen De La Rosa, Director   Argonne National Laboratory   Bldg. 362                       Argonne        IL           60439
  Ecofleet Industries, Inc                                        145 Vallecitos de Oro         Suite 204                       San Marcos     CA           92069
  Ecolution Power Company, Inc.                                   1460 Golden Gate Pkwy Ste
  Ecolution DWH, LLC                                              103                                                           Naples         FL           34105
  EcoShift Consulting, LLC                                        270 Canyon Oaks                                               Santa Cruz     CA           95065
  EDAG, Inc                                                       1875 Research Drive                                           Troy           MI           48083
  Edelman, Kyle                                                   Address Redacted
  Eden Technologies, Inc.          ACCOUNT MGR Kei Baron          PMB 26053                     9450 SW Gemini Dr               Beaverton      OR           97008-7105
  Edgar Agents, LLC                                               105 White Oak Lane            Suite 104                       Old Bridge     NJ           08857
  Edgar O Aguilar                                                 Address Redacted
  Edison Welding Institute, Inc.                                  1250 Arthur E Adams Drive                                     Columbus       OH           43221
  Edmilao, Jose Antonio                                           Address Redacted
  Edmonds, Erin                                                   Address Redacted
                                                                                                9803 102A Avenue
  Edmonton                                                        4th Floor, Century Place      NW                              Edmonton       AB           T5J 3A3      Canada
  Edward Chu                                                      Address Redacted
  Edward J. Biedrzycki                                            Address Redacted

  Edward Jones FBO Philip Dombey Philip Louis Dombey              Address Redacted

  Edward Jones FBO Philip Dombey                                  Address Redacted
  Edward Van Allan               Ned Van Allan                    Address Redacted
  Edward Van Allan                                                Address Redacted
  Edward W Hartshorn Jr                                           Address Redacted
  Edwards, Brandon                                                Address Redacted
  Edwards, James                                                  Address Redacted
  Edwards, Kevin                                                  Address Redacted
  EEEA, Inc.                                                      PO Box 369                                                    Mauldin        SC           29662



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            CreditorName                 CreditorNoticeName                Address1                    Address2      Address3          City             State       Zip       Country
  EFC International                                              1940 Craigshire Road                                           Saint Louis        MO           63146
  Effectus Group LLC                                             1735 Technology Dr             Suite 520                       San Jose           CA           95120
  Egelston, Jonathan                                             Address Redacted
  Egon Zehnder International Inc                                 520 Madison Ave Fl 23                                          New York           NY           10022-4442
  E-Hazard Management LLC                                        3018 Eastpoint Parkway                                         Louisville         KY           40223
  EHS Compliance Services Inc.       Kahlilah Guyah              3744 Bairn Court                                               Pleasanton         CA           94588
  EIS SC, LLC f/k/a LSC SC, LLC      dba Palmetto Compressors    PO Box 577                     302 Hughes St                   Fountain Inn       SC           29644
  Ekren, Efe                                                     Address Redacted
  Elaine V. Carns                                                Address Redacted
  Elasticsearch, Inc.                                            800 W El Camino Real           Suite 350                       Mountain View      CA           94040
  Elasto Proxy                       Beth Branyon                1021 Old Stage Rd.             Suite C                         Simpsonville       SC           29681
  Elasto Proxy                       Bradley Hieronymus          1021 Old Stage Rd.             Suite C                         Simpsonville       SC           29681
  Elasto Proxy                       Katherine Dunn              1021 Old Stage Rd.             Suite C                         Simpsonville       SC           29681
  Elasto Proxy                                                   1021 Old Stage Rd.             Suite C                         Simpsonville       SC           29681
  Elcometer, Inc.                                                6900 Miller Drive                                              Warren             MI           48092
  Eldeco, Inc.                                                   5751 Augusta Rd                                                Greenville         SC           29605
  Elden Inc. 401K Trust              Dustin J Needle - Trustee   Address Redacted
  Elder, Dustin                                                  Address Redacted

  Eldorado National (California), Inc.                           9670 Galena St.                                                Riverside          CA           92509
  ElDorado National Inc.                                         9670 Galena Street                                             Riverside          CA           92509
  Elec-Tec, Inc.                       JOE BROWN                 15656 US Hwy 84 East                                           Quitman            GA           31643
  Elec-Tec, Inc.                                                 15656 US Hwy 84 East                                           Quitman            GA           31643
  Electric Drive Transportation                                  1250 Eye Street, NW, Suite
  Association                          Emory Oney                902                                                            Washington         DC           20005
                                                                 38 Place du Commerce, 11-
  Electric Mobility Canada                                       530                                                            Verdun             QC           H3E 1T8      Canada
  Electric Plus, Inc                                             173 S County Rd 525 E                                          Avon               IN           46123
  Electric Vehicle Sales Inc., A
  Division of Kamin Motor Group                                  2150 5th Avenue                                                Ronkonkoma         NY           11779

  Electrification Coalition Foundation Robbie Diamond            1111 19th St NW #406                                           Washington         DC           20036
  Electripack, Inc                                               2064 Byers Rd                                                  Miamisburg         OH           45342
  Electriphi inc.                                                1155 Indiana St                                                San Francisco      CA           94107
                                                                 W194 N11301 McCormick
  Electro Kinetic Technologies                                   Drive                                                          Germantown         WI           53022
  Electro Rent Corporation                                       8511 Fallbrook Avenue          Suite 200                       West Hills         CA           91304
  Electro Star Industrial Coating,
  Inc.                                                           1945 Airport Blvd.                                             Red Bluff          CA           96080
  Electro-LuminX Lighting
  Corporation                                                    1320 North Boulevard                                           Richmond           VA           23230
  Electrolux Home Products, Inc.                                 10200 David Taylor Drive                                       Charlotte          NC           28262
  Electro-Matic Integrated, Inc.     Britney Leemgraven          23410 Industrial Park Court                                    Farmington Hills   MI           48335
  Electro-Matic Integrated, Inc.     George Strachan             23410 Industrial Park Court                                    Farmington Hills   MI           48335
  Electro-Matic Integrated, Inc.     Josh Tataren                23410 Industrial Park Court                                    Farmington Hills   MI           48335
  Electro-Matic Integrated, Inc.                                 23409 Industrial Park Court                                    Farmington Hills   MI           48335
  Electro-Matic Integrated, Inc.                                 23410 Industrial Park Court                                    Farmington Hills   MI           48335



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  Electronic Control Services Corp                                    10721 Kim Lane                                                Hudson          FL            34669

  Electronics Recycling Service, Inc.                                 1664 Waton Ct                                                 Milpitas        CA            95035
  Element                                                             940 Ridgebrook Road                                           Sparks          MD            21152
  Element Material Technology         DBA Element Material
  Detroit LLC                         Technology Detroit - Troy       1150 West Maple Rd                                            Troy            MI            48084
  Element Materials Technology        BUSINESS DEVELOPMENT
  Huntington Beach LLC                Brian Tran                      15062 Bolsa Chica                                             Huntington Beach CA           92649
  Element Materials Technology
  Portland Evergreen Inc.                                             6775 NE Evergreen Pkwy        Suite 400                       Hillsboro       OR            97124

  Elevated Components Inc                                             2770 Arapahoe Rd, STE 132                                     Lafayette       CO            80026
  Elevated Industrial Soltuions       Elevated Industrial Solutions   PO Box 931996                                                 Atlanta         GA            31193
  Elevated Industrial Soltuions       Sharon Ramsey                   302 Hughes St                                                 Fountain Inn    SC            29644
  Elevated Industrial Solutions                                       PO Box 931996                                                 Atlanta         GA            31193
  Elie, Michael                                                       Address Redacted
  Elite Electronic Engineering Inc                                    1516 Centre Circle                                            Downers Grove   IL            60515
  Elizabeth Dock                                                      Address Redacted
  Elizalde, Edmund                                                    Address Redacted

  Elk Grove Unified School District   Anthony Willis & Kert Berdon    8421 Gerber Rd                                                Sacramento      CA            95828
  Elkem Silicones USA Corp                                            7979 Park Place Rd                                            York            SC            29745
  Elkomy, Omar                                                        Address Redacted
  Elliot S. Wells                                                     Address Redacted
  Elliott Davis Decosimo LLC          Lauren Smith                    500 E Morehead Street         Suite 700                       Charlotte       NC            28202

  Ellis Performance Solutions, LLC Erin Ellis                         3316 Pacific Dr                                               Naples          FL            34119
  Ellis, Jeffrey                                                      Address Redacted
  Elma School District 68                                             1235 Monte Elma RD                                            Elma            WA            98541
  Elmer L. Johnson                                                    Address Redacted
  Elmer Ronnebaum                                                     Address Redacted
  Elmore, Curtis                                                      Address Redacted
  Elswick Sr., David                                                  Address Redacted
  E-M Manufacturing, Inc.          VANESSA MORANDA                    1290 Dupont Ct.                                               Manteca         CA            95336
  E-M Manufacturing, Inc.                                             1290 Dupont Ct.                                               Manteca         CA            95336
  Eman Noor                                                           Address Redacted
  Embt, Jeffrey                                                       Address Redacted
  eMedia Group Inc                                                    615 Worley Rd                                                 Greenville      SC            29609
  eMedia Group Inc                                                    PO Box 1808                                                   Greenville      SC            29602
  Emily Leung                                                         Address Redacted
  Emka, Inc.                                                          1961 Fulling Mill Road                                        Middletown      PA            17057
  Emma, Inc.                                                          11 Lea Avenue                                                 Nashville       TN            37210
  Emmanuel Aprilakis                                                  Address Redacted
  Empire Broadcasting Corporation-
  KLIV                             LISA SALUD                         750 Story Rd                                                  San Jose        CA            95122
  Employers Mutual Casualty
  Company                                                             PO Box 1739                                                   Wichita         KS            67201-1739



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  Employment Screening Services,
  Inc.                             Dept K                   PO Box 37001                                                                Tampa           FL            33631-9001
  Employment Screening Services,
  Inc.                                                      2700 Corporate Dr, Suite 100                                                Birmingham      AL            35242
  Enchanted Rock Solutions, LLC                             1113 Vine St., Suite 101                                                    Houston         TX            77002
  Encinares-Trinidad, Elizabeth                             Address Redacted

  Encore Electric, Inc                                      6349 Corporate Drive                                                        Colorado Springs CO           80919
  Encore Technology Group                                   141 Grace Drive                                                             Easley           SC           29640
  Encore Technology Group, LLC                              141 Grace Drive                                                             Easley           SC           29640
  Endeavor Business Media LLC                               1233 Janesville Ave.                                                        Fort Atkinson    WI           53538
  Endeavor Business Media LLC                               PO Box 306479                                                               Nashville        TN           37230-6479
  Endeavor Technologies, LLC                                3504 Highway 153                Suite 328                                   Greenville       SC           29611
  Endeavor Technologies, LLC                                PO Box 197565                                                               Nashville        TN           37219
  EndoChem LLC                     Christine Chen           14351 Pendragon Way                                                         Fishers          IN           46037
  EndoChem LLC                     Jason Hernandez          19225 Stevens Creek Blvd        Suite 183                                   Cupertino        CA           95014
  EndoChem LLC                     SALES Jason Hernandez    19225 Stevens Creek Blvd        Suite 183                                   Cupertino        CA           95014
  EndoChem LLC                     Tony Chen                14351 Pendragon Way                                                         Fishers          IN           46037
  EndoChem LLC                     Tony Chen                19225 Stevens Creek Blvd        Suite 183                                   Cupertino        CA           95014
                                                            Room 202, No.1 Building,
                                                            Yuanzheng Science and           Wuhe Ave. North,        Longgang District
  EndoChem LLC                                              Technology Park No.4202         Bantian St.             Shenzhen            Guangdong                     518126       China
  Endura Steel, Inc.               DBA Smith Ironworks      17671 Bear Valley Road                                                      Hesperia        CA            92345
  Energetx Composites, Inc                                  725 E. 40th Street                                                          Holland         MI            49423
  Energy Arts and Science
  Corporation                                               70 S Val Vista Drive            Suite A3-522                                Gilbert         AZ            85296
  Enfasco Inc.                                              1675 Hylton Rd.                                                             Pennsauken      NJ            08110
  Engel, Joshua                                             Address Redacted
  Engent Inc.                                               Lock Box 538349                 PO Box 538349                               Atlanta         GA            30353
  Engineered Components, Inc.                               546 Old York Road               PO Box 360                                  Three Bridges   NJ            08887
  Engineered Machined Products
  Inc.                             EMP Advanced Development Lockbox 773393                  3393 Solutions Center                       Chicago         IL            60677-3003
  Engineered Machined Products,
  Inc                                                       2701 North 30th Street                                                      Escanaba        MI            49829
  Engineered Machined Products,
  Inc                                                       PO Box 778945                                                               Chicago         IL            60677-8945
  Engineered Systems, Inc                                   1121 Duncan Reidville Rd                                                    Duncan          SC            29334
  Engineered Systems, Inc                                   PO Box 11407                                                                Birmingham      AL            35246
  Englewood Driveshafts                                     3364 1/2 S. Broadway                                                        Englewood       CO            80113
  Enk, Nicholas                                             Address Redacted
  Ennis Electric Company, Inc.     Stephen Blankenship      7851 Wellingford Drive                                                      Manassas        VA            20109
  Eno Center for Transportation                             1629 K Street, NW               Suite 200                                   Washington      DC            20006
  Enriquez, Marlon                                          Address Redacted
  Ensign, Joshua                                            Address Redacted
  Entelo, Inc                                               755 Sansome Street              Suite 100                                   San Francisco   CA            94111
  Enterprise Damage Recovery                                PO Box 801770                                                               Kansas City     MO            64180
  Enterprise Damage Recovery                                PO Box 801988                                                               Kansas City     MO            64180



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  Enterprise Security, Inc.                                        22860 Savi Ranch Parkway                                          Yorba Linda       CA           92887
  Environmental Outsource, Inc.                                    5932 E Washington Blvd.                                           Los Angeles       CA           90040
  Environmental Outsource, Inc.                                    Dept 0613, PO Box 120001                                          Clemson           SC           29631
  Environmental Spray Systems,
  Inc.                                                             7114 Convoy Ct.                                                   San Diego         CA           92111
  Envision Entertainment                                           710 Covina Way                                                    Fremont           CA           94539
  Envoy Inc                          Dhruv Mohan                   488 Bryant St                                                     San Francisco     CA           94107
  Envoy Inc                          Ross Watson                   488 Bryant St                                                     San Francisco     CA           94107
  Envoy Inc                                                        488 Bryant St                                                     San Francisco     CA           94107
  EO Charging US, Inc.               Juuce Limited                 1828 Walnut Street              Floor 3                           Kansas City       MO           64108
  EP Executive Press                 CCRcorp                       PO Box 674438                                                     Dallas            TX           75267
  EPC Power Corp.                    CCO & EVP Allan Abela         13250 Gregg St., Ste A2                                           Poway             CA           92064
  EPC Power Corp.                    Moqim Amin                    13250 Gregg St., Ste A2                                           Poway             CA           92064
  Ephesians Three Twenty Realty,
  LLC                                                              511-A South Florida Ave                                           Greenville        SC           29611
  Epiq eDiscovery Solutions Inc                                    Dept 0250                       PO Box 120250                     Dallas            TX           75312

  EPMware, Inc.                  Tony Kiratsous                    2059 Camden Ave, Suite 121                                        San Jose          CA           95124
  Epps, Jennifer                                                   Address Redacted
  Epsilon Technologies
  International, LLC DBA MoviMED
  & MoviTHERM                                                      15540 Rockfield Blvd            C110                              Irvine            CA           92618
  Epstein Becker & Green P.C                                       875 3rd Avenue                                                    New York          NY           10022-6225
  Epstein Becker and Green, P.C. Christopher Farella               875 Third Avenue                                                  New York          NY           10022
  Epstein Becker and Green, P.C. Robert G. Chervenak               875 Third Avenue                                                  New York          NY           10022
  Epter, Sydney                                                    Address Redacted
                                                                                                                                     Courbevoie Ile-
  Equans                                                           49 Rue Louis Blanc                                                De-France                      92400        France
                                                                   2010 Crow Canyon Pl, Suite
  eQuest LLC                         AR Supervisor                 100-10016                                                         San Ramon         CA           94583
                                                                   2010 Crow Canyon Pl, Suite
  eQuest LLC                         Emily Chen                    100-10016                                                         San Ramon         CA           94583
                                                                   2010 Crow Canyon Pl, Suite
  eQuest LLC                         Liz Lee                       100-10016                                                         San Ramon         CA           94583
  Equinox Geoup, Inc.                                              329 W. 18th Street                                                Chicago           IL           60616
  Equipment Depot                                                  PO Box 841750                                                     San Marino        CA           90084-1750

  Equipment Depot California, Inc.   c/o Richard J. Wallace, III   Scheef and Stone LLP            500 N Akard Ste 2700              Dallas            TX           75201
                                                                   17800 N Perimeter Dr, Suite
  Equity Methods LLC                                               200                                                               Scottsdale        AZ           85255
  era-contact USA LLC                                              1475 Smith Grove Road                                             Liberty           SC           29657
  era-contact USA, LLC               David Krahl                   1475 Smith Grove Rd                                               Liberty           SC           29657
  Ergo Corporation                                                 212B Riverside Court                                              Greer             SC           29650
  Ergomat, Inc.                                                    7395 Industrial Parkway                                           Lorain            OH           44053
  Ergotech Controls Inc.             DBA Industrial Networking     PO Box 540                                                        Addision          TX           75001

  ERI Economic Research Institute                                  111 Academy Drive               Suite 270                         Irvine            CA           92617



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  Eric Nganga                                                  Address Redacted
  Eric Soares                                                  Address Redacted
                                Ellis Performance Solutions,
  Erin Ellis                    LLC                            Address Redacted
  Erin Rountree                                                Address Redacted
  Erlich Industrial
  Development,Corp                                             5000 Providence Road                                          Charlotte         NC           28226
  Ernest Packaging Solutions                                   5 South 84th Ave.             Suite D                         Tolleson          AZ           85353
  Ertel, Kevin                                                 Address Redacted
                                                               3800 North Central Avenue
  ES America, LLC                                              Suite 460                                                     Phoenix           AZ           85012
  Escobar, Juan                                                Address Redacted
  Escobar, Martin                                              Address Redacted
  Escobedo, Luis                                               Address Redacted
  Escol Corporation                                            3776 NW 16 Street                                             Fort Lauderdale   FL           33311
  ESCP PPG Intermediate Holdings,
  Inc                             DBA Penn Power Group         8330 State Road                                               Philadelphia      PA           19136
  Espadas, Jesse                                               Address Redacted
  Esparza, Jovani                                              Address Redacted
  Espinoza Sr., Norman                                         Address Redacted
  Espinoza, Ashley                                             Address Redacted
  Espinoza, Daniel                                             Address Redacted
  Espinoza, Estate of Osvaldo                                  Address Redacted
  Espinoza, Kevin                                              Address Redacted
  Espinoza, Luis                                               Address Redacted
  Essentialmedia LLC                                           6902 Timber Ridge Court                                       Prospect          KY           40059
  Essex County Public Schools                                  P.O. Box 756                  109 N. Cross St                 Tappahannock      VA           22560
  Essig, Bryan                                                 Address Redacted
  Estes Design and Manufacturing
  Inc                                                          470 S. Mitthoeffer Rd.                                        Indianapolis      IN           46229
  Estes, Benjamin                                              Address Redacted
  Estrada, Gerald                                              Address Redacted
  ETA Advertising                                              444 W. Ocean Blvd             Ste. #150                       Long Beach        CA           90802
  ETA Phi Systems, Inc            ETA Transit Systems          7700 Congress Ave             Ste 2201                        Boca Raton        FL           33487

  Etorch Inc.                   DBA MailControl                1811 W North Ave, Suite 400                                   Chicago           IL           60622
                                                               225 West Washington, Suite
  Etorch Inc.                   DBA MailControl                1150                                                          Chicago           IL           60606
  ETRADE Financial Corporate
  Services, Inc                                                4005 Windward Plaza Drive                                     Alpharatta        GA           30005
  ETRADE Financial Corporate
  Services, Inc.                C/O Corp. Tax Dept.            671 N. Glebe Road                                             Arlington         VA           22203
  ETRADE Financial Corporate
  Services, Inc.                                               3 Edison Drive                                                Alpharatta        GA           30005
  ETRADE Financial Corporate
  Services, Inc.                                               770 Kenmoor SE, Suite 300                                     Los Angeles       CA           90049




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  ETRADE Financial Corporate
  Services, Inc.                                                    PO Box 3512                                                        Arlington       VA           22203
  ETRADE Securities LLC                                             3 Edison Drive                                                     Alpharatta      GA           30005
  etrailer.com                      Melissa Atwell                  1507 East Highway A                                                Wentzville      MO           63385
  etrailer.com                      P-CARD ONLY BRANDON             1507 East Highway A                                                Wentzville      MO           63385
  ETS-Lindgren Inc.                                                 1301 Arrow Point Drive                                             Cedar Park      TX           78613
  ETS-Lindgren Inc.                                                 PO Box 841147                                                      Kansas City     MO           64184
  Eudy, Mark                                                        Address Redacted
  Eugene B Loftis                   DBA Loftis Printing Co., Inc.   Address Redacted
  Eugene L. Goins                                                   Address Redacted
  Eugene R. Patterson                                               Address Redacted
  Euler Hermes Agent for USSC
  GROUP, INC.                                                       800 Red Brook Blvd, 400 C                                          Owings Mills    MD           21117
  Eun Jung Kim                                                      Address Redacted
  Eunyoung Ryo                                                      Address Redacted
                                                                                                                                                                                 United
  Euromoney Global Limited          Henry Thomas                    8 Bouverie Street                                                  London                       EC4Y 8AX     Kingdom
  European International (Fairs)                                    Unit 6/10 Skitts Manor Farm                                                                                  United
  Limited                                                           Moor Lane                        Kent, B2028                       Marsh Green                  TN8          Kingdom
  EV Infrastructure LLC             Maxgen EV Construction          12 Morgan                                                          Irvine          CA           92618-2003
  Evan Johnson                                                      Address Redacted
  Evan R Olsen                                                      Address Redacted
  Evans, Jesse                                                      Address Redacted
  Evans, Nia                                                        Address Redacted
  Evatt, Cory                                                       Address Redacted
  EVCO GmbH                         Attn Director or Officer        Via Feltre 81                                                      Sedico          BL           32036        ITALY
  Everest National Insurance
  Company                           Cory Doyle                      461 Fifth Avenue, 4th Floor                                        New York        NY           10017-6234
  Everett Transit                                                   PO Box 12130                                                       Everett         WA           98206
  Everett Transit City of Everett
  Purchasing Division                                               PO Box 12130                                                       Everett         WA           98206
  Evgateway                                                         5251 Califronia Ave, Ste 150                                       Irvine          CA           92617
                                                                    5251 California Avenue, Suite
  EVGateway, Inc.                                                   150                                                                Irvine          CA           94010
  Evolve Packaging LLC                                              1049 S Gateway Blvd                                                Norton Shores   MI           49441
                                    DBA Evoqua Water
  EWT Holdings III Corp             Technologie                     28563 Network Place                                                Chicago         IL           60673-1285
  Excel RP, Inc.                                                    6531 Part Ave                                                      Allen Park      MI           48101
  Excel4apps, Inc.                  DBA Insightsoftware             3301 Benson Drive                Suite 301                         Raleigh         NC           27609
  Excel4apps, Inc.                  DBA Insightsoftware             8529 Six Forks Road              Suite 400                         Raleigh         NC           27615
  Excelfore Corporation                                             39650 Liberty Street             Suite 255                         Fremont         CA           94538
  Execusource, LLC                                                  220 North Main Street            Suite 500                         Greenville      SC           29601
  Execusource, LLC                                                  3575 Piedmont Rd. NE             Bldg 15           Suite 350       Atlanta         GA           30305
  Exelon Accounts Payable                                           PO Box 696002                                                      San Antonio     TX           78269
  Exelon Business Services , LLC                                    2301 Market Street                                                 Philadelphia    PA           19103
  Exelon Business Services
  Company, LLC                                                      2301 Market Street                                                 Philadelphia    PA           19103



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  Exley, Philip                                                Address Redacted
  Exova, Inc.                                                  4214 Solutions Center           No. 774214                              Chicago            IL           60677-4022

  Expeditors Canada Inc.              Todd Jackman             55 Standish Court, 11th Floor                                           Mississauga        ON           L5R 4A1      Canada

  Expeditors Canada Inc.                                       55 Standish Court, 11th Floor                                           Mississauga        ON           L5R 4A1      Canada
                                                                                               Hams Hall Distribution                                                               United
  Expeditors International (UK) Ltd                            Canton Lane                     Park                   Coleshill        Birmingham                      B46 1GA      Kingdom
  Expeditors International of                                  12200 S. Wilkie Ave, Suite
  Washington Inc                                               100                                                                     Hawthorne          CA           90250

  Expeditors Tradewin, LLC            Nara Mitchell            1015 Third Avenue, 1st Floor                                            Seattle            WA           98104
  Experi-Metal Inc.                   Chris Ditri              6385 Wall Street                                                        Sterling Heights   MI           48312
  Experi-Metal Inc.                   Kevin Deras              6385 Wall Street                                                        Sterling Heights   MI           48312
  Experi-Metal Inc.                                            6385 Wall Street                                                        Sterling Heights   MI           48312
  Experior Laboratories, Inc.                                  1635 Ives Avenue                                                        Oxnard             CA           93033
  Expert Piping Supply, Inc.                                   3601 E. 39th Ave                                                        Denver             CO           80205
  Exponent, Inc.                      Andersen Tax LLC         100 First Street, Suite 1600                                            San Ramon          CA           94583
  Exponent, Inc.                      Meagan Hebdon            149 Commonwealth Drive                                                  Menlo Park         CA           94025
  Exponent, Inc.                                               149 Commonwealth Drive                                                  Menlo Park         CA           94025
  Extended DISC North America,
  Inc.                                                         32731 Egypt Lane                Suite #904                              Magnolia           TX           77354
  Extrusions, Inc                                              PO Box 430                      2401 S Main                             Fort Scott         KS           66701
  F&K Delvotec Inc.                                            27182 Burbank                                                           Foothill Ranch     CA           92610
  F3 Concepts                         Dawn McAndrews           11132 Broad River Road          Suite F                                 Irmo               SC           29063
  F3 Concepts                                                  11132 Broad River Road          Suite F                                 Irmo               SC           29063
  FAB Industries                                               1417 A Commerce Blvd.                                                   Anniston           AL           36207
  Fabian Manley                                                Address Redacted
  FabricAir, Inc.                     Andrew Johnson           312-A Swanson Drive                                                     Lawrenceville      GA           30043
  FabricAir, Inc.                     Bret Pettit              312-A Swanson Drive                                                     Lawrenceville      GA           30043
  FabricAir, Inc.                     Philip Daugherty         312-A Swanson Drive                                                     Lawrenceville      GA           30043
  FabricAir, Inc.                                              1400 Northbrook Parkway         Suite 300                               Suwanee            GA           30024
  FabricAir, Inc.                                              312-A Swanson Drive                                                     Lawrenceville      GA           30043
  Facet Engineering, LLC              Noemy Skidelsky          427 Sawyer Meadow Way                                                   Grayson            GA           30017
  Factiva a Dow Jones Co              Lori Dunbar              PO Box 300                                                              Princeton          NJ           08543
  Factiva, Inc.                       Dow Jones                P.O. Box 300                                                            Princeton          NJ           08543

  Fagor Automation                                             2250 Estes Ave.                                                         Elk Grove Village IL            60007
  Fairbanks Scales                                             PO Box 419655                                                           Kansas City       MO            64121
                                                               8115 Gatehouse Road, Suite
  Fairfax County Public Schools                                5400                                                                    Falls Church       VA           22042
  Fairforest of Greenville LLC        Thomas Mercado           28 Global Drive, Suite 100                                              Greenville         SC           29607
  Fairforest of Greenville LLC                                 28 Global Drive            Suite 100                                    Greenville         SC           29607
  Fairforest of Greenville, LLC       Madina Cauthen           28 Global Drive, Suite 100                                              Greenville         SC           29607
  Fair-Rite Products Corp                                      PO Box 288                 One Commercial Row                           Walkill            NY           12589
  Faith Short                                                  Address Redacted




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  Faiveley Transport North America KIM SHAW                   PO Box 9377                                                  Greenville        SC           29604

  Faiveley Transport North America SHERRY CLARDY              PO Box 9377                                                  Greenville        SC           29604

  Faiveley Transport North America                            2259 Reliable Parkway                                        Chicago           IL           60686
  Faizi, Shireen                                              Address Redacted

  Falcon Technologies, Inc.          Desiree Pantukhoff       2631 Metro Blvd                                              Maryland Heights MO            63043
  Falk & Associates, Inc                                      11 Allaire Way                                               Aliso Viejo      CA            92656
  Fall for Greenville                                         PO Box 2207                                                  Greenville       SC            29602
                                                              150 S. Washington St. Ste
  Falls Church City Public Schools                            400                                                          Falls Church      VA           22046
  Falls Lake National Insurance                               6131 Falls of Neuse Road
  Company                                                     Suite 306                                                    Raleigh           NC           27609
  Fanning, Daniel                                             Address Redacted
  FANUC America Corporation          Carol Johns              3900 W Hamlin Road                                           Rochester Hills   MI           48309
                                                              201 S. Lake Avenue Suite
  Farient Advisors                                            804                                                          Pasadena          CA           91101
  Farient Advisors LLC                                        201 S Lake Ave Suite 804                                     Pasadena          CA           91101
  Farient Advisors, LLC              Marcia Kostos            201 South Lake Avenue                                        Pasadena          CA           91104
  Farino, Anthony                                             Address Redacted
  Farlow, Kyle                                                Address Redacted
  Farmer Jr., Nathan                                          Address Redacted
  Faro Technologies, Inc.                                     PO Box 116908                                                Atlanta           GA           30368-6908
  Farr, Derrick                                               Address Redacted
  Farshid Khoshgam                                            Address Redacted
  Faryna, Seth                                                Address Redacted
  Fassett, Tyler                                              Address Redacted
  Fast Turn Harnesses LLC                                     21 Olde Meadow Rd                                            Marion            MA           02738
                                                              FLAT/RM A27 9/F silvercorp
  FAST TURN PCB INTL                                          IntL Tower 707-713 Nathan
  COMPANY LIMITED                                             RD Mongkok Kln                                               Hong Kong                      999077       China
                                                                                                                           South
  Fastbolt                                                    200 Louis St.                                                Hackensack        NJ           07606
                                     GREENVILLE STORE
  Fastenal Company                   GREENVILLE STORE         PO Box 1286                                                  Winona            MN           55987-0978
  Fastenal Company                   Legal                    2001 Theurer Blvd.                                           Winona            MN           55987
  Fastenal Company                   MATTHEW WAYCASTER        PO Box 1286                                                  Winona            MN           55987-0978
  Fastenal Company                   STOWE ROBERTS            PO Box 1286                                                  Winona            MN           55987-0978
  Fastener Supply Co.                                         13410 South Ridge Dr.                                        Charlotte         NC           28273
  Faust, Ben                                                  Address Redacted
  Fayyaz, Jacqueline                                          Address Redacted
  FCA, LLC                           Tori DeVolder            7601 John Deere Parkway                                      Moline            IL           61265
  FCA, LLC                                                    7601 John Deere Parkway                                      Moline            IL           61265
  FCAHS Foundation, Inc                                       215 Old Hwy 40 East                                          Brooklyn          MS           39425
  FCCC EVC                                                    201 Woodland Rd              Angela Davis                    Gaffney           SC           29341



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  FCCC EVC                                                     201 Woodland Rd                 Brandon Neperud                 Gaffney           SC           29341
  FCCC EVC                                                     201 Woodland Rd                                                 Gaffney           SC           29341
  Feaser                                                       Tristanstr. 8                                                   Muelheim                       45473        Germany
                                                                                                                               Whitehouse
  Federal Insurance Company         DBA Chubb & Son            202A Halls Mill Road                                            Station           NJ           08889
                                                                                                                               Whitehouse
  Federal Insurance Company         DBA Chubb & Son            PO Box 1675                                                     Station           NJ           08889
                                                               US Department of the
  Federal Trade Commission                                     Treasury                        33 Liberty St                   New York City     NY           10045
  Federman Law Firm obo Keolis
  Transit America                                              1241 Johnson Avenue             Suite 331                       San Luis Obispo   CA           93401
  Fedex                                                        PO Box 371461                                                   Pittsburgh        PA           15250
  Fedex                                                        PO Box 94515                                                    Palatine          IL           60094-4515

  FedEx - Genco Marketplace, Inc.   Attn Director or Officer   700 Cranberry Woods Dr,                                         Cranberry Twp     PA           16066
  FedEx Freight                                                Dept LA PO Box 21415                                            Pasadena          CA           91185-1415
  FedEx Freight                                                PO Box 10306                                                    Palatine          IL           60055-0306
  FedEx Freight                                                PO Box 223125                                                   Pittsburgh        PA           15251-2125
  FedEx Office and Print Services
  Inc.                              Darryl Pollard             7900 Legacy Dr.                                                 Plano             TX           75024
  FedEx Office and Print Services
  Inc.                                                         5985 Explorer Drive                                             Mississauga       ON           L4W 5K6      Canada
  FedEx Office and Print Services
  Inc.                                                         3600 Pammel Creek Road                                          La Crosse         WI           54601-7599
  FedEx Office and Print Services
  Inc.                                                         700 Cranberry Woods Dr                                          Cranberry Twp     PA           16066
  FedEx Office and Print Services
  Inc.                                                         PO Box 371461                                                   Pittsburgh        PA           15250
  FedEx Office and Print Services
  Inc.                                                         P.O. Box 672085                                                 Dallas            TX           75267
                                                               1715 Aaron Brenner Drive
  FedEx Transportation Services                                Suite 600                                                       Memphis           TN           38120
  FedEx Transportation Services                                PO Box 371461                                                   Pittsburgh        PA           15250
  Fedor, Craig                                                 Address Redacted
  Felber, William                                              Address Redacted
  Felder, Andre                                                Address Redacted
  Feldman, Richard                                             Address Redacted
  Felix Luisi                                                  Address Redacted
  Felix Stetsenko                                              Address Redacted
  Feltman Brothers                                             150 Airport Rd Ste 700                                          Lakewood          NJ           08701
  Felton Inc                                                   7 Burton Drive                                                  Londonderry       NH           03053
  Felton Inc                                                   PO Box 4110                     Dept 6450                       Woburn            MA           01888
  Femco USA, Inc.                   Jolene Jewett              PO Box 219                                                      Duvall            WA           98019
  Femco USA, Inc.                   Ron Wolsuijk               PO Box 219                                                      Duvall            WA           98019
  Femco USA, Inc.                   Terri Wasley               PO Box 219                                                      Duvall            WA           98019
  Femco USA, Inc.                                              PO Box 219                                                      Duvall            WA           98019
  Fender, Wesley                                               Address Redacted



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  Feng, Mabel                                                  Address Redacted
  Fennell, Brian                                               Address Redacted
                                                               2394 E Camelback Rd., Suite
  Fennemore Craig, P.C.            Fennemore Wendel            600                                                         Phoenix         AZ           85016
  Fennemore Craig, P.C.                                        1111 Broadway 24th Floor                                    Oakland         CA           94607
  Fenton, Teal                                                 Address Redacted
  Fenwick and West LLP             Marcia Matson               PO Box 742814                                               Los Angeles     CA           90074-2814
  Fenwick and West LLP                                         PO Box 742814                                               Los Angeles     CA           90074-2814
  Ferguson Advertising, Inc.                                   347 W BERRY STREET          3RD FLOOR                       Fort Wayne      IN           46802
  Fern Exposition Services, LLC.                               645 Linn St                                                 Cincinnati      OH           45203
  Fernandez, Kimberly                                          Address Redacted
  Ferreira, Gabriel                                            Address Redacted
  Ferrer Motor Inc                 All American Truck & Body   PO Box 3997                                                 Fontanna        CA           92334-3997
  FiberTec Insulation LLC                                      PO Box 1622                                                 Saluda          VA           23149
  Fictiv Inc.                      Sunny Sahota                168A Welsh Street                                           San Francisco   CA           94107
  Fields, Brandon                                              Address Redacted
  Fields, Harry                                                Address Redacted
  Fiero Fluid Power Inc.                                       5280 Ward Road                                              Arvada          CO           80002
  Fierro, Jonathan                                             Address Redacted
  Figma, Inc                                                   760 Market St,              Floor 10                        San Francisco   CA           94102
  Figueroa, Alexander                                          Address Redacted
  Financial Accounting Standards
  Board/Governmental Accounting
  Standards Board                                              401 Merritt 7                                               Norwalk         CT           06856
  Financial Analysis and Control
  Technology Services                                          48 Lakewood Rd                                              Stow            MA           01775
                                                               4232 PACIFICA WAY, UNIT
  Financial Intelligence, LLC                                  2                                                           OCEANSIDE       CA           92056
  Financial Intelligence, LLC                                  4332-2 Pacifica Way                                         Oceanside       CA           92056
  Financial Intelligence, LLC                                  PO Box 2094                                                 Saratoga        CA           95070
                                   Payroll & Billing Amanda
  Find Great People, LLC           Stern                       15 Brendan Way, Suite 140                                   Greenville      SC           29615
                                   Sr. HR Consultant Mrs.
  Find Great People, LLC           Dennis Hughes               15 Brendan Way, Suite 140                                   Greenville      SC           29615
  Finer, Kyle                                                  Address Redacted
  Finish Master Inc                                            115 Washington Street                                       Indianapolis    IN           46204
  Finley, Sherrica                                             Address Redacted
  Finley, Stephanie                                            Address Redacted
  Finnern, Michael                                             Address Redacted

  Fireball Equipment Ltd           ACCOUNTANT Lynsey White 16815 117 Ave                                                   Edmonton        AB           T5M 3V6      Canada
  Fireball Equipment Ltd           Adam Rompfer            16815 117 Ave                                                   Edmonton        AB           T5M 3V6      Canada
  Fireball Equipment Ltd           Inside Sales            16815 117 Ave                                                   Edmonton        AB           T5M 3V6      Canada
  Firestone Industrial Products
  Company                          ANDREA MILLER               PO Box 93402                                                Chicago         IL           60673
  Firestone Industrial Products
  Company                          DANIEL KUMATZ               PO Box 93402                                                Chicago         IL           60673



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  Firestone Industrial Products
  Company                           STEPHEN STREET                   PO Box 93402                                                           Chicago         IL            60673
  Firestone Industrial Products
  Company                                                            PO Box 93402                                                           Chicago         IL            60673
  Firestone Productions Inc                                          1525 Opechee Way                                                       Glendale        CA            91208
  Firetrace USA, LLC                                                 8435 N 90th St                Suite 2                                  Scottsdale      AZ            85258
                                                                     6-14845 Yonge Street, Suite
  First Aid Canada Inc.             Aaron Wayne                      547                                                                    Aurora          ON            L4G 6H8      Canada
  First Amendment To Bus
  Purchase Contract                                                  55 Karns Meadow Drive                                                  Jackson         WY            83001
  First America                                                      29776 Network Place                                                    Chicago         IL            60673
                                    First Industrial Realty Trust,   30300 Telegraph Road, Suite
  First Industrial LP               Inc.                             123                                                                    Bingham Farms   MI            48025
                                    First Industrial Realty Trust,   311 South Wacker Drive,        Attn Operations
  First Industrial LP               Inc.                             Suite 3900                     Department                              Chicago         IL            60606
  First Industrial LP                                                311 S. Wacker Drive            Suite 3900                              Chicago         IL            60606
  First Industrial LP                                                PO Box 932761                                                          Cleveland       OH            44193
                                                                     First Industrial Realty Trust, 311 South Wacker
  First Industrial, L.P.                                             Inc.                           Drive, Suite 3900                       Chicago         IL            60606
  FIRST Insurance Funding                                            PO Box 7000                                                            Carol Stream    IL            60197
                                                                     RMS 05-15 13A/F South                              17 Canton Road Tsim
  First Part China Limited          James Li                         Tower                          World Finance CTR   Sha Tsui, KL        Harbour City    Hong Kong                  China
  First Person, Inc.                                                 550 Bryant St.                                                         San Francisco   CA            94107
  First Transit                                                      600 Vine St.                                                           Cincinnati      OH            45202
  First Truck Centre Inc.                                            18688 96th Ave                                                         Surrey          BC            V4N3P9       Canada
  First Vehicle Services                                             PO Box 900                                                             Frisco          CO            80443
  Fisheye Studios, Inc                                               802 Augusta St                                                         Greenville      SC            29605
  Fixlogix LLC                      Mike Martin                      7898 S Marshall Road                                                   Olivet          MI            49076
  Fixtureworks LLC                                                   33792 Doreka Dr                                                        Fraser          MI            48026
  Fleet BodyWorx Inc.                                                341 N. Montgomery Street                                               San Jose        CA            95110

  Fleet Maintenance Specialists Inc.                                 31500 Grape Street            #3-363                                   Lake Elsinore   CA            92532
  FleetPride, Inc.                   Brent Schrack                   PO Box 281811                                                          Atlanta         GA            30384
  FleetPride, Inc.                   JUSTIN EMERY                    PO Box 281811                                                          Atlanta         GA            30384
  FleetPride, Inc.                                                   PO Box 281811                                                          Atlanta         GA            30384

  Fleetworks Inc.                                                    14011 Marquardt Ave.                                                   Santa Fe Springs CA           90670
  Fleitas Rivera, Alejandro                                          Address Redacted
  Fleming Metal Fabricators                                          2810 South Tanager Avenue                                              Los Angeles     CA            90040-2716
  Fletcher, Brian                                                    Address Redacted
  Flex Technologies Inc.                                             15151 S. Main Street                                                   Gardena         CA            90248
                                    Northern Cable & Automation
  Flex-Cable                        LLC                         5822 Henkel Road                                                            Howard City     MI            49329

  Flexible Assembly Systems, Inc.                                    8220 Arjons Drive                                                      San Diego       CA            92126
  FlexQube, Inc..c/o AR Funding     PR Orders                        101 Park Ave                  #2503                                    New York        NY            10178
  FlexQube, Inc..c/o AR Funding                                      101 Park Ave                  #2503                                    New York        NY            10178



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                                                             1577 North Technology Way,
  FlexSim Software Products, Inc.   Brent Campbell           Suite 2300                                                       Orem            UT           84097
  Flickema, William                                          Address Redacted
  FLLC Custom Chassis Corp                                   552 Hyatt St                                                     Gaffney         NC           29341-2525
  Floersch, Christopher                                      Address Redacted
  Florangel Ramos                                            Address Redacted
  Florence Mackiewicz                                        Address Redacted
  Flores, Danny                                              Address Redacted
  Flores, Jose                                               Address Redacted
  Flores, Roberto                                            Address Redacted
  Flores, Samuel                                             Address Redacted
  Florida Association for Pupil                                                                                               New Smyrna
  Transportation, Inc.                                       PO Box 1248                                                      Beach           FL           32170
  Florida Department of Revenue                              5050 W Tennessee St                                              Tallahassee     FL           32399-0135
                                     Division of Unclaimed
  Florida Dept of Financial Services Property                200 East Gaines Street                                           Tallahassee     FL           32399-0358
  Florida Dept of Revenue            Attn Bankruptcy Dept    5050 West Tennessee St                                           Tallahassee     FL           32399-0112

  Florida Power and Light Company                            700 Universe Boulevard                                           Juno Beach      FL           33408

  Florida Power and Light Company                            General Mail Facility                                            Miami           FL           33188-0001
  Florida Public Transportation
  Association                     Lisa Bacot                 PO Box 10168                                                     Tallahassee     FL           32302
  Florida Public Transportation
  Association                                                PO Box 10168                                                     Tallahassee     FL           32302
  Floyd Anderson                                             Address Redacted
  Floyd Bell Inc.                                            720 Dearborn Park Lane                                           Columbus        OH           43085
  Floyd, Madison                                             Address Redacted
  Fluid Power Energy, Inc.                                   W229 N591 Foster Court                                           Waukesha        WI           53186
                                                             28141 Seco Canyon Road,
  Fluidium Concepts, LLC            U.S. SALES Kim Bergman   Suite 54                                                         Santa Clarita   CA           91390
  FLW Southeast, Inc.               Carrie Brazil            4451 Canton Road                                                 Marietta        GA           30066
  FLW Southeast, Inc.                                        4451 Canton Road                                                 Marietta        GA           30066
  FMK Construction Inc              Giampiero Kirpatrick     1366 Doolittle Dr                                                San Leandro     CA           94577
                                                             17 Ensign House, Admirals                                                                                  United
  FMP Global                        DBA Eurowage Ltd         Way                                                              London          UK           E14 9XQ      Kingdom
  FNS, INC.                                                  1545 Francisco St                                                Torrance        CA           90501

  FOCUS Business Solutions, Inc.                             6995 Monroe Boulevard                                            Taylor          MI           48180
  Foggie, Lakiesha                                           Address Redacted
  Fong, James                                                Address Redacted
  Fonokalafi, Lesley                                         Address Redacted

  Foothill Transit Authority                                 100 S. Vincent Ave. Suite 200                                    West Covina     CA           91790
  Forbes Bros Ltd                                            1290 91st SW                                                     Edmonton        AB           T6X OP2      Canada
  Forbes Bros Ltd                                            #200, 1290 - 91 Street SW                                        Edmonton        AB           T6X 0P2      Canada




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                                                                                                                          Rancho Santa
  Forbes Commercial Services, Inc.                           PO Box 80782                                                 Margarita       CA            92688
  Forbes, Orantis                                            Address Redacted
  Forbes, Orantis                                            Address Redacted
  ForceOne Solutions, Inc.                                   555 Brookshire Rd                                            Greer           SC            29651
  Ford, Travis                                               Address Redacted
  ForeFront Inc.                                             800 River Rd.                                                Fair Haven      NJ            07704
  Forensic Analytical Consulting
  Services Inc                     Ashley Campbell           21228 Cabot Boulevard                                        Hayward         CA            94545
  Forensic Analytical Consulting
  Services Inc                     Betsy Lee                 21228 Cabot Boulevard                                        Hayward         CA            94545
  Formlabs, Inc.                                             35 Medford St.               Suite 201                       Somerville      MA            02143
  Forster Instruments Inc                                    7141 Edwards Blvd                                            Mississauga     ON            L5S1Z2       Canada
  Fort Garry Industries Ltd                                  2525 Inkster Blvd                                            Winnipeg        MB            R2R 2Y4      Canada
  Forte Press Corporation          David David               1835 Rollins Rd                                              Burlingame      CA            94010
  Forte Press Corporation          David David               937 Lido Lane                                                Foster City     CA            94404
  Forte Press Corporation                                    1835 Rollins Rd                                              Burlingame      CA            94010
  Forte Press Corporation                                    937 Lido Lane                                                Foster City     CA            94404
                                                             2059 NW Front Ave, Suite
  Forth                           Simbiat Yusuff             101                                                          Portland        OR            97209
  FORVIS, LLP                                                910 E St Louis Street        Suite 400                       Springfield     MO            65806-2570
  Foster Instruments Inc                                     7141 Edwards Blvd                                            Mississauga     ON            L5S 1Z2    Canada
  Fotronic Corporation            DBA Test Equipment Depot   5 Commonwealth Ave           Unit 6                          Woburn          MA            01801
  Fotronic Corporation            Test Equipment Depot       DBA Test Equipment Depot     PO Box 3989                     Boston          MA            02241-3989
  Foundations Unlimited LLC                                  PO Box 1145                                                  Greer           SC            29652

  Foundry Service and Supply                                 11808 Burke Street                                           Santa Fe Springs CA           90670
  Fouts, Christophor                                         Address Redacted
  Fowler, Anthony                                            Address Redacted
  Fowlkes, Adam                                              Address Redacted
  Fowlkes, Frances                                           Address Redacted
  Fox Cordle, Terry                                          Address Redacted
  Fox, Jamie                                                 Address Redacted
  Fox, Ryan                                                  Address Redacted
                                                             2300 Hallock Young Road
  Foxconn EV System LLC                                      SW,                                                          Warren          OH            44481
  FoxIT Software                                             39355 California Street      Suite 302                       Fremont         CA            94538
  Fraczek, Michael                                           Address Redacted
  Fragomen, Del Rey, Bernsen &
  Loewy, LLP                                                 2121 Tasman Drive                                            Santa Clara     CA            95054
  Frame.Io, Inc.                  Adobe                      345 Park Avenue                                              San Jose        CA            95110
  Francis Energy, LLC                                        15 E 5th St Ste 800                                          Tulsa           OK            74103-4302
  Francisco Sanchez                                          Address Redacted
  Franco, Jose                                               Address Redacted
  Frank Michael Gagliano                                     Address Redacted
  Frank, Rimerman + Co. LLP                                  60 South Market Street       Suite 500                       San Jose        CA            95113
  Franklin Advisers Inc                                      One Franklin Parkway                                         San Mateo       CA            94403-1906



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            CreditorName                CreditorNoticeName             Address1                     Address2      Address3          City           State       Zip      Country
  Franklin County Court of Common
  Pleas                                                       345 S. High Street - Room 1B                                   Columbus         OH           43215
  Franklin Resources Inc.                                     One Franklin Parkway                                           San Mateo        CA           94403-1906

  Franklin Truck Parts, Inc.        Derrick Pinnecker         6925 Bandini Blvd.                                             City of Commerce CA           90040
  Frascati, Joseph                                            Address Redacted
  Frederic Guay                                               Address Redacted
  Frederick K Byers                                           Address Redacted
  Fredericksburg City Public
  Schools                                                     210 Ferdinand Street                                           Fredericksburg   VA           22401
  Freedman Seating Company          Jessica Zamudio           4545 W Augusta Blvd                                            Chicago          IL           60651
  Freedman Seating Company          Obed Reyes                4545 W Augusta Blvd                                            Chicago          IL           60651
  Freedman Seating Company          Solimar Carrion           4545 W Augusta Blvd                                            Chicago          IL           60651
  Freeman                                                     PO Box 650036                                                  Dallas           TX           75265
  Freeman, Serkan                                             Address Redacted
  Freightliner Custom Chassis
  Corporation LLC                                             4555 N Channel Ave.                                            Portland         OR           97217
  Freightliner Custom Chassis-
  DTNA                                                        552 Hyatt St                                                   Gaffney          SC           29341
  FreightWise, LLC                                            214 Centerview Dr, #100                                        Brentwood        TN           37027-3226
  Fresh Water Systems Inc.                                    2299 Ridge Road                                                Greenville       SC           29607
  Freshfields Bruckhaus Deringer    Attn Scott Talmadge, Ali  601 Lexington Avenue 31st
  US LLP                            Muffenbier                Floor                                                          New York         NY           10022
  Fresno County Rural Transit       MAINTENANCE MGR George
  Agency                            Sipin                    2035 Tulare St                                                  Fresno           CA           93721
  Friends of Laketran               Julia Schick             41 E. Erie Street                                               Painesville      OH           44077
  Frizzley, Jill                                             Address Redacted
  Front Panel Express LLC                                    5959 Corson Ave S Ste I                                         Seattle          WA           98108
  Frost & Sullivan                  Joseph Bove              7550 IH 10 West                 Suite 400                       San Antonio      TX           78229
  Frost & Sullivan                  Vassilissa Kozoulina     7550 IH 10 West                 Suite 400                       San Antonio      TX           78229
  Frost & Sullivan                                           7550 IH 10 West                 Suite 400                       San Antonio      TX           78229
  Frost, Matthew                                             Address Redacted
  Frost, Robert                                              Address Redacted

  FROZENBOOST.COM                                             6045 Terminal Ave, Suite 100                                   Colorado Springs CO           80915
  Frutchey, Daryl                                             Address Redacted
  Fry, James                                                  Address Redacted
  Fueled Creative                                             4701 SW Admiral Way           Suite 137                        Seattle          WA           98116
  Fujipoly American Corp                                      900 Milik Street                                               Carteret         NJ           07008
  Fujiwara, Grant                                             Address Redacted
                                                              2201 Long Prairie Road, Suite
  Fulfeelment, LLC                                            107-325                                                        Flower Mound     TX           75022
  Full Spectrum Laser LLC                                     6216 South Sandhill Road                                       Las Vegas        NV           89120
  Fuller, Barbara                                             Address Redacted
  Fuller, Cambria                                             Address Redacted
  Fuller, Larry                                               Address Redacted
  Fuller, Lori                                                Address Redacted



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            CreditorName              CreditorNoticeName            Address1                  Address2            Address3            City        State       Zip       Country
  Fuller, Thomas                                           Address Redacted
                                                           71787 Jonesboro Road, Suite
  Fulton & Kozak LLC                                       100A                                                              Morrow          GA           30260
                                                           1150 Cobb International
  Fumex, LLC                                               Place                       Suite D                               Kennesaw        GA           30152
  Funnell, EDWARD                                          Address Redacted
  Funnell, Edward                                          Address Redacted
  Furniture Services Inc.         DBA ACRS                 775 Woodruff Road                                                 Greenville      SC           29607
  Fusco, Adam                                              Address Redacted
                                                           #800 - 850 West Hastings
  Fusion Project Management Ltd   DBA Fusion Projects      Street                                                            Vancouver       BC           V6C1E1       Canada
  Fusion Technology                                        1543 Plymouth Street                                              Mountain View   CA           94043
  Fusion Trade, Inc.              Fusion Worldwide         One Marina Park Drive       Suite 305                             Boston          MA           02210
  FUTEK Advanced Sensor
  Technology, Inc.                                         10 Thomas                                                         Irvine          CA           92618
                                                                                           Fuzhou High-tech
  Fuzhou BAK Battery Co., LTD     Sherry Liu               4002 Wengchang Avenue           Development District              Fuzhou          Jiangxi      344099       China
  G & T Properties                                         10 Guittard Road                                                  Burlingame      CA           94010
  G & W Equipment, Inc.                                    600 Lawton Road                                                   Charlotte       NC           28216
  G and K Services                                         PO Box 677057                                                     Dallas          TX           75267
  G&G Builders, Inc.              Harry Cathrea            4542 Contractors Place                                            Livermore       CA           94551
  G&T Properties LLP              Laura Lomazzi            10 Guittard Road                                                  Burlingame      CA           94010
  G. P Industries                                          333 E Parr Blvd                                                   Reno            NV           89512
  G.A. Wirth Company, Inc.                                 3494 Camino Tassajara           #244                              Danville        CA           94506
  G.F. League Company, Inc.
  (QUICK CRATE)                                            PO Box 3626                                                       Greenville      SC           29608-3626
                                  DBA Guardian Alarm
  GA Business Purchaser LLC       Company                  20800 Southfield Rd                                               Southfield      MI           48075
  Gadamsetty, Pranav                                       Address Redacted
  Gaging.com LLC                  Monty Abrams             5016 Tropical Cliff Avenue                                        Las Vegas       NV           89130
  Gagliardi, Kimberly                                      Address Redacted
  Gagnon, Amy                                              Address Redacted
  Galaviz, Andres                                          Address Redacted
  Galco Industrial Electronics    Beata Votral             26010 Pinehurst Drive                                             Madison Heights MI           48071
  Galco Industrial Electronics                             26010 Pinehurst Drive                                             Madison Heights MI           48071
  Galea, Robert                                            Address Redacted
  Gali, Ali                                                Address Redacted
  Gallagher, Peter                                         Address Redacted
  Gallardo, Armando                                        Address Redacted
  Gallo Business Media                                     8001 Lincoln Ave.               Suite 720                         Skokie          IL           60077
  Galloway, David                                          Address Redacted
  Galvan, Alex                                             Address Redacted
  Gambino, George                                          Address Redacted
  Gamble, Avion                                            Address Redacted
  Gamble, Jvonte                                           Address Redacted
  Gamers Gear LLC                 DBA Wonder Guards        218 Old Zoar Rd.                                                  Monroe          CT           06468
  Gamma Technologies LLC          Lana Castillo            601 Oakmont Lane                Suite 220                         Westmont        IL           60559



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  Gamma Technologies LLC                                      601 Oakmont Ln Suite 220                                         Westmont       IL           60559
  Gandu, Venkata Sainath Redd                                 Address Redacted

  Ganzcorp Investments, Inc.        DBA Mustang Dynamometer   2300 Pinnacle Parkway                                            Twinsburg      OH           44087
  Garcia, Angel                                               Address Redacted
  Garcia, Jeff                                                Address Redacted
  Garcia, Juan                                                Address Redacted
  Garcia, Juan                                                Address Redacted
  Garcia, Norbert                                             Address Redacted
  Garcia, Ricardo                                             Address Redacted
  Garcia, Roger                                               Address Redacted
  Garcia, Rosalia                                             Address Redacted
  Gardner, Anthony                                            Address Redacted
  Garfield Signs & Graphics, LLC    Josh                      203 Ford Street                                                  Greer          SC           29650
  Garreth Adam Williams                                       Address Redacted
  Garrett Cashwell                                            Address Redacted
  Garrett, Ashley                                             Address Redacted
  Garrett, Bradley                                            Address Redacted
  Garrett, Patrick                                            Address Redacted
  Gartner, Inc.                                               56 Top Gallant Road                                              Stamford       CT           06902
  Gartner, Inc.                                               PO Box 911319                                                    Dallas         TX           75391

  Gary Abraham                                                Address on File
  Gary D. Nelson Associates                                   PO Box 49195                                                     San Jose       CA           95161
  Gary Silvers                                                Address Redacted
  Gatekeeper Systems USA Inc        Abdul Azim                221 Valley Road                                                  Wilmington     DE           19804
  Gatekeeper Systems USA Inc        Bob LeBlevec              221 Valley Road                                                  Wilmington     DE           19804
  Gatekeeper Systems USA Inc                                  Dept CH 19468                                                    Palatine       IL           60055-9468
  Gatekeeper Systems USA Inc                                  LB# 1872                       PO Box 95000                      Philadelphia   PA           19195
  Gatta, Nicholas                                             Address Redacted
  Gaultney, Brian                                             Address Redacted
  Gauri Joshi                                                 Address Redacted
  Gautam, Sparsh                                              Address Redacted
  Gavin Troster                                               Address Redacted
                                                                                                                                                                        United
  GAWS of London                                              One America Square                                               London                      EC3N 2AD     Kingdom
  Gaytan, Alfredo                                             Address Redacted
  GBT US LLC                                                  PO Box 53618                                                     Phoenix        AZ           85027-3618
  GEA PHE Systems North
  America, Inc.                                               100 GEA Drive                                                    York           PA           17406
  Gellert Scali Busenkell & Brown                             1201 N. Orange Street, Suite
  LLC                               Bradley Lehman            300                                                              Wilmington     DE           19801

  Gellert Scali Busenkell & Brown                                                            1628 John F. Kennedy
  LLC                                                         8 Penn Center                  Blvd, Suite 1901                  Philadelphia   PA           19103
  Gems Sensors, Inc.                COREY FLANIGAN            PO Box 96860                                                     Chicago        IL           60693
  Gems Sensors, Inc.                Richard Slenn             PO Box 96860                                                     Chicago        IL           60693



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             CreditorName               CreditorNoticeName                 Address1                   Address2      Address3         City            State       Zip       Country
  Gems Sensors, Inc.                 RMA RMA                      PO Box 96860                                                 Chicago         IL            60693
  Gems Sensors, Inc.                                              PO Box 96860                                                 Chicago         IL            60693
  Genard, Inc. DBA Lennova                                        1717 Boyd St.                                                Santa Ana       CA            92705
  Gendy, Hany                                                     Address Redacted
  General Assembly Corporation                                    7101 N. Mesa St              PMB# 544                        El Paso          TX           79912-3613
  General Cable Industries, Inc.                                  4 Tesseneer Drive                                            Highland Heights KY           41076
  General Heating & AC                                            224 Hicks Road                                               Greenville       SC           29605
  General Heating Air Conditioning
  of Greenville, Inc.                                             224 Hicks Road                                               Greenville      SC            29605
  General Metals LLC                                              328 E Main ST                PO BOX 99                       Pine Level      NC            27568
  General Services Administration    Craig Yokum                  1800 F Street NW                                             Washington      DC            20006
  General Services Administration                                 1800 F Street NW                                             Washington      DC            20006
  General Traffic Equipment Corp     Raymond Staffon              259 Broadway                                                 Newburgh        NY            12550
  Generation IM Climate Solutions                                                                                                                                         Cayman
  Fund II, L.P.                                                   PO Box 309                   Ugland House                    Grand Cayman                  KY1-1104     Islands
  GENERATION INVESTMENT
  MANAGEMENT                                                      555 Mission Street                                           San Francisco   CA            94105
  Genesys Industrial Corp            Dutch Dillingham             3210 East 85th Street                                        Kansas City     MO            64132
  Genesys Industrial Corp            Eileen ONeill                3210 East 85th Street                                        Kansas City     MO            64132
  GENFARE, LLC                       Antonio Scimo                DBA Genfare                  PO Box 277399                   Atlanta         GA            30384-7399
                                                                                                                               ELK GROVE
  GENFARE, LLC                       Antonio Scimo                GENFARE                      800 ARTHUR AVE.                 VILLAGE         IL            60007
  GENFARE, LLC                       TERESE GILLUM                DBA Genfare                  PO Box 277399                   Atlanta         GA            30384-7399
                                                                                                                               ELK GROVE
  GENFARE, LLC                       TERESE GILLUM                GENFARE                      800 ARTHUR AVE.                 VILLAGE         IL            60007
                                                                  3344 North Torrey Pines
  Genomic Life, Inc.                                              Court                        STE 100                         La Jolla        CA            92037
  George Derek Weiss                                              Address Redacted
  George E Becker                                                 Address Redacted
  George Heiser Body Co., Inc.       Trenia Christianson          9426 8th Ave.S                                               Seattle         WA            98108
  George Heiser Body Co., Inc.                                    9426 8th Ave.S                                               Seattle         WA            98108
                                     Golden State Maintenance &
  George Hernandez                   Inspection LLC               Address Redacted
  George Industries                                               4116 Whiteside Street                                        Los Angeles     CA            90063
  George Industries                                               PO Box 841583                                                Los Angeles     CA            90063
  George Industries                                               PO Box 841583                                                Los Angeles     CA            90084-1583
  George JU                                                       Address Redacted
  George, Daniel                                                  Address Redacted
                                                                  1290 Avenue of the
  Georgeson LLC                                                   Americas, 9th Floor                                          New York        NY            10104
  Georgeson LLC                                                   Dept CH 16640                                                Palatine        IL            60055
  Georgia Child Support                                           PO Box 1600                                                  Carrollton      GA            30112
  Georgia Department of                                                                        Suite 1308, West
  Administrative Services                                         200 Piedmont Avenue, S.E.    Tower                           Atlanta         GA            30334
  Georgia Department of
  Administrative Services                                         200 Piedmont Ave, Ste 1308 West Tower                        Atlanta         GA            30334
  Georgia Department of Revenue                                   Processing Center          PO Box 740239                     Atlanta         GA            30374-0239



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  Georgia Department of Revenue                                 Processing Center             PO Box 740317                        Atlanta       GA            30374
                                  Compliance Division - Central 1800 Century Blvd NE, Suite
  Georgia Dept of Revenue         Collection Section            9100                                                               Atlanta       GA            30345-3202
                                                                4125 Welcome All Rd Suite
  Georgia Dept of Revenue         Unclaimed Property Program 701                                                                   Atlanta       GA            30349-1824
  Georgia Transit Association                                   2146 Roswell Road             Suite 108-885                        Marietta      GA            30062
  Georgia/Carolina Safety
  Specialties, Inc                                             1120 W. Butler Road, Suite R                                        Greenville    SC            29607
  Georgia/Carolina Safety         DBA Eyes in Motion, USA &    DBA Eyes in Motion, USA &
  Specialties, Inc.               Saefty Rx Eyewear            Saefty Rx Eyewear            1120 W. Butler Road    Suite R         Greenville    SC            29607
  Georgianna Mogul                                             Address Redacted
  Georgie Jemail                                               Address Redacted
  Geospace Technologies
  Corporation                                                  7007 Pinemont Drive                                                 Houston       TX            77040
  Gerald Henry                                                 Address Redacted
  Gerber, John                                                 Address Redacted
  Gerflor USA                     Abby Pantoja                 595 Supreme Drive                                                   Bensenville   IL            60106
  Gerflor USA                     Ellyn Grunenwald             595 Supreme Drive                                                   Bensenville   IL            60106
                                  FLOORING ROLLS
  Gerflor USA                     FLOORING ROLLS               595 Supreme Drive                                                   Bensenville   IL            60106
  Gerflor USA                                                  595 Supreme Drive                                                   Bensenville   IL            60106
  GES Canada Limited                                           5675 McLaughlin Road                                                Mississauga   ON            L5R 3K5      Canada
                                                               9500 N. Royal Lane, Suite
  Gexpro Services                 Dan Phillips                 130                                                                 Irving        TX            75063
  Gexpro Services                 GS Operating, LLC            201 Forrester Dr                                                    Greenville    SC            29607
  Gexpro Services                 GS Operating, LLC            9500 North Royal Lane          Suite 130                            Irving        TX            75063
  GH Metal Solutions, Inc.        CARI LOCKLEAR                PO Box 742323                                                       Atlanta       GA            30374
  GH Metal Solutions, Inc.        DALE JOLLY                   PO Box 742323                                                       Atlanta       GA            30374
  GH Metal Solutions, Inc.        DAVID CAME                   PO Box 742323                                                       Atlanta       GA            30374
  GH Metal Solutions, Inc.                                     PO Box 742323                                                       Atlanta       GA            30374
  Ghanbari Ph.D., Vahideh                                      Address Redacted
  Gheorghe Szilagyi                                            Address Redacted
  Ghorab, Mona                                                 Address Redacted
                                  Custom Glass Solutions
  GI Glass Holdings, LLC          Upper Sandusky, LLC          28908 Network Place                                                 Chicago       IL            60673-1289
                                  Custom Glass Solutions       Custom Glass Solutions
  GI Glass Holdings, LLC          Upper Sandusky, LLC          Upper Sandusky                 12688 SH 67                          Upper Sandusky OH           43351

                                  Custom Glass Solutions       d/b/a Custom Glass Solutions
  GI Glass Holdings, LLC          Upper Sandusky, LLC          Upper Sandusky, LLC          28908 Network Place                    Chicago       IL            60673-1289
  Giehl, Michael                                               Address Redacted
  Gigavac LLC                     Frida Sofia Aguilar Romo     6382 Rose Lane                                                      Carpinteria   CA            93013
  Gigavac LLC                                                  6382 Rose Lane                                                      Carpinteria   CA            93013
  GIGAVAC, LLC                    Courtney Brightman           529 Pleasant Street                                                 Attleboro     MA            02703
  GIGAVAC, LLC                    COURTNEY BRIGHTMAN           6382 ROSE LN                                                        CARPINTERIA   CA            93013
                                                                                            1271 Avenue of the
  GIGAVAC, LLC                    Madeleine C. Parish          Latham & Watkins LLP         Americas                               New York      NY            10020



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                                                                   2390 El Camino Real, Suite
  GigSky, Inc.                        John Francis                 250                                                              Palo Alto          CA           94306
  Gilbert Eng                                                      Address Redacted
  Gilbert, Anthony                                                 Address Redacted
  Gilbert, Donna                                                   Address Redacted
  Gill, Randall                                                    Address Redacted
  Gillespie, James                                                 Address Redacted
  Gina Oh                                                          Address Redacted
  Giorgio Amil                                                     Address Redacted
  Giri Bhattarai                                                   Address Redacted
  Girish, Tanya                                                    Address Redacted
  Girls Athletic Leadership School of
  Los Angeles                                                      8015 Van Nuys Blvd                                               Panorama City      CA           91402
  Giron, Ricko                                                     Address Redacted
  GitHub, Inc.                                                     88 Colin P Kelly Jr. Street                                      San Francisco      CA           94107
  GitLab, Inc.                                                     268 Bush St                      #350                            San Francisco      CA           94104

  GL Frederick Inc                   Electrical Services Company   9835 Kitty Lane                                                  Oakland            CA           94603
  Gladstein, Neandross &
  Associates                                                       2525 Ocean Park Boulevard        Suite 200                       Santa Monica       CA           90405

  Glass & Marker Inc.                Sam Yudes                     2220 Livingston Street, #209                                     Oakland            CA           94707
  Glass Doctor                                                     PO Box 26406                                                     Greenville         SC           29616
  Glass Service Center                                             1215 3rd Avenue                                                  Rock Island        IL           61201
  Gleason Reel Corp                                                PO Box 7410219                                                   Chicago            IL           60674-0219
  Gleason Reel Corporation           Gleason Reel Corp             PO Box 7410219                                                   Chicago            IL           60674-0219

  Gleason Reel Corporation           OHF Credit                    Michelle Cobb, Credit Analyst 701 Millennium Blvd                Greenville         SC           29607
  Gleason Reel Corporation                                         600 South Park Street                                            Mayville           WI           53050
  Gleason Reel Corporaton                                          600 South Park Street                                            Mayville           WI           53050
  Glenn Collins                                                    Address Redacted
  Glenn, Robert                                                    Address Redacted
  Global Choice, Inc                 Prepac Designs, Inc           25 Abner Place                                                   Yonkers            NY           10704
                                     ACCOUNT MGR Barbara
  Global Equipment Company           Bouton                        PO Box 905713                                                    Charlotte          NC           28290
  Global Equipment Company           DIANE KELLY                   PO Box 905713                                                    Charlotte          NC           28290
  Global Equipment Company           Nick Cimber                   PO Box 905713                                                    Charlotte          NC           28290
  Global Equipment Company                                         PO Box 905713                                                    Charlotte          NC           28290
                                     Employment Screening
  Global HR Research, LLC            Services                      9530 Marketplace Road            Suite 301                       Fort Myers         FL           33912
                                     Employment Screening
  Global HR Research, LLC            Services                      PO Box 638968                                                    Cincinnati         OH           45263-8968
  Global Innovations, U.S.A                                        3901 N Via De Cordoba                                            Tucson             AZ           85749
  Global Technology Ventures Inc.                                  37408 Hills Tech Drive                                           Farmington Hills   MI           48331
                                                                   7800 Third Street North, Suite
  Global Traffic Technologies LLC    Craig Carroll                 100                                                              Saint Paul         MN           55128




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                                                             7800 Third Street North, Suite
  Global Traffic Technologies LLC                            100                                                            Saint Paul      MN           55128
  Globalization Partners                                     175 Federal Street             17th Floor                      Boston          MA           02110
  Gloria J. Stewart                                          Address Redacted
  Gloss Postproduction LLC                                   3767 Overland Avenue           Unite 112                       Los Angeles     CA           90034
  Glossop, Susan                                             Address Redacted
  Glover, Antonio                                            Address Redacted
  Glover, Derienzo                                           Address Redacted
  Glover, Jordan                                             Address Redacted
  Gloves Plus, Inc.                                          227 Neely Ferry Road                                           Simpsonville    SC           29680
  GM Nameplate,
  Inc./SuperGraphics                                         2040 15th Avenue                                               Seattle         WA           98119
  GMPC LLC                                                   11390 W Olympic Blvd           Suite 400                       Los Angeles     CA           90064
                                    INSIDE SALES Simone
  GMW Associates                    Sexton                   955 Industrial Road                                            San Carlos      CA           94070
  Godfrey & Wing LLC                dba Imprex Inc.          3260 S 108th Street                                            Milwaukee       WI           53227
  Godshall & Godshall Personnel
  Consultants, Inc                  Send POs to              Godshall Staffing              PO Box 1984                     Greenville      SC           29602
  Godshall & Godshall Personnel
  Consultants, Inc                                           PO Box 1984                                                    Greenville      SC           29602
  GoEngineer, Inc.                  Teri Knight              739 E Fort Union Blvd                                          Midvale         UT           84047
  Goetzinger, Christopher                                    Address Redacted
                                                             1165 Northchase PKWY SE
  GOH America Corporation                                    Suite 230                                                      Marietta        GA           30067
                                                             1165 Northchase Pkwy, Ste
  Goh America Corporation                                    230                                                            Marietta        GA           30067
  Goh Shoji Co., Inc Marudai shokai
  kasumigaura soko                                           1838, Kamiinayoshi                                             Kasumigaura-shi Ibaraki      315-0056   Japan
  Goheen, Spencer                                            Address Redacted
  Goins III, Joseph                                          Address Redacted
  Goins, Josiah                                              Address Redacted
  Goken America LLC                                          5100 Parkcenter Ave                                            Dublin          OH           43017
  Gold Coast Dist.                                           2638 Kenita St.                                                Oxnard          CA           93035
  Golden Strip Glass, Inc.          Henry Kurtz              PO Box 1176                                                    Mauldin         SC           29662
  Golden Strip Glass, Inc.                                   PO Box 1176                                                    Mauldin         SC           29662
  Gomez Ocampo, John                                         Address Redacted
  Gomez, Adan                                                Address Redacted
  Gomez, Andre                                               Address Redacted
  Gomez, Hugo                                                Address Redacted
  Gomez, Irene                                               Address Redacted
  Gonzales, Diogenes                                         Address Redacted
  Gonzales, Jonathan                                         Address Redacted
  Gonzales, Kareen                                           Address Redacted
  Gonzalez, Cindy                                            Address Redacted
  Gonzalez, Jaudiel                                          Address Redacted
  Gonzalez, Jorge                                            Address Redacted
  Gonzalez, Jose                                             Address Redacted



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  Gonzalez, Luis                                         Address Redacted
  Gonzalez, Travis                                       Address Redacted
  Goodman, Catherine                                     Address Redacted
  Goodnough, Brandon                                     Address Redacted
  Goodnough, Daniel                                      Address Redacted
  Goodwin, Brittney                                      Address Redacted
  Goodwin, Dustin                                        Address Redacted
  Goodwin, Dustin                                        Address Redacted
  Goodwin, Jason                                         Address Redacted
  Goodwin, Patrick                                       Address Redacted
  Goodwyn, Mills & Cawood, Inc                           2660 Eastchase Lane             Suite 200                       Montgomery      AL           36117
  Gopaluni, Karthikeyan                                  Address Redacted
  Gordey, James                                          Address Redacted
  Gordon A. Nevison                                      Address Redacted
  Gordon A. Nevison                                      Address Redacted
  Gordon A. Nevison                                      Address Redacted
  Gordon Ericksen Facilities
  Services                                               17810 8th Ave S                                                 Burien          WA           98148
  Gore, Erik                                             Address Redacted
  Gorilla Circuits                                       1445 Oakland Rd                                                 San Jose        CA           95112
  Gorilla Creative                                       7172 Regional Street            #506                            Dublin          CA           94568
  GOS                                                    PO Box 3358                                                     Greenville      SC           29602
  Gosaye, Clifford                                       Address Redacted
  Got Electric, LLC              Joshua Parmentier       18978 Bonanza Way                                               Gaithersburg    MD           20879
  GoTriangle                                             4600 Emperor Blvd               Ste 101                         Durham          NC           27703
  Gourmet Lovers Catering Inc    Carolina Guardado       1722 North Tustin St                                            Orange          CA           92865
  Govardhan, Rohan Ravindra                              Address Redacted
  GOVARDHAN, ROHAN
  RAVINDRA                                               Address Redacted
  Gowling WLG LLP                                        160 Elgin Street                Suite 2600                      Ottawa          ON           K1P 1C3      Canada
  Gowri Shankar Shekar                                   Address Redacted
  Goyal, Priyanka                Priyanka Goyal          Address Redacted
  GPS Networking                                         710 West 4th Street             Unit A                          Pueblo          CO           81003
  Grace Lee                                              Address Redacted
  Grace, Dustin                                          Address Redacted

  Graffiti Shield                                        2940 East La Palma Avenue       Suite D                         Anaheim         CA           92806
  Grafton, Daniel                                        Address Redacted
  Grainger                       Ashley Watson           Dept 880089966                                                  Palatine        IL           60038-0001
  Grainger                       JEFF WHALEN             Dept 880089966                                                  Palatine        IL           60038-0001
  Grainger                       Nathan Jared            Dept 880089966                                                  Palatine        IL           60038-0001
  Grainger                                               Dept 880089966                                                  Palatine        IL           60038-0001
  Granados Vazquez, Alberto                              Address Redacted
  GRANADOS VAZQUEZ,
  ALBERTO                                                Address Redacted
  Grand Hyatt at SFO                                     55 South Mcdonnel Rd                                            San Francisco   CA           94128




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  Grant Elementary School District                                 8835 Swasey Dr.                                                    Redding         CA           96001
  Graphic Innovations Inc.           Carolyn Bouchard              380 Jefferson Blvd.-Unit C                                         Warwick         RI           02886
  Graphic Products Inc.                                            PO Box 4030                                                        Beaverton       OR           97076-4030
  Graphic Products, Inc                                            9825 SW Sunshine Ct.                                               Beaverton       OR           97005
  Graybar                            JASON WATKINS                 File 57072                                                         Los Angeles     CA           90074-7072
  Graybar                            LARRY LITTLEJOHN              File 57072                                                         Los Angeles     CA           90074-7072
  Graybar                                                          File 57072                                                         Los Angeles     CA           90074-7072
  Graybar                                                          PO Box 403052                                                      Atlanta         GA           30384
  Grayhawk Search Inc.                                             320 March Road                   Unit 401                          Kanata          ON           K2K 2E3    Canada
  Grayhill Inc                                                     561 Hillgrove Ave                                                  LaGrange        IL           60525

  Grayson Thermal Systems Corp.      CIARA ABBEY                   980 Hurricane                                                      Franklin        IN           46131

  Grayson Thermal Systems Corp.      FAY TAYLOR                    980 Hurricane                                                      Franklin        IN           46131

  Grayson Thermal Systems Corp.      FAYBIAN TAYLOR                980 Hurricane                                                      Franklin        IN           46131
                                                                                                                                      Tyseley -                                 United
  Grayson Thermal Systems Corp.                                    257 Wharfdale Road                                                 Birminngham                  B-1120P      Kingdom
                                                                                                                                                                                United
  Grayson Thermal Systems Corp.                                    Unit 4 Kingpin Industrial Park                                     Tyseley Wharf   Birmingham B11 2FE        Kingdom

  Grayson Thermal Systems Corp.                                    980 Hurricane                                                      Franklin        IN           46131

  Grayson Thermal Systems Corp.                                    980 Hurricane Road                                                 Franklin        IN           46131
  Great American Alliance
  Insurance Company                                                301 E Fourth Street                                                Cincinnati      OH           45202
  Great American Insurance
  Company                            c/o Joseph E. Lehnert, Esq.   KMK Law                          1 E 4th St, Ste 1400              Cincinnati      OH           45202

  Great American Insurance Group                                   3561 Solutions Center                                              Chicago         IL           60677

  Great American Insurance Group                                   PO Box 89400                                                       Cleveland       OH           44101
                                   DBA Chinook O-Rings and
  Great Lakes Rubber Portland Inc. Seals                           8062 SW Nimbus Ave               Bldg 6                            Beaverton       OR           97008
                                   DBA Chinook O-Rings and         DBA Chinook O-Rings and          8062 SW Nimbus Ave
  Great Lakes Rubber Portland Inc. Seals                           Seals                            Bldg 6                            Beaverton       OR           97008
  GreatAmerican Leasing
  Corporation                                                      PO Box 609                                                         Cedar Rapids    IA           52406-0609
  Greater Bridgeport Transit
  Authority                                                        1 Cross St                                                         Bridgeport      CT           06610
  Greater Bridgeport Transit
  Authority                                                        One Cross Street                                                   Bridgeport      CT           06610
  Greater Peoria Mass Transit
  District                                                         2105 NE Jefferson Ave                                              Peoria          IL           61603
  Greater Peoria Mass Transit
  District                                                         21 Northeast Jefferson St                                          Peoria          IL           61603



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  Greater Portland Metro                                      114 Valley St.                                                  Portland          ME           04102
  Greater Portland Transit District                           114 Valley St.                                                  Portland          ME           04102
  Greater Portland Transit District
  (Metro)                                                     114 Valley Street                                               Portland          ME           04102
  Greater Raleigh Chamber of
  Commerce                          Natalie Griffith          PO Box 2978                                                     Raleigh           NC           27602
  Greater Raleigh Chamber of
  Commerce                                                    800 South Salisbury Street                                      Raleigh           NC           27601
  Greater Raleigh Chamber of
  Commerce                                                    PO Box 2978                                                     Raleigh           NC           27602
  Greatwide Dedicated Transport                               PO Box 770                                                      Anderson          SC           29622-0750
  Green Earth Sustainable Solutions
  LLC                                                         117 Bernal Road                 Suite 70 MS 239                 San Jose          CA           95119
  Green Earth Sustainable Solutions                           360 S. Market Street, Unit
  LLC                                                         1507                                                            San Jose          CA           95113
  Green Heart Foods, LLC            Nautica Welch             1069 Pennsylvania Ave                                           San Francisco     CA           94107
  Green Metro Construction                                    1299 Bayshore Hwy               Ste 128                         Burlingame        CA           94010
  Green Mountain Transit                                      101 Queen City Park Rd                                          Burlington        VT           05401
  Green Mountain Transit                                      15 Industrial Parkway                                           Burlington        VT           05401
  Green Paradigm Consulting, Inc.                             11800 Clark Street                                              Arcadia           CA           91006
  Green State Power LLC                                       PO Box 13604                                                    GREENSBORO        NC           27415
  Green, Chad                                                 Address Redacted
  Green, Taborus                                              Address Redacted
                                                              3003 Breezewood Lane, PO
  Greenberg Traurig, LLP                                      Box 368                                                         Mount Airy        NC           27030
  Greenberg Traurig, LLP                                      8400 NW 36th Street             Suite 400                       Doral             FL           33166
  Greenlight Innovation Corp.                                 3430 Brighton Avenue            Unit 104A                       Burnaby           BC           V5A 3H4    Canada
  Greenlink Transit Authority                                 100 West McBee Ave                                              Greenville        SC           29601
  Greentech Landscape Servies                                 333 N Grant St                                                  San Mateo         CA           94401-1808
  Greentree Advisors LLC                                      3198 Oakdale                                                    Hickory Corners   MI           49060
  Greentree Advisors LLC                                      7021 Verde Way                                                  Naples            FL           34108
  Greenville Camperdown Hotel,
  LLC                               AC Hotel Greenville       315 S Main Street                                               Greenville        SC           29601

  Greenville Chamber of Commerce                              24 Cleveland Street                                             Greenville        SC           29601

  Greenville Chamber of Commerce                              550 S. Main Street              Suite 550                       Greenville        SC           29607
  Greenville City Center LLC     Hyatt Regency Greenville     220 North Main Street                                           Greenville        SC           29601
                                                                                              Greenville County
  Greenville County Tax Collector                             301 University Ridge            Square                          Greenville        SC           29601
  Greenville County Tax Collector                             301 University Ridge            Suite 700                       Greenville        SC           29601
  Greenville Drive, LLC                                       935 S Main Street               Suite 202                       Greenville        SC           29601-3345
  Greenville Drive, LLC                                       945 S. Main Street                                              Greenville        SC           29601
  Greenville Industrial Rubber &
  Gasket Co., Inc.                  Devin Stone               2707 Poinsett Highway                                           Greenville        SC           29609
  Greenville Industrial Rubber &
  Gasket Co., Inc.                  INSIDE SALES Joey Russo   2707 Poinsett Highway                                           Greenville        SC           29609



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  Greenville Industrial Rubber &
  Gasket Co., Inc.                                                  2707 Poinsett Highway                                           Greenville      SC           29609
  Greenville Industrial Rubber &
  Gasket Co., Inc.                                                  PO Box 4469                                                     Greenville      SC           29608
  Greenville Maintenance               Hunter Jenkins               PO Box 27036                                                    Greenville      SC           29616
  Greenville Maintenance               Rex Jones                    PO Box 27036                                                    Greenville      SC           29616

  Greenville Maintenance               Rex W. Jones, Vice President PO Box 27036                                                    Greenville      SC           29616
  Greenville Maintenance                                            100 West McBee Ave            PO Box 2207                       Greensboro      NC           29601
  Greenville Maintenance                                            2503 Rutherford Road                                            Greenville      SC           29609
                                                                    4 McDougall Court, Suite 107-
  Greenville Maintenance                                            B                                                               Greenville      SC           29607
  Greenville Maintenance                                            Attn Danny Moyd               2 Exchange Street                 Greenville      SC           29605

  Greenville Mechanical, LLC           Gail Borrmann                103 Woodruff Industrial Lane                                    Greenville      SC           29607

  Greenville Mechanical, LLC           Jamie Bridwell               103 Woodruff Industrial Lane                                    Greenville      SC           29607
                                       Greenville Office Supply
  Greenville Office Supply Co., Inc.   Company Co Inc               Charles W Scales III            310 E Frontage Rd               Greer           SC           29651

  Greenville Office Supply Co., Inc. Heather Hickman New            PO Box 3358                                                     Greenville      SC           29602
  Greenville Office Supply Company
  Co Inc                             Charles W Scales III           310 E Frontage Rd                                               Greer           SC           29651
  Greenville Pickens Roundtrac                                      220 Kay Drive                                                   Easley          SC           29640
  Greenville Police Department
  False Alarm Reduction Program                                     PO Box 6496                                                     Greenville      SC           29606
  Greenville Scale Co., Inc          GSC                            149 Landmark Drive                                              Taylors         SC           29687
  Greenville Tech                                                   PO Box 5616                                                     Greenville      SC           29606
  Greenville Transit Authority                                      100 W. McBee Avenue                                             Greenville      SC           29601
  Greenville Transit Authority                                      PO Box 2207                                                     Greenville      SC           29602
  Greenville Transit Authority d/b/a
  Greenlink                                                         100 W. McBee Avenue                                             Greenville      SC           29601
  Greenville Water                                                  PO Box 687                                                      Greenville      SC           29602-0687
  Greenville Water System                                           407 West Broad Street           P.O. Box 687                    Greenville      SC           29601
  Greenville Water System                                           PO Box 687                                                      Greenville      SC           29602
  Greenville, City and County of
  SCTAC                              Danny Moyd                     c/o SCTAC                       2 Exchange Street               Greenville      SC           29605
  Greer, Austin                                                     Address Redacted
  Greg Fadell, LLC DBA Not                                          DBA Not, Inc.                   9420 Allen Road                 Clarkston       MI           48348
  Greg Smith Equipment Sales                                        4685 Troy Court                                                 Jurupa Valley   CA           92509
  Greg Smith Equipment Sales                                        5800 Massachusetts Ave.                                         Indianapolis    IN           46218
  Greggs, Jason                                                     Address Redacted
  Gregoire, Darcie                                                  Address Redacted
  Gregory Koplow                                                    Address Redacted
  Gregory M. Johnson                                                Address Redacted
  Gregory Scott Rikard                                              Address Redacted
  Greyson Chun                       Arnold Chun                    Address Redacted



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  Grice, Marcus                                                  Address Redacted

  Grid Connect                       INSIDE SALES Carla Silveria 1630 W. Diehl Rd.                                                     Naperville      IL           60563

  Grid Subject Matter Experts, LLC                               145 Parkshore Drive            Suite 140                              Folsom          CA           95630
  GridFabric, LLC                                                111 North Broadway             Suite B                                Green Bay       WI           54303
  Grier, Paul                                                    Address Redacted
  Griffin, Chase                                                 Address Redacted
  Griffin, Christopher                                           Address Redacted
  Griffin, Kristina                                              Address Redacted
  Griffiths Corporation              DBA K-TEK CAROLINA          2717 Niagara Ln. N                                                    Minneapolis     MN           55447
  Grippe, Franklin                                               Address Redacted
  Grooms, James                                                  Address Redacted
  Groove Jones LLC                                               3900 Willow Street             Suite 200                              Dallas          TX           75226
  Grote Industries, LLC              Ashleigh Hamilton           Fifth Third Bank               Dept 0116                              Cincinnati      OH           45263-0116

  Grote Industries, LLC              Dorothee Suin de Boutemard Fifth Third Bank                Dept 0116                              Cincinnati      OH           45263-0116
  Grote Industries, LLC              Lora McMahon               Fifth Third Bank                Dept 0116                              Cincinnati      OH           45263-0116
  Grote Industries, LLC                                         2600 Lanier Drive                                                      Madison         IN           47250
  Grote Industries, LLC                                         Fifth Third Bank                Dept 0116                              Cincinnati      OH           45263-0116
  Grote Industries, LLC                                         PO Box 734425                                                          Chicago         IL           60673-4425
  Group Dekko                                                   4777 Solutions Center                                                  Chicago         IL           60677-4007
  Grover, Sai                                                   Address Redacted

  Gruntworkz Welding and Fab Inc.                                15519 80th Ave                                                        Blue Grass      IA           52726
  GS Manufacturing Inc.                                          985 W. 18th Street                                                    Costa Mesa      CA           92627
  GS Operating, LLC d/b/a Gexpro                                 9 Greenway Plaza, Suite
  Services                           Ben Aderholt, Esq.          1100                                                                  Houston         TX           77046
  GS Operating, LLC d/b/a Gexpro                                                                9 Greenway Plaza,
  Services                           Ben L. Aderholt             Coats Rose, P.C.               Suite 1000                             Houston         TX           77046
  GS Operating, LLC d/b/a Gexpro                                                                1201 N. Market Street,
  Services                           John D. Demmy               Saul Ewing LLP                 Suite 2300             P.O. Box 1266   Wilmington      DE           19899
  GS Operating, LLC d/b/a Gexpro                                                                1201 N. Market Street,
  Services                           John D. Demmy               Saul Ewing LLP                 Suite 2300                             Wilmington      DE           19899
  GS Operating, LLC d/b/a Gexpro                                 9500 N. Royal Lane, Suite
  Services                           Raymond Herzog              130                                                                   Irving          TX           75063
                                                                 450 Golden Gate Ave 5th FL
  GSA/FAS/QVOCFA                                                 East                                                                  San Francisco   CA           94102
                                                                 450 Golden Gate Avenue, 5th
  GSF/FAS/QVOCFA                                                 Floor East                                                            San Francisco   CA           94102
  GSL Fine Lithographers                                         8386 Rovana Circle                                                    Sacramento      CA           95828
  GSW Manufacturing Inc              Diana Zeltner               1801 Production Drive       PO Box 1045                               Findlay         OH           45839
  GSW Manufacturing Inc              Yukari Weese                1801 Production Drive       PO Box 1045                               Findlay         OH           45839
  GSW Manufacturing Inc.                                         1801 Production Drive                                                 Findlay         OH           45840
  GT Development Corporation         Deborah Turner              IMI Precision               425 C St. N.W.           Suite 100        Auburn          WA           98001
                                     Deborah Turner GT
  GT Development Corporation         Development Corporation     IMI Precision                  425 C St. N.W.        Suite 100        Auburn          WA           98001



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  GT Development Corporation          Service GT Customer      IMI Precision                 425 C St. N.W.       Suite 100        Auburn         WA        98001
  GTI Roll Transportation Services,
  Inc.                                                         5020 rue Fairway                                                    Lachine        QC        H8T 1B8   Canada
  Gudino, Marco                                                Address Redacted
  Guerrero, Michael                                            Address Redacted
  Guevara, John                                                Address Redacted
  GuidePoint Security LLC                                      2201 Cooperative Way          Suite 225                             Herndon        VA        20171
  Guittard Chocolate Co.                                       10 Guittard Road                                                    Burlingame     CA        94010
  Gulab Singh                                                  Address Redacted
  Gulamhussein, Nizar                                          Address Redacted
  Gunderson Dettmer Stough
  Villeneuve Franklin & Hachigian,
  LLP                                 Maggie White             550 Allerton Street                                                 Redwood City   CA        94063
  Gunnison, Ezekiel                                            Address Redacted
  Guofeng Jin                                                  Address Redacted
  Guoyuan Qi                                                   Address Redacted
  Gupta, Akagra                                                Address Redacted
  Gurcan, Chase                                                Address Redacted
  Gurobi Optimization, LLC            Mark Steidel             9450 SW Gemini Drive          #90729                                Beaverton      OR        97008
  Guthrie, Hunter                                              Address Redacted
  Gutierrez, Aaron                                             Address Redacted
  Gutierrez, Andres                                            Address Redacted
  Gutierrez, Christopher                                       Address Redacted
  Gutierrez, Esiquiel                                          Address Redacted
  Guzman, Beatriz                                              Address Redacted
  Guzman, Marvin                                               Address Redacted
  H & W Electrical                                             PO Box 3662                                                         Greenville     SC        29608
  H & W Electrical Corp                                        PO Box 9716                                                         Greenville     SC        29604
  H.A. DeHart & Son                                            311 Crown Point Road                                                Thorofare      NJ        08086
  H.A. DeHart & Son, Inc.                                      311 Crown Point Road                                                Thorofare      NJ        08086
  H.B. Fuller Company                                          1200 Willow Lake Blvd.                                              St. Paul       MN        55110
  Ha Yeon Kim                                                  Address Redacted
  Haaker Equipment Company            DBA Total Clean          2070 N. White Ave                                                   La Verne       CA        91750
  Habig, William                                               Address Redacted
  Hackett, Moses                                               Address Redacted
  Hadley Products Corporation         BETH HAWKINS             2851 Prairie St SW                                                  Grandville     MI        49418
  Hadley Products Corporation         Kris Vanderwall          2851 Prairie St SW                                                  Grandville     MI        49418
  Hadley Products Corporation         Linda Kingma             2851 Prairie St SW                                                  Grandville     MI        49418
  Hadley Products Corporation                                  2851 Prairie St SW                                                  Grandville     MI        49418
  Haeufle, John                                                Address Redacted
  Hagen, Chris                                                 Address Redacted
  Hagler I, Xander                                             Address Redacted
  Haider Bajwa                                                 Address Redacted
  Haig Precision Mfg. Corp.                                    3616 Snell Avenue                                                   San Jose       CA        95136
  Hakan Topakkaya                                              Address Redacted
  Haldex Brake Products Corp.         Isis Guel                10930 N Pomona Ave                                                  Kansas City    MO        64153
  Haldex Brake Products Corp.         MICHELLE CASARES         10930 N Pomona Ave                                                  Kansas City    MO        64153



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  Haldex Brake Products Corp.                             10930 N Pomona Ave                                                 Kansas City       MO           64153
                                                                                        Haldex Brake Products
  Haldex Brake Products Corp.                             Dept. #289301                 Corp.                 PO Box 67000   Detroit           MI           48267-2893
  Hale, James                                             Address Redacted
                                                          2700 Halkey Roberts Place
  Halkey Roberts Corporation    Joe Martens               North                                                              Saint Petersburg FL            33716
                                                          2700 Halkey Roberts Place
  Halkey Roberts Corporation    Joseph Martin             North                                                              Saint Petersburg FL            33716
  Hall III, John                                          Address Redacted
  Hall, James                                             Address Redacted
  Hall, Rashun                                            Address Redacted

  Hall, Scott                                             Address Redacted
  Hall, William                                           Address Redacted
  Haltec Corporation            Janet Hendershot          PO Box 1180                   2556 State Route 9                   Salem             OH           44460-8180
  Haltec Corporation            Jason Crank               PO Box 1180                   2556 State Route 9                   Salem             OH           44460-8180
  Haltec Corporation                                      2556 State Route 9            PO Box 1180                          Salem             OH           44460-8180
  Hamdard, Ashvir                                         Address Redacted
  Hamelin, Mark                                           Address Redacted
  Hamid Madani                  DBA Base Builders, Inc.   Address Redacted
  Hamilton Clark Sustainable
  Capital Inc.                  John McKenna              1701 Pennsylvania Ave NW      Suite 200                            Washington        DC           20006
  Hamilton, Matthew                                       Address Redacted
  Hamm, Jesse                                             Address Redacted
  Hammett, Scott                                          Address Redacted
  Hampton City School Board                               1819 Nickerson Blvd                                                Hampton           VA           23663
  Hampton Roads Transit                                   3400 Victoria Blvd.                                                Hampton           VA           23661
  Hampton, Artis                                          Address Redacted
  Han, David                                              Address Redacted
  Hanbury Brown, Holly                                    Address Redacted
  Handling Services Inc         Heath Bland               21 AD Asbury Road                                                  Greenville        SC           29605
  Handling Services Inc         Stephanie Hovanec         21 AD Asbury Road                                                  Greenville        SC           29605
  Handling Solutions LLC                                  PO Box 1551                                                        Clemmons          NC           27012-1551
  Hangtown Electric, Inc                                  PO Box 630                                                         Shingle Springs   CA           95682

  Hanover Displays              BRENT ANDERSON            1601 Tonne Road                                                    Elk Grove Village IL           60007

  Hanover Displays              KEELY ELLIS               1601 Tonne Road                                                    Elk Grove Village IL           60007

  Hanover Displays              KRISTYN LEVATO            1601 Tonne Road                                                    Elk Grove Village IL           60007

  Hanover Displays                                        1601 Tonne Road                                                    Elk Grove Village IL           60007
  Hanover Displays                                        6111 North River Road                                              Rosemont          IL           60018
                                                                                       Songbai Road, Xili
                                                                                       Street, Nanshan
  Hans Information Co.                                    613 Baiwangxin Tech Building District                              Shenzhen                                    China
  Hansen, Alex                                            Address Redacted



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  Hansen, Nicholas                                              Address Redacted

  Hansens Precision Machining, Inc.                             5611 Kendall Ct.                #2                                Arvada          CO           80002

  Hanson Bridgett LLP                  Shannon Nessier          425 Market Street, 26th Floor                                     San Francisco   CA           94105
  Happy Tree Productions Inc.          Dean Vogtman             1040 84th Ave. West                                               Duluth          MN           55808
  Harbor Diesel & Equipment, Inc       HD Industries            537 W. Anaheim St.                                                Long Beach      CA           90813
  Hargraves, Curtis                                             Address Redacted
  Hargrove, Torrance                                            Address Redacted
  Harminder Singh Grewal                                        Address Redacted
  Harmon, Matthew                                               Address Redacted
  Harney, Brendan                                               Address Redacted
                                                                Associated Services
  Harold A Steuber Enterprises, Inc.                            Company                         600 McCormick Street              San Leandro     CA           94577
                                                                35 West Court Street, Suite
  Harper                                                        400                                                               Greenville      SC           29601
  Harper Corporation                   FRANK TUCKER             35 W. Court Street              Suite 400                         Greenville      SC           29601-2817
  Harper Corporation                                            35 W. Court Street              Suite 400                         Greenville      SC           29601-2817
  Harper, James                                                 Address Redacted
  Harper, Jarocca                                               Address Redacted
  Harrell, Cruz                                                 Address Redacted
  Harriet Rouhana                                               Address Redacted
  Harris Assembly Group                                         187 Industrial Park Dr.                                           Binghamton      NY           13904
  Harris Haifeng Zeng                                           Address Redacted
  Harris Handling LLC                                           PO Box 471965                                                     Charlotte       NC           28277
  Harris Integrated Solutions                                   319 Garlington Rd               Suite C8                          Greenville      SC           29615
  Harris Integrated Solutions                                   PO Box 4286                                                       West Columbia   SC           29171-4286
  Harris, Alvin                                                 Address Redacted
  Harris, Kenya                                                 Address Redacted
  Harris, Melvon                                                Address Redacted
  Harris, Tiffany                                               Address Redacted
  Harrison, Heather                                             Address Redacted
  Harrison, William                                             Address Redacted
  Harrisons Workwear                                            206D New Neely Ferry Rd                                           Mauldin         SC           29662
  Harry the Hirer                                               81-95 Burnley Street                                              Richmond        VIC          3121       Australia
  Harsco Corporation                   DBA Protran Technology   1762 Solutions Center                                             Chicago         IL           60677-1007
  HARSCO RAIL, LLC                                              1762 SOLUTIONS CENTER                                             CHICAGO         IL           60677-1007
  HARSCO RAIL, LLC.                    HARSCO RAIL, LLC         1762 SOLUTIONS CENTER                                             CHICAGO         IL           60677-1007
                                       PROTRAN, A DIVISION OF                                                                     WEST
  HARSCO RAIL, LLC.                    HARSCO CORPORATION       CREDIT DEPARTMENT               2401 EDMUND RD                    COLUMBIA        SC           29171
  Harsha Kestur Narayanaswamy                                   Address Redacted
  Harting, Inc. of North America       SARAH CORCORAN           6280 Eagle Way                                                    Chicago         IL           60678-1062
  Harting, Inc. of North America                                6280 Eagle Way                                                    Chicago         IL           60678-1062
  Harvard Campus Services              Robert Kulch             46 Blackstone Street                                              Cambridge       MA           02139
  Harvard University                                            28 Travis Street                                                  Allston         MA           02134
  Harvey Warren Wiener                                          Address Redacted




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  HashiCorp                           Attn Director or Officer      101 Second Street, Suite 700                                  San Francisco    CA           94105
  Hassan Sabik                                                      Address Redacted
  Hassane Al-Sibai                                                  Address Redacted

  Hastings Air-Energy Control, Inc.   INSIDE SALES Kellie Griffin   5555 S. Westridge Drive                                       New Berlin       WI           53151

  Hastings Air-Energy Control, Inc.   PAYMENTS-A/R Sue Bohrer       5555 S. Westridge Drive                                       New Berlin       WI           53151

  Hastings Air-Energy Control, Inc.   VP-FINANCE Mike Bohrer        5555 S. Westridge Drive                                       New Berlin       WI           53151

  Hastings Air-Energy Control, Inc.                                 5555 S. Westridge Drive                                       New Berlin       WI           53151
  Hauser, Jan                                                       Address Redacted
  Hawaii Dept of Taxation             Attn Bankruptcy Dept          PO Box 259                                                    Honolulu         HI           96809-0259
  Hawaii Medical Service
  Association                                                       PO Box 29810                                                  Honolulu         HI           96820-1730
  Hawkins Towing                                                    32 Taunya Lane                                                Travelers Rest   SC           29690
  Hawkins Towing Inc                                                32 Taunya Lane                                                Travelers Rest   SC           29690
  Hawkins, Calvin                                                   Address Redacted
  Haydock, Benjamin                                                 Address Redacted
  Haydon, Graham                                                    Address Redacted
  Haynsworth Sinkler Boyd, PA                                       1201 Main Street               22nd Floor                     Columbia         SC           29201
  Haywood, Rakeem                                                   Address Redacted
  Haywood, Roderick                                                 Address Redacted
  Hazarika, Deeprekha                                               Address Redacted
  Hazmat Safety Consulting, LLC                                     1765 Duke Street                                              Alexandria       VA           22314
                                                                    5210 E. Williams Circle, Suite
  HBM Prenscia, Inc.                  Jae Thompson                  240                                                           Tucson           AZ           85711
  HDR Engineering Inc.                                              8404 Indian Hills Drive                                       Omaha            NE           68114
  Health Solutions Services           Interactive Health            11409 Cronhill Drive           Suite M                        Owings Mills     MD           21117
  Health Solutions Services           Interactive Health            1700 East Golf Rd              Suite 900                      Schaumburg       IL           60173
  Healy, Michelle                                                   Address Redacted
  Heard, Myliah                                                     Address Redacted
  Heavy Duty Lift & Equipment                                       6559 Bermuda Ln.                                              Flowery Branch   GA           30542
  Heavy Haul Solutions, LLC                                         386 Sims Chapel Road                                          Spartanburg      SC           29306
  Heena Bansal                                                      Address Redacted
  HEF-P Baltimore County, LLC                                       4242 North Point Rd                                           Dundalk          MD           21222
  HEF-P Manassas, LLC                                               8500 Public Works Drive                                       Manassas         VA           20110
  Heigl Adhesive Sales, Inc           DBA Heigl Technologies        7667 Cahill Rd., Suite 100                                    Edina            MN           55439
  Heiken, Brandon                                                   Address Redacted
  Heilind Electronics                                               3100 Summit Ave #200                                          Plano            TX           75074
  Heilind Electronics, Inc.           Dawna Evans                   2636 N First St, Suite 107                                    San Jose         CA           95134
  Heilind Electronics, Inc.           Jack Wallace                  2636 N First St, Suite 107                                    San Jose         CA           95134
  Heilind Electronics, Inc.                                         2636 N First St, Suite 107                                    San Jose         CA           95134
  Heilind Electronics, Inc.                                         58 Jonspin Rd.                                                Wilmington       MA           01887
                                                                    6520 Meridien Drive, Suite
  Heilind Electronics, Inc.                                         100                                                           Raleigh          NC           27616



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                                                                                                Ho King Commerical   No. 2-16 Fa Yuen
  Heisener Electronics Limited                                  Flat/Rm 2103 21/F               Centre               Street             Mong Kok                                 Hong Kong
                                                                                                                                                                                 Netherland
  Heliox Automotive B.V.         Aswin Linden                   De Waal 24                      Noord-Brabant                           Best                        5684 PH      s
                                                                165 Ottley Drive NE, Suite
  Heliox Technology Inc.                                        205                                                                     Atlanta        GA           30324
  Heliox Technology North America
  LLC                                                           165 Ottley Dr NE                Suite 205                               Atlanta        GA           30324
  Hella, Incorporated                                           Dept #771011                    PO Box 77000                            Detroit        MI           48277-0011
  Helm, Joshua                                                  Address Redacted
  Helmut Jilling                                                Address Redacted
  Helriegel, Stephen                                            Address Redacted
  Helwig Carbon Products          Geoff Wienke                  8900 W Tower Ave.                                                       Milwaukee      WI           53224
  Helwig Carbon Products                                        8900 W Tower Ave.                                                       Milwaukee      WI           53224
  HEM Data                                                      17320 12 Mile Rd.                                                       Southfield     MI           48076-2105
  Hemsing, Elizabeth                                            Address Redacted
  Henderson, Raven                                              Address Redacted
  Henderson, Wendy                                              Address Redacted
  Hendricks Fabrication Inc.                                    712 Shiloh Road                                                         Piedmont       SC           29673
  Heng, Hoeun                                                   Address Redacted
  Henkel Corporation                                            One Henkel Way                                                          Rocky Hill     CT           06067
  Hennessy, Michael                                             Address Redacted
  Henry Christopher Hammett                                     Address Redacted
  Henry Ngai                      Henry Hung Chung Ngai         Address Redacted
  Henry Servin & Sons, Inc.       HS&S                          2185 Ronald St.                                                         Santa Clara    CA           95050-2838
  Henry, Manuel                                                 Address Redacted
  Herbst, Alex                                                  Address Redacted
                                                                400 Hamilton Avenue, Suite
  Hercules Capital, Inc.                                        310                                                                     Palo Alto      CA           94301
  Hercules Technology Growth
  Capital                                                       400 Hamilton Avenue             Suite 310                               Palo Alto      CA           94301
  Hercules Technology Growth                                    400 Hamilton Avenue, Suite
  Capital, Inc.,                                                310                                                                     Palo Alto      CA           94301
  Heredia, Robert                                               Address Redacted
  Heritage Wire Harness, LLC     BRANDI TOWNSEND                1500 Airport Rd                                                         Fort Payne     AL           35967
  Heritage Wire Harness, LLC     CHARLENE MAGBIE                1500 Airport Rd                                                         Fort Payne     AL           35967
  Heritage Wire Harness, LLC     Martha Scott                   1500 Airport Rd                                                         Fort Payne     AL           35967
  Heritage Wire Harness, LLC                                    1500 Airport Rd                                                         Fort Payne     AL           35967
                                 Christopher Heritage-Crystal
  Heritage-Crystal Clean         Clean                          13621 Collections Center Dr                                             Chicago        IL           60693
                                 CORPORATE OFFICE
  Heritage-Crystal Clean         CORPORATE OFFICE               13621 Collections Center Dr                                             Chicago        IL           60693
  Heritage-Crystal Clean         Joey Belue                     13621 Collections Center Dr                                             Chicago        IL           60693
  Hermenegildo, Melissa                                         Address Redacted
  Hermes Engineering                                            St. Mur 15                                                              Sofia                       1680         Bulgaria
  Hernandez Jr., Angel                                          Address Redacted
  Hernandez, Alfred                                             Address Redacted



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  Hernandez, David                                             Address Redacted
  Hernandez, David                                             Address Redacted
  Hernandez, Leo                                               Address Redacted
  Hernandez, Maura                                             Address Redacted
  Herrera, Jennifer                                            Address Redacted
  Herron, Nicholas                                             Address Redacted
  Herron, Shelvin                                              Address Redacted
  Hervieux, Ben                                                Address Redacted
  Hester Fabrication Inc.             Daniel Hester            20876 Corsair Blvd         Unit A                              Hayward            CA           94545
                                                               200 Cummings Center, Suite
  HET MCPS, LLC                                                273D                                                           Beverly            MA           01915
  Hettmann, Joseph                                             Address Redacted
  Heustess, Coleman                                            Address Redacted
  Hexagon Manufacturing
  Intelligence, Inc                                            250 Circuit Drive                                              North Kingstown    RI           02852
  Hi Pro Speed International Inc      Michelle                 15332 E Valley Blvd                                            City of Industry   CA           91746
  Hi Pro Speed International Inc      Michelle                 5367 Ayon Ave                                                  Irwindale          CA           91706
  Hi Pro Speed International Inc                               15332 E Valley Blvd                                            City of Industry   CA           91746
  Hidden Pasture Unicorn Farm,
  LLC                                                          108 Hidden Pasture Trail                                       Fountain Inn       SC           29644

  High Pressure Technologies, LLC                              24895 Ave Rockefeller                                          Valencia           CA           91355
  HighByte Intelligence Hub                                    PO Box 17854                                                   Portland           ME           04112
  HighByte, Inc.                                               PO Box 17854                                                   Portland           ME           04112
                                                               200 Cummings Center, Suite
  Highland Electric Fleets                                     273D                                                           Beverly            MA           01915
  Highland Electric Transportation                             195 Defense Highway                                            Annapolis          MD           21401
  Highland Electric Transportation                             589 Bay Road, No 516                                           Hamilton           MA           01982
  Highland Electric Transportation,                            200 Cummings Center, Suite
  Inc.                                Sean Leach               273D                                                           Beverly            MA           01915
  Highland Electric Transportation,
  Inc.                                                         589 Bay Road, No 516                                           Hamilton           MA           01982
  Highlight Labs LLC                                           6 Liberty Square #2026                                         Boston             MA           02109
  Hi-Heat Industries                  QUINCY MCCORD            256 Hanover Rd                                                 Lewistown          MT           59457
  Hi-Heat Industries                                           256 Hanover Rd                                                 Lewistown          MT           59457
  Hilbish, James                                               Address Redacted
  Hilco Diligence Services, LLC       Sandy Clark              5 Revere Drive, Suite 300                                      Northbrook         IL           60062
  Hilco Valuation Services, LLC       Sandy Clark              5 Revere Drive, Suite 300                                      Northbrook         IL           60062
  Hill, Dale                                                   Address Redacted
  Hill, Kameron                                                Address Redacted
  Hill, Tanner                                                 Address Redacted
  Hill, Tommy                                                  Address Redacted
  Hill, Tristen                                                Address Redacted
  Hiller Aviation Institute           Lanie Agulay             601 Skyway Road                                                San Carlos         CA           94070
  Hin, Bobby                                                   Address Redacted
  Hin, Michael                                                 Address Redacted




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                                                         18383 Preston Road Suite
  Hioki USA Corporation         Suong Mac                150                                                          Dallas          TX           75252
                                                         6600 Chase Oaks Blvd., Suite
  Hioki USA Corporation                                  150                                                          Plano           TX           75023
  Hioki USA Corporation                                  6 Corporate drive                                            Cranbury        NJ           08512
  HiQ Solar, Inc.                                        1259 Reamwood Ave                                            Sunnyvale       CA           94089

  HireVue, Inc                                           10876 S River Front Parkway STE 500                          South Jordan    UT           84095
  Hisco, Inc.                                            6650 Concord Park Drive                                      Houston         TX           77040
  Hi-Tech                                                PO Box 691863                                                Stockton        CA           95269
  Ho, Joshua                                             Address Redacted
  Ho, Simon                                              Address Redacted
  Hoad, Devin                                            Address Redacted
  Hoang, Tri                                             Address Redacted
  Hobbs & Towne, Inc                                     PMB 269                     PO Box 987                       Valley Forge    PA           19482
  Hodge Products Inc            Matt Jones               7365 Mission Gorge Road     Suite F                          San Diego       CA           92120
  Hodge Products Inc            Matt Jones               PO Box 1326                                                  El Cajon        CA           92022-1326
  Hodge Products Inc                                     7365 Mission Gorge Road     Suite F                          San Diego       CA           92120
  Hodge Products Inc                                     PO Box 1326                                                  El Cajon        CA           92022-1326
                                                         Nevada Automotive Test
  Hodges Transportation, Inc.                            Center                      P.O. Box 234                     Carson City     NV           89702
  Hoffman & Hoffman, Inc.           MEREDITH SLOAN       PO Box 896000                                                Charlotte       NC           28289
  Hoffman & Hoffman, Inc.           PAT LAWSON           PO Box 896000                                                Charlotte       NC           28289
  Hoffman & Hoffman, Inc.                                PO Box 896000                                                Charlotte       NC           28289
  Hoffman, Kenneth                                       Address Redacted
  Hoists Direct LLC                                      123 Charter St.                                              Albemarle       NC           28001
  Holden, Joseph                                         Address Redacted
  Holder Electric Supply                                 431 N. Pleasantburg Dr.                                      Greenville      SC           29607
  Holder, David                                          Address Redacted
  Holder, Trevor                                         Address Redacted
  Holland                                                27052 Network Place                                          Chicago         IL           60673-1270
  Hollenbeck, Mark                                       Address Redacted
  Hollin Machine Repair & Scraping,
  Inc.                                                   PO Box 1065                                                  Easley          SC           29641
  Hollis, Shawn                                          Address Redacted
  Holloway, Cassie                                       Address Redacted
  Holloway, Christopher                                  Address Redacted
  Holly A. OHearn                                        Address Redacted
  Holly Zimmerman                                        Address Redacted
  Holmes Jr., Louis                                      Address Redacted
  Holstar LLC                       Chad Sullivan        210 PIntail Drive                                            McKinney        TX           75072
  Holstar LLC                       Doug Mercer          210 PIntail Drive                                            McKinney        TX           75072
  Holstar LLC                       Kirk Extrell         210 PIntail Drive                                            McKinney        TX           75072
  Holt, Dennis                                           Address Redacted
  Hom, Ana Dominique                                     Address Redacted
  Hom, Jason                                             Address Redacted
  Home Depot                                             2455 Paces Ferry Road NW                                     Atlanta         GA           30339



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  Homeland Insurance Company of Intact Insurance Group USA
  New York                      LLC                           605 Highway 169 N                                                Plymouth        MN           55441

  Homeland Manufacturing, Inc.                                11537 W. Dixie Shores Drive                                      Crystal River   FL           34429

  Homemade Classes, LLC                                       15620 Agatewood Road NE                                          Bainbridge Island WA         98110
  HonBlue Inc.                                                501 Sumner St, #3B1                                              Honolulu          HI         96817
  Hong Nan                                                    Address Redacted
                                     DBA Hood Branded
  Hood Exhibits, Inc.                Environments             1001 Canal Blvd.                 Suite C                         Richmond        CA           94804
  Hoosier Tank & Manufacturing,
  Inc.                               Amy Steele               2190 Industrial Drive                                            Niles           MI           49120
  Hoosier Tank & Manufacturing,
  Inc.                               Nicole Rininger          2190 Industrial Drive                                            Niles           MI           49120
  Hoosier Tank & Manufacturing,
  Inc.                                                        2190 Industrial Drive                                            Niles           MI           49120
  Hope Contractors of Shreveport,
  Inc.                                                        1513 W. Dalzell                                                  Shreveport      LA           71133
  Hope Contractors of Shreveport,
  Inc.                                                     PO Box 3726                                                         Shreveport      LA           71133
  Hopf, Patrick                                            Address Redacted
  Hopper, Taquiesha                                        Address Redacted
  HornBlasters Inc                                         3752 Copeland Dr                                                    Zephyrhills     FL           33542
  Horton, Matthew                                          Address Redacted
  Hossein A Maleki                                         Address Redacted
  Hottinger Bruel and Kjaer Inc.     CHRISTOPHER DeMARTINI 19 Bartlett Street                                                  Marlboro        MA           01752
  Hottinger Bruel and Kjaer Inc.     Jae Thompson          19 Bartlett Street                                                  Marlboro        MA           01752
  Hottinger Bruel and Kjaer Inc.     Tara Bailey           19 Bartlett Street                                                  Marlboro        MA           01752
  Hottinger Bruel and Kjaer Inc.                           19 Bartlett Street                                                  Marlboro        MA           01752
  Houlihan Lokey Financial
  Advisors, Inc.                                              10250 Constellation Blvd.        5th Floor                       Los Angeles     CA           90035
  Houston Casualty Company (UK                                                                                                                                           United
  Branch)                                                     1 Aldgate                                                        London                       EC3N 1RE     Kingdom
  Houston Casualty Company (UK
  Branch)                                                     13403 Northwest Freeway                                          Houston         TX           77040
  Houston-Galveston Area Council                              P.O. Box 22777                                                   Houston         TX           77227-2777
  Hovair Automotive LLC              Rusty Jackson            211 Province Street                                              Franklin        IN           46131

  Hovair Systems Manufacturing Inc                            6912 South 220th Street                                          Kent            WA           98032
  Howard Allegan                                              Address Redacted
  Howard Gaines                                               Address Redacted
  Howard, John                                                Address Redacted
  Howard, Kerri                                               Address Redacted
  Howzell, Allison                                            Address Redacted
  HPS                                                         5367 Ayon Ave                                                    Irwindale       CA           91706
  HQS Technician Services, LLC                                3620 Griffith Drive                                              Stockton        CA           95212
  HR Experts on Demand                                        2801 Wade Hampton Blvd           Suite 115-263                   Taylors         SC           29687



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  HR Kleckner Construction, Inc.                              PO Box 2927                                                     Dublin           CA           94568
  HRP Associates, Inc.                                        197 Scott Swamp Road                                            Farmington       CT           06032
                                                              105 North Spring Steet, Suite
  HTI/Human Technologies Inc.                                 200                                                             Greenville       SC           29601
  HTI/Human Technologies Inc.                                 PO Box 896593                                                   Charlotte        NC           28289-6593
  Huang Ogata, Zachary                                        Address Redacted
  Hub Group Inc.                                              2001 Hub Group Way                                              Oak Brook        IL           60523-1000
  Hub Group Inc.                                              33773 Treasury Center                                           Chicago          IL           60694
                                                              8530 Steele Creek Place
  Huber+Suhner, Inc                Desiree Diaz               Drive                           Suite H                         Charlotte        NC           28273
                                                              8530 Steele Creek Place
  Huber+Suhner, Inc                Johanne Hairston           Drive                           Suite H                         Charlotte        NC           28273
                                                              8530 Steele Creek Place
  Huber+Suhner, Inc                Sandra Denham              Drive                           Suite H                         Charlotte        NC           28273
                                                              8530 Steele Creek Place
  Huber+Suhner, Inc                                           Drive                           Suite H                         Charlotte        NC           28273
  Hubner Manufacturing
  Corporation, Inc.                DARLENE BERRY              510 Tram Trail                                                  Dunlap           TN           37327
  Hubner Manufacturing
  Corporation, Inc.                Micah Sprecher             510 Tram Trail                                                  Dunlap           TN           37327
  Hubner Manufacturing
  Corporation, Inc.                Tripp Ward                 510 Tram Trail                                                  Dunlap           TN           37327
  Hubner Manufacturing
  Corporation, Inc.                                           450 Wando Park Blvd.                                            Mount Pleasant   SC           29464
  Hudgens, Stanley                                            Address Redacted

  Hudson Insurance Company                                    100 William Street, 5th Floor                                   New York         NY           10038
                                   Raksha Lahiri, CFA, Vice   580 California Street Floor, 16
  Hudson Insurance Group           President                  th Floor                                                        San Francisco    CA           94104
  Hudson, Katelin                                             Address Redacted
  Huebner, Terrence                                           Address Redacted
  Hueso, Ricky                                                Address Redacted
  Hughes, Gregory                                             Address Redacted
  Hughey, Jonathan                                            Address Redacted
  Huibregtse, Richard                                         Address Redacted
  Huiwen Lin                                                  Address Redacted
  Human Factors North Inc.                                    174 Spadina Avenue              Suite 202                       Toronto          ON           M5T 2C2      Canada
                                                              105 North Spring Steet, Suite
  Human Technologies, Inc.                                    200                                                             Greenville       SC           29601
  Humatics Corporation             Phil Mann                  101 Main Street                 Suite 1400                      Cambridge        MA           02142

  Humberto Wu, LLC                 The Catering Company       13613 NE 126th Place, #350                                      Kirkland         WA           98034
  Humboldt Transit Authority       Jim Wilson                 133 V Street                                                    Eureka           CA           95501
  Humboldt Transit Authority                                  133 V Street Eureka                                             Eureka           CA           95501
  Hung Vuong                                                  Address Redacted
  Hung, Kang Yung                                             Address Redacted
  Hunter Services Inc.                                        140 Woodruff Rd            #132                                 Greenville       SC           29607



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  Hunter, Michael                                            Address Redacted
  Hunter, Sandra                                             Address Redacted
  Huntress, Kara                                             Address Redacted
  Huron Consulting Group, Inc                                550 W. Van Buren Street                                         Chicago          IL           60607
  Hurst, Leslie                                              Address Redacted
  Hurtado, David                                             Address Redacted
  Hurtig, Jeffery                                            Address Redacted
                                                             120 S. Riverside Plaza, Suite
  Husch Blackwell LLP             Michael Brandess           2200                                                            Chicago          IL           60606
  Hutchins, Grant                                            Address Redacted

  Hutchinson Aerospace & Industry Art Hale                   82 South Street                                                 Hopkington       MA           01748

  Hutchinson Aerospace & Industry Sandy Della Penna          82 South Street                                                 Hopkington       MA           01748

  Hutchinson Aerospace & Industry                            82 South Street                                                 Hopkington       MA           01748
  Hutchisson III, William                                    Address Redacted
  Hutton, Tyler                                              Address Redacted
  Huxley Joseph                                              Address Redacted
  Hyatt Regency Long Beach                                   200 South Pine Avenue                                           Long Beach       CA           90802
  Hyatt, Chris                                               Address Redacted
  Hydradyne LLC                     CORY ODOM                1957 SC Hwy 101                                                 Greer            SC           29651
  Hydradyne LLC                     KAREN BERNARD POC        1957 SC Hwy 101                                                 Greer            SC           29651
                                    KAREN BERNARD-
  Hydradyne LLC                     EDMUNDS                  1957 SC Hwy 101                                                 Greer            SC           29651
  Hydradyne LLC                                              1957 SC Hwy 101                                                 Greer            SC           29651
  Hydradyne LLC                                              Carolina Fluid Air              P.O Box 974799                  Dallas           TX           75397
  Hydraulic & Pneumatics Sales,
  Inc.                              JODY CLONINGER           ATTN Accounts Receivable        P. O. Box 410587                Charlotte        NC           28241
  Hydraulic & Pneumatics Sales,
  Inc.                                                       P. O. Box 410587                                                Charlotte        NC           28241
  Hydraulic Controls Inc.           Leslie Guzman            PO Box 8157                                                     Emeryville       CA           94662
  Hydraulic Controls Inc.                                    PO Box 8157                                                     Emeryville       CA           94662
                                    DBA HFI Fluid Power
  Hydraulic Fittings, Inc           Products                 1210 Washington Ave                                             Racine           WI           53403
  Hydraulic Fittings, Inc HFI Fluid
  Power Products                                             1210 Washington Ave                                             Racine           WI           53403
  Hydro Engineering                                          865 W 2600 So                                                   Salt Lake City   UT           84119
  Hydrogenics Corporation                                    220 Admiral Blvd.                                               Mississauga      ON           L5T 2N6      Canada
                                    c/o Wells Fargo Vendor                                   800 Walnut Street
  HYG Financial Services, Inc.      Financial Services LLC   Attn Lisa Boddicker             MAC F0005-055                   Des Moines       IA           50309
                                                             5000 Riverside Dr., Suite 300
  HYG Financial Services, Inc.                               East                                                            Irving           TX           75039-4314
  HYG Financial Services, Inc.                               800 Walnut St                                                   Des Moines       IA           50309-3605
  HYG Financial Services, Inc.                               PO Box 77102                                                    Minneapolis      MN           55480
  HYG Financial Services, Inc.                               PO Box 14545                                                    Des Moines       IA           50306-3545
  Hyman, Catherine                                           Address Redacted



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  HyperSurf Internet Services Inc.                               1929 Concourse Dr.                                                      San Jose        CA           95131
  Hysen, Dora                                                    Address Redacted
  Hyun Soo Kim                                                   Address Redacted
  Hyunjoo Park                                                   Address Redacted

  I & A Engineering                                              Iradj Rahnama                     1610 Blossom Hill Rd. Suite 6A        San Jose        CA           95124
  I.C. Ink Image Co., Inc.           DBA Harbor Signs            DBA Harbor Signs                  PO Box 4487                           Stockton        CA           95204
  I/O Controls                       GABRIEL LOPEZ-BERNAL        1357 W. Foothill Blvd.                                                  Azusa           CA           91702
  I/O Controls                       Jerry Lin                   1357 W. Foothill Blvd.                                                  Azusa           CA           91702
  I/O Controls                       MICHELLE UPTON              1357 W. Foothill Blvd.                                                  Azusa           CA           91702
  I/O Controls                                                   1357 W. Foothill Blvd.                                                  Azusa           CA           91702
  I2SE GmbH                                                      Friedrich - Ebert - Str. 61,                                            Leipzig                      4109         Germany
  Ian Tolbert                                                    Address Redacted
  Iav Automotive Engineering                                     15620 Technology Drive                                                  Northville      MI           48168
  IB Abel Inc                                                    2745 Black Bridge Road                                                  York            PA           17406
  iba America, LLC                                               370 Winkler Dr                    Suite C                               Alpharetta      GA           30004
  Ibanez, Marcos                                                 Address Redacted
  Ibis Hannover City                                             Vahrenwalder Str. 113                                                   Hannover                     30165        Germany
  Ibrahim Said                                                   Address Redacted
  Ice Components, Inc.                                           1165 Allgood Road                 Suite #20                             Marietta        GA           30062
  Ickes Jr., Lloyd                                               Address Redacted
  ICOMERA U.S., Inc.                 Andrea Agreda               9210 Corporate Blvd.              Suite 100                             Rockville       MD           20850
  ICOMERA U.S., Inc.                 GABRIEL LOPEZ-BERNAL        9210 Corporate Blvd.              Suite 100                             Rockville       MD           20850
  ICOMERA U.S., Inc.                 VAN JOHNSON                 9210 Corporate Blvd.              Suite 100                             Rockville       MD           20850
  ICOMERA U.S., Inc.                                             9210 Corporate Blvd.              Suite 100                             Rockville       MD           20850
  ICS Inc.                                                       217 Donaldson Rd                                                        Greenville      SC           29605
  ID Wholesaler                      Mark Nusbaum                1501 NW 163rd St                                                        Miami           FL           33169
  ID Wholesaler                                                  1501 NW 163rd St                                                        Miami           FL           33169
  ID Wholesaler                                                  5830 NW 163rd Street                                                    Miami Lakes     FL           33014
  ID Wholesaler                                                  PO Box 95265                                                            Chicago         IL           60694
  Idaho State Tax Commission         Attn Compliance Division    PO Box 36                                                               Boise           ID           83722-0036

  Idaho State Tax Commission         Unclaimed Property Program 304 N 8th St. Suite 208                                                  Boise           ID           83702-5834

  Idaho State Tax Commission                                     11321 W Chinden Blvd Bldg 2                                             Boise           ID           83714
  Idaho State Tax Commission                                     PO Box 76                                                               Boise           ID           83707-0076
  Ideal Products, Inc.                                           PO Box 4090                                                             Ontario         CA           91761
  Ideal Prototypes, Inc.                                         2216 Page Road              Suite 102                                   Durham          NC           27703
  IDEX Global Services                                           505 Montgomery Street       Suite 1250                                  San Francisco   CA           94111
  IDK Co., Ltd                                                   588 JinShan Rd              Jiangbei                                    Ningbo                                    China
  Iduate, Daniel                                                 Address Redacted
  IES Synergy, Inc.                                              330 E. Maple Rd             Suite U                                     Troy            MI           48083
  IEWC CORP.                         Charlie Medlen              Dept CH - Box 17084                                                     Palatine        IL           60055-7084
  IEWC CORP.                         Jason Bower                 Dept CH - Box 17084                                                     Palatine        IL           60055-7084
  IEWC CORP.                         Keri Brylow                 Dept CH - Box 17084                                                     Palatine        IL           60055-7084
  IEWC CORP.                                                     Dept CH - Box 17084                                                     Palatine        IL           60055-7084
  Ignacio J. Ciocchini               DBA True Eye Design LLC     Address Redacted



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  Igus Bearings, Inc.              DBA Igus, Inc.              P.O. Box 14349                                                         East Providence   RI           02914
  Iizaki, Geoffrey                                             Address Redacted
                                                                                              Jiangbei Investment
  IKD Co., Ltd                                                 588 Jinshan Road               Pioneering Park                         Ningbo                         315033       China
  Ikenberry, Devin                                             Address Redacted

  Ikonix USA LLC                   INSIDE SALES Lindsay Baker 28105 N. Keith Drive                                                    Lake Forest       IL           60045
  ILI Infodisk, Inc                SAI Global Standards       205 W Wacker Dr.                Suite 1800                              Chicago           IL           60606
  ILKI HWANG                                                  Address Redacted
  Illinois Department of Revenue                              State of IL                                                             Springfield       IL           62726-0001
  Illinois Dept of Revenue         Bankruptcy Unit            PO Box 19035                                                            Springfield       IL           62794-9035
  Illinois Public Transportation
  Association                                                  928 S. Spring St.                                                      Springfield       IL           62704
  Illinois Secretary of State      Jesse White                 213 State Capitol                                                      Springfield       IL           62756
  Illinois Secretary of State                                  213 State Capitol                                                      Springfield       IL           62756
                                                               555 W. Monroe Street, 14th
  Illinois State Treasurer                                     Floor                                                                  Chicago           IL           60661
  Imagi Outdoor                    Natacha Quesnel             9436, Du Golf Blv.                                                     Montreal          QC           H1J 3A1      Canada
                                                                                              1990 N California Blvd
  Imanami Corporation              Juliet Beacham              PMB 1018                       Ste 20                                  Walnut Creek      CA           94596-3791
  Imeco Cables America Inc.                                    5650 Kieran                                                            St Laurent        QC           H4S 2B5    Canada
  Imeco Cables America Inc.                                    33 Gus Lapham Ln                                                       Plattsburgh       NY           12901
  Immedion LLC                                                 78 Global Drive                Suite 100                               Greenville        SC           29607
                                   DBA Indiana Mills &
  IMMI Holdings, Inc.              Manufacturing, Inc.         18881 IMMI Way                                                         Westfield         IN           46074
  IMMI Vehicle Improvement
  Products, Inc.                   Legal Department            18881 IMMI Way                                                         Westfield         IN           46074
  Impact Business Coaches                                      4855 Walnut Grove              Suite 101                               Johns Creek       GA           30022
  Impak Corporation                                            13700 S Broadway                                                       Los Angeles       CA           90061
  Impakt Holdings, LLC             DBA DMP                     1655 Rollins Road                                                      Burlingame        CA           94010
  In, Mycahjane                                                Address Redacted
  Inceptra                                                     1900 N. Commerce Pkway                                                 Weston            FL           33326
  Inceptra                                                     1900 N Commerce Pkwy                                                   Weston            FL           33326
  Inceptra                                                     2020 N W 150th Avenue          Suite 300                               Pembroke Pines    FL           33028
  Inceptra LLC                                                 1900 N Commerce PKWY                                                   Weston            FL           33326-3236
  InCharge Energy, Inc.                                        1433 5th Street                                                        Santa Monica      CA           90401
  Indeed, Inc                                                  Mail Code 5160                 PO Box 660367                           Dallas            TX           75266-0367
  Indexx, Inc.                                                 303 Haywood Rd                                                         Greenville        SC           29607
                                  AXA XL Professional                                         505 Eagleview
  Indian Harbor Insurance Company Insurance                    Kimberly Bongiorno             Boulevard, Suite 100     PO Box 636     Exton             PA           19341-0636
  Indian Head Industries, Inc.    DBA MGM Brakes               229 PARK AVENUE                                                        MURPHY            NC           28906

  Indian Head Industries, Inc.     DBA MGM Brakes              6200 Harris Technology Blvd.                                           Charlotte         NC           28269
                                                                                              6200 Harris
  Indian Head Industries, Inc.     DBA MGM Brakes              DBA MGM Brakes                 Technology Blvd.                        Charlotte         NC           28269
  Indian Head Tool & Cutter
  Grinding, Inc.                                               802 Walnut St                  PO Box 1094                             Waterford         PA           16441



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  Indiana Attorney Generals Office    Unclaimed Property Division   PO Box 2504                                                     Greenwood       IN           46142
  Indiana Department of Revenue                                     100 N Senate Ave                                                Indianapolis    IN           46204
                                                                    100 North Senate Avenue,
  Indiana Dept of Revenue             Bankruptcy Section            MS 108                                                          Indianapolis    IN           46204
  Indicate Technologies Inc                                         2065 Martin Ave, Ste 103                                        Santa Clara     CA           95050
  Indoff Incorporated                                               11816 Lackland RD                                               St Louis        MO           63146
  Inductive Automation, LLC                                         340 Palladio Parkway         Suite 540                          Folsom          CA           95630
  Inductive Automation, LLC                                         PO Box 2030                                                     Folsom          CA           95763
  Industrial Diecast Design, LLC                                    125 NW 13th Street           Suite B7                           Boca Raton      FL           33432
  Industrial Fabricators, Inc.        Chris Barnes                  4328 South York Hwy                                             Gastonia        NC           28052
  Industrial Fabricators, Inc.        Claudia Chaires               4328 South York Hwy                                             Gastonia        NC           28052
  Industrial Fabricators, Inc.        DEBBIE TAYLOR                 4328 South York Hwy                                             Gastonia        NC           28052
                                                                    125 NW 13th Street, Suite B-
  Industrial Fabricators, Inc.                                      7                                                               Boca Raton      FL           33432
  Industrial Fabricators, Inc.                                      4328 South York Hwy                                             Gastonia        NC           28052
  Industrial Gas Springs Inc          Karen Lukasiewicz             370 W Dussel Dr Ste A                                           Maumee          OH           43537-1604
  Industrial Gas Springs Inc                                        370 W Dussel Dr Ste A                                           Maumee          OH           43537-1604

  Industrial Handling Solutions LLC   JOHN FORD                     1619 Montford Dr.                                               Charlotte       NC           28209

  Industrial Handling Solutions LLC   TOM CURRIER                   1619 Montford Dr.                                               Charlotte       NC           28209

  Industrial Handling Solutions LLC                                 1619 Montford Dr.                                               Charlotte       NC           28209

  Industrial Rubber Supply USA Inc Kevin Magalas                    630 9th Street NW, Building 1                                   West Fargo      ND           58078

  Industrial Rubber Supply USA Inc. ACCTS REC Nguyen Nguyen 630 9th Street NW, Bldg 1                                               West Fargo      ND           58078
                                    CAULK/KIT/FLOORING
  Industrial Rubber Supply USA Inc. CAULK/KIT/FLOORING      630 9th Street NW, Bldg 1                                               West Fargo      ND           58078

  Industrial Rubber Supply USA Inc. Kathy Slater                    630 9th Street NW, Bldg 1                                       West Fargo      ND           58078

  Industrial Rubber Supply USA Inc.                                 55 Dunlop Ave                                                   Winnipeg        MB           R2X 2V2      Canada

  Industrial Rubber Supply USA Inc.                                 630 9th Street NW, Bldg 1                                       West Fargo      ND           58078
  Industrial Safety Shoe Company                                    1421 E. First St.                                               Santa Ana       CA           92701
  Industrial Service Group, LLC                                     7645 Brookside Street                                           Spartanburg     SC           29303
  Industrial Supply Solutions, Inc                                  804 Julian Road                                                 Salisbury       NC           28147
  Industrial Supply Solutions, Inc                                  PO Box 844601                                                   Boston          MA           02284-4601
  Industrialex                                                      6250 Joyce Dr.                                                  Arvada          CO           80403
  Industrystar Solutions LLC                                        300 East Liberty St.                                            Ann Arbor       MI           48104
  Indy Wiring Services, LLC                                         3800 N State Road 267           Suite E                         Brownsburg      IN           46112
  Ineo Systrans USA                   Equans                        8601-Dunwoody Place             Suite 115                       Sandy Springs   GA           30350
  Infinita Lab Inc.                                                 15060 Sperry Ln                                                 Saratoga        CA           95070
  Infinite Electronics International,
  Inc.                                dba L-COM                     17792 Fitch                                                     Irvine          CA           92614-6020




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  Infinite Electronics International,
  Inc.                                   formerly L-COM              17792 Fitch                                                         Irvine           CA           92614
  Infinite Electronics International,                                Infinite Electronics
  Inc.                                   formerly L-COM              International, Inc.              Dept LA 24787                      Pasadena         CA           91185-4787
  Infinite Electronics International,
  Inc.                                   formerly L-COM              PO Box 55758                                                        Boston           MA           02205
  INFODEV                                CHARLES ROUTIER             1995 Frank Carrel                Suite 202                          Quebec           QC           G1N 4H9      Canada
  INFODEV                                MADELEINE BONNEVILLE        1995 Frank Carrel                Suite 202                          Quebec           QC           G1N 4H9      Canada
  INFODEV                                SHEILA PARADIS              1995 Frank Carrel                Suite 202                          Quebec           QC           G1N 4H9      Canada
  INFODEV                                                            1995 Frank Carrel                Suite 202                          Quebec           QC           G1N 4H9      Canada
  Infodev Electronic Designer
  International Inc.                                                 202-1995 rue Frank-Carrel                                           Quebec           QC           G1N 4H9      Canada
                                                                                                      3rd Cross, Electronic
  Infosys Limited                                                    Plot No. 44/97 A                 City, Hosur Road                   Benguluru                     560 100      India
  Infosys Limited                                                    2400 N Glenville Dr c150                                            Richardson       TX           75082
                                         Benesch, Friedlander, Coplan                                 1313 N Market Street
  Infosys Ltd.                           and Aronoff LLP              Kevin M. Capuzzi                Suite 1201                         Wilmington       DE           19801
  Infosys Ltd.                           Rajiv Kumar                  2400 N Glenville Dr C150                                           Richardson       TX           75082
  Info-Tech Research Group Inc.                                       3960 Howard Hughes Pkwy         Ste 500                            Las Vegas        NV           89169
                                                                      18100 Von Karman Ave, Ste
  InfraStrategies LLC                    Wendy Mendez                 850                                                                Irvine           CA           92648
  Ingber, Kyle                                                        Address Redacted
  Ingenio Engineering LLC                                             5920 Old Sawmill Road                                              Fairfax          VA           22030

  Ingersoll-Rand Industrial U.S., Inc.                               525 Harbour Place Dr                                                Davidson         NC           28036-7444
  Ingram, Jonathan                                                   Address Redacted
  INGUN USA, Inc.                                                    252 Latitude Ln.                 Suite 105 & 106                    Lake Wylie       SC           29710
                                                                                                                                                                                    United
  Inigo Insurance                    Lloyds Syndicate 1301           7th Floor, 1 Creechurch Place                                       London                        EC3A 5AY     Kingdom
  INIT Innovations In Transportation
  Inc.                               DAN BURS                        424 Network Station                                                 Chesapeake       VA           23320
  INIT Innovations In Transportation
  Inc.                               EVELYN RUNGE                    424 Network Station                                                 Chesapeake       VA           23320
  INIT Innovations In Transportation
  Inc.                               LEE NOBLES                      424 Network Station                                                 Chesapeake       VA           23320
  INIT Innovations In Transportation
  Inc.                                                               424 Network Station                                                 Chesapeake       VA           23320
  Inland Marine Industries, Inc.                                     3245 Depot Rd.                                                      Hayward          CA           94545
  Inland Metal Technologies          JESSICA DICKINSON               3245 Dport Road                                                     Hayward          CA           94545
  Inland Powder Coating
  Corporation                                                        PO Box 3427                                                         Ontario          CA           91761
  Inmotion US LLC                                                    3157 State Street                                                   Blacksburg       VA           24060
  Innes, Roger                                                       Address Redacted
  Innoairvation, Inc.                                                270 Storey Drive                 P.O. Box 365                       Waverly Hall     GA           31831

  Innominds Software Inc                 Pradeep Lakkaraju           2055 Junction Ave, Suite 122                                        San Jose         CA           95131
  Innominds Software Inc                                             2055 Junction Avenue                                                San Jose         CA           95131



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                                                                  2055, Junction Ave, Suite#
  Innominds Software Inc                                          122                                                                   San Jose           CA           95131
  Innominds Software Inc.             Accounts                    99 Almaden Blvd Suite 710                                             San Jose           CA           95113
  Innovative Manufacturing &
  Design LLC                          Jennifer Kapustka           1528 Roper Mountain Road                                              Greenville         SC           29615
  InnovMetric Software Inc.                                       2014 Cyrille-Duquest              Suite 310                           Quebec City        QC           G1N 4N6    Canada
  Insight Direct USA, Inc.                                        2701 E Insight Way                                                    Chandler           AZ           85286-1930
  Insight Direct USA, Inc.                                        PO Box 731069                                                         Dallas             TX           75373
  Insight Financial Staffing & Search
  Group, LLC                          Dan Schutt                  48 Parkway Commons Way                                                Greer              SC           29650
                                                                  4170 Ashford Dunwoody Rd
  Insight Global, LLC                Hannah Schippers             NE                                Suite 250                           Atlanta            GA           30319
                                                                  4170 Ashford Dunwoody Rd
  Insight Global, LLC                                             NE                                Suite 250                           Atlanta            GA           30319
  InsightSoftware, LLC                                            2222 Sedwick Rd Ste 101                                               Durham             NC           27713-2658
  Inspired Solutions International   MVSCS                        DBA MVSCS                         6668 9 HWY                          Selkirk            MB           R1A 4G2      Canada
  Instaclustr Pty Limited                                         Level A, Building 23              University Drive South              Bruce              ACT          2617         Australia
  Instaclustr Pty Limited                                         LPO Box 5027                      University of Canberra              Bruce                           2627         Australia
  Instaclustr US Holdings, Inc.      NetApp                       Level A, Building 23              University Drive South              Bruce              ACT          2617         Australia
  InstaLAN Systems, Inc.                                          4630 Kane Court                                                       Fremont            CA           94538
  Institute for Process Excellence                                2870 N Bryant Street                                                  Denver             CO           80211
  Institute for Process Excellence                                3700 Quebec Street                Suite 100-103                       Denver             CO           80207
  Institute of Configuration
  Management, Inc.                   Institute for Process Excellece 2870 Bryant Street                                                 Denver             CO           80211
  Instrumart LLC                                                     35 Green Mountain Drive                                            South Burlington   VT           05403
                                                                     1725 Windward Concourse
  Intact Insurance Company                                           No 210                                                             Alpharetta         GA           30005
  Intact Insurance Company                                           605 Highway 169 N                                                  Plymouth           MN           55441

  Intact Insurance Group USA LLC     Gavin Russell                605 Highway 169 N                                                     Plymouth           MN           55441
  in-tech smart charging GmbH                                     Friedrich List Platz 2                                                Leipzig                         4103         Germany
  Integrated Manufacturing and
  Supply, Inc.                                                    620 Orvis Ave                                                         San Jose           CA           95112
  Integration Partners               Chris Kolb                   12 Hartwell Ave                                                       Lexington          MA           02421
  Intellic Integration LLC                                        2081 Hutton Drive                                                     Carrollton         TX           75006
  Intellic Integration LLC                                        2081 Hutton Drive                 Suite 103                           Carrollton         TX           75006
  Intellic Integration LLC                                        2081 Hutton Drive                 Suite 103                           Carrolton          TX           75006
                                     Casey Clugston Intellitec
  Intellitec Products LLC            Products LLC                 1485 Jacobs Rd                                                        Deland             FL           32724
  Intellitec Products LLC                                         PO Box 775608                                                         Chicago            IL           60677-5608
  Intepro Systems America, LP                                     14712-A Franklin Avenue                                               Tustin             CA           92780
  Interface, Inc.                    Mark Amatuzzo                7401 E Butherus Drive                                                 Scottsdale         AZ           85260
  Interface, Inc.                    Melissa Cowan                7401 E Butherus Drive                                                 Scottsdale         AZ           85260
  Interface, Inc.                                                 7401 E Butherus Drive                                                 Scottsdale         AZ           85260
  Interiano, Joseph                                               Address Redacted
  Interior Plantscapes, LLC                                       51 Plant Drive Ext.                                                   Greenville         SC           29607
  Interior Plantscapes, LLC                                       PO Box 217                                                            Mauldin            SC           29662



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  Internal Revenue Service              Attn Susanne Larson          31 Hopkins Plz Rm 1150                                              Baltimore        MD           21201
                                        Centralized Insolvency
  Internal Revenue Service              Operation                    2970 Market St                                                      Philadelphia     PA           19104
                                        Centralized Insolvency
  Internal Revenue Service              Operation                    PO Box 7346                                                         Philadelphia     PA           19101-7346
                                                                     15 New Sudbury St Stop
  Internal Revenue Service              Jeffrey H. Reynolds          20800B                                                              Boston           MA           02203
  Internal Revenue Service                                           P.O. Box 7346                                                       Philadelphia     PA           19101-7346
  International Bond & Marine
  Brokerage, LTD.                                                    2 Hudson Pl 4th Floor                                               HOBOKEN          NJ           07030

  International Freight Services Inc.                                1610 Rollins Rd                                                     Burlingame       CA           94010
  International Organization for
  Standardization (ISO)                                              Chemin de Blandonnet 8         CP 401               1214 Vernier    Geneva                        CP 401       Switzerland
  International Parking and Mobility
  Institute                                                          PO Box 3787                                                         Fredericksburg   VA           22402
  International Port Manage             IPME CORP                    19523 S. Susana Rd.                                                 COMPTON          CA           90221
  International Transportation
  Innovation Center                     dba ITIC                     2 Exchange Street                                                   Greenville       SC           29605
  International Transportation
  Innovation Center                     Liz Griffith                 PO Box 486                                                          Conestee         SC           29636
  International Transportation
  Innovation Center                     Mary M. Caskey               Haynsworth Sinkler Boyd, PA PO Box 11889                            Columbia         SC           29211-1889
  International Transportation
  Innovation Center                                                  5 Hercules Way                                                      Greenville       SC           29605
  International Transportation          SC Technology and Aviation
  Innovation Center (ITIC)              Center                       Jody Bryson                    2 Exchange Street                    Greenville       SC           29605
  Interphase Electric                                                79 Rocklyn Avenue                                                   Lynbrook         NY           11563
                                                                                                                                                                                    United
  InterRegs Ltd                                                      21-23 East Street                                                   Fareham,         Hampshire    PO16 0BZ     Kingdom
  Intertek Testing Service NA, Inc                                   PO Box 405176                                                       Atlanta          GA           30384
  InterVision Systems LLC               Danielle Frankina            2270 Martin Ave                                                     Santa Clara      CA           95050
  InterVision Systems LLC               Mark McEnroe                 2270 Martin Ave                                                     Santa Clara      CA           95050
                                                                     16401 Swingley Ridge Rd,
  InterVision Systems LLC                                            Suite 500                                                           St. Louis        MO           63017
  InterVision Systems LLC                                            2270 Martin Ave                                                     Santa Clara      CA           95050

  InterVision Systems LLC                                            300 Santana Row, Suite 450                                          San Jose         CA           95128

  Interwest Consulting Group Inc.                                    9300 W Stockton Blvd, #105                                          Elk Grove        CA           95758
  Interwest Consulting Group Inc.                                    PO Box 18330                                                        Boulder          CO           80308
  InterWorks, Inc.                                                   1425 S Sangre Road                                                  Stillwater       OK           74074
  Intrado Digital Media, LLC                                         11808 Miracle Hills Drive                                           Omaha            NE           68154
  Intrado Digital Media, LLC                                         PO Box 74007143                                                     Chicago          IL           60674
  Intralinks, Inc.                                                   101 California Street                                               San Francisco    CA           94111
                                                                     211 West Wacker Drive, 3rd
  Intuiface                                                          Floor                                                               Chicago          IL           60606



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  Intuilab Inc.                                                         211 West Wacker Drive          3rd Floor                           Chicago         IL           60606
  INVENTORY PCARD
  PURCHASES                                                             1 Whitlee Ct                                                       Greenville      SC           29607
  Invio Automation, Inc.                Accounts Receivable             16185 National Parkway                                             Lansing         MI           49332
  Invio Automation, Inc.                                                16185 National Parkway                                             Lansing         MI           48906
  IOActive, Inc.                        Attn Director or Officer        1426 Elliott Avenue West                                           Seattle         WA           98119
  IoTecha Corp                          Brenda LiBrizzi                 220 Old New Brunswick Rd       Suite 202                           Piscataway      NJ           08854
  IoTecha Corp                          Jacque Kirila                   220 Old New Brunswick Rd       Suite 202                           Piscataway      NJ           08854
  IoTecha Corp                          Maura McCarthy                  220 Old New Brunswick Rd       Suite 202                           Piscataway      NJ           08854
  IoTecha Corp                                                          220 Old New Brunswick Rd       Suite 202                           Piscataway      NJ           08854
  IoTecha Corp                                                          2555 Route 130                 Suite 2                             Cranbury        NJ           08512
  Iowa City Transit (ICT)                                               1200 S. Riverside Drive                                            Iowa City       IA           52240
  Iowa Department of Revenue                                            Hoover State Office Building   1305 E Walnut                       Des Moines      IA           50319
  Iowa Dept of Revenue and
  Finance                               Attn Bankruptcy Unit            PO Box 10330                                                       Des Moines      IA           50306-0330
                                                                                                       321 E 12th St., 1st
  Iowa Office of the State Treasurer    Great Iowa Treasure Hunt        Lucas State Office Building    Floor                               Des Moines      IA           50319
  Iowa Public Transit Association                                       400 East Court Avenue          Suite 126                           Des Moines      IA           50309
  IPG Photonics Company                                                 8900 Harrison Street                                               Davenport       IA           52806
  Ipswitch, Inc.                                                        PO Box 3726                                                        New York        NY           10008-3726
  IRI Consultants, Inc.                                                 3290 W Big Beaver Rd           Suite 142                           Troy            MI           48084
  Iris Infrared & Intelligent Sensors
  NA. Inc                               Dina Stegall                    34 Peachtree St. NW            Suite 2610                          Atlanta         GA           30303
  Iris Infrared & Intelligent Sensors
  NA. Inc                               Kahiha Nguvi                    34 Peachtree St. NW            Suite 2610                          Atlanta         GA           30303
  Iris Infrared & Intelligent Sensors
  NA. Inc                               Primary Contact - Orders Iris   34 Peachtree St. NW            Suite 2610                          Atlanta         GA           30303
  Iris Infrared & Intelligent Sensors                                   1575 Northside Drive NW,
  NA. Inc                                                               Suite 330                                                          Atlanta         GA           30318
  Iron Mountain                                                         1 Federal Street                                                   Boston          MA           02110
  Iron Mountain                                                         PO 27128                                                           New York        NY           10087-7128
  Iron Mountain                                                         P. O. Box 27129                                                    New York        NY           10087-7129
  Iron Mountain                                                         PO Box 915004                                                      Dallas          TX           75391-5004
  Iron Mountain                                                         Storage Service                PO 27128                            New York        NY           10087-7128
  Iron Mountain Information                                                                            155 Federal Street 9th
  Management, LLC                       c/o Jacqueline M. Price, Esq    Hackett Feinberg PC            Floor                               Boston          MA           02110
  Iron Mountain Information
  Management, LLC                                                       1101 Enterprise Drive                                              Royersford      PA           19468
                                                                                                       28 Liberty Street, 5th
  Ironshore Indemnity Inc.              Liberty Mutual Insurance        Michelle Mongiello             Fl                                  New York        NY           10005
  Irving, Kelly                                                         Address Redacted
  Isaac E. Pritzker                                                     1 Letterman Drive              Suite C4-420                        San Francisco   CA           94129
  Isabellenhuette Heusler GmbH &
  Co. KG                                Joanne Oliveira                 d/b/a Isotek Corporation       1199 GAR Highway                    Swansea         MA           02777
  Isabellenhuette Heusler GmbH &
  Co. KG                                Matthias Hilpert                d/b/a Isotek Corporation       1199 GAR Highway                    Swansea         MA           02777




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  Isabellenhuette Heusler GmbH &
  Co. KG                                                       Eibacher Weg 3-5                                                 Dillenburg                  35683        Germany
  Isabellenhuette Heusler GmbH &
  Co. KG                                                       1199 GAR Highway                                                 Swansea        MA           02777
  Isabellenhutte USA                                           1199 G.A.R. Highway                                              Swansea        MA           02777
  Islas Soto, Cesar                                            Address Redacted

                                    Integrated Systems REsearch
  ISR Transit USA Inc               ISR Transit USA Inc         715 South, 21st Avenue      Suite 1                             Hollywood      FL           33020
                                                                715 South 21st Avenue Suite
  ISR Transit USA Inc.              Matthew Gradinger           1                                                               Hollywood      FL           33020
  Istate Truck, Inc.                DBA I-State Truck Center    2901 East 78th Street                                           Minneapolis    MN           55425-1501
  Istate Truck, Inc.                DBA I-State Truck Center    NW7246                      PO Box 1450                         Minneapolis    MN           55485
  Italian American Corporation      April Yohn                  1515 Alvarado Street                                            San Leandro    CA           94577
  Italian American Corporation      Franz Schmechtig            1515 Alvarado Street                                            San Leandro    CA           94577
  Italian American Corporation      Veronica Batezone           1515 Alvarado Street                                            San Leandro    CA           94577
  Italian American Corporation                                  1515 Alvarado Street                                            San Leandro    CA           94577
  item America, LLC dba item
  Southeast                                                    102 Bucklevel Road                                               Greenwood      SC           29649
  Itin Scale CO., Inc.                                         4802 Glenwood Road                                               Brooklyn       NY           11234
  ITR LLC                           DBA All City Tow Service   1015 S Bethany                                                   Kansas City    KS           66105
  ITR, LLC d/b/a All City Tow
  Service                           The Porto Law Firm         Nicholas Porto                1616 West 45th Street              Kansas City    MO           64111
  ITR, LLC d/b/a All City Tow
  Service                                                      1015 S Bethany Street                                            Kansas City    KS           66105
  ITT KONI NA                       Jessica Davis              240 Fall St                                                      Seneca Falls   NY           13148
  ITT KONI NA                                                  1961 A International Way                                         Hebron         KY           41048
  ITT KONI NA                                                  28556 Network Place                                              Chicago        IL           60603
  Iveco Group N.V.                                             Via Puglia, 35                                                   Torino                      10156        Italy
  Ivy Jean Bertuzzi                                            Address Redacted
  Iwahashi, Gregory                                            Address Redacted
  Iwona Stroka                                                 Address Redacted
  J and B Tool Sales                                           31720 Plymouth Road                                              Livonia        MI           48150
  J F Industries Inc                BPG, Inc.                  513 Hrosham Road                                                 Horsham        PA           19044
  J F Industries Inc                BPG, Inc.                  Brandon Products Group        440 Industrial Drive               North Wales    PA           19454
  J F Industries Inc                CHAD SINON                 513 Hrosham Road                                                 Horsham        PA           19044
  J F Industries Inc                JEREMY FIELDER             513 Hrosham Road                                                 Horsham        PA           19044
  J Ranck Electric, Inc.                                       1993 Gover Parkway                                               Mt. Pleasant   MI           48858
  J Rillan Daniel Dasalla           JRD Films                  Address Redacted
  J. B. Hunt Transport, Inc.                                   615 JB Hunt Corporate Dr                                         Lowell         AR           72745
  J. B. Hunt Transport, Inc.                                   PO Box 98545                                                     Chicago        IL           60693
                                    Joele Frank, Wilkinson
  J. Frank Associates, LLC          Brimmer Katcher            622 Third Avenue              36th Floor                         New York       NY           10017
  J. J. Keller & Associates, Inc.   Cindy Hull                 3003 Breezewood Lane          PO Box 368                         Neenah         WI           54957-0368
  J. J. Keller & Associates, Inc.   Emily Charles              3003 Breezewood Lane          PO Box 368                         Neenah         WI           54957-0368
  J. J. Keller & Associates, Inc.   Vicky Klassen              3003 Breezewood Lane          PO Box 368                         Neenah         WI           54957-0368
  J. J. Keller & Associates, Inc.                              PO Box 6609                                                      Carol Stream   IL           60197-6609



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  J.I.T. Manufacturing                                         PO Box 1017                   428 Oglesby Lane                  Cowpens          SC           29330
  J.P. Morgan Securities LLC                                   270 Park Avenue                                                 New York         NY           10017
  J.V. Currie Associates, Inc.   DBA Currie Associates         DBA Currie Associates         10 Hunter Brook Lane              Queensbury       NY           12804
  J.W. Koehler Electric, Inc.    Mike Reckman                  2716 W Central Park Ave                                         Davenport        IA           52804
  J.W. Koehler Electric, Inc.    Robin Rollins                 2716 W Central Park Ave                                         Davenport        IA           52804
                                                                                             6922 Hollywood Blvd
  J2 Cloud Services LLC          eFax Corporate                DBA eFax Corporate            Suite 500                         Los Angeles      CA           90028
  J2 Cloud Services LLC                                        700 S Flower St FL 15                                           Los Angeles      CA           90017-4101
  J3 Industries                                                2831 E El Dorado Pkwy         Suite 103 PMB-165                 Frisco           TX           75034
  J-8 Equipment Company, Inc                                   PO Box 40402                                                    Denver           CO           80204-0402
  Jaan Laansoo                                                 Address Redacted
  Jack G. Kudanian                                             Address Redacted
  Jackie Allen                   DBA Cupio                     PO Box 322                                                      Shreveport       LA           71162

  Jackson Group Peterbilt        DBA St George Peterbilt, Inc. 203 E Playa Della Rosita                                        Washington       UT           84780

  Jackson Group Peterbilt        DBA St George Peterbilt, Inc. PO Box 276734                                                   Salt Lake City   UT           84127
  Jackson II, Richard                                          Address Redacted
  Jackson, Demecia                                             Address Redacted
  Jackson, Kanye                                               Address Redacted
  Jackson, Kenneth                                             Address Redacted
  Jackson, Olando                                              Address Redacted
  Jackson, Phillip                                             Address Redacted
  Jackson, Romero                                              Address Redacted
  Jackson, Sheila                                              Address Redacted
  Jacob Michael Eiden                                          Address Redacted
  Jacob Taussig                                                Address Redacted

  Jacques Domercq                                              Address on File
  Jade Global, Inc.              Sarnjit Sadhra                1731 Technology Drive         Suite 350                         San Jose         CA           95110
  Jadhav, Aditya                                               Address Redacted
  Jae Kim                                                      Address Redacted
  Jaehee Kim                                                   Address Redacted
  JaeHoon Ryu                                                  Address Redacted
  Jagadale, Pankaj                                             Address Redacted
  JagCo Global                                                 3133 W Frye Rd                                                  Chandler         AZ           85226
                                 JKR and RR Revocable Living
  Jagresh K Rana                 Trust                       Address Redacted

  JAK                            J.A. King                     6541 Franz Warner Parkway                                       Whitsett         NC           27377
                                                                                             6541 Franz Warner
  JAK                            J.A. King                     DBA J.A. King                 Parkway                           Whitsett         NC           27377
  JAK                            J.A. King                     PO Box 746284                                                   Atlanta          GA           30374
  Jama Software Inc.             Neil Bjorklund                135 SW Taylor, Suite 200                                        Portland         OR           97204
  James A Newell                                               Address Redacted
  James B Lounsbury                                            Address Redacted
  James Bevan                                                  Address Redacted



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  James C Davidson                                         Address Redacted

  James Christopher Burrows                                Address on File
  James David Diamond                                      Address Redacted
  James Frederick Meyerhoffer                              Address Redacted
  James G. Huffman            Huffmans Welding Works       Address Redacted
  James Hunter Hayes          J. Hunter Hayes              Address Redacted
  JAMES JU                                                 Address Redacted
  James Kent Wilson                                        Address Redacted
  JAMES M ETHERTON and
  JOYCE H ETHERTON CO-TTEE
  JNJ LIVING TRUST U/A DTD
  10/05/2020                  SANDRA L ETHERTON            Address Redacted
  James Schwaba                                            1 Letterman Drive            Suite C4-420                       San Francisco   CA           94129
  James W. Tarpey                                          Address Redacted
                              DBA Envision Productions,
  James Z. Wu                 Inc.                         Address Redacted
  James, Corey                                             Address Redacted
  James, Michael                                           Address Redacted
  James, Ryan                                              Address Redacted
  JAMS, Inc.                  Lynne Hart                   PO Box 845402                                                   Los Angeles     CA           90084
  Janesville Tool & Mfg, Inc.                              3930 Enterprise Drive                                           Janesville      WI           53546
  Janette M. Hunter           Global Innovations USA       Address Redacted
  Jani, Jainil                                             Address Redacted
  Janicki Industries, Inc.                                 1476 Moore Street                                               Sedro Woolley   WA           98284
                                                                                                                           South San
  Jan-Pro of San Francisco                                 61 Airport Blvd.             Suite B                            Francisco       CA           94080
  Jared Leninger                On The Road Graphics LLC   Address Redacted
  Jarnagin, Jordan                                         Address Redacted
  Jason Ashmore                                            Address Redacted
  Jason Dashinsky                                          Address Redacted
  Jason Dvorak                                             Address Redacted
  Jason Mucciocoli                                         Address Redacted
  Jay Cook                                                 Address Redacted
  Jay Kim                                                  Address Redacted
  Jay Swartz                                               Address Redacted
  Jayasinghe, Raveen                                       Address Redacted
  Jayco                         Jeremy Villanueva          Address on File

  Jayco                                                    Address on File
                                                                                        306 JB HUNT CORP
  JB HUNT TRANSPORT             ERICA HAYES                CC2                          DRIVE                              LOWELL          AR           72745

  JCB Squared LLC               DBA Crown Trophy           JCB Squared LLC              92 Orchard Park Drive              Greenville      SC           29615
  JD Bird                                                  17876 Peru Rd. STE 3                                            DUBUQUE         IA           52001-8303
  Jean Fortin                                              Address Redacted




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  Jean Martin Inc                                          260 Madison Ave, Suite 8060                                   New York      NY           10016
  Jean Suzanne Suskind            Jean Suskind             Address Redacted
  Jean Suzanne Suskind                                     Address Redacted
  Jeff Anderson                                            Address Redacted
  Jefferson Reed                                           Address Redacted
  Jeffery Hammond                                          Address Redacted
  Jeffrey A. Sobul                DBA Cobalt Creative      Address Redacted
  Jeffrey Cohen JDPC              Jeffrey Cohen, Esq.      6018 East Dale Ln                                             Cave Creek    AZ           85331
  Jeffrey Lee Harris                                       Address Redacted
  Jeffrey Myrick                                           Address Redacted
  Jeffrey Polakowski                                       Address Redacted
  Jeffrey Schuyler                                         Address Redacted
  Jemby Electric Inc.             CEO/OWNER Benjie Craig   4468 Technology Dr.                                           Fremont       CA           94538
  Jemby Electric Inc.                                      4468 Technology Dr.                                           Fremont       CA           94538
  Jenkins, Dameale                                         Address Redacted
  Jenkins, Robert                                          Address Redacted
  Jenkins, Ty                                              Address Redacted
  Jennifer Claire McConnell                                Address Redacted
  Jennifer M. Granholm                                     Address Redacted
  Jennifer Martin                                          Address Redacted
  Jennings-Dill, Inc.                                      PO Box 6066                                                   Greenville    SC           29606-6066
  Jenny Shin                      Jaewon Shin              Address Redacted

  Jenny Um                                                 Address on File
  Jeremiah A. McQuillan                                    Address Redacted
  Jeremy Mascarella                                        Address Redacted
  Jerkovic, Drazan                                         Address Redacted
  Jeromy Brians                    DBA Rustworks           Address Redacted
  Jerry L. Aures                                           Address Redacted
  Jerry Moreland Plumbing Inc.                             339 El Camino Real                                            Millbrae      CA           94030
  Jerry R. & Jane L. Black REV LIV
  TR DTD 3/10/97                   Jerry R. Black          Address Redacted
  Jessica Church                                           Address Redacted
  Jesus Aucar                      DBA Kojak Wholesale     Address Redacted
  Jet Garage Inc                                           17 Wroxeter Ave                                               Toronto       ON           M4K 1J5      Canada
  Jet Plastics                                             941 N. Eastern Ave                                            Los Angeles   CA           90063
  JF Industries Inc                                        PO Box 854                                                    Horsham       PA           19044
  Ji Sun Jennifer Ko                                       Address Redacted
  Jian Xu                                                  Address Redacted
  Jiang, Jonathan                                          Address Redacted
  Jiannan Sun                                              Address Redacted
  Jianxin Zhou                                             Address Redacted
  Jigar Shah                                               Address Redacted
  Jimenez, Adriana                                         Address Redacted
  Jimenez, Armando                                         Address Redacted
  Jimenez, Osdal                                           Address Redacted



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  Jimmy Nguyen                                                     Address Redacted
  Jimmy Parcus                                                     Address Redacted
  Jinyoung Barnaby                                                 Address Redacted
  Jiseon Park                                                      Address Redacted
  JL Rogers & Callcott Engineers,
  Inc                                                              426 Fairforest Way                                             Greenville      SC           29607
  JLRG, Inc.                         DBA Precision Specialties     1158 Campbell Avenue                                           San Jose        CA           95126
                                     DBA Burns Truck and Trailer
  JM Burns Inc                       Services                      PO Box 239                                                     Ripon           CA           95366
  JMB Renewables, LLC                                              2500 Summer St                 ste 1100                        Houston         TX           77007
  JMK, Inc.                                                        15 Caldwell Drive                                              Amherst         NH           03031
  Jobish                                                           Address Redacted
  Jobs to Move America                                             525 S. Hewitt St.                                              Los Angeles     CA           90013
  JobSource North America, Inc.                                    PO Box 92                                                      Fullerton       CA           92832
  Joe Weldie                                                       Address Redacted

  Joelle Frank                                                     622 Third Avenue, 36th Floor                                   New York        NY           10017
  John B Filkorn                                                   Address Redacted
                                                                   18600 South John Deere
  John B Roybal                                                    Road                                                           DUBUQUE         IA           52001-9746
  John B Roybal                                                    Address Redacted
  John Casey                                                       Address Redacted
  John Copeland                      Applied Technologies          Address Redacted
  John Deere Electronic Solutions,
  Inc.                               Brian Ruud                    1441 44th Street N.                                            Fargo           ND           58102
  John Deere Electronic Solutions,
  Inc.                               Patty Mohamed                 1441 44th Street N.                                            Fargo           ND           58102
  John Deere Electronic Solutions,
  Inc.                               RMA RMA                       1441 44th Street N.                                            Fargo           ND           58102
  John Deere Electronic Solutions,
  Inc.                                                             1441 44th Street N.                                            Fargo           ND           58102
  John Deere Electronic Solutions,
  Inc.                                                             One John Deere Place                                           Moline          IL           61265

  John Deere Intelligent Solutions, a
  Division of Deere and Company       Deere and Company            24275 Network Place                                            Chicago         IL           60673-1242

  John Deere Intelligent Solutions, a
  Division of Deere and Company       Matthew T. Gensburg          200 West Adams St Ste 2425                                     Chicago         IL           60606
  John Efird Company                                               Address Redacted
  John Efird Company, Inc                                          1012 NE Main Street                                            Simpsonville    SC           29681
  John Ernest Neuman                  John E Neuman                Address Redacted
  John F. Erhard                                                   Address Redacted
  John Gregory Katz                                                Address Redacted
                                      RMG - Resource
  John Junker-Andersen                Management Group             Address Redacted
  John Kill                                                        Address Redacted



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  John Lewis Adrine                                               Address on File
  John Moss                                                       Address Redacted
  John Nystrom                                                    Address Redacted
  John Pearson Racing                                             813 E 18th St.                 #9                               Greeley         CO           80631
  John Rothlisberger                                              Address Redacted
  John Swartz                                                     Address Redacted
  John Tyler Vraciu                                               Address Redacted
  John Wayne Airport, Orange
  County                          Accounts Payable                3160 Airway Avenue                                              Costa Mesa      CA           92626
  John, Nikhil                                                    Address Redacted
  Johnas, Heather                                                 Address Redacted
  Johnny Westmoreland                                             Address Redacted
  Johnson & Johnson Cleaning                                      8564 LOVE RD                                                    TALLAHASSEE     FL           32305
  Johnson Controls Security
  Solutions LLC                                                   10405 Crosspoint Blvd                                           Indianapolis    IN           46256
                                  Johnson Controls Security
  Johnson Controls US Holdings    Solutions (formerly Tyco Fire   dba Johnson Controls
  Inc.                            & Safety)                       Security Solutions             PO Box 371967                    Pittsburgh      PA           15250
  Johnson Controls US Holdings                                    2788 Fairforest Clevedale
  Inc.                                                            Road                                                            Spartanburg     SC           29301-5000

  Johnson Welded Products, Inc.   BETSY JOHNSON                   625 South Edgewood Avenue                                       Urbana          OH           43078-0907

  Johnson Welded Products, Inc.   BILL JOHNSON                    625 South Edgewood Avenue                                       Urbana          OH           43078-0907

  Johnson Welded Products, Inc.   Kalie Purk                      625 South Edgewood Avenue                                       Urbana          OH           43078-0907

  Johnson Welded Products, Inc.                                   625 South Edgewood Avenue                                       Urbana          OH           43078-0907
  Johnson, Bryan                                                  Address Redacted
  Johnson, Cynthia                                                Address Redacted
  Johnson, Dylan                                                  Address Redacted
  Johnson, Geoffrey                                               Address Redacted
  Johnson, James                                                  Address Redacted
  Johnson, Kathryn                                                Address Redacted
  Johnson, Kevin                                                  Address Redacted
  Johnson, Kylan                                                  Address Redacted
  Johnson, Robert                                                 Address Redacted
  Johnson, Timothy                                                Address Redacted
  Johnston, Scribner                                              Address Redacted
  Jolley Towing & Recovery                                        PO Box 161029                                                   Spartanburg     SC           29316
  Jolley, Billy                                                   Address Redacted
  Jon Byk Advertising, Inc.       Tim Byk                         140 S Barrington Ave                                            Los Angeles     CA           90049
  Jon J Cook                                                      Address Redacted
  Jon Michael Withrow                                             Address Redacted
  Jonathan Allen                                                  Address Redacted
  Jonathan Engineered Solutions   Amanda Childers                 410 Exchange              Suite 200                             Irvine          CA           92602



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  Jonathan Engineered Solutions    Kathy Kraft                   410 Exchange                   Suite 200                         Irvine          CA           92602
  Jonathan Engineered Solutions                                  410 Exchange                   Suite 200                         Irvine          CA           92602
  Jonathan S. Monat, Ph.D.                                       Address Redacted
  Jonathan Sargent                 DBA Sargent Pest Solutions    PO Box 718                                                       Mauldin         SC           29662
  Jonathan Schwartz                                              Address Redacted
  Jonathon Hernandez                                             Address Redacted
  Jones Day                                                      PO Box 7805                    Ben Franklin Station              Washington      DC           20044
  Jones Jr., Larry                                               Address Redacted
  Jones, Brennen                                                 Address Redacted
  Jones, Chad                                                    Address Redacted
  Jones, Dequanta                                                Address Redacted
  Jones, Jeremy                                                  Address Redacted
  Jones, Justin                                                  Address Redacted
  Jones, Keke                                                    Address Redacted
  Jones, Perry                                                   Address Redacted
  Jones, Samad                                                   Address Redacted
  Jooseok Roh                      Sunjoo Jun                    Address Redacted
  Jordan Mark Redd                                               Address Redacted
  Jordan Whitcomb                                                Address Redacted
  Jordan, Jesse                                                  Address Redacted
  Jordan, Tisha                                                  Address Redacted
  Jorge Campagnoli                                               Address Redacted
  Jorge Davila                     Davilas Janitorial Services   Address Redacted
  Jorgensen, Brett                                               Address Redacted
  Josan, Mayank                                                  Address Redacted
  Josef Joaison Wee                                              Address Redacted

  Joseph Barbato Associates, LLC                                 6 Dickinson Drive, Suite 103                                     Chadds Ford     PA           19317

  Joseph Barbato Associates, LLC                                 6 Dickinson Drive              Suite# 103                        Chadds Ford     PA           19317
  Joseph Bechara                                                 Address Redacted
  Joseph Carlino                                                 Address Redacted
  Joseph Cassilli                                                Address Redacted
  Joseph Chrapla                                                 Address Redacted
  Joseph Jacob                                                   Address Redacted
  Joseph Rogers                                                  Address Redacted
  Joseph T. Ryerson & Son                                        PO Box 905716                                                    Charlotte       NC           28290
  Joseph, Eustachius                                             Address Redacted
  Joshi, Ajinkya Pramod                                          Address Redacted
  Joshi, Avani                                                   Address Redacted
  Joshi, Gauri                                                   Address Redacted
  Joshi, Nachiket                                                Address Redacted
  Joshua Batt                                                    Address Redacted
  Joshua Kaipo Lucas                                             Address Redacted
  Josipa Gordana Petrunic                                        Address Redacted
  Joy Global                                                     145 Magill Street                                                Lively          ON           P3Y 1K6   Canada
  Joy Global                                                     25 Fielding Rd                                                   Lively          ON           P3Y 1L7   Canada



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  Joy Global                                                  101 Elk Street, Door E                                          Franklin         PA           16323
                                                              Joy Global Underground
  Joy Global                                                  Mining LLC                     120 Liberty Street               Franklin         PA           16323
  JOYCE HOM AND FUNG SIN
  DONG                                                        Address Redacted
  Joyce Zhang Li                                              Address Redacted
  Joyce, Gareth                                               Address Redacted
  JP Electric and Son, Inc.          DBA Ruel Electric        667 Westminster Street                                          Fitchburg        MA           01420
                                                              Miller, Canfield, Paddock and 150 West Jefferson
  JR Automation Technologies, LLC c/o Marc N. Swanson         Stone, P.L.C.                 Suite 2500                        Detroit          MI           48226

  JR Automation Technologies, LLC Kassi Batty                 13365 Tyler Street                                              Holland          MI           49424

  JR Automation Technologies, LLC                             13365 Tyler Street                                              Holland          MI           49424

  JR Automation Technologies, LLC                             4190 Sunnyside Drive                                            Holland          MI           49424
  JS International Shipping
  Corporation                     DBA JSI Logistics           1535 B Rollins Road                                             Burlingame       CA           94010
  JSAC, LLC                                                   206 Stonecliff Way                                              Spartanburg      SC           29301
  J-Tec Industries, Inc.                                      201 Carver Ln                                                   East Peoria      IL           61611
  Juarez, Freddy                                              Address Redacted
  Judd Wire, Inc.                                             124 Turnpike Road                                               Turners Falls    MA           01376
  Judge, Thomas                                               Address Redacted
  Jueune Lee                                                  Address Redacted
  Julian, Bobby                                               Address Redacted
  Juliana, Christopher                                        Address Redacted
  Julie Chong                                                 Address Redacted

  Jung Kim                                                    Address on File
  Jung Lim Kye                                                Address Redacted
  Junho Lee                                                   Address Redacted
                                                                                                                              South San
  Junk King LLC                                               389 Oyster Point Blvd.         #6                               Francisco        CA           94080
  Junk Matters, LLC                                           PO Box 5065                                                     Spartanburg      SC           29304
  Juranek, Ryan                                               Address Redacted
  Justimbaste, Rey                                            Address Redacted
  Justin Boettger                                             Address Redacted
  Justin Kho                                                  Address Redacted
  Justin Milocco                                              Address Redacted
  Kaeser Compressors, Inc                                     511 Sigman Drive                                                Fredericksburg   VA           22408
  Kaitlin Baker                                               Address Redacted
  Kakulavaram V. Reddy                                        Address Redacted
  Kalas Mfg, Inc.                                             167 Greenfield Road                                             Lancaster        PA           17601
  Kale, Maria                                                 Address Redacted
  Kalra, Shrey                                                Address Redacted

  Kalyani Mistequay Drivelines LLC                            1015 West Cedar Street                                          Standish         MI           48658



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  Kamal Kumar Bhura                                               Address Redacted
  Kamal, Nora                                                     Address Redacted
  Kamin Industries Inc.                                           2150 5th Avenue                                              Ronkonkoma        NY           11779
  Kamin Motor Group Inc, dba
  Electric Vehicle Sales Inc.                                     2150 5th Ave                                                 Ronkonkoma        NY           11779

  Kang Yang International           Target Tech Inc,              1600 Jarvis Ave                                              Elk Grove Village IL           60007
  Kang, Na Kyung                                                  Address Redacted
  Kansas Dept of Revenue            Scott State Office Building   120 SE 10th Avenue                                           Topeka            KS           66612-1103
  Kansas Dept of Revenue                                          501 High St                                                  Frankfort         KY           40601
  Kansas State Treasurer            Unclaimed Property Division   900 SW Jackson Ste 201                                       Topeka            KS           66612-1235
  Kantola Training Solutions, LLC                                 55 Sunnyside Ave                                             Mill Valley       CA           94941
  Kar Bhowmik, Haimanti                                           Address Redacted
  Karen Ann Pettke                  Karen Pettke                  Address Redacted
  Karhan, Turkiz                                                  Address Redacted
  Karounos, George                                                Address Redacted
  Karr, Ethan                                                     Address Redacted
  Karri, Suresh                                                   Address Redacted
  Karrie Mieske                                                   Address on File
  Karst Sports                                                    35 Rodeo Dr.                                                 Fairmont          WV           26554
  Katherine Erdman                                                Address Redacted
  Katherine Randazzo                                              Address Redacted
  Katherine Randazzo                                              Address Redacted
  Kathryn J. Johnas                                               Address Redacted

  Kathy Thai                        c/o Justice Law Corporation   751 N Fair Oaks Ave, Ste 101                                 Pasadena          CA           91103
  Kazantzis, William                                              Address Redacted
  KazTia Design LLC                                               439 12th Ave                                                 Union Grove       WI           53182
  KDB Printing Enterprises Inc.     DBA Minuteman Press           435 Wade Hampton Blvd.                                       Greenville        SC           29609
  Kean, Raymond                                                   Address Redacted
  Keeney, Melissa                                                 Address Redacted
  Keeney, Nakia                                                   Address Redacted
  Keisler, Marissa                                                Address Redacted
  Keith Siu                                                       Address Redacted
  Keller Products                                                 PO Box 4105                  41 Union Street                 Manchester        NH           03108
  Keller USA, Inc.                                                2168 Carolina Place Drive                                    Fort Mill         SC           29708
  KELLER, PAUL                                                    Address Redacted
  Kelley Engineering, LLC           Matthew A. Kelley             709 Highway 17                                               Piedmont          SC           29673
  Kemeera, Inc, DBA Fathom          DBA FATHOM                    3000F Danville Blvd #141                                     Alamo             CA           94507
  Kemeera, Inc, DBA Fathom          DBA FATHOM                    620 3rd Street                                               Oakland           CA           94607
  Kemme, William                                                  Address Redacted
  Kempower Oyj                                                    Hennalankatu 71                                              Lahti                          15810        Finland
  Ken Lukawski                                                    Address Redacted
  Kennedy Wall, Michael                                           Address Redacted
  Kennedy, Tyler                                                  Address Redacted
  Kennely Ho                                                      Address Redacted
  Kenneth Landon Hurlburt           Landon Hurlburt               Address Redacted



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  Kenneth R Franzese                                              Address Redacted
  Kenson Plastics Inc               Allen Dunlap                  620 West Beaver Street                                       Zelienople       PA           16063
  Kenson Plastics Inc               Ashley Pratte                 620 West Beaver Street                                       Zelienople       PA           16063
  Kenson Plastics Inc               Christina Starcher            620 West Beaver Street                                       Zelienople       PA           16063
  Kenson Plastics Inc                                             2835 Darlington Road                                         Beaver Falls     PA           15010
  Kentucky Child Support                                          P.O. Box 14059                                               Lexington        KY           40512-4059
  Kentucky Clean Fuels Coalition                                  PO Box 5174                                                  Louisville       KY           40255

  Kentucky Department of Revenue                                  501 High St.                                                 Frankfort        KY           40601
  Kentucky Dept of Revenue                                        501 High St                                                  Frankfort        KY           40601
  Kentucky State Treasurer                                        State of KY                                                  Frankfort        KY           40620
                                                                  1050 US Highway 127 South,
  Kentucky State Treasury           Unclaimed Property Division   Suite 100                                                    Frankfort        KY           40601
  Keolis Transit Services, LLC      Bud Spear                     223 W Meadowview Road                                        Greensboro       NC           27406
  Keolis Transit Services, LLC                                    200 South East End Ave.                                      Pomona           CA           97166
  Keolis Transit Services, LLC                                    Cost Center #415           2050 Villanova Drive              Reno             NV           89502
  Kepco, Inc.                                                     131-38 Sanford Avenue                                        Flushing         NY           11355
  Keriazes, Kayla                                                 Address Redacted
  Kerlin Bus Sales & Leasing                                      9294 South State Road 15   PO Box 157                        Silver Lake      IN           46982
  Kerlin Bus Sales & Leasing                                      9294 South State Road 15                                     Silver Lake      IN           46982
                                                                                                                                                                          United
  Keronite International ltd                                      1 Tudor Rose Court          53 Hollands Road                 Haverhill                     CB9 8PJ      Kingdom
  Kerr, Heather                                                   Address Redacted
  Kershaw, Dejuan                                                 Address Redacted
  Kerwin Associates                                               1733 Woodside Road          Suite 260                        Redwood          CA           94061
                                                                  1733 Woodside Road, Suite
  Kerwin Associates, LLC                                          260                                                          Redwood City     CA           94061
  Kesavan, Ramesh                                                 Address Redacted
  Kevin Howard                                                    Address Redacted
  Kevin Lee                                                       Address Redacted
  Kevin Leung                                                     Address Redacted
  Kevin Martin                                                    Address Redacted
  Kevin Paquet                                                    Address Redacted
  Kevin Whitaker Chevrolet, Inc.                                  PO Box 16029                                                 Greenville       SC           29607
  Keyence Corporation of America                                  669 River Drive             Suite 403                        Elmwood Park     NJ           07407
  Keynote and Co.                                                 1614 Emerald River Drive                                     Katy             TX           77494
  Keysight technologies Singapore
  Pte, Ltd.                                                       No 1 Yishun Avenue 7                                         Singapore                     768923       Singapore

  Keysight Technologies, Inc.                                     1400 Fountaingrove Parkway                                   Santa Rosa       CA           95403
  Keystone National Group, LLC                                    60 E. South Temple         Suite 2100                        Salt Lake City   UT           84111
  Kforce Inc                                                      8405 Benjamin Rd Ste G                                       Tampa            FL           33634-1235
  KG Technologies Inc                                             6028 State Farm Drive                                        Rohnert Park     CA           94928
  Khammao, Bob                                                    Address Redacted
  Khatib, Amar                                                    Address Redacted
  Khatri, Gagan                                                   Address Redacted
  Khazaee, Javad                                                  Address Redacted



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  Ki Seon Jeon                                                  Address Redacted
  Kidde Technologies, Inc.           ANISHA TAYLOR HARRIS       4200 Airport Dr., NW                                             Wilson           NC           27896
  Kidde Technologies, Inc.           Christine Scaia            4200 Airport Dr., NW                                             Wilson           NC           27896
  Kidde Technologies, Inc.           JOHN LEWIS                 4200 Airport Dr., NW                                             Wilson           NC           27896
  Kidde Technologies, Inc.                                      4200 Airport Dr., NW                                             Wilson           NC           27896
  Kiel NA, LLC.                      Christine McDonald         3000 Saint Charles Rd                                            Bellwood         IL           60104-1544
  Kiel NA, LLC.                      Don Makarius               3000 Saint Charles Rd                                            Bellwood         IL           60104-1544
  Kiel NA, LLC.                                                 3000 Saint Charles Rd                                            Belwood          IL           60104-1544
  Kiel NA, LLC.                                                 3000 St. Charles Rd                                              Bellwood         IL           60104-1544
  Kiesewetter, Patton                                           Address Redacted
  Kilpatrick Townsend & Stockton
  LLP                                                           607 14th Street, NW              Suite 900                       Washington       DC           20005
  Kim, Claire                                                   Address Redacted
  Kim, Jae Hyun                                                 Address Redacted
  Kimball Communications Inc         Brian Kimball              245 Duncan Hill Road                                             Hendersonville   NC           28792
  Kimberly Allen                                                Address Redacted
  Kimley-Horn & Associates, Inc.                                4525 Main St., Suite 1000                                        Virginia Beach   VA           23462

  Kimley-Horn and Associates, Inc.                              421 Fayetteville St, Suite 600                                   Raleigh          NC           27601

  Kimley-Horn and Associates, Inc.                              PO Box 75557                                                     Baltimore        MD           21275-5557
  Kinard, Theo                                                  Address Redacted
                                     DBA bioPURE Environmental
  Kinder Holdings LLC                Services                  655H Fairview Rd, Suite 333                                       Simpsonville     SC           29680

  King County Metro                                             12200 East Marginal Way So                                       Seattle          WA           98168
  King County Metro                                             201 S. Jackson             KSC-TR-0342                           Seattle          WA           98104
                                                                                           201 South King Street,
  King County Metro                                             Metro Transit              4th Floor                             Seattle          WA           98104
  King County, Department of
  Transportation                                                12200 East Marginal Way So                                       Seattle          WA           98168
  King Kustom Kovers, Inc.           Dale Dameral               22357 Mission Blvd                                               Hayward          CA           94541
                                     DBA Budget Blinds of
  Kingfisch LLC                      Greenville                 348 Feaster Rd, Suite A                                          Greenville       SC           29615

  Kinsbursky Brothers Inc.                                      125 East Commercial Street       Suite A                         Anaheim          CA           92801-1214
  Kintetsu World Express Inc.                                   One Jericho Plaza                Suite 100                       Jericho          NY           11753
  Kirkland & Ellis LLP                                          300 N Lasalle Dr                                                 Chicago          IL           60654
  Kirkpatrick, Geoffrey                                         Address Redacted
  Kirksey, Curtis                                               Address Redacted
  Kirlin, David                                                 Address Redacted
  Kirsten Andrews-Schwind                                       Address Redacted
  Kissling Electrotec, Inc.                                     320A Business Parkway                                            Greer            SC           29651-7114
  Kit, Petr                                                     Address Redacted
  Kit, Zoryana                                                  Address Redacted
  Kitagawa Industries                                           2860 Zanker Rd Suite # 102                                       San Jose         CA           95134




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                                    ACCTS PAYABLE Christine      60 Washington Ave, Suite
  Kitsap County Transit             Nelson                       200                                                                       Bremerton      WA           98337
                                                                 60 Washington Ave, Suite
  Kitsap County Transit             Jeff Dimmem                  200                                                                       Bremerton      WA           98337

  Kitsap Transit                                                 60 Washington Ave. Ste. 200                                               Bremerton      WA           98337
  Kiwitz, Amanda                                                 Address Redacted
  KL2 Connects LLC                                               15 Baird Lane                                                             Asheville      NC           28804
  Klumpp, Alex                                                   Address Redacted
  Knies, Joshua                                                  Address Redacted

  Knight Global                     Knght Industries & Associates 2705 Commerce Parkway                                                    Auburn Hills   MI           48326
  Knight, Jessie                                                  Address Redacted
  Knight, Kashunda                                                Address Redacted
  Knight, Walter                                                  Address Redacted
  Knipfing, Isaac                                                 Address Redacted
  Knockeart, James                                                Address Redacted
                                                                  33 N Garden Avenue. Suite
  KnowBe4                                                         1200                                                                     Clearwater     FL           33755
  KnowBe4, Inc.                                                   33 N. Garden Avenue           Suite 1200                                 Clearwater     FL           33755
  Knowledge Key Associates, In.
  DBA Training Camp                 Training Camp                6 Neshaminy Interplex          Suite 101                                  Trevose        PA           19053
  Knowles, Logan                                                 Address Redacted
  Ko Ko, Zin Phyo                                                Address Redacted
  Ko, Yungunn                                                    Address Redacted
                                                                                                1739 S Grove Avenue
  Kobalt Industries, Inc.           Keith Klingerman             d/b/a AR Industries            #B                                         Ontario        CA           91761
                                                                                                1739 S Grove Avenue
  Kobalt Industries, Inc.           Kim Salt                     d/b/a AR Industries            #B                                         Ontario        CA           91761
  Kober, Zachary                                                 Address Redacted

  Kolors by Keisler Auto Body &
  Heavy Truck Collision Repair, LLC Lonnie Keisler               5935 Edmund Highway                                                       Lexington      SC           29073
  Kolors By Keisler, LLC                                         5935 Edmund Highway                                                       Lexington      SC           29073
                                                                 8770 W Bryn Mawr Ave.,
  Komatsu High Impact Joy Global                                 Suite 100                                                                 Chicago        IL           60631
  Komatsu Logistics Corp                                         2-3-6, Akasaka                 Minato-ku                                  Tokyo                       107-8414   Japan
  Komatsu Logistics Corp                                         3-1-1 Ueno                     Osaka                                      Hirakata-Shi                5731011    Japan
  Komatsu Logistics Corp                                         3-25-1, Shinomiya              Kanagawa                                   Hiratsuka                   254-8555   Japan
  Komatsu Logistics Corp                                         400 Shinden Yokokura           Tochigi Prefecture                         Oyama City                  323-8558   Japan
  Komatsu Logistics Corp                                         400 Yokokura Shinden           Tochigi Prefecture                         Oyama City                  323-0819   Japan
  Komatsu Logistics Corp                                         Tsu 23 Futsu-machi             Ishikawa                                   Komatsu-shi                 923-0392   Japan
                                                                 8770 W Bryn Mawr Ave.,
  Komatsu Logistics Corp                                         Suite 100                                                                 Chicago        IL           60631
  Komatsu Ltd.                      also known as Go-shoji       2-3-6, Akasaka                 Minato-ku                                  Tokyo                       107-8414   Japan
                                    Pietragallo Gordon Alfano                                                         One Oxford Centre,
  Komatsu Ltd.                      Bosick Raspanti, LLP         Attn Richard Parks, Esquire    301 Grant Street      38th Floor           Pittsburgh     PA           15219



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            CreditorName             CreditorNoticeName                 Address1                   Address2           Address3            City         State       Zip       Country
                                 Pioetragallo Gordon alfano   Richard J. Parks, Attorney for 300 Grant Street, 38th
  Komatsu Ltd.                   Bosick and Raspanti, LLP     Komatsu Limited                Floor                               Pittsburgh      PA            15219
  Komatsu Ltd.                                                2-3-6, Akasaka                 Minato-ku                           Tokyo                         107-8414     Japan

  Konecranes, Inc.                                            10310-2 Pioneer Blvd.                                              Santa Fe Springs CA           90670
  Kongsberg Power Products
  Systems I, LLC                 ANGELA YOUNG                 300 South Cochran Street                                           Willis          TX            77378
  Kongsberg Power Products
  Systems I, LLC                 ANTHONY BUGAMELLI            300 South Cochran Street                                           Willis          TX            77378
  Kongsberg Power Products
  Systems I, LLC                 CARLOS ROSAS                 300 South Cochran Street                                           Willis          TX            77378
  Kongsberg Power Products
  Systems I, LLC                                              300 South Cochran Street                                           Willis          TX            77378
  Kongsberg Power Products
  Systems I, LLC                                              PO Box 588                                                         Willis          TX            77378-0588
  Koni NA, Inc                   Kay Shewnarain               1961 A International Way                                           Hebron          KY            41048
  Koni NA, Inc                                                1961 A International Way                                           Hebron          KY            41048
  Koni NA, Inc                                                28556 Network Place                                                Chicago         IL            60673-1285
  Koonce, Shaquinna                                           Address Redacted
  Koops, Inc.                                                 987 Productions Ct.                                                Holland         MI            49423
  Kopis LLC                                                   411 University Ridge          Suite 230                            Greenville      SC            29601
  Koprince McCall Pottroff LLC                                901 Kentucky Street           Suite 301                            Lawrence        KS            66044
  KORE1, LLC                                                  3651 Lindell Road                                                  Las Vegas       NV            89103
                                                              530 TECHNOLOGY DR.
  KORE1, LLC                                                  #150                                                               Irvine          CA            92618
  Kosmek USA Ltd                                              650 Springer Drive                                                 Lombard         IL            60148
  Kotha, Saisindhu                                            Address Redacted
  Kovalenko, John                                             Address Redacted
  Kozan, Michael                                              Address Redacted
                                 co Kleiner Perkins Caufield &
  KPCB GGF Associates, LLC       Byers LLC                     2750 Sand Hill Road                                               Menlo Park      CA            94025
                                 co Kleiner Perkins Caufield &
  KPCB Green Growth Fund, LLC    Byers LLC                     2750 Sand Hill Road                                               Menlo Park      CA            94025
  KPIT Technologies Inc.                                       21333 Haggerty Road          Suite 100                            Novi            MI            48375
  KPIT Technologies Inc.                                       28001 Cabot Drive            Suite 110                            Novi            MI            48377
  KPMG LLP                                                     464 Monterey Ave, Suite E                                         Los Angeles     CA            90040
  KPMG LLP                                                     Dept 0613                    PO Box 120001                        Dallas          TX            75312-0613
  Krakauer, Mary Louise                                        Address Redacted
  Krantz, Nicholas                                             Address Redacted
  Kranz an Addison Group
  Company                        CV Partners                  7076 Solutions Center                                              Chicago         IL            60677
  Kraus, Ethan                                                Address Redacted
  Kraus, Tobias                                               Address Redacted
  Krayden, Inc.                                               1491 W 124th Ave                                                   Westminster     CO            80234
  Kreps, Mary                                                 Address Redacted
  Kretschmar, Andrea                                          Address Redacted
  Kreutziger, Jason                                           Address Redacted



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  Krinjak, David                                             Address Redacted
  Krishnaprasada Gundihithlu                                 Address Redacted
  Kristie deJong                                             1015 K Street, Suite 200                                       Mountain View   CA           94039
  Kristie deJong                                             Address Redacted
  Kristin Falcone                                            Address Redacted

  Kronos, Inc / CIT Vendor Finance                           Lease Payments                 P.O. Box 100706                 Pasadena        CA           91189
  Kronos, Inc.                                               900 Chelmsford Street                                          Lowell          MA           01851
  Kronos, Inc.                                               PO Box 743208                                                  Atlanta         GA           30374
  Krummel, Mikal                                             Address Redacted
  KSG Enterprise                   12 Point Productions      4038 Peppertree Dr                                             Weston          FL           33332
  KTH Sales, Inc.                                            8574 Louisiana Place                                           Merrillville    IN           46410-6360
  KTM Solutions, Inc.              KTM Engineering           603 High Tech Court                                            Greer           SC           29650
  Kubik Inc                        Kevin Taylor              1680 Mattawa Avenue                                            Mississauga     ON           L4X 3A5    Canada
  Kuehne + Nagel, Inc.                                       921 W Bethel Road                                              Coppell         TX           75019
  Kuehne + Nagel, Inc.                                       PO Box 7247-7382               Lockbox 7992                    Philadelphia    PA           19170
  Kuldip Randhawa                                            Address Redacted
  Kulkarni, Anish Srikanth                                   Address Redacted
  Kumar, Hamoodah                                            Address Redacted
  Kumar, Pramod                                              Address Redacted
  Kuria, Gibby                                               Address Redacted
  Kurian, Alexander                                          Address Redacted
  Kuroiwa, Derek                                             Address Redacted
  Kurtis Williamson                                          Address Redacted
  Kurtz & Revness, P.C.                                      1265 Drummers Lane             Suite 120                       Wayne           PA           19087
  KUS USA, INC.                                              3350 Davie Road, Suite 203                                     Davie           FL           33314
  Kuykendall, Dacoda                                         Address Redacted
  Kuzmic, Greg                                               Address Redacted
  Kvaser, Inc.                                               29 Cantata Drive                                               Mission Viejo   CA           92692
  Kwasi Sarpong                                              Address Redacted
  Kwi Suk Kim                                                Address Redacted
  Kwon Hyuksae                                               Address Redacted
  Kyabasinga, Andrew                                         Address Redacted
  KYEL Group Inc.                                            PO Box 998                                                     Fountain Inn    SC           29644
  Kyle House                                                 Address Redacted

  Kyoung Kim                                                 Address on File
  Kyung Jik Lim                                              Address Redacted
  KYUNGKU YOON                                               Address Redacted
  L Miller & Son Inc.                                        606 Triana Blvd NW                                             Huntsville      AL           35805
  L&R Technologies, LLC                                      6065 Memorial Drive                                            Dublin          OH           43017

  L&T Technology Services Limited                            2035 Lincoln Highway           Suite 3002                      Edison          NJ           08817

  L3 Harris Technologies Inc                                 221 Jefferson Ridge Parkway                                    Lynchburg       VA           24501
  L3Harris Technologies, Inc.,                               1025 W. NASA Boulevard,
  L3Harris - PSPC                   c/o Valerie DeFilippo    M/S A-11A                                                      Melbourne       FL           32919



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  LabCreatrix Global                Pei Evans                   2120 University Ave            Suite 432                         Berkeley         CA           94704
  Labor Management Universal
  Health Benefit Trust                                          1055Park View Drive            Suite 111                         Covina           CA           91724
  Labrador Regulated Information
  Transparency Inc.                                             530 Means Street, Suite 410                                      Atlanta          GA           30318
                                                                391 San Antonio Rd Suite
  Lacework, Inc.                                                300                                                              Mountain View    CA           94040
  Laco Technologies Inc.            Emily Garcia                3085 W Directors Row                                             Salt Lake City   UT           84104
  Laco Technologies Inc.                                        3085 W Directors Row                                             Salt Lake City   UT           84104
  LACO, Inc                         Erika Meciar                1150 Trademark Dr #111                                           Reno             NV           89521
  LACO, Inc                         Mae Tornio                  1150 Trademark Dr #111                                           Reno             NV           89521
  LACO, Inc                                                     1150 Trademark Dr #111                                           Reno             NV           89521
  LACO, Inc                                                     6767 Preston Avenue                                              Livermore        CA           94551
  LACO, Inc                                                     PO Box 3069                                                      Danville         CA           94526
  LACO, INC                                                     1150 Trademark Dr #111                                           Reno             NV           89521
                                    Merle C. Meyers and Kathy                                  100 Shoreline
  LACO, Inc.                        Quon Bryant                 c/o Meyers Law Group, P.C.     Highway, Suite B-160              Mill Valley      CA           94941
  Lacy, Brock                                                   Address Redacted
  LADD Distribution                 Amy Roark                   26449 Network Place                                              Chicago          IL           60673-1264
  LADD Distribution                 BEVERLY LYBROOK             26449 Network Place                                              Chicago          IL           60673-1264
  LADD Distribution                 Dawn Dombrowski             26449 Network Place                                              Chicago          IL           60673-1264
  LADD Distribution                                             26449 Network Place                                              Chicago          IL           60673-1264
  LAG Strategy Corp                                             427 S El Molino Ave #6                                           Pasadena         CA           91101
  Lahlouh Inc                                                   1649 Adrian Rd                                                   Burlingame       CA           94010
  Lai, David                                                    Address Redacted
  Lai, Tommy                                                    Address Redacted
  Laing, Mathew                                                 Address Redacted
  Lajeunesse, Eugene                                            Address Redacted
  Lake, Stephanie                                               Address Redacted
  Lakshmanan, Arvind Kumar                                      Address Redacted
  Lakshmanan, Gubendran                                         Address Redacted
  Lalljie, Andre                                                Address Redacted
  Lam, Cherk                                                    Address Redacted
  Lam, Stanley                                                  Address Redacted

  Lamar Texas Limited Partnership   The Lamar Companies         814 Duncan Reidville Rd.                                         Duncan           SC           29334

  Lamar Texas Limited Partnership The Lamar Companies           PO Box 96030                                                     Baton Rouge      LA           70896
  Lamlein, Benton                                               Address Redacted
  Lance Poutu                                                   Address Redacted
  Land of Sky Regional Council    Arlene Wilson                 339 New Leicester Highway      Suite 140                         Asheville        NC           28806
  Land of Sky Regional Council    Bill Eaker                    339 New Leicester Highway      Suite 140                         Asheville        NC           28806
  Landmark American Insurance                                   945 East Paces Ferry Road
  Company                         RSUI Indemnity Company        NE, Suite 1800                                                   Atlanta          GA           30326
  Landon HR Consulting            Chuck Landon                  3409 Cerritos Ave                                                Los Alamitos     CA           90720
                                                                13410 Sutton Park Drive
  Landstar Ranger                                               South                                                            Jacksonville     FL           32224



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                                                                13410 Sutton Park Drive
  Landstar Ranger, Inc.                                         South                                                          Jacksonville     FL           32224
  Langdon, Richard                                              Address Redacted
  Langley, Sterling                                             Address Redacted
  Langston Construction Co. of
  Piedmont, LLC                                                 125 Langston Rd                                                Piedmont         SC           29673
  LaRock, Guthrie                                               Address Redacted
  Larry Jones                                                   Address Redacted
  Larry Reese                                                   Address Redacted
  Laser Design Inc.                                             9401 James Avenue S            Suite 132                       Bloomington      MN           55431
  Laser Fabrication & Machine Co.,
  Inc.                               DONALD L. THACKER          PO Box 709                                                     Alexandria       AL           36250
  Laserform and Machine Inc          CHIP ELSASSER              10010 Farrow Rd                                                Columbia         SC           29203
  Laserform and Machine Inc          CHRIS CROMER               10010 Farrow Rd                                                Columbia         SC           29203
  Laserform and Machine Inc          DEVIN BARRICK              10010 Farrow Rd                                                Columbia         SC           29203
  Laserform and Machine, Inc.        Attn Mr. Brent Hutto       10010 Farrow Road                                              Columbia         SC           29203
                                                                999 Lake Hunter Circle Suite
  Laserform and Machine, Inc.        c/o Tara E. Nauful, Esq.   D                                                              Mount Pleasant   SC           29464
  Laserline Holdings LLC                                        PO Box 535                                                     Roy              UT           84067
  Laservision USA, LP                Abdalla Sammaneh           595 Phalen Blvd                                                St. Paul         MN           55130
  Laservision USA, LP                Tim Brinkmann              595 Phalen Blvd                                                St. Paul         MN           55130
  Last Frontier Aerial, LLC                                     PO Box 33032                                                   Juneau           AK           99803

  Latham & Watkins                                              501 Canal Boulevard, Suite G                                   Sacramento       CA           95814
  Latham & Watkins                                              555 Eleventh Street, N.W.    Suite 1000                        Washington       DC           20004

  Latham & Watkins LLP               Madeleine C. Parish        1271 Avenue of the Americas                                    New York         NY           10020
  Latinos In Transit                                            PO Box 4382                                                    Covina           CA           91723
  Latitude Applied Technologies      Kyle Morris                303 Dale Drive                                                 Fountain Inn     SC           29644
  Latitude Applied Technologies      MIKE ROSE                  303 Dale Drive                                                 Fountain Inn     SC           29644
  Latitude Applied Technologies      RAILEY LOLLIE              303 Dale Drive                                                 Fountain Inn     SC           29644
  Latitude Applied Technologies                                 303 Dale Drive                                                 Fountain Inn     SC           29644
  Latitude Applied Technologies
  LLC                                                           1400 Shiloh Church Rd                                          Piedmont         SC           29673
                                                                                             4488 N. Shallowford
  Latoya Lomax                       Amanda Brookhuis           Kirby G. Smith Law Firm, LLC Rd., Ste. 105                     Dunwoody         GA           30338
  Laughlin, Gavril                                              Address Redacted
  Laughter, Janet                                               Address Redacted
  Laura Hepting                                                 Address Redacted
  Laura Kim                                                     Address Redacted
  Laura Krause                                                  Address Redacted
  Laurel Products LLC                DBA Warm Fuzzy Toys        23 Broderick Road                                              Burlingame       CA           94010
  Laurena Wong                                                  Address Redacted
                                                                2 N. Riverside Plaza, Suite
  Laurie & Brennan, LLP              Daniel Brennan             1750                                                           Chicago          IL           60606
  Lauzun & Associates, Inc. dba
  FPC of Brighton                                               10491 Stoney Point Dr.                                         South Lyon       MI           48178



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  Lavulo, John                                                   Address Redacted
  Lawhun, Brandon                                                Address Redacted
  Lawrence A. Hough                                              Address Redacted
  Lawrence T. Brewer                                             Address Redacted
  Lawrence Transit                                               PO Box 708                                                           Lawrence      KS           66044
                                    Jackie Packard and Allison   8770 W. Bryn Mawr Ave,
  Lawson Products, Inc.             Lemberg                      Suite 900                                                            Chicago       IL           60631
  Lawyers for Employee and
  Consumer Rights, APC                                           4100 W Alameda Avenue          Third Floor                           Burbank       CA           91505
  LAZ Parking                                                    5621 Alan Boyd Dr                                                    Sacramento    CA           95837
  Lazaro, Arturo                                                 Address Redacted
  Lazo v. Proterra Operating Co.,                                                               3055 Wilshire Blvd.,   Case No.
  Inc.                              Benjamin Haber               Wilshire Law Firm              12th Floor             21STCV30663    Los Angeles   CA           90010
  Lazo v. Proterra Operating Co.,                                                               751 North Fair Oaks    Case No.
  Inc.                              Douglas Han                  Justice Law Corporation        Ave, Ste. 101          21STCV30663    Pasadena      CA           91103
  Lazo, Maho                                                     Address Redacted
  Lazzerini Corporation             Rocco Carbone                1011 Herman Street                                                   Elkhart       IN           46516
  LBV Hotel, LLC                                                 154 Berkeley Street                                                  Boston        MA           02116
  Le Groupe Poitras Inc                                          1265 Rue Borne                                                       Quebec        QC           GIN IM6      Canada
                                    DoubleTree by Hilton Brussels
  Le Nouveau Palace S.A.            City                          Rue Gineste 3                                                       Brussels                   1210         Belgium
  Le, Charles                                                     Address Redacted
  Leacock, Ferdinand                                              Address Redacted
  Leading Mobility Consulting Ltd                                 192 Spadina Avenue            Suite 303                             Toronto       ON           M5T 2C2      Canada
  Leal Hernandez, Jaime                                           Address Redacted
  Lean Coaching inc                                               6 Parklane Blvd               suite 667                             Dearborn      MI           48126
  Lean Factory America, LLC                                       816 E. 3rd Street                                                   Buchanan      MI           49107
                                    DBA Jan-Pro of the Western
  LEB Services LLC                  Carolina                      LEB Services LLC              128 Milestone Way                     Greenville    SC           29615
  LEB Services, LLC dba Jan-Pro
  of the Western Carolinas                                       128 Milestone Way                                                    Greenville    SC           29615
  LeBarre, Leo                                                   Address Redacted
  LeDonne, Mario                                                 Address Redacted
  Lee Hecht Harrison                                             Address Redacted
  Lee Mathews Equipment, Inc.                                    6345 Downing Street                                                  Denver        CO           80216-1227
  Lee Morton                                                     Address Redacted
  Lee Spring Company LLC                                         140 58th Street                Suite 3C                              Brooklyn      NY           11220
  Lee White - Sole Proprietor                                    Address Redacted
  Lee, Chengtse                                                  Address Redacted
  Lee, Curtis                                                    Address Redacted
  Lee, Joshua                                                    Address Redacted
  Lee, Juliet                                                    Address Redacted
  Lee, Nathan                                                    Address Redacted
  Lee, Russell                                                   Address Redacted
  Lee, Wen Chao                                                  Address Redacted
                                                                 1007 N Orange Street Suite
  Leech Tishman                     Jeffrey M. Carbino           420                                                                  Wilmington    DE           19801



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  Leech Tishman Fuscaldo &          Sanford L. Frey, Esq., and   200 S. Los Robles Avenue
  Lampl, LLC                        John Steiner, Esq.           Suite 300                                                         Pasadena        CA           91101
  Leech Tishman Fuscaldo &          Sanford L. Frey, Esq., and   Los Robles Avenue, Suite
  Lampl, LLC                        John Steiner, Esq.           300                                                               Pasadena        CA           91101
  LEG Industrie-Elektronik GmbH                                  Textilstr. 2                                                      Viersen                      41751        Germany
  Legacy Components, LLC            Brian Lowell Wolf            4613 N. Clark Ave                                                 Tampa           FL           33614
  Legacy Roofing & Waterproofing,
  Inc.                              Barbara Laubach              1698 Rogers Ave #10                                               San Jose        CA           95112
  LegalDesk, Inc.                                                254 Barclay Ave.                                                  Millbrae        CA           94030
  LEGE, DANTE                                                    Address Redacted
  Lehigh Outfitters, LLC                                         39 East Canal Street                                              Nelsonville     OH           45764
  LEM U.S.A., Inc                   SATYA LEM U.S.A., Inc        Bin 88054                                                         Milwaukee       WI           53288-0054
  Lemire, Serge                                                  Address Redacted
  Lemoine Vilceus                                                Address Redacted
  Lenco Equipment Co., Inc.                                      64750 Federal Blvd.                                               Lemon Grove     CA           91945
  Lenze Americas Corporation                                     630 Douglas Street                                                Uxbridge        MA           01569
  Lenze Service GmbH                                             Breslauer Strasse 3                                               Extertal                     32699        Germany
  Leo Benlisa                                                    Address Redacted
  Leo H LeBarre Jr                                               Address Redacted
  Leon, Ariel                                                    Address Redacted
  Leonard Stacks                    DBA Test Tech, LLC           Address Redacted
  Leonard, Joshua                                                Address Redacted
  Leong, Jamie                                                   Address Redacted
  LER TechForce, LLC                Jay Adams                    1888 Poshard Drive                                                Columbus        IN           47203
  Les Industries Flexpipe Inc.      DANIEL CLOUTIER              1355 Magenta Est                                                  Farnham         QC           J2N 1C4      Canada
  Les Industries Flexpipe Inc.                                   1355 Magenta Est                                                  Farnham         QC           J2N 1C4      Canada
  Level (3)                         TW Telecom                   PO Box 910182                                                     Denver          CO           80291
  Level 3 Telecom Holdings, LLC a
  CenturyLink Company               Centurylink Communications   Bankruptcy                       220 N 5th St                     Bismarck        ND           58501

  Level 3 Telecom Holdings, LLC a   Centurylink Communications,
  CenturyLink Company               LLC. -Bankruptcy            ATT Legal-BKY                     1025 EL Dorado Blvd              Broomfield      CO           80021

  Levi & Korsinsky, LLP             Adam M. Apton                33 Whitehall Street 17th Floor                                    New York        NY           10004
  Levy, Shane                                                    Address Redacted
  Lewallen Automation and
  Industrial Services               Mike Lewallen                505 John Ross Court                                               Pelzer          SC           29669
  Lewallen, Larry                                                Address Redacted
  Lewandowski, JASON                                             Address Redacted
  Lewandowski, Jason                                             Address Redacted
  Lewis Jr., Rick                                                Address Redacted
  Lewis, Desmond                                                 Address Redacted
  Lewis, Drusonna                                                Address Redacted
  Lewis, Karen                                                   Address Redacted
  Lewis, Matthew                                                 Address Redacted
  Lewis, Xavier                                                  Address Redacted




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  Lexco Cable MFG & Distributors
  Inc                                                               7320 W. Agatite                                                      Norridge        IL           60706
  Lexco Cable MFG & Distributors
  Inc                                                               P.O. Box 56380                                                       Chicago         IL           60656

  Lexington Metal Fabricators, Inc.                                 PO Box 488                                                           Linwood         NC           27299
                                      Harris Beach PLLC c/o Brian   333 West Washington Street,
  Lexon Insurance Company             D. Roy, Esq.                  Suite 200                                                            Syracuse        NY           13202
  Lexon Insurance Company                                           12890 Lebanon Road                                                   Mount Juliet    TN           37122
  Lextran                                                           200 West Loundon Avenu                                               Lexington       KY           40508
  LG Chem Power, Inc.                                               1857 Technology Drive                                                Troy            MI           48083
                                                                    LG Twin Towers, 128, Yeoui-                                                                                    South
  LG Chem, Ltd.                                                     daero                       Yeongdeungpo-gu                          Seoul                                     Korea
                                                                                                                                                                                   South
  LG Chem. Ltd.                       David Lee                     LG Twin Tower 128             Yeoni-daero          Yeongdeungpo-gu   Seoul                        7336         Korea
                                                                                                                                                                                   South
  LG Chem. Ltd.                       Jeongha Hwang                 LG Twin Tower 128             Yeoni-daero          Yeongdeungpo-gu   Seoul                        7336         Korea
                                                                                                                                                                                   South
  LG Chem. Ltd.                       Kenny Kwak                    LG Twin Tower 128             Yeoni-daero          Yeongdeungpo-gu   Seoul                        7336         Korea
                                                                                                  128 Yeoui-daero,                                                                 South
  LG Energy Solution, LTD.            David Lee                     LG Twin Towers                Yeongdeungpo-gu                        Seoul                        7336         Korea
                                                                                                                                                                                   South
  LG Energy Solution, LTD.            David Lee                     Tower 1, 108, Yeoui-daero     Yeongdeungpo-gu                        Seoul                        07336        Korea
                                                                                                                                                                                   South
  LG Energy Solution, LTD.                                          108, Yeoui-daero              Yeongdeungpo-gu                        Seoul                                     Korea
  LG Waterjet & Manufacturing                                       8250 Electric Ave.                                                   Stanton         CA           90680
  LHP Telematics                                                    17406 Tiller Court            Suite 100                              Westfield       IN           46074
  Li, Cicely                                                        Address Redacted
  Libo Wang                                                         Address Redacted
  Liezl W Barangan-Suguitan                                         Address Redacted
  Life and Safety Consultants, Inc                                  31 Boland Court                                                      Greenville      SC           29615
  Life Insurance Company of North
  America                                                           1455 Valley Center Parkway                                           Bethlehem       PA           18017
  Lifelock Medical Supply, LLC        AED Market                    3011 Harrah Drive             Suite R                                Spring Hill     TN           37174
  Lift One LLC                        GREG KOON                     PO Box 602727                                                        Charlotte       NC           28260-2727
  Lift One LLC                                                      PO Box 602727                                                        Charlotte       NC           28260-2727
  Lift-It Manufacturing Co., Inc.                                   1603 W. 2nd St.                                                      Pomona          CA           91766
  Lift-U (Hogan Manufacturing         BRIMLOW DAVID                 PO Box 398                                                           Escalon         CA           95320
  Lift-U (Hogan Manufacturing         DIANN BOGER                   PO Box 398                                                           Escalon         CA           95320
  Lift-U (Hogan Manufacturing         JOHN DURHAM                   PO Box 398                                                           Escalon         CA           95320
  Lift-U (Hogan Manufacturing                                       PO Box 398                                                           Escalon         CA           95320
                                                                    815 14th Street SW, Suite
  Lightning eMotors                                                 A100                                                                 Loveland        CO           80537
                                                                    815 14th Street, SW, Suite
  Lightning Systems Inc.                                            A100                                                                 Loveland        CO           80537
  Lightship                                                         1231 Connecticut Street                                              San Francisco   CA           94107
  Lightship                                                         577 Shotwell Street                                                  San Francisco   CA           94110



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  LightShip Energy, Inc.                               150 Elsie Street                                                San Francisco   CA           94110
  Lightship Energy, Inc.                               2101 Pearl Street                                               Boulder         CO           80302
  LightSource Labs Inc.                                2845 California ST                                              San Francisco   CA           94115
  Lim, Cheol Woong                                     Address Redacted
  Lim, Derek                                           Address Redacted
  Lin M. Stillman                                      Address Redacted
  Lina A. Naumann                                      Address Redacted
  Linda Eddy                                           Address Redacted
  Linda Swezey                                         Address Redacted
  Lindsey Flowers                                      Address Redacted
  Lindstrom, Anna                                      Address Redacted
  Line X Edmonton                                      Address Redacted
  Line X Edmonton North                                17395 - 108th Ave                                               Edmonton        AB           T5S 1G2      Canada
  Linear Express                                       7007 Winchester Circle       Suite 130                          Boulder         CO           80301
  Lingbo Liu                                           Address Redacted
  Link Engineering Company                             3143 County Road 154                                            East Liberty    OH           43319
  Link Engineering Company                             401 Southfield Road                                             Dearbourn       MI           48120
                              KRISTOPHER
  Link Manufacturing Ltd.     VANDERWALL               223 15th St NE                                                  Sioux Center    IA           51250
  Link Mfg., Ltd.                                      223 15th St NE                                                  Sioux Center    IA           51250
                                                       62228 Collections Center
  Linkedin Corporation        Erin Reynolds            Drive                                                           Chicago         IL           60693-0622
                                                       62228 Collections Center
  Linkedin Corporation                                 Drive                                                           Chicago         IL           60693-0622
  Linnett, Andrew                                      Address Redacted
  Lino, Tiffany                                        Address Redacted
  Lintelio, LLC               Martha Stabelfeldt       8360 E Via De Ventura Blvd   Suite L200                         Scottsdale      AZ           85258
  Linville, Charles                                    Address Redacted
  Lion Technology, Inc.       Laura Konopko            570 Lafayette Rd.                                               Sparta          NJ           07871
  Lippert Components
  Manufacturing               KAREN ANDELIN            2909 Pleasant Center Rd                                         Yoder           IN           46798-9742
  Lippert Components
  Manufacturing               MIKE MATHEWSON           2909 Pleasant Center Rd                                         Yoder           IN           46798-9742
  Lippert Components
  Manufacturing                                        2909 Pleasant Center Rd                                         Yoder           IN           46798-9742
  Lira, Edward                                         Address Redacted
  Lira, Steven                                         Address Redacted

  Littelfuse, Inc.            Gary Littelfuse          DBA U.S. Sensor Corp         1832 West Collins Ave              Orange          CA           92867

  Littelfuse, Inc.            JOYCE PANTAS             DBA U.S. Sensor Corp         1832 West Collins Ave              Orange          CA           92867

  Littelfuse, Inc.            Karen Lopez              DBA U.S. Sensor Corp         1832 West Collins Ave              Orange          CA           92867

  Littelfuse, Inc.                                     DBA U.S. Sensor Corp         1832 West Collins Ave              Orange          CA           92867
  Little, John                                         Address Redacted




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  LittleJohn Portable Toilets &
  Storage Containers                                            PO Box 8622                                                        Greenville      SC           29604
  Littlejohn, Karissa                                           Address Redacted
  Littleton, Jeremy                                             Address Redacted
  Liu, Ryan                                                     Address Redacted
  Livingston & Haven LLC          BILL MEEK                     PO Box 890218                                                      Charlotte       NC           28289-0218
  Livingston & Haven LLC                                        PO Box 890218                                                      Charlotte       NC           28289-0218
  Livingstone, Christopher                                      Address Redacted
  LK Goodwin Co.                                                20 Technology Way                                                  West Greenwich RI            02817
  LK Goodwin Co.                                                890 Broad Street                                                   Providence     RI            02907
                                  A-1 Communications Supply
  Lloyd Neel Storr                Co                            Address Redacted
                                  A-1 Communications Supply
  Lloyd Neel Storr                Co                            Address Redacted
                                  CONTROLLER Kevin
  Lloyd W. Aubry Co., Inc.        Overstreet                    2148 Dunn Road                                                     Hayward         CA           94545
  Lloyd W. Aubry Co., Inc.                                      2148 Dunn Road                                                     Hayward         CA           94545

  Lloyds America Inc.                                           280 Park Avenue              East Tower, 25th Floor                New York        NY           10017
                                                                Bastion Tower, Marsveldplein
  Lloyds Insurance Company S.A.                                 5                                                                  1050 Brussels                             Belgium

  Lloyds of London                                            280 Park Avenue                  East Tower, 25th Floor              New York        NY           10017
                                                              555 California Street, Suite
  Lloyds Underwriters             Foley & Lardner LLP         1700                                                                 San Francisco   CA           94104
  Load Banks Direct, LLC                                      15765 Acorn Trl                                                      Faribault       MN           55021-7606
  Lock-Ridge Tool Co., Inc.       Dan Klamut                  2000 Pomona Blvd                 Suite A-3                           Pomona          CA           91768
  Lock-Ridge Tool Co., Inc.       Kathryn McKelvey            2000 Pomona Blvd                 Suite A-3                           Pomona          CA           91768
  Lock-Ridge Tool Co., Inc.       Maria Corona                2000 Pomona Blvd                 Suite A-3                           Pomona          CA           91768
  Lock-Ridge Tool Company Inc.                                145 N 8th Ave                                                        Upland          CA           91768
  Loftware Inc.                   Matthew Smith               249 Corporate Drive                                                  Portsmouth      NH           03801
  Logena Automotive                                           3477 Corporate Parkway           Suite 100                           Center Valley   PA           18034
                                                              320 W. Ohio Street Suite
  LogicGate, Inc.                 Sara Haven, General Counsel 600W                                                                 Chicago         IL           60654
  LogicGate, Inc.                                             320 West Ohio Street             Suite 5E                            Chicago         IL           60654
  Lollis, Stephen                                             Address Redacted
  Lomax, LaToya                                               Address Redacted
  Lomax, Sally                                                Address Redacted

  Long Trailer and Body Service Inc.                            5817 Agusta Rd.                                                    Greenville      SC           29605
  Longo Electric Inc.                                           111 Bruce Ave                                                      Stratford       CT           06615
  Longview Holdings Inc.             DBA WTS                    1025 Segovia Circle                                                Placentia       CA           92870
  Loo Tien Chin                                                 Address Redacted
  Loopio Inc.                                                   310 Spadina Avenue             Suite 600                           Toronto         ON           M5T 2E8      Canada
  Lopez Island School District                                  86 School Road                                                     Lopez Island    WA           98261
  Lopez Salvador, Porfirio                                      Address Redacted
  Lopez, Brendan                                                Address Redacted



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  Lopez, Christian                                           Address Redacted
  Lopez, Daniel                                              Address Redacted
  Lopez, David                                               Address Redacted
  Lopez, Eddie                                               Address Redacted
  Lopez, Joseph                                              Address Redacted
  Lopez, Pedro                                               Address Redacted
  Lopez, Regina                      Jamie L Lopez           Address Redacted

                                     BUSINESS DEVELOPMENT
  LORD Corporation                   Thang Nguyen            111 Lord Drive                                                  Cary            NC           27511
  LORD Corporation                   James Jiuliani          111 Lord Drive                                                  Cary            NC           27511
  LORD Corporation                                           111 Lord Drive                                                  Cary            NC           27511
  Lori D. Mills                                              1 Letterman Drive               Suite C4-420                    San Francisco   CA           94129

  Los Angeles Cleantech Incubator    Shawn Traylor           525 S. Hewitt Street                                            Los Angeles     CA           90013
  Los Angeles County Fire
  Department                                                 PO Box 513148                                                   Los Angeles     CA           90051-1148
  Los Angeles County Fire
  Department                                                 PO Box 54740                                                    Los Angeles     CA           90054-0740

  Los Angeles County Tax Collector Attn Bankruptcy Unit      PO Box 54110                                                    Los Angeles     CA           90054
                                   Kenneth Hahn Hall of
  Los Angeles County Tax Collector Administration            500 W Temple Street                                             Los Angeles     CA           90012

  Los Angeles County Tax Collector                           225 North Hill St               Rm 122                          Los Angeles     CA           90012

  Los Angeles County Tax Collector                           PO Box 54027                                                    Los Angeles     CA           90054-0027

  Los Angeles County Tax Collector                           PO Box 54110                                                    Los Angeles     CA           90054
  Los Angeles Department of
  Transportation                   General Manager           100 S. Main St., 10th Floor                                     Los Angeles     CA           90012
  Los Angeles Department of
  Transportation                                             100 South Main Street                                           Los Angeles     CA           90012
  Lot Network Inc.                                           2055 E WARNER RD                                                Tempe           AZ           85284
  LOU METRO REVENUE COMM                                     PO Box 35410                                                    Louisville      KY           40232

  Loudoun County School Board                                42000 Loudoun Center Place                                      Leesburg        VA           20175
  Louisa County Public Schools                               953 Davis Hwy                                                   Mineral         VA           23117
  Louisa County School Board                                 953 Davis Hwy                                                   Mineral         VA           23117

  Louisiana Department of Revenue                            617 N 3rd Street                                                Baton Rouge     LA           70802

  Louisiana Department of Revenue                            P.O. Box 66658                                                  Baton Rouge     LA           70896-6658
  Louisiana Dept of Revenue                                  617 North Third St                                              Baton Rouge     LA           70802
  Louisiana Motor Vehicle
  Commission                                                 3132 Valley Creek Drive                                         Baton Rouge     LA           70808




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  Louisiana Motor Vehicle
  Commission                                                     3519 12th Street                                               Metairie       LA           70002
  Lowes Business Acct                                            PO Box 530970                                                  Atlanta        GA           30353-0970
  Lowrance, Mckenzie                                             Address Redacted
  Lowstuter, Nathan                                              Address Redacted
  Loza, Cesar                                                    Address Redacted
  Lubrication Engineers               Kirsten Ratliff            1919 East Tulsa                                                Wichita        KS           67216
  Lubrication Engineers               Kirsten Ratliff            PO Box 16025                                                   Wichita        KS           67216
  Lubrication Engineers, Inc                                     1919 East Tulsa                                                Wichita        KS           67216
  Lubrication Engineers, Inc                                     PO Box 16025                                                   Wichita        KS           67216
  Luca Sabik                                                     Address Redacted
                                                                 950 E Paces Ferry Rd, Ste
  Lucas Associates Inc                DBA Lucas Group            2300                                                           Atlanta        GA           30326
  Lucas Associates Inc                DBA Lucas Group            PO Box 638364                                                  Cincinnati     OH           45263
  Lucas B Breeden                     Lucas Breeden              Address Redacted
  Lucerix International Corporation   Cameron Dickson            2488 Bristol Circle                                            Oakville       ON           L6H 5S1      Canada
  Lucerix International Corporation   James Anderson             2488 Bristol Circle                                            Oakville       ON           L6H 5S1      Canada
  Lucerix International Corporation   Kinza Saleh                2488 Bristol Circle                                            Oakville       ON           L6H 5S1      Canada
  Lucerix International Corporation                              2488 Bristol Circle                                            Oakville       ON           L6H 5S1      Canada
  Lucero II, Louis                                               Address Redacted
  Luchetta Gear Design Services,
  LLC                                                            105 Verdana Ct                                                 Simpsonville   SC           29680

  Lucid Software Inc.                                            10355 South Jordan Gateway Suite 300                           South Jordan   UT           84095
  Lucid Software Inc.                                            DEPT CH 17239                                                  Palatine       IL           60055
  Luft, Clint                                                    Address Redacted
  Lui, Justin                                                    Address Redacted
  Lui, Yee-Hong                                                  Address Redacted
  Luis Andre Gazitua dba Gazitua
  Letelier, PA                                                   95 Merrick Way, 3rd Floor                                      Coral Gables   FL           33134
  Lumack Bellot                                                  Address Redacted
  Lumen Technologies Group                                       100 CenturyLink Drive                                          Monroe         LA           71203
  Luminator Mass Transit, LLC
  (LMT)                                                          28818 Network Place                                            Chicago        IL           60673-1259
  Luminator Technology Group
  Global, LLC                                                    900 Klein Rd                                                   Plano          TX           75074
  Luminator Technology Group
  Global, LLC dba Luminator
  Technology Group                    Casey Vanschaik            900 Klein Rd                                                   Plano          TX           75074
  Luminator Technology Group
  Global, LLC dba Luminator           CREDIT MANAGER Tina
  Technology Group                    Morris                     900 Klein Rd                                                   Plano          TX           75074
  Luminator Technology Group
  Global, LLC dba Luminator
  Technology Group                    SALES Karissa Cruz         900 Klein Rd                                                   Plano          TX           75074
  Lunsford, Joshua                                               Address Redacted
  Luo, Haiwei                                                    Address Redacted



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  Lupton Associates, Inc.                                     343 N. Main Street, Suite 201                                   Canandaigua     NY           14424
  Lusk, Matthew                                               Address Redacted
  Luster, Dyshaum                                             Address Redacted
  Luxfer Holdings NA LLC                                      490 Post St Suite 1700                                          San Francisco   CA           94102
                                                              14963 Collections Center
  Luxottica Retail North America   DBA Lenscrafters           Drive                                                           Chicago         IL           60693
  LVT LLC DBA Item West                                       9725 S 500 W                                                    Sandy           UT           84070
  Lyddane, William                                            Address Redacted
                                   c/o KDG Construction
  Lydia Helen Kennard              Consulting                 Address Redacted
  Lyles, Sheri                                                Address Redacted
                                   DBA Creative Product
  Lyndon Paul Schneider            Specialty                  9864 East Grand River Ave       Suite 110-202                   Brighton        MI           48116
  LYNX                                                        455 N. Garland Ave                                              Orlando         FL           32801
  Lyseon North America, Inc.                                  1110 W Tenkiller Rd                                             Catoosa         OK           74015
  Lytx, Inc.                       CESAR VILLASENOR           9785 Towne Centre Drive                                         San Diego       CA           92121
  Lytx, Inc.                       KRIS JENSEN                9785 Towne Centre Drive                                         San Diego       CA           92121
  Lytx, Inc.                       MAX KABRICH                9785 Towne Centre Drive                                         San Diego       CA           92121
  Lytx, Inc.                                                  9785 Towne Centre Drive                                         San Diego       CA           92121
  Lytx, Inc.                                                  PO Box 849972                                                   Los Angeles     CA           90084-9972
  M & P Labs                       Deborah Roscoe             481 Garlington Road             Suite L                         Greenville      SC           29615
  M & P Labs                       Janet West                 481 Garlington Road             Suite L                         Greenville      SC           29615

  M. A. Mortenson Company          DBA Mortenson Construction 700 Meadow Lane North                                           Minneapolis     MN           55422
  M. A. Mortenson Company                                     567 W. Lake St                                                  Chicago         IL           60661
  M.J. Bradley & Associates, LLC   Heather Moore              47 Junction Square Drive                                        Concord         MA           01742
  M1 Graphics CO, Inc              JODY MCMURRY               PO Box 606                                                      Fountain Inn    SC           29644
  M1 Graphics Co., Inc.            Jody McMurry               302 Putman Road                 PO Box 606                      Fountain Inn    SC           29644
  MA Dept of Revenue                                          PO BOX 7089                                                     Boston          MA           02241-7089
  MA Rachella David Mariano        MA Rachella Mariano        Address Redacted
  Ma, Wenting                                                 Address Redacted
                                   INSIDE SALES Elizabeth
  Mac Papers                       Pulliam                    4607 Dairy Dr                                                   Greenville      SC           29607
  Mac Papers                                                  4607 Dairy Dr                                                   Greenville      SC           29607
  Macaspac, Normandy                                          Address Redacted
  Maccor, Inc.                                                4322 South 49th W. Avenue                                       Tulsa           OK           74107
  Machado, Enrique                                            Address Redacted
  Machine Shop Services, LLC       BILLING Allison Gillespie  230 Berry Shoals Rd                                             Duncan          SC           29334
  Machine Shop Services, LLC       ROD DICKARD                230 Berry Shoals Rd                                             Duncan          SC           29334
  Machine Shop Services, LLC       Shipping                   230 Berry Shoals Rd                                             Duncan          SC           29334
  Machine Shop Services, LLC                                  230 Berry Shoals Rd                                             Duncan          SC           29334
  Machinery Maintenance &
  Rebuilders, Inc                                             711 Washington St                                               Greenville      SC           29601
  Mack, Elias                                                 Address Redacted
  Mack, James                                                 Address Redacted




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  Mackenzie Group Inc DBA The
  Hayes Approach                                                    319 Garlington Rd                                                   Greenville        SC           29615
  Mackro Sales of Michigan, LLC       MICHAEL GROVIER               PO Box 82441                                                        Rochester Hills   MI           48306
  Mackro Sales of Michigan, LLC                                     PO Box 82441                                                        Rochester Hills   MI           48306
  Macquarie Corporate and Asset                                                                   Ground, Level 8, Level
  Funding Inc.                                                      125 West 55Th Street          15-23                                 New York          NY           10019
  Macrofab                                                          11330 Caly Road               Suite 300                             Houston           TX           77041
  Madelyn Bender                                                    Address Redacted
  Madera, Raymon                                                    Address Redacted
  Madison Art Shop                                                  17 Engleberg Terrace                                                Lakewood          NJ           08701
  Madison Company                                                   27 Business Park Dr                                                 Branford          CT           06405

  Madland Diesel Fleet and Service                                  4420 State Rd                                                       Bakersfield       CA           93308
  Madrid, Marisol                                                   Address Redacted
  Madrid, Maximas                                                   Address Redacted
  Maeltzer, Corey                                                   Address Redacted
  Maestas, Felipe                                                   Address Redacted
                                      See Amerex Magaldi and
  Magaldi and Magaldi Inc             Magaldi Inc                   6658 Gunpark Drive            Suite 102                             Boulder           CO           80301
  Magdaleno Avila, J Socorro                                        Address Redacted
                                                                    Windsor Place, 22 Queen
  Magna Carta Insurance, Ltd.                                       Street                        PO Box HM 2078                        Hamilton                       HM 12        Bermuda
  Magna-Power Electronics, Inc.                                     39 Royal Road                                                       Flemington        NJ           08822
                                      FIELD SERVICE FIELD
  Magnetek                            SERVICE                       PO Box 8497                                                         Carol Stream      IL           60197-8497
  Magnetek                            Mike Fedorchak Magnetek       PO Box 8497                                                         Carol Stream      IL           60197-8497
  Magnetek                                                          PO Box 8497                                                         Carol Stream      IL           60197-8497
  Magnetic Concepts Corporation                                     611 3rd Ave. SW                                                     Carmel            IN           46032

  Magnetics Division of Spang & Co.                                 110 Delta Drive                                                     Pittsburgh        PA           15238-0422
  Mahaffey III, Louis                                               Address Redacted

  Maho Lazo                           C/O Justice Law Corporation   751 N Fair Oaks Ave, Ste 101                                        Pasadena          CA           91103
  Maho Lazo                           Dundon Advisers, LLC          April Kimm                   10 Bank St, Ste 1100                   White Plains      NY           10606
                                                                                                 3055 Wilshire Blvd,
  Maho Lazo                           Wilshire Law Firm             Benjamin Haber               12th Fl                                Los Angeles       CA           90010
  Mai, Johnny                                                       Address Redacted
  Maimin Technology Group, Inc.                                     227 Ambrogio Drive           Suite B                                Gurnee            IL           60031
  Main Electric Supply                                              3600 W Segerstrom Avenue                                            Santa Ana         CA           92704
  Main Electric Supply Company
  LLC                                                               3600 W Segerstrom Avenue                                            Santa Ana         CA           92704
  Main Street Teleproductions                                       PO Box 1878                                                         Davidson          NC           28036

  Maine Office of the State                                                                       Burton M Cross Office
  Treasurer                           Unclaimed Property            39 State House Station        Building, 3rd Floor   111 Sewall St   Augusta           ME           04333-0039
  Maine Revenue Services                                            PO Box 1060                                                         Augusta           ME           04332-1060
  MaintainX, Inc                      Alison Golfman                PMB 98008                     382 NE 191st St                       Miami             FL           33179-3899



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  Majdy Alaktam                                             Address Redacted
  Majors, David                                             Address Redacted
  Majumdar, Zachary                                         Address Redacted
  Maldonado, Frank                                          Address Redacted
  Malhotra, Giovanna                                        Address Redacted
  Malik, Anubhav                                            Address Redacted
  Mall, William                                             Address Redacted
  Malladi, Satish                                           Address Redacted
  Maloney, Annabelle                                        Address Redacted

  Mammoth Unified School District                           PO Box 3509                                                          Mammoth Lakes     CA           93546
  Manaflex Inc.                     Alan Liao               11919 Fisterra Ct                                                    Las Vegas         NV           89138-1602
  Manaflex Inc.                     Ammy Liu                11919 Fisterra Ct                                                    Las Vegas         NV           89138-1602
  Manaflex Inc.                     Candice Zhang           11919 Fisterra Ct                                                    Las Vegas         NV           89138-1602
  Manaflex Inc.                                             11919 Fisterra Ct                                                    Las Vegas         NV           89138-1602
  Manaflex Inc.                                             19745 Colima Road               Suite 1910                           Rowland Height    CA           91748
  Manaflex Inc.                                             68-3527 Hena St                                                      Waikoloa          HI           96738
  Manasaveena Chennuri P.E.                                 4915 Boulder Run Road                                                Hillsborough      NC           27278
  Manchana, Ramakrishna                                     Address Redacted
  Mancuso, Emily                                            Address Redacted
  Mandeep Jawanda                                           Address Redacted
  Manet, Derek                                              Address Redacted

  Maney International of Duluth, Inc. Rob Isackson          3204 Carlton St                                                      Duluth            MN           55806
  Mangas, Robert                                            Address Redacted
  MangoApps Inc.                                            1495 11th Avenue NW                                                  Issaquah          WA           98027
  Mani, Mohan                                               Address Redacted
  Manigan, Tyquan                                           Address Redacted
  Mann, Joseph                                              Address Redacted
                                      ACCOUNT MGR/SALES                                                                                                                      United
  Mann+Hummel (UK) Ltd                Mirco Schoen          Unit C                          Vernon Park          Featherstone    Wolverhampton                  WV10 7HW     Kingdom
                                                                                                                                                                             United
  Mann+Hummel (UK) Ltd              Stefanie Zimmermann     Unit C                          Vernon Park                          Wolverhampton                  WV10 7HW     Kingdom
                                                                                                                                                                             United
  Mann+Hummel (UK) Ltd                                      Unit C                          Vernon Park                          Wolverhampton                  WV10 7HW     Kingdom
  Manohar S Heer                                            Address Redacted
  Mansell, Torrey                                           Address Redacted
  Mansour, Maan                                             Address Redacted
  Mansouri, Amir                                            Address Redacted
  Manuel C. Maderazo Jr                                     Address Redacted
  Manukin III, Paul                                         Address Redacted
  Manweiler, Amy                                            Address Redacted
  Manz AG                                                   Steigaeckerstrasse 5                                                 Reutlingen                     D-72768      Germany
  Manz USA, Inc.                                            Steigackerstrabe 5                                                   Reutlingen                     72768        Germany
  Manz USA, Inc.                                            376 Dry Bridge Road             B2                                   North Kingstown   RI           02852
  Manz USA, Inc.                                            376 Dry Bridge Rd                                                    North Kingstown   RI           02852
  Manzanita Micro                                           PO Box 1774                                                          Kingston          WA           98346



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                                                                                                                                                                        Cayman
  Maples and Calder (Cayman) LLP                             PO Box 309                   Grand Cayman                     Ugland House                    KY1-1104     Islands
  Marcelo Lara                   Alberto Lara                Address Redacted
  Marcelo Lara                                               Address Redacted
  March Networks Inc.            Heidi Buzzell               PO Box 66512                                                  Chicago           IL            60666
  March Networks Inc.            Keith Winchester            PO Box 66512                                                  Chicago           IL            60666
  March Networks Inc.                                        PO Box 66512                                                  Chicago           IL            60666
                                                                                          60 Boulevard of the
  Marco Gudino                    Zach Herbert               United States Steelworkers   Allies                           Pittsburgh        PA            15222
  Marco Piccirilli                                           Address Redacted
  Marco Rubber and Plastic, Inc                              PO Box 3500                                                   Seabrook          NH            03874
  Marcoux, Zachary                                           Address Redacted
  Marcum LLP                                                 10 Melville Park Road                                         Melville          NY            11747
  Marcus Davenport                                           PO Box 16432                                                  Greenville        SC            29606
  Marcus Lowther                                             Address Redacted
  Maria Cardona                                              Address Redacted
  Marian Inc                      Julie Marian Inc           1101 East St. Clair Street                                    Indianapolis      IN            46202
  Marielle Coleman-Mai                                       Address Redacted
  Marietta Wrecker Service                                   950 Allgood Road                                              Marietta          GA            30062
  Marilyn Matias-Davoll                                      Address Redacted
  Marin, Salvador                                            Address Redacted
  Mario Scarpelli                                            Address Redacted
  Marion County Justice Court                                4660 Portland Road NE        Suite 107                        Salem             OR            97305
  Maritec-Metpro Corporation      Denise Montgomery          215 Commerce Rd                                               Greenville        SC            29611
  Mark C. Pope Associates, Inc.                              4910 Martin Ct. SE                                            Smyrna            GA            30082

  Mark Cobb Linda Alfredson TTEE Mark W. Cobb Living Trust   Address Redacted
  Mark Hervig                                                Address Redacted
  Mark Kazikowski                DBA KazTia Design LLC       Address Redacted
  Mark L. Gunnion                                            Address Redacted
  Mark L. Martinec                                           Address Redacted
  Mark Marano                                                Address Redacted
  Mark Sandler                                               Address Redacted

  Mark Urman                                                 Address on File
  Mark Yau                                                   Address Redacted
  Marketing Genome Project LLC    Jeff Pascarella            116 Owens Ave                                                 Atlantic Hlds     NJ            07716-2504

  Marketing Genome Project, LLC                              116 Owens Avenue                                              Atlantic Highlands NJ           07716
  Markland, Reagan                                           Address Redacted
  Marques, Philip                                            Address Redacted
  Marquez, Alfred                                            Address Redacted
  Marquez, Nicholas                                          Address Redacted
  Marrero, Tyler                                             Address Redacted

  Marsh & McLennan Agency, LLC    William Choy               9171 Towne Centre Dr. #100                                    San Diego         CA            92122
  Marsh Jr., Lamar                                           Address Redacted



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                                                          555 California Street, Suite
  Marsh Limited                  Foley & Lardner LLP      1700                                                              San Francisco   CA           94104
                                                                                                                                                                      United
  Marsh Limited                                           1 Tower Place West           Tower Place                          London                       EC3R 5BU     Kingdom
  Marsh Risk and Insurance                                4 Embarcadero Center, Suite
  Services                       Lauren Wensel Kauffman   1100                                                              San Francisco   CA           94111
                                                          4 Embarcadero Center, Suite
  Marsh USA LLC                                           1100                                                              San Francisco   CA           94111
                                                          4 Embarcadero Center, Suite
  Marsh USA, Inc.                Jeffrey Perkins          1100                                                              San Francisco   CA           94111
                                                          345 California Street, Suite
  Marsh USA, Inc.                Scott Francis            1300                                                              San Francisco   CA           94104
  Marsh USA, Inc.                                         PO Box 846112                                                     Dallas          TX           75284-6112
  Marson International LLC       Teresa Hes               PO Box 1529                                                       Elkhart         IN           46515
  Marson International LLC       Tracy Waggoner           PO Box 1529                                                       Elkhart         IN           46515
  Marson International LLC                                1001 Sako Court                                                   Elkhart         IN           46516
  Marson International LLC                                PO Box 1529                                                       Elkhart         IN           46515
  Marte, Lenin                                            Address Redacted
  Martin Coward                                           Address Redacted
  Martin G. Guare                                         Address Redacted
  Martin Matias, Reynaldo                                 Address Redacted
  Martin Spacek                                           Address Redacted
  Martin, Chasity                                         Address Redacted
  Martin, Patty                                           Address Redacted
  Martinez, Brandon                                       Address Redacted
  Martinez, Hugo                                          Address Redacted
  Martinez, Jose                                          Address Redacted
  Martinez, Russell                                       Address Redacted
  Martinez, Salvador                                      Address Redacted
                                    CONTROLLER Benoit
  Martins Industries                Beauchemin            1200, Boul, Industriel                                            Farnham         QC           J2N 3B5      Canada
  Martins Industries                                      1200, Boul, Industriel                                            Farnham         QC           J2N 3B5      Canada
  Marulanda Quintana, Santiago                            Address Redacted
  Mary E. Jarrett                                         Address Redacted
  Mary H Bruckner                                         Address Redacted
  Maryland Dept of Assessments &
  Taxation                                                PO Box 17052                                                      Baltimore       MD           21297
  Maskine LLC                       Nicklas Thystrup      11210 S. Bannock St.                                              Phoenix         AZ           85044
  Mason, Davon                                            Address Redacted
  Mass Precision, Inc.                                    2110 Oakland Road,                                                San Jose        CA           95131
  Mass Truck Refrigeration Service,
  Inc                                                     47 Sword St                                                       Auburn          MA           01501
  Massachusetts Department of
  Revenue                                                 100 Cambridge St., 2nd Floor                                      Boston          MA           02114
  Massachusetts Department of
  Revenue                                                 PO Box 7090                                                       Boston          MA           02204-7090




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             CreditorName                CreditorNoticeName             Address1                    Address2       Address3            City         State       Zip      Country
  Massachusetts Secretary of
  Commonwealth                                                One Ashburton Place                                             Boston           MA           02108
  Massey, Jerrica                                             Address Redacted
  Massey, Suboure                                             Address Redacted
  Massport (Paul Revere)                                      59 Reading St                                                   Roxbury          MA           02119
  Mast Jr., John                                              Address Redacted
  Master International Corporation                            Master Electronics              1301 Olympic Blvd.              Santa Monica     CA           90404
  Mate Precisioin Tooling                                     1295 Lund Blvd                                                  Anoka            MN           55303
  Material Storage Systems, Inc.                              8827 Will Clayton Parkway                                       Humble           TX           77338
  Materials Handling Solutions       Crane 1 Services, Inc.   PO Box 5023                                                     Greenville       SC           29607
  Materials Handling Solutions       Crane 1 Services, Inc.   PO Box 88989                                                    Milwaukee        WI           53288
  Mathews Bus Alliance Inc                                    4802 W. Colonial Drive                                          Orlando          FL           32808-7702
  Mathis Electronics, Inc.           Dima Kazantsev           102A Caribou Rd                                                 Asheville        NC           28803
  Mathis, Michael                                             Address Redacted
  Mathworks Inc., The                                         3 Apple Hill Drive                                              Natick           MA           01760-2098
  Mathworks Inc., The                                         PO Box 21301                                                    New York         NY           10087-1301
  Mathworks Inc., The                                         PO Box 845428                                                   Boston           MA           02284-5428
  Matrix Composites, an ITT
  Company                                                     275 Barnes Boulevard                                            Rockledge        FL           32955
  Matt Horton                                                 Address Redacted
  Mattei Transport Engineering                                9635 Liberty Road               Suite E                         Randallstown     MD           21133
  MatterHackers, Inc                                          27156 Burbank                                                   Foothill Ranch   CA           92610
  Mattero, John                                               Address Redacted
  Matthew Cary Minnis Charles
  Schwab and Co Cust IRA
  Contributory                                                Address Redacted
  Matthew D Morano                                            Address Redacted
  Matthew Roth                       M. Roth                  Address Redacted
  Matthew T Shafer                                            15 N. Saint Clair St., 3rd FL                                   Draper           UT           84020
  Matthew T Shafer                                            Address Redacted
  Matthews Bus Alliance                                       4802 W. Colonial Drive                                          Orlando          FL           32808-7702
  Matthews Bus Alliance Inc for
  Pinellas County Schools            Matthews Buses Florida   4802 W Colonial Dr                                              Orlando          FL           32808
  Matthews Bus Alliance Inc.         Matthews Buses Florida   4802 W Colonial Dr                                              Orlando          FL           32808
  Matthews Buses, Inc.                                        2900 Route 9                                                    Ballston Spa     NY           12020
  Mattison, Marquis                                           Address Redacted
  Mattson Resources LLC                                       PO Box 2999                                                     Phoenix          AZ           85062
  Maugatai, Akana                                             Address Redacted
  Maureen Monahan                                             Address Redacted
  Mauri, Adriano                                              Address Redacted

  Mauricio Lozano                                             Address Redacted
  Max Silverman                                               Address Redacted
  Max, Jeremy                                                 Address Redacted
  Maxgen Energy Services
  Corporation                        James Tillman            1690 Scenic Avenue                                              Costa Mesa       CA           92626
  Maxime McLaughlin                                           Address Redacted



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  Maxson & Associates Inc                                           11009 Downs Road                                                Pineville      NC           28134
  Maxwell, Michael                                                  Address Redacted
  Mayes, Corey                                                      Address Redacted
  Mayhead, Frederick                                                Address Redacted
  Mayowa Alonge                                                     Address Redacted
  Maysteel Industries                                               6199 County Rd W                                                Allenton       WI           53002-9545
  Mazooji, Sabrina                                                  Address Redacted
  MB Kit Systems, Inc.                                              3860 Ben Hur Ave.                                               Willoughby     OH           44094
  MB Kit Systems, Inc.                                              925 Glaser Parkway                                              Akron          OH           44306
  MBR DISTRIBUTORS                                                  1330 Holmes Rd                                                  Elgin          IL           60123
  Mc Bee Systems Inc.                                               PO Box 88042                                                    Chicago        IL           60680
  McBride, MARIO                                                    Address Redacted
  Mcbride, Mario                                                    Address Redacted
  McCarson, Andrew                                                  Address Redacted
  Mccarthy, Eric                                                    Address Redacted
  McCarty, Ryan                                                     Address Redacted
  McCarty, Samantha                                                 Address Redacted
  McCauley Jr., Frederick                                           Address Redacted
  McCauley, Ponsie                                                  Address Redacted
  McClarin Plastics, LLC              c/o Annette Markle            15 Industrial Drive                                             Hanover        PA           17331
  McClarin Plastics, LLC d/b/a        c/o Seyfarth Shaw, James B.   233 South Wacker Drive
  McClarin Composites                 Sowka                         Suite 8000                                                      Chicago        IL           60606
  McClarin Plastics, LLC d/b/a
  McClarin Composites                 McClarin Plastics, LLC        c/o Annette Markle             15 Industrial Drive              Hanover        PA           17331
  Mccleland, Evelyn                                                 Address Redacted
  McClintock Jr., Harvie                                            Address Redacted
  McClinton, Justin                                                 Address Redacted
  McClung, Samantha                                                 Address Redacted
  Mcconnell, Jennifer                                               Address Redacted
  McCrary Jr., Anthony                                              Address Redacted
  McCraw, Hailee                                                    Address Redacted
  McDaniel, Kyle                                                    Address Redacted
  McDermott Will & Emery LLP          Karen Davis                   275 Middlefield Road           Suite 100                        Menlo Park     CA           94025
  McDermott Will & Emery LLP                                        444 West Lake Street           Suite 4000                       Chicago        IL           60606
  McDonald II, George                                               Address Redacted

  McDonald Transit Associates, Inc.                                 3800 Sandshell                 No. 185                          Fort Worth     TX           76137
  McDonald, Curtis                                                  Address Redacted
  Mcduffee, Thomas                                                  Address Redacted
  McGill, Colin                                                     Address Redacted
  McGraw, Donovan                                                   Address Redacted
                                      DBA Precept Advisory Group,
  McGriff Insurance Services          LLC                         3605 Glenwood Avenue             Suite 201                        Raleigh        NC           27612
                                      DBA Precept Advisory Group,
  McGriff Insurance Services          LLC                         PO Box 5689                                                       Irvine         CA           92616
                                                                                                   Attn Accounts
  McGuireWoods LLP                                                  800 E. Canal Street            Receivable                       Richmond       VA           23219-3916



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                                                                                             CUSTOMER #
  MCI Sales and Service                                       Lockbox 774755                 1096841                                  Chicago        IL           60677-4007
  Mckim, Brian                                                Address Redacted

  McKinley Equipment Corporation                              17611 Armstrong Avenue                                                  IRVINE         CA           92614
  McKinney Trailer Rentals         BILLING Elia Rivera        2601 Saturn St, Suite 110                                               Brea           CA           92821
  McKinney Trailer Rentals         Jennifer Crutchfield       2601 Saturn St Suite 110                                                Brea           CA           92821
  McKinney Trailer Rentals                                    PO Box 515574                                                           Los Angeles    CA           90051
  McKinsey & Company, Inc.                                    PO Box 7247-7255                                                        Philadelphia   PA           19170
  McLaughlin, Nicholas                                        Address Redacted
  McLeod, Donna                                               Address Redacted
  McMaster-Carr Supply Co.                                    PO Box 7690                                                             Chicago        IL           60680-7690

  McMaster-Carr Supply Company                                1901 Riverside Parkway                                                  Douglasville   GA           30135

  McMaster-Carr Supply Company                                PO Box 7690                                                             Chicago        IL           60680
  McMillan Pazdan Smith
  Architecture                                                400 Augusta St, Ste 200                                                 Greenville     SC           29601
                                                              Dept 999450, P.O. Box
  McMillan Pazdan Smith LLC                                   537044                                                                  Atlanta     GA              30353
  McMillan Pazdan Smith, LLC                                  127 DUNBAR STREET                                                       SPARTANBURG SC              29306
  McNaughton-McKay Electric
  Company                          Aaron Sanders              35 Old Mill Road                                                        Greenville     SC           29607
  McNaughton-McKay Electric
  Company                          Chase Boehlke              35 Old Mill Road                                                        Greenville     SC           29607
  McNaughton-McKay Electric
  Company                          John Orlando               35 Old Mill Rd                                                          Greenville     SC           29607
  McNaughton-McKay Electric
  Company                                                     35 Old Mill Road                                                        Greenville     SC           29607
  McNeal, Vernon                                              Address Redacted
  McNeil, Shawn                                               Address Redacted
  MCPS Bethesda Depot                                         10901 Westlake Drive                                                    Rockville      MD           20852
  McRae, Jesse                                                Address Redacted
  McSpirit Search                  Attn Director or Officer   Billy Penn Studios             1516 N 5th Street                        Philadelphia   PA           19122

  MDH F1 Greenville AG14 LLC                                  3715 Northside Parkway NW Building 400, Suite 240                       Atlanta        GA           30327
                                                                                        3725 Northside          Building 400, Suite
  MDH F1 Greenville AG14 LLC                                  MDH Partners              Parkway NW              240                   Atlanta        GA           30327
  MDH F1 Greenville AG14, LLC,                                MDH F1 Greenville AG14,   3715 Northside          Building 400, Suite
  Electrolux Home Products, Inc.   Attention President        LLC                       Parkway NW              240                   Atlanta        GA           30327
  Mead, Kinsey                                                Address Redacted
  Meadows, Dale                                               Address Redacted
  Means, Sierra                                               Address Redacted
  Mechanical Electrical Systems,
  Inc.                                                        8802 Bash Street, Suite F                                               Indianapolis   IN           46256
  Mechanical Electrical Systems,
  Inc.                                                        PO Box 503003                                                           Indianapolis   IN           46250



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  Mechanical Rubber Products Co.
  Inc.                             COMPLIANCE Alisa Sherow   77 Forester Avenue                                            Warwick         NY            10990
  Mechanical Rubber Products Co.
  Inc.                             COMPLIANCE Alisa Sherow   PO Box 593                                                    Warwick         NY            10990
  Mechanical Rubber Products Co.
  Inc.                                                       77 Forester Avenue                                            Warwick         NY            10990
  Mechanical Rubber Products Co.
  Inc.                                                       PO Box 593                                                    Warwick         NY            10990
  Mediant Communications Inc.                                PO Box 75185                                                  Chicago         IL            60675
  Medina, Juan                                               Address Redacted
  Medina, Pedro                                              Address Redacted
  Medina, Victor                                             Address Redacted
  Medius Software Inc.                                       14 E 44th Street              5th Floor                       New York        NY            10017
  Medix Staffing Solutions, Inc.                             222 S. Riverside Plaza        Suite 2120                      Chicago         IL            60606
  Mega Technical Holdings Ltd                                7116 67ST NW                                                  Edmonton        AB            T6B3A6   Canada
  Mehdian, Behrooz                                           Address Redacted
  Mehmet Tozan                                               Address Redacted
  Mehta, Rushabh                                             Address Redacted
  Mehta, Vishal                                              Address Redacted
  Mejia Sanchez, Gonzalo                                     Address Redacted
  Mejia Sanchez, Moises                                      Address Redacted
  Mejia, Miguel                                              Address Redacted
  Melendy, Kodee                                             Address Redacted
  Melero, Joel                                               Address Redacted
  Mellott, Jerald                                            Address Redacted
  Men, Sann                                                  Address Redacted
  Mena, Haroldo                                              Address Redacted
  Mendez Perez, Joaquin                                      Address Redacted
  Mendez, Eliseo                                             Address Redacted
  Mendez, Eric                                               Address Redacted
  Mendez, Miguel                                             Address Redacted
  Mendoza Jr., Teofilo                                       Address Redacted
  Mendoza Sr., Joey                                          Address Redacted
  Mendoza, Christian                                         Address Redacted
  Mendoza, Raymond                                           Address Redacted
  Mendoza, Raymond                                           Address Redacted
  Menegay, Jeff                                              Address Redacted
  Meng Rowland                                               Address Redacted
  Mentor Graphics Corporation                                8005 SW Boeckman Road                                         Wilsonville     OR            97070
  Mercer, Daniel                                             Address Redacted

  Mercury GSE Rentals, LLC                                   9445 Ann St                                                   Santa Fe Springs CA           90670
  Mercury Technology Group, Inc.   Mary Chmaj                6430 Oak Canyon               Suite 100                       Irvine           CA           92618
  Mercury Technology Group, Inc.                             6430 Oak Canyon               Suite 100                       Irvine           CA           92618
  Mercy High School - Burlingame                             2750 Adeline Drive                                            Burlingame       CA           94010
  Meredith W Roy                                             Address Redacted
  Meritor, Inc                     Autumn Schoenberger       2135 West Maple Road                                          Troy            MI            48084



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  Meritor, Inc                      HOLLY KAROW                2135 West Maple Road                                            Troy             MI           48084
  Meritor, Inc                      JOHN WOLF                  2135 West Maple Road                                            Troy             MI           48084
  Meritor, Inc                                                 2135 West Maple Road                                            Troy             MI           48084
  Meritor, Inc.                     Attn Accounts Receivable   2135 W Maple Road                                               Troy             MI           48084
                                                                                              400 Renaissance
  Meritor, Inc.                     c/o Sherrie Farrell        Dykema Gossett PLLC            Center                           Detroit          MI           48243
                                                               c/o Danielle Rushing           112 E Pecan Street
  Meritor, Inc.                     Dykema Gossett PLLC        Behrends                       Suite 1800                       San Antonio      TX           78205
  Meritor, Inc.                     JULIE S. DORN              1005 HIGH AVE                                                   OSHKOSH          WI           54901
                                                               2049 Century Park East,
  Merrill Lynch                     Thomas F. Jackson          Suite 1200                                                      Los Angeles      CA           90067

  Merrill Lynch Wealth Management Steven Prediletto            Address Redacted
  Merrimack Valley Regional Transit
  Authority                                                    101 Arch Street                12th Floor                       Boston           MA           02110
  Merrimack Valley Regional Transit
  Authority                                                    85 Railroad Avenue                                              Haverhill        MA           01835
  Merriwether, Nathaniel                                       Address Redacted
  Mersen USA EP Corp                SALLY MAHONEY              374 Merrimac Street                                             Newburyport      MA           01950
  Mersen USA EP Corp                                           374 Merrimac Street                                             Newburyport      MA           01950
  Mersen USA EP Corp                                           PO Box 7247-6444                                                Philadelphia     PA           19170-6444
  MESA Corporation                  MATT CARTER                9 Distribution Ct                                               Greer            SC           29650
  MESA Corporation                                             PO Box 16253                                                    Greenville       SC           29606
  Messina Ndjana, Martial                                      Address Redacted
  Metal Solutions Inc.              Melissa Monarko            1141 Industrial Park Road                                       Vandergrift      PA           15690
                                    Strassburger McKenna                                      444 Liberty Avenue,
  Metal Solutions Inc.              Gutnick Gefsky             Michael G. Nicolella           Suite 2200                       Pittsburgh       PA           15222
  Metal Solutions, Inc.             Ashley Emerick             1141 Industrial Park Road                                       Vandergrift      PA           15690
  Metal Solutions, Inc.             BOB GEER                   1141 Industrial Park Road                                       Vandergrift      PA           15690
  Metal Solutions, Inc.             Brian Carney               1141 Industrial Park Road                                       Vandergrift      PA           15690
  Metal Solutions, Inc.                                        1141 Industrial Park Road                                       Vandergrift      PA           15690
  Metallurgical Technologies, Inc.,
  P.A.                                                         160 Bevan Drive                                                 Mooresville      NC           28115
                                                               Carr. Miguel Aleman KM 16.5
  Metalsa Sapi De CV                                           100                                                             Apodaca          Nuevo Leon 66600          Mexico

                                                               Ave. Miguel Aleman km 16.5
  Metalsa, S.A. de C.V.                                        #100, Centro de Apodaca                                         Apodaca          Nuevo Leon                Mexico

  Metaltec Steel Abrasive Company                              41155 Joy Road                                                  Canton           MI           48187
  Metcalf, Andrew                                              Address Redacted
  METCO Inc.                                                   303 Highway 29 By-Pass                                          Anderson         SC           29621
                                                                                                                                                                          United
  Metis Engineering Ltd                                        2 Colliers Gardens                                              Backwell                      BS48 3DT     Kingdom
  Metrolink                                                    1515 River Drive                                                Moline           IL           61265
  Metrolink                                                    4501 4th Ave                                                    Rock Island      IL           61201
  Metropolitan Council                                         390 Robert St. N.                                               St. Paul         MN           55101



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  Metropolitan Tulsa Transit
  Authority (MTTA)                                               510 S. Rockford Ave                                                  Tulsa          OK           74120
  Metropolitan Washington Airports
  Authority                                                      1 Aviation Circle                                                    Washington     DC           20001-6000
  Metropolitan Washington Airports
  Authority                                                      2733 Crystal Drive                                                   Arlington      VA           22202
  Metropolitan Washington Airports
  Authority                                                      Two Potomac Yard                2733 Crystal Drive                   Arlington      VA           22202
  Meza, Juan                                                     Address Redacted
  MFG West                           ANNALISE OROSCO             9400 Holly Road                 PO Box 370                           Adelanto       CA           92301
  MFG West                           BARBARA RIVET               9400 Holly Road                 PO Box 370                           Adelanto       CA           92301
  MFG West                           DANIEL CHIPS                9400 Holly Road                 PO Box 370                           Adelanto       CA           92301
  MFG West                                                       9400 Holly Road                 PO Box 370                           Adelanto       CA           92301
  MGA Research Corporation                                       820 Suburban Park Drive                                              Greer          SC           29651
  MGA Research Corporation                                       PO Box 689916                                                        Chicago        IL           60695
  Miami Dade County                  County Attorney Office      111 NW 1st Street                                                    Miami          FL           33128

                                     Department of Transportation
  Miami Dade County                  and Public Works             111 NW 1st Street                                                   Miami          FL           33128
  Miami Dade Water and Sewer         Attn Collection
  Department                         Branch/Bankruptcy Unit       PO Box 149089                                                       Coral Gables   FL           33114

  Miami-Dade County                  County Attorney             701 NW 1st Court 15th Floor                                          Miami          FL           33136
  Miami-Dade County
  Transportation & Public Works                                  111 NW 1st St, 26th Floor                                            Miami          FL           33128
  Miami-Dade County                                              111 N.W. 1st Street, Suite
  Transportation & Public Works                                  1375                                                                 Miami          FL           33128-1974
  Miami-Dade County
  Transportation & Public Works                                  3401 N.W. 31st Street                                                Miami          FL           33142
  Miami-Dade County
  Transportation & Public Works                                  701 NW 1st Court, 15th Floor                                         Miami          FL           33136
  Miami-Dade County
  Transportation & Public Works                                  701 NW 1st Court                                                     Miami          FL           33136
  Miami-Dade County                                                                              701 NW 1st Court,
  Transportation & Public Works                                  Transit Procurement             15th Floor                           Miami          FL           33136
  Miao Lu                                                        Address Redacted
  Mica Electrical Material (Luhe)
  Co., Ltd.                          Jonas Ju                    Development Zone, Hedong        Guandong Province    Luhe County     Shanwei City                516700       China
  Mica Electrical Material (Luhe)
  Co., Ltd.                          Wenyi Tang                  Development Zone, Hedong        Guandong Province    Luhe County     Shanwei City                516700       China
  Micah Morrell                                                  Address Redacted

  Micah Morrell, Drone Scope Media                               Address Redacted
  Michael and Company Interiors,
  Inc.                                                           226 Pelham Davis Circle                                              Greenville     SC           29615
  Michael Andrews-Schwind          Kirsten Andrews-Schwind       Address Redacted
  Michael Andrews-Schwind                                        Address Redacted



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  Michael Black Construction, Inc.                                 PO Box 4294                                                  Hayward      CA           94540
  Michael C Hammond                  Storyboard Media Group        Address Redacted
  Michael Caron                                                    Address Redacted
  Michael Casteel                                                  Address Redacted
  Michael Charter                                                  Address Redacted
  Michael Clough                                                   Address Redacted
  Michael Cyr                                                      Address Redacted
  Michael Dawson                                                   Address Redacted
  MICHAEL E BEAUPRE                                                Address Redacted
  Michael E Boyle Consulting
  Services                                                         7465 Maple Avenue                                            Maplewood    MO           63143-3029
  Michael F Murphy                   DBA postcorptv LLC            Address Redacted
  Michael F Wacht                                                  Address Redacted
  Michael Francis Adami              DBA M. A. Communications      Address Redacted
  Michael Francis Kane                                             Address Redacted
  Michael Frey                                                     Address Redacted

  Michael J. Lyons                   DBA Mike Lyons Photography Address Redacted
  Michael J. Sullivan                                            Address Redacted
  Michael K Moon                                                 Address Redacted
                                     DBA Mike McCurdy Roofing
  Michael McCurdy                    Inc.                        Address Redacted
  Michael Oravetz                                                Address Redacted
  Michael Prishlyak                  DBA Webwave Co.             Address Redacted
  Michael Ray Segvich                                            Address Redacted
  Michael Ridley                                                 Address Redacted
  Michael Ringsrud                                               Address Redacted
  Michael S Stocks                                               Address Redacted
  Michael Sagaria                                                Address Redacted
  Michael Wrobel                                                 Address Redacted
  Michele A. Russi                   Christopher & Michele Russi Address Redacted

  Michele Thorne                     C/O Justice Law Corporation   751 N Fair Oaks Ave, Ste 101                                 Pasadena     CA           91103
  Michele Thorne as Class
  Representative                     c/o Justice Law Corporation   751 N Fair Oaks Ave, Ste 101                                 Pasadena     CA           91103

  Michele Thorne as PAGA             c/o Justice Law Corporation   751 N Fair Oaks Ave, Ste 101                                 Pasadena     CA           91103
  Michelin North America Inc         James Tillman                 2440 Hwy 39                                                  Mountville   SC           29370
  Michelin North America Inc         Jim Anderson                  515 Michelin Road                                            Greenville   SC           29605
  Michelin North America, Inc.       GAIL BAXTER                   One Parkway South                                            Greenville   SC           29615
  Michelin North America, Inc.       GENE HUTCHINS                 One Parkway South                                            Greenville   SC           29615
  Michelin North America, Inc.       GEORGE KAHALEH                One Parkway South                                            Greenville   SC           29615
                                                                   3030 North Lamb Blvd, Ste
  Michelin North America, Inc.                                     106                                                          Las Vegas    NV           89115
  Michelin North America, Inc.                                     8220 Troon Circle, Ste 200                                   Austell      GA           30168
  Michelin North America, Inc.                                     One Parkway South                                            Greenville   SC           29615
  Michelle Bolden                                                  Address Redacted



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  Michelle Mcfee                                                    Address Redacted
                                                                                                    2nd Floor, Austin     430 West Allegan
  Michigan Dept of Treasury           Attn Litigation Liaison       Tax Policy Division             Building              Street             Lansing         MI           48922
  Michigan Dept of Treasury           Collection/Bankruptcy Unit    P.O. Box 30168                                                           Lansing         MI           48909
  Michigan Dept of Treasury           Office of Collections         430 W. Allegan Street           P.O. Box 30199                           Lansing         MI           48909
  Michigan Dept of Treasury           Unclaimed Property Division   7285 Parsons Dr                                                          Dimondale       MI           48821
  Micro Precision Calibration, Inc.                                 2165 N Glassell                                                          Orange          CA           92865
  Micro Precision Calibration, Inc.                                 22835 Industrial Place                                                   Grass Valley    CA           95949
  Micro Precision Calibration, Inc.                                 6878 Santa Teresa Blvd                                                   San Jose        CA           95119
  Micro Quality Calibration, Inc.     Conrad Kramer                 9168 De Soto Avenue                                                      Chatsworth      CA           91311
  Micro Quality Calibration, Inc.     Dulce Banuelos                9168 De Soto Avenue                                                      Chatsworth      CA           91311
  MicroDAQ, LLC                                                     29 Pembroke Road                                                         Concord         NH           03301
  MicroDAQ, LLC                                                     879 Maple Street                                                         Contoocook      NH           03229
  Microgrid Labs Inc                                                2 Davis drive                                                            Durham          NC           27709
  Microsemi Frequency and Time
  Corp                                Cheri Ramsey                  3870 N. 1st Street                                                       San Jose        CA           95134
  Microsemi Frequency and Time
  Corp                                                              PO Box 847325                                                            Dallas          TX           75284-7325
                                                                                                    1001 4th Ave. Suite
  Microsoft Corporation               Fox Rothschild LLP            Attn David P. Papiez            4400                                     Seattle         WA           98154
  Microsoft Corporation                                             PO Box 842103                                                            Dallas          TX           75282
  Mid-Atlantic Electrical Services
  Inc.                                                              150 N Monroe St                                                          Wilmington      DE           19801
  Mid-Atlantic Electrical Services,
  Inc.                                Victor Rolli                  24556 Betts Pond Rd.                                                     Millsboro       DE           19966
  Mid-Atlantic Electrical Services,
  Inc.                                                              24556 Betts Pond Rd.                                                     Millsboro       DE           19966

  Middlesex County Public Schools                                   2911 General Puller Highway                                              Saluda          VA           23149

  Middlesex Truck & Auto Body, Inc.                                 65 Gerard St                                                             Boston          MA           02119
  Middleton, Todd                                                   Address Redacted
  Midwest Bus Sales Inc                                             2150 SW 27th                    PO Box 338                               El Reno         OK           73036
  Midwest Motor Supply Co., Inc.    Kimball Midwest                 4800 Roberts Road                                                        Columbus        OH           43228
  Miguel Angel Nunez                                                Address Redacted
  Miguel Angel Salazar Govea        S1 Cleaning                     Address Redacted
  Mijares, Exson                                                    Address Redacted
  Mike Lee                                                          Address Redacted
  Mike W Zehner                                                     Address Redacted
  Mikes Canvas                                                      Address Redacted
  Miles Fiberglass & Composites,
  Inc                               Mollie LeClaire                 8855 SE Otty Road                                                        Happy Valley    OR           97086
  Miles Fiberglass & Composites,
  Inc                                                               11401 SE Jennifer St.                                                    Clackamas       OR           97015
  Mill Supply Inc                   CYNTHIA M MCCRAY                19801 MILES ROAD                PO Box 28750                             Cleveland       OH           44128
  Mill Supply Inc                                                   19801 Miles Road                                                         Cleveland       OH           44128




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  Millbrook Revolutionary
  Engineering, Inc.                                                 36865 Schoolcraft Rd.         Ste 1                                Livonia         MI           48150
  Miller Electric Company                                           6805 Southpoint Parkway                                            Jacksonville    FL           32216
  Miller Jr., James                                                 Address Redacted
  Miller, Brian                                                     Address Redacted
  Miller, Charles                                                   Address Redacted
  Miller, Joshua                                                    Address Redacted
  Miller, Julie                                                     Address Redacted
  Miller, Kevin                                                     Address Redacted
  Miller, Randall                                                   Address Redacted
  Miller, Richard                                                   Address Redacted
  Miller, Sherri                                                    Address Redacted
  Miller, Zachary                                                   Address Redacted
  Milligan, David                                                   Address Redacted
  Mills, Shelia                                                     Address Redacted
  Miltec Rapid Manufacturing
  Systems LLC                         Marshall Liles                357 Hidden Cove Ln                                                 Winchester      TN           37398

  Milwaukee Composites, Inc.                                        6055 S. Pennsylvania Avenue                                        Cudahy          WI           53110
  Milwaukee Composites, Inc.                                        PO Box 780647                                                      Philadelphia    PA           19178-0647
  Mimecast North America Inc          Edgar Genosa                  480 Plesant Street                                                 Watertown       MA           02472
  Mimecast North America Inc                                        191 Spring Street                                                  Lexington       MA           02421
  Mimecast North America Inc                                        Department CH 10922                                                Palatine        IL           60055-0922
  Minervini, David                                                  Address Redacted
  Mingbo Jiao                                                       Address Redacted
  Minitab, LLC                                                      1829 Pine Hall Road                                                State College   PA           16801-3210
  Minji Lee                                                         Address Redacted

  Minnesota Dept of Commerce          Unclaimed Property Program 85 7th Place East, Ste 280                                            St Paul         MN           55101-2198
  Minnesota Dept of Revenue                                      600 North Robert Street                                               St. Paul        MN           55101
  Minnesota Public Transit
  Association                         MPTA                          525 Park Street               Suite 240                            Saint Paul      MN           55103
  Minnesota Revenue                                                 Mail Station 1765                                                  St. Paul        MN           55145-1765
  Minor, Matthew                                                    Address Redacted
  Miracle, David                                                    Address Redacted
  Mirades, Thomas                                                   Address Redacted
  Mirza, Sophya                                                     Address Redacted
  Mishimoto                                                         7 Boulden Circle                                                   New Castle      DE           19720
  Mishra, Suchismita                                                Address Redacted

  Mission Cloud Services, Inc.        Douglas R. Gooding            Choate Hall and Stewart LLP 2 International Place                  Boston          MA           02110
                                                                    4470 W Sunset Blvd Suite
  Mission Cloud Services, Inc.        Heather Siegel                107 PMB 94146                                                      Los Angeles     CA           90027
  Mission Cloud Services, Inc.                                      4470 W Sunset Blvd          Suite 107               PMB 94146      Los Angeles     CA           90027
  Mission CTRL - MC2                                                39 Chenery St                                                      San Francisco   CA           94131
  Mississipi Treasury Office of the
  State Treasurer                     Unclaimed Property Division   PO Box 138                                                         Jackson         MS           39205-0138



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  Mississippi Child Support                                      P.O. Box 23094                                                      Jackson          MS           39225
  Mississippi Department of
  Revenue                          Attn Bankruptcy Dept          500 Clinton Center Drive                                            Clinton          MS           39056
  Mississippi Department of
  Revenue                          Attn Bankruptcy Section       PO Box 22808                                                        Jackson          MS           39225-2808
  Missoula Urban Transportation
  District                         John Roseboom                 1221 Shakespeare St                                                 Missoula         MT           59802
  Missoula Urban Transportation
  District                                                       1221 Shakespeare St                                                 Missoula         MT           59802
                                                                                                 Harry S Truman State
  Missouri Department of Revenue                                 301 West High Street            Office Building                     Jefferson City   MO           65101
  Missouri Department of Revenue                                 PO Box 475                                                          Jefferson City   MO           65105
                                                                                                 Harry S Truman State
  Missouri Dept of Revenue                                       301 West High Street            Office Building                     Jefferson City   MO           65101
  Missouri Public Transit
  Association                      Kimberly Celia                911 Washington Ave              Suite 200                           St. Louis        MO           63101
  Missouri State Treasury          Unclaimed Property Division   PO Box 1272                                                         Jefferson City   MO           65102-1272

  Mistequay Group, Ltd             CHRISTINA JONES               JRJ Manufacturing Inc           1156 N. Niagara Street              Saginaw          MI           48602
  Misumi USA Inc                   Ktrena Spencer                1717 N Penny Lane               Suite 200                           Schaumburg       IL           60173
  Misumi USA Inc                                                 1717 N Penny Lane               Suite 200                           Schaumburg       IL           60173
                                                                 1475 E Woodfield Rd Suite
  Misumi USA Inc.                  AR -Jessica Jewell            1300                                                                Schaumburg       IL           60173
  Misumi USA Inc.                                                26797 Network Place                                                 Chicago          IL           60673-1267
  Mitchell, Jeffrey                                              Address Redacted
  Mitchell, Jeffrey                                              Address Redacted
  Mitre, Jesus                                                   Address Redacted
                                                                 1-3 Marunouchi 1-Chome
  Mitsui & Co., LTD.                                             Chiyoda-ku                                                          Japan                         100-8631     Japan
  Mitsui & Co., LTD.                                             1-3, Marunouchi 1-Chome                                             Chiyouda-ku      Tokyo        100-8631     Japan
  Mitsui & Co., LTD.                                             1-3, Marunouchi 1-chrome                                            Chiyoda-ku       Tokyo        100-8631     Japan
                                                                                                                                                                                Netherland
  MKP Parts                        DELIANA VAN DER WEGEN Gildeweg 22                                                                 Nootdorp                      2632 BA      s
                                                                                                                                                                                Netherland
  MKP Parts                        MARK Kieviet                  Gildeweg 22                                                         Nootdorp                      2632 BA      s
  Mobile Climate Control, Corp.    Debbie Oliver                 75 Remittance Drive             Suite 6668                          Chicago          IL           60675-6668
  Mobile Climate Control, Corp.    Donna Irving-Wright           75 Remittance Drive             Suite 6668                          Chicago          IL           60675-6668
  Mobile Climate Control, Corp.    Ildiko Grant                  75 Remittance Drive             Suite 6668                          Chicago          IL           60675-6668
  Mobile Climate Control, Corp.                                  7540 Jane Street                                                    Vaughan          ON           L4K 0A6    Canada
  Mobile Climate Control, Corp.                                  400 S Salem Church Rd                                               York             PA           17408-5501
  Mobile Climate Control, Corp.                                  75 Remittance Drive             Suite 6668                          Chicago          IL           60675-6668
  Mobile Communications America,
  Inc.                             Alicia Ross                   100 Dunbar Street, Suite 304                                        Spartanburg      SC           29306
  Mobile Communications America,
  Inc.                             CHRIS SIMPSON                 100 Dunbar Street, Suite 304                                        Spartanburg      SC           29306
  Mobile Communications America,
  Inc.                             Ronnie Channell               100 Dunbar Street, Suite 304                                        Spartanburg      SC           29306



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  Mobile Communications America,
  Inc.                                                             100 Dunbar Street, Suite 304                                      Spartanburg    SC           29306
  Mobile Communications America,
  Inc.                                                             4 SULPHUR SPRINGS RD                                              Greenville     SC           29617
  Mobile Communications America,
  Inc.                                                             PO Box 1458                                                       Charlotte      NC           28207
  Mobile Communications America,
  Inc.                                                             PO Box 3364                                                       Spartanburg    SC           29304
  Mobile Mark Inc                Christian Hansen                  1140 W. Thorndale                                                 Itasca         IL           60143
  Mobile Mark Inc                NICK Mobile Mark Inc              1140 W. Thorndale                                                 Itasca         IL           60143
  Mobile Mark Inc                                                  1140 W. Thorndale                                                 Itasca         IL           60143
  Mobile Power Solutions                                           6260 SW Arctic Dr                                                 Beaverton      OR           97005
  Mobile Relay Associates        Raycom                            15330 Vermont Avenue                                              Paramount      CA           90723
  Mobileye Inc                                                     1350 Broadway                  Suite 1600                         New York       NY           10018
                                                                                                  2-1, Otemachi 1-
  Mobility Forefront LLC              Mr. Shinichi Ban             Attention TKNDM                Chrome, Chiyoda-ku                 Tokyo                       100-8631     Japan
                                                                                                  1875 S. Grant Street,
  Mobility Forefront LLC              MyPower Corp                 Shingo Yamaguchi               Suite 520                          San Mateo      CA           94402
  Mobility Forefront LLC                                           535 Middlefield Road           Suite 100                          Menlo Park     CA           94025
  Modder, Robert                                                   Address Redacted
  Modern Mail Services, Inc.                                       Modern Express Courier         P.O. Box 8195                      Walnut Creek   CA           94596
  ModernTech Corporation                                           1626 Downtown West Blvd                                           Knoxville      TN           37919
                                                                                               One East Main St, Ste
  Modine Manufacturing Company        Atty Erin A. West            Godfrey Kahn, S.C.          500                                   Madison        WI           53703
  Modine Manufacturing Company        Atty Heather Downs Russell   1500 DeKoven Avenue                                               Racine         WI           53403
  Modine Manufacturing Company        BEN WHITE                    PO Box 809625                                                     Chicago        IL           60680
  Modine Manufacturing Company        Katie Brittney Thomas        PO Box 809625                                                     Chicago        IL           60680
  Modine Manufacturing Company        KEITH PING                   PO Box 809625                                                     Chicago        IL           60680
  Modine Manufacturing Company                                     PO Box 809625                                                     Chicago        IL           60680
  MOEV, Inc.                                                       907 Westwood Blvd,          Suite 420                             Los Angeles,   CA           90024
  Mohamad Saad                                                     Address Redacted
  Mohawk Resources Ltd                                             PO Box 110                                                        Amsterdam      NY           12010
  Mohawk Southeast, Inc.                                           601 Eastchester Drive       Suite D                               High Point     NC           27262
  Mohmoud, Adam                                                    Address Redacted
  Molded Devices, Inc.                                             740 W Knox Rd                                                     Tempe          AZ           85284-3800
  Molded Fiber Glass                  ERIC BRACE                   55 Fourth Ave.                                                    Union City     PA           16438
                                                                   Paseo Tollocan No 128 Local
  Moldes y Exhibidores S.A. de C.V.                                K                                                                 Lerma                                    Mexico
  Moldovan, Lorand                                                 Address Redacted
  Molina Jr., Leonel                                               Address Redacted
  MOLINA, LEONEL                                                   Address Redacted

  Momentum Manufacturing Group -
  Engineered Extrusions LLC                                        PO Box 270                                                        Franklin       NH           03235-0270
  Moncada, Luis                                                    Address Redacted
  Monika Goralski                                                  Address Redacted
  Monique Jester                                                   Address Redacted



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  Monoprice, Inc.                                          PO Box 740417                                                      Los Angeles   CA           90074-0417
  Monreal, Steve                                           Address Redacted
                                DBA Magnus Mobility
  Monroe Magnus LLC             Systems                    2805 Barranca Parkway                                              Irvine        CA           92606
  Monroe Magnus LLC             Scott Smullen              2805 Barranca Parkway                                              Irvine        CA           92606
  Monroe Magnus LLC             Scott Smullen              1110 East Elm Ave                                                  Fullerton     CA           92831
  Montana Department of Revenue                            PO Box 8021                                                        Helena        MT           59604
                                                           Tammie Chenoweth & Marci
  Montana Dept of Revenue         Attn Bankruptcy Dept     Ballard Gohn                  125 N. Roberts       P.O. Box 5805   Helena        MT           59604-5805
  Montana Dept of Revenue         Unclaimed Property       PO Box 5805                                                        Helena        MT           59604-5805
  Montana Transit Associaton                               2820 S. Higgins Avenue                                             Missoula      MT           59801
  Montano Martinez, Jovan                                  Address Redacted
  Montano, Jonathan                                        Address Redacted
  Monteith, Ashley                                         Address Redacted
  Montes Bros. Construction Inc   DBA MBC INC              PO Box 5564                                                        Hercules      CA           94547
  Montes Solano, Carlos                                    Address Redacted
  Montes, Moana                                            Address Redacted
  Montgomery County Maryland
  Office of Procurement                                    16700 Crabbs Branch Way                                            Rockville     MD           20855
  Montgomery County Maryland
  Office of Procurement                                    255 Rockville Pike, Suite 180                                      Rockville,    MD           20850-4186
  Montgomery County, MD                                    101 Monroe St.                8th Floor                            Rockville     MD           20850
  Montiel, Ruben                                           Address Redacted
  Montoya, Emanuel                                         Address Redacted
  Moody, Elexus                                            Address Redacted
  Moody, Kristopher                                        Address Redacted
  Moody, Nicholas                                          Address Redacted
  Moon Roof Corporation of
  America                         DBA MRC Manufacturing    28117 Groesbeck Highway                                            Roseville     MI           48066
  Moonsook Chang SIN 7974         Moonsook Chang           Address Redacted

  Moore & Balliew Oil Company Inc.                         2903 Rutherford Rd                                                 Taylors       SC           29687
  Moore, Christopher                                       Address Redacted
  Moore, Lindsay                                           Address Redacted
  Moore, Terry                                             Address Redacted
  Moorhouse, Deanna                                        Address Redacted
  Morales, Alejandro                                       Address Redacted
  Morales, Andrew                                          Address Redacted
  Morales, Gabriel                                         Address Redacted
  Morales, Joshua                                          Address Redacted
  Moran, Stephanie                                         Address Redacted
  MORE Consulting                  Michael C. Orosco       60 W Main Ave Ste 21                                               Morgan Hill   CA           95037-4571
  MORE Consulting, Inc.                                    60 W. Main Ave.               Suite 21                             Morgan Hill   CA           95037
  Moreno Jr., Edward                                       Address Redacted
  Moreno Jr., Ignacio                                      Address Redacted
  Moreno, Brandon                                          Address Redacted
  Moreno, Gildardo                                         Address Redacted



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  Moreno, Nicholas                                             Address Redacted
  Moreno, Rebecca                                              Address Redacted
  Morfin Rios, Jared                                           Address Redacted
  Morfin, Oliver                                               Address Redacted
  Morgan Louise Imrie Osment                                   Address Redacted
  Morgan Stanley                                               1585 Broadway Avenue                                            New York       NY           10036
  Morgan Stanley Domestic
  Holdings, Inc.                                               1585 Broadway Lowr B                                            New York       NY           10036-8200
  Morgan, Frank                                                Address Redacted
  Morgan, Graham                                               Address Redacted
  Morgan, James                                                Address Redacted
  Moring, Leonard                                              Address Redacted
  Morris South                                                 350 Electronics Boulevard                                       Huntsville     AL           35824
  Morris, Amanda                                               Address Redacted
  Morris, Nichols, Arsht & Tunnel                              1201 North Market Street,
  LLP                                Derek C. Abbott           16th Floor                                                      Wilmington     DE           19801
  Morrison, Nathan                                             Address Redacted
  Morrow, Ryan                                                 Address Redacted
  Morton, Alden                                                Address Redacted
  Moser Services Group, LLC          DBA EV Charge Solutions   7464 W. Henrietta Rd.                                           Rush           NY           14543
  Moss Marketing                                               215 S Wadsworth Blvd            Suite 220                       Lakewood       CO           80226
  Motion & Flow Control              McCoy Sales Corporation   PO Box 270088                                                   Littleton      CO           80127-0088
  Motion AI                          Motion Industries         1605 Alton Road                                                 Birmingham     AL           35210
  Motion and Flow Control Products
  Inc.                                                         7941 Shaffer Parkway            PO Box 270088                   Littleton      CO           80127
  Motion and Flow Control Products
  Inc.                                                         8433 Solution Center                                            Chicago        IL           60677-8004
  Motion Industries                                            2041 Saybrook Ave                                               Los Angeles    CA           90040
  Motion Industries, Inc             GPC                       2041 Saybrook Ave                                               Los Angeles    CA           90040
  Motion Industries, Inc             GPC                       8076 Central Ave                                                Newark         CA           94560
  Motion Industries, Inc             GPC                       File 57463                                                      Los Angeles    CA           90074-7463

  Motion Savers Inc.                                           8573 Mason Montgomery Rd Suite # 40                             Mason          OH           45040

  Motion Savers Inc.                                           9378 Mason Montgomery Rd                                        Mason          OH           45040
  Motor City Racks, Inc.             Essex Weld                24445 Forterra Dr               Daniel Skelton                  Warren         MI           48089
  Motor City Racks, Inc.             Essex Weld                24445 Forterra Dr               Eric Kettunen                   Warren         MI           48089
  Motor City Racks, Inc.             Essex Weld                24445 Forterra Dr               Greg Lumley                     Warren         MI           48089
  Motor City Racks, Inc.             Essex Weld                24445 Forterra Dr                                               Warren         MI           48089
  Motor City Racks, Inc.             Essex Weld                597 Ford Road                                                   Gaffney        SC           29340
  Motor City Racks, Inc.             Essex Weld                597 Ford Road                   JOHN FRIESEN                    Gaffney        SC           29340
  Motor City Racks, Inc.             Essex Weld                597 Ford Road                   MATT GLEASON                    Gaffney        SC           29340
  Motor City Racks, Inc.             Essex Weld                597 Ford Road                   MESLER                          Gaffney        SC           29340
  Motor Vehicle Industry Licensing
  Board                                                        PO Box 3469                                                     Honolulu       HI           96801
  Motorola Solutions Inc                                       PO Box 404059                                                   Atlanta        GA           30384
  Motter, Andrew                                               Address Redacted



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  Mottram, Paul                                            Address Redacted
  Mottsmith, Rosemary                                      Address Redacted
  Mountain Machinery Repair Inc.                           939 Edgecliff Drive                                             Reno            NV           89523
  Mouser Electronics               EMILY GAY               PO Box 99319                                                    Ft. Worth       TX           78199-0319
  Mouser Electronics               Jamie Sprague           PO Box 99319                                                    Ft. Worth       TX           78199-0319
  Mouser Electronics               Kiyaun Washington       PO Box 99319                                                    Ft. Worth       TX           78199-0319
  Mouser Electronics                                       PO Box 99319                                                    Ft. Worth       TX           78199-0319
  Movement Search LLC                                      20 W Washington Street         Suite 14                         Clarkston       MI           48346
  Mowry, Tyler                                             Address Redacted
  Mozy, Inc                        DBA Decho Corp          15767 Collections Center Dr                                     Chicago         IL           60693
  MPS Industries Inc.                                      10991 Petal St                                                  Dallas          TX           75238
  MPS Industries Inc.                                      19210 S. Vermont Ave           Bldg D-415                       Gardena         CA           90248
  MPTA                             Samantha Schwanke       525 Park Street                Ste. 240                         St. Paul        MN           55103
  Mr. Philip S. Gil                                        Address Redacted
  Mr. Sheyn Brezniak                                       Address Redacted
                                                                                                                                                                   New
  MRCagney Pty Limited                                     Level 4                        12 O Connell Street              Auckland                     1010       Zealand
  MrMr Industry, Inc                                       1725 Orangethorpe Park                                          Anaheim         CA           92801
  MSC Industrial Supply Co.        RUTH VEGA               PO Box 953635                                                   Saint Louis     MO           63195-3635
  MSC Industrial Supply Co.                                PO Box 953635                                                   Saint Louis     MO           63195-3635
  MSC Industrial Supply Company                            515 Broadhollow Road                                            Melville        NY           11747
  MSC Software Corporation                                 4675 MacArthur Court           Suite 9                          Newport Beach   CA           92660
  MSC Software Corporation                                 PO Box 535277                                                   Atlanta         GA           30353-5277
  MSDSonline Inc. DBA
  VelocityEHS                                              27185 Network Place                                             Chicago,        IL           60673
  MSI-Viking Gage, LLC                                     PO Box 537                     321 Tucapau Rd                   Duncan          SC           29334

  MSMB Construction Maintenance Michael C. Waters          10 Ladbroke Road                                                Greenville      SC           29615

  MSMB Construction Maintenance                            101 Folkstone Court                                             Easley          SC           29640

  MSMB Construction Maintenance                            10 Ladbroke Road                                                Greenville      SC           29615

  MSMB Construction Maintenance                            12 Willow Drive                                                 Greenville      SC           29609
  MTA New York City Transit                                2 Broadway, 19th Floor                                          New York        NY           10004
  MTB Transit Solutions Inc.     Tom Glover                8170 Lawson Road                                                Milton          ON           L9T 5C4      Canada
  Mubea, Inc.                                              PO Box 636331                                                   Cincinnati      OH           45263
  Much Shelist, P.C.                                       191 North Wacker Drive         Suite 1800                       Chicago         IL           60606
  Mullaney, Morgan                                         Address Redacted
  Mullen Coughlin, LLC                                     426 W Lancaster Avenue         Suite 200                        Devon           PA           19333
  Multi-Service Technology
  Solutions                                                7601 Penn Ave. South                                            Richfield       MN           55423
  Multi-Service Technology
  Solutions                                                PO Box 731247                                                   Dallas          TX           75373-1247
  Munaco Sealing Solutions, Inc. Tim Ennis                 5 Ketron Court                                                  Greenville      SC           29607
  Munaco Sealing Solutions, Inc.                           5 Ketron Court                                                  Greenville      SC           29607
  Munafo, Allison                                          Address Redacted



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  Munich Electrification           Adria Riera                 Landaubogen 1                                                  Munich                      81373     Germany
  Munich Electrification           Katrin Frommelt             Landaubogen 1                                                  Munich                      81373     Germany
  Munich Electrification           Vladislavs Kabanovs         Landaubogen 1                                                  Munich                      81373     Germany
  Munich Electrification                                       Landaubogen 1                                                  Munich                      81373     Germany
  Munich Electrification                                       Lindwumstr. 95                                                 Muenchen                    80377     Germany
  Municipal Emergency Services,
  Inc.                             Travis Cone                 PO Box 656                                                     Southbury      CT           06488
  Municipal Maintenance
  Equipment, Inc.                                              4634 Mayhew Road                                               Sacramento     CA           95827
  Municipal Service Center North
  MSCN Garage                                                  55 Stony Point Road                                            Santa Rosa     CA           95401
  Murphy, Devin                                                Address Redacted
  Murphy, Joseph                                               Address Redacted
  Mustafa, Sabreenah                                           Address Redacted
  Mutual Solutions LLC                                         84 Saw Mill Road                                               Branford       CT           06405
  MV Transportation, Inc.          Janet Zimmerman             2024 College Street                                            Elk Horn       IA           51531
  MWS Auto Services Inc. d/b/a
  Marietta Wrecker Service                                     950 Allgood Rd NE                                              Marietta       GA           30062
  Mycorrxyz Inc.                   Pioneer                     2 Sandpoint Dr                                                 Richmond       CA           94804
  Mycorrxyz Inc. dba Pioneer                                   2 Sandpoint Dr                                                 Richmond       CA           94804
  Myers, Kevin                                                 Address Redacted
  Myers, Kevin                                                 Address Redacted
  Myers, Larry                                                 Address Redacted
  Myrone De Castro                                             Address Redacted
  Myun, Jesse                                                  Address Redacted
  N.F. Smith & Associates, L.P.                                5306 Hollister Street                                          Houston        TX           77040
  Na An                                                        Address Redacted
  Nadzam, Eric                                                 Address Redacted
  Naidu, Navneel                                               Address Redacted
  Naidu, Tenesh                                                Address Redacted
  Nain, Raman                                                  Address Redacted
  Nair, Jishnu Sudhir                                          Address Redacted
  Naldoza, Steve                                               Address Redacted
  NameStormers                     Intrinsics, Inc.            2201 East Windsor Road                                         Austin         TX           78703

  Nano Precision Manufacturing, Inc Jay Lee                    4580 Enterprise Street                                         Fremont        CA           94538
                                    CHARLOTTE AR/AP
  NAPA AUTO PARTS                   CHARLOTTE AR/AP            1014 Laurens Rd.                                               Greenville     SC           29607
  NAPA AUTO PARTS                   Debbie Gosnell             1014 Laurens Rd.                                               Greenville     SC           29607
  NAPA AUTO PARTS                   Jeff Orndorff              1014 Laurens Rd.                                               Greenville     SC           29607
  NAPA AUTO PARTS                                              1014 Laurens Rd.                                               Greenville     SC           29607
  Napa Valley Transportation
  Authority                                                    625 Burnell Street                                             Napa           CA           94559
                                                               2201 Long Prairie Road Suite
  Narayanan Srinivasan             Fulfeelment, LLC            107-325                                                        Flower Mound   TX           75022
  Narayanan Srinivasan             Fulfeelment, LLC            3813 Appleton Ln                                               Flower Mound   TX           75022




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          CreditorName                   CreditorNoticeName              Address1                    Address2      Address3            City        State       Zip      Country
  Narayanasamy,
  Sankaranarayanan                                              Address Redacted
  NASDAQ Private Market - LBX
  #41700                                                        PO Box 780700                                                 Philadelphia    PA           19178-0700
                                      DBA nasdaq Corporate
  Nasdaq, Inc                         Services, LLC             One Liberty Plaza - 49th FL                                   New York        NY           10006
  Nashville Metropolitan Transit
  Authority (MTA)                                               430 Myatt Drive                                               Nashville       TN           37115
  Nasiphandone, John                                            Address Redacted
  Nass Jr., Thomas                                              Address Redacted
  Nassau County, NY                                             998 East Old Country Road     Suite C, PMB #260               Plainview       NY           11803
  Nassiri, Navid                                                Address Redacted
  Natalie C Metcalf                                             Address Redacted
  Natalie Marie Ramirez                                         Address Redacted
  Nathan Jones                                                  Address Redacted
  Nathan Miller                                                 Address Redacted
  Nathan Mitz                                                   Address Redacted
  Nathania, Monica                                              Address Redacted
  National Association for Pupil
  Transportation (NAPT)             Brianne Peck                1840 Western Avenue                                           Albany          NY           12203
  National Association of Corporate
  Directors                                                     1515 N. Courthouse Road       Suite 1200                      Arlington       VA           22201
  National Business Furniture LLC                               3530 Wilshire Blvd            Suite 710                       Los Angeles     CA           90010
  National Business Furniture LLC                               770 South 70th Street                                         Milwaukee       WI           53214
  National Car Rental                                           PO Box 801770                                                 Kansas City     MO           64180
  National Cart LLC                                             3125 Boschertown Road                                         St. Charles     MO           63301
  National Highway Traffic Safety
  Administration                                                1200 New Jersey Avenue SE West Building                       Washington      DC           20590

  National Instruments Corporation                              PO Box 202262                                                 Austin          TX           78759

  National Integrated Systems, Inc.                             47676 Galleon Drive                                           Plymouth        MI           48170
  National Safety Council                                       1121 Spring Lake Drive                                        Itasca          IL           60143-3201
  National Sheet Metal Machines,
  Inc.                                                          PO Box 72                    Attn Tim Cantrell                Smartt          TN           37378
  National Test Equipment Inc.                                  1935 Plaza Real                                               Oceanside       CA           92056
  National Union Fire Insurance                                 1271 Ave of the Americas, Fl
  Company of Pittsburgh, Pa.                                    37                                                            New York        NY           10020-1304
  Nava, Efrain                                                  Address Redacted
  Navarro, Angel                                                Address Redacted
  Navex Global Inc.                                             5500 Meadows Rd.             Suite 500                        Lake Oswego     OR           97035
  Navisite LLC                        Remote DBA Experts, LLC   400 Minuteman Rd                                              Andover         MA           01810
                                      DBA Navistar Proving
  Navistar, Inc.                      Grounds                   1111 Northshore Drive                                         Knoxville       TN           37919
  Navistar, Inc.                      Ellen Mahaffey            2701 Navistar Drive                                           Lisle           IL           60532
  Navistar, Inc.                      Jonathan Sundheimer       Barnes and Thornburg LLP      11 S Meridian St                Indianapolis    IN           46204




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                                    Scott VanDorn, Procurement
  Navistar, Inc.                    Director                      2701 Navistar Drive                                                    Lisle          IL           60532
  Navistar, Inc.                                                  10400 West North Avenue                                                Melrose Park   IL           60160
  Navistar, Inc.                                                  2961 Mound Road                                                        Joliet         IL           60436
  Navistar, Inc.                                                  4375 South Loop                 1604 East BLDG #3                      Elmendorf      TX           78112
  Naylor LLC                        Alicia Casos                  PO Box 677251                                                          Dallas         TX           75267
  Naylor LLC                                                      5950 NW 1st Place                                                      Gainesville    FL           32607-6018
  Naylor LLC                                                      Naylor (Canada)                 PO Box 66512            AMG OHare      Chicago        IL           60666-0512
  Naylor LLC                                                      PO Box 677251                                                          Dallas         TX           75267
  NC Coatings LLC                   James McDaniel                178 North Main Street                                                  Stanley        NC           28164
  NC Department of Revenue                                        PO Box 25000                                                           Raleigh        NC           27640
  NC Dept of Revenue                                              PO Box 25000                                                           Raleigh        NC           27640-0150
  NC Division of Motor Vehicles,
  Fiscal Section                                                  PO Box 29615                                                           Raleigh        NC           27626
  NCC Automated Systems, Inc.                                     255 Schoolhouse Road                                                   Souderton      PA           18964
  Neal, Alex                                                      Address Redacted
  Neal, Gerber & Eisenberg, LLP                                   2 North LaSalle St                                                     Chicago        IL           60602
  Neal, Stephen                                                   Address Redacted
                                                                  Building 141 JFK Airport (347-
  NEBR                                                            517-1113)                                                              Jamaica        NY           11430
                                                                  Nebraska State Office          301 Centennial Mall
  Nebraska Dept of Revenue          Attn Bankruptcy Unit          Building                       South                                   Lincoln        NE           68508
  Nebraska Dept of Revenue          Attn Bankruptcy Unit          PO Box 94818                                                           Lincoln        NE           68509-4818
  Nebraska State Treasurer          Unclaimed Property Division   809 P St                                                               Lincoln        NE           68508-1390
  Ned Van Allan                     Edward Van Allan              Address Redacted
  Neelamraju, Hanumantharao                                       Address Redacted
  Neely Electric Inc.                                             10481 Mocassin Ln.                                                     Missoula       MT           59808
                                    DBA Nefab Packaging West,
  Nefab Packaging, Inc.             LLC                           204 Airline Drive, Ste 100                                             Coppell        TX           75019
                                    DBA Nefab Packaging West,
  Nefab Packaging, Inc.             LLC                           8477 Central Ave                                                       Newark         CA           94560
  Nelson Global Products                                          1560 Williams Drive                                                    Stoughton      WI           53589-3336
  Nelson, Samuel                                                  Address Redacted
  Nemec, Jack                                                     Address Redacted
  Nereson, Brent                                                  Address Redacted
  Nestle Waters North America dba
  ReadyRefresh by Nestle                                          PO Box 856192                                                          Louisville     KY           40285
  Nestle Waters North America dba
  ReadyRefresh by Nestle                                      PO Box 856680                                                              Louisville     KY           40285
  NETAPP INC.                                                 3600 Olsen Dr                                                              San Jose       CA           95128
                                    Attn Lawrence Schwab/Gaye c/o Bialson, Bergen and             830 Menlo Ave., Suite
  Netapp, Inc.                      Heck                      Schwab                              201                                    Menlo Park     CA           94025
  NetLink Inc.                                                206 Woods Lake Road                                                        Greenville     SC           29607

  Netskope, Inc.                    Attn Director or Officer      2445 Augustine Dr. 3rd Floor                                           Santa Clara    CA           95054
                                                                                                                                                                                  United
  Netvu Limited                     STEVE BEAVEN                  No. 1 Thellow Heath Park         Northwich Road                        Antrobus       Cheshire     CW9 6JB      Kingdom



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  Network Controls & Electric, Inc.   Carole Toth                   1521 S. Buncombe Rd                                                    Greer              SC           29651

  Network Controls & Electric, Inc.                                 136 Johns Rd.                                                          Greer              SC           29650

  Network Controls & Electric, Inc.                                 1521 S. Buncombe Rd                                                    Greer              SC           29651
  Nevada Dept of Taxation             Attn Bankruptcy Dept          1550 College Pkwy Ste 115                                              Carson City        NV           89706
                                                                    700 E. Warm Springs Rd. 2nd
  Nevada Dept of Taxation             Attn Bankruptcy Dept          Floor                                                                  Las Vegas          NV           89119
  Nevada Office of the State                                                                         555 E Washington Ave
  Treasurer                           Unclaimed Property Division   Grant Sawyer Bldg                Ste 4200                              Las Vegas          NV           89101
  Nevarez, Humberto                                                 Address Redacted
  New Eagle, LLC                                                    3588 Plymouth Road               #272                                  Ann Arbor          MI           48105
  New England Transit Sales, Inc.                                   30 Progress Avenue                                                     Tyngsboro          MA           01879
  NEW HAMPSHIRE
  DEPARTMENT OF REVENUE                                             109 Pleasant St. (Medical &      Governor Hugh Gallen
  ADMINISTRATION                      ATTN LEGAL BUREAU             Surgical Building)               State Office Park                     Concord            NH           03301
                                      Abandoned and Unclaimed
  New Hampshire State Treasury        Property                      25 Capitol St, Room 121                                                Concord            NH           03301
  New Jersey Division of Taxation                                   PO Box 666                                                             Trenton            NJ           08646-0666
  New Jersey Unclaimed Property
  Administration                                                    PO Box 214                                                             Trenton            NJ           08625
  New Mexico Taxation and
  Revenue Department                                                PO Box 25127                                                           Santa Fe           NM           87504-5127
  New Mexico Taxation and
  Revenue Dept                        Unclaimed Property Office     1200 South St Francis Dr                                               Santa Fe           NM           87504
  New York City Department of
  Finance                                                           1 Centre St Floor 22                                                   New York           NY           10007
  New York City Transit Authority                                   48-05 Grand Ave                                                        Maspeth            NY           11378
                                                                                                     ATTN Mr. Gianfranco
  New York City Transit Authority                                   750 Zerega Avenue                DiMeglio                              Bronx              NY           10473
  New York Public Transit
  Association Inc.                                                  136 Everett Road                                                       Albany             NY           12205
  New York State Department of                                      W A Harriman Campus
  Taxation                                                          Building 9                                                             Albany             NY           12227
  New York State Dept of Taxation
  and Finance                        Attn Office of Counsel         Building 9                       WA Harriman Campus                    Albany             NY           12227
  New York State Dept of Taxation
  and Finance                        Bankruptcy Section             PO Box 5300                                                            Albany             NY           12205-0300
  New York State Office of the State
  Comptroller                        Office of Unclaimed Funds      110 State St                                                           Albany             NY           12236
  New, Gerald                                                       Address Redacted
                                                                                                     NOS 1 SHEUNG
  Neware Technology Limited                                         Offic C 22/F, YHC TOWER          YUET ROAD              KOWLOON BAY KLN HONG KONG                      999077       China

  Newark Element 14                                                 33190 Collection Center Drive                                          Chicago            IL           60693-0331
  Newegg Business Inc.                                              17560 Rowland St.                                                      City Of Industry   CA           91748



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  Newport Corporation               MKS Instruments, Inc.        1791 Deere Avenue                                                 Irvine           CA           92606
  Newspaper Agency Company,
  LLC                               DBA Utah Media Group         PO Box 2220                                                       Salt Lake City   UT           84110-2220
  NexGen Search Solutions, LLC                                   PO Box 2689                                                       Edwards          CO           81632
  Nexsen Pruet LLC                                               101 Bullitt Lane, Suite 205                                       Toledo           OH           43604
  Nexsen Pruet LLC                                               PO Drawer 2426                                                    Columbia         SC           29202
  NextEnergy Center                                              461 Burroughs Street                                              Detroit          MI           48202
  Nguyen, Daniel                                                 Address Redacted

  Nguyen, David                                                  Address Redacted
  Nguyen, Don                                                    Address Redacted
  Nguyen, Hieu                                                   Address Redacted
  Nguyen, Jimmy                                                  Address Redacted
  Nguyen, Ngoc                                                   Address Redacted
  Nguyen, Ryan                                                   Address Redacted
  Nguyen, Tai                                                    Address Redacted
  Nguyen, Vi                                                     Address Redacted
  NHResearch, LLC                                                16601 Hale Avenue                                                 Irvine           CA           92606
  Niagara Frontier Transportation
  Authority                                                      181 Ellicott St                                                   Buffalo          NY           14203
  Nicholas A. Packer                                             Address Redacted
  Nicholas Cho                                                   Address Redacted
  Nicholas Martin                                                Address Redacted
  Nicholson III, Dale                                            Address Redacted
  Nicholson, Thomas                                              Address Redacted
  Nick Paramo                                                    Address Redacted
  Nick Storto                                                    Address Redacted
  Nicklaus, Tyler                                                Address Redacted
  Nicolaou, Alexander                                            Address Redacted
  Nielsen, Roger                                                 Address Redacted
  Nielsen, Taylor                                                Address Redacted
  Nielsen, Ulrik                                                 Address Redacted
  Nikhil Lulla                                                   Address Redacted
  Nikhil Singh                                                   Address Redacted

  Nikola Corporation                Bruna Chiosini & Nikola Legal 4141 E. Broadway Rd.                                             Phoenix          AZ           85040
                                    Pillsbury Winthrop Shaw
  Nikola Corporation                Pittman LLP                   Attn Alana A. Lyman             31 West 52nd Street              New York         NY           10019
                                    Pillsbury Winthrop Shaw                                       Four Embarcadero
  Nikola Corporation                Pittman LLP                   Attn Joshua D. Morse            Center, 22nd Floor               San Francisco    CA           94111-5998
  Nikola Corporation                Steve Cook                    4141 E. Broadway                                                 Phoenix          AZ           85040
  Nikola Corporation                                              4141 E Broadway Rd                                               Phoenix          AZ           85040
  Nikola Iveco Europe GmbH          Francesco Donato, CPO         Nicolaus-Otto-Strasse 27                                         Ulm                           89079      Germany
  Nikola Iveco Europe GmbH                                        Nicolau-Otto Stabe 27                                            Ulm                           89079      Germany
  Nikola, Packaging Concepts and
  Design                                                         4141 E. Broadway Rd                                               Phoenix          AZ           85040
  Nima Razfar                                                    Address Redacted



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                                                               No 367 Xingda Road, Xingqi
  Ningbo Wego Machinery Co.,Ltd     Jim Liu                    ,Beilun District                                             Ningbo          Zhejiang     315800   China
                                                               No 367 Xingda Road, Xingqi
  Ningbo Wego Machinery Co.,Ltd     Jones Cao                  ,Beilun District                                             Ningbo          Zhejiang     315800   China

  Ningbo Xusheng Group Co., Ltd.    Claudia Xiong              No 128 Yingluohe Rd, Beilun Zhejiang                         Ningbo                       315800   China

  Ningbo Xusheng Group Co., Ltd.    Jerry Yu                   No 128 Yingluohe Rd, Beilun Zhejiang                         Ningbo                       315800   China
                                    Ningbo Xusheng Auto
  Ningbo Xusheng Group Co., Ltd.    Technology Co., Ltd.       No 128 Yingluohe Rd, Beilun Zhejiang                         Ningbo                       315800   China

  Ningbo Xusheng Group Co., Ltd.                               No 128 Yingluohe Rd, Beilun Zhejiang                         Ningbo                       315800   China
                                                                                           Cidong Binhai
  Ningbo Yexing Automotive Part                                                            Economic
  Co., Ltd.                         Coco Rong                  No. 259 Haifeng Road        Development Area                 Cixi                         315338   China
                                                                                           Cidong Binhai
  Ningbo Yexing Automotive Part                                                            Economic
  Co., Ltd.                         COCO RONG                  No. 259 Haifeng Road        Development Area                 Cixi            China        315338   China
  Ninyo & Moore Geotechnical &
  Environmental Sciences
  Consultants                       Alfredo Rodriguez          475 Goddard, Suite 200                                       Irvine          CA           92618
  Ninyo & Moore Geotechnical &
  Environmental Sciences
  Consultants                                                  5710 Ruffin Road                                             San Diego       CA           92123
  Nirajkumar Patel                                             Address Redacted
  Nirmal Sellakrishnaa                                         Address Redacted
                                                               115 North Commercial Drive,
  Nissens Cooling Solutions, Inc.   ALAN STEIGHNER             Unit D                                                       Mooresville     NC           28115
                                                               115 North Commercial Drive,
  Nissens Cooling Solutions, Inc. CHERYL POGSON                Unit D                                                       Mooresville     NC           28115
  Nix, Cecilia                                                 Address Redacted
  Nixon Power Services, LLC                                    155 Franklin Rd             ste 255                          Brentwood       TN           37027
  NM Passenger Transportation
  Association                     DBA NM Transit Association   PO Box 15272                                                 Rio Rancho      NM           87174
  No on Prop 6 Stop the Attack on
  Bridge & Road Safety, sponsored
  by business, labor, local
  governments and transp                                       1787 Tribute Road            Suite K                         Sacramento      CA           95818
  Noemie Forget                                                Address Redacted
  Noll, Corbin                                                 Address Redacted
  Nolte, Kurt                                                  Address Redacted
  NoMuda VisualFactory Inc.       Dave Lathey                  2500 Regency Parkway                                         CARY            NC           27518
  NoMuda VisualFactory Inc.                                    2500 Regency Parkway                                         CARY            NC           27518
  NoMuda VisualFactory.net                                     2500 Regency Parkway                                         CARY            NC           27518
  NoMuda, LLC                                                  2500 Regency Parkway                                         Cary            NC           27518
  Nor-Cal Controls, Inc.                                       1952 Concourse Drive                                         San Jose        CA           95131
  NORCAL Portable Services, Inc.                               PO Box 53328                                                 San Jose        CA           95153



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  Nordson Corporation               Attn Credit Risk              300 Nordson Drive                                                       Amherst           OH           44001
  Nordson Corporation                                             28775 Beck Rd                                                           Wixom             MI           48393
  Nordson Corporation                                             40 Catamore Boulevard                                                   East Providence   RI           02914
                                                                                                 40 Catamore
  Nordson Corporation                                             Nordson EFD LLC                Boulevard                                East Providence   RI           02914
  Nordson EFD LLC                   Diane Gray                    40 Catamore Blvd                                                        East Providence   RI           02914
  Norfolk Wire and Electronics                                    PO Box 890608                                                           Charlotte         NC           28289
  NORMA Michigan, Inc.                                            2430 E. Walton Blvd                                                     Auburn Hills      MI           48326
  Normal Connect Transit                                          351 Wylie Drive                                                         Normal            IL           61761
  Norman Cruz                                                     PO Box 699                                                              Belmont           CA           94002
  Norman Cruz                                                     Address Redacted
  Norman Scally                     DBA Scally Computechs         Address Redacted
  Norman, Bryan                                                   Address Redacted
  Norris, Jatavis                                                 Address Redacted
  Norris, Kayla                                                   Address Redacted
  North American Capacity
  Insurance Company                                               650 Elm Street                                                          Manchester        NH           03101
  North American Fabrics, Inc                                     1155 Cleveland Avenue                                                   Wyomissing        PA           19610
  North Bay Distribution                                          2050 Cessna Dr.                                                         Vacaville         CA           95688
  North Carolina Child Support                                    PO Box 20800                                                            Raleigh           NC           27619-0800
  North Carolina Dept of Revenue    Attn Bankruptcy Dept          PO Box 25000                                                            Raleigh           NC           27640-0640
  North Carolina Dept of Revenue    Attn Bankruptcy Unit          Post Office Box 1168                                                    Raleigh           NC           27602-1168
  North Carolina Dept of State
  Treasurer                         Unclaimed Property Division   PO Box 20431                                                            Raleigh           NC           27619-0431
  North Carolina Metropolitan                                     4441 Six Forks Rd, Ste 106-
  Mayors Coalition                                                399                                                                     Raleigh           NC           27609
  North Dakota State Land Dept      Unclaimed Property Division   1707 N 9th St                                                           Bismarck          ND           58501-1853
                                                                  3025 Veterans Memorial
  North Eastern Bus Rebuilders, Inc. Henry Stobierski             Highway                                                                 Ronkonkoma        NY           11779
  Northeast Passenger
  Transportation Association                                      PO Box 438                                                              Foxboro           MA           02035
  Northern Altair Nanotechnologies                                Altair New Energy Industrial
  Co., Ltd                           Alex Li                      Park                                                                    Wuan              Hebei                     China
  Northern Cable and Automation      E. Todd Sable, Esq. & Cydney                                2290 First National
  LLC                                J. McGill, Esq.              Honigman LLP                   Bldg                  660 Woodward Ave   Detroit           MI           48226-3506
  Northern Cable and Automation                                   450 North Old Woodward,
  LLC                                                             Suite 2                                                                 Birmingham        MI           48009
  Northern Tool & Equipment
  Catalog Company, Inc.                                           PO Box 105525                                                           Atlanta           GA           30348
  Northern Tool & Equipment
  Catalog Company, Inc.                                           PO Box 1499                                                             Burnsville        MN           55337
  Northern.tech, Inc.                                             470 Ramona Street                                                       Palo Alto         CA           94301
  Northvolt AB.                                                   Alstromergatan 20                                                       Stockholm                      112 47       Sweden
  Northwest PA Mobility Alliance                                  214 Pine Street                                                         Meadville         PA           16335
  Norton, Mark                                                    Address Redacted
  Norton, Nathaniel                                               Address Redacted
  Nostalgic Air Parts                                             2124 SW PINE AVE               Unit 200                                 Ocala             FL           34471



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  Nourse, John                                                   Address Redacted
  Novellino, Peter                                               Address Redacted
  Novoa, Angela                                                  Address Redacted
  Novotny, Benjamin                                              Address Redacted
  Nowacki, Matthew                                               Address Redacted
  Noyan Ilk                                                      Address Redacted
  NPS                                                            12795 W Alameda Parkway                                             Lakewood         CO           80228
  NPS / IMR Financial Manger                                     12795 W. Alameda Pkwy                                               Lakewood         CO           80228
  NPS, IMR- Lakewood MABO                                        12795 W Alameda Parkway                                             Lakewood         CO           80228
                                                                 1100 Old Santa Fe Trail
  NPS, IMR-Santa Fe Mabo                                         Building                        PO Box 728                          Santa Fe         NM           87505
                                   NSF International Strategic
  NSF International                Registrations Ltd             789 N. Dixboro Rd                                                   Ann Arbor        MI           48105
  NSF International                                              Dept. Lockbox #771380           PO Box 77000                        Detroit          MI           48277-1380
  NSF International Strategic
  Registrations, Ltd               Danielle Pope                 789 N Dixboro Rd                                                    Ann Arbor        MI           48105
  NSF International Strategic
  Registrations, Ltd                                             Dept. Lockbox #771380           PO Box 77000                        Detroit          MI           48277-1380
  NSI, Inc.                                                      PO Box 4281                                                         Greensboro       NC           27404
  NSK Industries Inc               ERIKA Drum                    150 Ascot Parkway                                                   Cuyahoga Falls   OH           44223
  NSK Industries Inc               Lauren Kincaid                150 Ascot Parkway                                                   Cuyahoga Falls   OH           44223
  NSK Industries Inc                                             150 Ascot Parkway                                                   Cuyahoga Falls   OH           44223
  NSK Industries Inc                                             PO Box 1089                                                         Cuyahoga Falls   OH           44223
                                                                 c/o Gellert Scali Busenkell &   1201 N. Orange St.,
  NSK Industries, Inc.             Bradley P. Lehman             Brown, LLC                      Ste. 300                            Wilmington       DE           19801
                                                                 Gellert Scali Busenkell &       1201 N. Orange Street,
  NSK Industries, Inc.             Bradley Paul Lehman           Brown LLC                       Suite 300                           Wilmington       DE           19801

                                   Gellert Scali Busenkell &                                     1628 John F. Kennedy
  NSK Industries, Inc.             Brown LLC                     8 Penn Center                   Blvd, Suite 1901                    Philadelphia     PA           19103
                                   Gellert Scali Busenkell &                                     1201 N. Orange Street,
  NSK Industries, Inc.             Brown LLC                     Bradley Lehman                  Suite 300                           Wilmington       DE           19801
  NSK Industries, Inc.             John J. Rutter, Esq.          222 South Main Street                                               Akron            OH           44308

  NSK Industries, Inc.             John J. Rutter, Esq.          Roetzel                         222 South Main Street               Akron            OH           44308

  NSK Industries, Inc.             Stephen C. Horgan, President 150 Ascot Parkway                                                    Cuyahoga Falls   OH           44223
  NSTI LLC                         TechConnect                  696 San Ramon Valley Blvd        Suite 423                           Danville         CA           94526
  NTF Micro Filtration USA, Inc.                                28221 Beck Road                  Building A1                         Wixom            MI           48393
  NTS Technical Systems                                         1536 East Valencia Dr.                                               Fullerton        CA           92831

  NTS Technical Systems                                          20970 Centre Pointe Parkway                                         Santa Clarita    CA           91350
  NTS Technical Systems                                          24007 Ventura Blvd          Suite 200                               Calabasas        CA           91302
  NTS Technical Systems                                          PO Box 733364                                                       Dallas           TX           75373-3364
  Numatek LLC                      DBA Eye9 Design               PO Box 461712                                                       Aurora           CO           80046
  Nunez, David                                                   Address Redacted
  Nunez, Kenny                                                   Address Redacted



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  Nunez, Ramon                                                      Address Redacted
  NYC Department of Finance                                         PO Box 3933                                                          New York           NY           10008
  Nystrom, John                                                     Address Redacted
                                                                                                  7650 S. McClintock
  Oasis Sales, Inc.                                                 PMB# 424                      Drive                  Ste. 103        Tempe              AZ           85284
  Oasis Scientific Inc.                                             3110 Wade Hampton Blvd        Suite 18                               Taylors            SC           29687
  OBD2Cables.com                                                    1819 W Rose Garden Ln         Suite 3                                Phoenix            AZ           85027
  OBrien Atkins Associates, PA        Rita Whitfield                PO Box 12037                                                         RTP                NC           27707
  Ocampo, Jonathan                                                  Address Redacted
  Ocampo, Robert                                                    Address Redacted

  Occupational Health Centers of                                                                                                         Rancho
  California, A Medical Corporation   Concentra Medical Centers     PO Box 3700                                                          Cucamonga          CA           91729
  Occuvax, LLC                                                      13308 Chandler Road                                                  Omaha              NE           68137
  Ochoa, Carmen                                                     Address Redacted
  Ochoa, Juan                                                       Address Redacted
  Odgers Berndtson LLC                                              730 Third Avenue              23rd Floor                             New York           NY           10017
  Odgers Berndtson, LLC               Attn Wa Phung                 730 Third Avenue 23rd Floor                                          New York           NY           10017
                                                                    David Kleinman, Esq. &        1350 Broadway, 11th
  Odgers Berndtson, LLC               Tarter Krinsky & Drogin LLP   Rocco A. Cavaliere, Esq.      Floor                                  New York           NY           10018
  ODonald, Donnie                                                   Address Redacted
  OEM Materials & Supplies Inc.       ANA GARCIA                    1500 Ritchey Street                                                  Santa Ana          CA           92705
  OEM Materials & Supplies Inc.                                     1500 Ritchey Street                                                  Santa Ana          CA           92705
  Oeschger, Michael                                                 Address Redacted
  Off the Grid Services LLC                                         Fort Mason Center             Building C, Room 370                   San Francisco      CA           94123
  Office Max                                                        PO Box 101705                                                        Atlanta            GA           30392-1705
  Office Max                                                        PO Box 29248                                                         Phoenix            AZ           85038
                                                                                             100 North Union Street
  Office of Alabama State Treasurer Unclaimed Property Division RSA Union Building           Suite 636                                   Montgomery         AL           36104
                                     The Great Colorado Payback
  Office of Colorado State Treasurer Office                      200 E. Colfax Ave. Room 141                                             Denver             CO           80203-1722
                                                                 600 E Boulevard Ave, Dept
  Office of State Tax Commissioner                               127                                                                     Bismarck           ND           58505-0599
  Office of the State Treasurer of                                                           1 East Old State
  Illinois                           Unclaimed Property Division Marine Bank Building        Capitol Plaza                               Springfield        IL           62701
  Office Pro Furniture, Inc.                                     17133 Gale Ave.                                                         City Of Industry   CA           91745
  Office1                                                        720 S 4th St                                                            Las Vegas          NV           89101
  Office1 Inc.                       DBA Office1                 720 S 4th Street                                                        Las Vegas          NV           89101

  Office1 Inc.                                                      617 West 7th Street, Ste 504                                         Los Angeles        CA           90017
  OfficePro Upstate                                                 2131 Woodruff Rd             Suite 2100 #197                         Greenville         SC           29607
  Ogletree, Deakins, Nash, Smoak
  & Stewart, PC                       Ann Louise Cauble             PO Box 89                                                            Columbia           SC           29202
  Ogletree, Deakins, Nash, Smoak
  & Stewart, PC                       Dawn Nelson                   PO Box 89                                                            Columbia           SC           29202
  Ogletree, Deakins, Nash, Smoak
  & Stewart, PC                                                     149 Commonwealth Drive                                               Binghamton         NY           13902-5509



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            CreditorName                  CreditorNoticeName                  Address1                       Address2      Address3         City           State       Zip      Country
  Ogletree, Deakins, Nash, Smoak                                    Patewood IV, 50 International
  & Stewart, PC                                                     Drive, Ste 300                                                    Greenville      SC           29615
  Ogletree, Deakins, Nash, Smoak
  & Stewart, PC                                                     PO Box 89                                                         Columbia        SC           29202
  Ogletree, Deakins, Nash, Smoak                                                                      Patewood IV, Suite
  and Stewart, P.C.                                                 50 International Drive            300                             Greenville      SC           29615
  OGrady, John                                                      Address Redacted

  OHF Credit                          Michelle Cobb, Credit Analyst 701 Millennium Blvd                                               Greenville      SC           29607
                                                                    900 Ken-Mar industrial                                            Broadview
  Ohio Cat                                                          Parkway                                                           Heights         OH           44147
  Ohio Department of Taxation                                       PO Box 16158                                                      Columbus        OH           43216-6158
  Ohio Dept of Commerce               Division of Unclaimed Funds 77 South High St 20th Fl                                            Columbus        OH           43215-6108
  Ohio Dept of Taxation               Attn Bankruptcy Division      4485 Northland Ridge Blvd.                                        Columbus        OH           43229
                                      Jeff McClain, Tax                                               Tax Commissioners
  Ohio Dept of Taxation               Commissioner                  4485 Northland Ridge Blvd.        Office                          Columbus        OH           43229
                                                                                                                                      Broadview
  Ohio Machinery Co.                                                3993 E. Royalton Road                                             Heights         OH           44147
  Ohio Machinery Co.                                                PO Box 854439                                                     Minneapolis     MN           55485
  Ohio Public Transit Association     W. Curtis Stitt               605 N. High Street, #175                                          Columbus        OH           43215
  Ohio Semitronics, Inc.                                            4242 Reynolds Drive                                               Hilliard        OH           43026
                                                                    9520 N. May Ave., Lower
  Oklahoma State Treasurer            Unclaimed Property Division   Level                                                             Oklahoma City   OK           73120
  Oklahoma Tax Commission             General Counsels Office       Oklahoma Tax Commission                                           Oklahoma City   OK           73194
  Oklahoma Tax Commission             Taxpayer Service Center       300 N Broadway Ave.                                               Oklahoma City   OK           73102
  Oklahoma Tax Commission                                           P. O. Box 26800                                                   Oklahoma        OK           73126
  OKTA, INC                                                         100 1st Street                                                    San Francisco   CA           94105
  Okta, Inc.                                                        301 Brannan Street                Suite 100                       San Francisco   CA           94107
  Old Dominion Freight Lines                                        PO Box 198475                                                     Atlanta         GA           30384-8475
  OLeary, John                                                      Address Redacted
  Oles Morrison Rinker & Baker,
  LLP                                 LEGAL Adam Lasky              701 Pike Street, Suite 1700                                       Seattle         WA           98101
  Oles Morrison Rinker & Baker,
  LLP                                                               701 Pike Street, Suite 1700                                       Seattle         WA           98101
  Olga Beyers                                                       Address Redacted
  Olive International Offshore Ltd.                                 Address Redacted
  Oliver Lopez                                                      Address Redacted
  Oliver, Herman                                                    Address Redacted
  Olympus America Inc.                                              48 Woerd Avenue                   Suite 105                       Waltham         MA           02453
  Olympus America Inc.                                              PO Box 123595                     Dept 3595                       Dallas          TX           75312
  Omega Engineering, Inc.                                           26904 Network Place                                               Chicago         IL           60673-1269
  Omega Engineering, Inc.                                           PO Box 405369                                                     Atlanta         GA           30384-5369
  Omni Louisville, LLC                                              400 South 2nd Street                                              Louisville      KY           40202
  Omni Provincial                     Cheryl Miller                 #5, 2115-27 Ave NE                                                Calgary         AB           T2E 7E4    Canada
  Omni Provincial                     Ron Miller                    #5, 2115-27 Ave NE                                                Calgary         AB           T2E 7E4    Canada
  OmniSource Southeast                                              7575 W Jefferson Blvd.                                            Fort Wayne      IN           46819
  On Target Holdings, LLC                                           17691 Mitchell North                                              Irvine          CA           92614



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  On Your Mark Transportation, LLC                                1427 Brighton Circle                                                Old Hickory      TN           37138

  On Your Mark Transportation, LLC                                PO Box 292851                                                       Nashville        TN           37229
  One Albuquerque Transit                                         100 First Street SW                                                 Albuquerque      NM           87102
  ONE SOURCE                                                      6530 Altura Blvd.                                                   Buena Park       CA           90620
  ONeill, Colleen                                                 Address Redacted
  Oneill, Justin                                                  Address Redacted
  OneSource Distributors LLC                                      PO Box 740527                                                       Los Angeles      CA           90074
  Onfulfillment Inc                                               3780 Filbert St                                                     Newark           CA           94560
  ONLINECOMPONENTS.COM                                            11125 S Eastern Ave.            Ste 120                             Henderson        NV           89052
  Onrion LLC                                                      93 S Railroad Ave               Suite C                             Bergenfield      NJ           07621
  Onset Financial                                                 274 W. 12300 S.                                                     Draper           UT           84020
                                                                  60 E. South Temple, Suite       Attn Keystone National
  Onset Financial                                                 2100                            Group                               Salt Lake City   UT           84111
                                                                                                  1075 Rodgers Park
  Onspot of North America, Inc.        KURT HUNT                  PO Box 1077                     Drive                               North Vernon     IN           47265
                                                                                                  1075 Rodgers Park
  Onspot of North America, Inc.                                   PO Box 1077                     Drive                               North Vernon     IN           47265
  Ontario International Airport        Leech Tishman Fuscaldo &   Sanford L. Frey, Esq., and      200 S. Los Robles
  Authority                            Lampl, LLC                 John Steiner, Esq.              Avenue Suite 300                    Pasadena         CA           91101
  Ontario International Airport        Leech Tishman Fuscaldo &   Sanford L. Frey, Esq., and      Los Robles Avenue,
  Authority                            Lampl, LLC                 John Steiner, Esq.              Suite 300                           Pasadena         CA           91101
  Ontario International Airport
  Authority                                                       1923 E Avion St                                                     Ontario          CA           91761
  Ontario International Airport
  Authority                                                       1927 East Avion Street                                              Ontario          CA           91761

  Ontario Motor Coach Association                                 320 North Queen Street          Suite 210                           Toronto          ON           M9C 5K4      Canada

  Ontario Public Transit Association                              55 York St                                                          Toronto          ON           M5J 1R7      Canada
  Ophir-Spiricon LLC                                              3050 North300 West                                                  Logan            UT           84341
                                                                                                                                      Rancho
  Optex, Inc.                                                     18730 S Wilmington Ave.         Suite 100                           Dominguez        CA           90220
  Optimal Electric Vehicles, LLC                                  29449 Old US Hwy 33                                                 Elkhart          IN           46516
  Optimal Electric Vehicles, LLC                                  47802 West Anchor Court                                             Plymouth         MI           48170
  Optimal,Inc                                                     47802 W Anchor CT                                                   Plymouth         MI           48170
  Optimed Health Partners                                         6480 Technology Drive           Ste A                               Kalamazoo        MI           49009
  Optimism Brewing Company                                        1158 Broadway                                                       Seattle          WA           98122

  Optimized Financial Planning LLC                                4509 Rio Robles Drive                                               Austin           TX           78746
                                                                  1500 Ardmore Blvd, Suite
  Optimum Water Solutions, Inc.                                   #104                                                                Pittsburgh       PA           15221
  Opti-Temp                                                       PO Box 5246                                                         Traverse City    MI           49686
  Optiv Security, Inc.                                            1125 17th Street                Suite 1700                          DENVER           CO           80202
  Optronics International, LLC                                    Department #96-0457                                                 Oklahoma City    OK           73196-0457
  Oracle America, Inc                                             500 Oracle Parkway                                                  Redwood Shores   CA           94065



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                                                                   Buchalter, a Professional   425 Market St., Suite
  Oracle America, Inc.               Shawn M. Christianson, Esq.   Corporation                 2900                               San Francisco   CA           94105
  Oracle America, Inc.                                             500 Oracle Parkway                                             Redwood City    CA           94065
  Orbis Corporation                  TOM SALEMI                    1055 Corporate Center Drive                                    Oconomowoc      WI           53066
  Orbis Corporation                                                1055 Corporate Center Drive                                    Oconomowoc      WI           53066
  Orcas Island School District 137                                 557 School Road                                                Eastsound       WA           98245
  Oregon Department of Revenue                                     955 Center St NE                                               Salem           OR           97301
  Oregon Dept of Revenue             Attn Bankruptcy Unit          955 Center St NE                                               Salem           OR           97301-2555

                                     Oregon State Treasury
  Oregon Dept of State Lands         Unclaimed Property Program 867 Hawthorne Ave. SE                                             Salem           OR           97301
                                                                700 N Hayden Island Dr,
  Oregon Transit Association         Kelly Ross                 Suite 160                                                         Portland        OR           97217
  Orion ICS, LLC                     Orion Talent               8000 Regency Parkway            Suite 430                         Cary            NC           27518
  Orkin Services of California                                  PO Box 7161                                                       Pasadena        CA           91109
  Orlaco Inc.                                                   33 Confederat Avenue                                              Jasper          GA           30143
  Orlando Utilities Commission                                  100 West Anderson St.                                             Orlando         FL           32802-3193
  Oronia Jr., Ramon                                             Address Redacted

  Orosa, Maria                                                     Address Redacted
  Orozco, Esteban                                                  Address Redacted
  Orrco International                                              1548 North Main Street                                         Joshua          TX           76058
  Orrco International                                              PO Box 225828                                                  Dallas          TX           75222-5828
  Ortega, Oscar                                                    Address Redacted
  Ortiz Jr., Michael                                               Address Redacted
  Ortiz Rodriguez, Fabio                                           Address Redacted
  Ortiz, Adrian                                                    Address Redacted
  Orvac Electronics, Inc                                           1645 E Orangethorpe Ave.                                       Fullerton       CA           92831
  Orvis, David                                                     Address Redacted
  OS4Labor LLC                                                     120 N Fairway Lane                                             West Covina     CA           91791
  Osdal Jimenez                                                    Address Redacted
  Oshkosh Corporation                Attn Director or Officer      1917 Four Wheel Drive                                          Oshkosh         WI           54902
  Osman Inegol                                                     Address Redacted
  Osmosis Films LLC                                                15 E 62nd Street                                               New York        NY           10065
  Oswalt, Janet                                                    Address Redacted
  Otis Elevator Company                                            PO Box 73579                                                   Chicago         IL           60673
                                                                   1010 Wilshire Boulevard
  Otoy, Inc.                                                       #1604                                                          Los Angeles     CA           90017
  Ott, Clinton                                                     Address Redacted
  Otto, Jacob                                                      Address Redacted
  Our Next Energy                                                  45145 W 12 Mile Road                                           Novi            MI           48377
  Our Next Energy Inc                                              45145 Twelve Mile Rd                                           Novi            MI           48377
  Our Next Energy, Inc                                             45145 W 12 Mile Road                                           Novi            MI           48377
  Oury, Robert                                                     Address Redacted
  OUT OF THE BOX Consulting &
  Productions, Inc.                                                1669 Hollenbeck Ave.         #2-210                            Sunnydale       CA           94087
  Outwater Plastic Industries                                      24 River Rd                  PO Box 500                        Bogata          NJ           07603-0500



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  Ova-Nee Productions                                          4509 NW 122nd St                                                Vancouver           WA        98685
  Overhead Door Company of
  Greenville, Inc.                                             PO Box 6225                                                     Greenville          SC        29606
  Overland Contracting Inc.         Cassandra Bain             11401 Lamar Avenue                                              Overland Park       KS        66211

  Overland Contracting, Inc.                                   11401 Lamar Avenue1 Lama                                        Overland Park       KS        66211
  Overview Corporation                                         3 Coso Ave                                                      San Francisco       CA        94110-4625
  Owen, Collin                                                 Address Redacted
  Owens, Eric                                                  Address Redacted
  Owens, Ethan                                                 Address Redacted
  Owens, Jessie                                                Address Redacted
                                                               100 Cummings Center, Suite
  Oxford Global Resources, LLC                                 206L                                                            Beverly             MA        01915
  Oyoung, Brandon                                              Address Redacted
  Ozgur, Sehnaz                                                Address Redacted
  Ozone Collision Center, LLC                                  511 A S. Florida Ave                                            Greenville          SC        29611
  P3 USA Inc.                                                  One North Main Street      Fourth Floor                         Greenville          SC        29601
  P3C Media, LLC                                               607 Rockefeller                                                 Irvine              CA        92612
  PA Department of Revenue                                     PO Box 280425                                                   Harrisburg          PA        17128
  PAC Operating Limited
  Partnership                       c/o Prologis               1800 Wazee Street Suite 500                                     Denver              CO        80202
  PAC Operating Limited                                        17777 Center Court Drive     Prologis Industry
  Partnership                       Pat Welsh                  North, Suite 100             Distribution Center 4              Cerritos            CA        90703
  PAC Operating Limited                                                                     Prologis Industry
  Partnership                       Pat Welsh                  4545 Airport Way             Distribution Center 4              Denver              CO        80239
  PAC Operating Limited                                                                     Prologis Industry
  Partnership                       Prologis General Counsel   1800 Wazee Street, Suite 500 Distribution Center 4              Denver              CO        80202

  Pace                                                         550 West Algonquin Road                                         Arlington Heights IL          60005-4412
  Pace Suburban Bus Division of
  the Regional Transportation
  Authority                                                    550 West Algonquin Road                                         Arlington Heights   IL        60005-4412
  Pace Technologies Corporation     Joseph Vargas              3601 East 34th Street                                           Tucson              AZ        85713
  Pacer, a Division of Anixter      HEATHER FRENCH             4300 Northlake Court                                            Charlotte           NC        28216
  Pacer, a Division of Anixter      Steve Williams             4300 Northlake Court                                            Charlotte           NC        28216
  Pacer, a Division of Anixter                                 4300 Northlake Court                                            Charlotte           NC        28216
  Pacer, a Division of Anixter                                 PO Box 3966                                                     Boston              MA        02241
  Pacific Dynasty International                                1140 Empire Central Drive,
  Group Inc                                                    Suite 420                                                       Dallas              TX        75247
  Pacific Gas & Electric (PG&E)                                77 Beale Street                                                 San Francisco       CA        94105
  Pacific Overhead Crane Services
  Inc.                              Quality Hoist & Electric   92-108 Elele Place                                              Kapolei             HI        96707
  Pacific Overhead Crane Services
  Inc.                              Quality Hoist & Electric   952 Barcelona Place                                             Walnut              CA        91789
  Pacific Overhead Crane Services
  Inc.                              Quality Hoist & Electric   PO Box 1416                                                     Walnut              CA        91788
  Pack, William                                                Address Redacted



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  PackIQ                                                        1 American Way                                                 Anderson      SC           29621
  Pacor, Inc.                          Tracey Allen             333 Rising Sun Road                                            Bordentown    NJ           08505
  PACWEST Security Services                                     3303 Harbor Blvd               Suite A 103                     Costa Mesa    CA           92626
  Padilla, Carlos                                               Address Redacted
  Padilla, Jose                                                 Address Redacted
  Padilla, Julio                                                Address Redacted
  Padilla, Karina                                               Address Redacted
  Padilla, Ray                                                  Address Redacted
  Pailton Incorporated                 Abby Gummery             500 W Madison St               Suite 3700                      Chicago       IL           60661
  Pailton Incorporated                 Roger Brereton           500 W Madison St               Suite 3700                      Chicago       IL           60661
  Pailton Incorporated                                          500 W Madison St               Suite 3700                      Chicago       IL           60661
  Paint Body Vinyl & Graphics Inc                               15875 Santa Ana Ave.                                           Fontana       CA           92337
  Painter, Elizabeth                                            Address Redacted
  PAIR design                                                   11231 Gold Express Drive       Suite 103                       Gold River    CA           95670
  Pal, Abhishek                                                 Address Redacted
  Pal, Abhishek                                                 Address Redacted
  Palacios, Jason                                               Address Redacted
  Palantir Technologies Inc.                                    1555 Blake Street              Suite 250                       Denver        CO           80202
  Palermo III, Salvatore                                        Address Redacted
  Palindrome Master Fund LP                                     1209 Orange Street                                             Wilmington    DE           19801
  Pallet Solutions Inc                                          2357 Stanford Road                                             Greer         SC           29651
  Pallet Solutions, Inc.               Michael Cantrell         2620 Fews Bridge Road                                          Greer         SC           29651
  Pallet Solutions, Inc.                                        2620 Fews Bridge Road                                          Greer         SC           29651
  Palma, Juliano                                                Address Redacted
  Palmer, Daniel                                                Address Redacted
  Palmer, Sophie                                                Address Redacted

  Palmetto Precision Machining, Inc.                            517 Camson Rd                                                  Anderson      SC           29622
  Palmetto Sound Works                                          215 Northeast Dr                                               Spartanburg   SC           29303
  Palmetto State Transportation                                 1050 Park West Blvd                                            Greenville    SC           29611

  Palmtree Acquisition Corporation                              17777 Center Court Drive N.    Suite 100                       Cerritos      CA           90703
                                                                4401 GREAT AMERICA
  PALO ALTO NETWORKS, INC.                                      PARKWAY                                                        SANTA CLARA   CA           95054
  Pamco Printed Tape and Label
  Co., Inc.                         Marla Darman                2200 S. Wolf Road                                              Des Plaines   IL           60018
  Pamella Chang                                                 Address Redacted
  Pamujula, Suresh                                              Address Redacted
  Panasonic Industrial Device Sales
  Company of America                Attn Joseph LoBrace         2 Riverfront Plaza                                             Newark        NJ           07102
  Panasonic Industrial Device Sales
  Company of America                Kenta Fujimoto              2 Riverfront Plaza                                             Newark        NJ           07102
  Panasonic Industrial Device Sales
  Company of America                Soccorro Drew               2 Riverfront Plaza                                             Newark        NJ           07102
  Panasonic Industrial Device Sales
  Company of America                Thomas Peng                 2 Riverfront Plaza                                             Newark        NJ           07102




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  Panasonic Industrial Device Sales
  Company of America                                         3461 Plano Parkway                                             The Colony       TX           75056
  Panasonic Industrial Devices                               Two Riverfront Plaza, 7th
  Sales Company of America                                   floor                                                          Newark           NJ           07102-5490
  Pandey, Govind                                             Address Redacted
  Panor Corp                        DBA MAXXIMA              125 Cabot Ct.                                                  Hauppauge        NY           11788
  Par7, LLC                         Jae Park                 1863 Ashwood Ct.                                               Folsom           CA           95630
  Paradise Power Company Inc.
  (PPC Solar)                                                245 Paseo Del Canon East                                       Taos             NM           87571
  Paragon International Insurance                                                                                                                                      United
  Brokers Ltd                                                140 Leadenhall Street                                          London                        EC3V 4QT     Kingdom
  Parallax                          Carolyn Heller           599 Menlow Drive                                               Rocklin          CA           95765
  Parallax                                                   599 Menlow Drive                                               Rocklin          CA           95765
  Pardiwala, Irfan                                           Address Redacted
  Pare Jr., Ronald                                           Address Redacted
  Paredes Sr., Roberto                                       Address Redacted
  Parham, Mercedes                                           Address Redacted
  Parikh, Hiren                                              Address Redacted
  Park City Municipal Corporation   Holly Erickson           PO Box 1480                                                    Park City        UT           84060
  Park City Municipal Corporation   Larry Simpson            PO Box 1480                                                    Park City        UT           84060
  Park City Municipal Corporation                            1053 Iron Horse Dr                                             Park City        UT           84060
  Park City Municipal Corporation                            445 Marsac Ave                                                 Park City        UT           84060
  Park City Municipal Corporation                            445 Marsac Ave               Post Office Box 1480              Park City        UT           84060
  Park Computer Systems, Inc.                                39899 Balentine Drive        Suite# 218                        Newark           CA           94560
  Parker Hannifin Canada                                     4625 Durham Road                                               S. Grimsby       ON           L3M 4H8      Canada
  Parker Hannifin Corporation       Andrew Bauch             101 Canterbury Road                                            Kings Mountain   NC           28086
  Parker Hannifin Corporation       DIANA BROWN              101 Canterbury Road                                            Kings Mountain   NC           28086
  Parker Hannifin Corporation       FAYTH CHRISTENSEN        101 Canterbury Road                                            Kings Mountain   NC           28086
                                                             Electromechanical and Drives
  Parker Hannifin Corporation     Heather Sehr               Division                     2101 N. Broadway                  New Ulm          MN           56073
                                                             Electromechanical and Drives
  Parker Hannifin Corporation     Jay Schultz                Division                     2101 N. Broadway                  New Ulm          MN           56073
                                                             Electromechanical and Drives
  Parker Hannifin Corporation     Kevin Holloway             Division                     2101 N. Broadway                  New Ulm          MN           56073
                                                                                          1300 North Freedom
  Parker Hannifin Corporation     PDNPlus                    Parflex Division             Street                            Ravenna          OH           44266
                                                                                          1300 North Freedom
  Parker Hannifin Corporation     Robert Jensen              Parflex Division             Street                            Ravenna          OH           44266
                                                                                          1300 North Freedom
  Parker Hannifin Corporation     TARA FARIS                 Parflex Division             Street                            Ravenna          OH           44266
  Parker Hannifin Corporation                                101 Canterbury Road                                            Kings Mountain   NC           28086
  Parker Hannifin Corporation                                7851 Collection Center Dr                                      Chicago          IL           60693
  Parker Hannifin Corporation                                7857 Collection Dr                                             Chicago          IL           60693
  Parker Hannifin Corporation                                7880 Collection Center Dr                                      Chicago          IL           60693
  Parker Hannifin Corporation                                9225 Forsyth Park Drive                                        Charlotte        NC           28273
                                                             Electromechanical and Drives
  Parker Hannifin Corporation                                Division                     2101 N. Broadway                  New Ulm          MN           56073



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                                                                                            1300 North Freedom
  Parker Hannifin Corporation                                Parflex Division               Street                          Ravenna            OH           44266
  Parker Hannifin Corporation                                Pneumatic Division             8676 E M-89                     Richland           MI           49083
  Parker, Preston                                            Address Redacted
                                                             10151 Deerwood Park Blvd
  Parker+Lynch                    Attn Director or Officer   Ste 200-101                                                    Jacksonville       FL           32256-0588
  Parker-Hannifin Corp.                                      7857 Collection Center Drive                                   Chicago            IL           60693
                                  Sandra J. Sberna, Credit
  Parker-Hannifin Corporation     Analyst Corp. H.Q.         6035 Parkland Blvd                                             Cleveland          OH           44124

  Parker-Origa Corporation                                   100 West Lake Dr.                                              Glendale Heights   IL           60139
  Parkhouse Tire Inc              C Bruner                   6006 Shull Street                                              Bell Gardens       CA           90202-2430
  Parkhouse Tire Inc              C Bruner                   PO Box 2430                                                    Bell Gardens       CA           90202-2430
  Parkhouse Tire Inc              Cindy Leeger-Patton        6006 Shull Street                                              Bell Gardens       CA           90202-2430
  Parkhouse Tire Inc              Cindy Leeger-Patton        PO Box 2430                                                    Bell Gardens       CA           90202-2430
  Parking & Transportation
  Management Services, Inc.       DBA Transwest              2724 6th Ave.                  Suite 200                       Seattle            WA           98134
  Parks, Bryan                                               Address Redacted
  Parr Instrument Company                                    211 53rd Street                                                Moline             IL           61265
  Parriott, Mark                                             Address Redacted
  Parry, Dhiraj Himanush                                     Address Redacted
  Parsons, Charles                                           Address Redacted
  Par-Tech, Inc.                                             139 Premier Drive                                              Lake Orion         MI           48359
  Parth Chauhan                                              Address Redacted
  Partnership Health Plan of
  California                      Rudolfo Alvarez            Address Redacted
  Paselk, Erich                                              Address Redacted
  Pasha Hawaii                                               4040 Civic Center Drive        Suite 350                       San Rafael         CA           94903
  Passio Technologies                                        6100 Lake Forest Drive         Suite 410                       Atlanta            GA           30328
  Pasternack Enterprises, Inc.                               PO Box 16759                                                   Irvine             CA           92623
  Pastrana Mendoza, Juan                                     Address Redacted
  Patel, Dhavalkumar                                         Address Redacted
  Patel, Harsh                                               Address Redacted
  Patel, Rahul                                               Address Redacted
  Patel, Roshni                                              Address Redacted
  Patel, Sachin                                              Address Redacted
  Patel, SACHIN                                              Address Redacted
  Patel, Sahil                                               Address Redacted
  Pathways Executive Coaching and
  Consulting, LLC                                            604 Asheton Way                                                Simpsonville       SC           29681
  Patino Menez, Benjamin                                     Address Redacted
  Patricia Wright                                            Address Redacted
  Patrick & Co.                                              560 Market St                  2nd Fl                          San Francisco      CA           94104
  Patrick Ho                                                 Address Redacted
  Patrick Monahan                 DBA Iron Cove Solutions    Address Redacted
  Patrick Services Inc.           Shannon Huckaba            4727 Alexander Lane                                            Dallas             TX           75247
  Patrick, Jason                                             Address Redacted



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  Patridge Tires and Service, LLC                              9245 Laguna Springs Dr.          Suite 200                       Elk Grove     CA           95758
  Patriot Concrete Cutting, LLC                                PO Box 504                                                       Piedmont      SC           29673
  Patron, Daniel                                               Address Redacted
  Patterson Jr., William                                       Address Redacted
  Patterson, Daniel                                            Address Redacted
  Patterson, DANIEL                                            Address Redacted
  Patterson, Scott                                             Address Redacted
  Patton Sr., Antonio                                          Address Redacted
  Patty, Andrew                                                Address Redacted
  Paul A Kloepper                                              Address Redacted
  Paul Bridges Group - Paul Bridges                            6526 Greatwood Parkway
  LLC                                                          Building 6 - Unit A                                              Sugar Land    TX           77479
                                      DBA Comfort Consulting
  Paul Comfort                        World Wide LLC           Address Redacted
  Paul Gumina                                                  Address Redacted
  Paul H Beebe                                                 Address Redacted
                                      DBA Chapel Road
  Paul H Bowers                       Communications           Address Redacted
                                      DBA Chapel Road
  Paul H Bowers                       Communications           Address Redacted
  Paul Holzmann                                                Address Redacted
  Paul Miller Motor Company dba
  Fortune Collision Centre            Chelsie Sawyers          1425 Jingle Bell Lane                                            Lexington     KY           40509



  Paul N Donna M Hand                                          Address on File
  Paul Steadman                                                Address Redacted
  Paul William Sibal                                           Address Redacted
  Paul Yamada                                                  Address Redacted
  Paul, Derek                                                  Address Redacted
  Paul, Weiss, Rifkind, Wharton &
  Garrison LLP                                                 1285 Avenue of Americas                                          New York      NY           10019
  Paulding County                                              240 Constitution Boulevard                                       Dallas        GA           30132
  Pauley, Jason                                                Address Redacted
  Pauley, Thomas                                               Address Redacted
  Pavel Dusatko                                                Address Redacted
  Pavel Dusatko                                                Address Redacted
  Pawar, Yogesh                                                Address Redacted
  Pawel Nuckowski                     DBA Oahu Films           Address Redacted
  Payne, Angela                                                Address Redacted
  Payne, Christopher                                           Address Redacted
  Payton, Cynthia                                              Address Redacted
  Payton, Heaven                                               Address Redacted
  PB Equipment Inc.                                            138 W. Shipyard Rd                                               Mt Pleasant   SC           29464

  PC Connection Sales Corporation DBA Coneection               PO Box 536472                                                    Pittsburg     PA           15253



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  PC Connection Sales Corporation                             730 Milford Rd.                                               Merrimack       NH             03054
  PCB Piezotronics Inc.           Michele Maslowski           3425 Walden Avenue                                            Depew           NY             14043
  PCB Piezotronics Inc.                                       3425 Walden Avenue                                            Depew           NY             14043
  Pe S Wynn                                                   Address Redacted
  Peabody, Kevin                                              Address Redacted
  Peak Safety Performance, LLC    David Lynn                  PO Box 831                                                    Seneca          SC             29679
  PEAK Technical Services Inc.                                583 Epsilon Drive                                             Pittsburgh      PA             15238
                                  DBA PEAK Technical Staffing
  Peak Technical Services, Inc.   USA                         583 Epsilon Drive                                             Pittsburgh      PA             15238
                                                              901 Elkridge Landing Rd
  Peak Technologies, Inc.         Kathy McCracken             Suite 300                                                     Linthicum Heights MD           21090-2919

  Peak Technologies, Inc.         Peak-Ryzex, Inc.            901 Elkridge Landing Rd       Suite 300                       Linthicum Heights MD           21090
                                                              901 Elkridge Landing Rd Ste
  Peak Technologies, Inc.         Peak-Ryzex, Inc.            300                                                           Linthicum       MD             21090-2919
  Pearce Renewables               Pearce Services, LLC        1222 Vine Street              Suite 301                       Paso Robles     CA             93448
  Pearce Renewables                                           1222 Vine Street, Suite 301                                   Paso Robles     CA             93446
  Pearce Services, LLC            Corporate Administration    1222 Vine Street, Suite 301                                   Paso Robles     CA             93446
  Pearson, Derrick                                            Address Redacted
  Pearson, Janieka                                            Address Redacted
  Pearson, Jenieka                                            Address Redacted
  Pearson, Kelly                                              Address Redacted
  Peco Electrical Ltd             Scott Tracey                6708-41 St                                                    Leduc           AB             T9E 0Z4      Canada
  PECO INSPX                                                  1835 Rollins Rd                                               Burlingame      CA             94010
  PED Enterprises, LLC                                        2441 Boardwalk                                                San Antonio     TX             78217
  Peddireddy, Karthik Reddy                                   Address Redacted
  Pedrero, Jose                                               Address Redacted
  Pedro Carrasco                                              Address Redacted
  Pegasus Auto Racing                                         2475 S. 179th Street                                          New Berlin      WI             53146
  Peker, Sedat                                                Address Redacted
  Pelco Structural, LLC           Brandon Parduhn             1501 Industrial Blvd.                                         Claremore       OK             74017
  Pelco Structural, LLC           Kasey Scott                 1501 Industrial Blvd.                                         Claremore       OK             74017
  Pelco Structural, LLC           Kimmy Harris                1501 Industrial Blvd.                                         Claremore       OK             74017
  Pelco Structural, LLC                                       1501 Industrial Blvd.                                         Claremore       OK             74017
  Pendly, Samhith Babu Reddy                                  Address Redacted
  Peng, Sean                                                  Address Redacted
  Pennel, Patrick                                             Address Redacted

  Pennex Aluminum Company, LLC                                50 Community St.                                              Wellsville      PA             17365
  Pennington, Aaron                                           Address Redacted
  PENNSYLVANIA DEPARTMENT
  OF REVENUE                        BANKRUPTCY DIVISION       Strawberry Square Lobby                                       Harrisburg      PA             17128-0101
                                    Attn Compliance &
  Pennsylvania Dept of Revenue      Bankruptcy                Strawberry Square Lobby                                       Harrisburg      PA             17128-0101
  Pennsylvania Public Transporation
  Association                                                 115 Pine Street                                               Harrisburg      PA             17101



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  Pennsylvania Public
  Transportation Association         PPTA                          115 Pine Street                                                  Hrrisburg         PA           17101
  Pennsylvania State University,
  The                                                              227 W. Beaver Avenue             Suite 401                       State College     PA           16801
  Pennsylvania State University,
  The                                                              408 Old Main                                                     University Park   PA           16802
  Penske Truck Leasing CO, L.P.      mary martin                   PO Box 532658                                                    Atlanta           GA           30353
                                     Penske Truck Leasing Co.,     Diane R Hetrick, Collection      2675 Morgantown
  Penske Truck Leasing CO, L.P.      L.P.                          Coordinator                      Road                            Reading           PA           19607
  Penske Truck Leasing CO, L.P.                                    PO Box 563                                                       Reading           PA           19603
                                     Diane R Hetrick, Collection
  Penske Truck Leasing Co., L.P.     Coordinator                   2675 Morgantown Road                                             Reading           PA           19607
  Pereda, Diego                                                    Address Redacted
  Peregrino, Benjamin                                              Address Redacted
  Perez, Juana                                                     Address Redacted
  Perez, Juana                                                     Address Redacted
  Perez, Matthew                                                   Address Redacted
  Performance Composites, Inc.       BENITO RODRIGUEZ              1418 S. Alameda Street                                           Compton           CA           90221
  Performance Composites, Inc.       JERRY YEH                     1418 S. Alameda Street                                           Compton           CA           90221
  Performance Composites, Inc.       PAOLA VELADOR                 1418 S. Alameda Street                                           Compton           CA           90221
  Performance Composites, Inc.                                     1418 S. Alameda Street                                           Compton           CA           90221
  Performance Friction Corporation
  (PFC Brakes)                                                     PO Box 745170                                                    Atlanta           GA           30374
  Performance Industries, Inc.                                     8972 Kittiwake Street                                            Littleton         CO           80126-5252

  Persistent Telecom Solutions Inc.                                2055 Laurelwood Rd, Ste 210                                      Santa Clara       CA           95054
  Personal Awards Inc                                              938 S Amphlett Blvd                                              San Mateo         CA           94402-1801
  Peschel, Erich                                                   Address Redacted
  Peter A. Clark                                                   Address Redacted
  Peter Campanella                                                 Address Redacted
  Peter Kaplan                                                     Address Redacted
  Peter R. Terry                                                   Address Redacted
  Peter Waweru                                                     Address Redacted
  Peters, Scott                                                    Address Redacted
  Petersburg City Public Schools                                   255 South Blvd. East                                             Petersburg        VA           23805
  Peterson Fluid Systems                                           9801 Havana St.                                                  Henderson         CO           80604
  Peterson, Ronald                                                 Address Redacted
  Petroleum Equipment and
  Manufacturing Company Inc.        DBA PEMCO                      2185 W 76 Street                                                 Hialeah           FL           33016
  Petty, Daniel                                                    Address Redacted
  Petty, Jason                                                     Address Redacted
  Pevear, Brian                                                    Address Redacted
  Pevear, Jill                                                     Address Redacted
  Pfeiffer, Brandon                                                Address Redacted
  PG&E                              c/o Bankruptcy                 PO Box 8329                                                      Stockton          CA           95208-0329
  PG&E                                                             PO Box 997300                                                    Sacramento        CA           95899
  Pham, Jenny                                                      Address Redacted



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  Phan, MELINDA                                                    Address Redacted
  Phan, Melinda                                                    Address Redacted
  Phibbs, Cody                                                     Address Redacted

  Philadelphia Indemnity Insurance                                 100 Bala                                                                    Cynwyd          PA           19004
  Philadelphia Indemnity Insurance   Attn Kimberly B. Czap, Vice
  Company                            President                     One Bala Plaza, Suite 100                                                   Bala Cynwyd     PA           19004
  Philadelphia Indemnity Insurance                                                                1201 Demonbreun
  Company                            Attn Scott C. Williams       c/o Manier and Herod, P.C.      Street Suite 900                             Nashville       TN           37203
  Philadelphia Indemnity Insurance                                1125 Sanctuary Pkwy, Suite
  Company                                                         450                                                                          Alpharetta      GA           30009
  Philadelphia Insurance             A Member of the Tokio Marine 1420 5th Avenue, Suite 2200,
  Companies                          Group                        Office #2225                                                                 Seattle         WA           98101
  Philadelphia Insurance
  Companies                                                        PO Box 70251                                                                Philadelphia    PA           19176
  Philadelphia Insurance Group                                     One Bala Plaza, Suite 100                                                   Bala Cynwyd     PA           19004
  Philip Filiatrault                                               Address on File
  Philip Louis Dombey                                              Address Redacted

  Phillip Jay Hurtt                                                Address Redacted
  Phillip Martini                                                  Address Redacted
  Phillips Corporation                                             8500 Triad Drive                                                            Colfax          NC           27235
  Phillips, Jeremy                                                 Address Redacted
  Phillips, Joseph                                                 Address Redacted
  Phillips, Joshua                                                 Address Redacted
  Phillips, Marquis                                                Address Redacted
  Phillips, Monteith                                               Address Redacted
  Phillips, Shelly                                                 Address Redacted
                                                                                                                                               Schieder-
  Phoenix Automation & Sales                                       Hainbergstrasse 2              Unit L                                       Schwalenberg                 32816     Germany
                                                                                                                                               Schieder-
  Phoenix Contact E-Mobility GmbH                                  Hainbergstrasse 2              Nordrhein-Westfalen                          Schwalenberg                 32816     Germany
  Phoenix Dynamometer
  Technologies LLC                                                 7900 Durand Avenue                                                          Sturtevant      WI           53177
                                                                                                                                                                                      Netherland
  Phoenix Vibration Controls B.V.                                  Nijverheidsweg 6                                                            Stellendam                   3251 LP   s
  PHS West, Inc.                                                   6704 Bleck Drive                                                            Rockford        MN           55373

  Phytools, LLC                                                    900 Winslow Way E              Suite 120                                    Bainbridge Island WA         98110
  PI Innovo, LLC                     Adrian Carnie                 47023 Five Mile Road                                                        Plymouth          MI         48170
  PI Innovo, LLC                     Dana Incorporated             Jonathan Hurden                28001 Cabot Drive                            Novi              MI         48377
  PI Innovo, LLC                     HOPE RUMPH                    47023 Five Mile Road                                                        Plymouth          MI         48170
                                     J.R. Smith & Jennifer E.                                     Riverfront Plaza, East
  PI Innovo, LLC                     Wuebker                       Hunton Andrews Kurth LLP       Tower                    951 East Byrd Street Richmond       VA           23219
  PI Innovo, LLC                     JONATHAN HURDEN               47023 Five Mile Road                                                         Plymouth       MI           48170
  PI Innovo, LLC                                                   47023 Five Mile Road                                                         Plymouth       MI           48170
  PI Innovo, LLC                                                   47047 Five Mile Road                                                         Plymouth       MI           48170



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  PI Manufacturing                                                 20732 Currier Rd                                                     Walnut           CA           91719
  Pickens, Brittany                                                Address Redacted
  Pickens, Daniel                                                  Address Redacted
  PIDSA Industrial Devices Sales
  Company of America                                               PIDSA-RBBD                     3461 Plano Parkway                    The Colony       TX           75056
  Piedmont Electrical Distributors of
  Greenville, Inc.                                                 200 Bi-Lo Boulevard                                                  Greenville       SC           29607
  Piedmont Electrical Distributors of
  Greenville, Inc.                                                 PO Box 8616                                                          Greenville       SC           29604
  Piedmont National Corporation       Jamie Buckhiester            182 Kayaker Way                                                      Easley           SC           29642
  Piedmont National Corporation                                    PO Box 890938                                                        Charlotte        NC           29289
  Piedmont Natural Gas                                             4720 Piedmont Row Dr                                                 Charlotte        NC           28210
  Piedmont Natural Gas                                             PO Box 660920                                                        Dallas           TX           75266
  Pierce County Public
  Transportation Benefit Area
  Corporation                                                      3707 96th Street SW            PO Box 99070                          Lakewood         WA           98496-0070
  Pierce Manufacturing Inc                                         2600 American Drive                                                  Appleton         WI           54914
                                                                   1917 Four Wheel Drive, PO
  Pierce Manufacturing, Inc.                                       Box 2566                                                             Oshkosh          WI           54903-2566
  Pierce Manufacturing, Inc.                                       2600 American Drive            PO Box 2017                           Appleton         WI           54914
  Pierce Manufacturing, Inc.                                       Pierce Assembly Plant          2600 American Drive   PO Box 2017     Appleton         WI           54914-9010
  Pierce Transit                     Brenda Lacey                  3701 96th Street SW                                                  Lakewood         WA           98499
  Pierce Transit                                                   3710 96th Street                                                     SW Lakewood      WA           98499
  Pierce, Aileen                                                   Address Redacted
  Piergiovanni, Andrew                                             Address Redacted
  Pietragallo Gordon Alfano Bosick
  Raspanti, LLP                      Attn Richard Parks, Esquire   301 Grant Street               One Oxford Centre     38th Floor      Pittsburgh       PA           15219
  Pietro Mangiaracina                                              Address Redacted
  Piggford, James                                                  Address Redacted
  Pihl, Scott                                                      Address Redacted
  Pike Corporation                                                 123 North White Street                                               Fort Mill        SC           29715

  Pilkington Automotive Finland Oy   Engineering Janne Ilonen      Pihtisulunkatu 10                                                    Tampere          Finland      33330        Finland

  Pilkington Automotive Finland Oy   Olli Sara                     Pihtisulunkatu 10                                                    Tampere          Finland      33330        Finland

  Pilkington Automotive Finland Oy                                 Pihtisulunkatu 10                                                    Tampere          Finland      33330        Finland
  Pillsbury Winthrop Shaw Pittman
  LLP                                Attn Alana A. Lyman           31 West 52nd Street                                                  New York         NY           10019
  Pillsbury Winthrop Shaw Pittman                                  Four Embarcadero Center,
  LLP                                Attn Joshua D. Morse          22nd Floor                                                           San Francisco    CA           94111-5998
  Pilot Freight Services                                           Dept 2540                      P.O.Box 122540                        Dallas           TX           75312
  Pine Estates Enterprises Inc       Dustin Smith                  201B West Butler Road          Suite 160                             Mauldin          SC           29662
  Pine Estates Enterprises Inc.                                    201B W Butler Rd #160                                                Mauldin          SC           29662
  Pineda, Diana                                                    Address Redacted
  Pinellas Suncoast Transit
  Authority                                                        3201 Scherer Drive                                                   St. Petersburg   FL           33716



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  Ping Hu                                                        Address Redacted
  Ping Lu                                                        Address Redacted
  Pintail Capital Partners, LLC                                  PO Box 9776                                                            Greenville       SC           29604
  Pinto, Blanchard                                               Address Redacted
  Pioneer Valley Transit Authority                               2808 Main St                                                           Springfield      MA           01107

  PIP Printing                       SoCa Business Services, LLC 1143H Woodruff Rd                                                      Greenville       SC           29607

  PIP Printing                       SoCa Business Services, LLC 1846 Old Highway 14 South                                              Greer            SC           29651
                                                                 DX 30829 Collins Street
  Piper Alderman                                                 Melbourne                    Level 23             459 Collins Street   Melbourne        VIC          3001       Australia
  Pitney Bowes, Inc.                                             PO Box 371896                                                          Pittsburgh       PA           15250
  Pitt, Cade                                                     Address Redacted
  Pittsylvania County Schools                                    39 Bank St SE                                                          Chatham          VA           24531

                                     Marisa Thomas
  Pivotal Media                      Communication Services Ltd. 4649 Puget Drive                                                       Vancouver        BC           V6L 2V9    Canada
  Pivotal Media                                                  4649 Puget Drive                                                       Vancouver        BC           V6L 2V9    Canada
  Placentia Yorba Linda Girls
  Softball Association                                           PO Box 423                                                             Placentia        CA           92871
  Plascencia, Jessica                                            Address Redacted
                                                                                                                                        Rancho
  Plastech Manufacturing Inc.                                    9576 Fernon Blvd Unit B                                                Cucamonga        CA           91730
  Plastic Creations Ltd.             Brian Huttig                1360 South Lipan Street                                                Denver           CO           80223
  Plastic Creations Ltd.             DAVID HUTTIG                1360 South Lipan Street                                                Denver           CO           80223
                                     REESE PLASTIC
  Plastic Creations Ltd.             CREATIONS                   1360 South Lipan Street                                                Denver           CO           80223
  Plasticare                                                     4211 S Natches Ct            Unit K                                    Englewood        CO           80110
  Plasticwatertanks.com Inc                                      361 Neptune Ave                                                        West Babylon     NY           11704
  Plata, Enrique                                                 Address Redacted
                                                                                                                                                                                 United
  Plaxton Ltd                                                    Plaxton Park                 Scarborough                               Eastfield                     YO11 3BY   Kingdom
  Plessinger, Dustin                                             Address Redacted
  Plexus Corporation dba Plexus
  International                                                  5550 Nicollet Ave                                                      Minneapolis      MN           55419
  PLM Advisors, LLC                  Andreas Lindenthal          PLM Advisors, LLC            27452 Avanti Dr                           Mission Viejo    CA           92692
  PLM Advisors, LLC                  Andreas Lindenthal          PLM Advisors, LLC            PO Box 2807                               Mission Viejo    CA           92690
  Plumley, Joseph                                                Address Redacted
  PMC Engineering LLC                                            11 Old Sugar Hollow Road                                               Danbury          CT           06810
  PNC Equipment Finance                                          4720 Piedmont Row            Suite 200                                 Charlotte        NC           28210
  Pocketsquare Design                                            301 W. 4th St                Suite 450                                 Royal Oak        MI           48067
  Pocobello, Todd                                                Address Redacted
  Pod Office                         O+A Inc.,                   636 Chenery Street                                                     San Francisco,   CA           94131
  Pogue, Aaron                                                   Address Redacted
  Polar Mobility Research Ltd.                                   7860 62 Street SE                                                      Calgary          AB           T2C 5K2    Canada
  POLARIS Laboratories, LLC                                      7451 Winton Drive                                                      Indianapolis     IN           46268
  Pole Green Services                                            7030 Pole Green Road                                                   Mechanicsville   VA           23113



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  Pole Green Services Inc.                                      10988 Richardson Rd                                               Ashland          VA           23005
  Popovici, Emanuel                                             Address Redacted
  Poppin, Inc                                                   1115 Broadway                  3rd Floor                          New York         NY           10010
  Popple, Estate of Ryan                                        Address Redacted

  Porsche Cars North America, Inc. Cassidy Ishida               19800 South Main Street                                           Carson           CA           90745

  Porsche Cars North America, Inc.                              1 Porsche Drive                                                   Atlanta          GA           30354
  Port Arthur Transit                                           P.O. BOX 1089                                                     Port Arthur      TX           77641
  Port Arthur Transit(PAT)                                      344 Procter Street                                                Port Arthur      TX           77640
  Port Authority of New York and     Port Authority Law
  New Jersey                         Department                 150 Greenwich St, 24th Fl                                         New York City    NY           10007
  Port Authority of New York and     Port Authority Law                                        150 Greenwich Street,
  New Jersey                         Department                 4 World Trade Center           24th Floor                         New York         NY           10007
                                                                                               150 Greenwich Street,
  Port Authority of NY & NJ                                     4 World Trade Center           21st Floor                         New York         NY           10007
  Port City Logistics Inc.                                      5816 Highway 21                                                   Port Wentworth   GA           31407
  Porter II, John                                               Address Redacted
  Porter, Andrew                                                Address Redacted
  Porter, Brook                                                 Address Redacted
  Porter, James                                                 Address Redacted
  Portillo, Denys                                               Address Redacted
  Portsmouth City Schools                                       801 Crawford Street                                               Portsmouth       VA           23704
                                                                4907 Morena Blvd., Suite
  Positive Adventures LLC                                       1401                                                              San Diego        CA           92117
  Possum Holdings, LLC                                          715 J Street                   Unit 206                           San Diego        CA           92101
  Powell, Barry                                                 Address Redacted
  Powell, Codie                                                 Address Redacted
  Power Electronic Measurements                                 Gloucester House, 162                                             Long Eaton,                              United
  Ltd                                Dr. Chris Hewson           Wellington Street                                                 Nottingham                    NG10 4HS   Kingdom
  Power Electronics USA              Attn Director or Officer   1510 N Hobson St                                                  Gilbert          AZ           85233
  Power Electronics USA              Brandon DiBuo              1510 N Hobson St                                                  Gilbert          AZ           85233
  Power Electronics USA              Edwyn Villareal            1510 N Hobson St                                                  Gilbert          AZ           85233
  Power Electronics USA                                         1510 N Hobson St                                                  Gilbert          AZ           85233
  Power Electronics USA Inc.         Andrea Hartley Esq.        98 SE 7th Street #1100                                            Miami            FL           33131
  Power Electronics USA Inc.                                    1510 N. Hobson Ave                                                Gilbert          AZ           85233
  Power House Manufacturing Inc.                                1490 Whitestown Rd. Ext.                                          Prospect         PA           16052
  Power Science Engineering LLC                                 3458 S 368th Place                                                Auburn           WA           98001
  Power Supply Components, Inc.                                 2307 Calle Del Mundo                                              Santa Clara      CA           95054
  Powerex-Iwata Air Technology,
  Inc.                                                          150 Production Drive                                              Harrison         OH           45030
                                     ACCOUNT REP Sam            1110 West Riverside Ave,
  PowerHandling, Inc.                Williams                   Suite 400                                                         Spokane          WA           99201
                                     INSIDE SALES Pamela        1110 West Riverside Ave,
  PowerHandling, Inc.                Hansen                     Suite 400                                                         Spokane          WA           99201
                                     TECHNICAL SUPPORT Matt     1110 West Riverside Ave,
  PowerHandling, Inc.                Ragan                      Suite 400                                                         Spokane          WA           99201



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                                                              1110 West Riverside Ave,
  PowerHandling, Inc.                                         Suite 400                                                       Spokane          WA           99201
  PowerOn Energy Solutions L.P.                               400 Danforth Rd.                                                Scarborough      ON           M1L 3X6   Canada
                                                              700 University Avenue, 19th
  PowerOn Energy Solutions LP                                 Floor                                                           Toronto          ON           M5G 1X6   Canada
                                                              N60 W22700 Silver Spring
  PowerTest LLC                                               Dr.                                                             Sussex           WI           53089
  Powertran Corporation                                       1605 Bonner Street                                              Ferndale         MI           48220

  Powhatan County Public Schools                              4290 Anderson Highway                                           Powhatan         VA           23139
  PPAP MGR CORP                       PPAP Manager            1433 E. Larned St. #203                                         Detroit          MI           48207
  PR Newswire Assoc LLC                                       350 Hudston St                  Suite 300                       New York         NY           10014
  Prado Sao Pedro, Cristiano                                  Address Redacted

  PRAXIS Technology Escrow, LLC W Jackson                     12540 Broadwell Road            Suite 2201                      Milton           GA           30004
  Precise Alignment, Inc.                                     S71 W23265 Adam Dr                                              Big Bend         WI           53103
                                                              9108-B Warren H Abernathy
  Precision Cutting Solutions, Inc.                           Hwy                                                             Spartanburg      SC           29301
                                                                                                                              Rancho Mission
  Precision Expedited                 Wheeler & Co. LLC       28482 Airoso St.                                                Viejo            CA           92964

  Precision Granite USA Inc.                                  9437 Santa Fe Springs Rd.                                       Santa Fe Springs CA           90670

  Precision Jig & Fixture South LLC Tom Oshiniski             915 Berry Shoals Road                                           Duncan           SC           29334

  Precision Jig & Fixture South LLC Tom Oshiniski             PO Box 641                                                      Rockford         MI           49341

  Precision Jig & Fixture South LLC                           915 Berry Shoals Road                                           Duncan           SC           29334

  Precision Jig & Fixture South LLC                           PO Box 641                                                      Rockford         MI           49341
  Precision Metal Spinning                                    1120 Fenway Circle                                              Fenton           MI           48430
  Precision Products, LLC             Patty Brigman           3819 Hendricks Road                                             Midlothian       VA           23112
  Precision Products, LLC             Richard Kavanaugh       3819 Hendricks Road                                             Midlothian       VA           23112
  Precision Transmission, Inc.        David MacFarland        159 Discovery Drive                                             Colmar           PA           18915
  Precision Waterjet & Laser          Carolyn Lypinski        880 W Crowther Ave                                              Placentia        CA           92870
  Precisionworks MFG LLC              BOB SMITH               463 N Denver Ave.                                               Loveland         CO           80537
  Precisionworks MFG LLC              CORY WRIGHT             463 N Denver Ave.                                               Loveland         CO           80537
  Precisionworks MFG LLC              Greg Gernert            463 N Denver Ave.                                               Loveland         CO           80537
  Precisionworks MFG LLC                                      463 N Denver Ave.                                               Loveland         CO           80537
  Predictive Index Arizona, Inc.                              8130 N 86th Place                                               Scottsdale       AZ           85258
  Preferred Piping Systems                                    15540 Illinois Ave                                              Paramount        CA           90723
  Preferred Technologies, LLC.                                1414 Wedgewood Street                                           Houston          TX           77093
  Preiser Scientific Inc.                                     94 Oliver Street                                                Saint Albans     WV           25177
  Premier Janitorial Serivces LLC     Manuel Hernandez        1348 Santa Anita Ave, #A                                        South El Monte   CA           91733
  Premier Staffing Solution LLC                               15 N. Saint Clair St. 3rd Fl.                                   Toledo           OH           43604
  Premier Truck Group of Salem                                4060 Interstate Pl NE                                           Salem            OR           97303




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                                                                  40 S. Addison Road, Suite
  Premier Truck Group of Salem                                    100                                                            Addison         IL           60101
  Premier Wireless Solutions        Marius Avilla                 88 Bonaventura Drive                                           San Jose        CA           95134
  Premier Wireless Solutions                                      88 Bonaventura Drive                                           San Jose        CA           95134
                                   California Caster & and Hand
  Premiere Casters, Inc            Truck Co.                      6425 San Leandro Street                                        Oakland         CA           94621
  Prescribed Promotions                                           24 Flintwood Drive                                             Simpsonville    SC           29681
  President and Fellows of Harvard
  College                                                         Harvard University             Massachusetts Hall              Cambridge       MA           02138
  Preston Xu                                                      Address Redacted
  Prettl Automotive Corporation                                   1721 White Horse Rd                                            Greenville      SC           29605
  PricewaterhouseCoopers Advisory
  Services LLC                     PWC Holdings No. 21 LLC        500 Woodward Avenue          Suite 3300                        Detroit         MI           48226
  Pril Motors                                                     6015 Spirit St. #419                                           Pittsburgh      PA           15206
  Primary Manufacturing Inc.                                      PO Box 283                   117 N Main Street                 Humboldt        SD           57035
  Prime Electric, Inc.                                            13301 SE 26th St                                               Bellevue        WA           98005
  Prime Electric, Inc.                                            2023 OToole Ave                                                San Jose        CA           95131
  Prime Resource Inc               Ana Avila                      566 S. State College Blvd                                      Fullerton       CA           92031
                                                                  9400 Peppercorn Place, Suite
  Prince Georges County                                           320                                                            Largo           MD           20774

  Prince Georges County Maryland                                  9400 Peppercorn Place                                          Largo           MD           20774
                                                                  9400 Peppercorn Place, Suite
  Prince Georges County Transit                                   320                                                            Largo           MD           20774
  Prince William County Schools                                   12153 Hooe Road                                                Bristow         VA           20136
  Prince, Lana                                                    Address Redacted
  Princeton Corporate Consultants
  Inc                                                             16830 Ventura Blvd             Ste 346                         Encino          CA           91436
  Proactive MD SC, PA                                             10 Centimeters Dr                                              Mauldin         SC           29662
                                    American Cooling
  ProAir, LLC                       Technology, Inc.              2900 County Road 6 West                                        Elkhart         IN           46514

  ProAir, LLC                       ANGELA / ORDERS MUNCIE 2900 County Road 6 West                                               Elkhart         IN           46514
  ProAir, LLC                       BRITTANY COFFMAN          2900 County Road 6 West                                            Elkhart         IN           46514
  ProAir, LLC                                                 2900 County Road 6 West                                            Elkhart         IN           46514
  Pro-Bolt                                                    9857 SW Pueblo Terrace                                             Palm City       FL           34990
  Processia Solutions Corp          Michael Kalthoff          100 Illinois Street, Suite 200                                     St Charles      IL           60174
  ProClip USA, LLC                                            4915 Voges Road                                                    Madison         WI           53718
  Procore Technologies Inc                                    6309 Carpinteria Avenue                                            Carpinteria     CA           93013
                                    PE-Energy, Procurement
  Procurement Equipment LLC         Equipment, IndustrialStop PO Box 701522                                                      Houston         TX           77270
  PRO-DEC.com                                                 PO Box 542035                                                      Houston         TX           77023
  ProductBoard, Inc.                                          392 Staten Ave                                                     Oakland         CA           94610

  ProductBoard, Inc.                                              612 Howard Street, 4th Floor                                   San Francisco   CA           94105
  Production Automation
  Corporation                                                     6200 Bury Drive                                                Eden Prairie    MN           55346



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  Productive Design Services Corp                                6 Parklane Blvd                                               Dearborn         MI           48126

  Productive Design Services Corp.                               6 Parklane Blvd.              Suite 106                       Dearborn         MI           48126
  Productive Plastics, Inc.          CHRISTINA GIFILLAN          103 W. Park Drive                                             Mount Laurel     NJ           08054
  Productive Plastics, Inc.          JILL CALLAHAN               103 W. Park Drive                                             Mount Laurel     NJ           08054
  Productive Plastics, Inc.          JOHN ZERILLO                103 W. Park Drive                                             Mount Laurel     NJ           08054
  Productive Plastics, Inc.                                      103 W. Park Drive                                             Mount Laurel     NJ           08054
  Proemion Corporation                                           711 E. Monument Ave.          Suite 310                       Dayton           OH           45402
  Professional Engineering
  Consultants, P.A.                  Linday Fuces                303 S Topeka                                                  Wichita          KS           67202
  Professional Engineering
  Consultants, P.A.                  Tim Lenz                    303 S Topeka                                                  Wichita          KS           67202
  Professional Fleet Maintenance
  LLC                                                            2081 SW 70th Ave #H14                                         Davie            FL           33317
  Professional Party Rental                                      17 Haywood Rd                                                 Greenville       SC           29607
                                                                 2607 Woodruff Rd., Suite E-
  Professional Party Rental                                      357                                                           Simpsonville     SC           29681
  Proficium, Inc.                                                7300 Central Ave.             Suite C                         Newark           CA           94560
                                                                                                                                                                          Netherland
  Profitap HQ B.V.                                               High Tech Campus 84                                           Eindhoven                     5656AG       s
                                                                                                                               Greenwood
  Project Genetics LLC               Jana Axline                  4950 S Yosemite St F2-102                                    Village          CO           80111
  Project Genetics LLC               Sallyport CF, LLC            c/o Project Genetics         PO Box 4776, #100               Houston          TX           77210-4776
                                     Sallyport Commercial Finance                                                              Greenwood
  Project Genetics LLC               LLC                          4950 S Yosemite St           #F2-102                         Village          CO           80111
  ProKo Consulting LLC                                            221 Stillings Avenue                                         San Francisco    CA           94131-2843
  Promark Electronics Inc.                                        215 rue Voyageur                                             Pointe-Claire    QC           H9R 6B2    Canada
  Promenade Software Inc.                                         16 Technology Drive          Suite 100                       Irvine           CA           92618
  Promwad GmbH                       Aliaksandr Varabyou          Meisenburgstr. 39                                            Essen            Essen        45133      Germany
  PROMWAD GmbH                                                    Meisenburgstr. 39                                            Essen                         45133      Germany
  ProQC International North
  America Inc.                                                   774 Ridgeview Dr                                              McHenry          IL           60050
  Prospect Mold                      CHRIS SMITH                 1100 Main Street                                              Cuyahoga Falls   OH           44221
  Prospect Mold                      Dan Hentosz                 1100 Main Street                                              Cuyahoga Falls   OH           44221
  Prospect Mold                      DAVID HUNT                  1100 Main Street                                              Cuyahoga Falls   OH           44221
  Prospect Mold                                                  1100 Main Street                                              Cuyahoga Falls   OH           44221
  ProTech Service & Engineering                                                                                                                                         Netherland
  BV                                 Jos Swagemakers             Melanenweg 9                                                  Halsteren                     4661SC     s
  Protective Coating Systems, Inc                                31685 Hayman St.                                              Hayward          CA           94544
  ProTemp Mechanical, Inc.                                       3350 Scott Blvd.              Bldg. 3                         Santa Clara      CA           95054
  Proterial America Ltd                                          2 Manhattanville Road         Suite 301                       Purchase         NY           10577-2103
                                                                                                                               Koningshooikt-
  Proterra GVL/ Van Hool                                         Bernard Van Hoolstraat 58                                     Lier                          2500         Belgium
  Proterra iSupplier Internal                                    1815 Rollins Road                                             BURLINGAME       CA           94010
  Protiviti                          Recovery Dept.              Robert Half                   PO Box 5024                     San Ramon        CA           94583
                                                                 Attn Amber Baptiste,
  Protiviti                          Robert Half                 Recovery Dept                 2613 Camino Ramon               San Ramon        CA           94583



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  Protiviti Inc.                                            2613 Camino Ramon                                               San Ramon        CA            94583
  Proto Labs Inc.                  Traci D Hanson           5540 Pioneer Creek Drive                                        Maple Plain      MN            55359
  Proto Labs, Inc.                                          5540 Pioneer Creek Drive                                        Maple Plain      MN            55359
  Prototype Automotive Solutions
  LLC                                                       7240 N Haggerty Rd                                              Canton           MI            48187
  Provident Plumbing, LLC                                   PO Box 2001                                                     Easley           SC            29642
  Prysmian Cables and Systems
  USA, LLC                                                  4 Tesseneer Road                                                Highland Heights, KY           41076
                                                                                                                            San Juan
  PS Trade Show Services           Teresa Chapman           330 Merrill Road                                                Bautista          CA           95045
  PSI Control Solutions, Inc.                               9900 Twin Lakes Pkwy                                            Charlotte         NC           28269

  PSI EMPLOYER SERVICES INC.                                4200 SOUTH SERVICE RD          SUITE 200                        BURLINGTON       ON            676 4X5   Canada
  PSMG Inc. DBA Pacwest Security
  Services                                                  3303 Harbor Blvd               Suite A 103                      Costa Mesa       CA            92626
  PTC INC.                       Arena, A PTC Business      121 Seaport Blvd               13th floor                       Boston           MA            02210
  Public Company Accounting
  Oversight Board                                           1666 K Street NW                                                Washington       DC            20006
  Public Service Company of
  Colorado alias Xcel Energy                                1800 Larimer Street                                             Denver           CO            80202
  Public Storage 23034                                      4026 Mission Blvd.                                              Montclair        CA            91763
  Public Transportation Safety
  International Corp             Krista Barry               523 W Sixth Street             Suite 1101                       Los Angeles      CA            90014
  PublicRelay, Inc.                                         8500 Leesburg Pike             Suite 7800                       Vienna           VA            22182
  Puchala, Alexander                                        Address Redacted
  Puckett, Nathaniel                                        Address Redacted
  Puddan, Gagandeep                                         Address Redacted
  Pullen, Jennifer                                          Address Redacted
  Pullings, Adam                                            Address Redacted
  Pulver Laboratories Inc.,
  Electromagnetics Division                                 320 North Santa Cruz Avenue                                     Los Gatos        CA            95030

  Pump Engineering Company                                  9807 Jordan Circle                                              Santa Fe Springs CA            90670
  Pump South Inc.                                           117 N Main Street                                               Fountain Inn     SC            29644
  Puneet Kaur                                               Address Redacted
  Punzalan, Marc                                            Address Redacted
  Purchase Power                                            PO BOX 371874                                                   Pittsburgh       PA            15250
  PurCo Fleet Services, Inc.                                136 South Main Street                                           Spanish Fork     UT            84660
  Purdy, Amos                                               Address Redacted
  Pure Water Partners LLC          George Hege              1600 District Ave              Suite #200                       Burlington       MA            01803
  Pure Water Partners LLC          Regina Botticelli        1600 District Ave              Suite #200                       Burlington       MA            01803
  Pure Water Partners LLC                                   PO Box 0369                                                     Woburn           MA            01888
  Pushyla, Ihar                                             Address Redacted
                                                            King Kalakaua Building (aka
  PVL Department of Commerce &                              US Post Office Custom
  Consumer Affairs                 Hawaii MFG License       House and Court House)         335 Merchant Street              Honolulu         HI            96813
  Pye Barker Fire & Safety, LLC                             PO Box 735358                                                   Dallas           TX            75373



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  Q4 Inc                                                         469A King Street W                                            Toronto           ON           M5V 1K4      Canada
  Qinhuangdao Xinchi
  Photoelectricity Technology Co.,                               275-km South spot to No.102
  Ltd                                                            National Road               Funing District                   Qinhuangdao City               66000      China
  QPB Holdings Ltd                                               27 Hospital Road                                              George Town      PA            19008
  QPL Technologies Inc.              dba Q-PLUS labs             13765 Alton Parkway         Unit E                            Irvine           CA            92618
  Quackt Glass LLC                                               120 Springhall Dr # D                                         Goose Creek      SC            29445-5335
  Quackt Glass LLC                                               300 Springhill Farm Rd                                        Fort Mill        SC            29715
  Quad City Garage Policy Group                                  1515 River Drive                                              Moline           IL            61265
  Quail Road, LLC                                                315 Woodfield Dr                                              Easley           SC            29642
  Quales, Christian                                              Address Redacted
  Quality Concrete                                               98 Faith Drive                                                Campobello        SC           29322
  Quality Control Solutions, Inc                                 43339 Business Park         Suite 101                         Temecula          CA           92590
  Qualters, Zackary                                              Address Redacted
  Qualtrics, LLC                     Sadie Young                 333 W River Park Drive                                        Provo             UT           84604
  Quanta Laboratories                                            3199 DeLaCruz Blvd                                            Santa Clara       CA           95054
  Quantronix, Inc.                   Cubiscan                    314 S. 200 W.                                                 Farmington        UT           84025
  Quazzo-Elnick, Caroline                                        Address Redacted
                                     DBA Waterlogic Americas,
  Quench USA, Inc.                   LLC                         630 Allendale Road            Suite 200                       King of Prussia   PA           19406
                                     DBA Waterlogic Americas,
  Quench USA, Inc.                   LLC                         PO Box 677016                                                 Dallas            TX           75267
  QUESTRADE Inc                                                  Address Redacted
  QuikGlass                                                      PO Box 446                                                    Easley            SC           29641
  Quincy Greene                                                  Address Redacted
  Quinn, Harrison                                                Address Redacted
  Quinn, Will                                                    Address Redacted
  Quintero, Emilio                                               Address Redacted
  R.S. Hughes Co., Inc.              Adam Guynes                 10639 Glenoaks Blvd                                           Pacoima           CA           91331
  R.S. Hughes Co., Inc.              AJ ADDIS                    10639 Glenoaks Blvd                                           Pacoima           CA           91331
  R.S. Hughes Co., Inc.              LAX ORDERS                  10639 Glenoaks Blvd                                           Pacoima           CA           91331
  R.S. Hughes Co., Inc.                                          10639 Glenoaks Blvd                                           Pacoima           CA           91331
  R.S. Hughes Co., Inc.                                          2405 Verna Court                                              San Leandro       CA           94577
                                                                 8520 NE Alderwood Rd Suite
  R.S. Hughes Company Inc            Bobby Redd                  G                                                             Portland          OR           97720
                                                                                               8520 NE Alderwood
  R.S. Hughes Company Inc.           R.S. Hughes Company Inc     Bobby Redd                    Rd Suite G                      Portland          OR           97720
  R.S. Hughes Company Inc.                                       1162 Sonora Ct                                                Sunnyvale         CA           94086
  R.W. Hatfield Co., Inc.            Proline                     10 Avco Rd                                                    Haverhill         MA           01835
  R+L Carriers                                                   PO Box 10020                                                  Port William      OH           45164-2000
  Raap, Scott                                                    Address Redacted
  Rabade, Sameer                                                 Address Redacted

  Rabbit Copiers, Inc                DBA Rabbit Office Automation 904 Weddell Ct.                                              Sunnyvale         CA           94089
  Rachel Simmons                                                  Address Redacted
  Rackley II, Timothy                                             Address Redacted
  Radiation Protection Services                                   60 Leonard Drive                                             Groton            CT           06340



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                                      Crystal Parr Radio
  Radio Engineering Industries, Inc   Engineering Industries, Inc   6534 L Street                                                 Omaha          NE           68117

  Radio Engineering Industries, Inc   Riley Hays                    6534 L Street                                                 Omaha          NE           68117

  Radio Engineering Industries, Inc   Wilma Fleischmann             6534 L Street                                                 Omaha          NE           68117

  Radio Engineering Industries, Inc. Kevin Herrmann                 6534 L Street                                                 Omaha          NE           68117
  Radius Power, A Division of
  Astrodyne                                                         22895 Eastpark Drive                                          Yorba Linda    CA           92887
  Radwell International Inc.                                        1 Millennium Drive                                            Willingboro    NJ           08046
  Radwell International Inc.                                        PO Box 419343                                                 Boston         MA           02241-9343
  Rafael Hernandez                                                  Address Redacted
  Raghavan, Sundarraman                                             Address Redacted
  Rainbow Sign & Banner, Inc.                                       181 East Riverside Drive                                      Saint George   UT           84790
  Raja, Kamran                                                      Address Redacted
  RAJENDRA PRASAD
  KANDUKURI                                                         Address Redacted
  Raju Mathew, Joel                                                 Address Redacted
  Ralda Marinos                                                     Address Redacted

  Raleigh-Durham Airport Authority    Mervin Augustin               PO Box 80001                                                  Raleigh        NC           27623

  Raleigh-Durham Airport Authority                                  1000 Trade Drive                                              RDU Airport    NC           27623
  Ralphs Store & Trophy Shop                                        PO Box 1524                                                   Seneca         SC           29679-1524
  Ramadan, Eyad                                                     Address Redacted
  Ramaraj, Goutham                                                  Address Redacted
  Ramaraj, Goutham                                                  Address Redacted
  Ramco Electric LTD                                                5-33 Casebridge Ct                                            Toronto        ON           M1B 3J5      Canada
  Ramco Electric Ltd                                                5-33 Casebridge Court         Unit 5                          Toronto        ON           M1B 3J5      Canada
  Ramirez, Andrew                                                   Address Redacted
  Ramirez, Bill                                                     Address Redacted
  Ramirez, Gabriela                                                 Address Redacted
  Ramirez, Jose                                                     Address Redacted
  Ramirez, Marcos                                                   Address Redacted
  Ramirez, Natalie                                                  Address Redacted
  Ramos, Alfonso                                                    Address Redacted
  Ramos, Henry                                                      Address Redacted
  Ramos, Patrick                                                    Address Redacted
  Ramos-Rodriguez, Isabel                                           Address Redacted

  RAMPF Composite Solutions Inc.                                    5295 John Lucas Drive         Unit 5                          Burlington     ON           L7L 6A8      Canada
  Ramsay, Tyra                                                      Address Redacted
  Ramstein, Jason                                                   Address Redacted
  Rand J Feura                                                      Address Redacted
  Randa Solick & Danielle Solick JT
  TEN                               Randa Solick                    Address Redacted



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  Randa Solick & Emily Solick JT
  TEN                               Randa Solick              Address Redacted
  Randall Fish                                                Address Redacted
  Randall W Wells                   Randy Wells Photography   Address Redacted
  Rangarajan, Amar                                            Address Redacted
  Range Energy Inc.                                           1060 La Avenida St.                                              Mountain View   CA           94043
  Rankin Jr., Samuel                                          Address Redacted
  Rankin Publishing, Inc.                                     PO Box 130                                                       Arcola          IL           61910
  Ranu, Victor                                                Address Redacted
  Rapid Global Business Solutions
  Inc.                                                        1200 Stephenson Hwy                                              Troy            MI           48083
  Rapid Product Solutions, Inc                                2240 Celsius Ave               Unit D                            Oxnard          CA           93030
  RAPID Sheet Metal, LLC            Machining Orders          104 Perimeter Road                                               Nashua          NH           03063
  RAPID Sheet Metal, LLC            Neal Topliffe             104 Perimeter Road                                               Nashua          NH           03063
  RAPID Sheet Metal, LLC            Sheet Metal ORDERS        104 Perimeter Road                                               Nashua          NH           03063
  Rassikhin, David                                            Address Redacted
  Rastogi, Nihal                                              Address Redacted
                                                              300 Throckmorton Street,
  RATP Dev USA, Inc.                                          Suite 670                                                        Fort Worth      TX           76102
                                    LEAD TECHNICIAN Rick
  RATP-DEV DC Circulator            Paulsen                   1710 17th St NE                                                  Washington      DC           20002
                                    LEAD TECHNICIAN Rick      3800 Sandshell Drive, Suite
  RATP-DEV DC Circulator            Paulsen                   180                                                              Ft. Worth       TX           76137
  RATP-DEV DC Circulator                                      1710 17th St NE                                                  Washington      DC           20002
                                                              3800 Sandshell Drive, Suite
  RATP-DEV DC Circulator                                      180                                                              Ft. Worth       TX           76137
                                    DBA Dannys Auto Body &
  Raul Higareda                     Paint                     Address Redacted
  Raul Sotolongo                                              Address Redacted
  Raval, Ankur                                                Address Redacted
  Raval, Kalpesh                                              Address Redacted
  Raval, Kaushik                                              Address Redacted
  RAVEN Engineering, Inc.                                     725 S. Glaspie St                                                Oxford          MI           48371
  Ravivenkatesh, Pragadish                                    Address Redacted
  Rawan Lindner                                               Address Redacted
  Ray Products Company, Inc.        Esmeralda Ruvira          1700 Chablis Avenue                                              Ontario         CA           91761
  Ray Products Company, Inc.        Farhad Matin              1700 Chablis Avenue                                              Ontario         CA           91761
  Ray Products Company, Inc.        Gloria Gomez              1700 Chablis Avenue                                              Ontario         CA           91761
                                    Wolf Rifkin, Shapiro,                                    11400 W Olympic Blvd
  Ray Products Company, Inc.        Schulman Rabkin, LLP      Simon Aron, Esq                9th Floor                         Los Angeles     CA           90064
  Ray Products Company, Inc.                                  1700 Chablis Avenue                                              Ontario         CA           91761
  Ray, Felicia                                                Address Redacted
  Ray, Kenneth                                                Address Redacted
  Ray, Tangela                                                Address Redacted
  Raymond Herzog                                              Address Redacted
  Raymond, Kendall                                            Address Redacted
  Rays the Mark Foundation                                    11935 Pasco Trails Blvd                                          Spring Hill     FL           34610



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  Razorfrog Web Design LLC       Max Elman                 1032 Irving St                 Suite 984                         San Francisco     CA           94122
  Razorfrog Web Design LLC       Max Elman                 153 Wool Street                                                  San Francisco     CA           94110
  Razorleaf Corporation                                    3732 Fishcreek Rd.             Suite 291                         Stow              OH           44224
  RBI Solar, Inc.                Tim Flick                 5513 Vine Street                                                 Cincinnati        OH           45217
  RCM Security Consulting                                  10506 El Comal Drive                                             San Diego         CA           92124
  RDU Accounts Payable                                     PO Box 80001                                                     Raleigh           NC           27623
  RDU Airport Authority                                    PO Box 80001                                                     RDU Airport       NC           27623
  RDU Legal                                                1000 Trade Drive                                                 Morrisville       NC           27560
  Re Transportation Inc                                    855 Ridge Lake Blvd                                              Memphis           TN           38120
  Reale, Philip                                            Address Redacted
  Real-Time Marketing, LTD                                 3100 Main St.                  # 510                             Dallas            TX           75226
  Realwear, Inc                                            600 Hatheway Road              Suite 105                         Vancouver         WA           98661
  Reaves, Carla                                            Address Redacted
  Rebecca Apostoli                                         Address Redacted
  Rebecca M Swenson                                        Address Redacted
  Recaro North America, Inc.     Ana Monsivais             Lockbox #774916                4916 Solution Center              Chicago           IL           60677-4009
  Recaro North America, Inc.     Brett Kielman             Lockbox #774916                4916 Solution Center              Chicago           IL           60677-4009
  Recaro North America, Inc.                               Lockbox #774916                4916 Solution Center              Chicago           IL           60677-4009
  Recaro North America, Inc.                               Lockbox # 778706                                                 Chicago           IL           60677
  Receiver General of Canada                               11 Laurier Street                                                Gatineau          QC           K1A 0S5    Canada
  Recognition and Awards, Inc.   Richard Lachman           1856 Johns Drive                                                 Glenview          IL           60025

  Recology San Mateo County      General Manager, Evan Boyd 225 Shoreway Road                                               San Carlos        CA           94070
  Recology San Mateo County                                 PO Box 512268                                                   Los Angeles       CA           90051-0268
  Recology San Mateo County                                 PO Box 848268                                                   Los Angeles       CA           90084-8268
  Rector and Visitors of the
  University of Virginia         Connor W. Symons          800 E. Canal St.                                                 Richmond          VA           23219
  Rector and Visitors of the
  University of Virginia                                   1001 N. Emmet St                                                 Charlottesville   VA           22904
  Rector and Visitors of the
  University of Virginia                                   P.O. Box 400225                                                  Charlottesville   VA           22904
  Recycle Away, LLC              Trashcans Warehouse       35 Frost Street                                                  Brattleboro       VT           05301
  Red Canyon Transit                                       3575 LARIAT RD.                                                  PARK CITY         UT           84098
  Red Pepper Software, LLC                                 2436 W 700 S Ste 202                                             Pleasant Grove    UT           84062
  Red Points Enterprises, LLC    Sandhya M Sahai           334 Cornelia St.               Suite 350                         Plattsburgh       NY           12901
  Red Points Enterprises, LLC                              334 Cornelia St, # 350                                           Plattsburgh       NY           12901
  Red Points Enterprises, LLC                              334 Cornelia St.               Suite 350                         Plattsburgh       NY           12901

  Red Wing Brands of America, Inc. DBA Red Wing Shoe       1135 El Camino Real                                              Millbrae          CA           94030

  Red Wing Brands of America, Inc. DBA Red Wing Shoe       DBA Red Wing Shoe              1135 El Camino Real               Millbrae          CA           94030

  Red Wing Brands of America, Inc. DBA Red Wing Shoe       PO Box 844329                                                    Dallas            TX           75284-4329
  Redden, Timothy                                          Address Redacted
  Redding Area Bus Authority
  (RABA)                                                   777 Cypress Avenue                                               Redding           CA           96001
  RedE Parts Inc.                  Patience Paine          2250 N. Opdyke Rd.                                               Auburn Hills      MI           48326



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  RedE Parts Inc.                                                    2250 N. Opdyke Rd.                                              Auburn Hills    MI           48326
  Redline Detection, LLC                                             828 W Taft Ave                                                  Orange          CA           92865
  Redmond, Michael                                                   Address Redacted
  Redwood Materials, Inc                                             2801 Lockheed Way                                               Carson City     NV           89706
  Reed II, Michael                                                   Address Redacted
  Reeder, Mary                                                       Address Redacted
  Reel Power Wire & Cable Inc.                                       PO Box 679037                                                   Dallas          TX           75367
  Reelcraft Industries Inc.                                          2842 E Business Hwy 30                                          Columbia City   IN           46725
  Reelcraft Industries Inc.                                          PO Box 775468                                                   Chicago         IL           60677-5468
  Regents of the University of
  California alias University of     University of California, San
  California, San Diego              Diego                           9500 Gilman Drive                                               La Jolla        CA           92093-0953

  Regional Air Quality Council                                       1445 Market Street, Suite 260                                   Denver          CO           80202
  Regional Idealease of Rochester,
  LLC                                Jason Carello                   PO Box 247                                                      Buffalo         NY           14225
  Regional Material Handling &
  Supply Inc.                                                        2711 Middleburg Dr.                                             Columbia        SC           29204
  Regional Transportation            Bill Thomas, RTC Executive
  Commission of Washoe County        Director                        1105 Terminal Way                                               Reno            NV           89502
  Regional Transportation
  Commission of Washoe County        Christian Schonlau              1105 Terminal Way                                               Reno            NV           89502
  Regional Transportation
  Commission of Washoe County        Mark T. Power                   Thompson Coburn LLP             488 Madison Avenue              New York        NY           10022
  Regional Transportation
  Commission of Washoe County                                        1105 Terminal Way               PO Box 30002                    Reno            NV           89502
  Regional Transportation
  Commission of Washoe County                                        1105 Terminal Way                                               Reno            NV           89502
  Regional Transportation                                            1105 Terminal Way, Suite
  Commission of Washoe County                                        300                                                             Reno            NV           89502
  Regional Transportation
  Commission of Washoe County                                        PO Box 30002                                                    Reno            NV           89520
  Regus Corporation                  Regus Management Group          901 Main Street                                                 Dallas          TX           75284
  Reid Thompson                                                      Address Redacted
  Reid, Tyler                                                        Address Redacted
  Reid, Vincent                                                      Address Redacted

  Reliable Fire Equipment Co         DBA Reliable Fire & Security    12845 S Cicero Ave.                                             Alsip           IL           60803
  Reliance Worldwide Distribution
  (Europe) Limited                                                   Ludwig-Erhard-Allee 30                                          Bielefeld                    33719        Germany
  Reliant Labs, Inc.                                                 925 Thompson Place                                              Sunnyvale       CA           94085
  RELX Inc. DBA LexisNexis                                           313 Washington St               Suite 400                       Newton          MA           02458
  RELX Inc. dba LexisNexis                                           9443 Springboro Pike                                            Miamisburg      OH           45432
  REMA USA LLC                       Daniela Thames                  385 South Woods Drive                                           Fountain Inn    SC           29644
  REMA USA LLC                       Kalyn Baker                     385 South Woods Drive                                           Fountain Inn    SC           29644

  REMA USA LLC                       Stanley H. McGuffin, Esq.       Haynsworth Sinkler Boyd, PA PO Box 11889                        Columbia        SC           29211-1889



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  REMA USA LLC                                               385 South Woods Drive                                                 Fountain Inn    SC           29644
  Remarc Manufacturing, Inc.        Charlene Norvell         1995 Tampa Street                                                     Reno            NV           89512
  Remegio L Suguitan JR                                      Address on File
  Rendezvous Services LLC dba
  Dustin Goodwin                                             306 Garfield Place            Apt 2R                                  Brooklyn        NY           11215
  Renewable Design Associates,
  LLC                               Alan Watts               46 Sardis Rd                                                          Asheville       NC           28806-9545
  Renewable Design Associates,
  LLC                                                        46 Sardis Rd.                                                         Asheville       NC           28806-9545
  Renewable Energy Vermont          Ansley Bloomer           PO Box 1036                                                           Montpelier      VT           05601
  Renewable Energy Vermont                                   33 Court Street                                                       Montpelier      VT           05602
  Renfrow Brothers                                           855 Gossett Rd                                                        Spartensburg    SC           29307
  Reno, Thomas                                               Address Redacted
  Renteria, Oscar                                            Address Redacted
  Republic Services #744                                     18500 North Allied Way                                                Phoenix         AZ           85054
  Republic Services #744                                     PO Box 9001099                                                        Louisville      KY           40290-1099
  Research Triangle Regional Public                                                                                                Research
  Transportation Authority          GoTriangle               4600 Emperor Blvd             Attn Accts Receivable                   Triangle Park   NC           27709
  Research Triangle Regional Public                          4600 Emperor Boulevard,
  Transportation Authority                                   Suite 101                                                             Durham          NC           27703
  Resolution Graphics, Inc.                                  3770 Dunlap Street            North                                   Arden Hills     MN           55112
  Resolution Graphics, Inc.                                  LB 7376                       PO Box 9438                             Minneapolis     MN           55440-9438
  Resource Intl Inc.                Mishimoto Automotive     7 Boulden Circle                                                      New Castle      DE           19720
  Resource Intl. Inc.               DBA Mishimoto            18 Boulden Circle             Suite 10                                New Castle      DE           19720
                                                                                           18 Boulden Circle
  Resource Intl. Inc.              DBA Mishimoto             DBA Mishimoto                 Suite 10                                New Castle      DE           19720

  Resource Intl. Inc.              DBA Mishimoto             QS / INQUIRY QS / INQUIRY 18 Boulden Circle           Suite 10        New Castle      DE           19720
  Resource Intl. Inc.                                        6350 Presidential Gateway                                             Columbus        OH           43231
  Resources Connection, Inc.       DBA Sitrick Group, LLC    11999 San Vicente Blvd     Penthouse                                  Los Angeles     CA           90049
                                                             17101 Armstrong Ave. Suite
  Resources Connection, Inc.       DBA Sitrick Group, LLC    100                                                                   Irvine          CA           92614
  Resources Connection, Inc.       DBA Sitrick Group, LLC    PO Box 740909                                                         Los Angeles     CA           90074
  Restek Corporation                                         110 Benner Circle                                                     Bellefonte      PA           16823
  Restek Corporation                                         PO Box 4276                                                           Lancaster       PA           17604
  Restoration Services of the
  Carolinas                        Rainbow International     1341 Rutherford Road                                                  Greenville      SC           29609

  Retirement Funding Advisors, LLC                           PO Box 17262                                                          Greenville      SC           29606
  Reverse Engineering Inc          Quality Inspection        668 Parkridge Ave                                                     Norco           CA           92860
                                                             17304 Preston Road, Suite
  Rexan USA LLC                    Thinakar Nadar            800                                                                   Dallas          TX           75252
  Reyco Granning LLC               Billing Lisa Snitker      1205 Industrial Park Drive                                            Mt. Vernon      MO           65712
  Reyco Granning LLC               Billing Lisa Snitker      PO Box 88463                                                          Chicago         IL           60680
  Reyco Granning LLC               SALES Scott Ames          1205 Industrial Park Drive                                            Mt. Vernon      MO           65712
  Reyco Granning LLC               SALES Scott Ames          PO Box 88463                                                          Chicago         IL           60680
  Reyes, Amanda                                              Address Redacted



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  Reyes, Joaquin                                                   Address Redacted
  Reyes, Juan                                                      Address Redacted
  Reyes, Miko                                                      Address Redacted
  Reyes, Natalie                                                   Address Redacted
  Reyes, Ruben                                                     Address Redacted
  Reyes, Steven                                                    Address Redacted
  Reyes, William                                                   Address Redacted
  Reynolds Mirth Richards & Farmer                                 10180 101 Street NW, Suite
  LLP                              Shauna N. Finlay                3200                                                           Edmonton         AB           T5J 3W8      Canada
  Reynolds, Eric                                                   Address Redacted
  Reynolds, Jarvis                                                 Address Redacted
  Reynolds, Robert                                                 Address Redacted
  Reynoso, Ariadna                                                 Address Redacted

  RFID Canada, Inc.                                                25 Valleywood Drive, Unit 19                                   Markham          ON           L3R 5L9      Canada
  RGA Office of Architectural
  Design, Inc.                                                     15231 Alton Parkway            Suite 100                       Irvine           CA           92618
  Rhino Assembly Company, LLC                                      7575-A West Winds Blvd                                         Concord          NC           28027

  Rhode Island Department of State                                 148 West River Street                                          Providence       RI           02904-2615

  Rhode Island Division of Taxation                                One Capitol Hill                                               Providence       RI           02908

  Rhode Island Division of Taxation                                One Capitol Hill               Suite 36                        Providence       RI           02908
  Rhode Island Office of the General
  Treasurer                          Unclaimed Property Division   50 Service Ave                                                 Warwick          RI           02886
  Rhode Island Public Transit        WARRANTY OFFICER
  Authority                          Thomas Cabral                 705 Elmwood Ave                                                Providence       RI           02907
  Rhodes, Fernando                                                 Address Redacted
  Rhodes, Letecia                                                  Address Redacted
  Rhodes, Lori                                                     Address Redacted
  Rhodes, LORI                                                     Address Redacted
  Rhodes, Shiniquia                                                Address Redacted
                                     Kimberly Tom Accounts
  Rhombus Energy Solutions           Payable                       12245 World Trade Dr.          Suite G                         San Diego        CA           92128
                                     Pat Ackerman Accounts
  Rhombus Energy Solutions           Payable                       12245 World Trade Dr.          Suite G                         San Diego        CA           92128
  Rhombus Energy Solutions           RUSSELL PULTER                12245 World Trade Dr.          Suite G                         San Diego        CA           92128
  Rhombus Energy Solutions           Scott Stromenger              10915 Technology Pl                                            San Diego        CA           92127
  Rhombus Energy Solutions                                         10915 Technology Place                                         San Diego        CA           92127

  Rhombus Energy Solutions                                         15301 Century Dr, Suite 204                                    Dearborn         MI           48120
  Rhombus Energy Solutions, Inc.      Attn Kim Tom                 10915 Technology Place                                         San Diego        CA           92127

  Rhombus Energy Solutions, Inc.      Dickinson Wright PLLC        424 Church Street, Suite 800                                   Nashville        TN           37219
                                                                                                  500 Woodward Ave.
  Rhombus Energy Solutions, Inc.      James A. Plemmons            Dickinson Wright PLLC          Suite 4000                      Detroit          MI           48226



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  Ricasata, Ricardo                                              Address Redacted
  Rice, JaMarcus                                                 Address Redacted
  Rice, Marcus                                                   Address Redacted
  Richard Coleman                                                Address Redacted
  Richard Fiore                                                  Address Redacted
  Richard Huibregtse                                             Address Redacted
  Richard L Adamick                                              Address Redacted
  Richard L. Woller                                              Address Redacted
  Richard M. Van Der Linden                                      Address Redacted
  Richard N. Altieri                                             Address Redacted
  Richard P. Cleys & Kathleen A
  Cleys JTWRS                       Richard & Kathy Cleys        Address Redacted
  Richard Schwartz                  DBA J and .R Graphics, Co.   Address Redacted
  Richard Wade Schick                                            Address Redacted
  Richards, Layton & Finger, P.A.                                One Rodney Square              920 North King Street              Wilmington     DE           19801
                                                                 1950 S Batavia Ave, Suite
  Richardson RFPD Inc.                                           100                                                               Geneva         IL           60134
  Richardson, Scott                                              Address Redacted
  Richter, Patrick                                               Address Redacted
  Ricketts Case, LLP                Chris Phillips               2800 North Central Ave         Suite 1910                         Phoenix        AZ           85004
  Ricketts Case, LLP                Hope Case                    2800 North Central Ave         Suite 1910                         Phoenix        AZ           85004
  Ricketts Case, LLP                Jessica Talavera-Rauh        2800 North Central Ave         Suite 1910                         Phoenix        AZ           85004

  Ricketts Case, LLP                                             2800 N Central Ave Ste 1910                                       Phoenix        AZ           85004-1241
  Ricks Sewer & Drain Inc                                        305 Seminole Drive                                                Simpsonville   SC           29680
  Ricks, Ronnie                                                  Address Redacted
  Rico, Sergio                                                   Address Redacted
                                    BACK UP FOR NICK RICON
  RICON CORPORATION                 CORPORATION            PO Box 100936                                                           Pasadena       CA           91189-0936
  RICON CORPORATION                 COREY THOMAS           PO Box 100936                                                           Pasadena       CA           91189-0936
  RICON CORPORATION                 ERICKA MAYORGA         PO Box 100936                                                           Pasadena       CA           91189-0936
  RICON CORPORATION                                        PO Box 100936                                                           Pasadena       CA           91189-0936
  Ricon Corporation                                        1135 Aviation Pl                                                        San Fernando   CA           91340
  Ricon Corporation                                        PO Box 778991                                                           Chicago        IL           60677
  Ridings, Jeffrey                                         Address Redacted
  Riegel, Jordan                                           Address Redacted
  Rigel Gjomemo                                            Address Redacted
  Right Freight Solutions, Inc                             110 Virginia Place                                                      Fayetteville   GA           30214
  Right Management Inc.                                    100 Manpower Place                                                      Milwaukee      WI           53212
  RightStar Systems                                        1951 Kidwell Drive                   Suite 110                          Vienna         VA           22182
  Rin Jr., Sareth                                          Address Redacted
  Rincon Power, LLC                 Justin McAllister      6381 Rose Lane, STE A                                                   Carpinteria    CA           93013
  RingCentral, Inc.                                        20 Davis Drive                                                          Belmont        CA           94002
  RingCentral, Inc.                                        PO Box 734232                                                           Dallas         TX           75373-4232
  Rinkuben Jaiswal                                         Address Redacted
  Rios Velasco, Fernando                                   Address Redacted




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  Ritch Haselden                                             Address on File
  Ritz Safety LLC                  Slate Rock Safety         755 W Smith Rd.              Unit C                            Medina        OH               44256
  Rivaracing.com                   Jami Kerrigan             3671 North Dixie Hwy                                           Pompano Beach FL               33064
  Rivaracing.com                                             3671 North Dixie Hwy                                           Pompano Beach FL               33064
  Rivas, Antonio                                             Address Redacted
  River Park Inc                   Cliff Dittman             21953 Protecta Dr                                              Elkhart           IN           46516
  River Park Inc                   Tia Hocking               21953 Protecta Dr                                              Elkhart           IN           46516
  River Park Inc                                             21953 Protecta Dr                                              Elkhart           IN           46516
  Rivera Jr., William                                        Address Redacted
  Rivera Lopez, Eddy                                         Address Redacted
  Rivera, Angelo                                             Address Redacted
  Rivera, Carlos                                             Address Redacted
  Rivera, Gabriel                                            Address Redacted
  Rivera, Jeremy                                             Address Redacted
  Rivera, Jomar                                              Address Redacted
  Rivera, Marikit                                            Address Redacted
  Rivera, Martin                                             Address Redacted
  Rivera, William                                            Address Redacted
  Riverlink                                                  PO Box 16799                                                   Austin            TX           78761-6799
  Riverside Mfg., LLC              JAMIE BLAKE               PO Box 6069                  Dept 203                          Indianapolis      IN           46206-6069
  Riverside Mfg., LLC              STACI HOWARD              PO Box 6069                  Dept 203                          Indianapolis      IN           46206-6069
  Riverside Mfg., LLC                                        PO Box 6069                  Dept 203                          Indianapolis      IN           46206-6069
  Riverwood Associates, LLC                                  4756 Promontory Court                                          Dunwoody          GA           30338
  Rivian Automotive, LLC                                     100 N. Rivian Motorway                                         Normal            IL           61761
  Rizzuti, Christopher                                       Address Redacted
  RLJ SERVICE LLC                                            128 Milestone Way                                              Greenville        SC           29615
  RLS Fleet Services, LLC          DBA Capitol Coachworks    201 Ritchie Rd, Bldg A                                         Capitol Heights   MD           20743
  Roberson, James                                            Address Redacted
  Robert Oltean                                              Address Redacted
  Robert Benjamin Leinbach                                   Address Redacted
  Robert Bernardino                Webull Financial LLC      Robert Bernardino            44 Wall St Suire 501              New York          NY           10005
  Robert Bernardino                                          Address Redacted
  Robert Bourcheau                 Mr. Bs CDL Testing        Address Redacted
  Robert Brooks                                              Address Redacted
  Robert D Burns                                             Address Redacted
  Robert Frank Whatley                                       Address Redacted
  Robert Giuditta                                            Address Redacted
  Robert H. Wager Company, Inc.                              570 Montroyal Road                                             Rural Hall        NC           27045
                                   Attn Amber Baptiste,
  Robert Half                      Recovery Dept             2613 Camino Ramon                                              San Ramon         CA           94583
  Robert Half International Inc.                             1850 Gateway Dr STE 200                                        San Mateo         CA           94404
                                                             12400 Collections Center
  Robert Half Internationals                                 Drive                                                          Chicago           IL           60693
  Robert Ian Macpherson                                      Address Redacted

  Robert P Stevens                 DBA The Stevens Group, LLC Address Redacted



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  Robert P. Puskuldjian                                      Address Redacted
  Robert Salanski                                            Address Redacted
  Robert Shapiro                                             Address Redacted
                                    Merrill Lynch Wealth
  Robert Y Murray                   Management               Address Redacted
  Robert Y Murray                                            Address Redacted
  Roberts Tours and Transportation,
  Inc.                              Aaron Kimura             680 Iwilei Road, Suite 700                                      Honolulu            HI           96817
  Robertshaw Controls Company                                1222 Hamilton Parkway                                           Itasca              IL           60143
  Robertson, Eric                                            Address Redacted
  Robins Woodwork, Inc.                                      8035 East Crystal Drive                                         Anaheim             CA           92807
  Robinson III, Rogers                                       Address Redacted
  Robinson Jr., Gene                                         Address Redacted
  Robinson Jr., Rogers                                       Address Redacted
  Robinson, Marcus                                           Address Redacted
  Robinson, Zion                                             Address Redacted
  Robinson-Berry, Joan                                       Address Redacted
  Roble, Elizabeth                                           Address Redacted
  Rocha, Johnny                                              Address Redacted
  Rochester Electromics, LLC                                 PO Box 847983                                                   Boston              MA           02284-7983
  Rochester Hills Executive Park
  Owners Association                                         2 Towne Square                  Suite 850                       Southfield          MI           48076
  Rock Hill South Carolina                                   757 S. Anderson Rd.                                             Rock Hill           SC           29730
  Rock Island County Metropolitan
  Mass Transit District                                      1515 River Drive                                                Moline              IL           61265
  Rock Island Metropolitan Mass
  Transit                                                    1515 River Drive                                                Moline              IL           61265
  Rock Island Metropolitan Mass
  Transit                                                    4501 4th Avenue                                                 Rock Island         IL           61265
  Rock Region Metro                                          901 Maple Street                                                North Little Rock   AR           72114

  Rockville Radiator Shop, Inc.                              14630 Southlawn Ln St G& H                                      Rockville           MD           20850-7305
  Rocky Mountain Driveline                                   6295 W 55th Avenue                                              Arvada              CO           80002
  Rodden, Kevin                                              Address Redacted
  Rodrigues, Lindsey                                         Address Redacted
  Rodrigues, Roschmann                                       Address Redacted
  Rodriguez, Alexander                                       Address Redacted
  Rodriguez, Christopher                                     Address Redacted
  Rodriguez, Jessica                                         Address Redacted
  Rodriguez, Joseph                                          Address Redacted
  Rodriguez, Larry                                           Address Redacted
  Rodriguez, Michael                                         Address Redacted
  Rodriguez, Oscar                                           Address Redacted
  Rodriguez, Rikki                                           Address Redacted
  Rodriguez, Sergio                                          Address Redacted
  Rodriguez, The Estate of Marco                             Address Redacted
  Roger Matthews                                             Address Redacted



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  Roger Wire EDM                                             Address Redacted
  Rogers Corporation                                         Afrikalaan 188                                                       Gent                         9000         Belgium
  Rogers Corporation                                         26995 Network Place                                                  Chicago         IL           60673
  Rogers Joseph ODonnell                                     311 California Street            10th Floor                          San Francisco   CA           94104
  Rogers, William                                            Address Redacted

  Rohde & Schwarz USA, Inc                                   6821 Benjamin Franklin Drive                                         Columbia        MD           21046
  Rohde & Schwarz USA, Inc                                   PO Box 5120                                                          Carol Stream    IL           60197-5120
  Rojas Moreno, Aurora                                       Address Redacted
  Roland Gehrke                                              Address Redacted
  Rolleri, Judith Anne                                       Address Redacted
  Rome Truck Parts & Repair, Inc.                            241 Dempsey Dairy Rd.                                                Rome            GA           30161
  Romeo Rim, Inc.                   LAURIE COLLINS           74000 Van Dyke Rd.                                                   Romeo           MI           48065
  Romeo RIM, Inc.                   Michelle M Bourdage      7400 Van Dyke Rd                                                     Romeo           MI           48065
  Romeo Rim, Inc.                   MIKE ROBINSON            74000 Van Dyke Rd.                                                   Romeo           MI           48065
  Romeo Rim, Inc.                   NIKI LOUWSMAN            74000 Van Dyke Rd.                                                   Romeo           MI           48065
  Romeo Rim, Inc.                                            74000 Van Dyke Rd.                                                   Romeo           MI           48065
  Romero Sr., Michael                                        Address Redacted
  Romero, Marvin                                             Address Redacted
  Ron LaBrada                                                Address Redacted

  Ron Whites Air Compressor Sales DBA RWI Industrial         4019 S. Murray Ave                                                   Anderson        SC           29624

  Ron Whites Air Compressor Sales DBA RWI Industrial         DBA RWI Industrial               4019 S. Murray Ave                  Anderson        SC           29624
  Ron Whites Air Compressor
  Sales, Inc.                     Jessica Harris             4019 S. Murray Ave.                                                  Anderson        SC           29624
  Ron Whites Air Compressor                                                                   1901 Sixth Ave N Suite
  Sales, Inc.                     Maynard Nexsen P.C.        Wes Bulgarella                   1700                                Birmingham      AL           35209
  Ron Whites Air Compressor                                  1901 Sixth Ave. N., Suite
  Sales, Inc.                     Ryan D. Thompson, Esq.     1700                                                                 Birmingham      AL           35203
  Ron Whites Air Compressor
  Sales, Inc.                                                4019 S. Murray Ave.                                                  Anderson        SC           29624

  Ron Whites Air Compressors, Inc   Brittany Moore           4019 S Murray Ave                                                    Anderson        SC           29626
  Ronald L. Book, PA                                         Address Redacted
  Ronald Morrrison                                           Address Redacted
  Ronald P Garcia                                            Address Redacted
  Ronald W Durrant                                           Address Redacted
  Ronald William Galla                                       Address Redacted
  Rong Le                                                    Address Redacted
  Rong Le                                                    Address Redacted
  Ronnie Maxey II                   DBA Maxi-Clean           Address Redacted
  Rosco Collision Avoidance, Inc.                            90-21 144th Pl.                                                      Jamaica         NY           11435
  ROSCO, INC.                       Awounda Mitchell         90-21 144th Pl.                                                      Jamaica         NY           11435
  ROSCO, INC.                       AZEEM KHAN               90-21 144th Pl.                                                      Jamaica         NY           11435
  ROSCO, INC.                       LEENA VIDAL              90-21 144th Pl.                                                      Jamaica         NY           11435
  Rose Tse                                                   Address Redacted



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  Rosen Centre Inc.                                              4000 Destination Parkway                                         Orlando            FL           32819
  Rosen Centre Inc.                                              9840 International Drive                                         Orlando            FL           32819
  Rosenberger GmbH & Co. KG           FRANZISKA HOGGER           Haupstrasse 1                                                    83413 Fridolfing                          Germany
  Rosenberger GmbH & Co. KG                                      Haupstrasse 1                                                    83413 Fridolfing                          Germany
  Roseville Transit                                              316 Vernon Street               Suite 150                        Roseville          CA           95678
  Rotaloc International LLC                                      9903 Titan Ct #15                                                Littleton          CO           80125
  Rotaloc Intl, LLC                   Kevin Krause               9903 Titan Ct.                  Suite 15                         Littleton          CO           80125
  Rotaloc Intl, LLC                   Megan Frank                9903 Titan Ct.                  Suite 15                         Littleton          CO           80125
  Rotaloc Intl, LLC                   MIKE CLANCY                9903 Titan Ct.                  Suite 15                         Littleton          CO           80125
  Rotaloc Intl, LLC                                              9903 Titan Ct.                  Suite 15                         Littleton          CO           80125
  Rothell, Chris                                                 Address Redacted
  Roto Power, Inc                                                191 Granite Street              Suite A                          Corona             CA           92879

  Roto Rooter                                                    5672 Collections Center Drive                                    Chicago            IL           60693
  Rouleau, Stephen                                               Address Redacted
  Roush & Yates Racing Engines        DBA Roush Yeates
  LLC                                 manufacturing Solutions    112 Byers Creek Road                                             Mooresville        NC           28117
  Roush & Yates Racing Engines        DBA Roush Yeates
  LLC                                 manufacturing Solutions    PO Box 3788                                                      Mooresville        NC           28117
  Roush CleanTech, LLC                                           12170 Globe Street                                               Livonia            MI           48150
  Roush Industries Inc                                           12445 Levan Road                                                 Livonia            MI           48150
  ROUSH INDUSTRIES, INC.                                         28330 Plymouth Rd.              Roush Docket No. 81              Livonia            MI           48150
  ROUSH INDUSTRIES, INC.                                         333 Republic Drive                                               Allen Park         MI           48101
  ROUSH INDUSTRIES, INC.                                         B502-S&R                        28330 Plymouth Rd.               Livonia            MI           48150
                                      CORP. CONTROLLER A.J.      1230 Peachtree Street NE,
  Routematch Software, Inc.           Dote                       Suite 2800                                                       Atlanta            GA           30309
                                                                 1230 Peachtree Street NE,
  Routematch Software, Inc.           Dale Kartushyn             Suite 2800                                                       Atlanta            GA           30309
                                                                 1230 Peachtree Street NE,
  Routematch Software, Inc.           Eddie Anderson             Suite 2800                                                       Atlanta            GA           30309
                                                                 1230 Peachtree Street NE,
  Routematch Software, Inc.                                      Suite 2800                                                       Atlanta            GA           30309
  Rowland, Sophia                                                Address Redacted
  Roy Metal Finishing Co, Inc.        John Murphy                1515 Old Grove Road                                              Piedmont           SC           29673
  Roy, Meredith                                                  Address Redacted
  Royal, Margaret                                                Address Redacted
  Royce Digital Systems, Inc.         ACCTS. REC. Bob Pavlovic   8697 Research Dr.                                                Irvine             CA           92618
  Royce Digital Systems, Inc.                                    8697 Research Dr.                                                Irvine             CA           92618
  RR Franchising, Inc.                                           6281 Beach Blvd.                Suite 225                        Buena Park         CA           90621
                                      RS (formerly Allied        7151 Jack Newell Blvd.,
  RS Americas, Inc.                   Electronics)               South                                                            Fort Worth         TX           76118
                                                                                                                                  South San
  RS Erection North Peninsula, Inc.                              133 South Linden Avenue                                          Francisco          CA           94080
  RST Electrical & Mechanical
  Contractors, Inc.                                              6035 Dix Street NE                                               Washington         DC           20019
                                                                 945 East Paces Ferry Road
  RSUI Indemnity Company                                         NE, Suite 1800                                                   Atlanta            GA           30326



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  Ruano, Joel                                                       Address Redacted
  Ruby Wade                                                         Address Redacted
  Ruch, Josh                                                        Address Redacted
  Rudco Products, Inc.                                              114 East Oak Road                                               Vineland        NJ            08361
  Ruffer, Kyle                                                      Address Redacted
  Ruiying Wang                                                      Address Redacted
  Ruiz Jr., Anthony                                                 Address Redacted
  Ruiz Jr., Hector                                                  Address Redacted
                                      Roman Otkupman , Nidah                                     5743 Corsa Ave., Ste.
  Ruiz, Hector                        Farishta                      Otkupman Law Firm            123                                Westlake Village CA           91362
  Ruiz, Jesus                                                       Address Redacted
  Ruiz, Thomas                                                      Address Redacted
  Rumbaugh, Kevin                                                   Address Redacted
  Rumph, Autumn                                                     Address Redacted
  Runyon, John                                                      Address Redacted
  Rupert H. Johnson, Jr                                             One Franklin Parkway                                            San Mateo       CA            94403-1906
  Rushabh Mehta                                                     Address Redacted
  Russell K Nilsen                                                  Address Redacted

  Russell Reynolds Associates, Inc.                                 277 Park Avenue              Suite 3800                         New York        NY            10172
  Russell Scott Davis                                               Address Redacted
  Russell, Lynwood                                                  Address Redacted
  Russell, Preston                                                  Address Redacted
  Rusty Sours                                                       Address Redacted
                                                                    18575 Jamboree Road 9th
  Rutan & Tucker, LLP                                               Floor                                                           Irvine          CA            92612
                                                                    18575 Jamboree Road, 9th
  Rutan and Tucker, LLP               Roger F. Friedman             Flr.                                                            Irvine          CA            92612
  Ruth Keizer                                                       Address Redacted
  Rutledge, Justin                                                  Address Redacted
  Rutlen Associates                                                 1100 Broadway # 7216                                            Redwood City    CA            94063
  Ruvalcaba, Richard                                                Address Redacted
                                                                                                                                    Green Cove
  RX-M Enterprises LLC                                              411 Walnut Street            #3797                              Springs         FL            32043
  Ryan Beckerleg                                                    Address Redacted
  Ryan C. Popple                                                    Address Redacted
  Ryan Carstens                                                     Address Redacted
                                      DBA Full Circle Productions
  Ryan Croke                          Media                         Address Redacted
  Ryan Flood                                                        Address Redacted
  Ryan Halpern                                                      Address Redacted
  Ryan Hammell                                                      Address Redacted
  Ryan Laughy                                                       Address Redacted
  Ryan McCarty                                                      Address Redacted
  Ryan Michael Vraciu                                               Address Redacted
  Ryan Riches                                                       Address Redacted
  Ryan Watts                                                        Address Redacted



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           CreditorName                  CreditorNoticeName                 Address1                      Address2        Address3         City            State       Zip       Country
  Ryan, Jason                                                      Address Redacted
  Ryder Truck Rental, Inc.                                         PO Box 105366                                                     Atlanta          GA           30348-5366
  Ryerson Denver                                                   24487 Network Place                                               Chicago          IL           60673
  Ryerson, Inc. - Greenville         Ray Werness                   PO Box 905716                                                     Charlotte        NC           28290
  Ryerson, Inc. - Greenville         Sarah Gilbert                 PO Box 905716                                                     Charlotte        NC           28290
  S & A Systems, Inc.                Don Rakow                     992 Sids Road                                                     Rockwall         TX           75032-6512
  S & A Systems, Inc.                                              992 Sids Road                                                     Rockwall         TX           75032
  S & D Products, Inc.                                             1390 Schiferl Rd.                                                 Bartlett         IL           60103
                                                                   34 Ravenswood Lane, Scotch
  S&J Electrical Contractors                                       Plains                                                            Scotch Plains    NJ           07076
                                                                   342 Old Fox Squirrel Ridge
  S&J Industrial Services, LLC                                     Road                                                              Pickens          SC           29671
  S&P GLOBAL MARKET
  INTELLIGENCE LLC                                                 55 WATER ST,                                                      New York         NY           10041
  S. Sterling Company                AMANDA COLLIER                102 International Drive                                           Peachtree City   GA           30269
  S. Sterling Company                CHRIS COOK                    102 International Drive                                           Peachtree City   GA           30269
  S. Sterling Company                                              102 International Drive                                           Peachtree City   GA           30269
  S. Sterling Company                                              102 International Drive                                           Peachtree        GA           30269
                                                                                                   8501 San Leandro
  S.F. Containers                    DBA Steele Fabrication, LLC   S.F. Containers                 Street                            Oakland          CA           94621
  S.M. Adams and Others              Piper Alderman                DX102 Adelaide                  GPO Box 65                        Adelaide                      5001       Australia
  SA Automotive LTD, LLC             DBA SA Engineering            1307 Highview Dr.                                                 Webberville      MI           48892
  SA Automotive LTD, LLC             DBA SA Engineering            DBA SA Engineering              PO Box 536036                     Pittsburgh       PA           15253-5902
  Saad, Mohamad                                                    Address Redacted
  Sable Computer, Inc.               DBA KIS                       48383 Fremont Blvd.             #12                               Fremont          CA           94538
  Sacramento County Airport
  System                                                           Central Warehouse                                                 Sacramento       CA           95837
  Sacramento County Airport
  System Central Warehouse                                         6741 Lindbergh Drive                                              Sacramento       CA           95837
  Sacramento International Airport                                 7207 Earhart Drive                                                Sacramento       CA           95837
  Sacramento Regional Transit
  District                                                         1323 28th Street                                                  Sacramento       CA           95816
  Sacramento Regional Transit
  District                                                         PO Box 2110                                                       Sacramento       CA           95812
  Sacristan-Lagunas, Laura                                         Address Redacted
  Sadowski Jr., George                                             Address Redacted
  SAE International                                                PO Box 536036                                                     Pittsburgh       PA           15253-5902
  SAE International                                                PO Box 79572                                                      Baltimore        MD           21279
  Safe Fleet Bus & Rail              Dan DiSarro                   319 Roske Drive                                                   Elkhart          IN           46516
  Safe Fleet Bus & Rail              Diane Babcox                  319 Roske Drive                                                   Elkhart          IN           46516
  Safe Fleet Bus & Rail              Donna Atwood                  319 Roske Drive                                                   Elkhart          IN           46516

  Safe Fleet Bus & Rail                                            Unit 111, 3B Burbidge Street                                      Coquitlam        BC           V3K 7B2      Canada
  Safe Fleet Bus & Rail                                            319 Roske Drive                                                   Elkhart          IN           46516
  Safe Systems, Inc                                                421 South Pierce Avenue                                           Louisville       CO           80027
  SafeCo Inc.                        DBA Safety Plus Inc           4254 Halls Mill Road                                              Mobile           AL           36693




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                                                                                                                                                                         United
  Safeglass Limited                                          Nasmyth Ave.                  Nasmyth Building                    East Kilbride                G75 0QR      Kingdom
  Safety Supply America, Inc.                                520 Newport Center Dr.        Suite 570                           Newport Beach   CA           92660
                                                             6100 W Sam Houston
  Safety Vision                   EMMA YANCY                 Parkway N                                                         Houston         TX           77041-5113
                                                             6100 W Sam Houston
  Safety Vision                   JEFF TAYLOR                Parkway N                                                         Houston         TX           77041-5113
                                                             6100 W Sam Houston
  Safety Vision                   KIRK JOHNSON               Parkway N                                                         Houston         TX           77041-5113
                                                             6100 W Sam Houston
  Safety Vision                                              Parkway N                                                         Houston         TX           77041-5113
  Safety-Kleen Systems, Inc.                                 PO Box 7170                                                       Pasadena        CA           91109
                                  DBA BrandSafway Solutions, 1325 Cobb International Dr,
  Safway Intermediate Holding LLC LLC                        Suite A-1                                                         Kennesaw        GA           30152
  Sager Electrical Supply Company
  Inc                                                        19 Leona Drive                                                    Middleborough   MA           02346
  Sager Electrical Supply Company
  Inc                                                        PO Box 842544                                                     Boston          MA           02284-2544
  Sai Grover                                                 Address Redacted
  Saia Motor Freight Line, Inc                               PO Box 730532                                                     Dallas          TX           75373
  SailPoint Technologies, Inc                                11120 Four Points Drive       Suite 100                           Austin          TX           78726-2118
                                                                                           North Building - Suite
  Salary.com                                                  610 Lincoln Street           #200                                Waltham         MA           02451
  Salary.com                                                  PO Box 844048                                                    Boston          MA           02284-4048
  Salazar, Jake                                               Address Redacted
  Salazar, Jeffry                                             Address Redacted
  Salazar, Maximiliano                                        Address Redacted
  Salem Tools, Inc                ST Solutions                1602 Midland Road                                                Salem           VA           24153
  Salem, Thomas                                               Address Redacted
  Sales for Life Inc.                                         40 Eglinton Avenue East      Suite 200                           Toronto         ON           M4P 3A2      Canada

  Sales Force                                               415 Mission Street, 3rd Floor                                      San Francisco   CA           94105
  Sales Jr., John                                           Address Redacted
  Salesforce, Inc                                           415 Mission Street            3rd Floor                            San Francisco   CA           94105
  Salesforce, Inc                                           PO Box 203141                                                      Dallas          TX           75320
                                  Attn Lawrence Schwab/Gaye c/o Bialson, Bergen and       830 Menlo Ave., Suite
  Salesforce, Inc.                Heck                      Schwab                        201                                  Menlo Park      CA           94025
  Salim, Ayoub                                              Address Redacted
  Sallyport CF, LLC               c/o Project Genetics      PO Box 4776, #100                                                  Houston         TX           77210-4776
  Salva, Jessica                                            Address Redacted
  Salvador, Theresa                                         Address Redacted
  Salvi, Ameya                                              Address Redacted
  Sam D Villella                                            Address Redacted
  Sambandam Ramanathan                                      Address Redacted
  Sameer Rabade                                             Address Redacted
  Samia, Elias                                              Address Redacted
  Samin Tekmindz Inc.                                       350 Fifth Avenue, 41st Floor                                       New York        NY           10118



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                                                              4677 Old Ironsides Dr., Suite
  Samin Tekmindz Inc.                                         170                                                               Santa Clara       CA           95054
  Samirkumar Varia                                            Address Redacted
  Samsung SDI America, Inc.                                   150-20 Gongsero               Giheung-gu                          Yongsin-Si                     446-577      China
  Samtec Automotive Software &
  Electronics GmbH                                            Saarstr. 17                                                       Filderstadt                    D-70794      Germany
  Samuel Gastelum v. Proterra                                                                 21860 Burbank Blvd.,
  Operating Co., Inc.               Howard Rutten             The Rutten Law Firm, APC        Ste. 340                          Woodland Hills    CA           91367
                                    DBA ArcLight Inspection
  Samuel J Sullivan                 Services, LLC             Address Redacted
  Samuel Mogul                                                Address Redacted
  Samuel, Son & Co                                            24784 Network Place                                               Chicago           IL           60679-1247
  San Antonio, VIA Metropolitan
  Transit                                                     800 West Myrtle                                                   San Antonio       TX           78212
  San Bernardino International
  Airport Authority                                           1601 E Third Street                                               San Bernardino    CA           92408
  San Diego County Regional
  Airport Authority                                           PO Box 82776                                                      San Diego         CA           92138
  San Diego International Airport                             P.O. Box 82776             Marc Nichols                           San Diego         CA           92138
  San Francisco Airport (SFO)                                 14325 W 95th Street                                               Lenexa            KS           66215
  San Francisco Airport (SFO)                                 790 N McDonnell Road                                              San Francisco     CA           94128
                                                              1 Dr. Carlton B. Goodlett
  San Francisco City County                                   Place                      City Hall, Room 430                    San Francisco     CA           94102
                                                              One South Van Ness Ave 8th
  San Francisco City County                                   FL                                                                San Francisco     CA           94103
  San Gabriel Valley Council of
  Governments                                                 1000 S Fremont Avenue           Unit 42                           Alhambra          CA           91803
  San Joaquin Regional Transit
  District                          Brad Menil                421 E Weber Ave                                                   Stockton          CA           95202-3024
  San Joaquin Regional Transit
  District                          Emily Oestreigher         421 E Weber Ave                                                   Stockton          CA           95202-3024
  San Joaquin Regional Transit
  District                                                    221 East North First Street     PO Box 201010                     Stockton          CA           95201
  San Joaquin Regional Transit
  District                                                    421 East Weber Ave              PO Box 201010                     Stockton          CA           95201
  San Joaquin Regional Transit
  District                                                    421 East Weber Avenue           PO Box 201010                     Stockton          CA           95202
  San Joaquin Regional Transit
  District                                                    421 East Weber Ave                                                Stockton          CA           95202
  San Luis Coastal Unified                                    1500 Lizzie Street                                                San Luis Obispo   CA           93401-3062
  San Luis Coastal USD                                        1500 Lizzie St                                                    San Luis Obispo   CA           93401
  San Mateo County Economic
  Development Association           DBA SAMCEDA               1301 Shoreway Rd                Suite 150                         Belmont           CA           94002
  San Mateo County Economic
  Development Association           DBA SAMCEDA               1900 OFarrell Street            Suite 380                         San Mateo         CA           94403
  San Mateo County Environmental
  Health                                                      2000 Alameda De Las Pulgas Suite 100                              San Mateo         CA           94403



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  San Mateo County Neighbors for
  Congestion Relief                                                 20 Park Road, Suite E                                               Burlingame      CA           94010
  San Mateo County Tax Collector                                    1250 San Carlos Ave.                                                San Carlos      CA           94070-2468

  San Mateo County Tax Collector                                    555 County Center - 1st Floor                                       Redwood City    CA           94063
  San Mateo County Tax Collector                                    PO Box 45901                                                        San Francisco   CA           94145-0901
  San Mateo County Transit                                          1250 San Carlos Avenue                                              San Carlos      CA           94070
  San Mateo County Transit District                                                                 1000 4th Street, Ste.
  (SamTrans)                        Emily M. Charley                Hanson Bridgett                 700                                 San Rafael      CA           94901

  San Mateo Union High School
  District, Facilities Use Department                               650 N Delaware Street           Building 3                          San Mateo       CA           94401
  San Patricio Group, Inc., dba
  Aransas Autoplex                                                  2352 W. Wheeler Avenue                                              Aransas Pass    TX           78336
  Sanchez Vargas, Jorge                                             Address Redacted
  Sanchez, Jorge                                                    Address Redacted
  SANCHEZ, KEVIN                                                    Address Redacted
  Sanchez, Victor                                                   Address Redacted
  Sandoval, Juan                                                    Address Redacted
  Sandra Allegan                                                    Address Redacted
  Sandra Brunoli                                                    Address Redacted
  Sandra Kopanon Palmer               Sandra Palmer                 Address Redacted
  Sandy, City of                                                    39250 Pioneer Blvd                                                  Sandy           OR           97055
  Sang Jo Kim                                                       Address Redacted
  Sangave, Ashish                                                   Address Redacted
  Sanjay Hirpara                                                    Address on File
  Sankaran, Sriram                                                  Address Redacted
  Santa Clara Commercial Inc.         Donald Finn                   1585 N 4th Street              Suite R                              San Jose        CA           95112
  Santa Clara Valley Transportation                                 Assistant GM/Chief Financial
  Authority                           Greg Richardson               Officer                        3331 North First St C-2              San Jose        CA           95134
  Santa Clara Valley Transportation                                                                55 South Market Street
  Authority                           Maureen A. Harrington, Esq.   Greenfield LLP                 Suite 1500                           San Jose        CA           95113
  Santa Clara Valley Transportation                                 3331 North First Street, Bldg
  Authority                           Rocky Bal                     B-1                                                                 San Jose        CA           95134-1927
  Santa Clara Valley Transportation                                 3331 North First Street, Bldg
  Authority                                                         B-1                                                                 San Jose        CA           95134-1927
  Santa Clara Valley Transportation                                 3331 North First Street,
  Authority                                                         Building A-PCMM                                                     San Jose        CA           95134-1906
  Santa Clara Valley Transportation                                 3331 N. First Street, Building
  Authority                                                         A                                                                   San Jose        CA           95134-1906
  Santa Clara Valley Transportation
  Authority                                                         3990 Zanker Rd.                                                     San Jose        CA           95134
  Santa Clara Valley Transportation
  Authority                                                         VTA Chaboya Division Yard       2240 S 7th St                       San Jose        CA           95112
  Santa Cruz Marine Services LLC                                    120 Bershire Ave                                                    Santa Cruz      CA           95060
  Santa Cruz METRO                                                  110 Vernon Street                                                   Santa Cruz      CA           95060




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  Santa Cruz Metropolitan Transit
  District                                                      110 Vernon Street                                               Santa Cruz       CA           95060
  Santa Cruz Metropolitan Transit
  District                                                      138 Golf Club Drive                                             Santa Cruz       CA           95060
  Santa Maria Regional Transit                                  1303 Fairway Dr                                                 Santa Maria      CA           93455
  Santiago, Janessa                                             Address Redacted
  Santoyo, Jose                                                 Address Redacted
  Sanz Clima S.L.                   Alejandro Blanco            Ingeniero Torres Quevedo 6                                      Madrid                        28022        Spain
  Sanz Kenway                       Kenway Engineeriing, Inc.   2555 Lake Ave                                                   Fairmont         MN           56031
  Sanz Kenway, Inc.                                             2555 Lake Ave.                                                  Fairmont         MN           56031
  Sapa Profiles Inc.                RAY GOODY                   7933 NE 21st Ave                                                Portland         OR           97211
  Sapa Profiles Inc.                                            7933 NE 21st Ave                                                Portland         OR           97211
  Sarah A Earles                                                Address Redacted
  Sarasty, Stewart                                              Address Redacted
  Sargent Metal Fabricators                                     PO Box 2705                                                     Anderson         SC           29622
  Sargent, Jeannine                                             Address Redacted
  SARKAR, REUBEN                                                Address Redacted
  Sascha Weisbrod                                               Address Redacted
  Sasha Ostojic                                                 Address Redacted
  Satterfield Woodworking Inc                                   1727 Poplar Drive Ext                                           Greer            SC           29651
  Saul Kleiman                                                  Address Redacted
  Saunders, Ryan                                                Address Redacted
  Savalia, Lalit                                                Address Redacted
  Saxon, Randy                                                  Address Redacted
  Say Technologies LLC              Say Communication           245 8th Ave                   Suite 1040                        New York         NY           10011
  Say Technologies LLC                                          85 Willow Road                                                  Menlo Park       CA           94025
  Say Technologies LLC                                          PO Box 23938                                                    New York         NY           10087
  Sayrols Penguelly, Jordi                                      Address Redacted
                                                                1601 East Third Street, Suite
  SBIAA                                                         100                                                             San Bernardino   CA           92408
  SC Commission on CLE                                          PO Box 2138                                                     Columbia         SC           29202
  SC Department of
  Labor,Licensing&Reg                                           PO Box 11329                                                    Columbia         SC           29211
                                                                                                300A Outlet Pointe
  SC Department of Revenue                                      Sales Tax Return                Boulevard                       Columbia         SC           29210
  SC Dept Employment &
  Workforce                                                     PO Box 2644                                                     Columbia         SC           29202
  SC Dept of Motor Vehicle                                      P. O. Box 1498                                                  Blythewood       SC           29016-0023
  SC Dept of Revenue                                            PO Box 2535                                                     Columbia         SC           29202-2535
  SC DHEC                                                       PO Box 100103                                                   Columbia         SC           29202
  SC Mech Solution, Inc.            Jacqueline Nguyen           2241 Paragon Dr.                                                San Jose         CA           95131
  SC Party Rentals LLC                                          106 Willenhall Lane                                             Greenville       SC           29611
  SC State Fire                     State of South Carolina     141 Monticello Trail                                            Columbia         SC           29203
  SC-Coordinating Council for
  Economic Development                                          1201 Main St, STE 1600                                          Columbia         SC           29201
  Schaefer, Ian                                                 Address Redacted
  Schaffner EMC Inc                 Controller Leidy Alba       52 Mayfield Avenue                                              Edison           NJ           08837



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  Schaffner EMC Inc               Tom Larkin                  52 Mayfield Avenue                                             Edison          NJ           08837
  Schaffner EMC Inc                                           52 Mayfield Avenue                                             Edison          NJ           08837
  Schaubach, Marina                                           Address Redacted
  Schaupp, Gregory                                            Address Redacted
  Schawe, Sharon                                              Address Redacted
  Scheib, Kelly                                               Address Redacted
  Scheidt & Bachmann USA, Inc.                                1001 Pawtucket Blvd.                                           Lowell          MA           01854
  Schepmann, Seneca                                           Address Redacted
  Schetky Bus and Van Sales                                   4111 E B Circle                                                Pasco           WA           99301
  Schetky Northwest Sales, Inc.                               8430 NE Killingsworth St.                                      Portland        OR           97220
  Schlarb, Nathan                                             Address Redacted
  Schleich, Christopher                                       Address Redacted
  Schleuniger, Inc                                            87 Colin Drive                                                 Manchester      NH           03103
  Schlumpf USA, Inc.              VP-SALES Doug Jones         39 Enterprise Drive, Suite 1                                   Windham         ME           04062
  Schlumpf USA, Inc.                                          39 Enterprise Drive, Suite 1                                   Windham         ME           04062
  Schmidhauser AG to Bucher
  Hydraulics                      Jonas Schuster              Obere Neustrasse I                                             Romanshom                    CH-8590      Switzerland
  Schneider, Jason                                            Address Redacted
  Schneider, Joshua                                           Address Redacted
  Schneider, Lyndon                                           Address Redacted
  Schobert, Spencer                                           Address Redacted
  Schulte, Jack                                               Address Redacted
  Schultz Controls, Inc.                                      PO Box 5837                                                    Norco           CA           92860
  Schumpert Jr., Roy                                          Address Redacted
                                                                                             120 S. Riverside
  Schunk Carbon Technology LLC    Husch Blackwell LLP         Michael Brandess               Plaza, Suite 2200               Chicago         IL           60606

  Schunk Carbon Technology LLC    Julie Leitner-Audoui        W145N9300 Held Drive                                           Menomonee Falls WI           53051

  Schunk Carbon Technology, LLC   Edward Naczek               W146 N9300 Held Drive                                          Menomonee Falls WI           53051

  Schunk Carbon Technology, LLC   JAVIER CAMARILLO            W146 N9300 Held Drive                                          Menomonee Falls WI           53051

  Schunk Carbon Technology, LLC   Mark Maurice                W146 N9300 Held Drive                                          Menomonee Falls WI           53051

  Schunk Carbon Technology, LLC Terry Leet                    W146 N9300, Held Drive                                         Menomonee Falls WI           53051
  Schwab Retirement Plan Services,
  Inc                                                         9875 Schwab Way                                                Lone Tree       CO           80124
  Schwab, Aaron                                               Address Redacted
  Science Spark                    Lauren Gicas               3663 Lone Dove Lane                                            Olivehain       CA           92024
  Scientific Developments, Inc.    Heather Moffatt            175 S Danebo Ave                                               Eugene          OR           97402
  Scientific Developments, Inc.                               PO Box 2522                                                    Eugene          OR           97402
  Scott Allen Matheny                                         Address Redacted
  Scott Foam Technologies, LLC     Melissa Southerland        1573 HWY 136 West              PO Box 7                        Henderson       KY           42419-0007
  Scott Foam Technologies, LLC     Myka Givens                1573 HWY 136 West              PO Box 7                        Henderson       KY           42419-0007
                                   Tonya Rawlins Scott Foam
  Scott Foam Technologies, LLC     Technologies, LLC          1573 HWY 136 West              PO Box 7                        Henderson       KY           42419-0007



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  Scott II, Charles                                           Address Redacted
  Scott Systems International, Inc   Kristina Gordon          2205 Beltway Blvd            Suite 100                       Charlotte       NC            28214
  Scott Tidwell                                               Address Redacted
  Scott, Ashley                                               Address Redacted
  Scott, Chaunta                                              Address Redacted
  Scott, Michael                                              Address Redacted
  Scott, Mikala                                               Address Redacted

  Scotts Automotive & Tire Service                            6905 Highway 25 N                                            Hodges          SC            29653
  Scottsdale Insurance Company                                8877 N Gainey Center Dr                                      Scottsdale      AZ            85258
  Scoville, Lauren                                            Address Redacted
                                                                                                                                                                      United
  ScreenCloud Inc.                                            24 Holborn Viaduct                                           London                        EC1A 2BN     Kingdom
  Scrogham, Kimberly                                          Address Redacted
  SCRTTC                                                      1963 E Anaheim Street                                        Long Beach      CA            90813
  Scruggs & Son Towing LLC                                    7153 Lone Oak Rd                                             Spartanburg     SC            29303
  Scruggs and Son Transport                                   7153-B Lone Oak Road                                         Spartanburg     SC            29303
  Scruggs, Joe                                                Address Redacted
  SCSI, LLC                                                   8515 N University Street                                     Peoria          IL            61615
                                                              DBA South Carolina
                                                              Technology & Aviation Center
  SCTAC Board of Directors                                    SCTAC                        2 Exchange St                   Greenville      SC            29605
                                                              International Transportation
  SCTAC Board of Directors                                    Innovation Center            5 Hercules Way                  Greenville      SC            29605
  Seagate Plastics Company           Austin Skinner           1110 Disher Drive                                            Waterville      OH            43566
  Seagate Plastics Company           KEVIN FLYNN              1110 Disher Drive                                            Waterville      OH            43566
  Seagate Plastics Company           Laura Fritz              1110 Disher Drive                                            Waterville      OH            43566
  Seagate Plastics Company                                    1110 Disher Drive                                            Waterville      OH            43566
  Seagraves, Lucian                                           Address Redacted

  Seal Methods, Inc                  Alejandra Medina         11915 Shoemaker Avenue                                       Santa Fe Springs CA           90670

  Seal Methods, Inc                  Amanda Manjarrez         11915 Shoemaker Avenue                                       Santa Fe Springs CA           90670

  Seal Methods, Inc                  AYERIM ACOSTA            11915 Shoemaker Avenue                                       Santa Fe Springs CA           90670

  Seal Methods, Inc                                           11915 Shoemaker Avenue                                       Santa Fe Springs CA           90670
                                     C USTOMER SERVICE Erin
  Sea-Land Chemical Co.              Thinschmidt              821 Westpoint Parkway                                        Westlake        OH            44145
  Sea-Land Chemical Co.              Tony Grzejka             821 Westpoint Parkway                                        Westlake        OH            44145
  Sealcon, LLC                       Carol Zander             14853 E. Hinsdale Ave        Suite D                         Centennial      CO            80112
  Sealcon, LLC                                                14853 E. Hinsdale Ave        Suite D                         Centennial      CO            80112
  Sealed Air Corporation (US)                                 2415 Cascade Pointe Blvd.                                    Charlotte       NC            28208
  Sealed Buss Bar LLC                                         PO Box 115                                                   Myakka City     FL            34251
  Sealevel Systems Inc                                        PO Box 830                                                   Liberty         SC            29657
  Sealeze                            ANGELA CLARKE            22465 Network Pl                                             Chicago         IL            60673-2246
  Sealeze                            CYNTHIA TAYLOR           22465 Network Pl                                             Chicago         IL            60673-2246



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  Sealeze                               JOHN COSTAIN                  22465 Network Pl                                                       Chicago        IL           60673-2246
  Sealeze                                                             22465 Network Pl                                                       Chicago        IL           60673-2246
  Sealing Devices INC                   Roxann Cottet                 4400 Walden Ave                                                        Lancaster      NY           14086
  Sealing Devices Inc                                                 4400 Walden Ave                                                        Lancaster      NY           14086
  SEAM Group LLC                        John Lanham                   21111 Chagrin Blvd #100                                                Beachwood      OH           44122
  Sean Haymond                                                        Address Redacted
  Seawright, Patrick                                                  Address Redacted
  SeBaek Oh                                                           Address Redacted
  Sebastien Lavallee                                                  Address Redacted
  Seck, Tammy                                                         Address Redacted
  Secretary of State Corporations
  Division                                                            801 Capitol Way S             PO Box 40234                             Olympia        WA           98504
  Secretary of State of California                                    1500 11th Street                                                       Sacramento     CA           95814
  Secretary of State-CA                                               PO Box 944260                                                          Sacramento     CA           94244
  SecureWorks, Inc                      Lawrence Hamilton             1 Concourse Pkwy              Ste 500                                  Atlanta        GA           30328

  Secureworks, Inc.                                                   1 Concourse Pkwy, Suite 500                                            Atlanta        GA           30328−5346
  Secureworks, Inc.                                                   PO Box 534583                                                          Atlanta        GA           30353−4583
  Securing Americas Future Energy
  Foundation                                                          1111 19th St, NW              Suite 406                                Washington     DC           20036

  Securitas Electronic Security, Inc.                                 3800 Tabs Drive                                                        Uniontown      OH           44685
  Securitas Security Service USA                                      PO Box 403412                                                          Atlanta        GA           30384
  Securities & Exchange                 NY Regional Office, Regional
  Commission                            Director                     100 Pearl St., Suite 20-100                                             New York       NY           10004-2616
  Securities & Exchange
  Commission                            Regional Director             1617 JFK Boulevard Ste 520                                             Philadelphia   PA           19103
  Securities & Exchange
  Commission                            Secretary of the Treasury     100 F St NE                                                            Washington     DC           20549
  Seegars Fence Company, Inc. of
  Spartanburg                                                         PO Box 635                                                             Woodruff       SC           29388
  Seeger, Nadja                                                       Address Redacted
  Seetharam, Rohit                                                    Address Redacted
  SEFAC USA, Inc                                                      381 Nina Way                                                           Warminster     PA           18974
  Segvich, Michael                                                    Address Redacted
  Seica                                                               110 Avco Road                                                          Haveehill      MA           01835
                                        Attn Karen M. Seifert,
  Seifert Graphics, Inc.                President                     6133 Judd Rd                                                           Orfskany       NY           13424
                                                                                                    Brandywine Plaza    1521 Concord Pike,
  Seifert Graphics, Inc.                Cousins Law LLC               Scott D. Cousins              West                Suite 301            Wilmington     DE           19803
  Seifert Graphics, Inc.                Rhianna Houck                 6133 Judd Road                                                         Oriskany       NY           13424
  Seifert Graphics, Inc.                Stephanie Millage             6133 Judd Road                                                         Oriskany       NY           13424
                                        WANDA CUST. SUPPORT
  Seifert Graphics, Inc.                MGR                           6133 Judd Road                                                         Oriskany       NY           13424
  Seifert Graphics, Inc.                                              6133 Judd Road                                                         Oriskany       NY           13424
  Select Equipment Sales, Inc.                                        6911 8th Street                                                        Buena Park     CA           90620
  Seletsky, Alexander                                                 Address Redacted



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  Selvakumar, Sabarish                                       Address Redacted
  Selvamani, Sundaraselvi                                    Address Redacted
  SEMCO Consultants Inc           Zoran Milatovic            5231 SW 28th Place,                                            Cape Coral      FL           33914
  SEMCO Consultants Inc                                      5231 SW 28th Place                                             Cape Coral      FL           33914
  Semmler, Kyle                                              Address Redacted

  Semper Fi Fleet Maintenance LLC DBA Semper Fi Mobi         300 North LaSalle Street       Suite 4925                      Chicago         IL           60654
  Sensata Technologies, Inc.      Courtney Brightman         529 Pleasant St                                                Attleboro       MA           02703
  Sensata Technologies, Inc.      Frida Sofia Aguilar Romo   529 Pleasant St.                                               Attleboro       MA           02703
                                                                                            1271 Avenue of the
  Sensata Technologies, Inc.      Latham & Watkins LLP       Madeleine C. Parish            Americas                        New York        NY           10020
                                                                                            1271 Avenue of the
  Sensata Technologies, Inc.      Madeleine C. Parish        Latham & Watkins LLP           Americas                        New York        NY           10020
  Sensata Technologies, Inc.      Peter Clevenger            529 Pleasant Street                                            Attleboro       MA           02703
  Sensata Technologies, Inc.                                 529 Pleasant St.                                               Attleboro       MA           02703
  Sensor Products Inc.                                       300 Madison Ave                                                Madison         NJ           07940
  Sentek Dynamics, Inc.                                      2090 Duane Ave                                                 Santa Clara     CA           95054
  Sentinel Benefits & Financial
  Group                                                      100 Quannapowitt Parkway Suite 300                             Wakefield       MA           01880
  Sentinel Technologies, Inc.                                2550 Warrenville Rd.                                           Downers Grove   IL           60515
                                                             1313 East Maple Street Suite
  Seon Design (USA) Corp          MobileView                 231                                                            Bellingham      WA           98225
                                                                                          1313 East Maple
  Seon Design (USA) Corp          MobileView                 DBA MobileView               Street Suite 231                  Bellingham      WA           98225
  Seon Design (USA) Corp DBA
  MobileView                      ADRIAN BALLAM              1313 East Maple Street         Suite 231                       Bellingham      WA           98225
  Seon Design (USA) Corp DBA
  MobileView                      BRENT THRIFT               1313 East Maple Street         Suite 231                       Bellingham      WA           98225
  Seon Design (USA) Corp DBA
  MobileView                      DAPHNE DITTENHOFFER        1313 East Maple Street         Suite 231                       Bellingham      WA           98225
  Seon Design (USA) Corp DBA
  MobileView                                                 1313 East Maple Street         Suite 231                       Bellingham      WA           98225
  Seon Design (USA) Corp DBA
  MobileView                                                 PO Box #74008297                                               Chicago         IL           60674-8297
                                  ACCTS RECEIVABLES
  Seon System Sales Inc.          Adrian Charles Ballam      Unit 111 3-B Burbidge Street                                   Coquitlam       BC           V3K 7B2      Canada

  Seon System Sales Inc.                                     Unit 111 3-B Burbidge Street                                   Coquitlam       BC           V3K 7B2      Canada
  Seon System Sales Inc.                                     PO Box 74008297                                                Chicago         IL           60674
                                  Attn Gino J. Benedetti,
  SEPTA                           General Counsel            1234 Market Street                                             Philadelphia    PA           19107
  Serban, Steven                                             Address Redacted
  Service Electric Co., Inc.      Phil Ogdee                 PO Box 1489                                                    Snohomish       WA           98291
  Service Max, Inc.               Gia Virk                   4450 Rosewood Dr.              Suite 200                       Pleasanton      CA           94588
  Service Max, Inc.               Scott Edwards              4450 Rosewood Dr.              Suite 200                       Pleasanton      CA           94588
  Service Max, Inc.                                          2700 Camino Ramon              Suite 450                       San Ramon       CA           94583
  Service Max, Inc.                                          4450 Rosewood Dr.              Suite 200                       Pleasanton      CA           94588



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  Service Transport INC, (STI)                               1441 S Buncombe Rd                                            Greer            SC           29651
  Service Transport INC, (STI)                               PO Box 2267                                                   Greer            SC           29652
                                                             4450 Rosewood Drive, Suite
  ServiceMax Inc.                                            100                                                           Pleasanton       CA           94588
  ServiceNow Inc.                                            2225 Lawson Lane                                              Santa Clara      CA           95054
  Servotech Inc.                                             329 W 18th Street             Suite 301                       Chicago          IL           60616
  Setpoint Systems LLC             Cy Nielsen                2835 Commerce Way                                             Ogden            UT           84401
  Setpoint Systems LLC             Kassie Batty              2835 Commerce Way                                             Ogden            UT           84401
                                   Bank Of America Lockbox   12003 Collections Center
  Setra Systems Inc.               Services                  Drive                                                         Chicago          IL           60693
  Setra Systems Inc.                                         One Cowles Road                                               Plainville       CT           06062
  Settles, James                                             Address Redacted
  Sevenstax GmbH                   HRB 60782                 Gunther-Wagner-Allee 19                                       Hannover                      30177     Germany
  Sevilla, Matthew                                           Address Redacted
  SEW- Eurodrive, Inc.             MICHAEL FULTON            PO Box 751704                                                 Charlotte        NC           28275
  Sexton, Alicia                                             Address Redacted
  SFMTA Municipal Transportation                             700 Pennsylvania Avenue,
  Agency                                                     Bldg. B                                                       San Francisco    CA           94107
                                                             700 Pennsylvania Avenue,
  SFMTA Transit Division                                     Bldg. B                                                       San Francisco    CA           94107
  SGS North America Inc.                                     635 S. Mapleton St.                                           Columbus         IN           47201
  SGS North America Inc.                                     6601 Kirkville Rd                                             East Syracuse    NY           13057
  SGS-CSTC STANDARDS
  TECHNICAL SERVICES CO.,                                    16F, CENTURY YUHUI            NO. 73 FUCHENG
  LTD                                                        MANSION                       ROAD                            BEIJING          BEIJING      100142    China
  Shaftmasters Inc                                           1668 John A Paplas Dr                                         Lincoln Park     MI           48146
  Shahkhalilollahi, Seyed Taha                               Address Redacted
  Shailesh M Naik                                            Address Redacted
  Shainin LLC                      Karolyn Crabtree          41820 Six Mile Road           Suite 103                       Northville       MI           48168
  Shake, Marshall                                            Address Redacted
  Shandong Juncheng Metal                                    Western of Termoelectric
  Technology Co., Ltd                                        Industrial Park               Chiping County                  Liaocheng City   Shandong     252100    China
  Shandra Rissmann                                           Address Redacted
  Shanney, Robert                                            Address Redacted
                                                             222 W. Merchandise Mart,
  Shared-Use Mobility Center       Kimberly Steele           Ste 570                                                       Chicago          IL           60654
  ShareFile                                                  701 Corporate Center Dr       Suite 300                       Raleigh          NC           27607
  Sharma, Shawn                                              Address Redacted
  Sharp Electronics Corporation    Cheryl Burdiss            8670 Argent Street                                            Santee           CA           92071
  Sharp Electronics Corporation    Francisca Alvarado        8670 Argent Street                                            Santee           CA           92071

  Shasta Union High School District                          2200 Eureka Way, Ste B                                        Redding          CA           96001
  Shaw Telecom G.P.                 Vincent Cheung           630-3rd Avenue S.W.                                           Calgary          AB           T2P 4L4   Canada
  Shaw, Corey                                                Address Redacted
  Shaw, Tyler                                                Address Redacted
  Shawn G. Kelly                                             Address Redacted
  Shawnee Peeples                                            Address Redacted



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             CreditorName               CreditorNoticeName                   Address1                   Address2             Address3           City        State       Zip       Country
  SheerTrans Solutions, LLC dba
  Sheer Logistics                                                  635 Trade Center Blvd.                                               Chesterfield   MO           63005
  Sheikh, Mohammed                                                 Address Redacted
  Shelton, Jesse                                                   Address Redacted
  Shen, Nana                                                       Address Redacted
  Shenzhen BAK Power Battery
  Co.,Ltd                                                          BAK Industrial Park            Kuichong St           Dapeng Disc     Shenzhen                    518119       China
  Shepard Exposition Services       Tara Crosby                    1424 Hills Place                                                     Atlanta        GA           30318
  Sherman Jr., Johnny                                              Address Redacted
  Sherman, Ian                                                     Address Redacted
  Sherman, Johnny                                                  Address Redacted
  Sherman, Rachel                                                  Address Redacted
  Sherwood Electromotion Inc.                                      221 Lein Road                                                        West Seneca    NY           14224
  Shevlin, Megan                                                   Address Redacted
  SHI International Corp            Joey Costa                     290 Davidson Ave.                                                    Somerset       NJ           08873
  Shih, Eric                                                       Address Redacted
  Shih, Stanford                                                   Address Redacted
  Shin, Joong                                                      Address Redacted
  Shinde, Aditya                                                   Address Redacted
  SHJ Electric Co Inc                                              18920 13th PI S                                                      SeaTac         WA           98148
  SHJ Electric Co Inc                                              18920 13th Pl S                                                      SeaTac         WA           98148
  Shoai Naini Ph.D., Shervin                                       Address Redacted
  Shoeteria, Inc                                                   5305 East Washington Blvd                                            Comerece       CA           90040
  Shoffit, Jamie Glee                                              Address Redacted
  Shore Auto Rubber Exports Pvt
  Ltd                                                              GAt no. 148, At. Post-Kuruli   Tal-Khed, Dist-PUNE                   Pune           Maharastra   410 501    India
  Shoreline IOT Inc                                                15750 Winchester Blvd          Suite 206                             Los Gatos      CA           95030
  Shred-It US JV LLC                DBA Shred-It USA LLC           28883 Network Place                                                  Chicago        IL           60673-1288
  Shreveport Area Transit System                                   1115 Jack Wells Blvd                                                 Shreveport     LA           71107
  Shu, Eric                                                        Address Redacted
  Shuli Zhang                                                      Address Redacted
  Shumpert, Diamond                                                Address Redacted
  Shurick, Litsa                                                   Address Redacted
                                                                   200 South Biscayne
  Shutts & Bowen LLP                                               Boulevard                      Suite 4100                            Miami          FL           33131

  Shutts & Bowen LLP                                               920 Massachusetts Ave, NW                                            Charlotte      NC           28260-2828
  Shwetz, Camille                                                  Address Redacted
  Sibros Technologies Inc           Hemant Sikaria                 102 Persian Drive              Suite 201                             Sunnyvale      CA           94089
  Sibros Technologies Inc                                          785 Orchard Drive              Suite 150                             Folsom         CA           95630
                                                                   2580 North First Street, Suite
  Sibros Technologies, Inc.                                        290                                                                  San Jose       CA           95131

                                    formerly Siemens Product
  Siemens Industry Software Inc.    Lifecycle Mgmt Software Inc.   PO Box 2168                                                          Carol Stream   IL           60132-2168
  Siemens Industry Software, Inc.   Meghan Sercombe                8005 SW Boeckman Road                                                Wilsonville    OR           97070
  Siemens Industry, Inc.            Brian Pollock                  7000 Siemens Road                                                    Wendell        NC           27591



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  Siemens Industry, Inc.                                         100 Technology Drive                                              Alpharetta      GA           30005
  Sierra Circuits, Inc.              Sierra Proto Express        1108 West Evelyn Ave                                              Sunnyvale       CA           94086
  Sierra Club                                                    2101 Webster Street            Suite 1300                         Oakland         CA           94612
  Sierra IC Inc.                                                 16151 Lancaster Hwy            Sutie E                            Charlotte       NC           28277
  Sierra, Luis                                                   Address Redacted
  Sigalit Yochay-Wise                DBA Uptima, Inc.            110 N 3rd St                                                      Sacramento      CA           95814
  Sigalit Yochay-Wise                DBA Uptima, Inc.            110 N 3rd St.                                                     San Jose        CA           95112
                                                                                                Foster Plaza 5, Suite
  Sigalit Yochay-Wise                DBA Uptima, Inc.            651 Holiday Drive              400                                Pittsburgh      PA           15220
  Sigalit Yochay-Wise                DBA Uptima, Inc.            Sigalit Yochay-Wise            110 N 3rd St.                      San Jose        CA           95112
  Sigerseth, Eric                                                Address Redacted
  Sigma Machine, Inc.                Amber Felty                 3358 Center Park Plaza                                            Kalamazoo       MI           49048
  Sigma Machine, Inc.                ANN VAN WEELDEN             3358 Center Park Plaza                                            Kalamazoo       MI           49048
  Sigma Machine, Inc.                Attn Director or Officer    3358 Center Park Plaza                                            Kalamazoo       MI           49048
  Sigma Machine, Inc.                                            3358 Center Park Plaza                                            Kalamazoo       MI           49048
  Sigma Machine, LLC                 Inacio Moriguchi            3358 Center Park Plaza                                            Kalamazoo       MI           49048
  Sigma-West                         Kurt Hinkley                542 Kirkham Street                                                San Francisco   CA           94122
  Signal Perfection, Ltd.                                        4255 Hopyard Rd.               Suite 1                            Pleasanton      CA           94588
  Signature Transportation Parts &
  Service                                                        6 Frampton Ct.                                                    Columbia        SC           29212
  Signatures, Inc.                   Shane McMahon               327 Miller Rd                  Suite A                            Mauldin         SC           29662
  Signs by Tomorrow                                              413 N. Pleasantburg Drive                                         Greenville      SC           29607
  Signs for Success Inc, dba
  Georgia Case Company                                           4998 S. Royal Atlanta Drive                                       Tucker          GA           30084
  Signsouth, LLC                                                 116 Singing Pines Dr.                                             Greenville      SC           29611
  Sigura Construction INC.                                       774 Charcot Ave                                                   San Jose        CA           95131-2224
                                     Sika Automotive Kentucky,
  Sika Corporation                   LLC                         103 Industry Drive                                                Versailles      KY           40383
                                     Sika Automotive Kentucky,
  Sika Corporation                   LLC                         201 Polito Ave                                                    Lyndhurst       NJ           07071
  Silentaire Technologies (Werther                               8614 Veterans Memorial
  International)                                                 Drive                                                             Houston         TX           77088
  Silex R-I School                                               64 HWY UU                      PO Box 46                          Silex           MO           63377-0046
  Silicon Forest Electronics         Beth Bottemiller            6204 E 18th Street                                                Vancouver       WA           98661
  Silicon Forest Electronics         Brian Spratt                6204 E 18th Street                                                Vancouver       WA           98661
  Silicon Forest Electronics         Jessica Hinchliff           6204 E 18th Street                                                Vancouver       WA           98661
  Silicon Forest Electronics                                     6204 E 18th Street                                                Vancouver       WA           98661
  Silicon Forest Electronics, Inc.                               6204 E 18th Street                                                Vancouver       WA           98661
  Silicon Valley Bank                Jordan Kanis                3003 Tasman Drive                                                 Santa Clara     CA           95054
  Silicon Valley Bank (SVB)                                      Mailstop HF 256                 3003 Tasman Drive                 Santa Clara     CA           95054
  Silicon Valley Bank-7313
  Purchase                                                       PO Box 7078                                                       Crosslanes      WV           25356
  Silicon Valley Bicycle Coalition   Deanna Chevas               PO Box 1927                                                       San Jose        CA           95109
  Silicon Valley Laser, LLC                                      3375 Woodward Avenue                                              Santa Clara     CA           95054
  Silicon Valley Leadership Group                                2460 N 1st St STE 260                                             San Jose        CA           95131-1024
  Silicon Valley Precision, Inc                                  5625 Brisa Street              Suite G                            Livermore       CA           94550




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            CreditorName                  CreditorNoticeName              Address1                     Address2      Address3            City        State       Zip    Country
  Silicon Valley Shelving &
  Equipment Co., Inc.                                            2144 Bering Drive                                              San Jose        CA           95131
  Silk Worldwide Inc. dba Wilson
  Amplifiers                          Attn Director or Officer   5010 Wright Rd, Ste 100                                        Stafford        TX           77477

  Simcona Electronics Corporation     April Thompson             275 Mt Read Blvd.                                              Rochester       NY           14606

  Simcona Electronics Corporation     Diana Horton               275 Mt Read Blvd.                                              Rochester       NY           14606

  Simcona Electronics Corporation     Jake Mcdermott             275 Mt Read Blvd.                                              Rochester       NY           14606

  Simcona Electronics Corporation                                275 Mt Read Blvd.                                              Rochester       NY           14606
  Simmons, Amber                                                 Address Redacted
  Simmons, Jason                                                 Address Redacted
  Simmons, John                                                  Address Redacted
  Simmons, Steven                                                Address Redacted
  Simolex Rubber Corporation          Bob Dungarani              14505 Keel Street                                              Plymouth        MI           48170
  Simon Brereton                                                 Address Redacted
  Simon Trace                                                    Address Redacted
  Simonini, Matthew                                              Address Redacted
  Simplified Office Solutions                                    6220 Bush River Road                                           Columbia        SC           29212

  Simply Sanitize LLC                 Dane Gordon                22982 La Cadena, Suite 211                                     Laguna Hills    CA           92653
  Simply Sanitize LLC                                            23986 Aliso Creek Rd #546                                      Laguna Niguel   CA           92677
  Simpson, Ryan                                                  Address Redacted
  Simrit Kaur Grewal                  Harminder Singh Grewal     Address Redacted
  Simrit Kaur Grewal                                             Address Redacted
  Sims, Paul                                                     Address Redacted
  Sinclair Technologies, A Division
  of Norsat International Inc         Jennifer Nash              85 Mary Street                                                 Aurora          ON           L4G 6X5   Canada
  Sinclair Technologies, A Division
  of Norsat International Inc                                    110-4020 Viking Way                                            Richmond        BC           V6V 2L4   Canada
  Sinclair Technologies, A Division
  of Norsat International Inc                                    85 Mary Street                                                 Aurora          ON           L4G 6X5   Canada
  Singh, Anjay                                                   Address Redacted
  Singh, Titiksha                                                Address Redacted
  Single Point of Contact                                        992 San Antonio Road                                           Palo Alto       CA           94303

  SinglePoint Communications, Inc. Robert Taylo                  7990 SW Cirrus Drive                                           Beaverton       OR           97008

  SinglePoint Communications, Inc.                               7325 NE Imbrie Drive           #349                            Hillsboro       OR           97124

  SinglePoint Communications, Inc.                               7990 SW Cirrus Drive                                           Beaverton       OR           97008
  Siniard, Kevin                                                 Address Redacted
  Sis, Angela                                                    Address Redacted
  Sisouvanthong, Phonemany                                       Address Redacted
  Sisson, Matt                                                   Address Redacted



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  Sistoso, Michael                                             Address Redacted
                                                               491 Bloomfield Avenue, Suite
  SiteTracker                                                  301                                                               Montclair         NJ           07042
  Sitetracker Inc                                              150 Grant Avenue             Suite A                              Palo Alto         CA           94306
  Sitetracker Inc                                              491 Bloomfield Ave           Suite 301                            Montclair         NJ           07042
  Six, Justin                                                  Address Redacted
  SixDOF Testing & Analysis                                    701B US HWY 50                                                    Milford           OH           45150
  Sixgill, LLC DBA Plainsight LLC   Legal                      548 Market Street, #22409                                         San Francisco     CA           94104
  SKF USA Inc.                                                 890 Forty Foot Road          PO Box 352                           Lansdale          PA           19446
  Skidmore, Constance                                          Address Redacted
  SKOE, NANCY                                                  Address Redacted
  Skolnick, Nicholaus                                          Address Redacted
  Skyline Displays Bay Area, Inc.   John Gibson                PO Box 67235                                                      Scotts Valley     CA           95067-7235
  Slanec, Scott                                                Address Redacted
  Slater, Theresa                                              Address Redacted
  SLEC, Inc.                                                   23 Fontana Lane              Suite 109                            Baltimore         MD           21237
  SlideRabbit LLC                                              3320 W Clyde Place                                                Denver            CO           80211
  Sloan, Earnest                                               Address Redacted
  Smalley Steel Ring Company        Joseph P. Lukas            555 Oakwood Rd                                                    Lake Zurich       IL           60047
  Smart Charge Residential LLC      DBA Smart Charge America   2016 Centimeter Circle                                            Austin            TX           78758
  Smart City Solutions                                         5795 W Badura Ave            Suite 110                            Las Vegas         NV           89118
  SMART Transportation                                         Buhl Building                535 Griswold         Suite 600       Detroit           MI           48226
  SMARTPROCURE, INC                 GOVSPEND                   P.O. BOX 4968                                                     Deerfield Beach   FL           33442
  Smartsheet Inc.                   Finance                    10500 NE 8th Street          Suite 1300                           Bellevue          WA           98004-4369
  Smartsheet Inc.                                              10500 NE 8th Street          Suite 1300                           Bellevue          WA           98004-4369
                                                               300 Cadman Plaza West,
  SmartSign                         Attn Director or Officer   Ste. 1303                                                         Brooklyn          NY           11201
  SMAT                                                         City of Santa Maria          110 E. Cook St.                      Santa Maria       CA           93454
  SMC Corporation of America                                   10100 SMC Boulevard                                               Noblesville       IN           46060

  Smith Development Company Inc.                           PO Box 17189                                                          Greenville        SC           29606
  Smith Development Company,     Nelson Mullins Riley and
  Inc.                           Scarborough LLP           c/o Jody A. Bedenbaugh           PO Box 11070                         Columbia          SC           29211
  Smith Development Company,     Smith Development Company
  Inc.                           Inc.                      PO Box 17189                                                          Greenville        SC           29606

  Smith Dray Line & Storage Co Inc DBA Go-Mini                 PO Box 2226                                                       Greenville        SC           29602
  Smith Garage Equipment, Inc.                                 331 Versailles Rd.                                                Frankfort         KY           40601
  Smith Jr., Jackie                                            Address Redacted
  Smith Power Products, Inc                                    3065 W California Ave                                             Salt Lake City    UT           84104
  Smith Power Products, Inc                                    PO Box 27527                                                      Salt Lake City    UT           84127
  Smith, Brantley                                              Address Redacted
  Smith, Braxton                                               Address Redacted
  Smith, Brian                                                 Address Redacted
  Smith, Carson                                                Address Redacted
  Smith, Chester                                               Address Redacted



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  Smith, Clayton                                                   Address Redacted
  Smith, Darren                                                    Address Redacted
  Smith, Douglas                                                   Address Redacted
  Smith, Floyd                                                     Address Redacted
  Smith, Hayden                                                    Address Redacted
  Smith, Joshua                                                    Address Redacted
  Smith, Justin                                                    Address Redacted
  Smith, Krystina                                                  Address Redacted
  Smith, Michael                                                   Address Redacted
  Smith, Rebekah                                                   Address Redacted
  Smith, Sam                                                       Address Redacted
  Smith, Shun                                                      Address Redacted
  Smith, Stephen                                                   Address Redacted
  Smith, Ted                                                       Address Redacted
  Smith, Tyler                                                     Address Redacted
  Smith, Vanessa                                                   Address Redacted
  Smithers MSE Inc                    Smithers Rapra Inc           425 West Market Street                                       Akron          OH           44303
  Smithson III, Herbert                                            Address Redacted
  Smoak Public Relations                                           105 North Spring Street       Ste 111                        Greenville     SC           29601
  Smoak, Clay                                                      Address Redacted
  Snap ON Industrial, a division of
  IDSC Holdings                                                    2801 80th Street                                             Kenosha        WI           53143
  Snap ON Industrial, a division of
  IDSC Holdings                                                    3011 E. Route 176                                            Crystal Lake   IL           60039

                                      IDSC Holdings LLC DBA
                                      Snap-On Business Solutions
  Snap-on Incorporated                (Nexiq Technologies)         2801 80th Street                                             Kenosha        WI           53143
  Snappy Services, LLC                Matthew Gooch                116 Howard Circle                                            Simpsonville   SC           29681
  SnapShot Interactive                                             1530 Riverside Dr.                                           Nashville      TN           37206
  Snelgrove II, William                                            Address Redacted
  Snider Fleet Solutions              CHASE STEVENS                PO Box 16046                                                 Greensboro     NC           27416-6046
  Snider Fleet Solutions              JESSE STEVENS                PO Box 16046                                                 Greensboro     NC           27416-6046
  Snider Fleet Solutions                                           PO Box 16046                                                 Greensboro     NC           27416-6046
  Snider Fleet Solutions                                           1081 Red Ventures Dr                                         Fort Mill      SC           29707
  Snow, Michelle                                                   Address Redacted
                                                                   Suite 3A, 106 East Babcock
  Snowflake Inc.                                                   Street                                                       Bozeman        MT           59715
  SO G KIM                                                         Address Redacted
  SO YOUNG LEE                                                     Address Redacted
  Social Enterprises, Inc.                                         1604 NW 15th Ave.                                            Portland       OR           97209
                                                                   360 Park Avenue South, 15th
  Socotec Engineering, Inc.           LPI, Inc.                    Floor                                                        New York       NY           10010
  Sodhi Ram Jakhu                                                  Address Redacted
  Soell, Julian                                                    Address Redacted
  Softchoice Corp                     Credit Dept                  20 Mowat Ave                                                 Toronto        ON           M6K 3E8      Canada




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                                                              16609 Collections Center
  Softchoice Corporation             A/R Representative       Drive                                                         Chicago      IL           60693
                                                              16609 Collections Center
  Softchoice Corporation             Kaitlyn Cantrell - POC   Drive                                                         Chicago      IL           60693
                                                              16609 Collections Center
  Softchoice Corporation             Kevin Tidball            Drive                                                         Chicago      IL           60693
  Softchoice Corporation                                      20 Mowat Avenue                                               Toronto      ON           M6K 3E8   Canada
                                                              16609 Collections Center
  Softchoice Corporation                                      Drive                                                         Chicago      IL           60693
                                                              314 W. Superior St., Suite
  Softchoice Corporation                                      400                                                           Chicago      IL           60654
  Sok, Aaron                                                  Address Redacted
  Solarwinds, Inc.                                            PO Box 730720                                                 Dallas       TX           75373
  Sol-Go, Inc.                                                555 Bryant Street #716                                        Palo Alto    CA           94301
  Solium Plan Managers LLC                                    Dept 3542                     PO Box 123542                   Dallas       TX           75312
  Solomon, Hayden                                             Address Redacted
  Solutions 4 Industry, Inc.                                  3633 Pomona Blvd.                                             Pomona       CA           91768
  Som, Saroeuth                                               Address Redacted
  Sonia Hojae Yun                                             Address Redacted
  Sonny Merryman Inc.                                         11228 Hopson Rd                                               Ashland      VA           23005
  Sonny Merryman Inc.                                         14716 Industry Court                                          Woodbridge   VA           22191
  Sonny Merryman Inc.                                         5120 Wards Rd.                                                Evington     VA           24550
  Sonny Merryman Inc.                                         920 East Wythe St.                                            Petersburg   VA           23803
  Sonny Merryman Inc.                                         PO Box 495                                                    Rustburg     VA           24588
  Sonny Merryman Inc.                                         US Route 29 South             PO Box 495                      Rustburg     VA           24588
  Sonny Merryman Inc.                                         US Route 29 South             PO Box 495                      Rutsburg     VA           24588
  SONNYS CAMP AND TRAVEL             ALEX RODRIGUEZ           333 Frontage Rd                                               Duncan       SC           29334
  SONNYS CAMP AND TRAVEL                                      333 Frontage Rd                                               Duncan       SC           29334
                                                              2300 County Center Drive,
  Sonoma County Transit                                       Site B100                                                     Santa Rosa   CA           95403
  Sonoma County Transit                                       355 W Robles Avenue                                           Santa Rosa   CA           95407
  Sontakay, Radhika                                           Address Redacted
  Sontakke, Sarang                                            Address Redacted
  Sonya G Swafford                                            Address on File
  Soria, Angel                                                Address Redacted
  Sorofin Enterprises Incorporated   George Musa              329 Willow Ave.                                               Lyndhurst    NJ           07071
  Sorofin Enterprises Incorporated   SALLY MUSA               329 Willow Ave.                                               Lyndhurst    NJ           07071
  Sorofin Enterprises Incorporated                            329 Willow Ave.                                               Lyndhurst    NJ           07071
  Sosa, Andrew                                                Address Redacted
  Soto, Gerardo                                               Address Redacted
  Soto, Ramiro                                                Address Redacted
  SoundView Applications Inc         Ashleigh Deluccio        2390 Lindbergh St             Suite 100                       Auburn       CA           95602
  SoundView Applications Inc         Robert Lazor             2390 Lindbergh St             Suite 100                       Auburn       CA           95602
                                     ENI Labs Metrology &
  Source Detection Systems           Electronic Repair        3120 Independence Dr                                          Fort Wayne   IN           46808
  Sourcing Fuel                      dba Sourcing Insights    3218 Daugherty Drive          Suite 150                       Lafayette    IN           47909




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                                                                    318 Daughtery Drive, Suite
  Sourcing Fuel                                                     150                                                            Lafayette        IN           47909
  South Alliance Industrial Machine
  Inc.                                                              2423 Troy Ave                                                  South El Monte   CA           91733
  South Bay Solutions Inc             Michael Dreniany              37399 Centralmont Place                                        Fremont          CA           94536
  South Bay Solutions Inc             Rosa Neyman                   37399 Centralmont Place                                        Fremont          CA           94536
  South Bay Solutions Inc             Talia Kelly                   37399 Centralmont Place                                        Fremont          CA           94536
  South Bay Solutions, Inc.           Binder Malter, LLP            Wendy Smith                    2775 Park Avenue                Santa Clara      CA           95050
  South Bay Solutions, Inc.                                         37399 Centralmont Place                                        Fremont          CA           94536
  South Carolina Child Support                                      P.O. Box 1469                                                  Columbia         SC           29202-1469
  South Carolina Clean Energy
  Business Alliance                                                 2711 Middleburg Drive          Suite 313C                      Columbia         SC           29204
  South Carolina Coordinating
  Council for Economic                Attn Cynthia S. Turnipseed,
  Development                         Legal Counsel for SCCCED      1201 Main Street Suite 1600                                    Columbia         SC           29201
  South Carolina Coordinating
  Council for Economic
  Development                                                       1201 Main Street               Suite 1600                      Columbia         SC           29201
  South Carolina Department of
  Commerece                                                         1201 Main Street, suite 1600                                   Columbia         SC           29201
  South Carolina Department of
  Labor, Licensing & Regulation                                     110 Centerview Dr                                              Columbia         SC           29210
  South Carolina Department of
  Motor Vehicle                                                     10311 Wilson Boulevard         Building C                      Blythewood       SC           29016
  South Carolina Department of
  Revenue                                                           300A Outlet Pointe Boulevard                                   Columbia         SC           29210
  South Carolina Dept of Revenue      Corporate Tax                 PO Box 125                                                     Columbia         SC           29214-0400
  South Carolina Dept of Revenue                                    300A Outlet Pointe Blvd                                        Columbia         SC           29210
  South Carolina State Treasurers                                                                  Wade Hampton
  Office                              Unclaimed Property Program 1200 Senate Street Ste 214        Building                        Columbia         SC           29201
  South Carolina Technology and
  Aviation Center                                                   po box 602718                                                  charlotte        NC           28260-2718
  South Dakota Dept of Revenue        Attn Bankruptcy Dept          445 E Capitol Ave                                              Pierre           SD           57501-3185
  South Dakota Office of the State
  Treasurer                           SD State Treasurer - UCP      124 E Dakota Ave                                               Pierre           SD           57501
  South East Polymer Solutions                                      1720 Mars Hill Road            Suite 8-350                     Acworth          GA           30101
  South Shore Clean Cities, Inc                                     10115 Ravenwood Drive                                          St. John         IN           46373
  South West Transit Association      Kristen Joyner                PO Box 60475                                                   Fort Worth       TX           76115
  Southampton County Public
  Schools                                                           PO BOX 96                                                      Courtland        VA           23837

  SouthComm Business Media, LLC                                     210 12th Ave South             Suite 100                       Nashville        TN           37203

  SouthComm Business Media, LLC                                     PO Box 197565                                                  Nashville        TN           37219
  Southeast Energy Efficiency                                       100 Peachtree St NW Ste
  Alliance                      Pamela Fann                         2090                                                           Atlanta          GA           30303-1900
  Southeastern Dock & Door                                          54 Bruce Rd                                                    Greenville       SC           29605



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  Southeastern Pennsylvania
  Transportation Authority           Attn Lawrence J. Kotler     Duane Morris LLP               30 S. 17th Street                           Philadelphia    PA           19103
  Southeastern Pennsylvania                                      Attn Gino J. Benedetti,
  Transportation Authority           SEPTA                       General Counsel                1234 Market Street                          Philadelphia    PA           19107
  Southeastern Pennsylvania                                      1234 Market Street, 11th
  Transportation Authority                                       Floor                                                                      Philadelphia    PA           19107-3780
  Southeastern Pennsylvania
  Transportation Authority                                       1234 Market St, 14th Floor     Attn Sherry Burno                           Philadelphia    PA           19107
  Southeastern Pennsylvania
  Transportation Authority                                       1234 Market Street                                                         Philadelphia    PA           19107-3780
  Southeastern Pennsylvania
  Transportation Authority                                       Patrick J. Kearney             Duane Morris LLP       30 South 17th Street Philadelphia    PA           19103-4196

  Southeastern Pennsylvania
  Transportation Authority (SEPTA) Patrick J. Kearney            Duane Morris LLP               30 South 17th Street                        Philadelphia    PA           19103-4196
  Southern California Contractors                                1455 Queen Summit Drive                                                    West Covina     CA           91791
  Southern California Edison                                     2244 Walnut Grove Avenue                                                   Rosemead        CA           91770
  Southern California Edison                                     PO Box 300                                                                 Rosemead        CA           91772
  Southern California Material     Equipment Depot California,
  Handling, Inc.                   Inc                           12393 Slauson Avenue                                                       Whittier        CA           90606
  Southern Painting & Maintenance
  Specialists, Inc.                                              PO Box 8924                                                                Greenville      SC           29604
  Southern Teton Area Rapid                                                                     55 Kams Meadow
  Transit                                                        PO Box 1687                    Drive                                       Jackson         WY           83001
  Southpaw Electric                                              4433 E County Line Rd                                                      Erie            CO           80516

  Southwest Lift & Equipment, Inc.                               254 E Valley Street                                                        San Bernadino   CA           92408
  Southwest Research Institute       Attn General Counsel        6220 Culebra Road                                                          San Antonio     TX           78238
  Southwest Research Institute                                   6220 Culebra Road                                                          San Antonio     TX           78238-5166
  SOV Construction Inc                                           3148 Sechelt Drive                                                         Coquitlam       BC           V3B 5X9    Canada
  SP Plus                                                        7447 South Central Avenue      Suite B                                     Bedford Park    IL           60638
  Space Structures GmbH                                          Fanny-Zobel-Strasse 11                                                     Berlin                       12435      Germany
  SPAL USA                           AMY ALLEN                   1731 SE Oralabor Rd.                                                       Ankeny          IA           50021
  SPAL USA                           DAN MCNEAL                  1731 SE Oralabor Rd.                                                       Ankeny          IA           50021
  SPAL USA                           JULIE LIMBAUGH              1731 SE Oralabor Rd.                                                       Ankeny          IA           50021
  SPAL USA                                                       1731 SE Oralabor Rd.                                                       Ankeny          IA           50021
  Spalding, William                                              Address Redacted
  Sparkfun Electronics                                           6175 Longbow Dr.,              Suit 200                                    Boulder         CO           80301
  Sparkion Power Algorithms Ltd                                  8 Ingerganes                                                               Herzliya                                  Israel
  Sparkle Cleaning and Vending                                   39 Brisbane Dr.                                                            Fountain Inn    SC           29644
                                  Sparks Exhibits &
  Sparks Marketing Corp.          Environments Corp.             2828 Charter Road                                                          Philadelphia    PA           19154
  Spartanburg County, South
  Carolina                        Attn Director or Officer       1201 Main Street, Suite 1600                                               Columbia        SC           29201
  Spartanburg Maintenance LLC     City Wide Maintenance          1200 Woodruff Rd             Suite G12                                     Greenville      SC           29607
  Spartanburg Regional Healthcare
  System                                                         101 East Wood Street                                                       Spartanburg     SC           29303



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  Spear, Kenneth                                             Address Redacted
  Spears Jr, Edward                                          Address Redacted
  Spears, Edward                                             Address Redacted
  SpecFab Services, Inc             Charity Trostel          PO Box 5429                                                    Greenville    SC           29606
  SpecFab Services, Inc             Lucy Swearingen          PO Box 5429                                                    Greenville    SC           29606
  SpecFab Services, Inc             MIKE WILLIAMS            PO Box 5429                                                    Greenville    SC           29606
  SpecFab Services, Inc                                      PO Box 5429                                                    Greenville    SC           29606
  Specialized Packaging Solutions
  Inc.                                                       38505 Cherry Street, Suite H                                   Newark        CA           94560
  Specialized Packaging Solutions
  Inc.                                                       PO Box 3042                                                    Fremont       CA           94539
  Specialized Product Supply                                 17420 W 54th Pl.                                               Golden        CO           80403
  Specialty Manufacturing, Inc      MIKE MILHOLLAND          PO Box 198712                                                  Atlanta       GA           30384
  Specialty Manufacturing, Inc      VIKKI QUEEN              PO Box 198712                                                  Atlanta       GA           30384
  Specialty Manufacturing, Inc                               PO Box 198712                                                  Atlanta       GA           30384
  Spector Logistics Inc             ROBERT WELSH             221 Valley Rd.                                                 Wilmington    DE           19804
  Spector Logistics Inc             Sales                    221 Valley Rd.                                                 Wilmington    DE           19804
  Spector Logistics Inc             Tom Franklin             221 Valley Rd.                                                 Wilmington    DE           19804
  Spector Logistics Inc                                      221 Valley Rd.                                                 Wilmington    DE           19804
  Spectrum                          Siobhan McEneany         1600 Dublin Road                                               Columbus      OH           43215
                                    Charter Communications
  Spectrum Business                 Holding, LLC             12405 Powerscourt Dr.                                          St. Louis     MO           63131
                                    Charter Communications
  Spectrum Business                 Holding, LLC             Box 223085                                                     Pittsburgh    PA           15251-2085
                                    Charter Communications
  Spectrum Business                 Holding, LLC             PO Box 83180                                                   Chicago       IL           60691-0180
                                    Charter Communications
  Spectrum Business                 Holding, LLC             PO Box 94188                                                   Palatine      IL           60094-4188
  Spectrum Business                                          400 Atlantic Street                                            Stamford      CT           06901
  Spectrum Lifts & Loaders Inc                               13600 5th St                                                   Chino         CA           91710
  Spedding, Lisa                                             Address Redacted

  Speedgoat GmbH                                             Waldeggstrasse 37                                              Liebefeld                  3097         Switzerland
  Speedgoat GmbH                                             209 West Central Street        Suite 215                       Natick        MA           01760
  Speedgoat Inc.                                             209 West Central Street        Suite 215                       Natick        MA           01760
  Sperling, Samuel                                           Address Redacted
  Spika Design and Manufacturing,
  Inc.                                                       254 Cottonwood Creek Road                                      Lewistown     MT           59457
  Spokane Transit Authority                                  1230 West Boone Avenue                                         Spokane       WA           99201
  SPORTRAN                                                   1115 Jack Wells Blvd                                           Shreveport    LA           71107
  SportTran-City of Shreveport                               1115 Jack Wells Blvd.                                          Shreveport    LA           71107
                                                             15540 Woodinville-Redmond
  Sportworks Global LLC             Amanda Strand            Rd NE, A-200                                                   Woodinville   WA           98072
                                                             15540 Woodinville-Redmond
  Sportworks Global LLC             Caroline Vo              Rd NE, A-200                                                   Woodinville   WA           98072
                                                             15540 Woodinville-Redmond
  Sportworks Global LLC             Emma Bennett             Rd NE, A-200                                                   Woodinville   WA           98072



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                                                                  15540 Woodinville Redmond
  Sportworks Global LLC             Marc Lanegraff                Rd NE A#200                                                     Woodinville       WA           98072-4508
                                                                  15540 Woodinville-Redmond
  Sportworks Global LLC             Sportworks Northwest, Inc.    Rd NE, A-200                                                    Woodinville       WA           98072
                                                                  15540 Woodinville Redmond
  Sportworks Global LLC                                           Rd NE A#200                                                     Woodinville       WA           98072-4508
  Sportworks Northwest, Inc.        AMANDA HOLMES                 15540 Wood Red Rd NE           #A-200                           Woodinville       WA           98072
  Sportworks Northwest, Inc.        Jana Anderson                 15540 Wood Red Rd NE           #A-200                           Woodinville       WA           98072
  Sportworks Northwest, Inc.                                      15540 Wood Red Rd NE           #A-200                           Woodinville       WA           98072
                                                                  15683 Collections Center
  Sprague Devices Inc.                                            Drive                                                           Chicago           IL           60693
  Sprau, Samantha                                                 Address Redacted
  Spraying Systems Co                                             PO Box 7900                                                     Wheaton           IL           60187
  Springfield Tool and Die                                        1130 Rogers Bridge Rd.                                          Duncan            SC           29334
  Springfield Tool and Die, Inc.                                  1130 Rogers Bridge Rd.                                          Duncan            SC           29334
  SPS Commerce, Inc.                Joshua Vought                 333 S 7th St., Ste 1000                                         Minneapolis       MN           55402
  SPS Commerce, Inc.                                              333 S 7th St., Ste 1000                                         Minneapolis       MN           55402
  SPS Commerce, Inc.                                              PO Box 205782                                                   Dallas            TX           75320
  Spurlock, Chelette                                              Address Redacted
  Square Grove, LLC                 DBA UPLIFT Desk               1848 Ferguson Ln                                                Austin            TX           78754-4508
  Squire Patton Boggs (US) LLP                                    4900 Key Tower                 127 Public Square                Cleveland         OH           44114
  Squire Patton Boggs (US) LLP                                    PO Box 643051                                                   Cincinnati        OH           45264
                                                                  1801 California Street Suite
  Squire Patton Boggs US LLP        Chris Carmichael              4900                                                            Denver            CO           80202
                                                                                                 1500 W. 3rd Street,
  Squire Patton Boggs US LLP        Ned Seeley                    Financial Controller US LLP    Suite 450                        Cleveland         OH           44113
  Srdic, Stefan                                                   Address Redacted
  Srdic, Stefan                                                   Address Redacted
  Sridharan Venk                                                  Address Redacted
  St Amour, Craig                                                 Address Redacted
  St. Jean, Christopher                                           Address Redacted
  Staffmark Investment LLC                                        201 East Fourth St             8th Floor                        Cincinnati        OH           45202
  Stafford, Timothy                                               Address Redacted
                                    Director of Accounting Denise 4318 Redwood Hwy, Suite
  Stage 8 Locking Fasteners Inc.    Keeler                        200                                                             San Rafael        CA           94903
                                                                  4318 Redwood Hwy, Suite
  Stage 8 Locking Fasteners Inc.    Elvia Vega                    200                                                             San Rafael        CA           94903
  Stambaugh, Matthew                                              Address Redacted
  Stancil, Michael                                                Address Redacted
  Standifer, David                                                Address Redacted
  Stanley Convergent Security
  Solutions, Inc.                                                 Dept. CH 10651                                                  Palatine          IL           60055
  Stansell Electric Company, Inc.                                 860 Visco Drive                                                 Nashville         TN           37210
  Staples Advantage                                               500 Staples Dr                                                  Framingham        MA           01702
  Staples Advantage                                               PO Box 105748                                                   Atlanta           GA           30348-5748
                                    Staples Contract &
  Staples Technology Solutions      Commercial LLC                1096 E. Newport Center Drive Suite 300                          Deerfield Beach   FL           33442



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            CreditorName                CreditorNoticeName                 Address1                      Address2            Address3         City         State       Zip      Country
                                    Staples Contract &
  Staples Technology Solutions      Commercial LLC                PO Box 95230                                                          Chicago       IL           60694
  Staples Technology Solutions      Tom Riggleman                 STS                             7 Technology Circle                   Columbia      SC           29203
  Staples Technology Solutions                                    PO Box 95230                                                          Chicago       IL           60694
  Star Metro                                                      300 South Adams Street                                                Tallahassee   FL           32301
  STARMETRO                                                       City of Tallahassee             555 Appleyard Drive                   Tallahassee   FL           32304
  Starr Surplus Lines Insurance                                   500 W. Monroe Street, Ste.
  Company                             Jennifer Sadalski           3100                                                                  Chicago       IL           60661
  State Industrial Solutions                                      PO Box 19785                                                          Charlotte     NC           28209
  State of California                 Contractors License Board   P.O. Box 26000                                                        Sacramento    CA           95826
  State of California                                             1021 O Street, Suite 9000                                             Sacramento    CA           95814
  State of California - Department of                                                                                                   West
  General Services                                                PO BOX 989053                                                         Sacramento,   CA           95798-9053
  State of California Franchise Tax
  Board                                                           PO Box 942867                                                         Sacramento    CA           94267-0011
  State of Connecticut                                            2800 Berlin Turnpike                                                  Newington     CT           06111
  STATE OF FLORIDA -                  General Counsel, Mark
  DEPARTMENT OF REVENUE               Hamilton                    PO BOX 6668                                                           Tallahassee   FL           32314-6668

  State of Georgia                                                200 Piedmont Ave, Ste 1308                                            Atlanta       GA           30334
                                                                                                  Princess Ruth
  State of Hawaii                   Oahu Office                   830 Punchbowl Street            Keelikolani Building                  Honolulu      HI           96813

  State of Hawaii                   Unclaimed Property Program PO Box 150                                                               Honolulu      HI           96810

  State of Hawaii                                                 Department of Taxation          830 Punchbowl Street                  Honolulu      HI           96813-5094
  State of Iowa                                                   1305 East Walnut Street                                               Des Moines    IA           50319
  State of Louisiana                                              617 North Third St                                                    Baton Rouge   LA           70802
  State of Louisiana Unclaimed                                                                    1051 N 3rd Street
  Property Division                 Unclaimed Property Division   State Capitol Building Annex    Room 150                              Baton Rouge   LA           70802
                                                                  Michigan Department of
  State of Michigan                                               Treasury                                                              Lansing       MI           49822
  State of Michigan                                               PO Box 30054                                                          Lansing       MI           48909
  State of Minnesota, Department of
  Revenue                                                         PO Box 64447-BKY                                                      St Paul       MN           55164-0447
  State of New Jersey               Department of the Treasury    P.O. Box 002                                                          Trenton       NJ           08625-0002
  State of New Jersey               Division of Taxation          Bankruptcy Section              PO Box 245                            Trenton       NJ           08695-0245
  State of New Jersey               Division of Taxation          Bankruptcy Unit                 3 John Fitch Way       PO Box 245     Trenton       NJ           08695-0245
                                    Unclaimed Property
  State of New Jersey               Administration                PO Box 214                                                            Trenton       NJ           08625-0214
  State of New Mexico Taxation &                                  10500 Copper Ave NE Suite
  Revenue Department                                              C                                                                     Albuquerque   NM           87123
  State of Oregon                                                 P.O. Box 14140                                                        Salem         OR           97309-5052
  State of Rhode Island and
  Providence Plantations                                          148 W. River Street                                                   Providence    RI           02904
  State of Rhode Island Division of
  Taxation                                                        Dept #88 - PO Box 9702                                                Providence    RI           02940



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            CreditorName                  CreditorNoticeName                  Address1                    Address2        Address3        City         State       Zip      Country
  State of Washington                  Contractors Board             7273 Linderson Way SW                                           Tumwater        WA        98501-5414
                                                                     Department of Enterprise
  State of Washington                                                Services                       PO Box 41411                     Olympia         WA        98504-1411
  State of Washington                                                PO Box 41411                                                    Olympia         WA        98504-1411
  State Purchasing Division,                                         200 Piedmont Avenue, Suite
  Georgia                                                            1308                           West Tower                       Atlanta         GA        30334

  State Road and Tollway Authority                                   PO Box 2644                                                     Atlanta         GA        30301-2644
  State Water Resources Control
  Board                            Fee Branch                        Accounting Office              1001 I Street                    Sacramento      CA        95814
  State Water Resources Control
  Board                            Water Board                       PO Box 1977                    Storm Water Section              Sacramento      CA        95812-1977
  State Water Resources Control
  Board                                                              1001 I Street 22nd Floor                                        Sacramento      CA        95814
                                                                     5955 Core Avenue, Suite 500-
  Steel Fab                                                          A                                                               North Charleston SC       29406

  Steelcase Financial Services Inc.                                  901 44th Street SE                                              Grand Rapids    MI        49508-7594
  SteelSentry Inc.                                                   PO Box 83579                                                    Gaithersburg    MD        20883
  Stein Sorbye                                                       Address Redacted
  Stein, Lori                                                        Address Redacted
  Steiner, Tucker                                                    Address Redacted
  Step Function I/O LLC                                              55 SW Wall St Unit 15                                           Bend            OR        97702

  Stephanie Bitetti                    C/O Justice Law Corporation   751 N Fair Oaks Ave, Ste 101                                    Pasadena        CA        91103
  Stephen H Lee                                                      Address Redacted
  Stephen J. Sawyer                                                  Address Redacted
  Stephen Killian                                                    Address Redacted
  Stephen L. Knowles                                                 Address Redacted
  Stephen L. Ward                                                    Address on File
  Stephen Parker                                                     Address Redacted
  Stephen Pyrohanych                                                 Address Redacted
  Stephen S Boyd                                                     Address Redacted
  Sterling Bay                                                       180 North Stetson Ave        Suite 840                          Chicago         IL        60601
  Sterling Drug Test Solutions                                       33895 Pauba Rd                                                  Temecula        CA        92592

  Sterling Engineering Solutions Inc                                 111 Goodwin Avenue                                              Salem           VA        24153
  Sterling Jr., Shawn                                                Address Redacted
  Stertil Koni USA                                                   200 Log Canoe Circle                                            Stevensville    MD        21666-2111
                                                                     151 Heritage Park Dr, Suite
  Stetech Supply Chain Services                                      301                                                             Murfreesboro    TN        37129
  Steve Eugene Rhea                                                  Address Redacted
  Steve Jepson                                                       Address Redacted
  Steve Zaehler                                                      Address Redacted
                                       DBA Manufacturers of Fine
  Steven Andrew Cecil                  Ideas (MFI)                   PO Box 1484                                                     San Carlos      CA        94070
  Steven Clark                                                       Address Redacted



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  Steven Day and Jerry Reardon,                             325 Rocky Slope Rd, Suite
  Esquire                                                   201                                                           Greenville    SC           29607

  Steven Douglas Associates, LLC                            1301 International Pkwy       Ste 510                         Sunrise       FL           33323-2874
  Steven Engineering               EJ RAMOS                 PO Box 1029                                                   San Bruno     CA           94066
  Steven Engineering               Maria Duran              PO Box 1029                                                   San Bruno     CA           94066
  Steven Engineering               MARK MIYAJI              PO Box 1029                                                   San Bruno     CA           94066
  Steven Engineering                                        PO Box 1029                                                   San Bruno     CA           94066
  Steven Kuring                                             Address Redacted
  Steven M Palay                   dba Funtronix LLC        Address Redacted
  Steven M. Strauss                                         Address Redacted
  Steven Smotrich                                           Address Redacted
  Steven Tilles, MD                                         Address Redacted
  Steven Winn                                               Address Redacted
  Stevens, Travis                                           Address Redacted
  Stevenson, Coretta                                        Address Redacted
  Steves Miscellaneous Services                             137 Greenvista Lane                                           Greenville    SC           29609
  Stewart & Stevenson Power
  Products LLC                                              601 W. 38th Street                                            Houston       TX           77018-6403
  Stewart Handling Systems, Inc.                            9227 Orco Pkwy                Unit E                          Riverside     CA           92509
  Stewart Jepson                                            Address Redacted
  Stewart, Brian                                            Address Redacted
  Stewart, Jared                                            Address Redacted
  Stewart, Jennifer                                         Address Redacted
  Stewart, Joshua                                           Address Redacted
  Stewart, Liling                                           Address Redacted
  Stewart, McCarley                                         Address Redacted
  Stifel                           Michael J. Dorsey        Address Redacted
  Stiglich, Nicholas                                        Address Redacted
  Stiles, Jacob                                             Address Redacted
                                                            145 Steele Point Drive, Suite
  STIWA US, Inc.                                            101                                                           Fort Mill     SC           29708
                                                            7033 E. Greenway Parkway
  STMicroelectronics, Inc                                   Suite 300                                                     Scottsdale    AZ           85254
  Stock & Option Solutions, Inc.                            1475 S. Bascom Ave.           Suite 203                       Campbell      CA           95008
  Stockley, Charles                                         Address Redacted
  Stoller Vineyards, Inc           Stoller Family Estate    16161 NE McDougall Road                                       Dayton        OR           97128
  Stoltzfus, Jarrett                                        Address Redacted
  Stone, Dennis                                             Address Redacted
  Stoner, Jennifer                                          Address Redacted

  Storm Manufacturing Corporation Storm Power Components    PO Box 99                                                     Decatur       TN           37322
  Stowers, Montriques                                       Address Redacted
                                                            1-2 Quay Point, Northarbour                                                                           United
  STR Limited                      Talos Automation         Road                                                          Portsmouth                 PO6 3TD      Kingdom
  Straight, Jay                                             Address Redacted
  Strange, Braxtin                                          Address Redacted



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  Strangeway, Rachel                                              Address Redacted
  Strassburger McKenna Gutnick                                    444 Liberty Avenue, Suite
  Gefsky                              Michael G. Nicolella        2200                                                            Pittsburgh        PA           15222
  Strategic Mapping Inc.              Jordan Brock                2200 Yonge Street              Suite 1711                       Toronto           ON           M4S 2C6      Canada
  Strategic Mapping Inc.              Roni Pinhasor               2200 Yonge Street              Suite 1711                       Toronto           ON           M4S 2C6      Canada
  Strategic Mapping Inc.                                          2200 Yonge Street              Suite 1711                       Toronto           ON           M4S 2C6      Canada
  Strategic Marketing Innovations,
  Inc.                                                            1020 19th Street NW            Suite 375                        Washington        DC           20036
  StratEx Advisors, Inc.                                          5593 Amber Fields Drive                                         Shingle Springs   CA           95682
  Stratford, Samantha                                             Address Redacted
  Streamline Shippers & Affiliates                                6279 East Slauson Ave.          Suite 303                       Commerce          CA           90040
  Streck, Christopher                                             Address Redacted

  Stress Engineering Services, Inc.                               7030 Stress Engineering Way                                     Mason             OH           45040
  Strickland, Andrew                                              Address Redacted
  Strocky, David                                                  Address Redacted
  Stronco Design Inc                  Prakash Doobay              1510B Caterpillar Road                                          Missisissauga     ON           L4X2W9       Canada
  Stronco Design Inc                                              1510B Caterpillar Road                                          Missisissauga     ON           L4X2W9       Canada
  Strong, Christina                                               Address Redacted
  Strossners Bakery, Inc.                                         21 Roper Mountain Road                                          Greenville        SC           29607
  Structural Engineers, Inc.                                      2901 Tasman Drive           Suite 100                           Santa Clara       CA           95054
  Structure & Site Inspection
  Services, LLC                                                   32375 Plumwood St.                                              Beverly Hills     MI           48025

  STSC LLC                                                        2074 Aerotech Drive                                             Colorado Springs CO            80916
  Stsiapanau, Andrei                                              Address Redacted
  Studio Anand Sheth                                              3371 21st Street #1                                             San Francisco     CA           94110
  Stueck, Brandon                                                 Address Redacted
  STW Technic, LP.                                                1750 Corporate Dr Ste 750                                       Norcross          GA           30093-2975

  Suasive, Inc.                                                   3450 Sacramento Street #515                                     San Francisco     CA           94118
  Suburban Mobility Authority for
  Regional Transportation                                         2021 Barrett Drive                                              Troy              MI           48084
  Suburban Mobility Authority for                                 Buhl Building, 535 Griswold,
  Regional Transportation                                         Suite 600                                                       Detroit           MI           48226
                                      DBA Industiral Millwright
  Sue Pipkin                          Services, Inc.              Address Redacted
  Sugalski, Nicholas                                              Address Redacted
                                                                                                                                  South San
  Sugar Bear Plumbing, Inc.           Lawrence Smith              101-A Hickey Blvd              Unit 120                         Francisco         CA           94080
  Sullivan, Cordell                                               Address Redacted
  Sullivan, James                                                 Address Redacted
  Sullivan, Mario                                                 Address Redacted
  Sullivan, Zachary                                               Address Redacted
  Sumang II, Ramon                                                Address Redacted
  Summit County                                                   208 E Lincoln Ave                                               Breckenridge      CO           80424
  Summit County                                                   PO Box 68                                                       Breckenridge      CO           80424



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  Summit Racing                                                 20 King Mill Road                                             McDonough      GA           30253
  Sun Source/STS Operating, Inc.                                PO Box 74007453                                               Chicago        IL           60674-7453
  Sun West Specialty               Robert Schiavone             5665 N Maroa Ave                                              Fresno         CA           93704
  Sunbelt Rentals Inc                                           600 Peachtree St NE          10th Floor                       Atlanta        GA           30308
  SunCap Property Group                                         6101 Carnegie Blvd           Suite 180                        Charlotte,     NC           28277
                                                                6101 Carnegie Blvd., Suite
  SunCap Property Group, LLC                                    180                                                           Charlotte      NC           28209
  Suncoast Elevator Inspections,
  LLC                                                           799 South Dixie Road                                          Wagener        SC           29164
  Sundarraj, Vikram                                             Address Redacted

  Sung Joon Park                                                Address on File

  Sungeun Kim                                                   Address on File
  Sunghye Park                                                  Address Redacted
  Sunkara, Kali                                                 Address Redacted
  Sunrise Systems Electronics Co
  Inc.                             JEFFERY FIEDLER              720 Washington Street                                         Pembroke       MA           02359
  Sunrise Systems Electronics Co
  Inc.                             Joe LaGambina                720 Washington Street                                         Pembroke       MA           02359
  Sunrise Systems Electronics Co
  Inc.                             Leah Donner                  720 Washington Street                                         Pembroke       MA           02359
  Sunrise Systems Electronics Co
  Inc.                                                          720 Washington Street                                         Pembroke       MA           02359
  Sunsource Canada Consolidated    DBA D J Industrial Sales &   25 North Rivermede Road,
  Inc.                             Mfg Inc                      Units 1-3                                                     Concord        ON           L4K 5V4      Canada
  Sunsource Canada Consolidated    DBA D J Industrial Sales &
  Inc.                             Mfg Inc                      C/O Lock Box # 919571        PO Box 4090 Stn. A               Toronto        ON           M5W 0E9      Canada
  Sunstone Engineering Research
  and Development Corp                                          1693 American Way            #5                               Payson         UT           84651
  Sunyoung Lee                                                  Address Redacted
  Superior Interior Systems        Glenda Bowman                6724 Pine Ridge Court                                         Jenison        MI           49428
  Superior Interior Systems        Kelly Conley                 6724 Pine Ridge Court                                         Jenison        MI           49428
  Superior Interior Systems        Kyle Conley                  6724 Pine Ridge Court                                         Jenison        MI           49428

  Superior Office Solutions LLC    Chris Coates                 9529 Belton Honea Path Hwy                                    Belton         SC           29627

  Superior Office Solutions LLC                                 9529 Belton Honea Path Hwy                                    Belton         SC           29627
  Supplier Link Services, Inc.     Emily Leutyzinger            3527 Mt. Diablo Blvd #204                                     Lafayette      CA           94549
  SURATT, LAUREN                                                Address Redacted
  Suratt, Lauren                                                Address Redacted
  Surratt, Lemuel                                               Address Redacted
  Susan L. Phillips                                             Address Redacted
  Susan Naletilic                                               Address Redacted
  Susan Spagnoli                                                Address Redacted
                                                                3970 Roger B Chaffee Mem
  SUSPA Inc                        CHADWICK BECK                Dr. SE                                                        Grand Rapids   MI           49548



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                                     PENNY - ORDERS             3970 Roger B Chaffee Mem
  SUSPA Inc                          DROUGLAS                   Dr. SE                                                          Grand Rapids    MI           49548
                                                                3133 W. Frye Road, Suite
  Sustainability Partners LLC                                   101                                                             Chandler        AZ           85226
  Sustained Quality                  EHD Tech                   431 East Colfax Ave         Suite 100                           South Bend      IN           46617
  Sustained Quality LLC              Accounts Receivable        431 E Colfax Ave. Ste 100                                       South Bend      IN           46617
  Sustained Quality LLC              Sustained Quality, LLC     Dept Ch 16410                                                   Palatine        IL           60055
  Sustained Quality, LLC                                        Dept Ch 16410                                                   Palatine        IL           60055
  Sutherlea Ventures Inc             The Sign Pad               103-2675 Wilfert Road                                           Victoria        BC           V9B 6M3      Canada
  Sutrak Corporation                                            6897 East 49th Ave.                                             Commerce City   CO           80022
  Suttles, David                                                Address Redacted
  Suzhou Current Electric Limited                               No. 89, Qinghua Road, High-
  Company                                                       tech Zone                                                       Suzhou City     Jiangsu      215151       China

  Suzhou Opply Machinery Co., Ltd                               1 Chaoyang Rd                   Wujin                           Changzhou                                 China
  Suzhou Shigao New Material Co.,
  Ltd.                                                          169 Litanghe Rd.                Xiangcheng                      Suzhou                                    China
  Suzhou YongChuang Metal
  Science and Technology CO.,
  LTD.                            Eric Zhu                      3699 Puzhuang Road              Xukou Town                      Suzhou          Jiangsu      215105       China
  Suzhou YongChuang Metal
  Science and Technology CO.,
  LTD.                            Jenny Xia                     3699 Puzhuang Road              Xukou Town                      Suzhou          Jiangsu      215105       China

  Suzhou YongChuang Metal
  Science and Technology CO., Ltd.                              3699 Puzhuang Road              Xukou Town                      Suzhou          Jiangsu      215105       China

  SVB Analytics, Inc                                            555 Mission Street, 9th Floor                                   San Francisco   CA           94105
  Svenningsen, Sunnie                                           Address Redacted
  Swafford, Jessica                                             Address Redacted
  Swamp Fox Software and
  Analytics, LLC                                                602 Cunningham Rd                                               Taylors         SC           29687
  Sweeney, Connor                                               Address Redacted
  Swiftly, Inc.                                                 1 Sutter Street, Suite 500                                      San Francisco   CA           94104
  Swiftly, Inc.                                                 2261 Market Street #4151                                        San Francisco   CA           94114-1612
  Swiftly, Inc.                                                 611 Mission Street              7th Floor                       San Francisco   CA           94105
  Swinger, Julian                                               Address Redacted
  SWRCB                                                         PO Box 1977                                                     Sacramento      CA           95812-1977
  Sy Enterprises Corp                                           1 Orient Way                    Suite F, #236                   Rutherford      NJ           07070
  SY, REINA                                                     Address Redacted
  Sycomp A Technology Company
  Inc.                               Attn Director or Officer   950 Tower Lane #1785                                            Foster City     CA           94404
  Syed Hamza Bari                                               Address Redacted
                                     Alex Fay Syncromatics
  Syncromatics Corporation           Corporation                523 W 6th Street                Suite 444                       Los Angeles     CA           90014
  Syncromatics Corporation           Alvin Huang                523 W 6th Street                Suite 444                       Los Angeles     CA           90014
  Syncromatics Corporation           Brian Girvan               523 W 6th Street                Suite 444                       Los Angeles     CA           90014



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  Syncromatics Corporation                                      523 W 6th Street               Suite 444                        Los Angeles        CA           90014
  Synop Inc.                                                    222 Broadway, 19th floor                                        New York           NY           10038
  Synthesis Technology
  Assessment and Research            STAR360feedback            164 West 200 South                                              Springville        UT           84663
  Sypek Electrical Service Inc.                                 302 Morgan Road                                                 West Springfield   MA           01089
  Syscon Automation Group, LLC       Drew Schmidt               9847 South 500 West                                             Sandy              UT           84070
  Syscon Automation Group, LLC       Tom Wing                   9847 South 500 West                                             Sandy              UT           84070
  Syscon Automation Group, LLC                                  PO Box 901466                                                   Sandy              UT           84090
  T. Reed Gary                                                  Address Redacted
  Taba, Alexis                                                  Address Redacted
  Tabatha Ackerson                                              Address Redacted
  Tableau Software, LLC                                         1621 N 34th Street                                              Seatle             WA           98103-9193
  Tableau Software, LLC                                         PO Box 204021                                                   Dallas             TX           75063
  Tafur, Joshua                                                 Address Redacted
  Tahoe Transportation District                                 128 Market Street, Suite 3F                                     Stateline          NV           89449
  Tahoe Transportation District                                 PO Box 499                                                      Zephyr Cove        NV           89448
  Tahsin Faruque                                                Address Redacted
  Tai Nguyen                         DBA Consultant by Design   Address Redacted
  Takkt America Holding, Inc.        DBA Dallas Midwest LLC     4100 Alpha Rd                  Suite 111                        Dallas             TX           75244
  Takou Kuetche, Julien Nathan                                  Address Redacted
  Talasila, Meena                                               Address Redacted
  Tallahassee, City of (StarMetro)                              555 Appleyard Drive                                             Tallahassee        FL           32304
  Tallman, Matthew                                              Address Redacted
                                                                                               200 East Big Beaver
  Talos Automation                                              AmeriCenter of Troy            Road, Suite 15                   Troy               MI           48083
  Tamara Llosa-Sandor                                           Address Redacted
  Tamargo, Colleen                                              Address Redacted
  Tamaro Taylor                                                 Address Redacted
  Tamayo, German                                                Address Redacted
  TAMCO Capital Corp                                            PO Box 77077                                                    Minneapolis        MN           55480-7777
  Tan, Connor                                                   Address Redacted
  Tangela Ray and Lola Richey,
  Esquire                                                       325 Rocky Slope Rd.            Suite 201                        Greenville         SC           29607
  Tangent Computer Inc                                          191 Airport Blvd                                                Burlingame         CA           94010
  Tangerine Promotions, a division
  of BAMKO, LLC.                     Rachel Nelson              8800 Wilshire Blvd             Suite 210                        Beverly Hills      CA           90211
  Tangerine Promotions, a division
  of BAMKO, LLC.                     Rachel Nelson              PO Box 748024                                                   Cincinnati         OH           45274-8024
  Tangerine Promotions, a division
  of BAMKO, LLC.                     Sharon Reiff               8800 Wilshire Blvd             Suite 210                        Beverly Hills      CA           90211
  Tangerine Promotions, a division
  of BAMKO, LLC.                     Sharon Reiff               PO Box 748024                                                   Cincinnati         OH           45274-8024
  Tangerine Promotions, a division
  of BAMKO, LLC.                                                900 Skokie Blvd                Suite 275                        Northbrook         IL           60062
  Tank, Aloysius                                                Address Redacted
  Tanner Johnson                                                Address Redacted
  Tanya Tirado                                                  Address Redacted



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  Tao Mechanical, Ltd.                                           136 Wright Brothers Avenue                                      Livermore       CA           94551
  Tao Pro LLC                                                    1 Letterman Drive             Suite C4-420                      San Francisco   CA           94129
                                                                 Unit 5 Kilcannon Business
  Taoglas USA                         Taoglas Limited            Park                          Old Dublin Road                   Enniscorthy     Ireland      Y21 XW56     Ireland
                                                                 8525 Camino Santa Fe, Ste.
  Taoglas USA                         Taoglas Limited            A                                                               San Diego       CA           92121
  Taos Mountain, LLC                                             1307 S Eagle Flight Way                                         Boise           ID           83709-1559
  Taos Mountain, LLC                                             Dept LA 24843                                                   Pasadena        CA           91185
  TAP Plastics, Inc.                  Shela Maher                3011 Alvarado Street          Suite A                           San Leandro     CA           94577
  Tapeswitch Corporation                                         100 Schmitt Blvd.                                               Farmingdale     NY           11735
  Tapeswitch Corporation                                         100 Schmitt Blvd.                                               Farmingdale     NY           11735
  TARC                                                           1000 West Broadway                                              Louisville      KY           40203-2301
                                      David Kleinman, Esq. &
  Tarter Krinsky & Drogin LLP         Rocco A. Cavaliere, Esq.   1350 Broadway, 11th Floor                                       New York        NY           10018
  Tata AutoComp Systems Ltd -                                                                 Tal Mulshi, Hinjawadi
  Supply Chain Solutions Division                                Sr No 280, 281, Village Mann Phase 2                            Pune                         411057       India
                                                                                              101 Park Avenue 26th
  Tata Consultancy Services Limited c/o Legal Department         Attn Katelyn Cooper          Floor                              New York        NY           10178

  Tata Consultancy Services Limited                              TCS House                     Raveline Street                   Fort            Mumbai       400 001      India
                                                                                               101 Park Avenue 26th
  Tata Consultancy Services Ltd       c/o Legal Department       Katelyn Cooper                Floor                             New York        NY           10178

  Tata Consultancy Services Ltd       Latesh Sewani              379 Thornall Street, 4th Floor                                  Edison          NJ           08837
  Tata Consultancy Services Ltd                                  TCS House                      Raveline Street                  Fort            Mumbai       400 001      India
  Tata Consultancy Services Ltd                                  379 Thornwall St                                                Edison          NJ           08837
  Tate, Gregory                                                  Address Redacted
  Tatyana Vovk                                                   Address Redacted

  Taylor Machine and Welding Inc.     Taylor Manufacturing       224 Adams Street                                                Stevenson       AL           35772

  Taylor Machine and Welding Inc.                                3690 North Church Ave.                                          Louisville      MS           39339-2033
  TAYLOR MACHINE WORKS                                           912 SOUTH CHURCH AVE                                            LOUISVILLE      MS           39339-2070
  Taylor Machine Works, Inc                                      3690 North Church Avenue                                        Louisville      MS           39339
  Taylor Manufacturing                Vickie Padgett             224 Adams St                                                    Stevenson       AL           35772
  Taylor Pump & Lift, Inc                                        4325 Motorsports Dr                                             Concord         NC           28027
  TAYLOR SUDDEN SERVICE,                                         103 INDUSTRIAL PARK
  INC EXP                                                        ROAD                                                            PHILADELPHIA    MS           39350-8973
  Taylor, Brian                                                  Address Redacted
  Taylor, Carla                                                  Address Redacted
  Taylor, Damian                                                 Address Redacted
  Taylor, Joshua                                                 Address Redacted
  Taylor, Michael                                                Address Redacted
  Taylor, Shamelle                                               Address Redacted
                                                                                               67-74 Saffron Hill,                                                         United
  TBD Media Group Limited                                        Second Floor                  Farringdon                        London                       EC1N 8QX     Kingdom




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  TCF National Bank                DBA TCF Equipment Finance 11100 Wayzata Blvd.               Suite 801                          Minnetonka      MN           55305
  TCI                                                        4950 Triggs St                                                       Commerce        CA           90022
  TCI Automotive                                             15584 Collection Center Dr.                                          Chicago         IL           60693
  TCI Tire Centers                                           22303 I-76 Frontage Rd.                                              Hudson          CO           80642
  TCS Tata Consultancy Services
  Limited                                                      101 Park Avenue 26th Floor                                         New York        NY           10178
  TDI Power                        BUZZ REYNOLDS               36 Newburgh Rd                                                     Hackettstown    NJ           07840-3904
  TDI Power                        Cathleen Kicak              36 Newburgh Rd                                                     Hackettstown    NJ           07840-3904
  TDI Power                        ELONA BROWN                 36 Newburgh Rd                                                     Hackettstown    NJ           07840-3904
  TDI Power                                                    36 Newburgh Rd                                                     Hackettstown    NJ           07840-3904
  TE Connectivity Corporation      ANNIE SEIDEL                24627 Network Place                                                Chicago         IL           60673
  TE Connectivity Corporation      BLAINE BOWER                24627 Network Place                                                Chicago         IL           60673
  TE Connectivity Corporation      Chuck Cant                  24627 Network Place                                                Chicago         IL           60673
  TE Connectivity Corporation                                  24627 Network Place                                                Chicago         IL           60673
  Teachey Service Company, Inc.                                PO Box 339                                                         Simpsonville    SC           29681
  Teal, Benjamin                                               Address Redacted
  Teaster, Andrew                                              Address Redacted
  Tech Graphics Private Limited    Chintan Shah                410 Safal Arise                 Near Deep Chambers Manjalpur       Vadodara        Gujarat      390004     India
  Tech Graphics Private Limited                                13, Gokul Society               Sindhwai mata Road                 Pratapnagar     Vadodara     390004     India
  Techdemocracy LLC                                            499 Thornall Street             3rd Floor                          Edison          NJ           08837
  Technical Marketing                                          500 Robb Street                 Bldg 3, Ste. A                     Wheat Ridge     CO           80033
  Technical Specialties, Inc.                                  30852 State Highway 181                                            Spanish Fort    AL           36527
  Technolab SA                     DBA ASAM e.V.               Technolab SA                    Altlaufst. 40                      Hoehenkirchen                85635      Germany
  Technostore LLC                                              3005 Greene St                                                     Hollywood       FL           33020
  Tech-Sonic Inc                   VICE PRESIDENT Hyun Ou      2710 Sawbury Blvd                                                  Columbus        OH           43235
  Teco Pneumatic, Inc.                                         6500 National Dr                                                   Livermore       CA           94550-8805
  Tecumseh Signals, LLC                                        805 S. Maumee Street                                               Tecumseh        MI           49286
  Tecumseh Signals, LLC                                        PO Box 583                                                         Tecumseh        MI           49286
  Teknoware, Inc.                                              673 Century Circle                                                 Conway          SC           29526
  Tekscan, Inc.                                                333 Providence Highway                                             Norwood         MA           02062
  Telepath Designs                                             1416 Kehaulani Dr                                                  Kailua          HI           96734
  Teletrac Navman US Ltd                                       7391 Lincoln Way                                                   Garden Grove    CA           92841
  Tell Steel Inc.                                              2345 W. 17th Street                                                Long Beach      CA           90813
  Temores, Felix                                               Address Redacted
  Temprel, Inc.                    Amanda Baker                206 Air Industrial Park Drive                                      Boyne City      MI           49712
  Temprel, Inc.                    Ken Cuatt                   206 Air Industrial Park Drive                                      Boyne City      MI           49712
  Temprel, Inc.                                                206 Air Industrial Park Drive                                      Boyne City      MI           49712
  TEN-E Packaging Services, Inc.                               1666 County Rd 74                                                  Newport         MN           55055-1765
  Tennant Sales and Service
  Company                                                      PO Box 71414                                                       Chicago         IL           60694
  Tennessee Child Support                                      P.O. Box 305200                                                    Nashville       TN           37229
  Tennessee Department of
  Revenue                                                      500 Deaderick Street                                               Nashville       TN           37242
                                   c/o Tennessee Attorney
  Tennessee Dept of Revenue        Generals Office             Bankruptcy Division             PO Box 20207                       Nashville       TN           37202-0207




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                                                                  Andrew Jackson State Office
  Tennessee Dept of Revenue                                       Building                    500 Deaderick St                Nashville          TN           37242
  Tennessee Dept of Treasury        Unclaimed Property Division   PO Box 190693                                               Nashville          TN           37219-0693
  Tennessee Public Transportation
  Association                       Jason Spain                   400 Charlotte Avenue        Suite 100                       Nashville          TN           37219
  Tennessee Public Transportation
  Association                                                     PO Box 651                                                  Dunlap             TN           37327
                                                                  312 Rosa L Parks Ave, 6th
  Tennessee Secretary of State      Attn Corp Filing              Floor                                                       Nashville          TN           37243-1102
  Tenzin Tseten                                                   Address Redacted
  Teodor Nikolov                                                  Address Redacted
  Teodosio, Katharine                                             Address Redacted
  Terminal Way                                                    1105 Terminal Way            Suite 200                      Reno               NV           89520
  Terrones, Phillip                                               Address Redacted
  Terry Easley                                                    Address Redacted
  Terrylynn Dulay                                                 Address Redacted
  Terzo Power Systems                                             2604 Whitwater Way                                          Sacramento         CA           95826
  Tesla, Inc.                                                     3500 Deer Creek Road                                        Palo Alto          CA           94304
  Tesolowski, Carly                                               Address Redacted
  TESSCO Incorporated                                             11126 McCormick Road                                        Hunt Valley        MD           21031-1494
  Test                                                            1 Whitlee Ct                                                Greenville         SC           29607
  Test Chamber Solutions, Inc.      dba Thermaxx Mechanical       PO Box 32138                                                Stockton           CA           95213
                                                                  41000 Woodward Avenue Ste
  Testamatic Systems Inc            Santhosh Patil                350 East                                                    Bloomfield Hills   MI           48304
  Testco                                                          6401 Seaman Road                                            Oregon             OH           43616-7230
  Testco Incorporated               CHRISTINA ROMERO              1290 Kifer Road, Suite 308                                  Sunnyvale          CA           94086
  Testco Incorporated               Garth Rodericks               1290 Kifer Road, Suite 308                                  Sunnyvale          CA           94086
  TestEquity LLC                    Martin Aguilar                6100 Condor Drive                                           Moorpark           CA           93021
  Testing Engineers, Inc.           Ben Ong                       2811 Teagarden Street                                       San Leandro        CA           94577
  Testing Engineers, Inc.                                         2811 Teagarden Street                                       San Leandro        CA           94577
  Testo, Inc.                                                     40 White Lake Road                                          Sparta             NJ           07871
  Tevlin Strategic Communication                                  4226 S.W. Corbett Ave.                                      Portland           OR           97239
                                                                  Texas A&M Transportation
  Texas A & M University                                          Services                     1376 TAMU                      College Station    TX           77843-1376
  Texas A&M Transportation                                        400 Harvey Mitchell Parkway,
  Institute                                                       South, Suite 300                                            College Station    TX           77845
  Texas A&M Transportation
  Institute                                                       400 Harvey Mitchell Parkway Suite 300                       College Station    TX           77845
  Texas Child Support                                             P.O. Box 1495                                               Austin             TX           78767
  Texas Comptroller of Public                                     Lyndon B Johnson State
  Accounts                          Attn Bankruptcy Section       Office Building             111 East 17th St                Austin             TX           78774
  Texas Comptroller of Public       Unclaimed Property Claims
  Accounts                          Section                       PO Box 12046                                                Austin             TX           78711-2046
  Texas Comptroller of Public                                     PO Box 13528, Capitol
  Accounts                                                        Station                                                     Austin             TX           78711-3528
  Texas Comptroller of Public
  Accounts                                                        PO Box 149348                                               Austin             TX           78714



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            CreditorName                  CreditorNoticeName            Address1                      Address2    Address3            City        State       Zip       Country
  Texas Department of Motor
  Vehicles                                                     4000 Jackson Ave                                              Austin          TX           78731
  Texas Department of Motor
  Vehicles (TxDMV)                                             4000 Jackson Avenue                                           Austin          TX           78731
  Texas Secretary of State                                     PO Box 13697                                                  Austin          TX           78711-3697
  Texas Short Order, LP                                        12521 Amherst Drive                                           Austin          TX           78727
  TForce Freight                      FKA UPS Freight          28013 Network Place                                           Chicago         IL           60673-1280
  TForce Freight                      FKA UPS Freight          PO Box 650690                                                 Dallas          TX           75265
  TForce Freight                                               234040 Wrangler Road                                          Calgary         AB           T1X 0K2    Canada
  Thai, Kathy                                                  Address Redacted
  The 5S Store, LLC                                            16 Lomar Park                 Unit B                          Pepperell       MA           01463
  The American Society for                                     1818 North Street NW, Suite
  Engineering Education                                        600                                                           Washington      DC           20036

  The Bus Coalition                                            6919 Vista Drive                                              West Des Moines IA           50266
  The Car Whisperer LLC                                        7 Sirrine Drive                                               Greenville      SC           29605
  The Christopher P. Ruh and
  Jennifer G. Ruh Family Trust        Christopher P. Ruh       Address Redacted
  The City of Asheville                                        70 Court Plaza                                                Asheville       NC           28801

  The City of Modesto                                          1010 Tenth Street, Suite 4500 PO Box 642                      Modesto         CA           95353
  The Comedian Company                                         PO BOX 6427                                                   Saginaw         MI           48608
  The Commercial Collection Corp.
  of N.Y. Inc.                                                 34 Seymour Street                                             Tonawanda       NY           14150
  The Crane Guys, LLC                                          14480 Alondra Blvd                                            La Mirada       CA           90638
  The District of Columbia District
  Department of Transporation                                  55 M Street SE, 7th Floor                                     Washington      DC           20003
                                                               800 North Capitol Street NW
  The Doerrer Group LLC               Paul Doerrer             Suite 800                                                     Washington      DC           20002
                                                               2101 Gateway Centre Blvd.,
  The EI Group, Inc                   Colleen Christian        Sutie 200                                                     Morrisville     NC           27560
  The Estate of Joseph Siu Hong
  Tam                                 Sandy Pui-Lei Tam        3134 Spence Wynd SW                                           Edmonton        AB           T6X 0H8      Canada
  The Fire Consultants, Inc.                                   1981 N. Broadway              Suite 400                       Walnut Creek    CA           94596
  The Flag Company, Inc.                                       3600 Cantrell Inc. Ct.                                        Acworth         GA           30101

  The Gas Company (SOCALGAS)                                   555 W 5TH St Ste 14H1                                         Los Angeles     CA           90013-1010
  The Gas Company (SoCalGas)                                   PO Box C                                                      Monterey Park   CA           91756
  The Goodyear Tire & Rubber
  Company                                                      19118 S Reyes Ave                                             COMPTON         CA           90220
  The Goodyear Tire & Rubber
  Company                                                      2453 S Hwy 14                                                 Greer           SC           29650
  The Goodyear Tire and Rubber
  Co.                                                          200 Innovation Way                                            Akron           OH           44316
  The Greenville News                                          PO Box 742521                                                 Cincinnati      OH           45274
                                                               35 West Court Street, Suite
  The Harper Corporation                                       400                                                           Greenville      SC           29601



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  The Hiring Group, LLC              AGR Advisors, Inc.             DBA The Hiring Group, LLC          PO Box 52235                    Newark           NJ           07101
  The Hiring Group, LLC                                             PO Box 603739                                                      Charlotte        NC           28260-3739
  The J.N. Phillips Co. Inc.                                        11 Wheeling Ave.                                                   Woburn           MA           01801
  The Lee Company                    TIMOTHY FAGAN                  1250 Bayhill Drive                 Suite 113                       San Bruno        CA           94066
  The Lee Company                                                   1250 Bayhill Drive                 Suite 113                       San Bruno        CA           94066
  The Miles Group, LLC                                              685 Third Avenue                   22nd Floor                      New York         NY           10017

  The Mint House Design Co., LLC                                    5 Bucklick Creek Court                                             Sumpsonville     SC           29680
  The Mobility House LLC                                            545 Harbor Boulevard                                               Belmont          CA           94002
  The Modal Shop                     Andy McGuire                   10310 Aerohub Blvd                                                 Cincinnati       OH           45215
  The Nasdaq Stock Market, LLC.                                     P.O. Box 780700                                                    Philadelphia     PA           19178
  The Porto Law Firm                 Nicholas Porto                 1616 West 45th Street                                              Kansas City      MO           64111
  The Print Machine Inc.                                            1003 Laurens Rd                                                    Greenville       SC           29607
  The Producers, Inc.                DBA Power Trade Media          4742 N. 24th St                    Suite 340                       Phoenix          AZ           85016
  The Public Transportation
  Services (Merced County)                                          369 W. 18th Street                                                 Merced           CA           95340
  The RCA Rubber Company             FKA SRP Industries, LLC        1833 E Market Street                                               Akron            OH           44305
                                                                                                       Attn Andrew Suhar
  The RCA Rubber Company             FKA SRP Industries, LLC        PO Box 1497                        Trustee                         Youngstown       OH           44501
  The RCA Rubber Company             FKA SRP Industries, LLC        PO Box 9240                                                        Akron            OH           44305
  The Regents of the Univeristy of
  California                                                        University of California, Irvine G-244 Student Center              Irvine           CA           92697
  The Regents of the University of
  California                         University of California, Irvine 120 Theory, Suite 200                                            Irvine           CA           92697-1050
  The Regents of the University of
  California                                                        University of California, Irvine                                   Irvine           CA           92697
                                     Accts Receivable Alyssa
  The RoviSys Company                Balfour                        1455 Danner Dr                                                     Aurora           OH           44202
                                     DIRECTOR SUPPLY CHAIN
  The RoviSys Company                John Vargo                     1455 Danner Dr                                                     Aurora           OH           44202
  The RoviSys Company                                               PO Box 73486                                                       Cleveland        OH           44193
  The Rutten Law Firm, APC                                          21860 Burbank Blvd.                Suite 340                       Woodland Hills   CA           91367
  The Salt Group                                                    1845 Sidney Baker St                                               Kerrville        TX           78028
  The Shyft Group - Corp                                            41280 Bridge St.                                                   Novi             MI           48375
  The Shyft Group USA, Inc.                                         41280 Bridge St.                                                   Novi             MI           48375
  The Shyft Group USA, INC.                                         603 Earthway Boulevard                                             Bristol          IN           46507
  The Sourcing Group, LLC            Gentry Harrington              92 Argonaut                        Suite 215                       Aliso Viejo      CA           92656
  The Sourcing Group, LLC            Jennie Mollo                   92 Argonaut                        Suite 215                       Aliso Viejo      CA           92656
  The Sourcing Group, LLC                                           92 Argonaut                        Suite 215                       Aliso Viejo      CA           92656
  The Sourcing Group, LLC                                           PO Box 6568                                                        Carol Stream     IL           60197
  The StrataFusion Group, Inc                                       PO Box 320310                                                      Los Gatos        CA           95032
  The StrataFusion Group, Inc.       Karyn Guarascio                464 Monterey Ave                   Suite E                         Los Gatos        CA           95030
  The StrataFusion Group, Inc.       Ken Crafford                   464 Monterey Ave                   Suite E                         Los Gatos        CA           95030
  The StrataFusion Group, Inc.       The StrataFusion Group, Inc    PO Box 320310                                                      Los Gatos        CA           95032
  The StrataFusion Group, Inc.                                      464 Monterey Ave                   Suite E                         Los Gatos        CA           95030
  The Technology House, Ltd                                         10036 Aurora Hudson Road                                           Streetsboro      OH           44241




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            CreditorName                   CreditorNoticeName            Address1                       Address2         Address3                City        State      Zip     Country
  The Transit Authority of Lexington-
  Fayette Urban County
  Government                                                    200 West Loudon Avenue                                                  Lexington       KY           40508
  The Travelers Indemnity Company
  and Its Property Casualty                                                                                         40 Media Drive, Suite
  Insurance Affiliates                Attn Katie A. Beliveau    Account Resolution             Travelers            100                   Queensbury    NY           12804

  The Travelers Indemnity Company
  and Those Certain of its Property Account Resolution-Katie
  Casualty Insurance Affiliates     Beliveau                    40 Media Drive, Suite 100                                               Queensbury      NY           12804

  The Travelers Indemnity Company
  and Those Certain of its Property                                                                                 40 Media Drive, Suite
  Casualty Insurance Affiliates     Attn Katie Beliveau         Account Resolution             Travelers            100                   Queensbury    NY           12804
  The Travelers Indemnity Company
  of CT                                                         385 Washington St                                                       Saint Paul      MN           55102

  The Ultimate Software Group, Inc.                             2000 Ultimate Way                                                       Weston          FL           33326
  The Upholstery Depot                                          117 SE Main St.                                                         Simpsonville    SC           29681
  The Vanguard Group                                            100 Vanguard Blvd                                                       Malvern         PA           19355
  The Webstaurant Store, Inc.       Bryce Wendler               40 Citation Lane                                                        Lititz          PA           17543
  The Westin Poinsett Hotel         GLC LP                      120 S Main Street                                                       Greenville      SC           29601
  The Wick Group LLC                                            1919 Pullman Lane              Unit A                                   Reondo Beach    CA           90278
  The Yarder Manufacturing
  Company                           CFO Amy conlan              722 Phillips Avenue                                                     Toledo          OH           43612
  The Yarder Manufacturing
  Company                                                       722 Phillips Avenue                                                     Toledo          OH           43612
  The Zippertubing Co                                           7150 W Erie Street                                                      Chandler        AZ           85226
  Theano Tomazos                    Leonidas Magkaniotis        Address Redacted
  thecademy GmbH                                                Kurfurstendamm 11                                                       Berlin                       10719     Germany

  Theopanos Management Inc          Maria Christakis            Address on File
  Theopanos Management Inc          Maria Christakis            38 Sherbolne St N                                                       Toronto         ON           M4W 2T4   Canada
  Therese Eiseman and Marc
  Eiseman                                                       Address Redacted
  Thermal Flex (Tacna Intl Corp)                                1401Air Wing Road                                                       San Diego       CA           92154
  Therma-Tech (A.R. Lintern)        DENNY LOWE                  24900 Capitol Road                                                      Redford         MI           48239
  Therma-Tech (A.R. Lintern)        Kalie Woods                 24900 Capitol Road                                                      Redford         MI           48239
  Therma-Tech (A.R. Lintern)        Karen Taylor                24900 Capitol Road                                                      Redford         MI           48239
  Therma-Tech (A.R. Lintern)                                    24900 Capitol Road                                                      Redford         MI           48239
  Therma-Tech (A.R. Lintern)                                    24900 Capitol                                                           Redford         MI           48239
  Thermatron Engineering, Inc.                                  687 Lowell Street                                                       Methuen         MA           01844
  Thermo Heating Elements, LLC      JILL MCNAIR                 273 Langstan Road                                                       Piedmont        SC           29673
  Thermo Heating Elements, LLC      MARIANNE OLSON              273 Langstan Road                                                       Piedmont        SC           29673
  Thermo Heating Elements, LLC      Tammy Mills                 273 Langstan Road                                                       Piedmont        SC           29673
  Thermo Heating Elements, LLC                                  273 Langstan Road                                                       Piedmont        SC           29673
  Thermo King Corporation                                       314 W 90th St.                                                          Bloomington     MN           55420



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  Thermo King of Denver                                      4990 Monaco St                                                  Commerce City   CO           80022
                                                             161 Old Sulphur Springs
  Thermo King of Greenville        CARL ZOLLNER              Road                                                            Greenville      SC           29607
                                                             161 Old Sulphur Springs
  Thermo King of Greenville        TIM MELOY                 Road                                                            Greenville      SC           29607
                                                             161 Old Sulphur Springs
  Thermo King of Greenville                                  Road                                                            Greenville      SC           29607
  Thermoelectric Cooling America
  Corporation AKA TECA Corp                                  4048 W. Schubert Ave.                                           Chicago         IL           60639
  Thinkify LLC                     Peter Soule               18450 Technology Dr.            Suite E1                        Morgan Hill     CA           95037
  Thinkify LLC                                               18450 Technology Dr.            Suite E1                        Morgan Hill     CA           95037
  ThinkResults Marketing LLC                                 555 Bryant Street               #803                            Palo Alto       CA           94301

  Third Born Entertainment Inc.                              417-304 Ambleside Link SW                                       Edmonton        AB           T6W 0V2      Canada
  Third Shore Group                                          333 W. 7th Street               Suite 180                       Royal Oak       MI           48067
  THK Rhythm Automotive Michigan
  Corporation                    AR Portland                 28442 Network Place                                             Chicago         IL           60673
  THK Rhythm Automotive Michigan
  Corporation                    KAELI HALL                  28442 Network Place                                             Chicago         IL           60673
  THK Rhythm Automotive Michigan
  Corporation                    KELLY SHAW                  28442 Network Place                                             Chicago         IL           60673
  THK Rhythm Automotive Michigan
  Corporation                                                28442 Network Place                                             Chicago         IL           60673
  Thomas A. McCormick dba
  American Electrical, Inc.                                  456 Southlake Blvd                                              Richmond        VA           23236
  Thomas Built Buses, Inc                                    PO BOX 7064                                                     Troy            MI           48007-7064
  Thomas Built Buses, Inc.       Susan S. Black              2477 Deerfield Drive            HPC FM-1XA LGL                  Fort Mill       SC           29715-6942
  Thomas Built Buses, Inc.                                   1408 Courtesy Road                                              High Point      NC           27260
                                 Thomas Bus Gulf
  Thomas Bus Gulf Coast GP, Inc. Coast/Thomas Bus Texas      8806 Mississippi                                                Houston         TX           77029
                                 Thomas Bus Gulf
  Thomas Bus Gulf Coast GP, Inc. Coast/Thomas Bus Texas      PO Box 222038                                                   Dallas          TX           75222-2038
  Thomas E Bullard, Constance L.
  Bullard                        Thomas E Bullard            Address Redacted
  Thomas Flynn                                               Address Redacted
  Thomas J Alessi Jr             Brian Joseph                Address Redacted
                                 Sumo Mania - Party Rental
  Thomas J Caringella            CA                          Address Redacted
                                 Sumo Mania - Party Rental
  Thomas J Caringella            CA                          Address Redacted
  Thomas J Puorro or Sondra E
  Puorro                         Sondra Puorro               Address Redacted
  Thomas M Vassallo                                          Address Redacted
  Thomas M Vassallo                                          Address Redacted
  Thomas Meskill                                             Address Redacted
  Thomas P. Amicarelli           DBA Muscle Builders         Address Redacted
  Thomas Puorro                                              Address Redacted



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  Thomas Riedhammer                                              Address Redacted
  Thomas Schmidt                     Thomas und Helga Schmidt    Address Redacted
  Thomas Scott Belue                                             Address Redacted
  Thomas Tessmer                                                 Address Redacted
  Thomas Tutor                       Ally Invest Securities      Address Redacted
  Thomas Tutor                                                   Address Redacted
  Thomas, Marcus                                                 Address Redacted
  Thomas, Nathan                                                 Address Redacted
  Thomas, Ulrich                                                 Address Redacted
  Thomason, Catherine                                            Address Redacted
  Thombare, Rahul Yatin                                          Address Redacted
  Thompson Sr., William                                          Address Redacted
  Thompson, Ashley                                               Address Redacted
  Thompson, Heather                                              Address Redacted
  Thompson, Hoyle                                                Address Redacted
  Thompson, Joel                                                 Address Redacted
  Thompson, Jonnathan                                            Address Redacted
  Thompson, Justin                                               Address Redacted
  Thompson, Moses                                                Address Redacted
  Thompson, Nicholas                                             Address Redacted
  Thompson, Tracy                                                Address Redacted
  Thompson, Trevor                                               Address Redacted
  Thompson, Xavier                                               Address Redacted
  Thomsen and Burke LLP              Paralegal Brenda Boyer      2 Hamil Road, Suite 415                                      Baltimore    MD           21210

  Thomsen and Burke LLP              Partner Roszel C. Thomsen II 2 Hamil Road, Suite 415                                     Baltimore    MD           21210
  Thomson Reuters                                                 610 Opperman Drive          P.O. Box 64833                  Eagan        MN           55123-1803
  Thorne, Michele                                                 Address Redacted
  Three Point Oh! Inc.                                            306 Ridgeland Dr                                            Greenville   SC           29601
  Three W Partners, Ltd.                                          Address Redacted
  Thycotic Software LLC                                           1101 17th St. NW            Suite 1102                      Washington   DC           20036
  thyssenkrupp Supply Chain                                       19771 Brownstown Center,
  Services, NA Inc.                                               Suite 790                                                   Brownstown   MI           48183
  Tiboni, Jonathon                                                Address Redacted
  Tien Pham                                                       Address Redacted
  Tier Rack Corporation                                           425 Sovereign Ct                                            Ballwin      MO           63011
  Tier Rack Corporation                                           PO Box 32127                                                St Louis     MO           63132-2127
  Tijen Cirig                                                     Address Redacted
  Tikistudios LLC                                                 6461 Paramus Drive                                          Clarkston    MI           48346
  TIM SODHI                                                       Address Redacted
  Times Square Retail, LLC           DBA The Engine Room          713 8th Ave                                                 New York     NY           10036
  Timothy Brown                                                   Address Redacted
  Timothy D. Danyo                   DBA Imagination Media        Address Redacted
  Timothy D. Tafrow Electric, LLC.                                44 Doe Drive                                                Hamilton     NJ           08620
  Timothy Husby                                                   Address Redacted
  Timothy J McCartney                DBA TJA & Associates LLC     Address Redacted
  Timothy Jones                                                   Address Redacted



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            CreditorName                 CreditorNoticeName                 Address1                   Address2      Address3            City        State       Zip       Country
  Timothy Joseph Damico                                            Address Redacted
  Timothy Lamar Brown                                              Address Redacted
  Timothy Richards                                                 Address Redacted
  Tin T Wynn                                                       Address Redacted
  Tinsley, Richard                                                 Address Redacted
                                     DBA TIP Temperature
  TIP Industries                     Products                      340 West Broad Street                                        Burlington      NJ           08016
  Tirado, Tanya                      Pomerantz LLP                 1100 Glendon Ave, 15th Fl                                    Los Angeles     CA           90024

  Titanium American Logistics Inc.                                 5950 Fairview Rd             Suite 540                       Charlotte       NC           28210
  TK Systems Inc.                                                  6949 Buckeye St.                                             Chino           CA           91710
  TM Rippey Consulting Engineers,                                  7650 SW Beveland St. STE
  Inc.                                                             100                                                          Tigard          OR           97223
                                                                   135, rue Joseph-Armand
  TM4 Inc.                                                         Bombardier, #25                                              Boucherville    QC           J4B 8P1      Canada
  TN Department of Revenue                                         500 Deaderick Street                                         Nashville       TN           37242
  TNTX, LLC                                                        2051 Hughes Rd                                               Grapevine       TX           76051
  To, Phillip                                                      Address Redacted
  Tobin W Trevarthen                                               Address Redacted
  Toby, Adrian                                                     Address Redacted
  Todaro, Julie                                                    Address Redacted
                                     Attorney Stephen C. Werner,
  Todd B. Kaiser                     Jr.                           Address Redacted
  Todd B. Manuel                                                   Address on File
  Toei Logistics Honjo BC                                          2-63, Imaidai                Honjo-Shi                       Saitama                      367-0038     Japan
  Tokay, Jonathan                                                  Address Redacted
  Tokmakjan Inc.                     TOK Performance               221 Caldari Rd                                               Concord         ON           L4K 3Z9      Canada
  Tolls By Mail                                                    PO Box 15183                                                 Albany          NY           12212
  TOMA Fire Protection Equipment,
  LLC                                                              PO Box 2793                                                  Shelby          NC           28151-2793
  Tomaro Taylor                      Tamaro Taylor                 Address Redacted
  Tomaro Taylor                                                    Address Redacted
  Tomey Electric, Inc                                              5430 Handley Road                                            Cambridge       MD           21613
  Tomkiel, Paula                                                   Address Redacted
  Tomlin, James                                                    Address Redacted
  Tompkins Consolidated Area
  Transit, Inc.                                                    737 Willow Avenue                                            Ithaca          NY           14850
  Tony Campos                                                      Address Redacted
  Tony Danh                                                        Address Redacted
  Tonya J Glaser                     Glaser and Sons Mooving       Address Redacted
  Tool Room, Inc, The                                              1966 Chapman Road                                            Fountain Inn    SC           29644
  TOP TEMPO TECHNICAL                                              1010 E Union St. #125                                        Pasadena        CA           91106
  Top Tempo Technical                                              1010 E Union Street          Suite 125                       Pasadena        CA           91106
  Topeka Metropolitan Transit
  Authority                                                        200 NW Crane                                                 Topeka          KS           66603
  Topeka Metropolitan Transit
  Authority                                                        201 N Kansas Avenue                                          Topeka          KS           66603



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  Topeka Metropolitan Transit
  Authority                                                       210 North Crane                                                 Topeka         KS           66603
  Topper Inc.                                                     1729 East Frontage Road                                         Sturtevant     WI           53177
  Tornblom Software AB              dba Cargo Planner             Bedgatam 4                                                      Malmo                       21130     Sweden
  Toronto Transit Commission                                      1900 Yonge Street                                               Toronto        ON           M2N 6L9   Canada
  Toronto Transit Commission                                      1900 Yonge Street                                               Toronto        ON           M4S 1Z2   Canada

  Toronto Transit Commission                                      5160 Yonge Street, 6th Floor                                    Toronto        ON           M2N 6L9   Canada
                                                                                              5160 Yonge Street, 6th
  Toronto Transit Commission                                      Project Procurement Section Floor                               Toronto        ON           M2N 6L9   Canada
  Torres, Carlos                                                  Address Redacted
  Torres, Danny                                                   Address Redacted
  Toshiba International Company
  (TIC), Houston                    DAREL REED                    13131 West Little York Road                                     Houston        TX           77041
  Toshiba International Company
  (TIC), Houston                                                  13131 West Little York Road                                     Houston        TX           77041

  Toshiba International Corporation                               13131 West Little York Road                                     Houston        TX           77041
  Total Maintenance Solutions
  South Inc                         TMS South                     3540 Rutherford Road                                            Taylors        SC           29687
  Total Maintenance Solutions
  South Inc                         TMS South                     PO Box 68                                                       Taylors        SC           29687
                                    Attn Joseph B. Wells, Corp.
  Total Quality Logistics, LLC      Counsel                       4289 Ivy Pointe Blvd                                            Cincinnati     OH           45245
  Total Quality Logistics, LLC                                    4289 Ivy Pointe Blvd.                                           Cincinnati     OH           45245
  Tote Maritime                                                   32001 32nd AVE S               Suite 200                        Federal Way    WA           98001
  Tote Maritime                                                   500 Alexander Avenue                                            Tacoma         WA           98421
  Tovar Sr., Jacob                                                Address Redacted
  Towery, Tadden                                                  Address Redacted
  Town Center Bank                                                1938 E. Lincoln Hwy                                             New Lenox      IL           60451
  Town of Arlington                                               730 Massachusetts Avenue                                        Arlington      MA           02476
  Town of Avon                                                    100 Mikaela Way                                                 Avon           CO           81620
  Town of Avon                                                    100 Mikaela Way                                                 Avon           CO           81632
  Town of Avon                                                    PO Box 975                                                      Avon           CO           81620
  Town of Avon, CO                                                500 Swift Gulch Road                                            Avon           CO           81620
  Town of Avon, CO                                                500 Swift Gulch Road           PO Box 975                       Avon           CO           81620
  Town of Banff                                                   PO Box 1260                    110 Bear Street                  Banff          AB           T1L 1A1   Canada
  Town of Breckenridge                                            1095 Airport Road                                               Breckenridge   CO           80424
  Town of Breckenridge                                            1095 Airport Road                                               Breckenridge   CO           80425
  Town of Breckenridge                                            1095 Airport Road              P.O. Box 168                     Breckenridge   CO           80424
  Town of Breckenridge                                            1105 Airport Rd.                                                Breckenridge   CO           80424
  Town of Breckenridge                                            PO Box 168                                                      Breckenridge   CO           80424
  Town of Breckenridge Transit                                    1095 Airport Road              P.O. Box 168                     Breckenridge   CO           80424
  Town of Jackson                                                 PO Box 1687                                                     Jackson        WY           83001
  Town of Jackson hereinafter
  Southem Teton Area Rapid                                                                       55 Kams Meadow
  Transit                                                         PO Box 1687                    Drive                            Jackson        WY           83001



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          CreditorName                  CreditorNoticeName              Address1                   Address2          Address3          City             State       Zip      Country
  Townsend, Stephen                                           Address Redacted
                                                              8501 N Scottsdale Road,
  TPI Composites Services, LLC      Craig Millar              Suite 100                                                         Scottsdale         AZ           85253
                                                              8501 N Scottsdale Road,
  TPI Composites Services, LLC      Kyle Newell               Suite 100                                                         Scottsdale         AZ           85253
  TPI Composites, INC               AUSTIN BOYD               373 Market St                 PO Box 367                          Warren             RI           02885
  TPI Composites, INC               DEREK BUJAK               373 Market St                 PO Box 367                          Warren             RI           02885
  TPI Composites, INC               JOHN DEROCHER             373 Market St                 PO Box 367                          Warren             RI           02885
  TPI Composites, Inc.              Jerry Lavine              373 Market St, PO Box 367                                         Warren             RI           02885
  TPI IAII, LLC                                               927 N 19th Avenue East                                            Newton             IA           50208
  TPI Iowa LLC                      Craig Millar              2300 N 33rd Ave E                                                 Newton             IA           50208
  TPI Iowa LLC                      STEVE BRENIZER            2300 N 33rd Ave E                                                 Newton             IA           50208
                                                                                            300 N. LaSalle Street,
  TPI, Inc.                         Christopher Combest       c/o Quarles and Brady LLP     Suite 4000                          Chicago            IL           60654
  TPI, Inc.                         Jerry Lavine              373 Market Street                                                 Warren             RI           02885
                                    DBA Thermal Product
  TPS, LLC                          Solutions                 2821 Old Route 15                                                 New Columbia       PA           17856
                                    DBA Thermal Product
  TPS, LLC                          Solutions                 PO Box 6057                                                       Hermitage          PA           16148-1057
                                    DBA Thermal Product
  TPS, LLC                          Solutions                 PO Box 844730                                                     Boston             MA           02284
  TPx                                                         373 Market Street                                                 Warren             RI           02885
  Tracey T Duong                                              Address Redacted
  Tracy Vo                                                    Address Redacted
  Traffic Control Corp              Allen Eisinger            10435 Argonne Woods Dr.                                           Woodridge          IL           60517
  Traffic Control Corp                                        10435 Argonne Woods Dr.                                           Woodridge          IL           60517
  TRAIL-EZE, INC                                              323 QUINCE ST                                                     MITCHELL           SD           57301-4833
  Trainerkart Americas, Inc                                   364 E Main Street             Suite 1008                          Middletown         DE           19709
  Trammell Equipment Co., Inc.                                PO Box 320155                                                     Binghamton         AL           35232
  Tran, Vu                                                    Address Redacted
  Trane U.S. Inc.                                             PO Box 98167                                                      Chicago            IL           60693
  Transdev Services Inc                                       3664 Leeds Ave.                                                   North Charleston   SC           29405
  Transdev Services Inc                                       5640 Peck Rd                                                      Arcadia            CA           91006
  TransID LLC                                                 1307 W. Main St.              B131                                Gun Barrel City    TX           75156
  Transign LLC                                                281 Collier Road                                                  Auburn Hills       MI           48326
  Transit and Mobility Manager City
  of Racine                                                   730 Washington Avenue                                             Racine             WI           53403
  Transit Associates, Inc.                                    5333 Tall Tree Court                                              Lisle              IL           60532
  Transit Authority of Lexington-
  Fayette Urban County
  Government                                                  200 West Loudon Av                                                Lexington          KY           40508
  Transit Authority of River City                             1000 West Broadway                                                Louisville         KY           40203
  Transit Authority of River City                             1000 W Broadway                                                   Louisville         KY           40230
  Transit Authority of River City                             133 W. Liberty                                                    Louisville         KY           40202
  Transit Authority of River City
  (TARC)                                                      1000 West Broadway                                                Louisville         KY           40203-2301




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  Transit Joint Powers Authority for
  Merced County                                                     369 West 18th Street                                            Merced         CA           95340
  Transit Operations, City of Santa
  Rosa                                                              45 Stony Point Road                                             Santa Rosa     CA           95401

  TransIT Solutions, LLC               TSI Video                    525 West New Castle Street                                      Zelienople     PA           16063
  Transit Technical LLC                Phillip DeHaan               655 Cliffwood Ave.                                              Portage        MI           49002
  Transit Technical, LLC               Phil DeHaan                  655 Cliffwood Ave                                               Portage        MI           49002
  Translating Services, Inc. DBA
  Lazar Translating & Interpreting                                  1516 S. Bundy Drive #311                                        Los Angeles    CA           90025
  TransPak                             BILL DINSMORE                520 N. Marburg Way                                              San Jose       CA           95133
  TransPak                             Julie Ramirez                520 N. Marburg Way                                              San Jose       CA           95133
  TransPak                             Matthew Moquin               520 N. Marburg Way                                              San Jose       CA           95133
  TransPak                                                          PO Box 102762                                                   Pasadena       CA           91189-2762
  TRANSPAK INC                                                      PO Box 102762                                                   Pasadena       CA           91189-2762
  TRANSPAK, INC                        TRANSPAK INC                 PO Box 102762                                                   Pasadena       CA           91189-2762
                                                                    520 NORTH MARBURG
  TRANSPAK, INC                                                     WAY                                                             SAN JOSE       CA           95133
                                                                    836 B Southampton Road
  Transport Products Unlimited, Inc.                                #290                                                            Benicia        CA           94510
  Transportation Association of      EXECUTIVE DIRECTOR             939 Elkridge Landing Rd,
  Maryland, Inc                      John Duklewski                 Suite 195                                                       Linthicum      MD           21090

                                       DBA Starline Luxury Coaches,
  Transportation Demand                Wheatland Express and A & A 9801 Martin Luther King Jr
  Management LLC                       Motorcoach                   Way South                                                       Seattle        WA           98118
  Transportation District
  Commission of Hampton Roads                                       3400 Victoria Blvd                                              Hampton        VA           23661
                                                                    1401 Technology Drive MSC
  Transportation Energy Partnership                                 4115                                                            Harrisonburg   VA           22807
  Transportation Engineering
  Northwest, LLC                    TENW                            11400 SE 8th Street             Suite 200                       Bellevue       WA           98004
  Transportation Research Center
  Inc                                                               10820 State Route 347                                           East Liberty   OH           43319-0367
  Transportation Services Inc                                       5121 Hedge Ave                                                  Sacramento     CA           95826
  Transtech Innovations             Marlene Belzile                 936 Boul. Lionel-Boulet                                         Varness        QC           J3X 1P7    Canada
  Transtech Innovations             Stephane Surprenant             936 Boul. Lionel-Boulet                                         Varness        QC           J3X 1P7    Canada
  Transtech Innovations                                             936 Boul. Lionel-Boulet                                         Varness        QC           J3X 1P7    Canada
  Transtech of SC, Inc.                                             PO Box 751988                                                   Charlotte      NC           28275
  Transylvania County School Bus
  Garage                                                            225 Rosenwald Ln                                                Brevard        NC           28712
  Trapeze Software Group, Inc       Debbie Hadley                   998 Old Eagle School Road       Suite 1215                      Wayne          PA           19087
  Trapeze Software Group, Inc       DOUG THOMAS                     5265 Rockwell Drive NE                                          Cedar Rapids   IA           52402
  Trapeze Software Group, Inc       DOUG THOMAS                     998 Old Eagle School Road       Suite 1215                      Wayne          PA           19087
  Trapeze Software Group, Inc                                       5265 Rockwell Drive NE                                          Cedar Rapids   IA           52402
  Trapeze Software Group, Inc                                       998 Old Eagle School Road       Suite 1215                      Wayne          PA           19087
  Travel Plaza, LLC                                                 818 Pine Street                                                 Honolulu       HI           96817



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  Travelers                                                   PO Box 660317                                                 Dallas          TX           75266-0317
  Travelers Indemnity Company        John Santos              One Tower Square                                              Hartford        CT           06183
  Travelers Indemnity Company                                 One tower                                                     Hartford        CT           06183
  Travelers Indemnity Company of
  CT                                 John Santos              One Tower Square                                              Hartford        CT           06183
  Travelers Ocean Marine             Jamison Walz             One Tower Square                                              Hartford        CT           06183
  Travelers Property Casualty
  Company of America                 John Santos              One Tower Square                                              Hartford        CT           06183
                                                              13607 Collections Center
  Travelers-Deductible                                        Drive                                                         Chicago         IL           60693

                                     BUSINESS DEVELOPMENT     11601 Wilshire Blvd, Ste
  TravelStore                        Jim Childress            1840                                                          Los Angeles     CA           90025
                                     CLIENT SERVICES Yvonne   11601 Wilshire Blvd, Ste
  TravelStore                        Fenton                   1840                                                          Los Angeles     CA           90025
  TravelStore                                                 333 University Ave Ste 200                                    Sacramento      CA           95825-6540
  Travers Tool Co., Inc.                                      118 Spartangreen Blvd                                         Duncan          SC           29334
  Travis Chenard                                              Address Redacted
  Trebizo Jr., Gabriel                                        Address Redacted
  Trees Greenville Inc               DBA TreesGreenville      DBA TreesGreenville           PO Box 9232                     Greenville      SC           29604
  Trella, Aaron                                               Address Redacted
  Trella, Linda                                               Address Redacted
  Trelleborg Sealing Solutions US,   DBA Trelleborg Sealing
  Inc                                Solutions West           Dept. CH 10999                                                Chicago         IL           60055-0999
  Trewstar Corp Board Services,
  LLC                                                         170 Dryden Rd                                                 Bernardsville   NJ           07924

  TRI STATE TRUCK CENTER LLC                                  411 Hartford Turnpike                                         Shrewsbury      MA           01545
  Tri Tech USA, Inc.                                          764 Cartee Road                                               Liberty         SC           29657
  Triangle Regional Public                                    4600 Emperor Boulevard,
  Transportation Authority                                    Suite 101                                                     Durham          NC           27703
  Tri-Arc, LLC                                                390 Fountain Street                                           Pittsburgh      PA           15238
  Trias, Rafael                                               Address Redacted
  Tricor Direct, Inc.         DBA Seton                       PO Box 95904                                                  Chicago         IL           60694
  TriCord Management, LLC     Jordan Navratil                 738 Neeson Road                                               Marina          CA           93933
  TriCord Management, LLC                                     738 Neeson Road                                               Marina          CA           93933
  Trillo Mora, Alicia                                         Address Redacted
  Trilogiq USA Corporation    Brendan Tilson                  31805 Glendale Street                                         Livonia         MI           48150
  Trilogiq USA Corporation    Marie Davis                     31805 Glendale Street                                         Livonia         MI           48150
  TriMech Services                                            4461 Cox Road                 Suite 302                       Glen Allen      VA           23060
  TriMech Services, LLC                                       4461 Cox Road, Suite 302                                      Glen Allen      VA           23060
  Trim-Lok, Inc.              Franci Gray                     6855 Hermosa Circle                                           Buena Park      CA           90622
  Trim-Lok, Inc.                                              6855 Hermosa Circle                                           Buena Park      CA           90622
  Trinamix Inc                Sandeep Goyal                   35 Amoret Dr                                                  Irvine          CA           92602-0770
  Trinidad Galvan de Espinoza                                 Address Redacted
                                                              12401 Orange Drive Suite
  Triniti Corporation                                         205                                                           Davie           FL           33330



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  Triniti Corporation                                              2001 Gateway Place             Suite 425E                               San Jose         CA           95110
  Tripp Enterprises                                                250 Greg Street                                                         Sparks           NV           89431
  TripSpark USA                      JORDAN MARETZKI               5265 Rockwell Drive NE                                                  Cedar Rapids     IA           52402
  TripSpark USA                                                    5265 Rockwell Drive NE                                                  Cedar Rapids     IA           52402
  Tri-State Equipment Company,
  Inc.                               DBA Ergonomic Partners        4000 Fee Fee Road                                                       Bridgeton        MO           63044
  Tri-State Expedited Service, Inc                                 PO Box 307                                                              Perrysburg       OH           43552
  Tritium Pty LTD                    DENNIS PASCUAL                Unit 1                         31 Archimedes Pl                         Murarrie                      4172      Australia
  Tritium Pty LTD                    MARCELO SELGADO               Unit 1                         31 Archimedes Pl                         Murarrie                      4172      Australia
  Tritium Pty LTD                                                  Unit 1                         31 Archimedes Pl                         Murarrie                      4172      Australia
  Tritium Pty LTD                                                  20000 S. Vermont Avenue                                                 Torrance         CA           90502
                                                                   20000 South Vermont
  Tritium Technologies LLC                                         Avenue                                                                  Torrance         CA           90502
  Trivelli Jr., Gary                                               Address Redacted
  Trivieri, Skylar                                                 Address Redacted
  TRM Precision Manufactory
  Suzhou Ltd.                                                      No. 133 Weixin Road                                                     Suzhou           Jiangsu      215101    China
                                     Suzhou Speed
  TRM Precision                      Communication Technology
  Manufactory(Suzhou) Ltd            Ltd                           No.133 Weixin Road             Suzhou Industrial Park                   Suzhou                        215101    China
                                     Suzhou Speed
  TRM Precision                      Communication Technology
  Manufactory(Suzhou) Ltd            Ltd                           No. 388 Xin Ping Street        Jiang Su                 Abeni Zhang     Suzhou                        215123    China
                                     Suzhou Speed
  TRM Precision                      Communication Technology
  Manufactory(Suzhou) Ltd            Ltd                           No. 388 Xin Ping Street        Jiang Su                                 Suzhou                        215123    China
  Trolley Support LLC                Nicole Miele                  PO Box 9                                                                Perry Hall       MD           21128
  Troutman Pepper Hamilton
  Sanders LLP                        Goutam Patnaik                3000 Two Logan Square          18th & Arch Streets                      Philadelphia     PA           19103
  Troutman Pepper Hamilton
  Sanders LLP                        Regina Marroletti             3000 Two Logan Square          18th & Arch Streets                      Philadelphia     PA           19103
  Troutman Pepper Hamilton
  Sanders LLP                                                      274 W. 12300 S                                                          Washington       DC           20005

  Troy Brown                         DBA Brown Electric Company PO Box 215                                                                 N. Brookfield    MA           01535

  Troy Brown                         DBA Brown Electric Company Address Redacted
  TRS International MFG., Inc.       Terry Lai                  27152 Burbank Ave                                                          Foothill Ranch   CA           92610
  Truck Centers, Inc.                                           2280 Formosa Road                                                          Troy             IL           62294
  Truck World Repair, LLC                                       290 Morley Court                                                           Duncan           SC           29334
  Trucker Huss, APC                  Racquel Celestial          1 Embarcadero Ctr                 12th Floor                               San Francisco    CA           94111
  Trucker Huss, APC                                             1 Embarcadero Ctr                 12th Floor                               San Francisco    CA           94111
  TrueBlue Services, Inc. formerly
  Seaton Acquisition Corp            Maria Alexander               1015 A Street                                                           Tacoma           WA           98402
  Truesdell, Charles                                               Address Redacted
  TruGold, LLC                       TruColor                      2107 Laurens Road                                                       Greenville       SC           29607
  Truiem, Inc.                       dba Gulf Coast DevOps, Inc.   374 5th Avenue North                                                    Naples           FL           34102



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  Trujillo De Jesus, Jorge                                         Address Redacted
  Trumpet Holdings Inc.              DBA Trombetta Inc.            8111 North 87th Street                                                Milwaukee      WI           53224
  TRUMPF, Inc.                                                     111 Hyde Road                                                         Farmington     CT           06032
  TRUMPF, Inc.                                                     Dept 135, PO Box 150473                                               Hartford       CT           06115-0473
  Trundl Inc                                                       2150 North First Street                                               San Jose       CA           95131
  TRW Automotive U.S. LLC            Gale White                    PO Box 77952                                                          Detroit        MI           48277
  TRW Automotive U.S. LLC            JOE VAN MATRE                 PO Box 77952                                                          Detroit        MI           48277
  TRW Automotive U.S. LLC            Melissa Smallwood             PO Box 77952                                                          Detroit        MI           48277
  TRW Automotive U.S. LLC                                          PO Box 77952                                                          Detroit        MI           48277
  Trzeciak, Wayne                                                  Address Redacted
  Tsae Hsin Chen                                                   Address Redacted
  TSG Enterprises Inc                DBA The Solis Group           TSG Enterprises Inc             131 N El Molino Ave   Suite 100       Pasadena       CA           91101
  TTA - Texas Transit Association,
  Inc.                                                             501 Congress Ave Ste 150                                              Austin         TX           78701-3575
  TTC Birchmount Garage                                            400 Danforth Rd.                                                      Scarborough    ON           MIL 3X6    Canada
  TTI, Inc                           Floyd Enloe                   220 Horizon Dr                  Suite 203                             Raleigh        NC           27615
  TTI, Inc                           Julie Dominguez               220 Horizon Dr                  Suite 203                             Raleigh        NC           27615
  TTI, Inc                           KELLEY CORBITT                220 Horizon Dr                  Suite 203                             Raleigh        NC           27615
  TTI, Inc                                                         220 Horizon Dr                  Suite 203                             Raleigh        NC           27615
  TTI, Inc                                                         PO Drawer 99111                                                       Ft Worth       TX           76199-0111
  Tube Specialties                   ADRIAN UBALDO                 1459 NW Sundial Rd                                                    Troutdale      OR           97060
  Tube Specialties                   Alex Walkey                   1459 NW Sundial Rd                                                    Troutdale      OR           97060
  Tube Specialties                   CHRIS BYRD                    1459 NW Sundial Rd                                                    Troutdale      OR           97060
  Tube Specialties                                                 1459 NW Sundial Rd                                                    Troutdale      OR           97060
  Tube Specialties                                                 PO Box 20608                                                          Portland       OR           97060
                                     c/o Nelson Global Products,
  Tube Specialties Co., Inc.         attn Jamie McNally            1560 Williams Drive                                                   Stoughton      WI           53589
  Tucker, Harrison                                                 Address Redacted
  Tufono, Fabian                                                   Address Redacted
  Tulpule, Pranav                                                  Address Redacted
  Tulsa Transit                                                    510 South Rockford                                                    Tulsa          OK           74120
  Turner Sr., Kenyatta                                             Address Redacted
  Turner, Bryan                                                    Address Redacted
  Turner, Craig                                                    Address Redacted
  Turner, Janeigh                                                  Address Redacted
  Turner, Karyn                                                    Address Redacted
  Turner, Katherine                                                Address Redacted
  Turner, Matthew                                                  Address Redacted
  Turner, Victoria                                                 Address Redacted
                                                                   Chiax LLC 251 Little Falls
  Tushar Mahajan                     Chiax LLC/Statusbrew          Drive                                                                 Wilmington     DE           19808
  TUV Rheinland of North America
  Inc.                                                             295 Foster Street               Suite 100                             Littleton      MA           01460
  TUV SUD America, Inc.                                            401 Edgewater Place             Suite 500                             Wakefield      MA           01880
  TWC Services, Inc                                                1629 Poplar Drive Ext.                                                Greer          SC           29651
  TWC Services, Inc                                                PO Box 1612                                                           Des Moines     IA           50306
  TWD Technologies, Ltd                                            905 Century Drive                                                     burlington     ON           L7L 5J8      Canada



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  Twilio, Inc.                                                        101 Spear Street, First Floor                                   San Francisco     CA           94105
  Twin Lakes Auto Body & RV
  Repair Inc.                           Glenn Holbrook                645 Twin Lakes Road                                             Seneca            SC           29678

  Twin Rivers Unified School District                                 3222 Winona Way                                                 North Highlands   CA           95660
  Twin Vision                                                         25969 Network Place                                             Chicago           IL           60673
  Tyco Valves & Controls, LP                                          Dept 0789                       PO Box 120001                   Dallas            TX           75312-0789
                                        DBA TH Graphic Installations,
  Tyler M Housholder                    LLC                           Address Redacted
  Tyler, Patrick                                                      Address Redacted
  U.S. Bionics Inc                      dba suitX                     4512 Hollis Street                                              Emeryville        CA           94608
  U.S. Chamber of Commerce                                            1615 H Street NW                                                Washington        DC           20062
  U.S. Chemical Storage, LLC                                          1806 River Street                                               Wilkesboro        NC           28697
  U.S. Chemical Storage, LLC                                          PO Box 207003                                                   Dallas            TX           75320-7003
  U.S. General Services
  Administration                                                      1800 F St. NW                                                   Washington        DC           20405
  U.S. General Services
  Administration Federal Acquisition
  Services                                                            1800 F Street NW                                                Washington        DC           20405
  U.S. General Services
  Administration Federal Acquisition                                  Light Duty Automotive Acqn.     1800 F ST, NW HUB
  Services                                                            Support Div.                    3200                            Washington        DC           20405
  U.S. General Services
  Administration Medium                                               1880 F St NW FL 3                                               Washington        DC           20405
  U.S. Securities and Exchange
  Commission                                                          100 F St NE                                                     Washington        DC           20549
  U.S. TelePacific Corp.             DBA TPx Communications           515 S. Flower Street            47th Floor                      Los Angeles       CA           90071
  U.S. Telepacific Corp.                                              515 S Flower St Ste 4500                                        Los Angeles       CA           90071-2237
  UAB Promvadas DBA Promwad
  GmbH                                                                Meisenburgstr.39                                                Essen                          45133        Germany
  UAB Promvadas DBA Promwad
  GmbH                                                                Antakalnio g. 17, building 12                                   Vilnius                        10312        Lithuania
                                                                      1900 Campus Commons Dr
  u-blox America, Inc.                                                Ste 401                                                         Reston            VA           20191-1535
  UC San Diego                                                        9500 Gilman Drive #0955                                         La Jolla          CA           92093
  UGA Capstone Group                    Davis Minor                   Address Redacted
  UGA Capstone Group                    Duncan Mccance                Address Redacted
  UGA Capstone Group                    Ethan Schwartz                Address Redacted
  UGA Capstone Group                    Jackson Meyers                Address Redacted
  UGA Capstone Group                    Justin Fischman               Address Redacted
  UGA Capstone Group                    Logan Davisson                Address Redacted
  UGA Capstone Group                    Mark Perry                    Address Redacted
  UGA Capstone Group                    Maurice Peoples               Address Redacted
  UGA Capstone Group                    Richard Garcia                Address Redacted
  UGA Capstone Group                    Ryan Charnoky                 Address Redacted




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                                                              900 Chelmsford St. Tower 2,
  UKG Inc                         Attn Rhonda Harriman        12th Floor                                                     Lowell             MA           01851
                                                                                            420 South Orange
  UKG Inc.                        Attn Catherine R. Choe, Esq. Akerman LLP                  Avenue Suite 1200                Orlando            FL           32801
                                                                                            900 Chelmsford St.
  UKG Inc.                        UKG Inc                     Attn Rhonda Harriman          Tower 2, 12th Floor              Lowell             MA           01851
  UKG Inc. Payroll                                            900 Chelmsford St                                              Lowell             MA           01851
  UKG Kronos Systems LLC          Alicia Wilson               1485 North Park Drive                                          Weston             FL           33326

  UL Associates LLC               FKA Kvertex Associates, LLC 1708-C Augusta St             Suite 3                          Greenville         SC           29605
  UL LLC                          Zivile Rackauskas           333 Pfingsten Road                                             Northbrook         IL           60062
  UL LLC                                                      75 Remittance Dr              Suite 1524                       Chicago            IL           60675-1524
  UL LLC                                                      Attn General Counsel          333 Pfingsten Road               Northbrook         IL           60062
  Uline                                                       12575 Uline Drive                                              Pleasant Prairie   WI           53158
  ULine                                                       PO Box 88741                                                   Chicago            IL           60680-1741
  Ulrich Wallscheid                                           Address Redacted
  Ultimate Software Group Inc.                                2000 Ultimate Way                                              Weston             FL           33326
  Umpqua Public Transportation
  District                                                    3076 NE Diamond Lake Blvd                                      Roseburg           OR           97470
  Underwood, William                                          Address Redacted
  Underwood, William                                          Address Redacted
  Ung Choe                                                    Address Redacted
  Unghee Lee                                                  Address Redacted
  Unicorp                                                     291 Cleveland Street                                           Orange             NJ           07050
  Unifirst Corporation                                        322 Standing Springs Ct                                        Simpsonville       SC           29680
  Union Metal                                                 1432 Maple Ave NE                                              Canton             OH           44705

  United Chemical & Supply Co, Inc Joe Malek                  201 Fairforest Way                                             Greenville         SC           29607

  United Chemical & Supply Co, Inc Sam Broyles                201 Fairforest Way                                             Greenville         SC           29607

  United Chemical & Supply Co, Inc Stephanie Williamson       201 Fairforest Way                                             Greenville         SC           29607

  United Chemical & Supply Co, Inc                            PO Box 5066                                                    Greenville         SC           29606
  United Parcel Service                                       291 Fairforest Way                                             Greenville         SC           29607
  United Parcel Service Inc.                                  291 Fairforest way                                             Greenville         SC           29607
  United Rentals (North America),
  Inc.                                                        PO Box 100711                                                  Altanta            GA           30384-0711
  United Rentals (North America),
  Inc.                                                        PO Box 100711                                                  Atlanta            GA           30384-0711
  United Specialty Insurance
  Company                                                     1900 L. Don Dodson Blvd                                        Bedford            TX           76021
  United States Compliance
  Corporation                                                 520 Third Street              Suite 100                        Excelsior          MN           55331
  United States Government
  Defense Innovation Unit                                     230 RT Jones Rd                                                Mountain View      CA           94043
  United States Seating Company    Drew Lewis                 101 Gordon Drive                                               Exton              PA           19341



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  United States Seating Company        MARCY MORRISON           101 Gordon Drive                                                 Exton           PA           19341
  United States Seating Company                                 101 Gordon Drive                 4One                            Exton           PA           19341
  United States Seating Company                                 101 Gordon Drive                                                 Exton           PA           19341
  United States Seating Company                                 150 Gordon Drive                                                 Exton           PA           19341

  United Steel Workers International
  Union AFL-CIO CLC                                             60 Boulevard of the Allies                                       Pittsburgh      PA           15222
  United Steelworkers                                           1200 E. 220th St.                                                Carson          CA           90745-3505
                                                                60 Blvd. of the Allies, 9th
  United Steelworkers                                           Floor                                                            Pittsburgh      PA           15222
  United Steelworkers                                           PO Box 644485                                                    Pittsburgh      PA           15264
  United Steelworkers International    David R. Jury, General   60 Boulevard of the Allies,
  Union                                Counsel                  Room 807                                                         Pittsburgh      PA           15222
  United Way of Greenville County,
  Inc.                                                          105 Edinburgh Court                                              Greenville      SC           29607
  Universal Air & Gas Products                                  1140 Kingwood Avenue                                             Norfolk         VA           23502
  Universal City Development
  Partners, Ltd                        Universal Orlando        1000 Universal Studios Plaza                                     Orlando         FL           32819
  Universal Dust Collector
  Manufacturing & Supply
  Corporation                          DBA UDC Corporation      1041 Kraemer Place                                               Anaheim         CA           92806
  Universal Packaging                                           130 Fortis Drive                                                 Duncan          SC           29334
  Universal Packaging                                           PO Box 297                                                       Reidville       SC           29375
  Universal Plant Services of
  Nashville, Inc.                      Terri Jackson            PO Box 733468                                                    Dallas          TX           75373-3468
  Universal Plant Services of
  Nashville, Inc.                      Tim Fackler              PO Box 733468                                                    Dallas          TX           75373-3468
  Universal Plant Services of
  Nashville, Inc.                                               4460 Highway 225 # 180                                           Deer Park       TX           77536-2442
  Universal Plant Services of
  Nashville, Inc.                                               631 Old Hickory Blvd                                             Old Hickory     TN           37138
  Universal Power Equipment Inc.                                PO Box 362                                                       Solana Beach    CA           92075
  Universal Protection Service         DBA Allied Universal     PO Box 31001-2374                                                Pasadena        CA           91110-2374
  Universal Protection Service LP                               1551 N Tustin Avenue             Suite 650                       Santa Ana       CA           92705
  Universal Protection Service LP                               DBA Allied Universal             PO Box 31001-2374               Pasadena        CA           91110-2374
  Universal Protection Service LP                               PO Box 101034                                                    Pasadena        CA           91189
  Universal Protection Service LP                               PO Box 31001-2374                                                Pasadena        CA           91110-2374
  Universal Protection Service, LP     c/o Michael DiPilato     1395 University Blvd                                             Jupiter         FL           33458
  Universal Protection Service, LP     Kadian Blanson           1395 University Blvd                                             Jupiter         FL           33458

                                                                Eight Tower Bridge, 161
  Universal Protection Services, LP                             Washington Street, Suite 600                                     Conshohocken    PA           19428
  Universal Technical Services      JASON CZARNIEKI             1245 Woods Chapel Rd         PO Box 765                          Duncan          SC           29334

  University of California San Diego                            9500 Gilman Drive, MC 0914                                       La Jolla        CA           92093-0914
  University of California, Irvine                              120 Theory, Suite 200                                            Irvine          CA           92617-1050
  University of Colorado Boulder     Erin Lind                  1540 30th Street, Room 114                                       Boulder         CO           80309



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  University of Colorado Boulder                             1800 Grant Street, Suite 600                                   Denver            CO           80203
                                                             424 E Broad Street, Room
  University of Georgia                                      302                                                            Athens            GA           30602
  University of Georgia CAMPUS
  TRANSIT                                                    2505 RIVERBEND R D                                             ATHENS            GA           30602
                                                             2050 Fleming Administration
  University of Michigan                                     Bldg.                          503 Thompson                    Ann Arbor         MI           48109
  University of Montana                                      32 Campus Drive                                                Missoula          MT           59812-2304
                                                             Associated Students of the     University Center,
  University of Montana                                      University of Montana          Suite 105                       Missoula          MT           59812
                                                             Business Services -            Emma B. Lommasson
  University of Montana                                      Procurement Office             Center                          Missoula          MT           59812-2304

  University of Montana                                      University Center - Suite 105 32 Campus Drive                  Missoula          MT           59812
  University of South Florida Board
  of Trustees                                                4202 E Fowler Avenue           PSB 101                         Tampa             FL           33620
  UNIVERSITY OF SOUTH
  FLORIDA CENTRAL RECEIVING                                  4202 E FOWLER AVE,
  TAMPA CAMPUS                                               CRS100                                                         Tampa             FL           33620-5050
  University of Virginia                                     1001 Emmet St N                                                Charlottesville   VA           22903
  University of Virginia                                     190 McCormick Rd                                               Charlottesville   VA           22903
  Universum Communications, Inc                              500 7th Avenue                 8th Floor                       New York          NY           10018
  Uni-Vue Inc                       Pamela Lee               1107 Naughton Road                                             Troy              MI           48083
  Unum                                                       1 Fountain Square                                              Chattanooga       TN           37402
  Unum Life Insurance Company of
  America                                                    1 Fountain Square                                              Chattanooga       TN           37402-1330
  Unum Life Insurance Company of
  America                                                    PO Box 406946                                                  Atlanta           GA           30384-6946
  Unwired Holdings, LLC             DBA MPD Digital          415 Flint Avenue                                               Albany            GA           31701
  UpKeep Technologies Inc.                                   1100 Glendon Ave               Suite 1715                      Los Angeles       CA           90024
                                                             7600B N. Capital of Texas
  Uplogix, Inc.                     Jason McKenzie           Hwy                            Suite 220                       Austin            TX           78731
                                                             7600B N. Capital of Texas
  Uplogix, Inc.                                              Hwy                            Suite 220                       Austin            TX           78731
  Uplogix, Inc.                                              PO Box 670691                                                  Dallas            TX           75267
  UPS                                                        PO Box 7247-0244                                               Philadelphia      PA           19170-0001

  UPS Supply Chain Solutions, Inc   United Parcel Service    2055 Army Trail Rd Suite 128                                   Addison           IL           60101

  UPS Supply Chain Solutions, Inc                            PO Box 650690                                                  Dallas            TX           75265-0690
  UpState Calibration & Controls,
  Inc.                                                       1550 Pine Top Rd                                               Belton            SC           29627
  Uptima, Inc.                                               110 N 3rd St                                                   San Jose          CA           95112
                                                             651 Holiday Drive Foster
  Uptima, Inc.                                               Plaza 5 Suite 400                                              Pittsburgh        PA           15220
  UQM Technologies, Inc.            ADRIAN SCHAFFER          4120 Specialty Place                                           Longmont          CO           80504



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  UQM Technologies, Inc.            CLIFF STOKES                 4120 Specialty Place                                            Longmont           CO           80504
  UQM Technologies, Inc.            JAKE DAWSON                  4120 Specialty Place                                            Longmont           CO           80504
  UQM Technologies, Inc.            ROXANNE SALAZAR              4120 Specialty Place                                            Longmont           CO           80504

  Urban Transportation Associates   David Vanderputten           4240 Airport Rd.                Suite 212                       Cincinnati         OH           45226

  Urban Transportation Associates   Debbie Scheetz               4240 Airport Rd.                Suite 212                       Cincinnati         OH           45226

  Urban Transportation Associates   Mark Vanderputten            4240 Airport Rd.                Suite 212                       Cincinnati         OH           45226

  Urban Transportation Associates                                4240 Airport Rd.                Suite 212                       Cincinnati         OH           45226
  Urban Transportation Associates,
  Inc.                             Thomas W. Kowalski            4240 Airport Rd Suite 212                                       Cincinnati         OH           45226
  Urich, Linda                                                   Address Redacted
  Urquiza, Jesus                                                 Address Redacted
  US Attorney for District of
  Delaware                         US Attorney for Delaware      1313 N Market Street            Hercules Building               Wilmington         DE           19801
  US Bank                                                        EP-MN-WN1A                                                      St. Paul           MN           55101

  US Customs & Border Protection    Office of Finance            6650 Telecom Drive                                              Indianapolis       IN           46278

  US Customs & Border Protection                                 P.O. Box 979126                                                 St Louis           MO           63197-9000
  US General Services                                                                            Light Vehicles
  Administration                                                 1800 F Street NW Hub 3400       Acquisition                     Washington         DC           20405
  US General Services                                            1800 F Street, NW Wing          Light Vehicles
  Administration                                                 3200                            Acquisition                     Washington         DC           20405
  US Hybrid                                                      445 Maple Ave                                                   Torrance           CA           90505
  US Metal Crafters LLC                                          2400 Shore Street                                               Archdale           NC           27263
  US Prototype, Inc.                DBA Rapid Cut                PO Box 609                                                      Hampstead          NC           28443
  USAT                                                           PO Box 9334                                                     Chapel Hill        NC           27515
  USAT Corp                         Joey Lalor                   104 S Estes Dr.                                                 Chapel Hill        NC           27514
  USAT Corp                         Shelieta Simms               104 S Estes Dr.                                                 Chapel Hill        NC           27514
  USAT Corp                                                      104 S Estes Dr.                                                 Chapel Hill        NC           27514

  USCutter, Inc.                    AP/AR                        17945 NE 65th St, Suite 200                                     Redmond            WA           98052

  USCutter, Inc.                    Peter Robinson               17945 NE 65th St, Suite 200                                     Redmond            WA           98052
                                                                 2550 S. Telegraph Road,
  USDI                              Unique Systems Design, Inc   Suite 240                                                       Bloomfield Hills   MI           48302
  USE Supplier# 2036                Helind Electronics, Inc.     2636 N. First St.               Suite 107                       San Jose           CA           95134
  USE Supplier# 2036                Sherry Johnson               2636 N. First St.               Suite 107                       San Jose           CA           95134
  USTC-UNITED STATES
  TECHNOLOGIES
  COMMUNICATION CORP                                             225 Raritan Center Parkway                                      Edison             NJ           08837
  USW - Proterra Training and       United States Steelworkers
  Apprenticeship Trust Fund         Local 675                    1200 E. 220th St.                                               Carson             CA           90745
  Utah Clean Air Partnership Inc.   UCAIR                        195 N 1950 W                                                    Salt Lake City     UT           84116



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           CreditorName                   CreditorNoticeName                 Address1                      Address2           Address3            City            State       Zip       Country
  Utah Clean Cities                                                 451 So. State Street            Suite 345                              Salt Lake City    UT           84111
  Utah Clean Energy                   DBA Utah Clean Energy         1014 2nd Avenue                                                        Salt Lake City    UT           84103
  Utah Dept of Taxation               Attn Bankruptcy Section       210 North 1950 West                                                    Salt Lake City    UT           84134
  Utah State Tax Commission                                         210 North 1950 West                                                    Salt Lake City    UT           84134-0180
                                                                                                    168 N 1950 W Suite
  Utah State Treasurer                Treasurers Office             Unclaimed Property Division     102                                    Salt Lake City    UT           84116
  UTC Fire & Security Americas        Eric Mackie                   5624 Collections Center Dr                                             Chicago           IL           60693
  UTC Fire & Security Americas        Mary Kay Bash                 5624 Collections Center Dr                                             Chicago           IL           60693
  UTC Fire & Security Americas        Sarah Brower                  5624 Collections Center Dr                                             Chicago           IL           60693
  UTC Fire & Security Americas                                      5624 Collections Center Dr                                             Chicago           IL           60693
  Uth, Alan                                                         Address Redacted
                                                                                                    4021 Ambassador
  UV Logistics, LLC                   DBA United Vision Logistics   DBA United Vision Logistics     Caffery Parkway                        Lafayette         LA           70503
  Uvalle Balcazar, Kevyn                                            Address Redacted

  Uy, Kathlyn Jean                                                  Address Redacted
  Uy, Katrina                                                       Address Redacted
  V.L. Chapman Electric, Inc          Lad Chapman                   624 River Street                                                       Grand River       OH           44045-0087
  Vaco LLC                                                          5501 Virginia Way            Suite 120                                 Brentwood         TN           37027
                                                                    Work shop NOS.7-11 On 9
                                                                    Floor, Block B, Hi-Tech INDL NOS.491-501 Castle
  Vadas Buy Company Limited                                         CTR.                         Peak Road               Tsuen Wan, N.T.   Hong Kong                      999077       China

  Vairo Village Limited Partnership                                 10 Vairo Boulevard                                                     State College     PA           16803

  Vairo Village Limited Partnership                                 PO Box 609                                                             Southeastern      PA           19399
  Val Sorensen                                                      Address Redacted
  Valame, Neelesh                                                   Address Redacted
  Valdivia, Marilyn                                                 Address Redacted

  Valeda Co LLC DBA QStraint USA CHERYL Kerchner                    5553 Ravenswood Blvd            Suite 110                              Fort Lauderdale   FL           33312

  Valeda Co LLC DBA QStraint USA                                    5553 Ravenswood Blvd            Suite 110                              Fort Lauderdale   FL           33312
  Valenzuela, Jose                                                  Address Redacted
  Valeo TCV, North America, Inc.                                    22150 Challenger Drive                                                 Elkhart           IN           46514
  Valeo Thermal Commercial       E. Todd Sable Esq., Cydney
  Vehicles North America, Inc.   J. McGill, Esq.                    2290 First National Building    660 Woodward Ave                       Detroit           MI           48226
  Valeo Thermal Commercial
  Vehicles North America, Inc.   Jessica Tavernier                  22150 Challenger Dr                                                    Elkhart           IN           46514
  Valeo Thermal Commercial
  Vehicles North America, Inc.   Michael Zonca                      22150 Challenger Dr                                                    Elkhart           IN           46514
  Valeo Thermal Commercial
  Vehicles North America, Inc.   Ryan Stephens                      22150 Challenger Dr                                                    Elkhart           IN           46514
  Valeo Thermal Commercial
  Vehicles North America, Inc.                                      PO Box 2266                                                            Carol Stream      IL           60132
  Valeo Thermal Commercial
  Vehicles North America, Inc.                                      22150 Challenger Drive                                                 Elkhart           IN           46514



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            CreditorName                CreditorNoticeName            Address1                   Address2      Address3          City             State      Zip     Country
  Valerie M Salinas-Davis dba
  Salinas-Davis, LLC                DBA Salinas-Davis, LLC   Address Redacted
  Valid Manufacturing Ltd.                                   5320 48th Ave SE                                             Salmon Arm         BC           V1E 1X2   Canada

  Valimail Inc.                                              1942 Broadway St. Ste 314C                                   Boulder            CO           80302
  Vallbracht, Jarred                                         Address Redacted

  Valle Gardening and Landscaping   Franklin Valle           PO Box 5099                                                  Redwood City       CA           94063
  Vallen Distribution, Inc.         ANDREA CRUZ              PO Box 404753                                                Atlanta            GA           30384
  Vallen Distribution, Inc.         BRYAN LEWIS              PO Box 404753                                                Atlanta            GA           30384
  Vallen Distribution, Inc.         CHRIS RAINES             PO Box 404753                                                Atlanta            GA           30384
  Vallen Distribution, Inc.                                  PO Box 404753                                                Atlanta            GA           30384
  Valley Regional Transit           Jason Rose               700 NE 2nd St., Ste. 100                                     Meridian           ID           83642
  Valley Vista Services                                      17445 E Railroad Street                                      Industry           CA           91748
  Valley Vista Services Inc.        City of Industry         17445 E Railroad Street                                      City of Industry   CA           91748
                                                             One Valmont Plaza - 5th
  Valmont Industries Inc.           Kayla Miller             Floor                                                        Omaha              NE           68154
                                                             One Valmont Plaza - 5th
  Valmont Industries Inc.           Rahul Kulkarni           Floor                                                        Omaha              NE           68154
                                                             One Valmont Plaza - 5th
  Valmont Industries Inc.           Theresa Stenger          Floor                                                        Omaha              NE           68154
                                                             One Valmont Plaza - 5th
  Valmont Industries Inc.                                    Floor                                                        Omaha              NE           68154
  Valverde, Nancy                                            Address Redacted
  Van Hool NV                       Jan Ruyts                Bernard Van Hoolstraat 58                                    Koningshooikt      Lier         2500      Belgium
                                                                                          150 Third Avenue
  Van Hool NV                       Paul G. Jennings         Bass, Berry and Sims PLC     South Suite 2800                Nashville          TN           37201
  Van Vleet Jr., Richard                                     Address Redacted

  Vander-Bend Manufacturing, LLC Lori Murdock                2701 Orchard Parkway                                         San Jose           CA           95134

  Vander-Bend Manufacturing, LLC                             2701 Orchard Parkway                                         San Jose           CA           95134
  Vang, Nenglue                                              Address Redacted
  VanHout III, Harold                                        Address Redacted
  Vanner, Inc.                      Doug adams               4282 Reynolds Drive                                          Hilliard           OH           43026
  Vanner, Inc.                                               4282 Reynolds Drive                                          Hilliard           OH           43026
  Vapor Bus International           KIM SHAW                 2259 Reliable Parkway                                        Chicago            IL           60686
  Vapor Bus International           Sue Jones                2259 Reliable Parkway                                        Chicago            IL           60686
  Vapor Bus International                                    1010 Johnson Drive                                           Buffalo Grove      IL           60089
  Vapor Bus International                                    2259 Reliable Parkway                                        Chicago            IL           60686
  Vargas, Angelica                                           Address Redacted
  VARI Sales Corporation            Kevin Graham             PO Box 660050                                                Dallas             TX           75266
  VARI Sales Corporation                                     1221 S Belt Line Rd          Suite 500                       Coppell            TX           75019
  VARI Sales Corporation                                     PO Box 660050                                                Dallas             TX           75266
  Variant Displays                                           5007 Ontario Mills Parkway                                   Ontario            CA           91764
  Varidesk LLC                                               PO Box 660050                                                Dallas             TX           75266
  Varsity Restaurants, Inc.         Arguello Catering Co     1757 East Bayshore Rd #14                                    Redwood City       CA           94063



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           CreditorName                CreditorNoticeName               Address1                    Address2        Address3         City           State       Zip      Country
  Vaughn Belting Co., Inc.                                     PO Box 5505                                                     Spartanburg     SC           29304
  Vaughn, Jack                                                 Address Redacted
  VCA Europe S.R.L                                             Via Pasubio, 5                                                  Dalmine (BG)                 24044      Italy
  VCA North America                Tania Ganguly               17484 N Laurel Park Drive      Suite 200E                       Livonia         MI           48152
                                                                                                                                                                       Netherland
  VDL ETS                                                      11 De Vest                     Valkenswaard                     North Brabant                5555       s
                                   Casey OKeefe SALES          39500 Orchard Hill Place,
  Vector North America Inc.        ASSISTANT                   Suite 400                                                       Novi            MI           48375
                                                               39500 Orchard Hill Place,
  Vector North America Inc.                                    Suite 400                                                       Novi            MI           48375
  Vedavathi Ramachandran, Neha                                 Address Redacted
  Vehicle Improvement Products,    CHARLENE
  Inc.                             SCHULMEISTER                18881 IMMI Way                                                  Westfield       IN           46074
  Vehicle Improvement Products,
  Inc.                             TERESA KNOTH                18881 IMMI Way                                                  Westfield       IN           46074
  Vehicle Improvement Products,
  Inc.                             VIP SALES VIP SALES         18881 IMMI Way                                                  Westfield       IN           46074
  Veideman, Ethan                                              Address Redacted
  Velazquez, Brandon                                           Address Redacted
  Velocity Truck Centers                                       2429 Peck Rd                                                    Whittier        CA           90601
  Veloz                            Brandy Ream                 500 Capitol Mall, Suite 2350                                    Sacramento      CA           95814
  Venable LLP                                                  750 East Pratt Street          Suite 900                        Baltimore       MD           21202
  VenAir, Inc.                     CARLOS VAN ISSCHOT          16713 Park Centre Blvd                                          Miami Gardens   FL           33017
  VenAir, Inc.                     Courtney DeNunzio           Via G. Leopardi 21                                              Milano                       20123      Italy
  VenAir, Inc.                     LAURA MONTER                16713 Park Centre Blvd                                          Miami Gardens   FL           33017
  VenAir, Inc.                     Nicole Cruz                 16713 Park Centre Blvd                                          Miami Gardens   FL           33017
  VenAir, Inc.                                                 16713 Park Centre Blvd                                          Miami Gardens   FL           33017
  Venkata R Patlolla                                           Address Redacted
  Ventac & Company Limited                                     Fitzwilliam House              Blessington                      Wicklow         CO           W91 V972   Ireland
  Venti Printing                                               216 S Citrus St                                                 West Covina     CA           91791-2144
  Ventura Inc                      ASHLEY HODGE                160 Gibson Court                                                Dallas          NC           28034
  Ventura Inc                      BETH MORGAN                 160 Gibson Court                                                Dallas          NC           28034
  Ventura Inc                      BRYCE MARSHALL              160 Gibson Court                                                Dallas          NC           28034
                                                                                                                                                                       Netherland
  Ventura Systems B.V.             DAVID PARR                  De Marne 28                                                     Bolsward                     8701       s
                                                                                                                                                                       Netherland
  Ventura Systems B.V.             SIETO YKEMA                 De Marne 28                                                     Bolsward                     8701       s
  Ventura Systems, Inc.            Sieto Ykema                 160 Gibson Court                                                Dallas          NC           28034
  Venus Lee                                                    Address Redacted
  Verband der Automobilindustrie   German Association of the                                  Ausstellerservice /
  e.V. (VDA)                       Automotive Industry         Behrenstrasse 35               Exhibitor Service                Berlin                       D-10117    Germany

  Verdae Properties Company, Inc.                              124 Verdae Blvd                Suite 502                        Greenville      SC           29607
  Verdae Properties, LLC          Hollingsworth Funds, Inc.    124 Verdae Blvd                Suite 502                        Greenville      SC           29607
  Verdek LLC                                                   123 Rolling Meadow Road                                         Madison         CT           06443
  Verespey, David                                              Address Redacted
  Vericom LLC                                                  14320 James Road               Suite 200                        Rogers          MN           55374



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           CreditorName                 CreditorNoticeName                Address1                     Address2      Address3          City            State       Zip       Country
  Verizon                           Michelle Johnson              500 Technology Drive                                          Weldon Spring     MO           63304
  Verizon Wireless                  Bankruptcy Administration     500 Technology Drive          Suite 550                       Weldon Spring     MO           63304
  Verizon Wireless                                                PO Box 660108                                                 Dallas            TX           75266
                                    dba Contractors Licensing
  Vermeulen & Associates, LLC       Center                        2821 28th Street                                              Sacramento        CA           95818
                                    dba Contractors Licensing
  Vermeulen & Associates, LLC       Center                        3457 Castle Creek Court                                       Roseville         CA           95661
                                    dba Contractors Licensing
  Vermeulen & Associates, LLC       Center                        4120 Douglas Blvd.            #306-504                        Granite Bay       CA           95746
  Vermont Department of Taxes                                     133 State Street                                              Montpelier        VT           05633
  Vermont Dept of Taxes                                           133 State St                                                  Montpelier        VT           05633-1401
  Vermont State Treasurers Office   Unclaimed Property Division   109 State Street                                              Montpelier        VT           05609-6200
  Vernatter, Aaron                                                Address Redacted
  Vernay Laboratories, Inc.         KIM DILLON                    PO Box 530105                                                 Atlanta           GA           30353-0105
  Vernay Laboratories, Inc.         Sonja Alexander               PO Box 530105                                                 Atlanta           GA           30353-0105
  Vernay Laboratories, Inc.         VANESSA PARKS                 PO Box 530105                                                 Atlanta           GA           30353-0105
  Vernay Laboratories, Inc.                                       PO Box 530105                                                 Atlanta           GA           30353-0105
  Vernon D Meyer and Edith J
  Meyer JTWOS                       Douglas T Meyer               Address Redacted
  Vernon D Meyer and Edith J
  Meyer JTWOS                                                     Address Redacted
  Veronica Quick                                                  Address Redacted
  Versgrove Moving Systems, Inc.                                  1400 Nicora Avenue                                            San Jose          CA           95133

  Vertex, Inc.                                                    2301 Renaissance Boulevard                                    King of Prussia   PA           19406-2772
  Vervair, Michael                                                Address Redacted
  Vess, Timothy                                                   Address Redacted
  Via Colorado Boulder                                            2855 63rd Street                                              Boulder           CO           80301
  VIA Metropolitan Transit                                        800 West Myrtle                                               San Antonio       TX           78212
  Via Mobility Services                                           2855 North 63rd Rd                                            Boulder           CO           80301
  Via Mobility Services                                           2855 N. 63rd Street                                           Boulder           CO           80301
  VIA Procurement Office                                          800 W. Myrtle, Suite 203                                      San Antonio       TX           78212
  Vianova Technologies Inc.         Christopher Fender            43 Polk Ave                                                   Hempstead         NY           11550
  Vianova Technologies Inc.                                       43 Polk Ave                                                   Hempstead         NY           11550
  Viars, Chris                                                    Address Redacted
  Viavid Broadcasting Corp.                                       PO Box 93074               Caulfeild Village                  West Vancouver    BC           V7W 3G4      Canada
  Vicinity Motor (Bus) Corp.                                      3168 262nd St.                                                Aldergrove        BC           V4W 2Z6      Canada
  Vicinity Motor (Bus) Corp.                                      3168 262 St.                                                  Aldergrove        BC           V4W 2Z6      Canada
  Vicinity Motor (Bus) USA Corp.                                  2219 Rimland Dr            #301                               Bellingham        WA           98226
  Vicinity Motor Corporation                                      3168, 262, Street                                             Aldegrove         BC           V4W 2Z6      Canada
  Victor Gonzalez                                                 Address Redacted
  Victor Habgood                                                  Address Redacted
  Vidhya Patel                                                    Address Redacted
  Vient, James                                                    Address Redacted
                                                                  1050 Wilshire Drive, Suite
  Vigilant Technologies LLC                                       307                                                           Troy              MI           48084
  Vij, Aashiv                                                     Address Redacted



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             CreditorName                CreditorNoticeName              Address1                        Address2             Address3              City            State       Zip       Country
  Vijay Arora                                                   Address Redacted
  Viking Billing Service             CLAIMS                     PO Box 59207                                                                  Minneapolis      MN           55459
  Vikram Arora                                                  Address Redacted
  Villacorta, Ernesto                                           Address Redacted
                                                                                                  1160 Battery Street    Case No. 3 23-cv-
  Villanueva, Jeremy                 Adam M. Apton              Levi & Korsinsky, LLP             East, Ste. 100         03519                San Francisco    CA           94111
  Villanueva, Jeremy                                            Address Redacted
  Villarreal, Christian                                         Address Redacted
  Vinayak, Arun                                                 Address Redacted
  Vincar V Patel                                                Address Redacted
  Vincent Communications Inc                                    5773 E. Shields Ave                                                           Fresno           CA           93727
  Vincent Yee                                                   Address Redacted
  Vinculado, Joseph                                             Address Redacted
  Viness, Samuel                                                Address Redacted
  Vineyard Finance S.A. c/o ZF       Attn Scott Talmadge, Ali   Freshfields Bruckhaus             601 Lexington Avenue
  Friedrichshafen AG                 Muffenbier                 Deringer US LLP                   31st Floor                                  New York         NY           10022
  Vineyard Finance S.A. c/o ZF
  Friedrichshafen AG                 ZF Friedrichshafen AG      Tittlinger Strassbe 28                                                        Passau                        94034      Germany
  Vintage Parts                                                 Vintage Parts, Inc.                                                           Beaver Dam       WI           53916-3116

  Virginia Beach City Public Schools                            1677 Harpers Road                                                             Virginia Beach   VA           23454
  Virginia Department of Taxation    Virginia Tax               1957 Westmoreland St                                                          Richmond         VA           23230
  Virginia Department of Taxation    Virginia Tax               PO Box 1115                                                                   Richmond         VA           23218-1115
  Virginia Department of Taxation                               PO Box 1115                                                                   Richmond         VA           23218-1115
  Virginia Panel Corporation                                    1400 New Hope Road                                                            Waynesboro       VA           22980
  Virginia Transit Association                                  1108 E. Main Street               Suite 1108                                  Richmond         VA           23219
  ViriCiti                                                      1122 S Main St                                                                Greenville       SC           29601-3339
  ViriCiti Group B.V.                                           1122 S Main St                                                                Greenville       SC           29601-3339
                                                                                                                                                                                         Netherland
  ViriCiti LLC                       VALERY KANG                Willem de Zwijgerlaan 350                                                     Amsterdam                                  s
  ViriCiti LLC                       VALERY KANG                1122 S Main St                                                                Greenville       SC           29601-3339
                                                                                                                                                                                         United
  Visarion Limited                   The Technology Academy     DBA The Technlogy Academy 37-39 Southgate Street                              Winchester                    SO23 9EH     Kingdom

  Vishay Measurements Group, Inc. Mico-Measurements             951 Wendell Blvd                                                              Wendell          NC           27591
  Vision Service Plan Insurance
  Company                                                       PO Box 742788                                                                 Los Angeles      CA           90074
  Visionary Union Holdings LLC    Think Branded Media           1300 S Polk Street                Unit 282                                    Dallas           TX           75224
  Visionary Union Holdings LLC    Think Branded Media           619 S Clinton Ave                                                             Dallas           TX           75208
  Visperas, Emil                                                Address Redacted
  Visual Marking System                                         2097 East Aurora Road                                                         Twinsburg        OH           44087
  Vivas Onofre, Salvador                                        Address Redacted
  vMOX, LLC                                                     125 Mineola Ave.                  Suite 306                                   Roslyn Heights   NY           11577
  VMWare Inc                      Attn Director or Officer      3401 Hillview Ave                                                             Palo Alto        CA           94304
                                                                Skadden, Arps, Slate,
  Volta Trucks                       Attn Jackie Dakin          Meagher & Flom LLP                One Rodney Square      920 N. King Street   Wilmington       DE           19801
  Volta Trucks                       John Burrows               Olof Palmesgata 29 Fl 4                                                       Stockholm                     111 22       Sweden



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                                                                                                                                                                               United
  Volta Trucks                                                 124 City Road                                                         London                       EC1V 2NX     Kingdom
  Volta Trucks AB                                              Vallbogatan 5                                                         Kinna                        511 58       Sweden
                                   Alvarez and Marsal Europe   Park House, 16-18 Finsbury
  Volta Trucks Ltd                 LLP                         Circus                                                                London                       EC2M 7EB     England

  Volta Trucks Ltd                 c/o Christopher Hunker      1290 Avenue of the Americas                                           New York        NY           10104
                                                                                                                                                                               United
  Volta Trucks Ltd                                             124 City Road                                                         London                       EC1V 2NX     Kingdom
                                                                                                                                                                               United
  Volta Trucks Ltd                                             152-160 City Road                                                     London                       EC1V 2NX     Kingdom

                                                               Regus-Winners Triangle                                                                                          United
  Volta Trucks Ltd                                             Wharfdale Road, Building 220                                          Wokingham                    RG41 5TP     Kingdom
                                                                                                                                                                               United
  Volta Trucks Ltd                                             The Office, Willowfield Court   Highfield Road                        Bushey                       WD23 2HD     Kingdom
  Voltaiq, Inc                                                 108 E. 4th St#2                                                       New York        NY           10003

  Voltaiq, Inc                                                 2020 Milvia Street, Suite #400                                        Berkeley        CA           94704
  Voltaiq, Inc.                    Tzeng                       15 Metrotech Center            19th Fl UFL                            Brooklyn        NY           11201
  Voltaiq, Inc.                                                15 Metrotech Center            19th Fl UFL                            Brooklyn        NY           11201
  Voltaiq, Inc.                                                20660 Stevens Creek Blvd       #339                                   Cupertino       CA           95014-2120
  Vomela Speciality Company Inc                                34 Ellwood Ct.                                                        Greenville      SC           29607

  Vomela Specialty Company, Inc.   DBA Fusion Imaging          34 Ellwood Ct.                                                        Greenville      SC           29607

  Vomela Specialty Company, Inc.   DBA Fusion Imaging          601 West Boro Street                                                  Kaysville       UT           84307
  Vora, Raaj                                                   Address Redacted
  Vortex Industries, Inc.                                      20 Odyssey                                                            IRVINE          CA           92618
  VOSS Automotive, Inc.            Cathy Herzog                4640 Hillegas Road                                                    Fort Wayne      IN           46818
  VOSS Automotive, Inc.            Frank-Michael Rebhan        4640 Hillegas Road                                                    Fort Wayne      IN           46818
  VOSS Automotive, Inc.            Jacob Mcdonald              4640 Hillegas Road                                                    Fort Wayne      IN           46818
  VOSS Automotive, Inc.                                        4640 Hillegas Road                                                    Fort Wayne      IN           46818
  V-Soft Consulting Group, Inc.                                101 Bullitt Lane                Suite 205                             Louisville      KY           40222
                                                               5200 A Wade Hampton
  VT Concrete Construction                                     Boulevard                                                             Taylors         SC           29687
  Vulcan Safety Shoes, Inc.                                    4745 Hugh Howell Road                                                 Tucker          GA           30084
  Vuong, Kevin                                                 Address Redacted
  Vuyyuru Kundan S Reddy                                       Address Redacted
  Vyrian Inc.                                                  PO Box 731152                                                         Dallas          TX           75373-1152
                                                                                                                     45-51 CHATHAM
  W&B Technology Ltd.                                          FLAT/RM 803                     CHEVALIER HOUSE       ROAD SOUTH      TSIM SHA TSUI   KOWLOON                   Hong Kong
  W&B Technology Ltd.                                          Rm. 9, 11F., No. 186            Shizheng N. 7th Rd.   Xitun Dist.     Taichung City                407          Taiwan
  W&B Technology, Ltd              Yvonne Chan                 1253 Birchwood Dr                                                     Sunnyvale       CA           94089
  W.N. Kirkland, Inc.                                          PO Box 5425                                                           Spartanburg     SC           29304
  W.W. Grainger, Inc.                                          401 S. Wright Rd.                                                     Janesville      WI           53546
  WAAV, Inc.                                                   151 Pearl St., 4th Floor                                              Boston          MA           02110



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  Wager, Richard                                              Address Redacted
  Waghu, Yusuf                                                Address Redacted
  Wagner, Amanda                                              Address Redacted
  Wagner, Matthew                                             Address Redacted
  Wainwright, Spencer                                         Address Redacted
  Waitman, Wesley                                             Address Redacted
  Walker & Whiteside Inc.                                     10 RAMSEUR CT                                                GREENVILLE   SC           29601
  Walker & Whiteside, Inc                                     PO Box 5777                                                  Greenville   SC           29606
  Walker and Whiteside                                        10 RAMSEUR CT                                                GREENVILLE   SC           29601
  Walker, Joshua                                              Address Redacted
  Walker, Micheal                                             Address Redacted
  Waller, Brittney                                            Address Redacted
  Walschon Fire Protection, Inc.                              2178 Rheem Drive             Suite A                         Pleasanton   CA           94588
  Walsh, John                                                 Address Redacted
  Walters, Brad                                               Address Redacted
  Walton, Dakota                                              Address Redacted
  Walton, Katie                                               Address Redacted
  Walton, Noah                                                Address Redacted
  Walts Waltz                                                 120 St. Augustine Dr.                                        Greenville   SC           29615
  WAM GP LLC                                                  222 Berkeley St              16th Floor                      Boston       MA           02116
  Wamsley, Christina                                          Address Redacted
  Wan Sun Kim                                                 Address Redacted
  Wang Garcia, Xinyu                                          Address Redacted
  Wang, Aaron                                                 Address Redacted
  Wang, Fang                                                  Address Redacted
  Wanxiang Sterling Stetson Owner                             150 North Riverside Plaza,
  LLC                                                         Suite 1810                                                   Chicago      IL           60606
  Ward, Matthew                                               Address Redacted
  WARDJet, LLC                      AXYZ USA, Inc             2844 Kemper Rd E                                             Cincinnati   OH           45241
  WARDJet, LLC                      AXYZ USA, Inc             WARDJet, LLC                 180 South Ave                   Tallmadge    OH           44278
  Ware, Justin                                                Address Redacted
  Warner, Dawn                                                Address Redacted
  Warner, Justin                                              Address Redacted
  Warren Bailey                                               Address Redacted
  Warrick Enterprises Fabrication   WEFAB                     9 Ewing Drive                                                West Grove   PA           19390
  Wash Pro LLC                      Charles Daniels           414 Hammett Bridge Road                                      Greer        SC           29650
  Wash Pro LLC                                                1018 South Batesville Road   Suite 3B                        Greer        SC           29650
                                  Bankruptcy Unit, Stephanie
  Washington DC Office of Tax and Jeterm Supervisory Revenue
  Revenue                         Officer                    1101 4th Street SW                                            Washington   DC           20024
  Washington Department of Labor
  and Industries                                             PO Box 34974                                                  Seattle      WA           98124-1974
  Washington Dept of Revenue      Attn Bankruptcy Unit       2101 4th Ave, Suite 1400                                      Seattle      WA           98121
  Washington Dept. of Enterprise
  Services                                                   PO Box 41411                                                  Olympia      WA           98504-1411
  Washington State Department of
  Enterprise Services                                        Financial Office              PO Box 41460                    Olympia      WA           98504-1460



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  Washington State Transit
  Association                                               2629 12th ct. SW                                                 Olympia          WA           98502
                                                            1 Brookings Drive, North
  Washington University                                     Brookings Hall, suite 126                                        St. Louis        MO           63130
  Washington, Dana                                          Address Redacted
  Washington, Department of
  Enterprise Services                                       PO Box 41411                                                     Olympia          WA           98504-1411
  Waste Management                                          PO Box 42930                                                     Phoenix          AZ           85080
  Waste Management of South
  Carolina                                                  13775 E Wade Hampton Blvd                                        Greer            SC           29651
  Waste Management of South
  Carolina, Inc                                             390 Innovation Way                                               Wellford         SC           29385
  Waters, Shaniqua                                          Address Redacted
  Watkins, Nikki                                            Address Redacted
  Watlow                                                    36785 Treasury Center                                            Chicago          IL           60694-6700
  Watson Engineering               CHRIS DEVLIN             1350 Shiloh Church Rd.                                           Piedmont         SC           29673
  Watson Engineering               CHUCK HAMPSON            1350 Shiloh Church Rd.                                           Piedmont         SC           29673
  Watson Engineering               CHUCK WATSON             1350 Shiloh Church Rd.                                           Piedmont         SC           29673
  Watson Engineering                                        1350 Shiloh Church Rd.                                           Piedmont         SC           29673
  Watson Engineering                                        6867 Reliable Parkway                                            Chicago          IL           60686
  Watson Engineering Inc.          Christopher Douglas      16455 Racho Blvd                                                 Taylor           MI           48180
  Watson Engineering Inc.          Jeffrey Cohen JDPC       Jeffrey Cohen, Esq.             6018 East Dale Ln                Cave Creek       AZ           85331
  Watterson, Matthew                                        Address Redacted
  Watts, Sam                                                Address Redacted
  Wayfair, LLC                                              100 Huntington Ave              4 Coplay Place FL 7              Boston           MA           02116
                                                            Miller, Canfield, Paddock and   150 West Jefferson,
  Wayne County Airport Authority   c/o Marc N. Swanson      Stone, P.L.C.                   Suite 2500                       Detroit          MI           48226
                                                            11050 Rogell Drive #602
                                                            Detroit Metropolitan Wayne
  Wayne County Airport Authority                            County Airport                                                   Detroit          MI           48242
  Wayne County Airport Authority                            11050 Rogell Drive #602                                          Detroit          MI           48242-1144
  Wayne County Airport Authority                            11050 Rogell Dr                 Bldg #602                        Detroit          MI           48242

  Waynesboro City Public Schools                            301 Pine Ave                                                     Waynesboro       VA           22980
  Waynesboro Public Schools                                 301 Pine Ave                                                     Waynesboro       VA           22980
  Waytek Inc                       Amy Reusse               2440 Galpin Ct                  PO BOX 690                       Chanhassen       MN           55317
  Waytek Inc                       Clint Bowers             2440 Galpin Ct                  PO BOX 690                       Chanhassen       MN           55317
  Waytek Inc                       Michelle Fricker         2440 Galpin Ct                  PO BOX 690                       Chanhassen       MN           55317
  Waytek Inc                                                2440 Galpin Ct                  PO BOX 690                       Chanhassen       MN           55317
  WB Ventures LLC                  Colin Wolfe              Address Redacted
  WC Cressey and Son Inc                                    2 Commerce Drive                                                 Kennebunk        ME           04043
  Weaver, Jennifer                                          Address Redacted
                                                            1333 S Mayflower Ave, Suite
  Webasto Charging Systems, Inc. Edgar Soto                 100                                                              Monrovia         CA           91016
  Webasto Thermo & Comfort North
  America, Inc.                  Jason Brown                15083 North Road                                                 Fenton           MI           48430




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                                   DBA Transit Information
  Webb & Associates, Inc.          Products                  5052 Forni Drive             Suite B                           Concord            CA           94520
  Webb, Charles                                              Address Redacted
  Webb, Shyanne                                              Address Redacted
  Webb, Vincent                                              Address Redacted
  Webull Financial LLC             Robert Bernardino         44 Wall St Suire 501                                           New York           NY           10005
  WeDriveU, Inc.                                             700 Airport Blvd                                               Burlingame         CA           94010
  WeDriveU, Inc.                                             700 Airport Blvd., suite 250                                   Burlingame         CA           94010
  Weeks, Estate of Nikki                                     Address Redacted
  Weinberger, David                                          Address Redacted
  Weiss Asset Management                                     222 Berkeley St              16th Floor                        Boston             MA           02116
                                                             3881 North Greenbrooke
  Weiss Envirotronics, Inc.                                  Drive SE                                                       Grand Rapids       MI           49512
  Wellington Power Corporation                               177 Thorn Hill Road                                            Warrendale         PA           15086
  Wellman, Caleb                                             Address Redacted
  Wells, James                                               Address Redacted
  Wen, Hengky                                                Address Redacted
  Wendel Rosen LLP                                           1111 Broadway 24th Floor                                       Oakland            CA           94607
  Wendel Rosen LLP                                           PO Box 39877                                                   San Francisco      CA           94139-8777
  Wente, David                                               Address Redacted
  Werner, William                                            Address Redacted
                                                             225 W Station Square Dr.,
  Wesco Distribution Inc.                                    Suite #700                                                     Pittsburgh         PA           15219
  Wesco Distribution Inc.                                    PO Box 676780                                                  Dallas             TX           75267−6780
                                                             225 West Station Square Dr,
  WESCO Distribution, Inc.         FINANCE Ray Moore         Suite #700                                                     Pittsburgh         PA           15219
                                                             225 West Station Square Dr,
  WESCO Distribution, Inc.         Nikki Robertson           Suite #700                                                     Pittsburgh         PA           15219
  Wesgarde Components Group
  Inc.                             Sharla Stang              2820 Drane Field Road                                          Lakeland           FL           33811
  Wes-Garde Components Group,
  Inc.                             Catherine Adamson         2820 Drane Field Road                                          Lakeland           FL           33811
  Wes-Garde Components Group,
  Inc.                             FRANCES ADAMS             2820 Drane Field Road                                          Lakeland           FL           33811
  Wes-Garde Components Group,
  Inc.                                                       2820 Drane Field Road                                          Lakeland           FL           33811
  Wesley, Durrell                                            Address Redacted
  West Chatham Warning Devices,
  Inc.                                                       2208 Gamble Rd                                                 Savannah           GA           31405
  West Coast Manufacturing                                   383 Cheryl Lane                                                City of Industry   CA           91789
                                                                                                                            South San
  West Coast Powder Coating, Inc   A.J. Costa                165 Mitchell Avenue                                            Francisco          CA           94080
  West Coast Telecom Products,
  Inc.                                                       13309 Beach Avenue                                             Marina del Rey     CA           90292
  West Marine Products             DWAYNE SCHALLES           PO Box 669336                                                  Dallas             TX           75266-9336
  West Marine Products             KATE BOHANNON             PO Box 669336                                                  Dallas             TX           75266-9336
  West Marine Products                                       PO Box 669336                                                  Dallas             TX           75266-9336



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  West Marine Products, Inc           Donald Bollenbacher           1 East Broward Blvd Ste 200                                     Fort Lauderdale   FL           33301
  West Penn Power                                                   PO Box 3687                                                     Akron             OH           44309-3687
  West Publishing Corporation                                       PO Box 6292                                                     Carol Stream      IL           60197
  West Virginia Office of the State                                                                 1900 Kanawha
  Treasurer                           Unclaimed Property Division   State Capitol Room E-145        Boulevard, East                 Charleston        WV           25305
                                      Attn Legal Division
  West Virginia State Tax Dept        Bankruptcy Unit               PO Box 766                                                      Charleston        WV           25323-0766
  West Virginia State Tax Dept        The Revenue Center            1001 Lee St. E.                                                 Charleston        WV           25301
  West, Matthew                                                     Address Redacted
  West, Matthew                                                     Address Redacted
  Westchester Surplus Lines
  Insurance Company                                                 33 Arch Street                                                  Boston            MA           02110
  Westenskow, Alan                                                  Address Redacted
  Western Audio Visual                                              1592 N. Batavia Street          Suite 2                         Orange            CA           92867
  Western Cascade Truck Inc                                         12065 44th Place South                                          Tukwila           WA           98178-3475
  Western Renewable Energy                                          155 North 400 West, Suite
  Generation Information System                                     200                                                             Salt Lake City    UT           84103
  Western Steel & Boiler Co.                                        4751 Fox Street                                                 Denver            CO           80216
  Westfire Inc.                                                     5350 Vivian Street                                              Arvada            CO           80002

  Westinghouse Air Brake                                            d/b/a Vapor Bus International,
  Technologies Corp.                  Vapor Bus International       a division of Wabtec           1010 Johnon Drive                Buffalo Grove     IL           60089
                                      Gerard Weston Weston and
  Weston and Company, Inc.            Company, Inc.                 1988 Northlawn Blvd.                                            Binghamton        MI           48009
  Weston Ryder                                                      13085 Harmon Rd                 PO Box 947                      Roanoke           TX           76262
  Westwood Professional Services,
  Inc                                                               12701 Whitewater Drive          Suite 300                       Minnetonka        MN           55343
  WEX Worldwide                                                     1 Hancock Street                                                Portland          ME           04101
  WGM Group, Inc.                                                   1111 E. Broadway                                                Missoula          MT           59802
  Whalen, Ryan                                                      Address Redacted
  Whaley, Spencer                                                   Address Redacted
  Wharton, Eureka                                                   Address Redacted
  Wharton, Ralik                                                    Address Redacted

  Whatcom Transportation Authority Ron Mountain                     4011 Bakerview Spur                                             Bellingham        WA           98226
  WHEEL-CHECK                      Stefni Cox WHEEL-CHECK           161 Bayview Heights Dr                                          Toronto           ON           M4G 2Y7      Canada
  WHEEL-CHECK                                                       1601 Bayview Ave                PO Box 43519                    Toronto           ON           M4G 3B5      Canada
  Wheeler, Laura                                                    Address Redacted
  Whisler, Luke                                                     Address Redacted
                                   See Latitude Applied
                                   Technologies White Horse
  White Horse Packaging Co.        Packaging Co.                    PO Box 1269                                                     Fountain Inn      SC           29644
  White Horse Packaging Co.        Susan Williams                   PO Box 1269                                                     Fountain Inn      SC           29644
  White, Shawn                                                      Address Redacted
  White, Stephanie                                                  Address Redacted
  Whiteside, Yolanda                                                Address Redacted



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  Whittier, Paola                                                  Address Redacted
  Wichita State University                                         1845 Fairmount                                                Wichita         KS           67260
  Wichita Transit                                                  777 E Waterman                                                Wichita         KS           67202
  Wichita Transit - Mobility Forefront
  LLC                                  Wichita Transit             777 E Waterman                                                Wichita         KS           67202
  Wieland & Munich Electrication
  GmbH                                 Qulectra                    Landaubogen 1                                                 Munich                       81373        Germany
  Wiemer Lillelund, Lisa                                           Address Redacted
  Wieslaw Szymanski                                                Address Redacted
  Wiggs, Rhys                                                      Address Redacted
  Wiivv Wearables Co                                               402-134 Abbott St                                             Vancouver       BC           V6B 2K4      Canada
  Wilbert, Inc                                                     2001 Oaks Parkway                                             Belmont         NC           28012
  Wilcher, John                                                    Address Redacted
  Wilcox Electric                                                  1833 W. Hovey Ave.                                            Normal          IL           61761
  Wilcox, Michael                                                  Address Redacted
  Wilder, Jonathan                                                 Address Redacted
  William Carr Piner                                               Address Redacted
  William Casey Hines                                              Address Redacted
  William Chuh                                                     Address Redacted
  William E Paul Inc                   STN Media Inc               PO Box 789                                                    Redondo Beach   CA           90277
  William J McColl                     Waveform Design LLC         Address Redacted
  William McMurrer                                                 Address Redacted
                                       Southern Lawn and
  William P Rumsey                     Landscape LLC               Address Redacted
  William R Klesner                                                Address Redacted
  William W. Keown II                  DBA Keown Films, LLC        Address Redacted

  Williams Engineering Canada Inc.                                 10185-101 Street NW                                           Edmonton        AB           T5J 3B1      Canada

  Williams Scotsman Inc.             Willscot, Mobile Mini Solutions 901 S Bond St               Suite 600                       Baltimore       MD           21231-3348
  Williams TBA Supply Co., Inc.                                      934 W. 15th St                                              Merced          CA           95340
  Williams, Antonio                                                  Address Redacted
  Williams, Benjamin                                                 Address Redacted
  Williams, Brandon                                                  Address Redacted
  Williams, Cedric                                                   Address Redacted
  Williams, Darnetta                                                 Address Redacted
  Williams, DeJoun                                                   Address Redacted
  Williams, Garreth                                                  Address Redacted
  Williams, James                                                    Address Redacted
  Williams, Kendra                                                   Address Redacted
  Williams, Portia                                                   Address Redacted
  Williams, Renarldo                                                 Address Redacted
  Williams, Tavorace                                                 Address Redacted
  Williams, Thomas                                                   Address Redacted
  Williams, Tillman                                                  Address Redacted
  Williams, Vernica                                                  Address Redacted
  Williams, William                                                  Address Redacted



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  Williamsburg-James City County
  Public Schools                                                   597 Jolly Pond Road                                              Williamsburg       VA           23188
  Willis (Bermuda) Limited                                         PO Box HM 1995                                                   Hamilton                        HM HX      Bermuda
  Willis Canada Inc                                                PO Box 57008. STN A                                              Toronto            ON           M5W 5M5    Canada
  Willis North America, Inc.                                       2698 Solution Center                                             Chicago            IL           60677-2006
  Willis of Oregon, Inc                                            Files 50781                                                      Los Angeles        CA           90074
                                     Willis Towers Watson
                                     Insurance Services West Inc   2710 Media Center Dr.
  Willis Tower Watson                #101162                       Building #6 Ste #120                                             Los Angeles        CA           90065
  Willis Towers Watson Insurance
  Services West, Inc.                                              PO Box 101162                                                    Pasadena           CA           91189-1162
  Willis Towers Watson Northeast,                                  JP Morgan Chase-Lockbox
  Inc.                                                             Processing                       PO Box 29207                    New York           NY           10087-9207
  Willkie Farr & Gallagher LLP                                     787 Seventh Ave                                                  New York           NY           10019
  Wilshire Law Firm                                                3055 Wilshire Blvd, 12th Fl                                      Los Angeles        CA           90010
  Wilson Composites, LLC             James Bennington              101 West Augusta Place                                           Greenville         SC           29605
  Wilson Composites, LLC             TIM WILSON                    101 West Augusta Place                                           Greenville         SC           29605
  Wilson Composites, LLC                                           101 West Augusta Place                                           Greenville         SC           29605

  Wilson Composites, LLC                                           4110 Old Greenville Highway                                      Central            SC           29630
  Wilson Composites, LLC                                           PO Box 845                                                       Central            SC           29630

  Wilson Sonsini Goodrich & Rosati                                 650 Page Mill Road                                               Palo Alto          CA           94304-1050

  Wilson Sonsini Goodrich & Rosati                                 PO Box 742866                                                    Los Angeles        CA           90074
  Wilson Sr., Corian                                               Address Redacted
  Wilson, Brett                                                    Address Redacted
  Wilson, Eric                                                     Address Redacted
  Wilson, Justin                                                   Address Redacted
  Wilson, Robert                                                   Address Redacted
  WIN.IT America, Inc              Alan Liu                        18501 Arenth Ave                                                 City of Industry   CA           91748
  WIN.IT America, Inc.                                             18501 Arenth Ave                                                 City of Industry   CA           91748
  Wind River Sales Co., Inc.       Ricardo Fiallos                 500 Wind River Way                                               Alameda            CA           94501
  Wind River Sales Co., Inc.       Todd Degnan                     500 Wind River Way                                               Alameda            CA           94501
  Wind River Systems, Inc.                                         500 Wind River Way                                               Alameda            CA           94500
  Winder, Nathan                                                   Address Redacted
                                   B. Hepworth and Co., Ltd. of
  Window Wiper Technologies, Inc Connecticut, Inc.                 800 Flanders Rd.                                                 Mystic             CT           06355
  WINDRUNNER INC. DBA
  AXSOMART                         DON AXSOM                       44 South Fairfield Rd                                            Greenville         SC           29605
  Wing Yin Dora Wong                                               Address Redacted
  Wipf, Austin                                                     Address Redacted
  Wiring Harness Assembly
  Manufacturing, LLC                                               336 West Rd                                                      Roebuck            SC           29376
  Wiring Harness Assembly
  Manufacturing, LLC                                               PO Box 352                                                       Roebuck            SC           29367
  Wisconsin Clean Cities, Inc.     Lorrie Lisek                    231 W. Michigan, P321                                            Milwaukee          WI           53203



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  Wisconsin Department of
  Revenue                            Special Procedures Unit    PO Box 8901                                                   Madison         WI           53708-8901
  Wisconsin Department of
  Revenue                            Unclaimed Property Unit    PO Box 8982                                                   Madison         WI           53708-8982
  Wisconsin Department of
  Revenue                                                       PO Box 8906                                                   Madison         WI           53708-8906
  Wisconsin Department of
  Revenue                                                       PO BOX 8908                                                   Madison         WI           53708-8908
  Wisconsin Dept of Revenue                                     2135 Rimrock Rd                                               Madison         WI           53713
  Wisconsin Public Transportation
  Association                                                   1502 W. Broadway, Suite 102                                   Madison         WI           53713

                                     BUSINESS DEVELOPMENT       54 Scott Adam Road, Suite
  Wise Consulting Associates, Inc.   Sandy Carroll              206                                                           Hunt Valley     MD           21030
                                     OFFICE ADMINISTRATOR       54 Scott Adam Road, Suite
  Wise Consulting Associates, Inc.   Kim Gibbs                  206                                                           Hunt Valley     MD           21030
                                     BACKUP/ PO QS BACKUP/
  Wisesorbent Technology LLC         PO QS                      11 E. Stow Rd                                                 Marlton         NJ           09053
  Wisesorbent Technology LLC         Mei Ye                     11 E. Stow Rd                                                 Marlton         NJ           09053
  Witcher, Nathan                                               Address Redacted
  Witt, Kendall                                                 Address Redacted
  Witten Company, Inc.                                          PO Box 269                                                    Owasso          OK           74055
  Wixom, Lee                                                    Address Redacted
  Wolf Industrial Services           Coordinated Services       PO Box 1189                                                   Pacifica        CA           94044-6189
  Wolf Rifkin, Shapiro, Schulman                                11400 W Olympic Blvd 9th
  Rabkin, LLP                        Simon Aron, Esq            Floor                                                         Los Angeles     CA           90064
  Wolfe, Michael                                                Address Redacted
  Wolfe, Samuel                                                 Address Redacted
  Wolfsdorf Rosenthal LLP                                       1416 2nd Street                                               Santa Monica    CA           90401

  Womble Bond Dickinson (US) LLP C/O Corp. Tax Dept.            671 N. Glebe Road                                             Miami           FL           33131

  Womble Bond Dickinson (US) LLP                                PO Box 601879                                                 Charlotte       NC           28260
                                     Womble Bond Dickinson (US)
  Womble Bond Dickinson US LLP       LLP                        PO Box 601879                                                 Charlotte       NC           28260
                                                                2001 K Street, NW Suite 400
  Womble Bond Dickinson US LLP                                  South                                                         Washington      DC           20006
  Wood, Russell                                                 Address Redacted
                                                                1050 SW Sixth Avenue, Suite
  Woodruff Sawyer Oregon             Sandra Suter               1000                                                          Portland        OR           97204

  Woodruff-Sawyer & Co.                                         50 California Street, Floor 12                                San Francisco   CA           94111
  Woodruff-Sawyer Oregon, Inc                                   1001 SW 5th Avenue             Suite 1000                     Portland        OR           97204
  Woods, Brandon                                                Address Redacted
  Woody, John                                                   Address Redacted
  Wook Jin Kim                       Attn Jin Kim               Address Redacted
  Wook Jin Kim                                                  Address Redacted



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  Worcester Regional Transit
  Authority                                                      287 Grove St #2                                                      Worcester        MA           01605
  Worcester Regional Transit
  Authority                                                      60 Foster Street                                                     Worcester        MA           01608
  Workday, Inc.                                                  6110 Stoneridge Mall Road                                            Pleasanton       CA           94588
  Workers Compensation Board-
  Alberta                                                        PO Box 2323                                                          Edmonton         AB           T5J 3V3      Canada
  Workforce Fusion LLC                                           208 N Columbus Ave                                                   Mount Vernon     NY           10552
  Workiva Inc.                                                   2900 University Blvd                                                 Ames             IA           50010
  Workman Electrical Services Inc    Ryan Workman                4279 Highway 101                                                     Woodruff         SC           29388
  Workman Electrical Services Inc                                PO Box 821                                                           Woodruff         SC           29388
  Workwell Occupational Health                                   135 Commonwealth Dr            Suite 120                             Greenville       SC           29615
  World Resources Institute          Attn Director or Officer    10 G Street NE, Suite 800                                            Washington       DC           20002
  Worsham, Gregory                                               Address Redacted
  WPZ Distribution LLC               Printingblue.com            PO Box 690325                                                        San Antonio      TX           78269
                                     DBA Precision Metal         DBA Precision Metal
  WR Rocky I, LLC                    Manufacturing, LLC          Manufacturing, LLC             11060 Irma Drive.                     Northglenn       CO           80233
  Wright II, James                                               Address Redacted
  Wright Jr., Klinton                                            Address Redacted
  Wright, Aaron                                                  Address Redacted
  Wright, Owen                                                   Address Redacted
  Wu, William                                                    Address Redacted
  Wujin Kun Hao Machine Inc.                                     Jianban West Road #10          Lijia Town           Wujin District   Changzhou City   Jiangsu      213000       China

  Wujin Lijia Kun Hao Machine Inc.                               West Road #10                  Wujin Lijia                           Changzhou        Jiangsu                   China
                                     FINANCE MANAGER Jason
  Wurth Electronics ICS Inc.         Severit                     1982 Byers Rd                                                        Miamisburg       OH           45342
  Wurth Electronics ICS Inc.                                     7496 Webster Street                                                  Dayton           OH           45414
  Wurth Electronics ICS, Inc.                                    1982 Byers Road                                                      Miamisburg       OH           45342
  WW Williams                                                    Address Redacted
  www.rammount.com                                               8410 Dallas Avenue South                                             Seattle          WA           98018
  Wyche, P.A.                        Adrea Constance             44 East Camperdown Way         PO Box 728                            Greenville       SC           29602
  Wyche, P.A.                        Diann Coffey                44 East Camperdown Way         PO Box 728                            Greenville       SC           29602
  Wyche, P.A.                                                    44 East Camperdown Way         PO Box 728                            Greenville       SC           29602
  Wynnik, Michael                                                Address Redacted
                                                                 122 West 25th Street, Suite    Herschler Building
  Wyoming Dept of Revenue                                        E301                           East                                  Cheyenne         WY           82002
                                                                                                122 West 25th St.,
  Wyoming Treasurers Office          Wyoming Unclaimed Property Herschler Building East         Suite E300                            Cheyenne         WY           82002
  Xalt Energy, LLC                                              2700 S. Saginaw Road                                                  Midland          MI           48640
  Xcel Energy                                                   1800 Larimer Street                                                   Denver           CO           80202
                                                                9800 Mount Pyramid Ct. Suite
  XD Innovation Services, LLC        Elayna Nagy                400                                                                   Englewood        CO           80112
  XD Innovation Services, LLC                                   9800 Mount Pyramid Ct        Suite 400                                Englewood        CO           80112
                                                                9800 Mount Pyramid Ct. Suite
  XD Innovation, LLC                                            400                                                                   Englewood        CO           80112
  Xerox Transport Solutions Inc.                                PO Box 201322                                                         Dallas           TX           75320-1322



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  Xi Yan                                                   Address Redacted
  Xiangyang Dai                                            Address Redacted
  Xiaomin Wu                                               Address Redacted
  Xie, Wencan                                              Address Redacted
  Xinshuang Nan                                            Address Redacted
  Xiuxiu Chen                                              Address Redacted
                                                           Seaview House, 70 Seaview
  XL Specialty Insurance Company                           Avenue                                                          Stamford       CT           06902
  Xometry, Inc.                    DEREK FERRAMOSCA        7951 Cessna Avenue                                              Gaithersburg   MD           20879
  Xometry, Inc.                    Laurel Johnson          7951 Cessna Avenue                                              Gaithersburg   MD           20879
  Xometry, Inc.                    Polly Calhoun           7951 Cessna Avenue                                              Gaithersburg   MD           20879
  Xometry, Inc.                                            7951 Cessna Avenue                                              Gaithersburg   MD           20879
  XPO Logistics                                            PO Box 5160                                                     Portland       OR           97208
  Xpressmyself.com LLC             SmartSign               300 Cadman Plaza West           Suite 1303                      Brooklyn       NY           11201

  xR & E Automated Systems LLC                             70701 Powell Road                                               Romeo          MI           48065
  XT-Shenzhen Zhenrong Era
  Supply Chain Management Co.                              Room 1501, Guowei E-
  Ltd                                                      Commerce Building               Luo Hu District                 Shenzhen                    518004       China
  Xu, Preston                                              Address Redacted
  Yale University                                          PO Box 208228                                                   New Haven      CT           06520
  Yan, Xi                                                  Address Redacted
  Yanez, Gustavo                                           Address Redacted
  Yang, Liwen                                              Address Redacted

  YELLALA MUDDU, ANITHA RAJU                               Address Redacted
  YELLOWHEAD TRAILER
  REPAIR AND SERVICE LTD                                   353 116 AVE NW                                                  EDMONTON       AB           T6S 1G3      Canada
  Yen, Stephanie                                           Address Redacted
  Yerman, Elyse                                            Address Redacted
  Yes on the Los Angeles County                            777 S. Figueroa St., Suite
  Traffic Improvement                                      4050                                                            Los Angeles    CA           90017
  Yi, Young                                                Address Redacted
  Yila Properties                                          2832 Sargent Ave.                                               San Pablo      CA           94806
  Yildiz, Cagkan                                           Address Redacted
  Yildiz, Emrah                                            Address Redacted
  Yildiz, Emrah Tolga                                      Address Redacted
  Yinlun TDI, LLC               Thermal Dynamics           344 Rolling Hill Rd             Suite 201                       Mooresville    NC           28117
  Yinlun TDI, LLC               Thermal Dynamics           4850 E Airport Dr.                                              Ontario        CA           91761
  Yokohama Industries Americas  Alicia Gehefer             474 NEWELL STREET                                               PIANESVILLE    OH           44077
  Yokohama Industries Americas  DEBI COLOMBO               474 NEWELL STREET                                               PIANESVILLE    OH           44077
  Yokohama Industries Americas  JOSE CAMARILLO             474 NEWELL STREET                                               PIANESVILLE    OH           44077
  Yokohama Industries Americas                             103 Industry Drive                                              Versailles     KY           40383
  Yokohama Industries Americas                             474 NEWELL STREET                                               PIANESVILLE    OH           44077
  Yokohama Industries Americas                             7861 Solution Center            #777861                         Chicago        IL           60677-7008
  Yoonhee Kim                                              Address Redacted
  YOONJAE JEONG                                            Address Redacted



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  Yoonseok Choi                     Jeonga Choi              Address Redacted
  York Graphic Services Co. dba
  The YGS Group                     DBA The YGS Group        3650 West Market Street                                      York          PA           17404
  York Saw and Knife Co,. Inc.                               295 Emig Rd                                                  York          PA           17406
  York, Matthew                                              Address Redacted
                                                             31726 Rancho Viejo Rd, Ste                                   San Juan
  Yorke Engineering LLC             Judith Yorke             218                                                          Capistrano    CA           92675
  Yosemite National Park                                     5083 Foresta Road                                            El Portal     CA           95318
  Young Doo Park Kang                                        Address on File
  Young Office Environments Inc     Judy Martin              103 N Pine Street                                            Spartanburg   SC           29302
  Young Office Environments, Inc.                            1280 Ridge Road                                              Greenville    SC           29607-4626
  Young Soon Park                   QUESTRADE Inc            Address Redacted
  Young Soon Park                                            Address Redacted
  Young, Amy                                                 Address Redacted
  Young, Brandon                                             Address Redacted
  Young, Devon                                               Address Redacted
  Young, Steve                                               Address Redacted
  Youngman Um                                                Address Redacted
  Youngsook Cho                                              Address Redacted
                                                                                                                          South San
  Your Party Rental Company                                  360 Shaw Road, Suite D                                       Francisco     CA           94080
  YPoint Capital DBA Loadstar
  Sensors                                                    48521 Warm Springs Blvd                                      Fremont       CA           94539
  YRC Freight                                                PO Box 905587                                                Charlotte     NC           28290
  YRC Freight                                                PO Box 93151                                                 Chicago       IL           60673-3151
                                    DBA Paul Byun /
  Yu Byun                           Videographer             Address Redacted
  Yu Ye                                                      Address Redacted
  Yuen, Anthony                                              Address Redacted
  Yumang, Melvin                                             Address Redacted
  Yunju Davidson                                             Address Redacted
  Yuri Peter Cha                                             Address Redacted
  Yushin America, Inc.                                       35 Kenney Drive                                              Cranston      RI           02920
  Z Tech                                                     PO Box 1609                                                  Kihei         HI           96753
  Zachary and Steffanie Stookey                              Address Redacted
  Zachary Galluppi                                           Address Redacted
  Zachary R. Suchin                                          Address Redacted
  Zafar Iqbal                                                Address Redacted
  Zafra, Hannah                                              Address Redacted
  Zamiri, Morteza                                            Address Redacted
  Zamzam Beard                                               Address Redacted
  ZAPI Inc                          In Motion US LLC         3157 State Street                                            Blacksburg    VA           24060
  ZAPI Inc                          In Motion US LLC         DBA In Motion US LLC         3157 State Street               Blacksburg    VA           24060
  Zaragoza Rodriguez, Salvador                               Address Redacted
  Zarate Osorio, Andorich                                    Address Redacted
  Zarazua, Ivan                                              Address Redacted
  Zavala, Everth                                             Address Redacted



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                                                              1960 E. Grand Ave., Suite
  Zeem Solutions LLC                                          811                                                               El Segundo         CA           90245
  Zeeshan Khawaja                                             Address Redacted
  Zefco Industrial Flooring, Inc.                             112 Murdock Rd                                                    Belton             SC           29627
  Zelezny, Noah                                               Address Redacted
  Zellmer, Tyler                                              Address Redacted
  Zellmer, Tyler                                              Address Redacted
  Zeltwanger Leak Testing &
  Automation                                                  4947 Fargo Street                                                 North Charleston   SC           29418
  Zemarc Corporation                                          6431 Flotilla St.                                                 Los Angeles        CA           90040
  Zen II, LLC                                                 1708C Augusta St. #190                                            Greenville         SC           29605
  Zen II, LLC                                                 924 South Main Street                                             Greenville         SC           29601
  ZeroCater, Inc.                    Sarah Little             115 Stillman Street                                               San Francisco      CA           94107

  Zero-Emisison Transit Buses                                 707 Third Street, 2nd Floor                                       West Sacramento CA              95605
  Zetley, Aaron                                               Address Redacted

  Zeus Electric Chassis, Inc.                                 2320 Leibel Street, Suite 101                                     White Bear Lake MN              55110
  ZF Active Safety and Electronics
  US LLC                             Laura Krause             1220 Pacific Avenue                                               Auburn Hills       MI           48326
  ZF Friedrichshafen                                          Lowentaler Strabe 20                                              Friedrichshafen                 88046        Germany
  ZF Friedrichshafen AG              DANIEL DUDEK             CV Axle Systems                   Donaustrasse 25-71              Passau                          94030        Germany
  ZF Friedrichshafen AG              EDDIE STRICKLAND         CV Axle Systems                   Donaustrasse 25-71              Passau                          94030        Germany
  ZF Friedrichshafen AG              ELISABETH WOELFL         CV Axle Systems                   Donaustrasse 25-71              Passau                          94030        Germany
  ZF Friedrichshafen AG                                       CV Axle Systems                   Donaustrasse 25-71              Passau                          94030        Germany
  ZF Friedrichshafen AG                                       Lowentaler Strabe 20                                              Friedrichshafen                 88046        Germany
  ZF Friedrichshafen AG                                       Tittlinger Strassbe 28                                            Passau                          94034        Germany
  ZF Gainesville LLC                 Laura Krause             1220 Pacific Avenue                                               Auburn Hills       MI           48326
  ZF Industries -Gainesville LLC     GREG HENDERSON           PO Box 5826                                                       Carol Stream       IL           60197-5826
  ZF Industries -Gainesville LLC     KATHY CASH               PO Box 5826                                                       Carol Stream       IL           60197-5826
  ZF Industries -Gainesville LLC     LISA MILLER              PO Box 5826                                                       Carol Stream       IL           60197-5826
  ZF Industries -Gainesville LLC                              PO Box 5826                                                       Carol Stream       IL           60197-5826
  ZF Services North America LLC      Carlos Aguinaga          777 Hickory Hill Drive                                            Vernon Hills       IL           60061
                                     NANCY VHL BIN13
  ZF Services North America LLC      ANDERSEN                 777 Hickory Hill Drive                                            Vernon Hills       IL           60061
  ZF Services North America LLC      Peter Sailer             777 Hickory Hill Drive                                            Vernon Hills       IL           60061
  ZF Services North America LLC                               777 Hickory Hill Drive                                            Vernon Hills       IL           60061
  ZF SERVICES NORTH                  NANCY VHL BIN13
  AMERICA, LLC                       ANDERSEN                 PO Box 5820                                                       Carol Stream       IL           60197
  ZF SERVICES NORTH
  AMERICA, LLC                                                PO Box 5820                                                       Carol Stream       IL           60197
  ZF Services, LLC                                            777 Hickory Hill Drive                                            Vernon Hills       IL           60061
  ZF Suspension Technology                                    Km 3.5 Carretera el salto a la
  Guadalajara S.A de C.V.            Peter Sailer             capilla                                                           El Salto                        45680        Mexico
  ZF Suspension Technology                                    Km 3.5 Carretera el salto a la
  Guadalajara S.A de C.V.                                     capilla                                                           El Salto                        45680        Mexico
  Zhang, Jing                                                 Address Redacted



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  Zhao, Xiaofeng                                             Address Redacted
                                                                                             West conjunction of
                                                                                             Zhongxing road and
  Zhengzhou BAK Battery Co., Ltd                             300 meters of North road        BAK road                         Zhengzhou                  451450       China
  Zielinski, John                                            Address Redacted
                                                             431 East Colfax Avenue Ste
  Zing                                                       200                                                              South Bend    IN           46617-4707
  Zinnia Oquendo Villamor           Zinnia Villamor          Address Redacted
  Zion National Park                                         PO Box 384                                                       Springdale    UT           84767
  Zoho Corporation                                           4141 Hacienda Drive                                              Pleasanton    CA           94588
  Zoho Corporation                                           PO Box 894926                                                    Los Angeles   CA           90189
  Zonar Systems, Inc.               Scott Kawa               18200 Cascade Ave. S                                             Seattle       WA           98188
  Zonar Systems, Inc.                                        18200 Cascade Ave. S                                             Seattle       WA           98188
  Zonar Systems, Inc.                                        PO Box 207038                                                    Dallas        TX           75320-7038

  Zoom Video Communications, Inc.                            55 Almaden Blvd, 6th floor                                       San Jose      CA           95113

  Zoom Video Communications, Inc.                            55 Almaden Blvd.                Suite 600                        San Jose      CA           95113

  Zubin Maharaj                                              Address Redacted
  Zuckerman Spaeder LLP                                      1800 M Street NW                STE 1000                         Washington    DC           20036-5802
  Zug, Corinne                                               Address Redacted
  Zvulun Gabay                                               Address Redacted
  Zybek Advanced Products                                    2845 29th Street                                                 Boulder       CO           80301




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